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                           Supplemental Complaint
                                Exhibit Index
                            Deposition Transcripts

Transcript Order          Deponent

1                         Mark Brown

2                         Diane Auer Jones


3                         James Manning

4                         Colleen Nevin
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                      Deposition Transcripts
         Cited in Supplemental Complaint, March 19, 2021


                    Transcript 1 – Mark Brown
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·1· · · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · · · NORTHERN DISTRICT OF CALIFORNIA

·3

·4· · · ·- - - - - - - - - - - - - - - X

·5· · · ·THERESA SWEET, et al., on· · ·:

·6· · · ·behalf of themselves and all· :· Case No.:

·7· · · ·others similarly situated,· · :· 19-cv-03674-WHA

·8· · · · · · · · · · ·Plaintiffs,· · ·:

·9· · · ·vs.· · · · · · · · · · · · · ·:

10· · · ·ELISABETH DEVOS, in her· · · ·:

11· · · ·official capacity as· · · · · :

12· · · ·Secretary of the United· · · ·:

13· · · ·States Department of· · · · · :

14· · · ·Education, et al.,· · · · · · :

15· · · · · · · · · · ·Defendants.· · ·:

16· · · ·- - - - - - - - - - - - - - - X

17

18· · · · · Remote Videotaped Deposition of MARK BROWN

19· · · · · · · · · Tuesday, December 15, 2020

20· · · · · · · · · · · ·10:03 a.m. (EST)

21

22

23· · · ·Job No. 332249

24· · · ·Pages:· 1 - 250

25· · · ·Reported by:· Dana C. Ryan, RPR, CRR


                               U.S. LEGAL SUPPORT
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·2                                                                   ·2

·3· · · · · · · · · · · · · · · · · · · ·December 15, 2020           ·3· · · · · · · · ·JOSEPH JARAMILLO, Esquire

·4· · · · · · · · · · · · · · · · · · · ·10:03 a.m. (EST)            ·4· · · · · · · · ·CLAIRE TORCHIANA, Esquire

·5                                                                   ·5· · · · · · · · ·Housing & Economic Rights Advocates

·6                                                                   ·6· · · · · · · · ·3950 Broadway, Suite 200

·7                                                                   ·7· · · · · · · · ·Oakland, California 94611

·8· · · · · · · Remote Videotaped Deposition of MARK BROWN,          ·8· · · · · · · · ·Telephone:· (510) 271-8443

·9· · · ·held via Zoom video teleconference, before Dana C.          ·9· · · · · · · · ·Email: jjaramillo@heraca.org

10· · · ·Ryan, Registered Professional Reporter, Certified           10· · · · · · · · ·Email: ctorchiana@heraca.org

11· · · ·Realtime Reporter and Notary Public in and for the          11

12· · · ·State of Alabama.                                           12· · · · · · ON BEHALF OF THE DEFENDANTS:

13                                                                   13· · · · · · · · ·R. CHARLIE MERRITT, Esquire

14                                                                   14· · · · · · · · ·KEVIN P. HANCOCK, Esquire

15                                                                   15· · · · · · · · ·KATHRYN C. DAVIS, Esquire

16                                                                   16· · · · · · · · ·MARCIA BERMAN, Esquire

17                                                                   17· · · · · · · · ·U.S. Department of Justice

18                                                                   18· · · · · · · · ·Civil Division, Federal Programs Branch

19                                                                   19· · · · · · · · ·1100 L Street, Northwest

20                                                                   20· · · · · · · · ·Washington, D.C. 20530

21                                                                   21· · · · · · · · ·Telephone:· (202) 307-0342

22                                                                   22· · · · · · · · ·Email: robert.c.merritt@usdoj.gov

23                                                                   23· · · · · · · · ·Email: kathryn.c.davis@usdoj.gov

24                                                                   24· · · · · · · · ·Email: kevin.p.hancock@usdoj.gov

25                                                                   25· · · · · · · · ·Email: marcia.berman@usdoj.gov



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·2                                                                   ·2

·3· · · · · · ON BEHALF OF THE PLAINTIFFS:                           ·3· · · · · · Also present:

·4· · · · · · · · ·REBECCA ELLIS, Esquire                            ·4· · · · · · · · ·Daniel Macom, Video Technician

·5· · · · · · · · ·MARGARET O'GRADY, Esquire                         ·5

·6· · · · · · · · ·EILEEN CONNOR, Esquire                            ·6

·7· · · · · · · · ·TOBY R. MERRILL, Esquire                          ·7

·8· · · · · · · · ·Legal Services Center of                          ·8

·9· · · · · · · · · · ·Harvard Law School                            ·9

10· · · · · · · · ·122 Boylston Street                               10

11· · · · · · · · ·Jamaica Plain, Massachusetts 02130                11

12· · · · · · · · ·Telephone:· (617) 390-3003                        12

13· · · · · · · · ·Email: mogrady@law.harvard.edu                    13

14· · · · · · · · ·Email: econnor@law.harvard.edu                    14

15· · · · · · · · ·Email: rellis@law.harvard.edu                     15

16· · · · · · · · ·Email: tmerrill@law.harvard.edu                   16

17                                                                   17

18· · · · · · · · · · · · · · - and -                                18

19                                                                   19

20                                                                   20

21                                                                   21

22                                                                   22

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·8· · · · · · · · ·(Attached to the Transcript)                   ·8

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13· · · ·Exhibit 26· ·Document Titled Standard· · · · · 56        13

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20· · · · · · · · · · Of Diane Auer Jones                         20

21· · · ·Exhibit 29· ·Borrower Defense Unit Claims· · ·142        21

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·2· · · · · · · ·(Not attached to the transcript)                 ·2·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Good morning.· We're
·3· · · ·DEPOSITION· · · · · · · · · · · · · · · · · ·PAGE:       ·3·   ·   ·   ·now on the record.· Participants should be aware
·4· · · ·Exhibit 3· · U.S. Department Of Education· · · 73        ·4·   ·   ·   ·that this proceeding is being recorded and as such
·5· · · · · · · · · · Office Of Inspector General                 ·5·   ·   ·   ·all conversations held will be recorded unless
·6· · · · · · · · · · Report                                      ·6·   ·   ·   ·there's a request and agreement to go off the
·7· · · ·Exhibit 7· · May 4, 2017 Email· · · · · · · · ·79        ·7·   ·   ·   ·record.
·8· · · ·Exhibit 10· ·May 22, 2019 Hearing· · · · · · · 91        ·8·   ·   ·   · · · · · · This is remote video recorded
·9· · · · · · · · · · Transcript                                  ·9·   ·   ·   ·deposition of Mr. Mark Brown taken today, Tuesday,
10· · · ·Exhibit 12· ·April 21, 2019 PowerPoint· · · · 231        10·   ·   ·   ·December 15th, 2020.· The time is now 15:03 in UTC
11· · · · · · · · · · Titled Borrower Defense To                  11·   ·   ·   ·time.· We're here in the matter of Theresa Sweet
12· · · · · · · · · · Repayment                                   12·   ·   ·   ·versus Elisabeth DeVos, et al.· My name is Dan
13· · · ·Exhibit 13· ·Defendants' Response To· · · · · 176        13·   ·   ·   ·Macom.· I'm the remote video technician on behalf
14· · · · · · · · · · August 31, 2020 Order                       14·   ·   ·   ·of U.S. Legal Support which is located at 90 Broad
15· · · ·Exhibit 15· ·Declaration Of Eileen Connor· · ·190        15·   ·   ·   ·Street, in New York, New York.· I am not related
16· · · ·Exhibit 17· ·Politico Article Titled DeVos· · 127
                                                                  16·   ·   ·   ·to any party in this action, nor am I financially
17· · · · · · · · · · Orders Partial Loan Relief                  17·   ·   ·   ·interested in its outcome.
18· · · · · · · · · · For Many Duped Student                      18·   ·   ·   · · · · · · At this time, I'll ask our court
19· · · · · · · · · · Borrowers                                   19·   ·   ·   ·reporter, Ms. Dana Ryan, on behalf of U.S. Legal
20· · · ·Exhibit 18· ·October 27, 2020 Oversight· · · ·213        20·   ·   ·   ·Support to please enter the statement for remote
21· · · · · · · · · · Committee Press Release                     21·   ·   ·   ·proceedings into the record.
22· · · · · · · · · · Titled New Documents Show                   22·   ·   ·   · · · · · · THE COURT REPORTER:· The attorneys
23· · · · · · · · · · Department Of Education Froze               23·   ·   ·   ·participating in this deposition acknowledge that
24· · · · · · · · · · Tool To Help Defrauded                      24·   ·   ·   ·I am not physically present in the deposition room
25· · · · · · · · · · Student Borrowers                           25·   ·   ·   ·and that I will be reporting this deposition


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·1·   ·   ·   ·remotely.· They further acknowledge that, in lieu    ·1·   ·   ·   · · · · · · (Written record only.)
·2·   ·   ·   ·of an oath administered in person, the witness       ·2·   ·   ·   · · · · · · (Witness presents government
·3·   ·   ·   ·will be sworn remotely and will declare his          ·3·   ·   ·   ·photo-issued ID and identity confirmed.)
·4·   ·   ·   ·testimony in this matter is under penalty of         ·4·   ·   ·   · · · · · · THE VIDEOGRAPHER:· We are now back on
·5·   ·   ·   ·perjury.· The parties and their counsel consent to   ·5·   ·   ·   ·the record.· The time is 15:08 UTC time.
·6·   ·   ·   ·this arrangement and waive any objections to this    ·6·   ·   ·   · · · · · · ·************************
·7·   ·   ·   ·manner of reporting.                                 ·7·   ·   ·   · · · · · · · · · · MARK BROWN,
·8·   ·   ·   · · · · · · If I could now get counsel to please      ·8·   ·   ·   · ·having been duly sworn, testified as follows:
·9·   ·   ·   ·indicate your agreement by stating your name and     ·9·   ·   ·   · · · · · · ·************************
10·   ·   ·   ·your agreement on the record.                        10·   ·   ·   · · ·EXAMINATION BY COUNSEL FOR THE PLAINTIFFS
11·   ·   ·   · · · · · · MS. TORCHIANA:· Ms. Claire Torchiana, I   11·   ·   ·   · · · BY MS. TORCHIANA:
12·   ·   ·   ·agree.                                               12·   ·   ·   · · · Q· · ·Mr. Brown, my name is Claire Torchiana.
13·   ·   ·   · · · · · · THE COURT REPORTER:· I'm sorry. I         13·   ·   ·   ·I'm an attorney with Housing and Economic Rights
14·   ·   ·   ·didn't hear anybody else.                            14·   ·   ·   ·Advocates for plaintiffs.· I'm just going to go
15·   ·   ·   · · · · · · MS. TORCHIANA:· Can you hear me?          15·   ·   ·   ·over a couple of things first before we begin.
16·   ·   ·   · · · · · · THE COURT REPORTER:· I can hear you,      16·   ·   ·   ·Could you please state your name for the record?
17·   ·   ·   ·Claire.                                              17·   ·   ·   · · · A· · ·Mark Brown.
18·   ·   ·   · · · · · · MS. TORCHIANA:· Okay.                     18·   ·   ·   · · · Q· · ·Okay.· And could you please communicate
19·   ·   ·   · · · · · · MR. HANCOCK:· Can you hear me?            19·   ·   ·   ·that there's no one else in the room with you
20·   ·   ·   · · · · · · THE COURT REPORTER:· Kind of.· Not        20·   ·   ·   ·right now?
21·   ·   ·   ·really.                                              21·   ·   ·   · · · A· · ·There's no one else in the room with me
22·   ·   ·   · · · · · · MR. HANCOCK:· Okay.· Let me go off my     22·   ·   ·   ·right now.
23·   ·   ·   ·earbuds.                                             23·   ·   ·   · · · Q· · ·Okay.· And could you confirm you won't
24·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Yeah, Mr. Hancock,     24·   ·   ·   ·communicate with anyone during the deposition via,
25·   ·   ·   ·your batteries might be going low on those.· You     25·   ·   ·   ·you know, smartphone or email or anything like

                                                        Page 11                                                             Page 13
·1·   ·   ·   ·might be able to use those later on.                 ·1·   ·   ·   ·that?
·2·   ·   ·   · · · · · · THE COURT REPORTER:· I can't hear you.    ·2·   ·   ·   · · · A· · ·I will not communicate with anyone via
·3·   ·   ·   ·Try again.                                           ·3·   ·   ·   ·any type of device.
·4·   ·   ·   · · · · · · MR. HANCOCK:· Let's see.· How about       ·4·   ·   ·   · · · Q· · ·Okay.· And are there any electronic
·5·   ·   ·   ·now?                                                 ·5·   ·   ·   ·devices in the room with you right now?
·6·   ·   ·   · · · · · · THE COURT REPORTER:· Yes.· Very good.     ·6·   ·   ·   · · · A· · ·There are phones on the -- over on the
·7·   ·   ·   · · · · · · MR. HANCOCK:· Great.· All right.          ·7·   ·   ·   ·side, and they're turned down, but they're in the
·8·   ·   ·   · · · · · · THE COURT REPORTER:· Thank you.           ·8·   ·   ·   ·room.
·9·   ·   ·   · · · · · · MR. HANCOCK:· So this is Kevin Hancock,   ·9·   ·   ·   · · · Q· · ·Okay.· If you could just keep them out
10·   ·   ·   ·and I agree as well.                                 10·   ·   ·   ·of sight, that would be great.
11·   ·   ·   · · · · · · THE WITNESS:· This is Mark Brown, and I   11·   ·   ·   · · · · · · And you can take breaks when you need.
12·   ·   ·   ·agree.                                               12·   ·   ·   ·You can just ask.· All I ask is that we finish
13·   ·   ·   · · · · · · THE COURT REPORTER:· Thank you,           13·   ·   ·   ·questioning before you take a break, so if I'm in
14·   ·   ·   ·Mr. Brown.                                           14·   ·   ·   ·the middle of a question, that we finish up that
15·   ·   ·   · · · · · · I'm going to need a government-issued     15·   ·   ·   ·question and then take a break after.
16·   ·   ·   ·photo ID.· Do you have a license or a passport       16·   ·   ·   · · · · · · Is there anything preventing you from
17·   ·   ·   ·handy?                                               17·   ·   ·   ·being truthful today?
18·   ·   ·   · · · · · · MR. HANCOCK:· Dana and Dan, sorry, I      18·   ·   ·   · · · A· · ·There is not.
19·   ·   ·   ·didn't think of this before.· But can we go off      19·   ·   ·   · · · Q· · ·Okay.· And government counsel may
20·   ·   ·   ·the record for the presentation of the ID, if that   20·   ·   ·   ·object to some questions, but you can still answer
21·   ·   ·   ·would be okay.                                       21·   ·   ·   ·unless your counsel instructs you not to.
22·   ·   ·   · · · · · · THE COURT REPORTER:· Sure.                22·   ·   ·   · · · · · · And what did you do today to prepare
23·   ·   ·   · · · · · · THE VIDEOGRAPHER:· If there is no         23·   ·   ·   ·for this deposition?
24·   ·   ·   ·objection.· We'll go off the record.· The time is    24·   ·   ·   · · · A· · ·I worked with my --
25·   ·   ·   ·15:05 UTC time.                                      25·   ·   ·   · · · Q· · ·Before today?


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·1·   ·   ·   · · · A· · ·Worked with my Department of Justice      ·1·   ·   ·   ·Six months prior to going on active duty in the
·2·   ·   ·   ·attorneys.                                           ·2·   ·   ·   ·United States Air Force, I worked as an intern on
·3·   ·   ·   · · · Q· · ·Okay.· And which attorneys did you meet   ·3·   ·   ·   ·a Southern Bell teleworking company in Atlanta,
·4·   ·   ·   ·with?                                                ·4·   ·   ·   ·Georgia.
·5·   ·   ·   · · · A· · ·I -- I have not committed all of their    ·5·   ·   ·   · · · · · · After that, I went to my first military
·6·   ·   ·   ·names to memory.· I will say that the lead           ·6·   ·   ·   ·assignment which was in the Republic of the
·7·   ·   ·   ·attorney was Kevin P. Hancock.                       ·7·   ·   ·   ·Philippines where I started my military career. I
·8·   ·   ·   · · · Q· · ·Okay.· And how long did you meet with     ·8·   ·   ·   ·moved around 16 times in different areas across
·9·   ·   ·   ·them for?                                            ·9·   ·   ·   ·the country.· I lived in the United Kingdom. I
10·   ·   ·   · · · A· · ·I don't know the exact amount of time.    10·   ·   ·   ·lived in Spain.· I lived in Turkey.· I worked in
11·   ·   ·   ·For several hours on three different occasions.      11·   ·   ·   ·Iraq.
12·   ·   ·   · · · Q· · ·Okay.· And did you consult any            12·   ·   ·   · · · · · · After 32 years, I retired at the grade
13·   ·   ·   ·documents?                                           13·   ·   ·   ·of major general as the deputy commander for all
14·   ·   ·   · · · A· · ·I read the declarations of myself. I      14·   ·   ·   ·of Air Education and Training Command which
15·   ·   ·   ·read the declaration of the lead borrower defense    15·   ·   ·   ·trains, recruits and develops United States Air
16·   ·   ·   ·for our organization, borrower defense attorney.     16·   ·   ·   ·Force airmen.
17·   ·   ·   ·And I read the declaration of the under secretary    17·   ·   ·   · · · · · · Upon retirement, I moved back to
18·   ·   ·   ·Diane Jones.                                         18·   ·   ·   ·Washington, having spent many years in Washington
19·   ·   ·   · · · Q· · ·Okay.· And did those refresh your         19·   ·   ·   ·at the Pentagon, and moved into Alexandria,
20·   ·   ·   ·recollection?                                        20·   ·   ·   ·Virginia, where I was a consultant -- defense
21·   ·   ·   · · · A· · ·In some instances, yes, but not in all.   21·   ·   ·   ·consultant in the areas of education and training
22·   ·   ·   · · · Q· · ·Okay.· Okay.· And have you ever been      22·   ·   ·   ·for the defense industry.
23·   ·   ·   ·deposed before?                                      23·   ·   ·   · · · · · · Upon about -- about one year into that,
24·   ·   ·   · · · A· · ·I've never actually sat through a -- a    24·   ·   ·   ·I was recruited to be a senior advisor at the
25·   ·   ·   ·deposition.                                          25·   ·   ·   ·Department of Education.· I was recruited by the

                                                        Page 15                                                             Page 17
·1·   ·   ·   · · · Q· · ·Okay.· Okay.· So now if you could         ·1·   ·   ·   ·deputy of secretary of education.
·2·   ·   ·   ·turn -- our first exhibit is just going to be your   ·2·   ·   ·   · · · · · · I started that job in October of 2018,
·3·   ·   ·   ·deposition notice, and that's behind tab 24.· And    ·3·   ·   ·   ·and for approximately the next six months, my
·4·   ·   ·   ·in the electronic files it should be bracketed 24?   ·4·   ·   ·   ·portfolio involved human capital management where
·5·   ·   ·   · · · A· · ·Okay.· I will need to open the box and    ·5·   ·   ·   ·I was looking at how we hired and recruited people
·6·   ·   ·   ·pull them out.                                       ·6·   ·   ·   ·and the speed at which we could go through that
·7·   ·   ·   · · · Q· · ·Okay.                                     ·7·   ·   ·   ·system of recruiting for Federal Student Aid. I
·8·   ·   ·   · · · A· · ·Okay.· I have tab 24 in front of me.      ·8·   ·   ·   ·did that in ten of our regions and across the
·9·   ·   ·   · · · Q· · ·Okay.· Great.· And did you receive this   ·9·   ·   ·   ·country in all of the elements that are Federal
10·   ·   ·   ·notice?                                              10·   ·   ·   ·Student Aid.
11·   ·   ·   · · · · · · MS. TORCHIANA:· And can we mark that as   11·   ·   ·   · · · · · · In March of 2019, I was appointed by
12·   ·   ·   ·Exhibit 24?                                          12·   ·   ·   ·the secretary of education to be a chief operating
13·   ·   ·   · · · · · · (Deposition Exhibit 24 was marked for     13·   ·   ·   ·officer, the position that I hold today.
14·   ·   ·   ·identification and attached to the transcript.)      14·   ·   ·   · · · · · · The one correction I would say is I may
15·   ·   ·   · · · · · · THE WITNESS:· (Reviews document.)         15·   ·   ·   ·have said October of 2019, meaning October of
16·   ·   ·   · · · · · · I did.                                    16·   ·   ·   ·2018, six months leading into the March of 2019
17·   ·   ·   · · · BY MS. TORCHIANA:                               17·   ·   ·   ·when I became the chief operating officer of
18·   ·   ·   · · · Q· · ·Okay.· Now we're just going to start      18·   ·   ·   ·Federal Student Aid.
19·   ·   ·   ·with some background information.· Could you         19·   ·   ·   · · · Q· · ·I think you said 2018.
20·   ·   ·   ·please tell me about your employment history         20·   ·   ·   · · · · · · When you joined as the -- I didn't
21·   ·   ·   ·starting with your graduation from college?          21·   ·   ·   ·catch -- what was your position when you joined in
22·   ·   ·   · · · A· · ·Yes.· I graduated from Tuskegee           22·   ·   ·   ·October of 2018?
23·   ·   ·   ·Institute University in Tuskegee, Alabama, in May    23·   ·   ·   · · · A· · ·Senior advisor.
24·   ·   ·   ·of 1986.· After graduation, I was commissioned a     24·   ·   ·   · · · Q· · ·Okay.· And other than what you've
25·   ·   ·   ·second lieutenant in the United States Air Force.    25·   ·   ·   ·mentioned, do you have any other involvement in


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·1·   ·   ·   ·higher education before you started this role?       ·1·   ·   ·   ·Counsel.· I could not give you the individual
·2·   ·   ·   · · · A· · ·My involvement in higher education is     ·2·   ·   ·   ·names.· I don't know them.
·3·   ·   ·   ·through the higher education that is presented in    ·3·   ·   ·   · · · Q· · ·Okay.· And is that your signature on
·4·   ·   ·   ·the United States Air Force.· I was the deputy       ·4·   ·   ·   ·line --
·5·   ·   ·   ·commander of air education and training command      ·5·   ·   ·   · · · · · · MS. BERMAN:· I'm sorry.· Claire, what
·6·   ·   ·   ·and would do assignments with oversight of           ·6·   ·   ·   ·tab are you on?
·7·   ·   ·   ·educational facilities, dormitories, as well as      ·7·   ·   ·   · · · · · · MS. TORCHIANA:· Twenty-five.
·8·   ·   ·   ·curriculum and students and those kinds of things    ·8·   ·   ·   · · · · · · MR. HANCOCK:· I think there may be two
·9·   ·   ·   ·because we are part of Air Force's education.        ·9·   ·   ·   ·25s.
10·   ·   ·   · · · Q· · ·Have you ever had any board member        10·   ·   ·   · · · · · · MS. TORCHIANA:· Oh, yeah.· It's 25 --
11·   ·   ·   ·positions that are relative to higher ed?            11·   ·   ·   ·it's ECF 71-3, declaration of Mark Brown.
12·   ·   ·   · · · A· · ·I have.· I've been a -- no higher ed,     12·   ·   ·   · · · · · · MS. BERMAN:· Okay.· Thank you.· There
13·   ·   ·   ·but ed to say to be specific.· I was a board         13·   ·   ·   ·are two tab 25s.· Thank you.
14·   ·   ·   ·member of the KnowledgeWorks Corporation which is    14·   ·   ·   · · · · · · MS. TORCHIANA:· Great.· Okay.
15·   ·   ·   ·a 501(c) organization that's focused on education.   15·   ·   ·   · · · BY MS. TORCHIANA:
16·   ·   ·   ·For some time, I let that board membership go to     16·   ·   ·   · · · Q· · ·Okay.· And if you could turn to
17·   ·   ·   ·avoid a conflict of interest when I became the       17·   ·   ·   ·paragraph 2, and if you could just tell me -- so
18·   ·   ·   ·chief operating officer here, shortly thereafter.    18·   ·   ·   ·your current role is the COO of FSA, and you
19·   ·   ·   ·No other board memberships.                          19·   ·   ·   ·started March 4th, 2019; is that right?
20·   ·   ·   · · · Q· · ·Okay.· And when did you resign from the   20·   ·   ·   · · · A· · ·That's correct.
21·   ·   ·   ·board of KnowledgeWorks?                             21·   ·   ·   · · · Q· · ·Okay.· And who was your predecessor?
22·   ·   ·   · · · A· · ·I don't remember the exact date.· It      22·   ·   ·   · · · A· · ·My predecessor was Mr. Manning.
23·   ·   ·   ·was probably within three months or so of taking     23·   ·   ·   · · · Q· · ·Okay.· And when you started, did you
24·   ·   ·   ·the job as the chief operating officer.              24·   ·   ·   ·have any discussions with him about borrower
25·   ·   ·   · · · Q· · ·Okay.· Did you consider resigning         25·   ·   ·   ·defense?

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·1·   ·   ·   ·before then or . . .                                 ·1·   ·   ·   · · · A· · ·I did not.
·2·   ·   ·   · · · A· · ·No.· No, I -- I didn't consider           ·2·   ·   ·   · · · Q· · ·Did you meet with him?
·3·   ·   ·   ·resigning until it appeared to be a conflict of      ·3·   ·   ·   · · · A· · ·I did not, not -- if your question is
·4·   ·   ·   ·interest, and so I -- I resigned.                    ·4·   ·   ·   ·did I meet with him on borrower defense, the
·5·   ·   ·   · · · Q· · ·Okay.· Okay.· And if you could now turn   ·5·   ·   ·   ·answer is I did not.
·6·   ·   ·   ·to -- it's tab 25.· And in the electronic files      ·6·   ·   ·   · · · Q· · ·Okay.· Did you meet with him at all?
·7·   ·   ·   ·it's bracketed as [25] ECF 71-3.                     ·7·   ·   ·   · · · A· · ·I did.
·8·   ·   ·   · · · · · · MS. TORCHIANA:· And if we could mark      ·8·   ·   ·   · · · Q· · ·But you didn't discuss borrower
·9·   ·   ·   ·that as Exhibit 25.                                  ·9·   ·   ·   ·defense?
10·   ·   ·   · · · · · · (Deposition Exhibit 25 was marked for     10·   ·   ·   · · · A· · ·I did not.
11·   ·   ·   ·identification and attached to the transcript.)      11·   ·   ·   · · · Q· · ·Okay.· What do you recall discussing
12·   ·   ·   · · · · · · THE WITNESS:· I have the exhibit.         12·   ·   ·   ·with him generally?
13·   ·   ·   · · · BY MS. TORCHIANA:                               13·   ·   ·   · · · A· · ·Human capital.
14·   ·   ·   · · · Q· · ·Okay.· So do you recognize this           14·   ·   ·   · · · Q· · ·Okay.· And did you discuss -- by "human
15·   ·   ·   ·document?                                            15·   ·   ·   ·capital," do you mean staffing?
16·   ·   ·   · · · A· · ·(Witness reviews document.)               16·   ·   ·   · · · A· · ·Human capital as it related to my
17·   ·   ·   · · · · · · I do recognize this as my declaration.    17·   ·   ·   ·portfolio which was how to hire quicker with
18·   ·   ·   · · · Q· · ·Okay.· Did you write it?                  18·   ·   ·   ·unique talents into Federal Student Aid.
19·   ·   ·   · · · A· · ·I never write my full declarations. I     19·   ·   ·   · · · Q· · ·Okay.· And did you discuss anything
20·   ·   ·   ·do that with the assistance of an attorney.          20·   ·   ·   ·about hiring within the borrower defense unit?
21·   ·   ·   · · · Q· · ·Okay.· And who helped you write it?       21·   ·   ·   · · · A· · ·We did not.
22·   ·   ·   · · · A· · ·I could not tell you the individual's     22·   ·   ·   · · · Q· · ·Okay.· And did he -- did Mr. Manning
23·   ·   ·   ·name.· I could tell you that an attorney within      23·   ·   ·   ·tell you anything about any concerns about
24·   ·   ·   ·the Office of General Counsel and assisted by        24·   ·   ·   ·staffing at Federal Student Aid?
25·   ·   ·   ·whoever assists them inside the Office of General    25·   ·   ·   · · · A· · ·Concerns about the speed at which we


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·1·   ·   ·   ·could hire personnel into Federal Student Aid.       ·1·   ·   ·   · · · A· · ·It was within the last five or six
·2·   ·   ·   · · · Q· · ·Okay.· But not in borrower defense?       ·2·   ·   ·   ·months, I believe.
·3·   ·   ·   · · · A· · ·We did not -- again, we did not discuss   ·3·   ·   ·   · · · Q· · ·Okay.· And was there a reason you
·4·   ·   ·   ·borrower defense.                                    ·4·   ·   ·   ·started having weekly meetings?
·5·   ·   ·   · · · Q· · ·Okay.· And could you tell me who do you   ·5·   ·   ·   · · · A· · ·Because she requested them.
·6·   ·   ·   ·report to?                                           ·6·   ·   ·   · · · Q· · ·Do you know why she requested them?
·7·   ·   ·   · · · A· · ·I report to the under secretary who is    ·7·   ·   ·   · · · A· · ·No, I don't.· She's my boss, so when
·8·   ·   ·   ·assigned those duties.                               ·8·   ·   ·   ·she requested them, I submitted them.
·9·   ·   ·   · · · Q· · ·And has that changed throughout your      ·9·   ·   ·   · · · Q· · ·And how do you communicate with
10·   ·   ·   ·time at FSA?                                         10·   ·   ·   ·Ms. Diane Auer Jones?
11·   ·   ·   · · · A· · ·It has not changed since my time as       11·   ·   ·   · · · A· · ·Routinely, I call her, or in our
12·   ·   ·   ·chief operating officer of Federal Student Aid.      12·   ·   ·   ·situation that we're in now, I do what you and I
13·   ·   ·   · · · Q· · ·Okay.· And before you were chief          13·   ·   ·   ·are doing right now.· I talk to her via some form
14·   ·   ·   ·officer, who did you report to?                      14·   ·   ·   ·of social -- some form of platform like we have,
15·   ·   ·   · · · A· · ·Mr. Manning would have been the chief     15·   ·   ·   ·Zoom or MS teams, something like that.
16·   ·   ·   ·operating officer of Federal Student Aid.            16·   ·   ·   · · · Q· · ·Okay.· And how often did you meet with
17·   ·   ·   · · · Q· · ·So when you were -- just to be clear,     17·   ·   ·   ·the secretary of education?
18·   ·   ·   ·so when you were a senior advisor, you were          18·   ·   ·   · · · A· · ·I meet with the secretary of education
19·   ·   ·   ·reporting to Mr. Manning?                            19·   ·   ·   ·around every two weeks.
20·   ·   ·   · · · A· · ·Yes.                                      20·   ·   ·   · · · Q· · ·Okay.· And are those regular meetings
21·   ·   ·   · · · Q· · ·Okay.· And do you report to any           21·   ·   ·   ·scheduled as standing meetings?
22·   ·   ·   ·political appointees as COO and then before when     22·   ·   ·   · · · A· · ·They are regularly scheduled standing
23·   ·   ·   ·you were a senior advisor?                           23·   ·   ·   ·meetings.
24·   ·   ·   · · · A· · ·Mr. Manning was a political appointee     24·   ·   ·   · · · Q· · ·And has that been true since you
25·   ·   ·   ·assigned temporarily to Federal Student Aid.· How    25·   ·   ·   ·started as COO?

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·1·   ·   ·   ·he was classified at the time, I actually don't      ·1·   ·   ·   · · · A· · ·I believe that has been the case since
·2·   ·   ·   ·know.                                                ·2·   ·   ·   ·I started as chief operating officer.
·3·   ·   ·   · · · Q· · ·Uh-huh.                                   ·3·   ·   ·   · · · Q· · ·Okay.· And what form do these meetings
·4·   ·   ·   · · · A· · ·The under secretary that I report to is   ·4·   ·   ·   ·take?· Are they over the phone, in person?
·5·   ·   ·   ·a political appointee.                               ·5·   ·   ·   · · · · · · I know it's changed since the pandemic.
·6·   ·   ·   · · · Q· · ·Okay.· And how often do you meet          ·6·   ·   ·   · · · A· · ·It varies.· Routinely, for some time in
·7·   ·   ·   ·with -- by under secretary, I assume you mean        ·7·   ·   ·   ·person.· Now in the method that we are using now,
·8·   ·   ·   ·Diane Auer Jones.· How often do you meet with her?   ·8·   ·   ·   ·that's how they -- they normally would happen.
·9·   ·   ·   · · · A· · ·It varies depending on what's going on    ·9·   ·   ·   · · · Q· · ·Okay.· And generally how long were
10·   ·   ·   ·at the time.· It could be once a week.· It could     10·   ·   ·   ·these meetings?· I know it varies, but . . .
11·   ·   ·   ·be more than once a week.· So it varies just         11·   ·   ·   · · · A· · ·Generally 45 minutes or so, but I would
12·   ·   ·   ·depending on the tempo of work at the time.          12·   ·   ·   ·be more comfortable saying it varies.
13·   ·   ·   · · · Q· · ·Okay.· And would you say at a minimum,    13·   ·   ·   · · · Q· · ·Okay.· And did you ever discuss
14·   ·   ·   ·it's one a week?                                     14·   ·   ·   ·borrower defense with her?
15·   ·   ·   · · · A· · ·I would not.· I would say it varies.      15·   ·   ·   · · · A· · ·Yes, we have had that as an agenda item
16·   ·   ·   · · · Q· · ·Okay.· And do you have any standing       16·   ·   ·   ·at times.
17·   ·   ·   ·meetings?                                            17·   ·   ·   · · · Q· · ·Okay.· And could you tell me when --
18·   ·   ·   · · · A· · ·I -- I would say that it varies. I        18·   ·   ·   ·well, we'll get into that later.
19·   ·   ·   ·don't believe we have any standing meetings.         19·   ·   ·   · · · · · · Okay.· So could you tell me what your
20·   ·   ·   ·We -- we have one-on-one sessions, I believe,        20·   ·   ·   ·understanding is of Diane Auer Jones' role within
21·   ·   ·   ·every week now, but that has not always been the     21·   ·   ·   ·FSA?
22·   ·   ·   ·case.· And, so, I'm more comfortable saying it       22·   ·   ·   · · · A· · ·I can tell you that Diane Jones
23·   ·   ·   ·varies.                                              23·   ·   ·   ·controls the policy of the -- policy element of
24·   ·   ·   · · · Q· · ·Okay.· And when did you start having      24·   ·   ·   ·the department, and -- and, therefore, by virtue
25·   ·   ·   ·weekly meetings?                                     25·   ·   ·   ·of that, has a natural relationship with Federal


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·1·   ·   ·   ·Student Aid that -- that executes policy.            ·1·   ·   ·   ·March, how often were you meeting with her in,
·2·   ·   ·   · · · · · · And, so, that is how I understand her     ·2·   ·   ·   ·let's say, the first two months that you were COO?
·3·   ·   ·   ·relationship.· She is delegated the duties of the    ·3·   ·   ·   · · · A· · ·Within the first month that I was COO,
·4·   ·   ·   ·oversight of FSA from the secretary specifically     ·4·   ·   ·   ·I met with members of the borrower defense team
·5·   ·   ·   ·as it relates to policy.                             ·5·   ·   ·   ·almost daily because of my interest in the
·6·   ·   ·   · · · Q· · ·Okay.· And you mentioned -- how often     ·6·   ·   ·   ·borrower defense issues or my education on the
·7·   ·   ·   ·do you meet with not Diane Auer Jones, but members   ·7·   ·   ·   ·borrower defense issues.
·8·   ·   ·   ·of her team?                                         ·8·   ·   ·   · · · Q· · ·Okay.· And what -- what was interesting
·9·   ·   ·   · · · A· · ·I didn't mention meeting with members     ·9·   ·   ·   ·to you about -- when you say you're interested in
10·   ·   ·   ·of her team.                                         10·   ·   ·   ·borrower defense issues, what do you mean?
11·   ·   ·   · · · Q· · ·Oh, do you -- do you meet --              11·   ·   ·   · · · A· · ·I was interested in the process of
12·   ·   ·   · · · A· · ·I don't believe --                        12·   ·   ·   ·borrower defense, the status of borrower defense,
13·   ·   ·   · · · Q· · ·-- with members of her team?              13·   ·   ·   ·our portfolio in borrower defense.· I was
14·   ·   ·   · · · A· · ·I do not.                                 14·   ·   ·   ·interested in it as the chief operating officer
15·   ·   ·   · · · Q· · ·Okay.                                     15·   ·   ·   ·because that became the operations of the
16·   ·   ·   · · · A· · ·I don't meet with members of her team,    16·   ·   ·   ·organization and became my responsibility and that
17·   ·   ·   ·so no.                                               17·   ·   ·   ·was a part of it.· I had not been exposed to it as
18·   ·   ·   · · · Q· · ·Okay.· What is your understanding of      18·   ·   ·   ·the senior advisor.· So that, amongst other
19·   ·   ·   ·Ms. Nevin's role within FSA?                         19·   ·   ·   ·issues, I emerged myself into.
20·   ·   ·   · · · A· · ·Do you mean Colleen Nevin?                20·   ·   ·   · · · Q· · ·And was there anything when you started
21·   ·   ·   · · · Q· · ·Yes.                                      21·   ·   ·   ·that concerned you about borrower defense?
22·   ·   ·   · · · A· · ·Colleen Nevin is the leader of the        22·   ·   ·   · · · A· · ·The number of cases concerned me, and
23·   ·   ·   ·policy defense team.                                 23·   ·   ·   ·the amount of staffing available to do those cases
24·   ·   ·   · · · Q· · ·And does she have a policy role?          24·   ·   ·   ·concerned me after I became educated on those
25·   ·   ·   · · · A· · ·Federal Student Aid does not do policy,   25·   ·   ·   ·facts.

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·1·   ·   ·   ·so no one at Federal Student Aid has a policy        ·1·   ·   ·   · · · Q· · ·Okay.· And, specifically, what do you
·2·   ·   ·   ·role.                                                ·2·   ·   ·   ·mean by the number of cases?
·3·   ·   ·   · · · Q· · ·Okay.· Would you say she does             ·3·   ·   ·   · · · A· · ·What I mean is just that; that there
·4·   ·   ·   ·operations, then?                                    ·4·   ·   ·   ·were a lot of cases and that represented workload.
·5·   ·   ·   · · · A· · ·I would say that everyone at Federal      ·5·   ·   ·   ·And as an operating -- a chief operating officer,
·6·   ·   ·   ·Student Aid does operations.                         ·6·   ·   ·   ·I would immediately go to "are we sufficiently
·7·   ·   ·   · · · Q· · ·Okay.· And how often do you meet with     ·7·   ·   ·   ·staffed to do a workload of that -- of that
·8·   ·   ·   ·Ms. Nevin?                                           ·8·   ·   ·   ·level."· That's what I mean by number of cases.
·9·   ·   ·   · · · A· · ·It varies.                                ·9·   ·   ·   · · · Q· · ·Okay.· And when you started when you
10·   ·   ·   · · · Q· · ·Okay.· At a minimum, how often do you     10·   ·   ·   ·were meeting with Ms. Nevin, how did -- why did
11·   ·   ·   ·meet with her?                                       11·   ·   ·   ·you understand there to be so many cases?
12·   ·   ·   · · · A· · ·Again, I say it varies because I've       12·   ·   ·   · · · A· · ·Because the borrower defense team
13·   ·   ·   ·been the chief of Federal Student Aid since March    13·   ·   ·   ·showed me the number of cases that they had and
14·   ·   ·   ·of 2019, and that varies.· Sometimes I have not      14·   ·   ·   ·the history of the cases, how long they had had
15·   ·   ·   ·met with her on a weekly basis; sometimes I have.    15·   ·   ·   ·them and the history of borrower defense.· And,
16·   ·   ·   ·It just depends on what things are -- what's going   16·   ·   ·   ·so, it was very obvious that there were
17·   ·   ·   ·on again and what the issues are.                    17·   ·   ·   ·significantly more cases than there had ever been
18·   ·   ·   · · · · · · So, you know, I -- if you said you --     18·   ·   ·   ·in the history of borrower defense.
19·   ·   ·   ·your question to me was at a minimum if it was       19·   ·   ·   · · · Q· · ·Right.
20·   ·   ·   ·weekly.· If I think of that whole period of time,    20·   ·   ·   · · · · · · I meant and why did you understand that
21·   ·   ·   ·I would still come back to it varies because I       21·   ·   ·   ·to be the case?· What was the reason that there
22·   ·   ·   ·can't tell you that more times than not I met with   22·   ·   ·   ·are so many cases?
23·   ·   ·   ·her at least a week -- once a week.· I don't know    23·   ·   ·   · · · · · · MR. HANCOCK:· Objection: vague.
24·   ·   ·   ·that to be true.                                     24·   ·   ·   · · · BY MS. TORCHIANA:
25·   ·   ·   · · · Q· · ·Okay.· Let's say when you started in      25·   ·   ·   · · · Q· · ·Okay.· All right.· We'll get into that


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·1·   ·   ·   ·later.                                               ·1·   ·   ·   ·Office of Federal Student Aid if -- if that's your
·2·   ·   ·   · · · · · · Okay.· And is there anyone who reports    ·2·   ·   ·   ·question, and borrower defense has -- has metrics
·3·   ·   ·   ·to you?· Or who reports to you?                      ·3·   ·   ·   ·inside of Federal Student Aid.· We're a
·4·   ·   ·   · · · A· · ·So the way my organization is             ·4·   ·   ·   ·performance-based organization and by virtue of
·5·   ·   ·   ·organized, I have five deputy chief operating        ·5·   ·   ·   ·that, we're a metric of which borrower defense is
·6·   ·   ·   ·officers; all report directly to me.· And other      ·6·   ·   ·   ·one.
·7·   ·   ·   ·than that, it would be my administrative office      ·7·   ·   ·   · · · Q· · ·Sorry.· You're cutting out a little
·8·   ·   ·   ·that would be in the front office kind of folks,     ·8·   ·   ·   ·bit, but -- but I think I -- I understood that.
·9·   ·   ·   ·but those are the folks that report to me.           ·9·   ·   ·   · · · A· · ·I'm sorry.
10·   ·   ·   · · · Q· · ·Okay.· And could you give me the names    10·   ·   ·   · · · Q· · ·Okay.· And have you ever been advised
11·   ·   ·   ·of those five deputy chief officers?                 11·   ·   ·   ·to improve your performance as it relates to
12·   ·   ·   · · · A· · ·Today -- as of today, those names are     12·   ·   ·   ·borrower defense?
13·   ·   ·   ·Robin Minor, who is the deputy chief operating       13·   ·   ·   · · · · · · MR. HANCOCK:· Objection: exceeds the
14·   ·   ·   ·officer of partner participation and oversight;      14·   ·   ·   ·scope of the court-ordered discovery.
15·   ·   ·   ·Dave Albers who is a deputy chief operating          15·   ·   ·   · · · · · · MS. TORCHIANA:· Okay.· I would say it's
16·   ·   ·   ·officer for strategic planning; Joe Lindsey, who     16·   ·   ·   ·pretty relevant, but we can move on for now.
17·   ·   ·   ·is a principal deputy chief operating officer;       17·   ·   ·   · · · BY MS. TORCHIANA:
18·   ·   ·   ·Chris Greene, who is a deputy chief operating        18·   ·   ·   · · · Q· · ·And do you evaluate anyone?
19·   ·   ·   ·officer for student engagement and aid delivery;     19·   ·   ·   · · · A· · ·I -- I ultimately evaluate the five
20·   ·   ·   ·and Colleen McGinnis, who is the deputy chief        20·   ·   ·   ·deputy chief operating officers that report to me
21·   ·   ·   ·operating officer for internal controls and those    21·   ·   ·   ·directly and those inside of my front office.
22·   ·   ·   ·kinds of issues.· And that should make up the five   22·   ·   ·   · · · Q· · ·Okay.· And are those formal reviews?
23·   ·   ·   ·unless I dropped off a name.                         23·   ·   ·   · · · A· · ·Yes.· Yes, they have -- they have
24·   ·   ·   · · · Q· · ·And are there reports about your          24·   ·   ·   ·annual -- we are still a government agency, and so
25·   ·   ·   ·performance?                                         25·   ·   ·   ·at the end of a reporting period, at the end of a

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·1·   ·   ·   · · · A· · ·Pardon me, ma'am.· Could you repeat       ·1·   ·   ·   ·fiscal year, we have an end-of-year evaluation
·2·   ·   ·   ·that question, please?                               ·2·   ·   ·   ·done on employees.
·3·   ·   ·   · · · Q· · ·Are there reports about your              ·3·   ·   ·   · · · Q· · ·Okay.· Okay.· And if you could turn to
·4·   ·   ·   ·performance?                                         ·4·   ·   ·   ·paragraph 3 of your declaration.· You say here
·5·   ·   ·   · · · A· · ·Mine, personally?                         ·5·   ·   ·   ·that you oversee the management of FSA.
·6·   ·   ·   · · · Q· · ·Uh-huh.· Yes.                             ·6·   ·   ·   · · · · · · Could you explain in more detail how
·7·   ·   ·   · · · A· · ·Yes, I'm accountable for my performance   ·7·   ·   ·   ·that relates to your work with the borrower
·8·   ·   ·   ·and there's an annual report.                        ·8·   ·   ·   ·defense unit or with borrower defense generally?
·9·   ·   ·   · · · Q· · ·Okay.· And who prepares those reports?    ·9·   ·   ·   · · · A· · ·As I stated earlier, I have five deputy
10·   ·   ·   · · · A· · ·Who prepares them?· The -- ultimately     10·   ·   ·   ·chief operating officers.· One of them that I
11·   ·   ·   ·the secretary of education approves my final         11·   ·   ·   ·named was Ms. Robin Minor, who is the deputy chief
12·   ·   ·   ·report.· I prepare input for that report if that's   12·   ·   ·   ·operating officer for partner participation and
13·   ·   ·   ·your question, and I send that input to the deputy   13·   ·   ·   ·oversight.· One of Ms. Minor's organizations
14·   ·   ·   ·under secretary.                                     14·   ·   ·   ·underneath her as partner participation and
15·   ·   ·   · · · · · · Was that your question?                   15·   ·   ·   ·oversight is the borrower defense unit.· And, so,
16·   ·   ·   · · · Q· · ·Yes.                                      16·   ·   ·   ·in this -- in regards to your question, I manage
17·   ·   ·   · · · · · · And are there any metrics by which your   17·   ·   ·   ·the deputies who, in turn, manage subordinate
18·   ·   ·   ·performance is evaluated that you know of?           18·   ·   ·   ·units, and one of the subordinate units inside of
19·   ·   ·   · · · · · · MR. HANCOCK:· Objection: exceeds the      19·   ·   ·   ·partner participation and oversight is the
20·   ·   ·   ·scope of the court-ordered discovery.                20·   ·   ·   ·borrower defense unit.
21·   ·   ·   · · · BY MS. TORCHIANA:                               21·   ·   ·   · · · Q· · ·Okay.· Okay.· And would you say of the
22·   ·   ·   · · · Q· · ·Well, do you know is anything about       22·   ·   ·   ·five deputies that you oversee, is Robin Minor the
23·   ·   ·   ·borrower defense taken into account in your          23·   ·   ·   ·only one who works with the BDU; is that true?
24·   ·   ·   ·performance metrics?                                 24·   ·   ·   · · · A· · ·I -- I didn't say that, and it would be
25·   ·   ·   · · · A· · ·We have many performance metrics in the   25·   ·   ·   ·difficult to say that.· I -- I wouldn't say that


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·1·   ·   ·   ·because things could go around for, you know,        ·1·   ·   ·   · · · A· · ·When I started at Federal Student Aid?
·2·   ·   ·   ·different parts of the organization, so I -- I       ·2·   ·   ·   · · · Q· · ·Well, as COO.
·3·   ·   ·   ·won't say that none of the other organizations       ·3·   ·   ·   · · · A· · ·As COO?
·4·   ·   ·   ·work with the borrower defense unit.· I can only     ·4·   ·   ·   · · · Q· · ·Uh-huh.
·5·   ·   ·   ·say that they report to Robin Minor.                 ·5·   ·   ·   · · · A· · ·When I started at Federal Student Aid
·6·   ·   ·   · · · Q· · ·Okay.· The BDU reports to Robin Minor?    ·6·   ·   ·   ·as COO, I was not clear on what the goals and
·7·   ·   ·   · · · A· · ·That's correct.                           ·7·   ·   ·   ·objectives of Federal Student Aid was at the time,
·8·   ·   ·   · · · Q· · ·You say here -- we've talked about this   ·8·   ·   ·   ·so I couldn't -- if you were to ask me what were
·9·   ·   ·   ·a bit.· You say here, Federal Student Aid is an      ·9·   ·   ·   ·they -- which I think you're asking me what were
10·   ·   ·   ·apolitical, performance-based organization.          10·   ·   ·   ·the goals and objectives of Federal Student Aid in
11·   ·   ·   · · · · · · Could you tell me a little bit more       11·   ·   ·   ·March of 2019, I was not given a set of goals and
12·   ·   ·   ·about what that means?                               12·   ·   ·   ·objectives in March of 2019.
13·   ·   ·   · · · A· · ·That means that we go across -- we        13·   ·   ·   · · · Q· · ·Okay.· So when you started -- so when
14·   ·   ·   ·don't change in or out based on political            14·   ·   ·   ·you started, it was not clear to you that FSA had
15·   ·   ·   ·appointments; that we go across administrations.     15·   ·   ·   ·any goals?
16·   ·   ·   ·Much like the careers of public servants, we -- we   16·   ·   ·   · · · A· · ·That's not what I said.· No, what I --
17·   ·   ·   ·don't attribute or work toward any political end.    17·   ·   ·   ·I thought what you said was what were the goals
18·   ·   ·   ·We work toward the execution of whatever             18·   ·   ·   ·presented to me when I started at my job as the
19·   ·   ·   ·legislation and authorities that we are given        19·   ·   ·   ·chief operating officer at Federal Student Aid.
20·   ·   ·   ·without regard to political affiliations.            20·   ·   ·   · · · · · · Is that your question or --
21·   ·   ·   · · · Q· · ·Okay.· And on that subject, how is your   21·   ·   ·   · · · Q· · ·Yes.· What were the goals and
22·   ·   ·   ·compensation related to your performance?            22·   ·   ·   ·priorities that were presented to you that FSA
23·   ·   ·   · · · · · · MR. HANCOCK:· Objection: exceeds the      23·   ·   ·   ·had?
24·   ·   ·   ·scope of the court-ordered discovery.                24·   ·   ·   · · · A· · ·So my answer is that there were no
25·   ·   ·   · · · BY MS. TORCHIANA:                               25·   ·   ·   ·goals or priorities presented to me when I started

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·1·   ·   ·   · · · Q· · ·Okay.· How does your compensation         ·1·   ·   ·   ·the job as chief operating officer of Federal
·2·   ·   ·   ·related to processing borrower defense claims?       ·2·   ·   ·   ·Student Aid.· I -- I read the strategic plans of
·3·   ·   ·   · · · · · · MR. HANCOCK:· Objection: exceeds the      ·3·   ·   ·   ·Federal Student Aid to -- to learn what the -- the
·4·   ·   ·   ·scope of the court-ordered discovery.                ·4·   ·   ·   ·goals and objectives had been across several years
·5·   ·   ·   · · · BY MS. TORCHIANA:                               ·5·   ·   ·   ·and found them to be broad.
·6·   ·   ·   · · · Q· · ·You can still answer unless your          ·6·   ·   ·   · · · Q· · ·Okay.· And did you -- when you started,
·7·   ·   ·   ·counsel instructs you not to.                        ·7·   ·   ·   ·did you meet with anyone, you know, for example,
·8·   ·   ·   · · · · · · MR. HANCOCK:· The witness may answer.     ·8·   ·   ·   ·who onboarded you and explained to you the
·9·   ·   ·   · · · · · · THE WITNESS:· I'm sorry.· I couldn't      ·9·   ·   ·   ·direction that FSA wanted to go in?
10·   ·   ·   ·hear the counsel.· Say that again?                   10·   ·   ·   · · · A· · ·So I did not go through a formal
11·   ·   ·   · · · · · · MR. HANCOCK:· The witness may answer.     11·   ·   ·   ·onboarding process at Federal Student Aid.· My --
12·   ·   ·   · · · · · · THE WITNESS:· How does my -- could you    12·   ·   ·   ·I simply started in March of 2019 and onboarding
13·   ·   ·   ·repeat the question again?· I'm sorry.· I got        13·   ·   ·   ·of myself.
14·   ·   ·   ·caught up in the --                                  14·   ·   ·   · · · Q· · ·Okay.· And what did you see as the
15·   ·   ·   · · · BY MS. TORCHIANA:                               15·   ·   ·   ·goals and priorities of FSA?
16·   ·   ·   · · · Q· · ·I said how -- how is your compensation    16·   ·   ·   · · · A· · ·I -- I believe we needed -- broadly, we
17·   ·   ·   ·related to processing borrower defense               17·   ·   ·   ·needed to be a student center and responsive, and
18·   ·   ·   ·applications?                                        18·   ·   ·   ·we needed to deliver on a large transformational
19·   ·   ·   · · · A· · ·Well, my compensation is not related to   19·   ·   ·   ·objective which was called the next generation of
20·   ·   ·   ·processing borrower defense applications.· I'm       20·   ·   ·   ·Federal Student Aid.
21·   ·   ·   ·a -- I'm a -- there is no relationship that I'm      21·   ·   ·   · · · Q· · ·Okay.· And when you joined, did you
22·   ·   ·   ·aware of.                                            22·   ·   ·   ·know that the Department of Education had not
23·   ·   ·   · · · Q· · ·Okay.· And when you started at FSA in     23·   ·   ·   ·issued any borrower defense decisions since
24·   ·   ·   ·March 2018 -- 2019, sorry, what were your            24·   ·   ·   ·June 2018?
25·   ·   ·   ·understandings of the goals and priorities of FSA?   25·   ·   ·   · · · A· · ·I knew what I had read in the media. I


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·1·   ·   ·   ·had not been educated on borrower defense cases      ·1·   ·   ·   · · · Q· · ·Okay.· And did you discuss -- when you
·2·   ·   ·   ·until after I joined.                                ·2·   ·   ·   ·started, did you discuss that BD hadn't issued any
·3·   ·   ·   · · · Q· · ·Okay.· And was this something that you    ·3·   ·   ·   ·decisions since June 2018, did you discuss that
·4·   ·   ·   ·discussed with your colleagues at FSA?               ·4·   ·   ·   ·with anyone at the Department of Ed?
·5·   ·   ·   · · · A· · ·As the chief operating officer, I         ·5·   ·   ·   · · · A· · ·When I met with partner participation
·6·   ·   ·   ·really only have subordinates inside of Federal      ·6·   ·   ·   ·and oversight, this element of partner
·7·   ·   ·   ·Student Aid.· I don't actually have what you would   ·7·   ·   ·   ·participation and oversight which was the borrower
·8·   ·   ·   ·consider, I believe, colleagues or peers.· So as I   ·8·   ·   ·   ·defense team, we did discuss the status of
·9·   ·   ·   ·said earlier, I educated myself on borrower          ·9·   ·   ·   ·borrower defense cases which included what I will
10·   ·   ·   ·defense amongst other things as a part of my         10·   ·   ·   ·call a backlog and need to clear up backlog.
11·   ·   ·   ·immersion into the organization.                     11·   ·   ·   · · · · · · And at that time, those issues that
12·   ·   ·   · · · Q· · ·Okay.· And did you discuss -- when you    12·   ·   ·   ·were beyond me or that where I needed clarity, I
13·   ·   ·   ·joined, did you discuss the fact that the            13·   ·   ·   ·would discuss them, and I would discuss them with
14·   ·   ·   ·department hadn't issued any borrower defense        14·   ·   ·   ·the Department of Ed, if necessary.
15·   ·   ·   ·decisions since June 2018 with any of your           15·   ·   ·   · · · Q· · ·Okay.· And you said earlier that you
16·   ·   ·   ·subordinates?                                        16·   ·   ·   ·met with the secretary of education regularly.
17·   ·   ·   · · · A· · ·When I became the chief operating         17·   ·   ·   ·When you first joined, did you -- did you meet
18·   ·   ·   ·officer in March of 2019, I met with all four        18·   ·   ·   ·with her?
19·   ·   ·   ·parts of Federal Student Aid, one of which was       19·   ·   ·   · · · A· · ·I'm -- I'm sorry.· Your voice went away
20·   ·   ·   ·partner participation and oversight in the           20·   ·   ·   ·there toward the end.· I heard your first part,
21·   ·   ·   ·borrower defense unit in which the borrower          21·   ·   ·   ·but I didn't --
22·   ·   ·   ·defense unit educated me on the history of           22·   ·   ·   · · · Q· · ·Yeah.· I said earlier you said that you
23·   ·   ·   ·borrower defense and where it was, and that          23·   ·   ·   ·met with the secretary of education regularly.
24·   ·   ·   ·included the status which included the fact that     24·   ·   ·   ·When you joined in March 2019, did you meet with
25·   ·   ·   ·borrower defense issue -- borrower defense cases     25·   ·   ·   ·her?

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·1·   ·   ·   ·had not been issued for some time.                   ·1·   ·   ·   · · · A· · ·I -- I don't know if I met in the month
·2·   ·   ·   · · · Q· · ·Okay.· And who are those discussions      ·2·   ·   ·   ·of March, but I had a routine meeting with her
·3·   ·   ·   ·with?                                                ·3·   ·   ·   ·every two weeks, and so possibly one in March
·4·   ·   ·   · · · A· · ·While I don't recall all the names --     ·4·   ·   ·   ·depending on that -- that date, and then on -- on
·5·   ·   ·   ·because, you know, there are more of the names --    ·5·   ·   ·   ·pretty much that rhythm of every two weeks having
·6·   ·   ·   ·I do recall that, at that time, the current          ·6·   ·   ·   ·time with the secretary.
·7·   ·   ·   ·borrower defense leader was the borrower defense     ·7·   ·   ·   · · · Q· · ·Okay.· And at those meetings, did you
·8·   ·   ·   ·leader at that time.· So Colleen Nevin was -- was    ·8·   ·   ·   ·ever discuss that no borrower defense decisions
·9·   ·   ·   ·in charge of the borrower defense unit at that       ·9·   ·   ·   ·had been issued since June 2018?
10·   ·   ·   ·time and remains so, and Robin Minor was moving      10·   ·   ·   · · · A· · ·At those meetings -- and I cannot
11·   ·   ·   ·into her job that I have her in now, so she was      11·   ·   ·   ·recall each time -- I don't recall -- I certainly
12·   ·   ·   ·included in that.                                    12·   ·   ·   ·don't recall March and April meetings
13·   ·   ·   · · · · · · Off the top of my head, those are the     13·   ·   ·   ·specifically.
14·   ·   ·   ·only names that I can recall.· There were likely     14·   ·   ·   · · · · · · Over the course of the times that I was
15·   ·   ·   ·others, but I don't recall all of their names.       15·   ·   ·   ·attending meetings with the secretary of Ed, I had
16·   ·   ·   · · · Q· · ·Okay.· And did they express any           16·   ·   ·   ·discussed borrower defense.· I have discussed the
17·   ·   ·   ·concerns to you about that ED hadn't issued any      17·   ·   ·   ·status of it.· I routinely talk about it as a
18·   ·   ·   ·borrower defense decisions?                          18·   ·   ·   ·backlog.
19·   ·   ·   · · · A· · ·We went through a number of concerns      19·   ·   ·   · · · Q· · ·Okay.· And did you discuss the pace of
20·   ·   ·   ·and issues, and as you would expect, we explored     20·   ·   ·   ·decisions with the secretary of education?
21·   ·   ·   ·the entire process of borrower defense and all of    21·   ·   ·   · · · A· · ·Details of that level, I don't recall
22·   ·   ·   ·the issues and all of the concerns and where we      22·   ·   ·   ·going into those kinds of details, per se, with
23·   ·   ·   ·needed to go to be productive.· It was a dialogue.   23·   ·   ·   ·the secretary.· I would have done that probably at
24·   ·   ·   ·It was a -- it was a conversation and mainly         24·   ·   ·   ·the under secretary level.· But, frankly, I don't
25·   ·   ·   ·intended to educate me on the program.               25·   ·   ·   ·recall, you know, the specific conversations.


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·1·   ·   ·   · · · Q· · ·Okay.· But you did speak about the pace   ·1·   ·   ·   · · · · · · MR. HANCOCK:· No.· General Brown, you
·2·   ·   ·   ·of decisions with Diane Auer Jones, or you do        ·2·   ·   ·   ·may answer.
·3·   ·   ·   ·remember that?                                       ·3·   ·   ·   · · · · · · THE WITNESS:· I -- I did not mean
·4·   ·   ·   · · · A· · ·No, I -- I have not -- while you have     ·4·   ·   ·   ·either of those.· I meant because guidance can
·5·   ·   ·   ·used the term "pace of decisions," I have not used   ·5·   ·   ·   ·take lots of forms.· It can be verbal or it can be
·6·   ·   ·   ·that term because I don't remember having a          ·6·   ·   ·   ·a written decision memorandum.· So I didn't intend
·7·   ·   ·   ·discussion about pace of decisions.                  ·7·   ·   ·   ·to indicate either of those.· I just meant
·8·   ·   ·   · · · · · · I -- I remember having a discussion       ·8·   ·   ·   ·guidance.
·9·   ·   ·   ·about the backlog as it related to borrower          ·9·   ·   ·   · · · BY MS. TORCHIANA:
10·   ·   ·   ·defense and as an operating officer the desire to    10·   ·   ·   · · · Q· · ·Okay.· And what form did that guidance
11·   ·   ·   ·get after that issue from a production               11·   ·   ·   ·take?
12·   ·   ·   ·perspective.                                         12·   ·   ·   · · · A· · ·I think there was -- when I first
13·   ·   ·   · · · · · · I don't remember ever using or -- or      13·   ·   ·   ·started in March of 2019, I think there was no
14·   ·   ·   ·having a discussion specifically about the pace of   14·   ·   ·   ·specific guidance.· There was confusion.· And,
15·   ·   ·   ·decisions.                                           15·   ·   ·   ·so -- and that's why I didn't indicate written
16·   ·   ·   · · · Q· · ·Okay.· Sure.· So did you speak about      16·   ·   ·   ·or -- or verbal.· At the time -- at the initial
17·   ·   ·   ·the backlog with Diane Auer Jones when you joined?   17·   ·   ·   ·time, I don't believe there was clarity on either
18·   ·   ·   · · · A· · ·I -- I did.                               18·   ·   ·   ·of those.
19·   ·   ·   · · · Q· · ·Okay.· And how often would you -- how     19·   ·   ·   · · · Q· · ·Okay.· You did say there was guidance
20·   ·   ·   ·often would that come up?                            20·   ·   ·   ·not to issue any decisions when you started; is
21·   ·   ·   · · · A· · ·Again, that -- that varies.· Understand   21·   ·   ·   ·that right?
22·   ·   ·   ·that I had all of Federal Student Aid, and so it     22·   ·   ·   · · · A· · ·That's not right.· I -- I said that the
23·   ·   ·   ·may have been one of several topics at times when    23·   ·   ·   ·borrower defense team believed that they had
24·   ·   ·   ·I spoke with her.· I -- I could not tell you         24·   ·   ·   ·guidance not to issue decisions.· That's what I
25·   ·   ·   ·specifically how often I spoke to her about          25·   ·   ·   ·said.

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·1·   ·   ·   ·borrower defense and -- and backlogs.                ·1·   ·   ·   · · · · · · There was not -- they didn't have a
·2·   ·   ·   · · · · · · I -- I don't know.                        ·2·   ·   ·   ·written document or some memorandum telling them
·3·   ·   ·   · · · Q· · ·Okay.· And do you remember what she       ·3·   ·   ·   ·that.· That's from my -- them educating me on
·4·   ·   ·   ·communicated with you about why there was a          ·4·   ·   ·   ·borrower defense cases.· They believed that they
·5·   ·   ·   ·backlog?                                             ·5·   ·   ·   ·had that guidance.
·6·   ·   ·   · · · A· · ·I -- I remember that the -- when I        ·6·   ·   ·   · · · Q· · ·Okay.· And why did they believe that
·7·   ·   ·   ·initially started that the borrower defense team     ·7·   ·   ·   ·they had that guidance?
·8·   ·   ·   ·believed that they had guidance not to move any      ·8·   ·   ·   · · · A· · ·I can't speculate as to -- as to why.
·9·   ·   ·   ·additional decisions on borrower defense; that       ·9·   ·   ·   ·I don't know what their -- what their -- what
10·   ·   ·   ·they should be adjudicating them.                    10·   ·   ·   ·their thoughts internally were.· I believe when
11·   ·   ·   · · · · · · I remember that that was not clear from   11·   ·   ·   ·the Manriquez case had been launched that they
12·   ·   ·   ·the department and from under secretary Jones at     12·   ·   ·   ·believed that stopped them from doing anything
13·   ·   ·   ·the time that they had issued that -- that           13·   ·   ·   ·further in terms of issuing decisions, and they
14·   ·   ·   ·guidance in that manner.· I would call that          14·   ·   ·   ·continued to adjudicate and did not issue
15·   ·   ·   ·confusion, confusion on what was to be done and      15·   ·   ·   ·decisions.
16·   ·   ·   ·what was communicated.· I do remember that.          16·   ·   ·   · · · Q· · ·Okay.· And why do you think they
17·   ·   ·   · · · Q· · ·Okay.· And when you say guidance, how     17·   ·   ·   ·believed -- where did that belief come from?· Was
18·   ·   ·   ·do you mean exactly?· Was that, you know, formal     18·   ·   ·   ·it -- you know, obviously it didn't fall from the
19·   ·   ·   ·guidance that was written up, or what -- what do     19·   ·   ·   ·sky.
20·   ·   ·   ·you mean by guidance?                                20·   ·   ·   · · · · · · Who -- what -- why do you think they
21·   ·   ·   · · · · · · MR. HANCOCK:· I'm going to object to      21·   ·   ·   ·understood that the Calvillo injunction meant they
22·   ·   ·   ·the extent the question may call for deliberative    22·   ·   ·   ·couldn't issue decisions?
23·   ·   ·   ·privileged information.                              23·   ·   ·   · · · · · · MR. HANCOCK:· Objection: vague.
24·   ·   ·   · · · · · · MS. TORCHIANA:· Okay.· Are you            24·   ·   ·   · · · BY MS. TORCHIANA:
25·   ·   ·   ·instructing the witness not to answer?               25·   ·   ·   · · · Q· · ·You can still answer.


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·1·   ·   ·   · · · A· · ·I -- I don't know.· As I said earlier,    ·1·   ·   ·   ·borrower defense cases would be -- would be
·2·   ·   ·   ·I would classify it as confusion because I -- I      ·2·   ·   ·   ·managed by.· That's when I use the term "fix it."
·3·   ·   ·   ·don't know why they -- why they thought that.        ·3·   ·   ·   ·To answer your question, that's what I mean,
·4·   ·   ·   · · · Q· · ·Okay.· So was the stoppage a concern      ·4·   ·   ·   ·getting those -- getting those things in place so
·5·   ·   ·   ·when you joined or, you know, you . . .              ·5·   ·   ·   ·that this process could start moving.
·6·   ·   ·   · · · · · · MR. HANCOCK:· Objection.· Potentially     ·6·   ·   ·   · · · Q· · ·Okay.· And do you know -- we'll discuss
·7·   ·   ·   ·calls for deliberative information.                  ·7·   ·   ·   ·this more later, but do you know -- had there been
·8·   ·   ·   · · · · · · MS. TORCHIANA:· The witness can still     ·8·   ·   ·   ·any staff requests for the BDU before you joined?
·9·   ·   ·   ·answer.                                              ·9·   ·   ·   · · · A· · ·I -- I actually don't know if there had
10·   ·   ·   · · · · · · THE WITNESS:· I was just trying to make   10·   ·   ·   ·been more staff requests for BDU before I joined
11·   ·   ·   ·sure I understood your question.· I didn't know if   11·   ·   ·   ·because I would not have necessarily seen those.
12·   ·   ·   ·you were through with your question.· You said was   12·   ·   ·   · · · Q· · ·Okay.· And how many -- how many staff
13·   ·   ·   ·this guidance a concern.· For -- for me when I       13·   ·   ·   ·people were working at the BDU when you joined?
14·   ·   ·   ·started?                                             14·   ·   ·   ·Do you remember?
15·   ·   ·   · · · BY MS. TORCHIANA:                               15·   ·   ·   · · · A· · ·I -- I don't know precisely, but it
16·   ·   ·   · · · Q· · ·When you started, was it a concern that   16·   ·   ·   ·was -- in terms of attorneys, I would say probably
17·   ·   ·   ·no decisions had been issued?                        17·   ·   ·   ·10 to 12 at the most.
18·   ·   ·   · · · A· · ·When I started, the overall backlog in    18·   ·   ·   · · · Q· · ·Okay.· And how many staff people did
19·   ·   ·   ·production, borrower defense processes and system    19·   ·   ·   ·you estimate were needed to clear the backlog?
20·   ·   ·   ·were a concern to me because of -- of -- as I said   20·   ·   ·   · · · A· · ·So estimate being the correct term,
21·   ·   ·   ·earlier, the sheer volume and the fact that they     21·   ·   ·   ·I -- I did not estimate.· I -- I went to the
22·   ·   ·   ·were not moving.                                     22·   ·   ·   ·borrower defense team and worked with them to see
23·   ·   ·   · · · · · · And, so, not just -- not just the fact    23·   ·   ·   ·what they thought they needed based on the --
24·   ·   ·   ·that the decisions weren't going out, but that the   24·   ·   ·   ·based on the caseload.· I can't tell you about
25·   ·   ·   ·methodology and other things needed to be known so   25·   ·   ·   ·their internal workings.· I don't -- I don't know

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·1·   ·   ·   ·that we could move on with the cases.                ·1·   ·   ·   ·that, but collectively I do know we came out to a
·2·   ·   ·   · · · · · · So I would -- I would say borrower        ·2·   ·   ·   ·number of something around 60 -- we needed
·3·   ·   ·   ·defense as a whole was a concern for me when I       ·3·   ·   ·   ·somewhere in that amount of attorneys in order to
·4·   ·   ·   ·started in March of 2019.                            ·4·   ·   ·   ·have people to adjudicate what was a growing
·5·   ·   ·   · · · Q· · ·Okay.· And did you take any -- what       ·5·   ·   ·   ·backlog of cases, but I don't know how much -- I
·6·   ·   ·   ·steps did you take about the backlog when you        ·6·   ·   ·   ·could not tell you today that that was some
·7·   ·   ·   ·started?                                             ·7·   ·   ·   ·scientific equation.· I can tell you it was the
·8·   ·   ·   · · · A· · ·Specifically, and through -- through      ·8·   ·   ·   ·internal workers of BD team as you would go to
·9·   ·   ·   ·the deliberation with the team, I concluded that     ·9·   ·   ·   ·your experts and ask about what do we need to --
10·   ·   ·   ·we needed more people.· Specifically, we needed      10·   ·   ·   ·to tackle this issue.
11·   ·   ·   ·more attorneys and we needed more financial          11·   ·   ·   · · · Q· · ·Okay.· And did you make any requests to
12·   ·   ·   ·resources if we were to fix the systems that --      12·   ·   ·   ·hire more staff for the BDU?
13·   ·   ·   ·that manage, collect, case management systems that   13·   ·   ·   · · · A· · ·I did.
14·   ·   ·   ·support the team.· And, so, as the operating         14·   ·   ·   · · · Q· · ·Okay.· And when -- when was the
15·   ·   ·   ·officer, I went about focusing on -- on that and     15·   ·   ·   ·first -- or just how many times did you make --
16·   ·   ·   ·fixed it in the next several months.                 16·   ·   ·   ·did you request?
17·   ·   ·   · · · Q· · ·Okay.· So when you say "fixed it," what   17·   ·   ·   · · · A· · ·I don't know.· I don't know how many
18·   ·   ·   ·do you mean?                                         18·   ·   ·   ·times I -- I made a request.· I just know that my
19·   ·   ·   · · · A· · ·Hire attorneys, recruit, hire, bring on   19·   ·   ·   ·request was approved.· I believe it was approved
20·   ·   ·   ·board attorneys so that there would be more hands    20·   ·   ·   ·the first time I asked, so I don't know that there
21·   ·   ·   ·doing the work.                                      21·   ·   ·   ·were more than one -- there was more than one time
22·   ·   ·   · · · Q· · ·Okay.· And do you know --                 22·   ·   ·   ·that I had to ask.
23·   ·   ·   · · · A· · ·Secure the financial resources --         23·   ·   ·   · · · Q· · ·And when was the first time you asked?
24·   ·   ·   ·secure the financial resources necessary to          24·   ·   ·   · · · A· · ·Shortly after taking over, but I -- but
25·   ·   ·   ·upgrade and fix the systems that those -- that       25·   ·   ·   ·I can't tell you the exact time, but it was


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·1·   ·   ·   ·shortly after taking over, shortly after I had       ·1·   ·   ·   ·budget, and that normally drives hiring practices,
·2·   ·   ·   ·been educated on the process of borrower defense     ·2·   ·   ·   ·but I don't know what the decisions were prior to
·3·   ·   ·   ·and -- and what we needed.                           ·3·   ·   ·   ·March 2019.
·4·   ·   ·   · · · Q· · ·Okay.· And who -- who did you -- when     ·4·   ·   ·   · · · Q· · ·Okay.· And do you know if there had
·5·   ·   ·   ·you made a request to hire more staff, who did you   ·5·   ·   ·   ·been any requests for more staff?
·6·   ·   ·   ·make that request to?                                ·6·   ·   ·   · · · A· · ·I -- I do not know.· I would have no
·7·   ·   ·   · · · A· · ·I -- I made it through our HR system.     ·7·   ·   ·   ·firsthand knowledge of that.· I'd only started
·8·   ·   ·   ·I made it verbally to the under secretary, and I     ·8·   ·   ·   ·working with issues related to borrower defense
·9·   ·   ·   ·made it to the secretary verbally.· And that's       ·9·   ·   ·   ·March of 2019.· Prior to that, I did not have any
10·   ·   ·   ·what I'm calling the request.· In other words, it    10·   ·   ·   ·relationship with the borrower defense unit.
11·   ·   ·   ·was all the same one; right?· I was verbally         11·   ·   ·   · · · Q· · ·Okay.· Before, when you were a senior
12·   ·   ·   ·saying I would like to hire more people in order     12·   ·   ·   ·advisor and working on human capital management
13·   ·   ·   ·to address the backlog.                              13·   ·   ·   ·which started in October of 2018, did you have
14·   ·   ·   · · · Q· · ·And do you have an estimate -- I know     14·   ·   ·   ·any -- any work relating to hiring for the BDU?
15·   ·   ·   ·you said you don't remember, but do you have a       15·   ·   ·   · · · A· · ·Again, I was dealing with the speed at
16·   ·   ·   ·rough estimate of when that was?                     16·   ·   ·   ·which we hire, not -- and there's a nuanced
17·   ·   ·   · · · A· · ·I do not other than what I just said,     17·   ·   ·   ·difference here, I think, in your question and
18·   ·   ·   ·which is shortly after I took over.                  18·   ·   ·   ·what I did.· My job is about process improvement.
19·   ·   ·   · · · Q· · ·Okay.· So sometime in the spring of       19·   ·   ·   ·Why does it take long -- too long to hire a person
20·   ·   ·   ·2019?                                                20·   ·   ·   ·into -- why did it take too long to recruit them
21·   ·   ·   · · · A· · ·Yes, and -- and I would just emphasize    21·   ·   ·   ·or go find an expertise.· I wasn't dealing with
22·   ·   ·   ·that that's rough.· I don't have a -- I can't -- I   22·   ·   ·   ·this section or that section, use this person or
23·   ·   ·   ·can't tell you the exact -- I can't tell you the     23·   ·   ·   ·that person.· I was looking to implement the
24·   ·   ·   ·exact time.· I just simply don't recall that exact   24·   ·   ·   ·processing improving, and I don't remember any
25·   ·   ·   ·time.                                                25·   ·   ·   ·conversations specifically about borrower defense.

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·1·   ·   ·   · · · Q· · ·Okay.· And when you made those            ·1·   ·   ·   · · · Q· · ·Okay.· So when you were a senior
·2·   ·   ·   ·requests, how did -- for instance, how did the       ·2·   ·   ·   ·advisor before you were COO, you hadn't heard of
·3·   ·   ·   ·secretary respond?                                   ·3·   ·   ·   ·any issues with staffing the borrower defense
·4·   ·   ·   · · · · · · MR. HANCOCK:· Objection: calls for        ·4·   ·   ·   ·unit?
·5·   ·   ·   ·deliberative information.                            ·5·   ·   ·   · · · A· · ·I don't -- I don't recall any
·6·   ·   ·   · · · · · · MS. TORCHIANA:· Are you instructing the   ·6·   ·   ·   ·discussions about borrower defense group with me,
·7·   ·   ·   ·witness not to answer or --                          ·7·   ·   ·   ·at least, before I became COO.· Our -- our
·8·   ·   ·   · · · · · · MR. HANCOCK:· I am.                       ·8·   ·   ·   ·questions were about the process, as I just said,
·9·   ·   ·   · · · · · · MS. TORCHIANA:· Okay.                     ·9·   ·   ·   ·that's required for hiring, the process.
10·   ·   ·   · · · BY MS. TORCHIANA:                               10·   ·   ·   · · · Q· · ·So if you could turn to -- still in
11·   ·   ·   · · · Q· · ·Okay.· And, generally, how -- when you    11·   ·   ·   ·tab 25, if you could turn to paragraph 4 of your
12·   ·   ·   ·made those requests, what was the response?          12·   ·   ·   ·declaration.
13·   ·   ·   · · · A· · ·Yes.                                      13·   ·   ·   · · · · · · It says, Among FSA's responsibilities
14·   ·   ·   · · · Q· · ·Okay.· And do you know before -- you      14·   ·   ·   ·is to make decisions on applications.
15·   ·   ·   ·said you don't remember, but what was your           15·   ·   ·   · · · · · · Could you tell me a bit about what that
16·   ·   ·   ·understanding of why -- why there wasn't more        16·   ·   ·   ·means in terms of your -- your role?
17·   ·   ·   ·staff at the BDU?                                    17·   ·   ·   · · · A· · ·One -- one minute, please, if I could
18·   ·   ·   · · · A· · ·I -- I didn't have an understanding of    18·   ·   ·   ·read it.
19·   ·   ·   ·why.· You know, historically, I just wouldn't -- I   19·   ·   ·   · · · · · · (Witness reviews document.)
20·   ·   ·   ·don't know.· I wasn't -- you know, the borrower      20·   ·   ·   · · · · · · So if -- if I could just make sure I
21·   ·   ·   ·defense unit is several years old.· They precede     21·   ·   ·   ·understand your question, what that means as it
22·   ·   ·   ·me by several years, and I just don't know what      22·   ·   ·   ·pertains to my role as the chief operating
23·   ·   ·   ·the -- you know, what all the deliberations were.    23·   ·   ·   ·officer?
24·   ·   ·   · · · · · · I think, as with most federal agencies,   24·   ·   ·   · · · Q· · ·Uh-huh.· Yes.
25·   ·   ·   ·you make decisions on resources and dollars and      25·   ·   ·   · · · A· · ·So the responsibilities of Federal


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·1·   ·   ·   ·Student Aid includes borrower defense, and -- and    ·1·   ·   ·   ·please?
·2·   ·   ·   ·my role as chief operating officer is to ensure      ·2·   ·   ·   · · · Q· · ·Yeah.
·3·   ·   ·   ·that borrower defense have what they need to do      ·3·   ·   ·   · · · · · · MS. TORCHIANA:· And could we also mark
·4·   ·   ·   ·the responsibilities that are outlined here.         ·4·   ·   ·   ·this as Exhibit 29 -- or, sorry, 20- -- are we at
·5·   ·   ·   ·That's my role.· So by law, by legislation, they     ·5·   ·   ·   ·26?
·6·   ·   ·   ·execute the laws of the borrower defense that        ·6·   ·   ·   · · · · · · (Deposition Exhibit 26 was marked for
·7·   ·   ·   ·are -- that are legislated.                          ·7·   ·   ·   ·identification and attached to the transcript.)
·8·   ·   ·   · · · · · · My role as the chief operating officer    ·8·   ·   ·   · · · · · · MR. HANCOCK:· Claire, just to make sure
·9·   ·   ·   ·is to ensure that they have the resources, the       ·9·   ·   ·   ·I'm looking at the right page, when you say
10·   ·   ·   ·talent and the time to -- to do that so that they    10·   ·   ·   ·page 16, are you referring to the ECF stamp at the
11·   ·   ·   ·can do it effectively.· I don't -- I don't           11·   ·   ·   ·top of the document?
12·   ·   ·   ·adjudicate cases.· I'm not -- I'm not an attorney.   12·   ·   ·   · · · · · · MS. TORCHIANA:· Yes.· Yeah.
13·   ·   ·   ·That's my role.                                      13·   ·   ·   · · · · · · MR. HANCOCK:· Thank you.
14·   ·   ·   · · · Q· · ·Okay.· And do you have any authority to   14·   ·   ·   · · · · · · THE WITNESS:· (Reviews document.)
15·   ·   ·   ·decide or approve an individual borrower defense     15·   ·   ·   · · · · · · I have not seen this chart before. I
16·   ·   ·   ·application?                                         16·   ·   ·   ·believe it may precede my time as the chief
17·   ·   ·   · · · A· · ·Not that I'm aware of, certainly not in   17·   ·   ·   ·operating officer.
18·   ·   ·   ·a priority that I have ever even contemplated.       18·   ·   ·   · · · BY MS. TORCHIANA:
19·   ·   ·   ·I'm not an attorney.                                 19·   ·   ·   · · · Q· · ·Okay.· Do you know -- is this -- would
20·   ·   ·   · · · Q· · ·Okay.                                     20·   ·   ·   ·you say that this is an accurate representation of
21·   ·   ·   · · · A· · ·Nor am I a borrower defense expert.       21·   ·   ·   ·how operations are run?
22·   ·   ·   · · · Q· · ·Okay.· And who at the department would    22·   ·   ·   · · · A· · ·So I can't say that if you are talking
23·   ·   ·   ·you say has that authority to decide an individual   23·   ·   ·   ·about -- and maybe you can help me with the
24·   ·   ·   ·application?                                         24·   ·   ·   ·question here.· Do you mean how operations run for
25·   ·   ·   · · · A· · ·To -- you mean to decide if it has met    25·   ·   ·   ·borrower defense today or since March of 2019?

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·1·   ·   ·   ·the criteria for -- for meeting the criteria for     ·1·   ·   ·   · · · · · · Is that your question?· How is there --
·2·   ·   ·   ·borrower defense?                                    ·2·   ·   ·   · · · Q· · ·Since March 2019, yeah.
·3·   ·   ·   · · · Q· · ·Yes.                                      ·3·   ·   ·   · · · A· · ·So this chart, as I said, obviously
·4·   ·   ·   · · · A· · ·While -- while I don't pretend to know    ·4·   ·   ·   ·predates me, and it is not a representation, I
·5·   ·   ·   ·all of the internal workings of the borrower         ·5·   ·   ·   ·think, of how borrower defense works from the time
·6·   ·   ·   ·defense unit, those authorities are that of the      ·6·   ·   ·   ·that I was there.· I -- I don't know how it worked
·7·   ·   ·   ·borrower defense unit and within it, they have       ·7·   ·   ·   ·in 2017, and still I don't know about the accuracy
·8·   ·   ·   ·been delegated down to attorneys who are guided by   ·8·   ·   ·   ·of this chart from the time that it was written.
·9·   ·   ·   ·the law, yet they have a review process within       ·9·   ·   ·   · · · Q· · ·Okay.· Okay.
10·   ·   ·   ·borrower defense.                                    10·   ·   ·   · · · · · · MS. TORCHIANA:· Could we go off the
11·   ·   ·   · · · · · · And, so, what I -- what I would say is    11·   ·   ·   ·record and take a quick break?
12·   ·   ·   ·the authority to do those determinations as you      12·   ·   ·   · · · · · · MR. HANCOCK:· Sure.· That would be
13·   ·   ·   ·would expect are given to an attorney trained in     13·   ·   ·   ·fine.
14·   ·   ·   ·the business of borrower defense.                    14·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Okay.· We're now
15·   ·   ·   · · · Q· · ·Okay.· Okay.· If you could now turn --    15·   ·   ·   ·going off the record.· The time is 16:16 UTC time.
16·   ·   ·   ·we'll get back to your declaration, but if you       16·   ·   ·   · · · · · · (Recess -- 11:16 a.m.)
17·   ·   ·   ·could turn to tab 29, and if you could turn to --    17·   ·   ·   · · · · · · (After recess -- 11:30 a.m.)
18·   ·   ·   ·oh, I'll wait for you to have that in front of       18·   ·   ·   · · · · · · THE VIDEOGRAPHER:· We're now back on
19·   ·   ·   ·you.                                                 19·   ·   ·   ·the record.· The time is 16:30 UTC time.
20·   ·   ·   · · · A· · ·Tab 29, it says Exhibit 10.               20·   ·   ·   · · · · · · MR. HANCOCK:· And sorry to interrupt,
21·   ·   ·   · · · Q· · ·Yes, that's right.· And if you could      21·   ·   ·   ·Claire.· I just want to ask one clarifying
22·   ·   ·   ·turn to page 16.                                     22·   ·   ·   ·question about the current exhibit we're working
23·   ·   ·   · · · A· · ·I'm on page 16.                           23·   ·   ·   ·with, and maybe you're planning on moving on from
24·   ·   ·   · · · Q· · ·Okay.· Have you seen this chart before?   24·   ·   ·   ·the chart, but I just wanted to note that the
25·   ·   ·   · · · A· · ·Could I have a minute to look at it,      25·   ·   ·   ·electronic version for those of us using Dropbox


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·1·   ·   ·   ·is oriented sideways, and I -- I don't -- maybe      ·1·   ·   ·   ·I probably had the first meeting, I would imagine.
·2·   ·   ·   ·the option exists, but I don't see a way to kind     ·2·   ·   ·   · · · Q· · ·Okay.· And do you know whether she was
·3·   ·   ·   ·of orient it horizontally, so this --                ·3·   ·   ·   ·meeting regularly with your predecessor?
·4·   ·   ·   · · · · · · MS. TORCHIANA:· Okay.                     ·4·   ·   ·   · · · · · · MR. HANCOCK:· I'm going to --
·5·   ·   ·   · · · · · · MR. HANCOCK:· I know General Brown        ·5·   ·   ·   · · · · · · THE WITNESS:· I would not know.
·6·   ·   ·   ·doesn't have that issue since he is using a hard     ·6·   ·   ·   · · · · · · MR. HANCOCK:· -- object.· That's
·7·   ·   ·   ·copy, which is great.                                ·7·   ·   ·   ·exceeding the scope of discovery.
·8·   ·   ·   · · · · · · MS. TORCHIANA:· Right.· Okay.· Yeah,      ·8·   ·   ·   · · · BY MS. TORCHIANA:
·9·   ·   ·   ·thanks for noting that.                              ·9·   ·   ·   · · · Q· · ·You can still answer.
10·   ·   ·   · · · · · · MR. HANCOCK:· Okay.                       10·   ·   ·   · · · A· · ·I would not know.· I don't know.
11·   ·   ·   · · · BY MS. TORCHIANA:                               11·   ·   ·   · · · Q· · ·Okay.· And how do you communicate with
12·   ·   ·   · · · Q· · ·We're going to move on from that          12·   ·   ·   ·Ms. Diane Auer Jones?
13·   ·   ·   ·exhibit.                                             13·   ·   ·   · · · A· · ·How do I communicate with her?
14·   ·   ·   · · · · · · Mr. Brown, I have a couple of follow up   14·   ·   ·   · · · Q· · ·Uh-huh.· Yes.
15·   ·   ·   ·questions from some things that we talked about      15·   ·   ·   · · · A· · ·So for -- just in general, you mean,
16·   ·   ·   ·before.· You mentioned that you meet regularly       16·   ·   ·   ·or --
17·   ·   ·   ·with Secretary DeVos.· Are there generally agendas   17·   ·   ·   · · · Q· · ·Yeah.
18·   ·   ·   ·for those meetings?                                  18·   ·   ·   · · · A· · ·-- how do I -- how do I --
19·   ·   ·   · · · A· · ·There are generic agendas that -- that    19·   ·   ·   · · · Q· · ·For example, do you ever --
20·   ·   ·   ·talk about how long we will meet, and I think -- I   20·   ·   ·   · · · A· · ·So when --
21·   ·   ·   ·don't prepare the agendas.· My -- my staff does,     21·   ·   ·   · · · Q· · ·Do you ever text with her?
22·   ·   ·   ·so I can't -- I can't tell you, you know, what       22·   ·   ·   · · · A· · ·No, ma'am, I don't text with very many
23·   ·   ·   ·goes on them other than the time, how long we        23·   ·   ·   ·people at all.· I -- I pick up the phone and call
24·   ·   ·   ·should expect to be there, and I'm not certain if    24·   ·   ·   ·her.· I might have a meeting in person with her
25·   ·   ·   ·it -- if the actual topics are on those agendas or   25·   ·   ·   ·before we went into the Covid-19 situation.· And

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·1·   ·   ·   ·not.                                                 ·1·   ·   ·   ·since that time, it's been a virtual meeting or
·2·   ·   ·   · · · Q· · ·Do you read the agendas before you meet   ·2·   ·   ·   ·a -- or a phone call.· I don't -- I don't text
·3·   ·   ·   ·with her?                                            ·3·   ·   ·   ·very much.
·4·   ·   ·   · · · A· · ·I know what topics I'm going to talk      ·4·   ·   ·   · · · Q· · ·Okay.· And do you send any emails to
·5·   ·   ·   ·about, and I don't necessarily look at the           ·5·   ·   ·   ·each other?
·6·   ·   ·   ·physical agenda itself.· The secretary -- the        ·6·   ·   ·   · · · A· · ·We -- yes.· Emails go back and forth
·7·   ·   ·   ·secretary or administrative help sends that, but I   ·7·   ·   ·   ·around Federal Student Aid for various reasons,
·8·   ·   ·   ·know what topics I'm going to discuss.               ·8·   ·   ·   ·yeah.
·9·   ·   ·   · · · Q· · ·Okay.· And how do you know what topics    ·9·   ·   ·   · · · Q· · ·Okay.· And earlier you said that when
10·   ·   ·   ·you're going to discuss with her?                    10·   ·   ·   ·you started at Federal Student Aid, you weren't
11·   ·   ·   · · · A· · ·Because I decide them.                    11·   ·   ·   ·aware of any goals or priorities that FSA had?
12·   ·   ·   · · · Q· · ·Okay.· And do you take notes during       12·   ·   ·   · · · A· · ·No, ma'am.· What I said was that -- if
13·   ·   ·   ·those meetings?                                      13·   ·   ·   ·I understood your question right, you said what
14·   ·   ·   · · · A· · ·I -- I do not.· Routinely, I do not.      14·   ·   ·   ·was presented to me as the goals of Federal
15·   ·   ·   ·I'm not -- I'm not a great note taker.               15·   ·   ·   ·Student Aid when I became the chief operating
16·   ·   ·   · · · Q· · ·Okay.· Does anyone else take notes        16·   ·   ·   ·officer.· I thought I understood that to be your
17·   ·   ·   ·during those meetings?                               17·   ·   ·   ·question before.
18·   ·   ·   · · · A· · ·Not -- not to my knowledge.               18·   ·   ·   · · · · · · And what I -- what I said was nothing
19·   ·   ·   · · · Q· · ·And when -- when did you first meet       19·   ·   ·   ·was presented to me, per se.· I looked at the
20·   ·   ·   ·with Secretary DeVos?                                20·   ·   ·   ·strategic plans and those kind of things to see
21·   ·   ·   · · · A· · ·I -- I don't -- I don't recall exactly    21·   ·   ·   ·over the years what had been the goals and
22·   ·   ·   ·the very first time I met with her, but in general   22·   ·   ·   ·objectives of Federal Student Aid.
23·   ·   ·   ·since becoming the -- the chief operating officer,   23·   ·   ·   · · · Q· · ·Okay.· And what -- do you know when the
24·   ·   ·   ·I have met with her about every two weeks, and so    24·   ·   ·   ·strategic plan was developed?
25·   ·   ·   ·it was likely the -- toward the end of March when    25·   ·   ·   · · · A· · ·So we have a legislative requirement to


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·1·   ·   ·   ·develop a strategic plan every five years and to     ·1·   ·   ·   · · · · · · Yes, ma'am, I have it.
·2·   ·   ·   ·update it every year, and when I took office, we     ·2·   ·   ·   · · · Q· · ·Okay.· And do you see table 37 at the
·3·   ·   ·   ·were developing the strategic plan that would be     ·3·   ·   ·   ·top of the -- of the page?
·4·   ·   ·   ·done for the five years which is one reason why      ·4·   ·   ·   · · · A· · ·Yes.
·5·   ·   ·   ·objectives and goals were all being made as I --     ·5·   ·   ·   · · · Q· · ·Okay.· And, so, I see here -- so there
·6·   ·   ·   ·as I took the office.· It was good timing.           ·6·   ·   ·   ·are target metrics for the number of BD
·7·   ·   ·   · · · · · · And, so, the last one that we did was     ·7·   ·   ·   ·applications adjudicated for fiscal year 2020.
·8·   ·   ·   ·completed a couple of months ago and represented,    ·8·   ·   ·   · · · A· · ·Uh-huh.
·9·   ·   ·   ·you know, what we -- what we believed to be our      ·9·   ·   ·   · · · Q· · ·And who -- who set that target number?
10·   ·   ·   ·goals and objectives.                                10·   ·   ·   · · · A· · ·So, ma'am, you're looking at table 37,
11·   ·   ·   · · · Q· · ·Okay.· And what -- and what did you set   11·   ·   ·   ·and you're looking at the fiscal year 2020
12·   ·   ·   ·as the major goals and objectives?                   12·   ·   ·   ·category?
13·   ·   ·   · · · A· · ·So there are over -- there are five       13·   ·   ·   · · · Q· · ·Yes.
14·   ·   ·   ·major objectives, I believe, but there's lots of     14·   ·   ·   · · · A· · ·And you're looking at the target of
15·   ·   ·   ·key performance indicators in there.· And by that,   15·   ·   ·   ·150,000 and the actual of 160,000?
16·   ·   ·   ·I mean lots, like, over 40 that support those        16·   ·   ·   · · · Q· · ·Yeah.
17·   ·   ·   ·various -- various goals.· And I would have to,      17·   ·   ·   · · · · · · And who set that target number?
18·   ·   ·   ·you know, have the plan before me to perfectly       18·   ·   ·   · · · A· · ·Like I was saying earlier, this -- this
19·   ·   ·   ·recite them to you, but we have, like, five major    19·   ·   ·   ·annual plan is -- is essentially an output of the
20·   ·   ·   ·objectives in -- in broad categories with lots of    20·   ·   ·   ·strategic plan, and so when you see numbers and --
21·   ·   ·   ·performance -- what you would find in any            21·   ·   ·   ·and targets and goals, it's the collaborative
22·   ·   ·   ·strategic plan, with lots of performance             22·   ·   ·   ·effort of the subject matter experts and their
23·   ·   ·   ·indicators and those kinds of things in it.          23·   ·   ·   ·view of what's achievable, what they have
24·   ·   ·   · · · Q· · ·Okay.· Are there any -- did you           24·   ·   ·   ·resources for, so it's a deliberative process.
25·   ·   ·   ·formulate the performance objectives for FSA in      25·   ·   ·   · · · · · · So if your answer is who, I could

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·1·   ·   ·   ·that plan?                                           ·1·   ·   ·   ·not -- I could not give you a specific person. I
·2·   ·   ·   · · · A· · ·So if I understand you right, are you     ·2·   ·   ·   ·could only tell you the process that it comes out
·3·   ·   ·   ·saying did I do it?· It's a -- the way the           ·3·   ·   ·   ·of -- that comes out of it.· That's how it's
·4·   ·   ·   ·strategic plan is built is a significant effort.     ·4·   ·   ·   ·derived.
·5·   ·   ·   ·It's a very large effort, so I don't do it, per      ·5·   ·   ·   · · · Q· · ·Okay.· Did you have to approve this
·6·   ·   ·   ·se, by -- I don't say, here, this will be our        ·6·   ·   ·   ·number?
·7·   ·   ·   ·objectives and these will be our goals.· There's     ·7·   ·   ·   · · · A· · ·Not the specific number.· I approve the
·8·   ·   ·   ·employee input.· There's public comment.· There's    ·8·   ·   ·   ·plan, and I take accountability for all of the
·9·   ·   ·   ·legislative requirements.· There's staffing.         ·9·   ·   ·   ·numbers that are -- that are in here because I --
10·   ·   ·   ·There's a public comment period that lasts 90        10·   ·   ·   ·I'm responsible for the process itself that --
11·   ·   ·   ·days.                                                11·   ·   ·   ·that produces the numbers.
12·   ·   ·   · · · · · · And, so, all of these things culminate    12·   ·   ·   · · · Q· · ·Okay.· And do you know when this target
13·   ·   ·   ·in what we settle in on as the goals and the         13·   ·   ·   ·was set approximately?
14·   ·   ·   ·objectives for Federal Student Aid because it's      14·   ·   ·   · · · A· · ·I do not because the strategic planning
15·   ·   ·   ·not ours.· It's the public's.                        15·   ·   ·   ·process goes over the course of a -- of a year, so
16·   ·   ·   · · · · · · And, so, that's how -- that's how the     16·   ·   ·   ·when this specific target was set, I actually -- I
17·   ·   ·   ·strategic plan is -- is formulated in -- in          17·   ·   ·   ·don't know.· Because it is a fiscal year 2020
18·   ·   ·   ·general context.                                     18·   ·   ·   ·goal, I've got to believe it was sometime in that
19·   ·   ·   · · · Q· · ·Okay.· Okay.· Could you turn to           19·   ·   ·   ·fiscal year, but I can't tell you exactly when it
20·   ·   ·   ·Exhibit 31 in your binder or in your printout?       20·   ·   ·   ·was set.
21·   ·   ·   · · · · · · MS. TORCHIANA:· And for those on          21·   ·   ·   · · · Q· · ·Okay.· And do you know when -- when
22·   ·   ·   ·electronic copies, it's 31 FSA 2020 Annual Report.   22·   ·   ·   ·discussions started about setting -- setting these
23·   ·   ·   · · · BY MS. TORCHIANA:                               23·   ·   ·   ·target numbers for fiscal year 2020?· Do you
24·   ·   ·   · · · Q· · ·Could you turn to page 91?                24·   ·   ·   ·remember having discussions about that?
25·   ·   ·   · · · A· · ·(Witness reviews document.)               25·   ·   ·   · · · A· · ·I remember having discussions about the


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·1·   ·   ·   ·strategic plan and making sure we had measurable     ·1·   ·   ·   ·that we need to have measurable results, we need
·2·   ·   ·   ·objectives and those kinds of things, but because    ·2·   ·   ·   ·to document them in a plan and we need to work
·3·   ·   ·   ·this is one part -- and I -- and I think as you      ·3·   ·   ·   ·toward them.
·4·   ·   ·   ·can see, of an almost 300-page document, the --      ·4·   ·   ·   · · · · · · So I'm assuming -- or I'm sure that
·5·   ·   ·   ·the actual targets for each particular group --      ·5·   ·   ·   ·this is one of what has been many performance
·6·   ·   ·   ·and, remember, this group is at least two layers     ·6·   ·   ·   ·measurements.
·7·   ·   ·   ·removed from me -- those -- those are derived up     ·7·   ·   ·   · · · Q· · ·Okay.· And how did you express to the
·8·   ·   ·   ·over time.                                           ·8·   ·   ·   ·BDU that they needed to set these target numbers?
·9·   ·   ·   · · · · · · So I could not tell you exactly when      ·9·   ·   ·   · · · · · · How did you make that clear to them?
10·   ·   ·   ·or, you know, exactly who because -- because         10·   ·   ·   · · · A· · ·So we have performance metric meetings
11·   ·   ·   ·that's how it works.· It works as a -- as a          11·   ·   ·   ·as a part of the -- the management and the
12·   ·   ·   ·collaborative -- collaborative document.             12·   ·   ·   ·governance of Federal Student Aid, and -- and one
13·   ·   ·   · · · Q· · ·Okay.· And who do you think -- who do     13·   ·   ·   ·of the parts of that would be the borrower defense
14·   ·   ·   ·you think might have set those numbers?· Who would   14·   ·   ·   ·unit coming forward, briefing their metrics and
15·   ·   ·   ·you -- yeah.                                         15·   ·   ·   ·briefing their updates.· And for everybody that
16·   ·   ·   · · · A· · ·Who do I think?                           16·   ·   ·   ·came before me, I asked them to have long-, mid-
17·   ·   ·   · · · Q· · ·Who do you think may have set those       17·   ·   ·   ·and short-term performance metric production
18·   ·   ·   ·numbers -- those target numbers?                     18·   ·   ·   ·goals.
19·   ·   ·   · · · A· · ·So I would -- I would just clarify that   19·   ·   ·   · · · · · · When I told -- when we had that
20·   ·   ·   ·I don't know who set these numbers.· The -- the      20·   ·   ·   ·particular meeting and when borrower defense got
21·   ·   ·   ·borrower defense unit is inside of our partner       21·   ·   ·   ·that message, I don't know, but I'm certain they
22·   ·   ·   ·participation and oversight organization, and the    22·   ·   ·   ·got it from me because I -- I gave that message to
23·   ·   ·   ·partner participation and oversight organization     23·   ·   ·   ·the entire organization.· And, so, the entire
24·   ·   ·   ·would be a part of that process.· But the subject    24·   ·   ·   ·organization went about developing metrics and
25·   ·   ·   ·matter expertise, very much like I noted on how      25·   ·   ·   ·measurements and those kind of things for the

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·1·   ·   ·   ·many lawyers I needed, the subject lawyer            ·1·   ·   ·   ·health of the organization and because I think
·2·   ·   ·   ·expertise on what production could be done           ·2·   ·   ·   ·that's what we were legislated to do.
·3·   ·   ·   ·probably starts within the borrower defense unit.    ·3·   ·   ·   · · · Q· · ·Okay.· And when did the BDU start
·4·   ·   ·   · · · Q· · ·Okay.· So do you think someone within     ·4·   ·   ·   ·reporting those metrics?
·5·   ·   ·   ·the borrower defense unit probably set those         ·5·   ·   ·   · · · A· · ·So when you -- when you say that
·6·   ·   ·   ·target numbers?                                      ·6·   ·   ·   ·they -- when did they start -- you mean when did
·7·   ·   ·   · · · · · · MR. HANCOCK:· Objection: asked and        ·7·   ·   ·   ·we have metric meetings as an organization?
·8·   ·   ·   ·answered.                                            ·8·   ·   ·   · · · · · · And -- and the -- the part of that is
·9·   ·   ·   · · · BY MS. TORCHIANA:                               ·9·   ·   ·   ·that --
10·   ·   ·   · · · Q· · ·You can still answer.                     10·   ·   ·   · · · Q· · ·Well, you were saying --
11·   ·   ·   · · · A· · ·Again, ma'am, I don't know.· I really     11·   ·   ·   · · · A· · ·-- the metrics they are reporting --
12·   ·   ·   ·don't know.                                          12·   ·   ·   · · · Q· · ·You were saying that you set metrics
13·   ·   ·   · · · · · · So, you know, again, I can repeat what    13·   ·   ·   ·that were set in, like, about -- annually and
14·   ·   ·   ·I just said, is if you look at our organizational    14·   ·   ·   ·quarterly, et cetera.
15·   ·   ·   ·chart, this type of work is done inside of the       15·   ·   ·   · · · A· · ·Yes.· Right.
16·   ·   ·   ·borrower defense unit.                               16·   ·   ·   · · · Q· · ·When did the BDU start reporting those
17·   ·   ·   · · · Q· · ·Okay.· And do you know when FSA came up   17·   ·   ·   ·metrics to FSA?
18·   ·   ·   ·with BDU adjudications as a performance metric?      18·   ·   ·   · · · A· · ·So I don't -- I don't know the
19·   ·   ·   · · · A· · ·So I require all -- all elements of       19·   ·   ·   ·precise -- I don't know the precise time, but
20·   ·   ·   ·Federal Student Aid -- in the March, April, May      20·   ·   ·   ·within 90 days of my time there, we -- we began to
21·   ·   ·   ·time frame, I required all elements of Federal       21·   ·   ·   ·have metric meetings, and BDU is a -- is a -- is a
22·   ·   ·   ·Student Aid to be guided by metrics.· So exactly     22·   ·   ·   ·part and a reporter amongst those metric meetings.
23·   ·   ·   ·when this particular one came up, I don't know,      23·   ·   ·   · · · · · · So the BDU metrics, much like all the
24·   ·   ·   ·but it is likely a part of what has been my          24·   ·   ·   ·other accounts in our metrics that we have, are
25·   ·   ·   ·philosophy since -- since taking over, and that is   25·   ·   ·   ·reported through those processes.· And while I


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·1·   ·   ·   ·don't know the exact time, I believe it was within   ·1·   ·   ·   · · · Q· · ·Okay.· And if you go down to the bottom
·2·   ·   ·   ·three or four months of my arrival there as the      ·2·   ·   ·   ·of page 91, it says, This production data is
·3·   ·   ·   ·chief operating officer.                             ·3·   ·   ·   ·reported in weekly performance metrics evaluated
·4·   ·   ·   · · · Q· · ·Okay.· And when you first started         ·4·   ·   ·   ·by FSA and department senior leadership.
·5·   ·   ·   ·reviewing -- when you first started receiving the    ·5·   ·   ·   · · · · · · So when -- when did you start receiving
·6·   ·   ·   ·metrics from the BDU, what -- what were those        ·6·   ·   ·   ·those -- or when did that production data start
·7·   ·   ·   ·numbers like?· Do you remember?                      ·7·   ·   ·   ·being reported weekly?· Do you know?
·8·   ·   ·   · · · A· · ·I guess I need to understand your --      ·8·   ·   ·   · · · A· · ·No, no.
·9·   ·   ·   ·what were the numbers like?· Do you mean what were   ·9·   ·   ·   · · · Q· · ·Okay.· Do you -- did you review those
10·   ·   ·   ·they?· What were they?                               10·   ·   ·   ·weekly performance metrics?
11·   ·   ·   · · · Q· · ·Yeah, yeah.                               11·   ·   ·   · · · A· · ·Yes.
12·   ·   ·   · · · A· · ·So, unfortunately, I can't tell you       12·   ·   ·   · · · Q· · ·And do you remember roughly when you
13·   ·   ·   ·exactly what they -- what they were, but I can       13·   ·   ·   ·started reviewing them?
14·   ·   ·   ·tell you categorically we looked at how many         14·   ·   ·   · · · A· · ·No, I -- I don't remember.· And -- and
15·   ·   ·   ·borrower defense cases there were and how many had   15·   ·   ·   ·I -- I don't -- I don't remember exactly when, but
16·   ·   ·   ·been adjudicated.                                    16·   ·   ·   ·I certainly remember that I -- that I have been
17·   ·   ·   · · · · · · So at my level, at the chief operating    17·   ·   ·   ·doing it.
18·   ·   ·   ·officer's level, I look at input and output, and I   18·   ·   ·   · · · · · · MS. TORCHIANA:· Okay.· And just to ask,
19·   ·   ·   ·look at the time it goes from input to output and    19·   ·   ·   ·would DOJ be able to produce those weekly
20·   ·   ·   ·quality.· That's what I do as a -- as a chief        20·   ·   ·   ·performance metrics?
21·   ·   ·   ·operating officer.                                   21·   ·   ·   · · · · · · I'm asking counsel that.
22·   ·   ·   · · · · · · So while I don't remember the precise     22·   ·   ·   · · · · · · MR. HANCOCK:· I mean, we've had
23·   ·   ·   ·numbers then because it has been some time ago, I    23·   ·   ·   ·discussions regarding the production.· There's a
24·   ·   ·   ·do know that those are the general categories that   24·   ·   ·   ·lot of details involved there.· And I'm not going
25·   ·   ·   ·we routinely look at.                                25·   ·   ·   ·to commit right here to any specific document that

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·1·   ·   ·   · · · Q· · ·Okay.· And when you first started         ·1·   ·   ·   ·I haven't seen or aware of.· So we're happy to
·2·   ·   ·   ·reviewing performance metrics from the BDU, did      ·2·   ·   ·   ·have that conversation, but . . .
·3·   ·   ·   ·you have any concerns?                               ·3·   ·   ·   · · · BY MS. TORCHIANA:
·4·   ·   ·   · · · A· · ·As I said earlier, I had some             ·4·   ·   ·   · · · Q· · ·Okay.· So -- so you mentioned -- well,
·5·   ·   ·   ·understanding that they were in need of two things   ·5·   ·   ·   ·let's see here.· Okay.· We'll get back to this
·6·   ·   ·   ·in order to do well.· And those were more            ·6·   ·   ·   ·later.
·7·   ·   ·   ·attorneys and an investment in their systems.        ·7·   ·   ·   · · · · · · I'd now like you to turn to Exhibit 3.
·8·   ·   ·   ·Those were the two internal FSA things that they     ·8·   ·   ·   · · · · · · (Exhibit 3 referred to.)
·9·   ·   ·   ·needed to do well.                                   ·9·   ·   ·   · · · · · · THE WITNESS:· Exhibit 3.· It says
10·   ·   ·   · · · · · · And while I wouldn't necessarily          10·   ·   ·   ·Exhibit 19.· Is that --
11·   ·   ·   ·categorize that as a concern, those were             11·   ·   ·   · · · BY MS. TORCHIANA:
12·   ·   ·   ·objectives that I was working toward to assist the   12·   ·   ·   · · · Q· · ·Yeah, that's fine.· That's fine.· Yeah.
13·   ·   ·   ·borrower defense unit to be successful.              13·   ·   ·   · · · · · · And would you look -- look over this
14·   ·   ·   · · · Q· · ·Okay.· And here it says fiscal year       14·   ·   ·   ·document?
15·   ·   ·   ·2020, actual 160,000.· Do you know when that         15·   ·   ·   · · · A· · ·(Witness reviews document.)
16·   ·   ·   ·number was reached?                                  16·   ·   ·   · · · Q· · ·Are you familiar with this document?
17·   ·   ·   · · · A· · ·(Witness reviews document.)               17·   ·   ·   ·Have you seen it before?
18·   ·   ·   · · · · · · I -- I don't know the exact -- I don't    18·   ·   ·   · · · A· · ·(Witness reviews document.)
19·   ·   ·   ·know the exact time.· We -- we look at the           19·   ·   ·   · · · · · · I believe this document is an inspector
20·   ·   ·   ·progress.· I do know that borrower defense unit      20·   ·   ·   ·general's report, the Office of the Inspector
21·   ·   ·   ·has made significant progress since getting the      21·   ·   ·   ·General.· But I have not seen this entire -- this
22·   ·   ·   ·resources, and so I'm certain that they either       22·   ·   ·   ·entire report.· This is a -- I think this is a
23·   ·   ·   ·reached that number or came very close to it         23·   ·   ·   ·2017 report, so it is two chief operating officers
24·   ·   ·   ·because they made significant progress since         24·   ·   ·   ·ago, and I was not at the Department of Education
25·   ·   ·   ·receiving the resources necessary.                   25·   ·   ·   ·at that time.


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·1·   ·   ·   · · · Q· · ·Okay.· Had you seen it before today?      ·1·   ·   ·   · · · Q· · ·Okay.· And if you see at the top of the
·2·   ·   ·   · · · A· · ·No, ma'am.· I don't believe I've seen     ·2·   ·   ·   ·page, it says, FSA established seven categories of
·3·   ·   ·   ·this entire report before today.                     ·3·   ·   ·   ·borrower defense claims that supported a cause of
·4·   ·   ·   · · · Q· · ·Have you seen parts of it before today?   ·4·   ·   ·   ·action under applicable state law and thus
·5·   ·   ·   · · · A· · ·I -- I believe I've had -- I've been --   ·5·   ·   ·   ·qualified a borrower for a loan discharge.
·6·   ·   ·   ·I've heard references to the OIG report, and         ·6·   ·   ·   · · · · · · So -- and there are, you know, seven
·7·   ·   ·   ·that's what I meant in my statement.· I've heard     ·7·   ·   ·   ·listed there.
·8·   ·   ·   ·references to according to the OIG report.· I've     ·8·   ·   ·   · · · · · · So is it -- is it accurate that as of
·9·   ·   ·   ·seen it in things according to the OIG report.       ·9·   ·   ·   ·January 2017, the BDU had developed seven
10·   ·   ·   · · · · · · And, so, the physical report itself, I    10·   ·   ·   ·categories of claims that were subject to
11·   ·   ·   ·don't believe that I have seen it.· I don't recall   11·   ·   ·   ·approval?
12·   ·   ·   ·seeing it.· I only recall hearing references to      12·   ·   ·   · · · · · · MR. HANCOCK:· Objection:· Exceeding the
13·   ·   ·   ·the OIG report --                                    13·   ·   ·   ·scope of the court's ordered discovery.
14·   ·   ·   · · · Q· · ·All right.                                14·   ·   ·   · · · BY MS. TORCHIANA:
15·   ·   ·   · · · A· · ·-- and I think that's based on the        15·   ·   ·   · · · Q· · ·You can still answer.
16·   ·   ·   ·date.                                                16·   ·   ·   · · · A· · ·Yeah, regrettably, ma'am, I don't
17·   ·   ·   · · · Q· · ·Okay.· And based on that, what do you     17·   ·   ·   ·know -- in 2017, I was -- I was not a part of the
18·   ·   ·   ·understand were the conclusions of the OIG report?   18·   ·   ·   ·Department of Education.
19·   ·   ·   · · · · · · MR. HANCOCK:· Objection to this line of   19·   ·   ·   · · · Q· · ·Okay.· And do you know -- so these are
20·   ·   ·   ·questioning as exceeding the scope of the            20·   ·   ·   ·seven approval categories.· So have you ever heard
21·   ·   ·   ·court-ordered discovery.                             21·   ·   ·   ·of BDU's approval protocols?
22·   ·   ·   · · · BY MS. TORCHIANA:                               22·   ·   ·   · · · A· · ·Approval criticals?
23·   ·   ·   · · · Q· · ·You can still answer.                     23·   ·   ·   · · · Q· · ·Approval protocols.
24·   ·   ·   · · · A· · ·Unfortunately, ma'am, I have no -- I      24·   ·   ·   · · · A· · ·Protocols, oh.
25·   ·   ·   ·have no full understanding of this because it        25·   ·   ·   · · · · · · I am aware that there are categories

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·1·   ·   ·   ·is -- it is so dated.· And, so, it simply would      ·1·   ·   ·   ·of -- of claims.· I -- I don't know that I could
·2·   ·   ·   ·not have been relevant for what I was going after    ·2·   ·   ·   ·say that there were -- that there were seven and
·3·   ·   ·   ·in March of 2019 forward.                            ·3·   ·   ·   ·that there still are seven, but I -- I am aware
·4·   ·   ·   · · · Q· · ·Okay.· So would you say that the          ·4·   ·   ·   ·that there are categories of -- of claims.
·5·   ·   ·   ·conclusions in the report were not relevant to       ·5·   ·   ·   · · · Q· · ·Okay.· And do you know -- do you know
·6·   ·   ·   ·your work going forward?                             ·6·   ·   ·   ·if since you've started there were any more
·7·   ·   ·   · · · A· · ·I have not read the report.               ·7·   ·   ·   ·categories of claims that were developed for
·8·   ·   ·   · · · Q· · ·Okay.· Okay.· And did you hear any of     ·8·   ·   ·   ·approval outside of these seven?
·9·   ·   ·   ·your coworkers' opinions of it?                      ·9·   ·   ·   · · · A· · ·I do not.
10·   ·   ·   · · · A· · ·I did not.· I -- I only know of the       10·   ·   ·   · · · Q· · ·Okay.· And, so, if you go down in the
11·   ·   ·   ·report because it's referenced in -- you know,       11·   ·   ·   ·middle of the page, could you read that paragraph
12·   ·   ·   ·when we -- when we look at some of my education in   12·   ·   ·   ·in the middle that starts, From January 20th,
13·   ·   ·   ·March, it was referenced that there was an OIG       13·   ·   ·   ·2017?
14·   ·   ·   ·report.                                              14·   ·   ·   · · · A· · ·From -- from January 20th, 2017,
15·   ·   ·   · · · Q· · ·Okay.                                     15·   ·   ·   ·through July 31st, 2017, BDU did not complete or
16·   ·   ·   · · · A· · ·I can't -- I don't have an opinion of     16·   ·   ·   ·begin preparing any legal memoranda establishing
17·   ·   ·   ·it one way or the other.                             17·   ·   ·   ·whether additional categories of borrower defense
18·   ·   ·   · · · Q· · ·Okay.· Did you ever discuss it with any   18·   ·   ·   ·claims qualified for discharge.· According to the
19·   ·   ·   ·coworkers or anyone at your office?                  19·   ·   ·   ·director of BDU, the BDU staff has been instructed
20·   ·   ·   · · · A· · ·I do not recall discussing this report    20·   ·   ·   ·not to continue developing memoranda on whether
21·   ·   ·   ·with anyone.                                         21·   ·   ·   ·additional categories of claims qualify for
22·   ·   ·   · · · Q· · ·So if you turn to page -- it's 509 at     22·   ·   ·   ·discharge because the borrower defense policies
23·   ·   ·   ·the bottom in the -- in the small -- small footer.   23·   ·   ·   ·are being reviewed with the change in
24·   ·   ·   ·It's page 193 of 270 in the stamp?                   24·   ·   ·   ·administrations.
25·   ·   ·   · · · A· · ·I have the page.                          25·   ·   ·   · · · Q· · ·Okay.· And do you know who -- had you


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·1·   ·   ·   ·heard of who instructed BDU to stop developing       ·1·   ·   ·   · · · A· · ·Not -- not to me, no.· I -- I have
·2·   ·   ·   ·these memoranda?                                     ·2·   ·   ·   ·the -- no, I can't think of anything that would be
·3·   ·   ·   · · · · · · MR. HANCOCK:· Objection: calls for        ·3·   ·   ·   ·considered displeasure or -- if that's your
·4·   ·   ·   ·speculation.                                         ·4·   ·   ·   ·question.
·5·   ·   ·   · · · · · · THE WITNESS:· I don't know, ma'am.        ·5·   ·   ·   · · · Q· · ·Okay.· Okay.· And, you know, to get
·6·   ·   ·   · · · BY MS. TORCHIANA:                               ·6·   ·   ·   ·back to some general questions not about this
·7·   ·   ·   · · · Q· · ·Okay.· And did you ever hear of this      ·7·   ·   ·   ·document specifically -- we'll get back to it
·8·   ·   ·   ·decision or learn of it?                             ·8·   ·   ·   ·after.
·9·   ·   ·   · · · A· · ·So in -- I -- I would not -- ma'am, I     ·9·   ·   ·   · · · · · · But before -- just turning back to
10·   ·   ·   ·would not be able to tell you what -- you know,      10·   ·   ·   ·something you've said, before you mentioned --
11·   ·   ·   ·what was -- what was told in 2017.· I -- I was not   11·   ·   ·   ·when we were talking about performance metrics for
12·   ·   ·   ·a part of the Department of Education in 2017.       12·   ·   ·   ·the BDU, do you remember a couple of moments ago,
13·   ·   ·   · · · Q· · ·Okay.· Okay.· We can move on, then.       13·   ·   ·   ·how -- how do you assess -- you said you -- you
14·   ·   ·   · · · · · · If you could turn to Exhibit 7 in your    14·   ·   ·   ·installed performance metrics and, you know,
15·   ·   ·   ·hard copies.                                         15·   ·   ·   ·you -- you were trying to install metrics at the
16·   ·   ·   · · · · · · (Exhibit 7 referred to.)                  16·   ·   ·   ·department.
17·   ·   ·   · · · · · · THE WITNESS:· It says it's -- yes,        17·   ·   ·   · · · · · · How do you measure the output of the
18·   ·   ·   ·Exhibit 7.                                           18·   ·   ·   ·BDU unit?
19·   ·   ·   · · · BY MS. TORCHIANA:                               19·   ·   ·   · · · · · · MR. HANCOCK:· Objection: misstates
20·   ·   ·   · · · Q· · ·And are you familiar with this            20·   ·   ·   ·testimony.
21·   ·   ·   ·document?                                            21·   ·   ·   · · · BY MS. TORCHIANA:
22·   ·   ·   · · · A· · ·(Witness reviews document.)               22·   ·   ·   · · · Q· · ·Okay.· How do you -- do you assess the
23·   ·   ·   · · · · · · I'm not familiar with the front part of   23·   ·   ·   ·output of the BDU unit?
24·   ·   ·   ·this memorandum at -- at all, the letter.· But I     24·   ·   ·   · · · A· · ·So with -- with all of Federal Student
25·   ·   ·   ·am aware of the secretary's signature on the back    25·   ·   ·   ·Aid metrics, they normally are production

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·1·   ·   ·   ·that says "with extreme displeasure" because it      ·1·   ·   ·   ·oriented.· How many have -- so we are a
·2·   ·   ·   ·was a -- it was a matter of a media article that I   ·2·   ·   ·   ·performance-based organization, so we're a
·3·   ·   ·   ·read.                                                ·3·   ·   ·   ·production organization.
·4·   ·   ·   · · · · · · So that's my knowledge of this            ·4·   ·   ·   · · · · · · And, so, we routinely look at input,
·5·   ·   ·   ·document.                                            ·5·   ·   ·   ·output and quality, and that would be the same for
·6·   ·   ·   · · · Q· · ·Okay.· And what do you take that to       ·6·   ·   ·   ·the BDU -- the BDU unit.
·7·   ·   ·   ·mean, her -- her comment?                            ·7·   ·   ·   · · · Q· · ·Okay.· And how do you assess the input
·8·   ·   ·   · · · · · · MR. HANCOCK:· Objection: exceeds the      ·8·   ·   ·   ·and the output and the quality of the BDU unit's
·9·   ·   ·   ·scope of the court-ordered discovery.                ·9·   ·   ·   ·work?
10·   ·   ·   · · · BY MS. TORCHIANA:                               10·   ·   ·   · · · A· · ·So keeping in mind that -- I can just
11·   ·   ·   · · · Q· · ·You can still answer.                     11·   ·   ·   ·tell you generically, I'm not a borrower defense
12·   ·   ·   · · · A· · ·I don't -- I don't know other than -- I   12·   ·   ·   ·unit expert.· What I can -- what I can tell you is
13·   ·   ·   ·read it in a media article.· I don't know -- I       13·   ·   ·   ·that we look at how many claims that we have in
14·   ·   ·   ·don't know that -- I don't know.                     14·   ·   ·   ·and how many claims we have adjudicated either
15·   ·   ·   · · · Q· · ·Okay.· Do you know what -- what caused    15·   ·   ·   ·positively or -- or negatively or approved or
16·   ·   ·   ·her extreme displeasure?                             16·   ·   ·   ·disapproved, and at -- and how we're doing at the
17·   ·   ·   · · · A· · ·So I -- I think this was signed in        17·   ·   ·   ·overall process of -- of getting those answers
18·   ·   ·   ·2017, and -- and I was not a part of the             18·   ·   ·   ·to -- to the students.
19·   ·   ·   ·Department of Education then, so, no, ma'am, I       19·   ·   ·   · · · · · · So all of those elements of it would --
20·   ·   ·   ·wasn't a part of this.· I don't know.                20·   ·   ·   ·would be at the macro level how the BDU unit is
21·   ·   ·   · · · Q· · ·Okay.· And when you -- since you've       21·   ·   ·   ·doing.
22·   ·   ·   ·started, has the secretary expressed any             22·   ·   ·   · · · Q· · ·Okay.· And, so, when you came up with
23·   ·   ·   ·displeasure with any aspects of the BDU's work?      23·   ·   ·   ·the fiscal year 2020 -- not you, but when the
24·   ·   ·   · · · A· · ·With any aspects of the BDU work?         24·   ·   ·   ·performance metric was set, did you have to
25·   ·   ·   · · · Q· · ·Yes.                                      25·   ·   ·   ·approve it or sign off on it?


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·1·   ·   ·   · · · A· · ·I signed off on all of the -- all of      ·1·   ·   ·   · · · Q· · ·Okay.· And, so, when BDU came up with
·2·   ·   ·   ·the metrics that go into the strategic plan and      ·2·   ·   ·   ·its performance metric, what deliberations did you
·3·   ·   ·   ·the annual plan, one of which is the metric.· And    ·3·   ·   ·   ·have with the BDU?· Did you meet with them about
·4·   ·   ·   ·in signing, I denote my confidence in the process    ·4·   ·   ·   ·the performance metrics?
·5·   ·   ·   ·of the development of those things.                  ·5·   ·   ·   · · · · · · MR. HANCOCK:· Objection: calls for
·6·   ·   ·   · · · Q· · ·Okay.· So would you ever agree to a       ·6·   ·   ·   ·deliberative privileged information.· I instruct
·7·   ·   ·   ·performance metric that wasn't reasonable or that    ·7·   ·   ·   ·the witness not to answer.
·8·   ·   ·   ·you think wasn't attainable?                         ·8·   ·   ·   · · · BY MS. TORCHIANA:
·9·   ·   ·   · · · A· · ·So when I look at a performance metric    ·9·   ·   ·   · · · Q· · ·Okay.· And how -- when you signed off
10·   ·   ·   ·in general, I look to see if we provided the         10·   ·   ·   ·on the performance metrics, how did you come to
11·   ·   ·   ·resources necessary to achieve it.· And if we        11·   ·   ·   ·understand that that was an achievable goal?· What
12·   ·   ·   ·provided the resources necessary to achieve it,      12·   ·   ·   ·told you that?
13·   ·   ·   ·then, you know, I would feel comfortable that it     13·   ·   ·   · · · A· · ·So what -- so if -- what told me that
14·   ·   ·   ·was reasonable.                                      14·   ·   ·   ·the goals were achievable?
15·   ·   ·   · · · · · · But you asked me if I would ever sign     15·   ·   ·   · · · Q· · ·Uh-huh.· Yes.
16·   ·   ·   ·off on a performance metric that is not              16·   ·   ·   · · · A· · ·From my level -- and I have to explain
17·   ·   ·   ·reasonable; am I -- am I correct?                    17·   ·   ·   ·this a little bit, though -- but from my level,
18·   ·   ·   · · · Q· · ·Yes.                                      18·   ·   ·   ·I'm more concerned that the process is in place
19·   ·   ·   · · · A· · ·I would not knowingly do so; however, I   19·   ·   ·   ·for the voices to be heard and the development to
20·   ·   ·   ·am not beyond flaw and -- and we have a large        20·   ·   ·   ·occur.· And, so, I am spending my time on the
21·   ·   ·   ·organization, and as I've said, they all have        21·   ·   ·   ·process; in other words, are they from the ground
22·   ·   ·   ·metrics.· I have to build and trust the process      22·   ·   ·   ·up.· Do subject matter experts have an opportunity
23·   ·   ·   ·that it would not bring me an unachievable metric,   23·   ·   ·   ·to say something; are we, you know, not listening
24·   ·   ·   ·and so -- but it is not without flaw.                24·   ·   ·   ·to any voices; or how do they look on a historical
25·   ·   ·   · · · · · · So there -- there could be one that       25·   ·   ·   ·basis.

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·1·   ·   ·   ·would have to be changed or adjusted if it were      ·1·   ·   ·   · · · · · · Those kinds of questions when you
·2·   ·   ·   ·not -- if it were found to be, I think as you        ·2·   ·   ·   ·manage a large organization, you have to become
·3·   ·   ·   ·said, unrealistic.                                   ·3·   ·   ·   ·confident that those will help bring out the best
·4·   ·   ·   · · · Q· · ·Okay.· And how did you inform yourself    ·4·   ·   ·   ·in those you manage.
·5·   ·   ·   ·that the BDU -- BDU unit's metrics were achievable   ·5·   ·   ·   · · · · · · And, so, the way -- the reason I'm
·6·   ·   ·   ·or attainable?                                       ·6·   ·   ·   ·confident is because I spend an intense amount of
·7·   ·   ·   · · · · · · MR. HANCOCK:· Objection: vague; and       ·7·   ·   ·   ·time on the process to make sure the process is in
·8·   ·   ·   ·potentially calls for deliberative information.      ·8·   ·   ·   ·place to deliver that.· I don't -- I'm not a
·9·   ·   ·   · · · BY MS. TORCHIANA:                               ·9·   ·   ·   ·borrower defense attorney.· I don't -- I can't
10·   ·   ·   · · · Q· · ·You can still answer.                     10·   ·   ·   ·tell you perhaps the intricacies that you're
11·   ·   ·   · · · A· · ·So we have metrics updates as I was --    11·   ·   ·   ·looking for in terms of all of those things that
12·   ·   ·   ·as I was saying, and -- and -- and a process by      12·   ·   ·   ·happen inside of the borrower defense unit, but I
13·   ·   ·   ·which they are developed.· So the way I inform       13·   ·   ·   ·can tell you what process I had used.
14·   ·   ·   ·myself in general is by listening and having         14·   ·   ·   · · · Q· · ·And who told you about the processes at
15·   ·   ·   ·dialogue and asking questions that I think are       15·   ·   ·   ·the BDU?
16·   ·   ·   ·challenging that would make those who develop and    16·   ·   ·   · · · A· · ·Who told me about how borrower defense
17·   ·   ·   ·think deeply about them and looking at, you know,    17·   ·   ·   ·unit processes the work?· Is that your question,
18·   ·   ·   ·their responses and the history and seeing if        18·   ·   ·   ·ma'am?
19·   ·   ·   ·together we can agree that this is something that    19·   ·   ·   · · · Q· · ·Sure.
20·   ·   ·   ·can be done.· And then ultimately they are           20·   ·   ·   · · · · · · Well, you said you were listening to --
21·   ·   ·   ·established that way.                                21·   ·   ·   ·when you set the performance metrics you were
22·   ·   ·   · · · · · · So I -- I know that's not a one, two,     22·   ·   ·   ·listening to different voices and it's a
23·   ·   ·   ·three answer, but neither is the process.· It is a   23·   ·   ·   ·deliberative process.
24·   ·   ·   ·very deliberative back-and-forth process that        24·   ·   ·   · · · · · · Who were you deliberating with to set
25·   ·   ·   ·leads to what you are calling the metrics.           25·   ·   ·   ·those numbers?


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·1·   ·   ·   · · · A· · ·So in the case of the borrower defense    ·1·   ·   ·   · · · · · · I -- I would not use the term "concern"
·2·   ·   ·   ·unit, I have a deputy chief operating officer for    ·2·   ·   ·   ·about that because I think it -- that's how you do
·3·   ·   ·   ·partner participation and oversight, and my          ·3·   ·   ·   ·it.· I mean, that's how -- that's how it happens
·4·   ·   ·   ·conversations would begin with them.· They, then,    ·4·   ·   ·   ·across the entire organization.· In the case of
·5·   ·   ·   ·would have conversations with the BD unit -- BDU     ·5·   ·   ·   ·the BDU unit, it's resources.· It's, you know,
·6·   ·   ·   ·unit who would have conversations internal to the    ·6·   ·   ·   ·people.
·7·   ·   ·   ·unit, and if we're -- if we're doing it right, all   ·7·   ·   ·   · · · Q· · ·And, so, what resources were those?
·8·   ·   ·   ·of those voices will be heard at every -- at         ·8·   ·   ·   · · · A· · ·Attorneys.
·9·   ·   ·   ·every -- at every level.                             ·9·   ·   ·   · · · Q· · ·So you're saying -- what were the
10·   ·   ·   · · · · · · So when you ask who am I listening to     10·   ·   ·   ·resources that were --
11·   ·   ·   ·or who told me, the people that work for me.         11·   ·   ·   · · · A· · ·Attorneys.
12·   ·   ·   · · · Q· · ·Okay.· And would that have been Robin     12·   ·   ·   · · · Q· · ·What resources did the BDU think would
13·   ·   ·   ·Mittner?                                             13·   ·   ·   ·help them reach their target for the 2020 fiscal
14·   ·   ·   · · · A· · ·So I believe you mean Robin Minor?        14·   ·   ·   ·year?
15·   ·   ·   · · · Q· · ·Minor, sorry.                             15·   ·   ·   · · · A· · ·So, again, there were two -- there were
16·   ·   ·   · · · A· · ·She is the first in the management        16·   ·   ·   ·two points that had to be addressed.· A number of
17·   ·   ·   ·chain.· She is the first in the management chain     17·   ·   ·   ·attorneys, hire to a certain level of attorneys.
18·   ·   ·   ·of BDU between me and the BDU unit.· And, yes, I     18·   ·   ·   ·And then there were also resources to invest in
19·   ·   ·   ·would have had conversations with Robin Minor, but   19·   ·   ·   ·the IT system, the platform that was, in fact, the
20·   ·   ·   ·they would have not been isolated to that.· She      20·   ·   ·   ·case management system.
21·   ·   ·   ·would have had conversations with others as well.    21·   ·   ·   · · · · · · And, so, when I say resources and I say
22·   ·   ·   · · · · · · The -- so that's, in general, how         22·   ·   ·   ·attorneys and money, that's what I'm talking
23·   ·   ·   ·information flows, if that's your question.          23·   ·   ·   ·about.· We had to collectively achieve those
24·   ·   ·   · · · Q· · ·Okay.· And -- and when these              24·   ·   ·   ·things to achieve the goal.
25·   ·   ·   ·performance metrics were set, do you know if         25·   ·   ·   · · · Q· · ·Okay.· So would you say primarily that

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·1·   ·   ·   ·anyone expressed concern about not being able to     ·1·   ·   ·   ·IT resources and attorneys were the two resources
·2·   ·   ·   ·attain them?                                         ·2·   ·   ·   ·that BDU needed to meet its target?
·3·   ·   ·   · · · A· · ·I -- I don't -- I don't know.· I can't    ·3·   ·   ·   · · · A· · ·I -- I did say that.· I said that in
·4·   ·   ·   ·recall any specific concern.· You know, I don't --   ·4·   ·   ·   ·order for -- in order for the borrower defense
·5·   ·   ·   ·I'm trying to think here if I can recall it, and I   ·5·   ·   ·   ·unit to be successful.
·6·   ·   ·   ·do not.· I don't recall any specific concern about   ·6·   ·   ·   · · · · · · Now, remember, I'm talking about this
·7·   ·   ·   ·attaining BDU goals.                                 ·7·   ·   ·   ·at my level, the macro level.· You know, I guess
·8·   ·   ·   · · · Q· · ·Okay.· So there was no concern about      ·8·   ·   ·   ·like with anything, if you were three levels down,
·9·   ·   ·   ·adjudicating 150,000 applications within fiscal      ·9·   ·   ·   ·they may -- they may have concerns of other things
10·   ·   ·   ·year 2020?                                           10·   ·   ·   ·that I would not have at my level, but at my -- at
11·   ·   ·   · · · A· · ·There was concern that I would get the    11·   ·   ·   ·my level, my challenges were to have -- have
12·   ·   ·   ·resources necessary to the BDU team, and our -- I    12·   ·   ·   ·enough attorneys to adjudicate cases and to have
13·   ·   ·   ·think what you may be reading into that is           13·   ·   ·   ·the -- to get the money necessary to upgrade the
14·   ·   ·   ·immediately 150,000 claims.                          14·   ·   ·   ·systems, the case management systems that would be
15·   ·   ·   · · · · · · Is that a -- is that a concern?           15·   ·   ·   ·needed for the volume of cases we were talking
16·   ·   ·   ·There's always -- if you can hire the appropriate    16·   ·   ·   ·about.
17·   ·   ·   ·number of resources, then we can achieve this        17·   ·   ·   · · · Q· · ·And -- and, so, what did you do to get
18·   ·   ·   ·goal.· If you aren't allowed or failed to or we      18·   ·   ·   ·more attorneys in the BDU unit?
19·   ·   ·   ·can't find them or can't hire them or whatever,      19·   ·   ·   · · · A· · ·We hired people.· We had hiring fairs.
20·   ·   ·   ·then the goal is not achievable.                     20·   ·   ·   ·We went nontraditional terms, like --
21·   ·   ·   · · · · · · And, so, what I think you may be          21·   ·   ·   ·nontraditional for government like Indeed and
22·   ·   ·   ·calling concern, I'm calling the dialogue that       22·   ·   ·   ·LinkedIn and we visited law schools with
23·   ·   ·   ·goes into the building of metrics.· And so some is   23·   ·   ·   ·graduating attorneys, and we made offers to -- to
24·   ·   ·   ·on me to go do, right, and some is on the workers    24·   ·   ·   ·get at this situation.
25·   ·   ·   ·to go do.                                            25·   ·   ·   · · · · · · That's -- that's what we did, so I


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·1·   ·   ·   ·guess you would put it in a broad -- broad           ·1·   ·   ·   ·been issued since June 2018?
·2·   ·   ·   ·category of recruiting and -- and hiring.· That's    ·2·   ·   ·   · · · · · · MR. HANCOCK:· Objection: asked and
·3·   ·   ·   ·what we went about doing in a very aggressive way.   ·3·   ·   ·   ·answered.
·4·   ·   ·   · · · Q· · ·Okay.· And when did that start or when    ·4·   ·   ·   · · · · · · THE WITNESS:· I think --
·5·   ·   ·   ·did you start doing that?                            ·5·   ·   ·   · · · BY MS. TORCHIANA:
·6·   ·   ·   · · · A· · ·Again, I don't know when the very first   ·6·   ·   ·   · · · Q· · ·You can answer.
·7·   ·   ·   ·hiring fair was and when the very first -- I -- I    ·7·   ·   ·   · · · A· · ·Yeah, I think as I said before, I
·8·   ·   ·   ·didn't -- I don't conduct the hiring fair myself.    ·8·   ·   ·   ·believe there was confusion, and so it -- my -- my
·9·   ·   ·   ·I don't physically go.· I tell our experts to do     ·9·   ·   ·   ·understanding was that there was confusion.
10·   ·   ·   ·that and I know that they had them.· I don't         10·   ·   ·   ·That's -- that's how I would classify it.
11·   ·   ·   ·actually go to the law school and visit and try      11·   ·   ·   · · · Q· · ·Confusion about what?
12·   ·   ·   ·and -- you know, we send -- we send people who are   12·   ·   ·   · · · A· · ·The borrower defense unit believed that
13·   ·   ·   ·attorneys who know the business to go do that.       13·   ·   ·   ·they had guidance to -- to not do so, policy
14·   ·   ·   · · · · · · I can tell you that shortly after my      14·   ·   ·   ·guidance not -- not to do so, and had not done so
15·   ·   ·   ·arrival, we began to try and buildup the number of   15·   ·   ·   ·after the Manriquez case, and I'm not certain that
16·   ·   ·   ·attorneys after we were -- were given the approval   16·   ·   ·   ·the -- at the time that the -- the department was
17·   ·   ·   ·to do so as I said earlier, and then all of those    17·   ·   ·   ·under the understanding that they had provided
18·   ·   ·   ·actions began to take place.· It wasn't an           18·   ·   ·   ·that guidance.
19·   ·   ·   ·overnight thing.· It was -- as you would expect,     19·   ·   ·   · · · · · · So if you're asking about that time
20·   ·   ·   ·you get ten, you get five more, you get seven        20·   ·   ·   ·frame when I initially took over in -- in March, I
21·   ·   ·   ·more, you know, until you build up your personnel.   21·   ·   ·   ·would classify it as confusion.
22·   ·   ·   · · · Q· · ·And would you say before you joined,      22·   ·   ·   · · · Q· · ·Okay.· So just looking at Exhibit 10,
23·   ·   ·   ·were there enough attorneys in the BDU unit?         23·   ·   ·   ·are you familiar with this testimony by Diane Auer
24·   ·   ·   · · · A· · ·So while I would not talk about --        24·   ·   ·   ·Jones?
25·   ·   ·   ·because I don't know because enough is -- enough     25·   ·   ·   · · · A· · ·I am not familiar with this particular

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·1·   ·   ·   ·would have to do with how many cases you had at      ·1·   ·   ·   ·testimony.· I know that Ms. Jones provided
·2·   ·   ·   ·the time, so I can't talk to you, ma'am, about       ·2·   ·   ·   ·testimony, but I have not read this document that
·3·   ·   ·   ·anything prior to March 2019.· I really don't know   ·3·   ·   ·   ·is -- that you have here as Exhibit 10.
·4·   ·   ·   ·what -- I can tell you that, as I have said          ·4·   ·   ·   · · · Q· · ·So it was in -- on May 22nd, 2019, so
·5·   ·   ·   ·earlier, there were around 10 or 12 when I started   ·5·   ·   ·   ·after you joined.· Have you ever read through her
·6·   ·   ·   ·in March of 2019.· And that was not enough for the   ·6·   ·   ·   ·testimony or looked at it?
·7·   ·   ·   ·number of cases we had to get adjudicated and        ·7·   ·   ·   · · · A· · ·I -- I don't believe so.· At least I
·8·   ·   ·   ·worked, and therefore we did all those things that   ·8·   ·   ·   ·don't recall reading through this one.
·9·   ·   ·   ·I was just going through earlier.                    ·9·   ·   ·   · · · Q· · ·Okay.· And at the top, could you turn
10·   ·   ·   · · · Q· · ·Okay.· And did you -- did you have any    10·   ·   ·   ·to page 50?
11·   ·   ·   ·sense of whether there were any requests to hire     11·   ·   ·   · · · A· · ·Uh-huh.
12·   ·   ·   ·more attorneys before you joined?                    12·   ·   ·   · · · Q· · ·Okay.· And at the top, could you read
13·   ·   ·   · · · A· · ·As I said earlier, I -- I really don't    13·   ·   ·   ·the testimony that starts -- so Ms. Jones says,
14·   ·   ·   ·know.· I don't know.                                 14·   ·   ·   ·There is not a policy.· Could you read that
15·   ·   ·   · · · Q· · ·Okay.· Okay.· All right.                  15·   ·   ·   ·sentence?
16·   ·   ·   · · · · · · We'll talk about the IT platform more     16·   ·   ·   · · · A· · ·There is not a policy that prevents the
17·   ·   ·   ·later.· I'd now like you to go to Exhibit 10.        17·   ·   ·   ·review of claims.· However, we are not able to
18·   ·   ·   · · · · · · (Exhibit 10 referred to.)                 18·   ·   ·   ·determine the level of harm or the level of relief
19·   ·   ·   · · · · · · THE WITNESS:· Yes, ma'am.                 19·   ·   ·   ·that a borrower should get because the methodology
20·   ·   ·   · · · BY MS. TORCHIANA:                               20·   ·   ·   ·we use is now being challenged by the California
21·   ·   ·   · · · Q· · ·Okay.· And just before we get into        21·   ·   ·   ·courts.· So we continue to process.
22·   ·   ·   ·that, so when you started in March 2019, it sounds   22·   ·   ·   · · · Q· · ·Okay.· And could you tell me what you
23·   ·   ·   ·to me like that you made your issues -- or --        23·   ·   ·   ·think this means or explain that statement?
24·   ·   ·   ·or -- I guess when you started in March 2019, what   24·   ·   ·   · · · · · · MR. HANCOCK:· Objection:· Speculative.
25·   ·   ·   ·was your understanding of why no decisions had       25·   ·   ·   · · · BY MS. TORCHIANA:


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·1·   ·   ·   · · · Q· · ·You can still answer.                     ·1·   ·   ·   ·borrower defense process.
·2·   ·   ·   · · · A· · ·Actually, I can only tell you what I      ·2·   ·   ·   · · · Q· · ·So that case is called Calvillo.· What
·3·   ·   ·   ·just -- you know, what I just read.· But in terms    ·3·   ·   ·   ·was your understanding of the Calvillo injunction,
·4·   ·   ·   ·of what she means by that, I'm not sure I            ·4·   ·   ·   ·what it did, what it said?
·5·   ·   ·   ·understand your question, ma'am.                     ·5·   ·   ·   · · · A· · ·So my understanding from my team was
·6·   ·   ·   · · · · · · What would you like me to do with what    ·6·   ·   ·   ·that it prevented us from issuing -- determining
·7·   ·   ·   ·I just read?· It's --                                ·7·   ·   ·   ·percentages of relief based on an income source
·8·   ·   ·   · · · Q· · ·How -- okay.· That sentence, how do you   ·8·   ·   ·   ·that the courts had disagreed with.· And,
·9·   ·   ·   ·understand it?· What is she saying?                  ·9·   ·   ·   ·therefore, the borrower defense team was unable to
10·   ·   ·   · · · · · · MR. HANCOCK:· Objection:· Speculative.    10·   ·   ·   ·do that because they weren't allowed to use that
11·   ·   ·   · · · BY MS. TORCHIANA:                               11·   ·   ·   ·methodology according to the courts.
12·   ·   ·   · · · Q· · ·For example, when she says, We are not    12·   ·   ·   · · · Q· · ·Okay.· And do you know who -- who that
13·   ·   ·   ·able to determine the level of harm or the level     13·   ·   ·   ·applied to?
14·   ·   ·   ·of relief because the methodology we use is being    14·   ·   ·   · · · · · · When you say that they couldn't use the
15·   ·   ·   ·challenged by the California courts.                 15·   ·   ·   ·methodology, who couldn't they use the
16·   ·   ·   · · · · · · So with -- do you know which              16·   ·   ·   ·methodology -- what applications could they not
17·   ·   ·   ·methodology she's referring to?                      17·   ·   ·   ·use the methodology with?
18·   ·   ·   · · · A· · ·So I am only familiar with -- since       18·   ·   ·   · · · A· · ·So -- so I know that there was a --
19·   ·   ·   ·I've been the chief operating officer, there's       19·   ·   ·   ·there is a -- a set of claims that would be
20·   ·   ·   ·only one methodology that the borrower defense       20·   ·   ·   ·covered under the Manriquez case; that would be
21·   ·   ·   ·unit has used.· And, so, I would only assume here    21·   ·   ·   ·the claims for which you could not go forward on
22·   ·   ·   ·that it's something before that.                     22·   ·   ·   ·and use a methodology.
23·   ·   ·   · · · · · · I have not spent any time on what might   23·   ·   ·   · · · · · · Now, if you're asking me do I know
24·   ·   ·   ·have been used in 2017 or '18 or -- or that.· I'm    24·   ·   ·   ·which ones and exactly how many and all of that, I
25·   ·   ·   ·only familiar with it -- meaning, that we have a     25·   ·   ·   ·would not be able to give you that level of

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·1·   ·   ·   ·methodology that we use now.                         ·1·   ·   ·   ·detail, but I do know that there's a class of
·2·   ·   ·   · · · · · · But -- but I do think it's important      ·2·   ·   ·   ·claims -- I would call them a class, and that
·3·   ·   ·   ·that I clarify that the chief operating officer is   ·3·   ·   ·   ·those would fall under the Manriquez case.
·4·   ·   ·   ·not the policy element of this process, and          ·4·   ·   ·   · · · Q· · ·Okay.· And who explained to you that
·5·   ·   ·   ·methodology -- the determination of methodology      ·5·   ·   ·   ·the Calvillo injunction prevented relief for
·6·   ·   ·   ·would be a question more appropriate for those who   ·6·   ·   ·   ·some -- you know, those people that you just
·7·   ·   ·   ·make the policy.                                     ·7·   ·   ·   ·mentioned?
·8·   ·   ·   · · · Q· · ·Okay.· And when she refers to a case in   ·8·   ·   ·   · · · · · · How did -- how did you understand that?
·9·   ·   ·   ·the California courts, do you know what case that    ·9·   ·   ·   ·Did you read the case?· Or did someone tell you?
10·   ·   ·   ·was?                                                 10·   ·   ·   · · · · · · MR. HANCOCK:· Objection: ambiguous and
11·   ·   ·   · · · A· · ·Well, regrettably we have more than --    11·   ·   ·   ·compound.
12·   ·   ·   ·more than one or two cases in the California         12·   ·   ·   · · · · · · MS. TORCHIANA:· Okay.· I'll ask again.
13·   ·   ·   ·courts, so -- so I wouldn't want to speculate        13·   ·   ·   · · · BY MS. TORCHIANA:
14·   ·   ·   ·on -- on which one of our multiple lawsuits this     14·   ·   ·   · · · Q· · ·Who told you that the injunction did
15·   ·   ·   ·might be or which -- I don't know what -- since      15·   ·   ·   ·what we just said it did?
16·   ·   ·   ·this doesn't say anything other than what you just   16·   ·   ·   · · · A· · ·So in my educational process in March
17·   ·   ·   ·told me to read, I don't know, ma'am.· I don't       17·   ·   ·   ·of how BDU worked and what the status of things
18·   ·   ·   ·know.                                                18·   ·   ·   ·were, it was part -- I never used the term the
19·   ·   ·   · · · Q· · ·Okay.· And when you started, did you      19·   ·   ·   ·Calvillo case that you just used, but if you mean
20·   ·   ·   ·know that the department had been enjoined from      20·   ·   ·   ·the Manriquez case, because that's the only term
21·   ·   ·   ·using their 2017 methodology?                        21·   ·   ·   ·that's ever been brought to me in terms of our
22·   ·   ·   · · · A· · ·I did.· I did know that the Manriquez     22·   ·   ·   ·discussion of this, if we're talking about the
23·   ·   ·   ·case; that one I did know because it was part of     23·   ·   ·   ·same thing, then that was a part of my instruction
24·   ·   ·   ·my educational process that started in March.· And   24·   ·   ·   ·from the borrower defense team as I was going in
25·   ·   ·   ·I mentioned earlier that I was learning about the    25·   ·   ·   ·learning about what they -- what they do and what


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·1·   ·   ·   ·their challenges were and those kinds of things.     ··    ·   ·   · · · · · · · · · · · · · · · · · · · · · · ·Page
·2·   ·   ·   · · · Q· · ·And when you were learning and getting    ·1·   ·   ·   ·mean in your understanding?
·3·   ·   ·   ·instructions about the borrower defense team, who    ·2·   ·   ·   · · · A· · ·It -- it actually -- I believe this
·4·   ·   ·   ·was providing those instructions to you?             ·3·   ·   ·   ·term "processing" may not be used by everyone the
·5·   ·   ·   · · · A· · ·So there were a number of people, but     ·4·   ·   ·   ·same way.· So I can tell you what I -- I believe
·6·   ·   ·   ·the leader of that team is the same leader that we   ·5·   ·   ·   ·it to mean.
·7·   ·   ·   ·have now of the borrower defense unit, and that      ·6·   ·   ·   · · · · · · So I believe it to mean that you can go
·8·   ·   ·   ·was Colleen Nevin.                                   ·7·   ·   ·   ·through the stage of an attorney adjudicating a
·9·   ·   ·   · · · Q· · ·Okay.· And did she explain the            ·8·   ·   ·   ·case and determining if it's eligible or
                                                                    ·9·   ·   ·   ·ineligible for relief, and that claim has been
10·   ·   ·   ·Manriquez case to you?
                                                                    10·   ·   ·   ·processed.
11·   ·   ·   · · · A· · ·She explained to me the impact of it on
                                                                    11·   ·   ·   · · · · · · Others may believe that that processing
12·   ·   ·   ·the borrower defense processes.
                                                                    12·   ·   ·   ·isn't complete until you apply an approved
13·   ·   ·   · · · Q· · ·Okay.
                                                                    13·   ·   ·   ·methodology and determine what level of relief
14·   ·   ·   · · · A· · ·But of the entirety of the case, my
                                                                    14·   ·   ·   ·that particular claim has under whatever
15·   ·   ·   ·interests were limited to what impact it had on
                                                                    15·   ·   ·   ·methodology has been established.
16·   ·   ·   ·our ability to do operations.
                                                                    16·   ·   ·   · · · · · · Depending on who's using the term, some
17·   ·   ·   · · · Q· · ·Okay.· And how did she explain the
                                                                    17·   ·   ·   ·people stop at that first part.· Others don't stop
18·   ·   ·   ·impact that it had on the BD process?                18·   ·   ·   ·until a letter goes out to a borrower with the
19·   ·   ·   · · · A· · ·We could not determine the amount of      19·   ·   ·   ·final answer.
20·   ·   ·   ·relief because we were unable to use the             20·   ·   ·   · · · · · · So what I just gave you was my very
21·   ·   ·   ·methodology because the court did not allow us to    21·   ·   ·   ·limited one-person's definition of how I would use
22·   ·   ·   ·use it.· And if you don't know the amount of         22·   ·   ·   ·the term "process."
23·   ·   ·   ·relief, you can't complete those cases that are      23·   ·   ·   · · · Q· · ·And have you ever heard of that being
24·   ·   ·   ·found to be valid, and so that contributed to the    24·   ·   ·   ·distinguished as Step 1 versus Step 2?· Is that
25·   ·   ·   ·cases that had not moved.· That's the explanation.   25·   ·   ·   ·terminology that's familiar to you?

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·1·   ·   ·   · · · · · · So as I'm exploring BDU and what's        ··    ·   ·   · · · · · · · · · · · · · · · · · · · · · · ·Page
·2·   ·   ·   ·going on and why are there cases and those kinds     ·1·   ·   ·   · · · A· · ·I have heard of the Step 1 and Step 2
·3·   ·   ·   ·of things, that's where that explanation would       ·2·   ·   ·   ·categorizing the borrower defense overall process.
·4·   ·   ·   ·come into play.                                      ·3·   ·   ·   · · · Q· · ·Okay.· And could you explain to me
·5·   ·   ·   · · · Q· · ·Okay.· Okay.· If you go down the page a   ·4·   ·   ·   ·how -- how that works or how you understand those
·6·   ·   ·   ·little bit, sort of in the bottom, it --             ·5·   ·   ·   ·terms?
·7·   ·   ·   ·Ms. Pressley asks -- and could you read this out     ·6·   ·   ·   · · · A· · ·Yes, ma'am.· Actually, I can explain to
·8·   ·   ·   ·to me?· She says, The court case does not apply to   ·7·   ·   ·   ·you how I understand it.· The way that I
·9·   ·   ·   ·all borrowers.                                       ·8·   ·   ·   ·understand it is if a claim comes in and it goes
                                                                    ·9·   ·   ·   ·to an attorney and an attorney adjudicates that
10·   ·   ·   · · · · · · Could you read that and then Ms. Jones'
                                                                    10·   ·   ·   ·claim and determines one thing or the other that
11·   ·   ·   ·answer?
                                                                    11·   ·   ·   ·it has either met whatever the borrower defense
12·   ·   ·   · · · A· · ·Are you still on page 50, ma'am?
                                                                    12·   ·   ·   ·laws or rules are and therefore it is eligible for
13·   ·   ·   · · · Q· · ·Yes.
                                                                    13·   ·   ·   ·the methodology to be applied, in other words,
14·   ·   ·   · · · A· · ·Okay.· Ms. Pressley:· The court case
                                                                    14·   ·   ·   ·they're eligible, then that attorney has completed
15·   ·   ·   ·does not apply to all borrowers.· What about the
                                                                    15·   ·   ·   ·process -- Step 1 in the process, but not Step 2.
16·   ·   ·   ·others?· Are you going to process any of them?
                                                                    16·   ·   ·   · · · · · · Step 2 would start when the methodology
17·   ·   ·   · · · Q· · ·Are you not going to process any of
                                                                    17·   ·   ·   ·is applied, some percent of relief is determined
18·   ·   ·   ·them.· But, yeah, go on.                             18·   ·   ·   ·based on the mathematical equation in the
19·   ·   ·   · · · A· · ·Are you not going to process any of       19·   ·   ·   ·methodology, and the borrower is notified of what
20·   ·   ·   ·them?                                                20·   ·   ·   ·that answer is.
21·   ·   ·   · · · · · · We are processing claims.· We continue    21·   ·   ·   · · · Q· · ·Okay.· So when Ms. Jones says, We
22·   ·   ·   ·to process.· What we can't do is determine the       22·   ·   ·   ·continue to process, what does that mean in those
23·   ·   ·   ·level of harm or the level of relief.                23·   ·   ·   ·terms?
24·   ·   ·   · · · Q· · ·Okay.· And, so, could you explain when    24·   ·   ·   · · · A· · ·So I don't know again what Ms. Jones --
25·   ·   ·   ·she says, "continue to process," what did that       25·   ·   ·   ·I can't tell you, ma'am, what -- exactly how


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·1·   ·   ·   ·Ms. Jones was using the term because, as I said      ·1·   ·   ·   ·claims.· However, we -- we're not able to
·2·   ·   ·   ·earlier, how someone uses the term, I think,         ·2·   ·   ·   ·adjudicate as many as we would like because we
·3·   ·   ·   ·differs.                                             ·3·   ·   ·   ·don't have enough resources.
·4·   ·   ·   · · · · · · So I -- I can't tell you how Ms. Jones    ·4·   ·   ·   · · · · · · And, so, when you say how do I know it
·5·   ·   ·   ·was using the term.                                  ·5·   ·   ·   ·was continuing, they -- they told me that they
·6·   ·   ·   · · · Q· · ·Okay.· And when you joined the            ·6·   ·   ·   ·were continuing to adjudicate claims.· That didn't
·7·   ·   ·   ·department and, you know, no decisions had been      ·7·   ·   ·   ·automatically get boiled down to a metric that I
·8·   ·   ·   ·made since June 2018, did you understand whether     ·8·   ·   ·   ·was getting automatic weekly updates on.· It took
·9·   ·   ·   ·either Step 1 eligibility determinations -- were     ·9·   ·   ·   ·a while, some time for that to come about.· And I
10·   ·   ·   ·any of those proceeding?                             10·   ·   ·   ·don't know exactly when that came about, but it
11·   ·   ·   · · · A· · ·Could you -- would you mind repeating     11·   ·   ·   ·didn't happen immediately.
12·   ·   ·   ·the -- the last part of that question?               12·   ·   ·   · · · · · · But that's -- that's how I knew that
13·   ·   ·   · · · Q· · ·When you started in March 2019 and        13·   ·   ·   ·that's what we were doing.
14·   ·   ·   ·going forward, did -- no decisions had been issued   14·   ·   ·   · · · Q· · ·Okay.· And as part of your performance
15·   ·   ·   ·since June 2018, did you understand whether any      15·   ·   ·   ·metrics, so you -- do you know how many claims
16·   ·   ·   ·Step 1 decisions were continuing, so as you          16·   ·   ·   ·have gone through Step 1 eligibility or have been
17·   ·   ·   ·described it, eligibility?                           17·   ·   ·   ·processed at Step 1?
18·   ·   ·   · · · A· · ·Step 1, to my knowledge, never stopped.   18·   ·   ·   · · · · · · Was that ever reported?
19·   ·   ·   · · · Q· · ·Okay.                                     19·   ·   ·   · · · A· · ·Today you mean or --
20·   ·   ·   · · · A· · ·Those -- that part which we now call      20·   ·   ·   · · · Q· · ·At any point.
21·   ·   ·   ·Step 1, we're talking about it as Step 1, to my      21·   ·   ·   · · · A· · ·So, yes, at some -- at some point
22·   ·   ·   ·knowledge that had never stopped.                    22·   ·   ·   ·across during the process of metric building and
23·   ·   ·   · · · Q· · ·Okay.· And -- and how -- was that being   23·   ·   ·   ·measurements, I would have an indication of how
24·   ·   ·   ·reported to you?                                     24·   ·   ·   ·many claims had been processed and adjudicated and
25·   ·   ·   · · · A· · ·So the metrics and the measurements and   25·   ·   ·   ·if we were at a point where notifications were

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·1·   ·   ·   ·all the things that we've been talking about         ·1·   ·   ·   ·going out, how many notifications had been sent.
·2·   ·   ·   ·didn't exist on day one in March to my knowledge,    ·2·   ·   ·   · · · · · · That would be a part of the metric.
·3·   ·   ·   ·and -- and nothing was being reported to me other    ·3·   ·   ·   · · · Q· · ·Okay.
·4·   ·   ·   ·than I was aware that we only had 10 to 12           ·4·   ·   ·   · · · A· · ·Could I ask, ma'am, for a -- a
·5·   ·   ·   ·attorneys, as I said before, and the numbers were    ·5·   ·   ·   ·five-minute break?
·6·   ·   ·   ·not that large of the number of claims we were       ·6·   ·   ·   · · · Q· · ·Sure.
·7·   ·   ·   ·able to even get through Step 1 because BD claims    ·7·   ·   ·   · · · · · · MR. HANCOCK:· And, Claire, this might
·8·   ·   ·   ·were growing, and as I've said earlier, we simply    ·8·   ·   ·   ·be a good time to just talk generally about lunch
·9·   ·   ·   ·did not have enough of those two things I            ·9·   ·   ·   ·break.· It's now 12:43 here on the East Coast,
10·   ·   ·   ·mentioned, attorneys and the resources against the   10·   ·   ·   ·so --
11·   ·   ·   ·systems necessary.                                   11·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Do you want to have
12·   ·   ·   · · · Q· · ·Okay.· And so how did you know that       12·   ·   ·   ·this conversation off the record?
13·   ·   ·   ·Step 1 was continuing?                               13·   ·   ·   · · · · · · MR. HANCOCK:· Oh, sure.
14·   ·   ·   · · · A· · ·So in March I started an education --     14·   ·   ·   · · · · · · THE VIDEOGRAPHER:· We're now off the
15·   ·   ·   · · · Q· · ·Not just in March, but, you know, when    15·   ·   ·   ·record.· The time is 17:43 UTC time.
16·   ·   ·   ·you started and moving forward.                      16·   ·   ·   · · · · · · (Lunch recess -- 12:43 p.m.)
17·   ·   ·   · · · · · · How about from March when you started     17·   ·   ·   · · · · · · (After lunch recess -- 1:18 p.m.)
18·   ·   ·   ·until December of 2019?                              18·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Okay.· We're now
19·   ·   ·   · · · A· · ·How did I -- how did I know that Step 1   19·   ·   ·   ·back on the record.· The time is 18:18 UTC.
20·   ·   ·   ·was continuing?                                      20·   ·   ·   · · · BY MS. TORCHIANA:
21·   ·   ·   · · · Q· · ·Uh-huh.· Yes.                             21·   ·   ·   · · · Q· · ·Okay.· So, Mr. Brown, we were just
22·   ·   ·   · · · A· · ·So -- and I know -- I believe I           22·   ·   ·   ·talking about the Calvillo or the Manriquez
23·   ·   ·   ·mentioned that when I first started in March, the    23·   ·   ·   ·injunction and what you understood the effect of
24·   ·   ·   ·BD team immersed me into what they were doing.       24·   ·   ·   ·it to be.· You mentioned that there was confusion
25·   ·   ·   ·And, so, part of that is we are adjudicating         25·   ·   ·   ·within the BDU unit and the BDU unit believed that


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·1·   ·   ·   ·it -- that they couldn't issue any decisions.        ·1·   ·   ·   ·couldn't issue decisions?
·2·   ·   ·   · · · · · · Do you know -- where would you say --     ·2·   ·   ·   · · · A· · ·No.· No, no, I -- maybe I don't
·3·   ·   ·   ·all right.· Let me rephrase it.                      ·3·   ·   ·   ·understand -- understand you.· Ms. -- I asked the
·4·   ·   ·   · · · · · · How did you seek clarification about      ·4·   ·   ·   ·BD unit as we were going through that educational
·5·   ·   ·   ·this confusion?                                      ·5·   ·   ·   ·process, you know, what we were doing, why were
·6·   ·   ·   · · · A· · ·So I -- I wouldn't say -- and I           ·6·   ·   ·   ·decisions not going out.
·7·   ·   ·   ·don't -- I don't believe I said that there was       ·7·   ·   ·   · · · · · · The BD unit believed that after the
·8·   ·   ·   ·confusion within the BD unit.· I think what I said   ·8·   ·   ·   ·Manriquez case decision that they were only to
·9·   ·   ·   ·was that there was confusion, meaning the BD unit    ·9·   ·   ·   ·adjudicate cases; they were not to send out any --
10·   ·   ·   ·believed they had guidance or policy not to go       10·   ·   ·   ·any answers.· They believed that was the guidance
11·   ·   ·   ·further with decisions, meaning to send them out.    11·   ·   ·   ·that they had.
12·   ·   ·   · · · · · · When I asked the department if, in        12·   ·   ·   · · · · · · I asked --
13·   ·   ·   ·fact, that was the case, the answer I got back was   13·   ·   ·   · · · Q· · ·Did you seek clarify -- did you seek
14·   ·   ·   ·that they didn't believe they had told the BD unit   14·   ·   ·   ·clarification about why they believed that was the
15·   ·   ·   ·that.                                                15·   ·   ·   ·guidance that had been issued?
16·   ·   ·   · · · · · · That, it's those two positions early on   16·   ·   ·   · · · A· · ·Yes.· I -- I asked the under secretary
17·   ·   ·   ·in my time, that I define as confusion.              17·   ·   ·   ·why was the BD unit not sending out decisions.
18·   ·   ·   · · · Q· · ·Okay.· So who did you ask from the        18·   ·   ·   ·The initial answer or response, if you go back,
19·   ·   ·   ·Department of Education about -- about this          19·   ·   ·   ·was I didn't know that the BD unit was not sending
20·   ·   ·   ·confusion?· Who did you talk to?                     20·   ·   ·   ·out decisions.· That was the initial answer when I
21·   ·   ·   · · · A· · ·I -- I spoke with Under Secretary Jones   21·   ·   ·   ·first -- when I first started in March/April time
22·   ·   ·   ·to get clarification on what the -- you know, what   22·   ·   ·   ·frame looking into this.
23·   ·   ·   ·had been told to the BD unit.                        23·   ·   ·   · · · Q· · ·Okay.· And did you ask anyone in the
24·   ·   ·   · · · Q· · ·Okay.· And what did she tell you?         24·   ·   ·   ·BDU why they thought they'd received that
25·   ·   ·   · · · A· · ·She responded at the time.· This is in    25·   ·   ·   ·guidance?

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·1·   ·   ·   ·the March/April time frame.· I didn't know that      ·1·   ·   ·   · · · · · · MR. HANCOCK:· Objection: asked and
·2·   ·   ·   ·the BD unit was not sending out -- or I'm not sure   ·2·   ·   ·   ·answered.
·3·   ·   ·   ·why the BD unit is not sending out decisions.        ·3·   ·   ·   · · · BY MS. TORCHIANA:
·4·   ·   ·   ·That was the initial response, and this was a        ·4·   ·   ·   · · · Q· · ·I think he mentioned -- or you can go
·5·   ·   ·   ·verbal conversation.· I don't have this in -- in     ·5·   ·   ·   ·ahead and answer.
·6·   ·   ·   ·any form of documentation.                           ·6·   ·   ·   · · · A· · ·No, it's -- as I had previously stated,
·7·   ·   ·   · · · Q· · ·So she -- she was the one who said to     ·7·   ·   ·   ·the BD unit believed, which I believe gets to your
·8·   ·   ·   ·you she wasn't sure why the BDU -- the BDU unit      ·8·   ·   ·   ·why, that after the Manriquez case decision that
·9·   ·   ·   ·wasn't issuing decisions?                            ·9·   ·   ·   ·they were not to send out any notifications.· They
10·   ·   ·   · · · A· · ·Initially.                                10·   ·   ·   ·were simply to continue adjudicating cases.
11·   ·   ·   · · · Q· · ·Okay.· And did you seek any               11·   ·   ·   · · · Q· · ·And did you talk to anyone in the BDU
12·   ·   ·   ·clarification?                                       12·   ·   ·   ·unit about that belief?
13·   ·   ·   · · · A· · ·I -- I did.· At some point, and I -- I    13·   ·   ·   · · · A· · ·I -- no, I don't believe that I -- I
14·   ·   ·   ·cannot specify for you the exact point because I     14·   ·   ·   ·didn't go any further into -- any further in the
15·   ·   ·   ·don't recall the exact point, but at some point it   15·   ·   ·   ·history of it because it was answer right -- the
16·   ·   ·   ·moves to the point of a new methodology was being    16·   ·   ·   ·answer is they weren't sending any out because
17·   ·   ·   ·developed, and once that new methodology was         17·   ·   ·   ·they believed they weren't supposed to at the
18·   ·   ·   ·developed, it would allow for the issuance of        18·   ·   ·   ·time.
19·   ·   ·   ·both -- on -- of decisions, meaning both approval    19·   ·   ·   · · · Q· · ·And, so, did you do anything to clarify
20·   ·   ·   ·and denials.                                         20·   ·   ·   ·that confusion?
21·   ·   ·   · · · Q· · ·Okay.· That wasn't quite my question in   21·   ·   ·   · · · A· · ·Yes.· I stated earlier I asked the
22·   ·   ·   ·terms of -- so Ms. Diane Auer Jones told you the     22·   ·   ·   ·under secretary, and the initial reply I got back
23·   ·   ·   ·BDU unit told you they couldn't issue decisions.     23·   ·   ·   ·was I didn't -- I didn't know the BD unit was not
24·   ·   ·   · · · · · · Did you seek clarification within the     24·   ·   ·   ·sending out, but that was only the initial reply
25·   ·   ·   ·BDU unit asking why they thought that they           25·   ·   ·   ·that I got back.


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·1·   ·   ·   · · · · · · Later on -- and I can't give you the      ·1·   ·   ·   ·was developed, I don't -- I don't know.· Only I
·2·   ·   ·   ·exact time of this -- it was decided that we would   ·2·   ·   ·   ·can relate to you what was communicated to me.
·3·   ·   ·   ·continue that same posture while the new             ·3·   ·   ·   · · · Q· · ·Okay.· If you can turn back to your
·4·   ·   ·   ·methodology was being developed, and that once the   ·4·   ·   ·   ·declaration which is -- it should be behind
·5·   ·   ·   ·new methodology would be developed, we would be      ·5·   ·   ·   ·Exhibit 25 -- behind tab 25, sorry.
·6·   ·   ·   ·going forward with all types, you know, both the     ·6·   ·   ·   · · · A· · ·I have it.
·7·   ·   ·   ·adjudications and the notifications.                 ·7·   ·   ·   · · · Q· · ·Okay.· And we'll start at -- we'll get
·8·   ·   ·   · · · Q· · ·Okay.· When did you decide -- when you    ·8·   ·   ·   ·back to paragraph 5.· So, you know, you say, On
·9·   ·   ·   ·say you decided to continue that posture, what do    ·9·   ·   ·   ·December 10th, 2019, the department issued a
10·   ·   ·   ·you mean?                                            10·   ·   ·   ·policy statement setting forth a tiered relief
11·   ·   ·   · · · A· · ·Not that I decided; that the department   11·   ·   ·   ·methodology.
12·   ·   ·   ·at that point decided that we would continue the     12·   ·   ·   · · · · · · So who -- who came up with this tiered
13·   ·   ·   ·same posture that we were in and not issue           13·   ·   ·   ·relief methodology?
14·   ·   ·   ·notifications but continue to do adjudications       14·   ·   ·   · · · A· · ·Who came up with it?
15·   ·   ·   ·until the point at which the methodology was         15·   ·   ·   · · · Q· · ·Yes.
16·   ·   ·   ·completed, and then that -- and then we would        16·   ·   ·   · · · A· · ·So what I would -- what I would say is
17·   ·   ·   ·begin doing both.                                    17·   ·   ·   ·that the -- the methodology itself is determined
18·   ·   ·   · · · Q· · ·Okay.· And who made that decision?        18·   ·   ·   ·by the department.· In terms of the building of
19·   ·   ·   · · · A· · ·I don't know exactly.· I can tell you     19·   ·   ·   ·it, if that answers your who that came up with it,
20·   ·   ·   ·that that was a decision communicated to me          20·   ·   ·   ·I'm sure like most other things, it was collective
21·   ·   ·   ·through the under secretary.· I don't know that I    21·   ·   ·   ·effort of providing information to help decision
22·   ·   ·   ·could tell you, you know, if that was her sole       22·   ·   ·   ·makers, but the methodology is a statement of
23·   ·   ·   ·decision or if there was some other parties          23·   ·   ·   ·policy of the secretary's, and so it would not be
24·   ·   ·   ·involved.                                            24·   ·   ·   ·inside of Federal Student Aid.
25·   ·   ·   · · · · · · I would not know that.                    25·   ·   ·   · · · Q· · ·Okay.· So who would you say was the

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·1·   ·   ·   · · · Q· · ·Okay.· And how was that communicated to   ·1·   ·   ·   ·main decision maker then in coming up with the
·2·   ·   ·   ·you?                                                 ·2·   ·   ·   ·tiered relief methodology?
·3·   ·   ·   · · · · · · When you say the under secretary          ·3·   ·   ·   · · · A· · ·I -- I wouldn't say that because I --
·4·   ·   ·   ·communicated that to you, how was that               ·4·   ·   ·   ·you know, I don't know how to -- I don't know how
·5·   ·   ·   ·communicated?· Was it -- in what form?               ·5·   ·   ·   ·to measure what you mean by who was the main
·6·   ·   ·   · · · A· · ·Yeah, to -- to my knowledge it was        ·6·   ·   ·   ·decision maker.· The methodology is a statement of
·7·   ·   ·   ·verbal.· I don't -- I don't know that there's a      ·7·   ·   ·   ·policy, so it comes from the department.· And then
·8·   ·   ·   ·document that says effective this date.· My          ·8·   ·   ·   ·our job is to execute that -- that policy.· Who --
·9·   ·   ·   ·recollection of that is just that it was given to    ·9·   ·   ·   ·who weighed in the most or the least, I -- or
10·   ·   ·   ·me verbally.                                         10·   ·   ·   ·made, to use your term, I -- I don't know that
11·   ·   ·   · · · Q· · ·Okay.· So would you say there was a       11·   ·   ·   ·name.
12·   ·   ·   ·policy not to issue any decisions until a new        12·   ·   ·   · · · Q· · ·Okay.· And when was it decided to
13·   ·   ·   ·relief methodology was in place?                     13·   ·   ·   ·develop on this tiered relief methodology?
14·   ·   ·   · · · A· · ·I don't know if I would go as far as to   14·   ·   ·   · · · A· · ·I don't know exactly when it was
15·   ·   ·   ·define it as policy, but I would certainly go far    15·   ·   ·   ·decided.· I know that we started using that. I
16·   ·   ·   ·enough to call it a set path going forward.          16·   ·   ·   ·can tell you that.· But exactly when it was
17·   ·   ·   · · · Q· · ·Okay.· And that guidance was coming       17·   ·   ·   ·decided, I -- I don't know.
18·   ·   ·   ·from the Office of the Under Secretary?              18·   ·   ·   · · · Q· · ·Okay.· And when you -- let's say in
19·   ·   ·   · · · · · · MR. HANCOCK:· Objection: asked and        19·   ·   ·   ·March 2019 when you joined the department, had
20·   ·   ·   ·answered.                                            20·   ·   ·   ·you -- was there any development of this
21·   ·   ·   · · · BY MS. TORCHIANA:                               21·   ·   ·   ·alternative methodology?
22·   ·   ·   · · · Q· · ·Okay.· You can still answer it.           22·   ·   ·   · · · · · · MR. HANCOCK:· Objection: misstates
23·   ·   ·   · · · A· · ·Yeah -- yes, ma'am, as I just -- as I     23·   ·   ·   ·testimony.
24·   ·   ·   ·just stated.· That's who it was communicated to me   24·   ·   ·   · · · · · · THE WITNESS:· I don't know if I
25·   ·   ·   ·from.· Exactly where it was coming from and how it   25·   ·   ·   ·understand that question.· I'm not sure I


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·1·   ·   ·   ·understand your question.                            ·1·   ·   ·   ·because it was key to us moving forward in the
·2·   ·   ·   · · · BY MS. TORCHIANA:                               ·2·   ·   ·   ·borrower defense.
·3·   ·   ·   · · · Q· · ·My question was when did this tiered      ·3·   ·   ·   · · · Q· · ·Okay.· And what was your involvement in
·4·   ·   ·   ·methodology start being developed, and you say you   ·4·   ·   ·   ·developing this tiered relief methodology?
·5·   ·   ·   ·don't remember.· So, you know, in the spring of      ·5·   ·   ·   · · · A· · ·So my personal involvement would have
·6·   ·   ·   ·2019 when you started, do you remember any           ·6·   ·   ·   ·been very limited.· If you mean "my", the
·7·   ·   ·   ·discussions about this new tiered relief             ·7·   ·   ·   ·organization of Federal Student Aid, I would have
·8·   ·   ·   ·methodology?                                         ·8·   ·   ·   ·a slightly different answer.
·9·   ·   ·   · · · A· · ·I don't.                                  ·9·   ·   ·   · · · Q· · ·When you say it was very limited, what
10·   ·   ·   · · · Q· · ·Okay.· And when do discussions about      10·   ·   ·   ·did you do as part of developing this tiered
11·   ·   ·   ·this tiered relief methodology begin?                11·   ·   ·   ·relief methodology?
12·   ·   ·   · · · A· · ·I don't know when the -- again, I don't   12·   ·   ·   · · · A· · ·Little -- little to nothing.· When I
13·   ·   ·   ·know when the discussions or the decisions, the      13·   ·   ·   ·say very limited, I am -- I'm referring to the
14·   ·   ·   ·inner workings of what would be the policy making,   14·   ·   ·   ·fact that I'm the chief operating officer at
15·   ·   ·   ·I can't tell you exactly when that began.            15·   ·   ·   ·Federal Student Aid, so anything that Federal
16·   ·   ·   · · · · · · What I can -- what I can tell you is      16·   ·   ·   ·Student Aid might provide data for or those kind
17·   ·   ·   ·that in -- in March, I wasn't aware of it if         17·   ·   ·   ·of things, I can't totally detach myself from it
18·   ·   ·   ·that's your -- if that's your question.              18·   ·   ·   ·because they are -- that is my organization.
19·   ·   ·   · · · Q· · ·Okay.· What about later on, let's         19·   ·   ·   · · · · · · But in terms of my personal
20·   ·   ·   ·say -- when did you become aware that a tiered       20·   ·   ·   ·involvement, that -- that's not what I do. I
21·   ·   ·   ·methodology was being developed?                     21·   ·   ·   ·would not have personally been sitting with
22·   ·   ·   · · · A· · ·So what -- what I know is that as we      22·   ·   ·   ·someone developing methodology.
23·   ·   ·   ·got into the April/May time frame -- and I don't     23·   ·   ·   · · · Q· · ·Okay.· And who within FSA was working
24·   ·   ·   ·remember precisely that time frame, but somewhere    24·   ·   ·   ·on it?
25·   ·   ·   ·within there -- the answer to our question of        25·   ·   ·   · · · A· · ·So while I can't -- I wouldn't be able

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·1·   ·   ·   ·moving forward with notification was related to      ·1·   ·   ·   ·to give you the details of who, I can tell you
·2·   ·   ·   ·the fact that a methodology was being developed.     ·2·   ·   ·   ·that we have a policy -- the liaison office and we
·3·   ·   ·   · · · · · · But I'm not telling you that it started   ·3·   ·   ·   ·have data people who pull data out of systems and
·4·   ·   ·   ·then or it started before then or later because I    ·4·   ·   ·   ·run algorithms and those kind of things.· They
·5·   ·   ·   ·don't know other than at that point I became aware   ·5·   ·   ·   ·provide the decision support to the policy makers
·6·   ·   ·   ·that it was being developed.· I can't give you       ·6·   ·   ·   ·to help them understand kind of the -- the numbers
·7·   ·   ·   ·the -- I can't give you the parameters of when it    ·7·   ·   ·   ·and the data and those kind of things that they're
·8·   ·   ·   ·started or when it ended or anything like that       ·8·   ·   ·   ·trying to make decisions on.
·9·   ·   ·   ·other than I -- other than I know it was being       ·9·   ·   ·   · · · · · · So I could tell you organizationally we
10·   ·   ·   ·developed.                                           10·   ·   ·   ·have sections that do that.· We have data
11·   ·   ·   · · · Q· · ·Okay.· And did you ever discuss the       11·   ·   ·   ·analytics; we have data scientists, if you will,
12·   ·   ·   ·development of the tiered relief methodology with    12·   ·   ·   ·that do those kinds of things, and policy liaisons
13·   ·   ·   ·Diane Auer Jones?                                    13·   ·   ·   ·which do that.· And they would have been involved
14·   ·   ·   · · · A· · ·Did I ever discuss that we were -- that   14·   ·   ·   ·with running various programs and pulling data to
15·   ·   ·   ·she was -- that she and the department               15·   ·   ·   ·be supportive of that effort.
16·   ·   ·   ·collectively were working on this methodology?       16·   ·   ·   · · · Q· · ·Okay.· And how many staff within FSA
17·   ·   ·   · · · Q· · ·Yes.                                      17·   ·   ·   ·would you say were working on developing this
18·   ·   ·   · · · A· · ·Yes, I -- I knew that they were working   18·   ·   ·   ·partial relief methodology?
19·   ·   ·   ·on it.· I -- I did know that.· After that time       19·   ·   ·   · · · A· · ·I would not know.· This is a dynamic --
20·   ·   ·   ·frame, after that discussion, I -- I knew that.      20·   ·   ·   ·dynamic kind of thing.· You know, today I need one
21·   ·   ·   · · · Q· · ·Okay.· And how was that communicated to   21·   ·   ·   ·person; tomorrow I need two; I need a couple of
22·   ·   ·   ·you?· How -- how -- what form did those              22·   ·   ·   ·hours on the phone.
23·   ·   ·   ·discussions take?                                    23·   ·   ·   · · · · · · It's just -- it's very dynamic, and I
24·   ·   ·   · · · A· · ·Just that, discussions in meetings, and   24·   ·   ·   ·could not associate it with a particular number of
25·   ·   ·   ·the reason it was -- would have been discussed is    25·   ·   ·   ·persons or times, nor do I believe we accounted


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·1·   ·   ·   ·for it in any kind of way.                           ·1·   ·   ·   ·relief methodology?
·2·   ·   ·   · · · · · · So I would not want to speculate. I       ·2·   ·   ·   · · · · · · MR. HANCOCK:· Objection: misstates
·3·   ·   ·   ·don't know, ma'am.                                   ·3·   ·   ·   ·testimony.
·4·   ·   ·   · · · Q· · ·Okay.· Was it time-consuming for FSA to   ·4·   ·   ·   · · · · · · THE WITNESS:· Could you say it again,
·5·   ·   ·   ·developed this tiered relief methodology?            ·5·   ·   ·   ·ma'am?· I'm sorry.· I didn't understand.
·6·   ·   ·   · · · A· · ·So by "time-consuming," do you mean       ·6·   ·   ·   · · · BY MS. TORCHIANA:
·7·   ·   ·   ·that we had to put some time into it, or do you      ·7·   ·   ·   · · · Q· · ·I said, what resources were required to
·8·   ·   ·   ·mean that it took an inordinate amount of time?      ·8·   ·   ·   ·develop this methodology within FSA?
·9·   ·   ·   · · · · · · Can you help me understand what you       ·9·   ·   ·   · · · · · · So you mentioned staff . . .
10·   ·   ·   ·mean by that?                                        10·   ·   ·   · · · A· · ·So we have people that pull out data,
11·   ·   ·   · · · Q· · ·Did it take a lot of time for staff       11·   ·   ·   ·do data analytics and metrics.· We have people
12·   ·   ·   ·members at FSA to develop this tiered relief         12·   ·   ·   ·who -- who I would call policy liaison folks who
13·   ·   ·   ·methodology?· Was it something that -- how much      13·   ·   ·   ·help -- help understand what -- what the policy
14·   ·   ·   ·time would you say staff spent on developing this?   14·   ·   ·   ·(audio distortion) locations of them are.· So
15·   ·   ·   · · · · · · MR. HANCOCK:· Objection: misstates        15·   ·   ·   ·within their job jar would be to support this kind
16·   ·   ·   ·testimony.                                           16·   ·   ·   ·of effort.
17·   ·   ·   · · · · · · MS. TORCHIANA:· You can still answer.     17·   ·   ·   · · · · · · But if you're asking for me to quantify
18·   ·   ·   · · · · · · THE WITNESS:· Yeah, I wouldn't want to    18·   ·   ·   ·it -- or are you asking for me just to give you
19·   ·   ·   ·give you a specific amount of time.· I don't know.   19·   ·   ·   ·those organizational elements within FSA?
20·   ·   ·   ·I could look back and see if we had written that     20·   ·   ·   · · · Q· · ·What were the organizational elements
21·   ·   ·   ·down somewhere, but, you know, I couldn't -- I       21·   ·   ·   ·within FSA that were needed?
22·   ·   ·   ·couldn't tell you exactly how much time was spent    22·   ·   ·   · · · A· · ·Data analytics and policy liaison.
23·   ·   ·   ·on it, not -- not off the top of my head.            23·   ·   ·   · · · Q· · ·Okay.· Could you explain to me how this
24·   ·   ·   · · · BY MS. TORCHIANA:                               24·   ·   ·   ·partial relief methodology -- how it works?
25·   ·   ·   · · · Q· · ·Okay.· And did you have a sense that it   25·   ·   ·   · · · · · · MR. HANCOCK:· Objection: exceeds the

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·1·   ·   ·   ·was taking a lot of time for FSA to -- to develop    ·1·   ·   ·   ·scope of the court-ordered discovery.
·2·   ·   ·   ·this partial relief methodology?                     ·2·   ·   ·   · · · BY MS. TORCHIANA:
·3·   ·   ·   · · · · · · MR. HANCOCK:· Objection: misstates        ·3·   ·   ·   · · · Q· · ·Okay.· Okay.· And then -- what is your
·4·   ·   ·   ·testimony.                                           ·4·   ·   ·   ·understanding of why loan relief tied to earnings
·5·   ·   ·   · · · · · · THE WITNESS:· So the methodology is       ·5·   ·   ·   ·is a relevant measure, if relevant?
·6·   ·   ·   ·developed by the department.· The methodology is a   ·6·   ·   ·   · · · A· · ·So I would -- would tell you that
·7·   ·   ·   ·statement of policy, and so the -- the role of       ·7·   ·   ·   ·that's not something I would have a deep
·8·   ·   ·   ·FSA, and -- and by association my role, is to        ·8·   ·   ·   ·understanding of.· It is -- that's essentially, I
·9·   ·   ·   ·provide data and analytics for the decision          ·9·   ·   ·   ·think, the policy that you're reading from of how
10·   ·   ·   ·makers.· But we don't develop that policy document   10·   ·   ·   ·the methodology works, and -- and while we do have
11·   ·   ·   ·which -- which you referred to as a methodology.     11·   ·   ·   ·technicians that compute it, the how or -- or why
12·   ·   ·   · · · BY MS. TORCHIANA:                               12·   ·   ·   ·of the policy would not be within my -- kind of my
13·   ·   ·   · · · Q· · ·So within FSA, what staff was working     13·   ·   ·   ·statement of work.
14·   ·   ·   ·on developing this methodology?                      14·   ·   ·   · · · Q· · ·Okay.· Okay.· And then if we could go
15·   ·   ·   · · · A· · ·So, again, I cannot give you names. I     15·   ·   ·   ·to paragraph 6, could you just read the -- the
16·   ·   ·   ·don't know all of the names.· I can tell you we      16·   ·   ·   ·first sentence for me?
17·   ·   ·   ·have a policy liaison office and that only has a     17·   ·   ·   · · · A· · ·After adoption of the tiered relief
18·   ·   ·   ·couple of people in it.· And we have data            18·   ·   ·   ·methodology discussed in the policy statement, FSA
19·   ·   ·   ·analytics, people who pull data.· That could have    19·   ·   ·   ·resumed issuing decisions on pending borrower
20·   ·   ·   ·been one or -- you know, one or two people that      20·   ·   ·   ·defense claims.· If FSA determined that a borrower
21·   ·   ·   ·got that request and worked that particular          21·   ·   ·   ·had submitted an application which met the
22·   ·   ·   ·request, but it would have been a combination of     22·   ·   ·   ·requirements for a borrower defense discharge, FSA
23·   ·   ·   ·those kind of folks.                                 23·   ·   ·   ·used the methodology described in the policy
24·   ·   ·   · · · Q· · ·Okay.· And -- and what resources would    24·   ·   ·   ·statement to determine the amount of relief that
25·   ·   ·   ·you say were required to develop this partial        25·   ·   ·   ·would be provided to the borrower.


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·1·   ·   ·   · · · Q· · ·Yeah, that's fine.· Thank you.            ·1·   ·   ·   ·schools that you named, if they had cases that
·2·   ·   ·   · · · · · · So FSA resumed issuing decisions.· When   ·2·   ·   ·   ·were sitting there ready to go out.
·3·   ·   ·   ·did FSA cease making decisions on borrower defense   ·3·   ·   ·   · · · Q· · ·Okay.· But the injunction was still in
·4·   ·   ·   ·applications?                                        ·4·   ·   ·   ·place at that time?
·5·   ·   ·   · · · · · · MR. HANCOCK:· Objection: vague.           ·5·   ·   ·   · · · A· · ·So the cases for which -- the cases for
·6·   ·   ·   · · · BY MS. TORCHIANA:                               ·6·   ·   ·   ·which the injunction did not cover.
·7·   ·   ·   · · · Q· · ·You can still answer.                     ·7·   ·   ·   · · · Q· · ·Okay.· And when you say resumed, does
·8·   ·   ·   · · · A· · ·So I'm -- I'm trying to understand.· Do   ·8·   ·   ·   ·that include -- we spoke about this a bit before.
·9·   ·   ·   ·you mean after this point in time when did we        ·9·   ·   ·   ·Let me rephrase.
10·   ·   ·   ·cease?                                               10·   ·   ·   · · · · · · Had both decisions on eligibility as to
11·   ·   ·   · · · Q· · ·So it says FSA resumed, so resumed is     11·   ·   ·   ·Step 1 as we talked about it, and relief, Step 2
12·   ·   ·   ·starting again.· So when did FSA stop issuing        12·   ·   ·   ·as we talked about it, ceased?
13·   ·   ·   ·decisions?                                           13·   ·   ·   · · · · · · MR. HANCOCK:· Objection: vague.
14·   ·   ·   · · · A· · ·Oh, I -- I -- okay.· Yeah, I              14·   ·   ·   · · · · · · THE WITNESS:· I --
15·   ·   ·   ·understand.· I think I understand your -- your       15·   ·   ·   · · · BY MS. TORCHIANA:
16·   ·   ·   ·question.                                            16·   ·   ·   · · · Q· · ·You can still answer.
17·   ·   ·   · · · · · · If you mean prior to this time when       17·   ·   ·   · · · A· · ·So had -- had decisions -- had
18·   ·   ·   ·were we making decisions and when did we stop, I     18·   ·   ·   ·decisions for borrower defense cases ceased until
19·   ·   ·   ·believe we stopped based on my review of the facts   19·   ·   ·   ·the point in this statement when I said resumed?
20·   ·   ·   ·and as I was told -- because during my time coming   20·   ·   ·   · · · · · · Is that the question?· I'm trying to
21·   ·   ·   ·in in March, I looked into this and it was part of   21·   ·   ·   ·make sure I understand your question.
22·   ·   ·   ·my education on borrower defense, that after the     22·   ·   ·   · · · Q· · ·Yeah.
23·   ·   ·   ·Manriquez case decision, that there were no more     23·   ·   ·   · · · · · · So when you say -- so we established
24·   ·   ·   ·decisions being issued out of borrower defense.      24·   ·   ·   ·that decisions had stopped, had ceased, and --
25·   ·   ·   · · · · · · And, so, I don't know the exact time of   25·   ·   ·   ·before this new methodology came out.· And was it

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·1·   ·   ·   ·that, but whatever the timing of that court order    ·1·   ·   ·   ·both decisions as related -- determinations on
·2·   ·   ·   ·was is -- is my understanding of when borrower       ·2·   ·   ·   ·eligibility, so whether someone was eligible for
·3·   ·   ·   ·defense stopped.                                     ·3·   ·   ·   ·borrower defense, and also how much relief they
·4·   ·   ·   · · · · · · And, so, that was already in process      ·4·   ·   ·   ·were owed?
·5·   ·   ·   ·when I took my position in March of 2019.            ·5·   ·   ·   · · · A· · ·Right.· So, ma'am, again, Step 1
·6·   ·   ·   · · · Q· · ·Okay.· And, so, did the decision stop     ·6·   ·   ·   ·involves a case coming in being adjudicated by a
·7·   ·   ·   ·on both Corinthian students' applications and        ·7·   ·   ·   ·borrower defense attorney, and then through that
·8·   ·   ·   ·non-Corinthian students' applications?               ·8·   ·   ·   ·process determining if a claimant is eligible or
·9·   ·   ·   · · · A· · ·So I'm now talking about my               ·9·   ·   ·   ·ineligible for borrower defense, a defense for
10·   ·   ·   ·understanding of it.· I was not there when the       10·   ·   ·   ·relief.
11·   ·   ·   ·original Manriquez case decision was made, but no    11·   ·   ·   · · · · · · That first part, that Step 1 part,
12·   ·   ·   ·decisions were going out to my knowledge in March    12·   ·   ·   ·which I think you are describing in this question,
13·   ·   ·   ·of 2019.                                             13·   ·   ·   ·again has never stopped.· And, so, it never
14·   ·   ·   · · · · · · So that would have been, you know,        14·   ·   ·   ·stopped.
15·   ·   ·   ·whatever is -- no decisions were going out.          15·   ·   ·   · · · · · · And, so, when I said resumed, I'm
16·   ·   ·   · · · Q· · ·Okay.· When you say FSA resumed issuing   16·   ·   ·   ·talking about completing the process through Step
17·   ·   ·   ·decisions, was that decisions on all pending         17·   ·   ·   ·2 as I'm defining it, which means the ability to
18·   ·   ·   ·borrower defense applications including both         18·   ·   ·   ·issue a determination to a borrower because now
19·   ·   ·   ·Corinthian and non-Corinthian?                       19·   ·   ·   ·you have a relief methodology.
20·   ·   ·   · · · A· · ·What -- what I mean in that statement     20·   ·   ·   · · · · · · So it goes back to our discussion
21·   ·   ·   ·is that all decisions, depending on which ones       21·   ·   ·   ·earlier about Step 1 and Step 2.
22·   ·   ·   ·were -- were right for -- for being made, right,     22·   ·   ·   · · · Q· · ·Okay.· And do you know -- did you know
23·   ·   ·   ·those that had been -- cases that had been           23·   ·   ·   ·how many Step 1 decisions were being made during
24·   ·   ·   ·adjudicated and decisions were ready to go out,      24·   ·   ·   ·that time from June 2018 to December 2019?
25·   ·   ·   ·and there was a methodology to use in all of those   25·   ·   ·   · · · A· · ·I can't -- I can't recall.· You mean,


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·1·   ·   ·   ·what was their level of activity, how many they      ·1·   ·   ·   ·memorandum signed by DeVos issued in mid November
·2·   ·   ·   ·were getting through?                                ·2·   ·   ·   ·which instructs department officials to resume
·3·   ·   ·   · · · Q· · ·Uh-huh.· Yeah.                            ·3·   ·   ·   ·issuing decisions on some roughly 227,000 pending
·4·   ·   ·   · · · A· · ·I don't -- I don't recall all of the      ·4·   ·   ·   ·applications.
·5·   ·   ·   ·numbers because the focus was on getting in enough   ·5·   ·   ·   · · · · · · Are you familiar with this memorandum?
·6·   ·   ·   ·attorneys to do significantly more.· I can't -- I    ·6·   ·   ·   · · · A· · ·Can I just ask what you -- so I'm
·7·   ·   ·   ·can't recall exactly how many, the 10 to 12          ·7·   ·   ·   ·looking at the article, and I'm trying to figure
·8·   ·   ·   ·attorneys and those folks, were getting through a    ·8·   ·   ·   ·out where you're -- where you're looking at.
·9·   ·   ·   ·week.· But I'm sure it wasn't enough which is why    ·9·   ·   ·   · · · Q· · ·I'm sorry.· Yeah, so on the second page
10·   ·   ·   ·we needed more people.                               10·   ·   ·   ·at the bottom of the page, it says, The memo,
11·   ·   ·   · · · Q· · ·And were those numbers being reported     11·   ·   ·   ·comma, which was signed?
12·   ·   ·   ·to you?                                              12·   ·   ·   · · · A· · ·(Witness reviews document.)
13·   ·   ·   · · · A· · ·I don't recall having those numbers       13·   ·   ·   · · · · · · So the article that I have is entitled,
14·   ·   ·   ·reported to me.· At the time, my interest was on     14·   ·   ·   ·Trump Administration Hires McKinsey to Evaluate
15·   ·   ·   ·building up the resources because I thought that     15·   ·   ·   ·Student-Loan Portfolio.
16·   ·   ·   ·had to come first before the numbers would be        16·   ·   ·   · · · · · · Is that the one you're referencing?
17·   ·   ·   ·significant.                                         17·   ·   ·   · · · Q· · ·No.· No, that's not.
18·   ·   ·   · · · Q· · ·Okay.· So how did you know Step 1         18·   ·   ·   · · · A· · ·So what, six is what got out of section
19·   ·   ·   ·decisions were still being made?                     19·   ·   ·   ·16?
20·   ·   ·   · · · A· · ·As I -- as I said earlier, when I came    20·   ·   ·   · · · Q· · ·Seventeen.
21·   ·   ·   ·in in March, I went through an educational process   21·   ·   ·   · · · A· · ·POLITICO article?
22·   ·   ·   ·with the borrower defense unit in which they         22·   ·   ·   · · · Q· · ·Yes, that's right.
23·   ·   ·   ·explained to me how borrower defense worked.· And    23·   ·   ·   · · · A· · ·I think we may have had them -- I got
24·   ·   ·   ·part of it was that what you're describing as Step   24·   ·   ·   ·you.· So this is entitled, POLITICO: DeVos Orders
25·   ·   ·   ·1 which is borrower defense cases coming in, being   25·   ·   ·   ·Partial Loan Relief for Many Duped Student

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·1·   ·   ·   ·adjudicated by lawyers, how far they can go before   ·1·   ·   ·   ·Borrowers?
·2·   ·   ·   ·they have to sit because they don't have the step    ·2·   ·   ·   · · · Q· · ·Yes, that's right.
·3·   ·   ·   ·two things in place was a part of our discussions    ·3·   ·   ·   · · · · · · So if you turn to the second page, so
·4·   ·   ·   ·in learning there.· And some of my folks told me     ·4·   ·   ·   ·after the cover, at the bottom of the second page?
·5·   ·   ·   ·that they were continuing to adjudicate cases, but   ·5·   ·   ·   · · · A· · ·Right.· The memo, which was signed by
·6·   ·   ·   ·that those cases could not go out.· And that had     ·6·   ·   ·   ·DeVos in mid-November and hasn't been reported
·7·   ·   ·   ·something to do with the numbers that I was          ·7·   ·   ·   ·previously, instructs department officials to
·8·   ·   ·   ·seeing.                                              ·8·   ·   ·   ·resume issuing decisions on some of the 227,000
·9·   ·   ·   · · · Q· · ·Okay.                                     ·9·   ·   ·   ·pending applications filed by borrowers seeking
10·   ·   ·   · · · A· · ·Okay.                                     10·   ·   ·   ·debt relief.· That process has been stalled for
11·   ·   ·   · · · Q· · ·And when you say folks, who was that?     11·   ·   ·   ·the past 18 months.
12·   ·   ·   · · · A· · ·I use the term "folks" to describe any    12·   ·   ·   · · · Q· · ·Yes.
13·   ·   ·   ·of the 1,453 people that were in Federal Student     13·   ·   ·   · · · · · · Are you familiar with this memorandum?
14·   ·   ·   ·Aid.· I consider them all my folks, my team that     14·   ·   ·   · · · A· · ·So I think this is an art- -- this is
15·   ·   ·   ·does work.· So when I use that term, I'm talking     15·   ·   ·   ·an article that Politico writes and I can't -- I'm
16·   ·   ·   ·about partner participation and oversight and        16·   ·   ·   ·not sure what Mr. Stafford is referring to.
17·   ·   ·   ·their subordinate unit, the borrower defense team.   17·   ·   ·   · · · · · · We have -- we did have guidance so
18·   ·   ·   · · · Q· · ·Okay.· Could we turn to Exhibit 17.       18·   ·   ·   ·maybe that's -- maybe he's referring to something
19·   ·   ·   · · · · · · (Exhibit 17 referred to.)                 19·   ·   ·   ·I'm not familiar with.· I'm not saying it doesn't
20·   ·   ·   · · · · · · THE WITNESS:· I have a newspaper          20·   ·   ·   ·exist, but I don't know what Mr. Stafford is
21·   ·   ·   ·article.                                             21·   ·   ·   ·referring to.· I don't believe we're sourced in
22·   ·   ·   · · · BY MS. TORCHIANA:                               22·   ·   ·   ·this article.· I think we -- at least from what I
23·   ·   ·   · · · Q· · ·Yes, that's right.                        23·   ·   ·   ·can tell.
24·   ·   ·   · · · · · · Could you turn to the second page?· At    24·   ·   ·   · · · Q· · ·Okay.· So was there some kind of
25·   ·   ·   ·the bottom of the page the article describes a       25·   ·   ·   ·memorandum signed by DeVos that instructed the


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·1·   ·   ·   ·borrower officials to start issuing decisions        ·1·   ·   ·   · · · · · · But I would -- at least as it's written
·2·   ·   ·   ·again that was signed in mid-November?               ·2·   ·   ·   ·here by Mr. Stratford, it says that I came up with
·3·   ·   ·   · · · · · · Does that ring a bell or --               ·3·   ·   ·   ·the -- that I wrote the policy.· I don't do that.
·4·   ·   ·   · · · A· · ·I believe that we had -- we had           ·4·   ·   ·   ·I wouldn't be allowed to do that.
·5·   ·   ·   ·guidance to begin processing claims and -- and --    ·5·   ·   ·   · · · Q· · ·Okay.· So after instructions were given
·6·   ·   ·   ·but I -- I don't know if I can -- you know, I        ·6·   ·   ·   ·to resume on issuing decisions, what happened in
·7·   ·   ·   ·could not recall an exact memo or take you to an     ·7·   ·   ·   ·the BDU?· Did those decisions start going out
·8·   ·   ·   ·exact memo, but I'm certain we had guidance, and     ·8·   ·   ·   ·right away or how long did it take for those
·9·   ·   ·   ·we began in December of 2019.                        ·9·   ·   ·   ·decisions to start going out?
10·   ·   ·   · · · Q· · ·Okay.· And how did you receive that       10·   ·   ·   · · · · · · MR. HANCOCK:· Objection: compound.
11·   ·   ·   ·guidance?                                            11·   ·   ·   · · · · · · THE WITNESS:· So if I understand you,
12·   ·   ·   · · · A· · ·That is what I can't remember             12·   ·   ·   ·once we had a policy in place in December, did the
13·   ·   ·   ·specifically, but I'm certain that we -- that we     13·   ·   ·   ·BD unit immediately go to work; is that your
14·   ·   ·   ·had it.· I'm sure that I knew from my                14·   ·   ·   ·question?
15·   ·   ·   ·conversations with the under secretary, and so I'm   15·   ·   ·   · · · · · · Are you saying how soon?
16·   ·   ·   ·sure that we had guidance because as I look at our   16·   ·   ·   · · · BY MS. TORCHIANA:
17·   ·   ·   ·numbers, we began December of 2019 to process        17·   ·   ·   · · · Q· · ·What happened after these instructions
18·   ·   ·   ·claims as I said in my earlier statement.            18·   ·   ·   ·were issued to resume decisions?
19·   ·   ·   · · · Q· · ·Okay.· And just to be clear, this is --   19·   ·   ·   · · · A· · ·Well, once the --
20·   ·   ·   ·this is Exhibit 17 which is already marked.· So --   20·   ·   ·   · · · Q· · ·You can go chronologically.
21·   ·   ·   ·can you turn to the fifth page?                      21·   ·   ·   · · · A· · ·So I can't talk specifically to the
22·   ·   ·   · · · A· · ·Okay.                                     22·   ·   ·   ·instructions that are noted in this -- this
23·   ·   ·   · · · Q· · ·And it starts with, The ten-page memo.    23·   ·   ·   ·letter, so I'm not -- I'm not totally familiar
24·   ·   ·   · · · A· · ·Right.                                    24·   ·   ·   ·with exactly what Mr. Stafford is talking about.
25·   ·   ·   · · · Q· · ·And could you just read that sentence     25·   ·   ·   · · · · · · But if -- but if you mean when a relief

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·1·   ·   ·   ·for me?                                              ·1·   ·   ·   ·methodology was determined, which is December, the
·2·   ·   ·   · · · A· · ·It says, The ten-page memo was prepared   ·2·   ·   ·   ·borrower defense unit began to release cases,
·3·   ·   ·   ·by Diane Auer Jones, a top advisor on higher         ·3·   ·   ·   ·notify borrowers.· They were not at full capacity
·4·   ·   ·   ·education issues, and Mark Brown, who leads the      ·4·   ·   ·   ·yet in terms of numbers of people, but they did
·5·   ·   ·   ·department's Office of Federal Student Aid.· The     ·5·   ·   ·   ·their work.· They went to work to continue to
·6·   ·   ·   ·new policy, they wrote, will allow the education     ·6·   ·   ·   ·adjudicate cases, but to also do notifications
·7·   ·   ·   ·department to resolve claims in an efficient, fair   ·7·   ·   ·   ·when appropriate.
·8·   ·   ·   ·and predictable manner that doles out federal loan   ·8·   ·   ·   · · · Q· · ·Okay.· And then if you -- I'm sorry.
·9·   ·   ·   ·forgiveness in line with the financial harm that     ·9·   ·   ·   ·I'm just reading this.
10·   ·   ·   ·borrowers are estimated to have suffered.            10·   ·   ·   · · · · · · So if you turn the page and go to
11·   ·   ·   · · · Q· · ·Okay.· And do you remember what you       11·   ·   ·   ·page 6, it says -- could you read the beginning of
12·   ·   ·   ·wrote in that memo or what the contents of that      12·   ·   ·   ·the last paragraph?
13·   ·   ·   ·memo are?                                            13·   ·   ·   · · · · · · MR. HANCOCK:· I'm sorry.· Can we just
14·   ·   ·   · · · A· · ·So I'm not prepared to say that the       14·   ·   ·   ·clarify which page?· There are page numbers that I
15·   ·   ·   ·premise of this statement is correct.                15·   ·   ·   ·can see, and so I just want to make sure we're
16·   ·   ·   · · · Q· · ·Okay.· What is incorrect about it?        16·   ·   ·   ·looking at the same.
17·   ·   ·   · · · A· · ·I don't write policy memos.               17·   ·   ·   · · · · · · MS. TORCHIANA:· Yeah.· On the
18·   ·   ·   · · · Q· · ·Okay.· And do you -- so did you ever      18·   ·   ·   ·electronic copy, let's see -- it would be the
19·   ·   ·   ·prepare a memo with Diane Auer Jones?                19·   ·   ·   ·sixth page of the PDF.
20·   ·   ·   · · · A· · ·We may have -- if you mean -- if you      20·   ·   ·   · · · · · · MR. HANCOCK:· Okay.· Thank you.
21·   ·   ·   ·mean did I -- did I sign off on the data that we     21·   ·   ·   · · · · · · THE WITNESS:· Is the paragraph that
22·   ·   ·   ·would provide or something like that, that --        22·   ·   ·   ·you're referring to, does it start with, The
23·   ·   ·   ·that's very possible because we would provide the    23·   ·   ·   ·department believes?
24·   ·   ·   ·data that would have input to the -- to the          24·   ·   ·   · · · BY MS. TORCHIANA:
25·   ·   ·   ·policy.                                              25·   ·   ·   · · · Q· · ·Yes.


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·1·   ·   ·   · · · A· · ·The department believes that if it        ·1·   ·   ·   ·policy eliminated anxiety or stopped any of the
·2·   ·   ·   ·issued denials in advance of issuing approvals,      ·2·   ·   ·   ·things that you noted because I could never say
·3·   ·   ·   ·borrowers could be confused and believe that the     ·3·   ·   ·   ·it.· In total, I would have no way of knowing.
·4·   ·   ·   ·department would not be approving any claims,        ·4·   ·   ·   · · · · · · MS. TORCHIANA:· Can we take a short
·5·   ·   ·   ·which is not the case, Jones wrote.· Therefore, in   ·5·   ·   ·   ·break and then get back on the record?
·6·   ·   ·   ·order to prevent confusion or distress to            ·6·   ·   ·   · · · · · · MR. HANCOCK:· Certainly.· That would be
·7·   ·   ·   ·borrowers who are eligible for relief, the           ·7·   ·   ·   ·fine.· How long?
·8·   ·   ·   ·department decided that it should not issue          ·8·   ·   ·   · · · · · · THE VIDEOGRAPHER:· We're now going off
·9·   ·   ·   ·denials until it has a methodology in place that     ·9·   ·   ·   ·the record.· The time is 19:05 UTC time.
10·   ·   ·   ·will allow it to issue approvals and relief.         10·   ·   ·   · · · · · · (Recess -- 2:05 p.m.)
11·   ·   ·   · · · Q· · ·Okay.· And do you agree with this         11·   ·   ·   · · · · · · (After recess -- 2:20 p.m.)
12·   ·   ·   ·statement?                                           12·   ·   ·   · · · · · · THE VIDEOGRAPHER:· We're now back on
13·   ·   ·   · · · A· · ·I -- I agree that we were not issuing     13·   ·   ·   ·the record.· The time is 19:20 UTC time.
14·   ·   ·   ·denials until we had a methodology so that we        14·   ·   ·   · · · · · · MS. TORCHIANA:· And before I get
15·   ·   ·   ·could do all at the same time, both approvals and    15·   ·   ·   ·started, could I ask that we mark as Exhibit 27
16·   ·   ·   ·denials.· And if that is what is communicating       16·   ·   ·   ·the FSA 2020 annual report which is bracketed 31?
17·   ·   ·   ·here in -- in this quotation of Ms. Jones, then I    17·   ·   ·   · · · · · · (Deposition Exhibit 27 was marked for
18·   ·   ·   ·agree with that.                                     18·   ·   ·   ·identification and attached to the transcript.)
19·   ·   ·   · · · Q· · ·Okay.· And do you think -- was there --   19·   ·   ·   · · · BY MS. TORCHIANA:
20·   ·   ·   ·was there any concern about causing any confusion    20·   ·   ·   · · · Q· · ·So if you could turn to -- back to your
21·   ·   ·   ·or distress to borrowers who are not eligible for    21·   ·   ·   ·declaration which is behind tab 25, so Exhibit 25?
22·   ·   ·   ·relief as far as you know?                           22·   ·   ·   · · · A· · ·I have Exhibit 25.
23·   ·   ·   · · · A· · ·I really could -- I mean, I don't -- I    23·   ·   ·   · · · Q· · ·Okay.· And in paragraph 7 you note that
24·   ·   ·   ·don't know.· You mean was I concerned or --          24·   ·   ·   ·on December 11th, 2019, FSA issued a total of
25·   ·   ·   · · · Q· · ·Sure.                                     25·   ·   ·   ·16,045 decisions on borrower defense claims and

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·1·   ·   ·   · · · · · · Was your under- -- was the Department     ·1·   ·   ·   ·that 789 met the conditions for discharge.
·2·   ·   ·   ·of Education concerned, was that a concern?          ·2·   ·   ·   · · · · · · Do you know how many of those 789 that
·3·   ·   ·   · · · · · · MR. HANCOCK:· Objection.· Potentially     ·3·   ·   ·   ·were approved were from either Corinthian or ITT?
·4·   ·   ·   ·calls for privileged, deliberative information.      ·4·   ·   ·   · · · A· · ·I -- I don't know.· I -- no, ma'am, I
·5·   ·   ·   · · · · · · THE WITNESS:· I -- I don't know, ma'am.   ·5·   ·   ·   ·would not know off of the top of my head what the
·6·   ·   ·   ·I couldn't tell you how people are feeling. I        ·6·   ·   ·   ·breakout of the 789 borrowers were in terms of
·7·   ·   ·   ·couldn't -- I just -- I'm sorry.· I don't know       ·7·   ·   ·   ·schools they attended.
·8·   ·   ·   ·that.                                                ·8·   ·   ·   · · · Q· · ·Okay.· And do you know if any -- since
·9·   ·   ·   · · · BY MS. TORCHIANA:                               ·9·   ·   ·   ·you've started, do you know if any approvals have
10·   ·   ·   · · · Q· · ·And do you think generally since the      10·   ·   ·   ·gone out for schools other than ITT or Corinthian
11·   ·   ·   ·department started issuing decisions again that      11·   ·   ·   ·or for borrowers who attended schools other than
12·   ·   ·   ·confusion and distress has been avoided?             12·   ·   ·   ·ITT or Corinthian?
13·   ·   ·   · · · A· · ·Do I -- do I think that confusion and     13·   ·   ·   · · · A· · ·I would have to look at the data to
14·   ·   ·   ·distress has been avoided?                           14·   ·   ·   ·be -- for -- and, so, I would not want to
15·   ·   ·   · · · Q· · ·Yes.                                      15·   ·   ·   ·speculate, but we -- we do make public this --
16·   ·   ·   · · · A· · ·Because we were issuing borrower          16·   ·   ·   ·this kind of data, I think, at the macro level.
17·   ·   ·   ·defense claims?                                      17·   ·   ·   ·But I wouldn't want to speculate on -- on exactly
18·   ·   ·   · · · Q· · ·Since you restarted issuing borrower      18·   ·   ·   ·what schools have had approvals and disapprovals.
19·   ·   ·   ·defense claims?                                      19·   ·   ·   ·I don't have those numbers memorized.
20·   ·   ·   · · · A· · ·I don't know.· I would say I don't        20·   ·   ·   · · · Q· · ·Okay.· And where -- if you wanted to
21·   ·   ·   ·know, and I would just add that we've got            21·   ·   ·   ·check that data, where -- where would you get it
22·   ·   ·   ·43 million customers.· And while I -- I do           22·   ·   ·   ·from?
23·   ·   ·   ·provide -- or I do listen to customers through our   23·   ·   ·   · · · A· · ·At the -- at the macro level we produce
24·   ·   ·   ·ombudsman and feedback and different sources, I      24·   ·   ·   ·data for the public I think every month, and we
25·   ·   ·   ·would never make a statement that any particular     25·   ·   ·   ·publish it on our -- on our Web site, on our


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·1·   ·   ·   ·portal site, and we produce those reports that       ·1·   ·   ·   ·December 2019 -- we were looking at just that.
·2·   ·   ·   ·talk about approvals and disapprovals and how many   ·2·   ·   ·   · · · Q· · ·Okay.· And, so, who -- okay.· And did
·3·   ·   ·   ·borrower defense cases are there.                    ·3·   ·   ·   ·you set performance metrics for how many decisions
·4·   ·   ·   · · · Q· · ·Okay.· So it's public data how many       ·4·   ·   ·   ·were going to go out in -- in the weeks following
·5·   ·   ·   ·approvals there have been for each school group?     ·5·   ·   ·   ·December 2019?
·6·   ·   ·   · · · A· · ·Well, I'm not sure, and again I would     ·6·   ·   ·   · · · A· · ·So as I -- as I said earlier, we -- we
·7·   ·   ·   ·have to actually look at a borrower defense report   ·7·   ·   ·   ·have -- we had metrics performance for every part
·8·   ·   ·   ·to tell you the details of it.· But that isn't       ·8·   ·   ·   ·of the -- the performance-based organization.
·9·   ·   ·   ·anything that I think that we keep insulated into    ·9·   ·   ·   ·That's -- that's what we -- that's what we do.
10·   ·   ·   ·the organization.· We -- I think we publish          10·   ·   ·   · · · · · · But I think what you just said in your
11·   ·   ·   ·borrower defense (audio distortion) reports.         11·   ·   ·   ·question was did I set a metric for how many would
12·   ·   ·   · · · · · · THE COURT REPORTER:· I'm sorry.· You      12·   ·   ·   ·go out in December of 2019.
13·   ·   ·   ·said, "I think we publish borrower defense," and     13·   ·   ·   · · · Q· · ·No, after -- after December 2019.
14·   ·   ·   ·then you cut out on me.                              14·   ·   ·   · · · A· · ·If -- if I were to set a metric, it
15·   ·   ·   · · · · · · THE WITNESS:· Reports.· We publish        15·   ·   ·   ·wouldn't be for a month, right.· I mean, if you
16·   ·   ·   ·borrower defense reports.                            16·   ·   ·   ·mean did we have goals to meet.· I'm trying to
17·   ·   ·   · · · BY MS. TORCHIANA:                               17·   ·   ·   ·understand your question, ma'am.
18·   ·   ·   · · · Q· · ·If you go to paragraph 8, it says, FSA    18·   ·   ·   · · · Q· · ·I don't just mean in a month.· I mean
19·   ·   ·   ·in the process of issuing an additional 1,000        19·   ·   ·   ·going forward after December 2019 --
20·   ·   ·   ·decisions and anticipates issuing thousands more     20·   ·   ·   · · · A· · ·I don't know -- I don't know if we had
21·   ·   ·   ·in the next several weeks on a rolling basis.        21·   ·   ·   ·the metrics established that early.· I don't know.
22·   ·   ·   · · · · · · So how -- how are these numbers set?      22·   ·   ·   ·I'd have to go back and look.· So to answer your
23·   ·   ·   · · · · · · MR. HANCOCK:· Objection: vague.           23·   ·   ·   ·question, I can't tell you that there was a metric
24·   ·   ·   · · · BY MS. TORCHIANA:                               24·   ·   ·   ·in December 2019 of how many we would do each
25·   ·   ·   · · · Q· · ·How does the number of 1,000 additional   25·   ·   ·   ·month for the remainder of the year.· I don't know

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·1·   ·   ·   ·decisions set and the anticipation -- or -- let's    ·1·   ·   ·   ·that we were mature enough in the process at that
·2·   ·   ·   ·just start with that?                                ·2·   ·   ·   ·point to have done that.
·3·   ·   ·   · · · A· · ·When you say "set," you mean why would    ·3·   ·   ·   · · · · · · Somewhere along that road, though, we
·4·   ·   ·   ·we use that number?                                  ·4·   ·   ·   ·did establish metrics and measurements for the
·5·   ·   ·   · · · Q· · ·Yeah.                                     ·5·   ·   ·   ·borrower defense team to work toward.
·6·   ·   ·   · · · A· · ·So we know how many claims that we        ·6·   ·   ·   · · · Q· · ·Okay.· Could you turn to tab 32 in your
·7·   ·   ·   ·have.· We know how many are pending decisions.· We   ·7·   ·   ·   ·hard copies?· And that's document 145.
·8·   ·   ·   ·know how many have been adjudicated thus far, and    ·8·   ·   ·   · · · · · · MS. TORCHIANA:· And could we mark that
·9·   ·   ·   ·I think what you see here in this statement in       ·9·   ·   ·   ·as Exhibit 28?
10·   ·   ·   ·paragraph 8 is our anticipation that when a          10·   ·   ·   · · · · · · (Deposition Exhibit 28 was marked for
11·   ·   ·   ·certain number will be at the next stage of the      11·   ·   ·   ·identification and attached to the transcript.)
12·   ·   ·   ·process.                                             12·   ·   ·   · · · · · · THE WITNESS:· Yes, I have it.
13·   ·   ·   · · · · · · So if an attorney had completed           13·   ·   ·   · · · BY MS. TORCHIANA:
14·   ·   ·   ·adjudication and it was in the band and ready to     14·   ·   ·   · · · Q· · ·Okay.· And do you recognize this
15·   ·   ·   ·go, it would be -- you know, we would be able to     15·   ·   ·   ·document?
16·   ·   ·   ·look at that and say that fairly soon we will        16·   ·   ·   · · · A· · ·(Witness reviews document.)
17·   ·   ·   ·have, you know, more decisions on these thousand     17·   ·   ·   · · · · · · This is a declaration that I signed.
18·   ·   ·   ·and then, you know, could look at how many more      18·   ·   ·   · · · Q· · ·And did you write it?
19·   ·   ·   ·you have coming and how many attorneys you have,     19·   ·   ·   · · · A· · ·As I -- as I said earlier, I don't
20·   ·   ·   ·and you can tell it at about what rate you'll be     20·   ·   ·   ·actually write all the declarations.· These are
21·   ·   ·   ·able to go at that point in time with the amount     21·   ·   ·   ·done in conjunction with counsel.
22·   ·   ·   ·of resources that you have at that point in time.    22·   ·   ·   · · · Q· · ·Okay.· And that's your signature on
23·   ·   ·   · · · · · · I believe when I made this statement in   23·   ·   ·   ·page 3?
24·   ·   ·   ·this particular declaration, which is at the very    24·   ·   ·   · · · A· · ·That is my signature.
25·   ·   ·   ·beginning of the reissuance -- it's in               25·   ·   ·   · · · Q· · ·I'm sorry.· I turned to the -- I turned


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·1·   ·   ·   ·to the wrong one.· I meant -- we'll get back to      ·1·   ·   ·   ·there --
·2·   ·   ·   ·that one later.· I meant to go to tab 27.            ·2·   ·   ·   · · · A· · ·I believe it is two years.
·3·   ·   ·   · · · · · · MS. TORCHIANA:· And if we can mark that   ·3·   ·   ·   · · · Q· · ·Okay.· And have you hired any new
·4·   ·   ·   ·as Exhibit 29.                                       ·4·   ·   ·   ·attorneys since -- since you wrote this?
·5·   ·   ·   · · · · · · (Deposition Exhibit 29 was marked for     ·5·   ·   ·   · · · A· · ·So there -- there may have been a few
·6·   ·   ·   ·identification and attached to the transcript.)      ·6·   ·   ·   ·more attorneys hired since this -- since this
·7·   ·   ·   · · · · · · THE WITNESS:· Okay.                       ·7·   ·   ·   ·date.· I can't say exactly, but we may have -- we
·8·   ·   ·   · · · BY MS. TORCHIANA:                               ·8·   ·   ·   ·may have brought a few more on because I believe
·9·   ·   ·   · · · Q· · ·Okay.· And do you recognize this          ·9·   ·   ·   ·this has a number, like, 452.· We may be at 54 if
10·   ·   ·   ·document?                                            10·   ·   ·   ·a couple were not on board yet when this was
11·   ·   ·   · · · A· · ·(Witness reviews document.)               11·   ·   ·   ·written.
12·   ·   ·   · · · · · · I believe this is my -- this is my        12·   ·   ·   · · · Q· · ·When you said -- you said we made the
13·   ·   ·   ·declaration.                                         13·   ·   ·   ·decision to hire more attorneys, who do you mean
14·   ·   ·   · · · Q· · ·Okay.· And did you write it?              14·   ·   ·   ·by "we"?
15·   ·   ·   · · · A· · ·As I stated earlier, the -- I do these    15·   ·   ·   · · · A· · ·No, ma'am.· I said I made the decision
16·   ·   ·   ·in consultation with counsel.                        16·   ·   ·   ·to hire more attorneys.· I asked the -- I said I
17·   ·   ·   · · · Q· · ·Okay.· Okay.· If you turn to              17·   ·   ·   ·asked the Department of Education.· They said yes.
18·   ·   ·   ·paragraph 6 -- that's on page 4 --                   18·   ·   ·   · · · Q· · ·And who did -- who did you ask at the
19·   ·   ·   · · · A· · ·So I -- paragraph 6; right?· Yeah.· On    19·   ·   ·   ·Department of Education?
20·   ·   ·   ·page -- oh, I think we have different page numbers   20·   ·   ·   · · · · · · MR. HANCOCK:· Objection: asked and
21·   ·   ·   ·on the top and the bottom, so you read the number    21·   ·   ·   ·answered.
22·   ·   ·   ·that are on the top of the page?                     22·   ·   ·   · · · · · · THE WITNESS:· So as I -- as I said
23·   ·   ·   · · · Q· · ·Uh-huh.                                   23·   ·   ·   ·earlier, I asked more than one person as I
24·   ·   ·   · · · A· · ·I have paragraph 6.· You're good.         24·   ·   ·   ·explained where we were in borrower defense.· That
25·   ·   ·   · · · Q· · ·And this describes the hiring that        25·   ·   ·   ·included the under secretary; that included the

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·1·   ·   ·   ·you -- that the BDU did in September of 2019.· So    ·1·   ·   ·   ·secretary and the human resources folks who deal
·2·   ·   ·   ·we talked about this a little bit before, but when   ·2·   ·   ·   ·with these kinds of things.
·3·   ·   ·   ·was the decision to hire more new term attorneys     ·3·   ·   ·   · · · BY MS. TORCHIANA:
·4·   ·   ·   ·made?                                                ·4·   ·   ·   · · · Q· · ·Okay.· And what was their response?
·5·   ·   ·   · · · A· · ·So I don't know the exact time, but       ·5·   ·   ·   · · · A· · ·As I said earlier, they said yes.
·6·   ·   ·   ·somewhere soon after I was in office in March of     ·6·   ·   ·   · · · Q· · ·Okay.· And do you know -- had there
·7·   ·   ·   ·2019, somewhere in the next couple of months, we     ·7·   ·   ·   ·been any requests before you made the request to
·8·   ·   ·   ·made the decision to -- we had approval to hire      ·8·   ·   ·   ·hire more attorneys?
·9·   ·   ·   ·new attorneys, and we went through the process of    ·9·   ·   ·   · · · · · · MR. HANCOCK:· Objection: asked and
10·   ·   ·   ·recruiting and doing all the things that I           10·   ·   ·   ·answered.
11·   ·   ·   ·mentioned earlier to bring them on board.            11·   ·   ·   · · · · · · THE WITNESS:· As I said earlier -- as I
12·   ·   ·   · · · Q· · ·Okay.· And who made the decision to       12·   ·   ·   ·said earlier, I'm not -- I'm not aware of any --
13·   ·   ·   ·hire more attorneys?                                 13·   ·   ·   ·any specific things that may have occurred like
14·   ·   ·   · · · A· · ·I made the decision to hire more          14·   ·   ·   ·that before I -- before I got here.
15·   ·   ·   ·attorneys once I had approval from the -- from the   15·   ·   ·   · · · BY MS. TORCHIANA:
16·   ·   ·   ·department.                                          16·   ·   ·   · · · Q· · ·Okay.· And was the -- what were some of
17·   ·   ·   · · · Q· · ·Okay.                                     17·   ·   ·   ·the priorities that were represented to these new
18·   ·   ·   · · · A· · ·As I -- as I stated earlier, I made a     18·   ·   ·   ·hires, these new staff attorneys?
19·   ·   ·   ·request to the department and they said yes.         19·   ·   ·   · · · · · · MR. HANCOCK:· Objection: vague.
20·   ·   ·   · · · Q· · ·Okay.· And are these employees            20·   ·   ·   · · · · · · THE WITNESS:· I -- I don't know if I
21·   ·   ·   ·full-time?                                           21·   ·   ·   ·under- -- I don't know if I understand your
22·   ·   ·   · · · A· · ·The term "term," they work full-time,     22·   ·   ·   ·question.· You mean when we brought on new term
23·   ·   ·   ·but it doesn't mean forever.· They are for a         23·   ·   ·   ·attorneys, you're asking what we told them or what
24·   ·   ·   ·specific term.                                       24·   ·   ·   ·we --
25·   ·   ·   · · · Q· · ·Okay.· And what is the term?· Is          25·   ·   ·   · · · BY MS. TORCHIANA:


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·1·   ·   ·   · · · Q· · ·Yeah.                                     ·1·   ·   ·   ·system to -- to generate the letter that would go
·2·   ·   ·   · · · A· · ·-- told them our plans were?              ·2·   ·   ·   ·out to the individual, and then that has to
·3·   ·   ·   · · · Q· · ·Yes.                                      ·3·   ·   ·   ·correlate with the loan servicer somewhere in the
·4·   ·   ·   · · · A· · ·So, ma'am, the way we're organized is     ·4·   ·   ·   ·country, and that has to correlate to a loan
·5·   ·   ·   ·I'm the chief operating officer, and I have a        ·5·   ·   ·   ·number, and that loan number has a promissory
·6·   ·   ·   ·deputy chief of partner participation and            ·6·   ·   ·   ·note, and the promissory note has to be reduced by
·7·   ·   ·   ·oversight, and the borrower defense unit works for   ·7·   ·   ·   ·the amount if the loan has been forgiven, and then
·8·   ·   ·   ·the partner participation and oversight, and we      ·8·   ·   ·   ·that has to all be reconciled.
·9·   ·   ·   ·have a borrower defense team lead and then there     ·9·   ·   ·   · · · · · · So this -- what we're calling in
10·   ·   ·   ·are other supervisors in borrower defense.           10·   ·   ·   ·general this administrative process is -- is a
11·   ·   ·   · · · · · · So a line attorney, a brand new           11·   ·   ·   ·very long and convoluted process that you have to
12·   ·   ·   ·attorney, I would not sit down and give them         12·   ·   ·   ·assign people to to manage it as well as
13·   ·   ·   ·priorities.· So I wasn't in a conversation where I   13·   ·   ·   ·contractors and other folks because -- because
14·   ·   ·   ·sat down with new attorneys and said these are       14·   ·   ·   ·there are so many -- there are so many of these
15·   ·   ·   ·your priorities.· If that's the question you're      15·   ·   ·   ·that it doesn't work on autopilot and you have to
16·   ·   ·   ·asking, that would not have been something that I    16·   ·   ·   ·do those kind of things to manage it.
17·   ·   ·   ·would have done.                                     17·   ·   ·   · · · Q· · ·Okay.· And how many --
18·   ·   ·   · · · Q· · ·Okay.· And do you know if reducing the    18·   ·   ·   · · · A· · ·Hundreds of these.
19·   ·   ·   ·backlog was represented as a priority to these new   19·   ·   ·   · · · Q· · ·So you say you hired three employees.
20·   ·   ·   ·employees?                                           20·   ·   ·   ·How many attorneys work on the -- on the
21·   ·   ·   · · · A· · ·I don't know.· I -- again, that's just    21·   ·   ·   ·administrative processing end of distributing
22·   ·   ·   ·not something that I would have -- I would have --   22·   ·   ·   ·those letters?
23·   ·   ·   ·I would have done.                                   23·   ·   ·   · · · A· · ·So we hire attorneys to adjudicate
24·   ·   ·   · · · Q· · ·Okay.· Why did you want to hire more      24·   ·   ·   ·cases.· These three people are not attorneys.
25·   ·   ·   ·attorneys?                                           25·   ·   ·   · · · Q· · ·Okay.· How many employees work on

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·1·   ·   ·   · · · A· · ·So we wanted to hire more attorneys       ·1·   ·   ·   ·distributing the letters?
·2·   ·   ·   ·because we needed more based on the -- the amount    ·2·   ·   ·   · · · A· · ·I don't know that exact number.· It's
·3·   ·   ·   ·of work that was inside of borrower defense, the     ·3·   ·   ·   ·more than three.· That's three additional people.
·4·   ·   ·   ·number of cases.                                     ·4·   ·   ·   ·And, ma'am, to understand -- to understand this,
·5·   ·   ·   · · · Q· · ·Okay.· And in the next paragraph, you     ·5·   ·   ·   ·we have -- we have contractors; we have contract
·6·   ·   ·   ·say that FSA hired three employees to focus on the   ·6·   ·   ·   ·support; and we have call centers.· It's a large
·7·   ·   ·   ·administrative process end of distributing the       ·7·   ·   ·   ·operation.
·8·   ·   ·   ·decision letters.                                    ·8·   ·   ·   · · · · · · So when I say three people, I don't
·9·   ·   ·   · · · · · · What does that mean?· What do you mean    ·9·   ·   ·   ·mean three people and those three people are going
10·   ·   ·   ·by "the administrative process end"?                 10·   ·   ·   ·to put out all of the letters and notifications.
11·   ·   ·   · · · A· · ·So once a -- once a decision has been     11·   ·   ·   ·That's -- that's not what that means.· That means
12·   ·   ·   ·made on a -- on a borrower defense case, and by      12·   ·   ·   ·those three people are going to orchestrate a
13·   ·   ·   ·that, I mean we've gone through what we have         13·   ·   ·   ·very, very large process and there are a lot of
14·   ·   ·   ·described earlier as Step 1 and we have gone         14·   ·   ·   ·people in a lot of different places that make it
15·   ·   ·   ·through what we called earlier Step 2, the second    15·   ·   ·   ·actually -- that actually make it happen.
16·   ·   ·   ·part of Step 2 is that the borrower must be          16·   ·   ·   · · · · · · So how many people are involved in the
17·   ·   ·   ·notified of the decision.· And -- and if we took     17·   ·   ·   ·administrative process?· You know, I would -- I
18·   ·   ·   ·the scenario where the loan was forgiven or -- or    18·   ·   ·   ·would have to go back and it would be a range
19·   ·   ·   ·reduced by a certain percentage, there is a -- a     19·   ·   ·   ·of -- you know, it would be a range of folks, and
20·   ·   ·   ·long administrative tail to that.                    20·   ·   ·   ·depending on how you wanted to count them.· If you
21·   ·   ·   · · · · · · There is a -- you know, if you read       21·   ·   ·   ·want to count the contractors or government
22·   ·   ·   ·this on the face, it sounds like we're typing up a   22·   ·   ·   ·employees, it would just depend, to include loan
23·   ·   ·   ·letter or writing a letter and that's it, but when   23·   ·   ·   ·servicers who ultimately take the action against
24·   ·   ·   ·you're talking about mass numbers like what we       24·   ·   ·   ·the loan.
25·   ·   ·   ·have here, we have to have this loaded into a        25·   ·   ·   · · · Q· · ·Okay.· Okay.· And then in paragraph 8


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·1·   ·   ·   ·you explain that the increase of personnel within    ·1·   ·   ·   ·throughout FSA for what would -- I would call the
·2·   ·   ·   ·the BDU has enabled FSA to substantially increase    ·2·   ·   ·   ·whole picture here of the process by which
·3·   ·   ·   ·the volume of borrower defense decisions it has      ·3·   ·   ·   ·there's -- the ones I referenced in this statement
·4·   ·   ·   ·issued.                                              ·4·   ·   ·   ·when I said three additional people came on, they
·5·   ·   ·   · · · · · · And, so, if that's the case, why didn't   ·5·   ·   ·   ·aren't counted in the attorney numbers.
·6·   ·   ·   ·FSA increase its staffing earlier?                   ·6·   ·   ·   · · · · · · So the attorneys came on and -- and
·7·   ·   ·   · · · A· · ·I would not be able -- when you say       ·7·   ·   ·   ·they helped in the first part what you're calling
·8·   ·   ·   ·"earlier," do you mean before March of 2019 when I   ·8·   ·   ·   ·Step 1 of the process, and -- and there were
·9·   ·   ·   ·became the chief operating officer?                  ·9·   ·   ·   ·others with different specialties that helped with
10·   ·   ·   · · · Q· · ·Before -- before the increased            10·   ·   ·   ·Step 2 of the process to help get this done.
11·   ·   ·   ·personnel happened.                                  11·   ·   ·   · · · Q· · ·Okay.· And -- and do any of these
12·   ·   ·   · · · A· · ·So for me, the period that I can talk     12·   ·   ·   ·attorneys make any Step 2 determinations?
13·   ·   ·   ·about, we did it immediately -- started increasing   13·   ·   ·   · · · A· · ·So I don't -- I can't speak to all of
14·   ·   ·   ·personnel immediately, but it took time to build     14·   ·   ·   ·the internal workings of the borrower defense
15·   ·   ·   ·them up.                                             15·   ·   ·   ·team, not with any specificity.
16·   ·   ·   · · · · · · So, in other words, if you tell me in     16·   ·   ·   · · · · · · I can -- I can tell you that in general
17·   ·   ·   ·April or May -- or April that I have approval to     17·   ·   ·   ·that there are two different types of things going
18·   ·   ·   ·hire attorneys and I go out and hire them, I don't   18·   ·   ·   ·on, and in Step 1 is purely attorneys for the most
19·   ·   ·   ·know if you're familiar with government hiring,      19·   ·   ·   ·part, right, that are adjudicating cases because
20·   ·   ·   ·but you have to have a security clearance, and --    20·   ·   ·   ·you have to have an attorney do that.· But letter
21·   ·   ·   ·and you have to go through our process.· You have    21·   ·   ·   ·preparation, the computation of relief using the
22·   ·   ·   ·to fill out an application to -- there are a         22·   ·   ·   ·methodology, the administrative process of getting
23·   ·   ·   ·number of things you have to do that are very        23·   ·   ·   ·a letter prepared to go through our digital
24·   ·   ·   ·bureaucratic.· We simply don't pick a person, hire   24·   ·   ·   ·platform and loading them up on our systems, and
25·   ·   ·   ·them and they come to work the next day.             25·   ·   ·   ·then the oversight of those who do that contract

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·1·   ·   ·   · · · · · · So I think it is -- it was done in what   ·1·   ·   ·   ·work are not attorneys.
·2·   ·   ·   ·I would consider immediately in the period of time   ·2·   ·   ·   · · · · · · So if you -- if you attribute the
·3·   ·   ·   ·that I can talk about, which is beginning in March   ·3·   ·   ·   ·increase to -- to something it would -- and you're
·4·   ·   ·   ·of 2019.· That's the period of time I can speak to   ·4·   ·   ·   ·dividing this into steps, it's Step 1 that
·5·   ·   ·   ·directly.· It was done immediately.· It doesn't      ·5·   ·   ·   ·increased (audio distortion) attorneys for (audio
·6·   ·   ·   ·mean they arrived immediately.                       ·6·   ·   ·   ·distortion.)
·7·   ·   ·   · · · Q· · ·Okay.· And you mentioned that, as I       ·7·   ·   ·   · · · Q· · ·Okay.· So just to be clear, do
·8·   ·   ·   ·understand it, Step 1 -- before you -- you           ·8·   ·   ·   ·attorneys make any Step 2 adjudication decisions?
·9·   ·   ·   ·increased this hiring, Step 1 adjudications were     ·9·   ·   ·   · · · A· · ·So I want to define Step 2 to make sure
10·   ·   ·   ·still continuing; is that right?                     10·   ·   ·   ·you and I are saying the same thing.
11·   ·   ·   · · · A· · ·Yes, as I -- as I said earlier, the       11·   ·   ·   · · · Q· · ·Do attorneys make any determination
12·   ·   ·   ·Step 1 process, which is the claim coming in,        12·   ·   ·   ·about the percentage of relief that a borrower --
13·   ·   ·   ·being adjudicated, has never stopped to my           13·   ·   ·   ·that a borrower will get?
14·   ·   ·   ·knowledge.                                           14·   ·   ·   · · · A· · ·So I would -- I would not call Step 2
15·   ·   ·   · · · Q· · ·Okay.· And, so, were all -- when you      15·   ·   ·   ·determination.· I -- I would call Step 2
16·   ·   ·   ·hired all these new attorneys, were they still       16·   ·   ·   ·computation because they are not determining --
17·   ·   ·   ·working on Step 1 or was it -- I guess were you      17·   ·   ·   ·they're not picking winners and losers or
18·   ·   ·   ·increasing capacity both for Step 1 and Step 2?      18·   ·   ·   ·percentages.· They're computing a methodology that
19·   ·   ·   · · · A· · ·So we -- we are -- you are asking about   19·   ·   ·   ·was given to them as a policy document from the
20·   ·   ·   ·what the attorneys were hired for?                   20·   ·   ·   ·department.· Whatever the number comes out to be,
21·   ·   ·   · · · Q· · ·Yeah.                                     21·   ·   ·   ·as long as they're compliant with the methodology,
22·   ·   ·   · · · A· · ·They were -- they were hired to           22·   ·   ·   ·that's it.· They're not -- they're not making
23·   ·   ·   ·adjudicate cases.· And in this particular document   23·   ·   ·   ·determinations in that sense.
24·   ·   ·   ·in your statement, the conversation is limited to    24·   ·   ·   · · · Q· · ·Okay.
25·   ·   ·   ·the attorneys, but we increased personnel            25·   ·   ·   · · · A· · ·They're technicians performing


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·1·   ·   ·   ·computations, and I think there's a difference.      ·1·   ·   ·   ·schedule.
·2·   ·   ·   · · · Q· · ·So who -- who performs those              ·2·   ·   ·   · · · · · · And in the case of the BD attorneys,
·3·   ·   ·   ·computations?                                        ·3·   ·   ·   ·you saw decisions and then buildup based on all
·4·   ·   ·   · · · A· · ·Policy liaison and technicians that       ·4·   ·   ·   ·those required processes.· So as I said earlier,
·5·   ·   ·   ·work within the policy liaison teams, the data       ·5·   ·   ·   ·we did begin immediately, and what you see in the
·6·   ·   ·   ·people.                                              ·6·   ·   ·   ·numbers is just that, but the process bringing
·7·   ·   ·   · · · Q· · ·Okay.· And -- and, so -- well, I          ·7·   ·   ·   ·these attorneys on as -- as time would -- would
·8·   ·   ·   ·suppose if -- if you're saying what all the          ·8·   ·   ·   ·enable it to, given the requirements of working
·9·   ·   ·   ·attorneys do is adjudication and Step 1 had been     ·9·   ·   ·   ·for the federal government.
10·   ·   ·   ·continuing -- had never stopped, why -- why did      10·   ·   ·   · · · BY MS. TORCHIANA:
11·   ·   ·   ·the BDU need more attorneys?                         11·   ·   ·   · · · Q· · ·Okay.· And would you say before this
12·   ·   ·   · · · · · · MR. HANCOCK:· Objection: misstates        12·   ·   ·   ·increase of personnel within the BDU, were there
13·   ·   ·   ·testimony.                                           13·   ·   ·   ·not enough attorneys to adjudicate the number of
14·   ·   ·   · · · · · · THE WITNESS:· So is your question why     14·   ·   ·   ·claims coming in?
15·   ·   ·   ·does BDU need more attorneys?                        15·   ·   ·   · · · · · · MR. HANCOCK:· Objection: asked and
16·   ·   ·   · · · BY MS. TORCHIANA:                               16·   ·   ·   ·answered.· We've covered this ground a few times
17·   ·   ·   · · · Q· · ·Yes.                                      17·   ·   ·   ·now.
18·   ·   ·   · · · · · · Why did the BDU need more attorneys?      18·   ·   ·   · · · · · · THE WITNESS:· Yeah, again I'd just say
19·   ·   ·   · · · A· · ·Because the volume of claims coming in    19·   ·   ·   ·yes.· I don't know what happened before March of
20·   ·   ·   ·exceeded the capacity of 10 to 12 attorneys within   20·   ·   ·   ·2019, ma'am.
21·   ·   ·   ·any reasonable workday.· So if you're receiving      21·   ·   ·   · · · BY MS. TORCHIANA:
22·   ·   ·   ·2,000-plus claims a week -- and sometimes it was     22·   ·   ·   · · · Q· · ·Okay.· If you turn to the next
23·   ·   ·   ·more than that -- and you have 12 attorneys -- 10    23·   ·   ·   ·paragraph, paragraph 9, you say that the
24·   ·   ·   ·to 12 attorneys, they can't move that volume.        24·   ·   ·   ·department has issued significantly more decisions
25·   ·   ·   ·They were not built for that many cases; that        25·   ·   ·   ·finding BD applications ineligible than finding

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·1·   ·   ·   ·number was not appropriate for that many cases.      ·1·   ·   ·   ·them eligible.· This is the result of the
·2·   ·   ·   · · · · · · So why was there a need for more          ·2·   ·   ·   ·department's strategy to prioritize adjudicating
·3·   ·   ·   ·attorneys?· Like with any organization, we were      ·3·   ·   ·   ·and issuing decisions on applications with little
·4·   ·   ·   ·sizing the workforce to the volume of the work.      ·4·   ·   ·   ·or no relevant evidence.
·5·   ·   ·   · · · Q· · ·Okay.· So why did FSA wait until, you     ·5·   ·   ·   · · · · · · So how would you determine what is an
·6·   ·   ·   ·know, about September 2019 or so to hire more        ·6·   ·   ·   ·application with little or no relevant evidence?
·7·   ·   ·   ·attorneys?                                           ·7·   ·   ·   · · · A· · ·As the chief operating officer of
·8·   ·   ·   · · · · · · MR. HANCOCK:· Objection: misstates the    ·8·   ·   ·   ·Federal Student Aid, I don't adjudicate borrower
·9·   ·   ·   ·testimony and asked and answered.                    ·9·   ·   ·   ·defense claims.· So what we mean by that statement
10·   ·   ·   · · · · · · THE WITNESS:· So if you decide in March   10·   ·   ·   ·is not how I would determine that.· I would not.
11·   ·   ·   ·or April and you have approval to hire employees,    11·   ·   ·   ·I don't adjudicate borrower defense claims.
12·   ·   ·   ·you start then.· They may not physically be on       12·   ·   ·   · · · · · · I would -- that is an appropriate
13·   ·   ·   ·board until September because government hiring      13·   ·   ·   ·question, I think, for one of the borrower defense
14·   ·   ·   ·just simply is not as quick as you may think.· It    14·   ·   ·   ·attorneys who -- whose job is to review the
15·   ·   ·   ·takes several months.· For you to work for Federal   15·   ·   ·   ·available evidence and in what we have been
16·   ·   ·   ·Student Aid, you have to pass a security             16·   ·   ·   ·calling to date to determine if -- if there is
17·   ·   ·   ·background check which covers your whole life from   17·   ·   ·   ·evidence sufficient enough to use.
18·   ·   ·   ·the time that you were 18 until you get done.· You   18·   ·   ·   · · · Q· · ·Okay.· And would you say from your
19·   ·   ·   ·have to tell them every address that you worked      19·   ·   ·   ·understanding did the 15,256 denials that were
20·   ·   ·   ·at.· It's a -- it's a full background check.         20·   ·   ·   ·issued in December 2019 -- were those all from
21·   ·   ·   · · · · · · And -- and then assuming that process     21·   ·   ·   ·applications with little or no relevant evidence?
22·   ·   ·   ·is successful, we then can make an offer to you      22·   ·   ·   · · · A· · ·I don't know that they all had little
23·   ·   ·   ·and establish a date.· That process alone can be a   23·   ·   ·   ·or no relevant evidence.· I just know at the time
24·   ·   ·   ·three- or four-month process.· So I can hire you     24·   ·   ·   ·of this report they had been determined to be
25·   ·   ·   ·in March, and if you arrive in July, I'm on          25·   ·   ·   ·ineligible.· In -- in the report, I don't -- I


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·1·   ·   ·   ·can't tell you if each one of those cases had --     ·1·   ·   ·   ·answer your question which is -- which is who made
·2·   ·   ·   ·certainly I couldn't tell you if all of them had     ·2·   ·   ·   ·it and when they made it and that kind of thing.
·3·   ·   ·   ·little to no evidence.· I -- I simply don't know.    ·3·   ·   ·   · · · Q· · ·Okay.· In paragraph 11, you say, The
·4·   ·   ·   · · · · · · I could only tell you that they were      ·4·   ·   ·   ·department may find a claim ineligible when it is
·5·   ·   ·   ·accounted for as ineligible in our system which      ·5·   ·   ·   ·not supported by sufficient evidence.
·6·   ·   ·   ·is -- which is how I would have been able to write   ·6·   ·   ·   · · · · · · And, so, could you tell me what -- what
·7·   ·   ·   ·or -- or sign and agree to this -- that number in    ·7·   ·   ·   ·FSA considers sufficient evidence?
·8·   ·   ·   ·this report.                                         ·8·   ·   ·   · · · A· · ·So I -- I would not want to, you know,
·9·   ·   ·   · · · Q· · ·Okay.· And do you know what the           ·9·   ·   ·   ·speak on behalf of the attorneys.· I'm not -- I'm
10·   ·   ·   ·reasoning was to not issue decisions -- denials on   10·   ·   ·   ·not an attorney.· And, so, the -- the measurement
11·   ·   ·   ·applications with little or no relevant evidence     11·   ·   ·   ·of evidence that qualifies and doesn't qualify
12·   ·   ·   ·until December 2019?                                 12·   ·   ·   ·those kind of things are within the internal
13·   ·   ·   · · · A· · ·Could I just ask you to say that one      13·   ·   ·   ·workings of borrower defense.· I wouldn't be in a
14·   ·   ·   ·again?· I lost some of it, I think.                  14·   ·   ·   ·position to tell you, ma'am.
15·   ·   ·   · · · Q· · ·Yeah.                                     15·   ·   ·   · · · Q· · ·And do you know -- have you heard of a
16·   ·   ·   · · · · · · What was the reasoning on not issuing     16·   ·   ·   ·policy within FSA that a signed declaration with a
17·   ·   ·   ·decisions until December 2019 on applications with   17·   ·   ·   ·firsthand account is not considered sufficient
18·   ·   ·   ·little or no relevant evidence?                      18·   ·   ·   ·evidence on its own?
19·   ·   ·   · · · A· · ·For -- for all -- for all applications,   19·   ·   ·   · · · A· · ·Can you say that again, ma'am? A
20·   ·   ·   ·as I stated earlier, the decision was to wait        20·   ·   ·   ·signed what?
21·   ·   ·   ·until we had a methodology developed and to issue    21·   ·   ·   · · · Q· · ·A signed -- a signed declaration by a
22·   ·   ·   ·decisions, both eligible and ineligible, once that   22·   ·   ·   ·borrower is not considered sufficient evidence on
23·   ·   ·   ·methodology had been produced.· And that             23·   ·   ·   ·its own?
24·   ·   ·   ·methodology was produced, as you said earlier, in    24·   ·   ·   · · · A· · ·Right.· I -- I couldn't -- I'm sorry.
25·   ·   ·   ·around that time frame when we started reissuing     25·   ·   ·   ·I couldn't talk to you about that.· I -- I

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·1·   ·   ·   ·decisions in December of 2019.                       ·1·   ·   ·   ·wouldn't know.· I couldn't opine even on -- on all
·2·   ·   ·   · · · Q· · ·Okay.· And you said -- whose decision     ·2·   ·   ·   ·of the -- what I would call the legal decisions of
·3·   ·   ·   ·did you say that was?                                ·3·   ·   ·   ·adjudicating the claim and determining what
·4·   ·   ·   · · · · · · MR. HANCOCK:· Objection: asked and        ·4·   ·   ·   ·evidence rises to the right level to be included,
·5·   ·   ·   ·answered.                                            ·5·   ·   ·   ·but that would be an appropriate question, I
·6·   ·   ·   · · · · · · THE WITNESS:· You're asking me whose      ·6·   ·   ·   ·think, for our -- for the internal workings of our
·7·   ·   ·   ·decision was it to begin issuing decisions?          ·7·   ·   ·   ·borrower defense team.
·8·   ·   ·   · · · BY MS. TORCHIANA:                               ·8·   ·   ·   · · · Q· · ·And would you think that something --
·9·   ·   ·   · · · Q· · ·To not issue any decisions?               ·9·   ·   ·   ·that if a borrower signs something under penalty
10·   ·   ·   · · · A· · ·To not issue any decisions.· That was     10·   ·   ·   ·of perjury that that should count as evidence?
11·   ·   ·   ·the department's decision to wait until the          11·   ·   ·   · · · A· · ·I -- I wouldn't have an opinion on that
12·   ·   ·   ·methodology was -- was developed.                    12·   ·   ·   ·one way or the other.· I would -- I would allow
13·   ·   ·   · · · Q· · ·Yes, but -- but whose decision in the     13·   ·   ·   ·those trained in the legal aspects of what -- what
14·   ·   ·   ·department was it to wait until the methodology      14·   ·   ·   ·counts, what doesn't count, what's permissible,
15·   ·   ·   ·was developed?                                       15·   ·   ·   ·what's not permissible, what rises to the right
16·   ·   ·   · · · · · · MR. HANCOCK:· Objection: asked and        16·   ·   ·   ·level, all those variety of questions would be a
17·   ·   ·   ·answered.· This question has been asked and          17·   ·   ·   ·part of what the trained attorney would do in --
18·   ·   ·   ·answered at least three times at this point.         18·   ·   ·   ·during their adjudication.· They would determine
19·   ·   ·   · · · BY MS. TORCHIANA:                               19·   ·   ·   ·that along with experienced attorneys that are
20·   ·   ·   · · · Q· · ·You can still answer.                     20·   ·   ·   ·running the borrower defense unit.
21·   ·   ·   · · · A· · ·Yeah, the -- I don't -- I don't know      21·   ·   ·   · · · · · · So, again, I think it's an appropriate
22·   ·   ·   ·all the inner workings and the conversations of      22·   ·   ·   ·question for the attorneys doing the work.
23·   ·   ·   ·various department officials.· I can say that the    23·   ·   ·   · · · Q· · ·Okay.· Okay.· And if you could turn to
24·   ·   ·   ·under secretary relays those decisions to Federal    24·   ·   ·   ·paragraph 14.· You write, The department's
25·   ·   ·   ·Student Aid, but I can't tell you -- I can't         25·   ·   ·   ·evaluation of, and decision on, any given borrower


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·1·   ·   ·   ·defense application is an individual process.        ·1·   ·   ·   ·applies to a particular case.· So where are they
·2·   ·   ·   · · · · · · What do you mean by an individual         ·2·   ·   ·   ·at?· I don't think they would ever stop that part
·3·   ·   ·   ·process?                                             ·3·   ·   ·   ·because the process itself doesn't -- doesn't
·4·   ·   ·   · · · A· · ·Can I have a second to reread this,       ·4·   ·   ·   ·stop.
·5·   ·   ·   ·ma'am?                                               ·5·   ·   ·   · · · Q· · ·Okay.· So do you know if there are any
·6·   ·   ·   · · · Q· · ·Yes.                                      ·6·   ·   ·   ·approval protocols that have -- that have been
·7·   ·   ·   · · · A· · ·(Witness reviews document.)               ·7·   ·   ·   ·developed for schools other than ITT and
·8·   ·   ·   · · · · · · Yes, ma'am.· I -- what I mean in          ·8·   ·   ·   ·Corinthian?
·9·   ·   ·   ·paragraph 14 is that each case on its individual     ·9·   ·   ·   · · · A· · ·Approval protocols?
10·   ·   ·   ·merits and in its own adjudication, so cases are     10·   ·   ·   · · · Q· · ·Yes.
11·   ·   ·   ·not the same.· And, so, every case deserves to be    11·   ·   ·   · · · A· · ·I -- I'm certain that the director of
12·   ·   ·   ·adjudicated on its own merits by a qualified         12·   ·   ·   ·borrower defense has procedures and processes.
13·   ·   ·   ·attorney, and that's why we needed to hire more      13·   ·   ·   ·I -- I would not be able to enumerate all of them
14·   ·   ·   ·attorneys because they -- they needed to do that,    14·   ·   ·   ·to you, but I'm certain that they -- that the
15·   ·   ·   ·and that's what I was alluding to in paragraph 14.   15·   ·   ·   ·leader of borrower defense -- I'm confident that
16·   ·   ·   · · · Q· · ·Would FSA ever do a -- a group            16·   ·   ·   ·the leader of borrower defense has procedures and
17·   ·   ·   ·discharge for a group of borrower defense            17·   ·   ·   ·processes in place for multiple different types of
18·   ·   ·   ·applicants who all attended the same school during   18·   ·   ·   ·claims that come in.
19·   ·   ·   ·the same time periods?                               19·   ·   ·   · · · Q· · ·Okay.· And as part of setting the
20·   ·   ·   · · · · · · MR. HANCOCK:· Objection: exceeds the      20·   ·   ·   ·metrics of how many borrower defense applications
21·   ·   ·   ·scope of the court-ordered discovery.                21·   ·   ·   ·you want to be adjudicated, do you consider how
22·   ·   ·   · · · BY MS. TORCHIANA:                               22·   ·   ·   ·many approval protocols have been developed?
23·   ·   ·   · · · Q· · ·You can still answer.                     23·   ·   ·   · · · A· · ·I -- I do this in collaboration with
24·   ·   ·   · · · A· · ·So I think you said would we ever --      24·   ·   ·   ·the subject matter experts, and I take their
25·   ·   ·   ·would we ever do it.· I -- I wouldn't have an        25·   ·   ·   ·recommendations, have dialogue on them.· And there

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·1·   ·   ·   ·answer to an absolute like that.· Would we ever do   ·1·   ·   ·   ·are a number of things that they consider, some of
·2·   ·   ·   ·it?· I don't know if there would be a set of         ·2·   ·   ·   ·which I don't know all the things that they
·3·   ·   ·   ·circumstances.· I don't know off the top of my       ·3·   ·   ·   ·consider.· It may -- those -- those capabilities
·4·   ·   ·   ·head of a set of circumstances.· But I couldn't      ·4·   ·   ·   ·may or may not include approval protocols because
·5·   ·   ·   ·tell you if we would ever do it.· I -- I don't       ·5·   ·   ·   ·that particular term, I'm -- I'm not certain how
·6·   ·   ·   ·know.                                                ·6·   ·   ·   ·the borrower defense unit uses that term.
·7·   ·   ·   · · · Q· · ·Okay.· And in paragraph 16, you           ·7·   ·   ·   · · · · · · So when they -- when the borrower
·8·   ·   ·   ·mentioned that the BDU is continuing its review of   ·8·   ·   ·   ·defense unit tells me that, you know, we can get
·9·   ·   ·   ·common evidence related to several additional        ·9·   ·   ·   ·to so many cases per week and if we have these
10·   ·   ·   ·schools other than those for which it has so far     10·   ·   ·   ·kinds of resources, that's part of the dialogue.
11·   ·   ·   ·approved claims, so other than Corinthian and ITT.   11·   ·   ·   · · · · · · There are many things behind there.
12·   ·   ·   ·It has completed a sufficient preliminary review     12·   ·   ·   ·Approval protocols may be one of them.· I can't
13·   ·   ·   ·of the common evidence to determine its scope        13·   ·   ·   ·say for certain.
14·   ·   ·   ·including time periods and particular acts.          14·   ·   ·   · · · Q· · ·Okay.· So in paragraph 17, you write,
15·   ·   ·   · · · · · · So do you know where this process is      15·   ·   ·   ·As BDU completes its analysis of common evidence,
16·   ·   ·   ·at?                                                  16·   ·   ·   ·the department anticipates there may be an
17·   ·   ·   · · · A· · ·So borrower defense is an ongoing         17·   ·   ·   ·increased number of approvals over time.
18·   ·   ·   ·process.· And by that, I mean, even today I'm sure   18·   ·   ·   · · · · · · And, so, could you tell me -- do you
19·   ·   ·   ·more cases came in, and so cases come in each        19·   ·   ·   ·know how many schools there are -- or how many
20·   ·   ·   ·week.                                                20·   ·   ·   ·categories of schools there are where borrowers'
21·   ·   ·   · · · · · · And part of what we're alluding to        21·   ·   ·   ·applications have been granted so far?
22·   ·   ·   ·there is that as there is evidence on cases and      22·   ·   ·   · · · A· · ·How many schools -- I just want to
23·   ·   ·   ·evidence discovered on cases that's unique that      23·   ·   ·   ·repeat and make sure I understand.· How many
24·   ·   ·   ·borrower defense will continue to review that        24·   ·   ·   ·schools --
25·   ·   ·   ·common evidence and apply it as appropriate if it    25·   ·   ·   · · · Q· · ·How many school groups so far are there


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·1·   ·   ·   ·where there have been approvals?                     ·1·   ·   ·   · · · · · · If there were large numbers and if
·2·   ·   ·   · · · A· · ·I -- I don't know that exact number,      ·2·   ·   ·   ·there was a systemic problem, that is more likely
·3·   ·   ·   ·ma'am.· I -- I -- I don't -- I don't know.           ·3·   ·   ·   ·going to be briefed to me.
·4·   ·   ·   · · · Q· · ·Okay.· And then if we could go forward    ·4·   ·   ·   · · · · · · So -- so knowing that about our process
·5·   ·   ·   ·to -- so we don't have to read through them, but     ·5·   ·   ·   ·and the scale of it, I could never tell you that
·6·   ·   ·   ·in paragraph 23 and 24, you describe some -- some    ·6·   ·   ·   ·there has never been another letter since the one
·7·   ·   ·   ·mistaken -- some errors.· So paragraph 23            ·7·   ·   ·   ·that's referenced in this declaration.
·8·   ·   ·   ·describes mistaken denial letter that went out to    ·8·   ·   ·   · · · Q· · ·Okay.· But you haven't received any
·9·   ·   ·   ·a borrower.                                          ·9·   ·   ·   ·reports of any mistaken denial letters?
10·   ·   ·   · · · · · · Have you spotted any other mistaken       10·   ·   ·   · · · A· · ·Not that I can recall at this moment.
11·   ·   ·   ·approval letters that went out?                      11·   ·   ·   · · · Q· · ·Okay.· And have you received any
12·   ·   ·   · · · A· · ·(Witness reviews document.)               12·   ·   ·   ·reports of mistaken eligibility letters that went
13·   ·   ·   · · · · · · So, ma'am, you mean in paragraph 23       13·   ·   ·   ·out?
14·   ·   ·   ·when we talk about the letter of ineligibility       14·   ·   ·   · · · A· · ·Not -- not that I can recall at this
15·   ·   ·   ·when it should have been eligibility?                15·   ·   ·   ·moment.
16·   ·   ·   · · · Q· · ·Yeah.· Sorry.                             16·   ·   ·   · · · Q· · ·And have there been reports of any
17·   ·   ·   · · · · · · Has FSA spotted any other mistaken        17·   ·   ·   ·other mistakes by the BDU?
18·   ·   ·   ·denial letters going out?                            18·   ·   ·   · · · · · · MR. HANCOCK:· Objection: overbroad.
19·   ·   ·   · · · A· · ·So I -- I don't -- I don't know if        19·   ·   ·   · · · · · · THE WITNESS:· I -- I don't -- so I
20·   ·   ·   ·we've had any of recent, but it's possible.· It's    20·   ·   ·   ·don't know if you're asking me -- are you asking
21·   ·   ·   ·possible that there could be an error                21·   ·   ·   ·me for March 2019 to date have there been any
22·   ·   ·   ·occasionally.                                        22·   ·   ·   ·other mistakes by the BDU unit; is that what
23·   ·   ·   · · · · · · I would say that I know that there is     23·   ·   ·   ·you're talking about?
24·   ·   ·   ·not a systemic error or I would know about that,     24·   ·   ·   · · · BY MS. TORCHIANA:
25·   ·   ·   ·right, because the numbers or the percentages        25·   ·   ·   · · · Q· · ·Yes, while you've been COO.

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·1·   ·   ·   ·would be such that it would rise to a level of       ·1·   ·   ·   · · · A· · ·Yes, like every other part of our
·2·   ·   ·   ·discussion.· We have processes in place for that.    ·2·   ·   ·   ·organization -- well, I could never list them to
·3·   ·   ·   · · · · · · But if it's an isolated error and we      ·3·   ·   ·   ·you now -- there are mistakes somewhere within the
·4·   ·   ·   ·correct it, I may not necessarily know that.         ·4·   ·   ·   ·organization.· How impactful they are, it just
·5·   ·   ·   · · · Q· · ·So are -- so are any -- would mistaken    ·5·   ·   ·   ·depends.· Some are not impactful at all and some
·6·   ·   ·   ·denial letter, would that error be reported to       ·6·   ·   ·   ·may be impactful, but I cannot cite for you any
·7·   ·   ·   ·you, or is there a way to --                         ·7·   ·   ·   ·that were of such a significant impact at borrower
·8·   ·   ·   · · · A· · ·Not necessarily.· You know, again,        ·8·   ·   ·   ·defense that I would know them right off the top
·9·   ·   ·   ·just -- just so that we have full understanding      ·9·   ·   ·   ·of my head as it relates to what is in question
10·   ·   ·   ·here, we have -- and I'll give you an example.· We   10·   ·   ·   ·here today.
11·   ·   ·   ·have attorneys in Chicago, and -- and they have      11·   ·   ·   · · · Q· · ·Okay.· Then in paragraph 24 similarly
12·   ·   ·   ·supervisors there, and then supervisors within the   12·   ·   ·   ·you write, The department will reach out to Sean
13·   ·   ·   ·borrower defense unit within Washington, and they    13·   ·   ·   ·Doe, who was incorrectly advised that he should
14·   ·   ·   ·have supervisors that lead up to the borrower        14·   ·   ·   ·file a FOIA request to obtain his records.
15·   ·   ·   ·defense leader.· Then we have a whole another        15·   ·   ·   · · · · · · Do you know if FSA has provided any
16·   ·   ·   ·process for Step 2.                                  16·   ·   ·   ·records to borrowers who have requested them
17·   ·   ·   · · · · · · There could be -- there could be an       17·   ·   ·   ·since?
18·   ·   ·   ·error lodged with this customer here, with           18·   ·   ·   · · · A· · ·So if we provided any records to
19·   ·   ·   ·Ms. Yvette Colon.· There could be an area where we   19·   ·   ·   ·borrowers who have requested them, I would -- I
20·   ·   ·   ·find through our own systems that someone received   20·   ·   ·   ·would rather have my folks answer that question
21·   ·   ·   ·letter A and should have received another type of    21·   ·   ·   ·because you said "any," and as I said, there --
22·   ·   ·   ·error or got our decisions wrong, and we go out      22·   ·   ·   ·there are a number of cases, and it's -- and it's
23·   ·   ·   ·and correct it, and that's not necessarily           23·   ·   ·   ·possible.· I would not want to give you a
24·   ·   ·   ·something that would get -- that will get briefed    24·   ·   ·   ·definitive answer on that.· But I do believe that
25·   ·   ·   ·to me.                                               25·   ·   ·   ·it's not a matter of a FOIA request as described


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·1·   ·   ·   ·here.                                                ·1·   ·   ·   ·if they have a question and they go ask somebody
·2·   ·   ·   · · · Q· · ·Okay.· We're going to switch tacks a      ·2·   ·   ·   ·that question, it could be anybody in the
·3·   ·   ·   ·little bit and talk about something you mentioned    ·3·   ·   ·   ·organization, right.· They may have to ask is this
·4·   ·   ·   ·earlier in this declaration.· Sorry to keep going    ·4·   ·   ·   ·the appropriate line for this or that, and they
·5·   ·   ·   ·back and forth, but if you go to paragraph 18, you   ·5·   ·   ·   ·may want to talk to someone on the loan servicing
·6·   ·   ·   ·mention that since December 2019, borrower defense   ·6·   ·   ·   ·side or one on the technical writing side.
·7·   ·   ·   ·applicants whose applications are found ineligible   ·7·   ·   ·   ·They -- they're working, so they are -- they are
·8·   ·   ·   ·receive one of four form ineligibility letters.      ·8·   ·   ·   ·bringing their files together to produce a draft.
·9·   ·   ·   · · · · · · Do you know who drafted these form        ·9·   ·   ·   · · · · · · I couldn't tell you everybody they
10·   ·   ·   ·ineligibility letters?                               10·   ·   ·   ·talked to.· I'm just saying that it's possible.
11·   ·   ·   · · · A· · ·So the ineligibility letters are -- are   11·   ·   ·   · · · Q· · ·And were you involved at all in
12·   ·   ·   ·drafted.· Do you mean -- and, again, if I can just   12·   ·   ·   ·drafting these form ineligibility letters?
13·   ·   ·   ·make sure that I -- that we're using the words the   13·   ·   ·   · · · A· · ·So when you say "involved," you mean
14·   ·   ·   ·same way.· So the traditional draft, who is the      14·   ·   ·   ·that I knew what was going on?· That I saw the
15·   ·   ·   ·first person that -- that puts the words on a page   15·   ·   ·   ·staffing process?· Or do you mean that I was
16·   ·   ·   ·and -- and asks everyone else what they think        16·   ·   ·   ·helping to draft it?
17·   ·   ·   ·about it.                                            17·   ·   ·   · · · Q· · ·Any and all of those things.
18·   ·   ·   · · · · · · That -- drafts would begin in Federal     18·   ·   ·   · · · · · · How were you involved in drafting these
19·   ·   ·   ·Student Aid inside of our borrower defense unit      19·   ·   ·   ·letters?
20·   ·   ·   ·and of our folks, drafts would begin there.· I'm     20·   ·   ·   · · · A· · ·I was not helping to draft the letter.
21·   ·   ·   ·sure they were created there.                        21·   ·   ·   ·I was not helping to write what words would go on
22·   ·   ·   · · · Q· · ·Okay.· And who would have drafted them?   22·   ·   ·   ·the letter.· I would not be the right person to do
23·   ·   ·   · · · A· · ·It would have come from our policy        23·   ·   ·   ·that.
24·   ·   ·   ·liaison and borrower defense units.                  24·   ·   ·   · · · · · · What I -- what I was doing was making
25·   ·   ·   · · · Q· · ·And who is your policy liaison?           25·   ·   ·   ·sure that we had an appropriate staffing process

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·1·   ·   ·   · · · A· · ·So it's a team of folks.· The -- the      ·1·   ·   ·   ·and that the controls were in place to make sure
·2·   ·   ·   ·leader on the -- in the policy liaison area is a     ·2·   ·   ·   ·the right people saw the letter -- letters before
·3·   ·   ·   ·Mr. Ian Foss, and the leader on the borrower         ·3·   ·   ·   ·they go final.
·4·   ·   ·   ·defense team I believe is Colleen Nevin.             ·4·   ·   ·   · · · · · · I was very well aware of that.
·5·   ·   ·   · · · · · · And, so, something like preparing what    ·5·   ·   ·   · · · Q· · ·Okay.· And who would you say were the
·6·   ·   ·   ·words should go on a form, which is preparing a      ·6·   ·   ·   ·right people to review those letters before they
·7·   ·   ·   ·draft, would be done collectively between those      ·7·   ·   ·   ·went out?
·8·   ·   ·   ·two parts of the organization.                       ·8·   ·   ·   · · · A· · ·The letters are a statement of policy,
·9·   ·   ·   · · · Q· · ·Okay.· So would you say Ian Foss helped   ·9·   ·   ·   ·and -- and so the final letters would have to be
10·   ·   ·   ·draft these form letters?                            10·   ·   ·   ·gone through the policy outline of the Department
11·   ·   ·   · · · A· · ·Yes, that's what I'm saying.· These       11·   ·   ·   ·of Education and -- and that might be a general
12·   ·   ·   ·letters have been done collaboratively between       12·   ·   ·   ·counsel review and an ultimate approval through
13·   ·   ·   ·those two units, one providing --                    13·   ·   ·   ·the under secretary.
14·   ·   ·   · · · Q· · ·Anybody else?                             14·   ·   ·   · · · Q· · ·Okay.· So could you -- so would that be
15·   ·   ·   · · · A· · ·Inside of FSA?· I can't say that          15·   ·   ·   ·Diane Auer Jones would have reviewed them before
16·   ·   ·   ·there's no one else, but from an organizational      16·   ·   ·   ·they went out?
17·   ·   ·   ·perspective, it would be those two parts of the      17·   ·   ·   · · · A· · ·Yes, if it was a poll- -- it's the
18·   ·   ·   ·organization.· It could be several other people      18·   ·   ·   ·policy letter, she or -- now, I don't work inside
19·   ·   ·   ·that are involved that have questions or those       19·   ·   ·   ·of her office, so she may have protocols
20·   ·   ·   ·kind of things, but those two parts of the           20·   ·   ·   ·established where someone else in the office sees
21·   ·   ·   ·organization would be involved.                      21·   ·   ·   ·it.· So I could not say it was absolutely her that
22·   ·   ·   · · · Q· · ·Okay.· When you say could be several      22·   ·   ·   ·saw every letter.
23·   ·   ·   ·other people, who do you think those several other   23·   ·   ·   · · · · · · I could tell you the Office of the
24·   ·   ·   ·people are?                                          24·   ·   ·   ·Under Secretary would be a part of the staffing
25·   ·   ·   · · · A· · ·So what I'm trying to allude to here is   25·   ·   ·   ·process.


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·1·   ·   ·   · · · Q· · ·Okay.· And what was the process for       ·1·   ·   ·   ·of these letters were produced?
·2·   ·   ·   ·drafting these letters?                              ·2·   ·   ·   · · · A· · ·I do not.
·3·   ·   ·   · · · A· · ·Inside of Federal Student Aid?            ·3·   ·   ·   · · · Q· · ·Okay.· So if you could turn to
·4·   ·   ·   · · · Q· · ·Yeah.                                     ·4·   ·   ·   ·Exhibit 13, which has already been marked as
·5·   ·   ·   · · · A· · ·I can -- I can tell you that -- I can     ·5·   ·   ·   ·Exhibit 13.
·6·   ·   ·   ·tell you the offices that worked to put              ·6·   ·   ·   · · · · · · (Exhibit 13 referred to.)
·7·   ·   ·   ·together -- put together these statements and then   ·7·   ·   ·   · · · BY MS. TORCHIANA:
·8·   ·   ·   ·put together a staff -- what I would call a staff    ·8·   ·   ·   · · · Q· · ·It will be behind tab 13.· If you could
·9·   ·   ·   ·summary sheet for it to be seen by the relevant      ·9·   ·   ·   ·turn to the exhibits, the first one is Exhibit A.
10·   ·   ·   ·parties and sent outside Federal Student Aid.        10·   ·   ·   ·There's a cover page that says Exhibit A?
11·   ·   ·   ·That's -- that's essentially the process.            11·   ·   ·   · · · A· · ·Okay.
12·   ·   ·   · · · · · · So the borrower defense unit, knowing     12·   ·   ·   · · · Q· · ·So this letter, I can represent to you,
13·   ·   ·   ·what the law requires in order for a person to       13·   ·   ·   ·is for Corinthian borrowers who assert job
14·   ·   ·   ·come out and come back in with a -- with a claim     14·   ·   ·   ·placement reclaims that do not meet the
15·   ·   ·   ·and then a policy team working to get that on        15·   ·   ·   ·eligibility criteria for such a claim.
16·   ·   ·   ·paper and get it approved.                           16·   ·   ·   · · · · · · So do you know who prepared this
17·   ·   ·   · · · Q· · ·Do you know when that process             17·   ·   ·   ·particular letter?
18·   ·   ·   ·started -- when the process started for drafting     18·   ·   ·   · · · A· · ·I do not.
19·   ·   ·   ·these letters?                                       19·   ·   ·   · · · Q· · ·Okay.· And do you know --
20·   ·   ·   · · · A· · ·No, I don't, and I don't believe it's a   20·   ·   ·   · · · A· · ·Regarding an individual.· When you say
21·   ·   ·   ·specific time because there are four letters, and    21·   ·   ·   ·"who," you're meaning an individual; correct?
22·   ·   ·   ·they don't all begin or end at the same time. I      22·   ·   ·   · · · Q· · ·Or multiple individuals.· Which people?
23·   ·   ·   ·think they evolved into -- into having four          23·   ·   ·   · · · A· · ·So what I -- what I would say, just to
24·   ·   ·   ·letters.                                             24·   ·   ·   ·be clear, on none of the letters will I be able to
25·   ·   ·   · · · · · · So to answer your questions, no, I        25·   ·   ·   ·tell you what individual put pen to paper and

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·1·   ·   ·   ·don't believe I could tell you exactly when the      ·1·   ·   ·   ·drafted the letter, but I can tell you from an
·2·   ·   ·   ·process began.                                       ·2·   ·   ·   ·organizational perspective where those kinds of
·3·   ·   ·   · · · Q· · ·Okay.· We'll -- we'll go through each     ·3·   ·   ·   ·things happen and where -- and where they come
·4·   ·   ·   ·one and you can tell me when you think the           ·4·   ·   ·   ·from.
·5·   ·   ·   ·drafting of that specific letter began.              ·5·   ·   ·   · · · · · · So if -- if that's the answer to who,
·6·   ·   ·   · · · · · · And -- and do you know how -- how long    ·6·   ·   ·   ·you know, that's -- that's what I know about --
·7·   ·   ·   ·it took to develop these letters?                    ·7·   ·   ·   ·about the letters and drafting them.
·8·   ·   ·   · · · A· · ·I do not.                                 ·8·   ·   ·   · · · Q· · ·Okay.· Sure.· So --
·9·   ·   ·   · · · Q· · ·Okay.· And in terms of who approved       ·9·   ·   ·   · · · A· · ·So if you ask me that question about
10·   ·   ·   ·them, it sounds like that was Diane Auer Jones?      10·   ·   ·   ·this particular letter, I would say it is most
11·   ·   ·   · · · A· · ·The process --                            11·   ·   ·   ·likely the borrower defense unit and the policy
12·   ·   ·   · · · Q· · ·Is that right?                            12·   ·   ·   ·liaison working together collaboratively to
13·   ·   ·   · · · A· · ·Yeah, what I would -- what I would say,   13·   ·   ·   ·bring -- to come together with the draft and then
14·   ·   ·   ·ma'am, is the approval process involves the policy   14·   ·   ·   ·putting it through the staffing process to be seen
15·   ·   ·   ·element, people that could review -- could require   15·   ·   ·   ·by the policy element of the Department of
16·   ·   ·   ·review from the Office of General Counsel, and for   16·   ·   ·   ·Education.
17·   ·   ·   ·it to go through the Office of the Under             17·   ·   ·   · · · Q· · ·Okay.· And do you know if this form is
18·   ·   ·   ·Secretary.                                           18·   ·   ·   ·still being used?
19·   ·   ·   · · · · · · As I stated earlier, I can't tell you     19·   ·   ·   · · · A· · ·(Witness reviews document.)
20·   ·   ·   ·their internal protocols, if the under secretary,    20·   ·   ·   · · · · · · I don't know if this paper form is
21·   ·   ·   ·Diane Jones, approved each particular letter.· But   21·   ·   ·   ·still being used, but there is likely a version of
22·   ·   ·   ·I could tell you that the Office of the Under        22·   ·   ·   ·this form still being used.
23·   ·   ·   ·Secretary would have been involved in the approval   23·   ·   ·   · · · · · · So if you mean this exact form produced
24·   ·   ·   ·of those letters.                                    24·   ·   ·   ·in this exact way, I don't think so.· I think that
25·   ·   ·   · · · Q· · ·Do you have a sense of how many drafts    25·   ·   ·   ·hopefully it's been digitized with the other forms


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·1·   ·   ·   ·and being used in that manner.                       ·1·   ·   ·   ·that common evidence is just that; it is things
·2·   ·   ·   · · · Q· · ·But is it still going out -- is this      ·2·   ·   ·   ·that have been determined, like a program review,
·3·   ·   ·   ·format of the letter still going out to borrowers?   ·3·   ·   ·   ·where a finding was found against the school and
·4·   ·   ·   ·Obviously filled in with relevant information for    ·4·   ·   ·   ·determined to be validated.
·5·   ·   ·   ·the borrower specifically.                           ·5·   ·   ·   · · · · · · And, so, it's available for the
·6·   ·   ·   · · · A· · ·I -- I believe in general that is true,   ·6·   ·   ·   ·attorney doing the adjudication to use as a source
·7·   ·   ·   ·but there -- there may be -- you said format, so     ·7·   ·   ·   ·of evidence.· That could also be Attorney General
·8·   ·   ·   ·it doesn't mean it's the exact same letter.· But     ·8·   ·   ·   ·determinations or other determinations made
·9·   ·   ·   ·if you mean the general format is still continuing   ·9·   ·   ·   ·against a school where -- where if even if the
10·   ·   ·   ·on today, I don't believe we're sending out          10·   ·   ·   ·borrower doesn't submit it themselves, it's
11·   ·   ·   ·notifications.                                       11·   ·   ·   ·common -- commonly known and available to be
12·   ·   ·   · · · · · · But if we were sending out                12·   ·   ·   ·utilized.
13·   ·   ·   ·notifications, if that's your question, would this   13·   ·   ·   · · · · · · That's what I believe we -- we mean
14·   ·   ·   ·form be in presence.· I believe in some form, it     14·   ·   ·   ·when we use the term.
15·   ·   ·   ·would be.                                            15·   ·   ·   · · · Q· · ·Okay.· And do you know if --
16·   ·   ·   · · · Q· · ·Okay.· Now could we turn to Exhibit B,    16·   ·   ·   · · · A· · ·I just want to clarify that -- that
17·   ·   ·   ·which is a couple of pages down.                     17·   ·   ·   ·last -- what I just -- what I just said, I'm
18·   ·   ·   · · · A· · ·Okay.                                     18·   ·   ·   ·giving you my understanding of it as a lay -- from
19·   ·   ·   · · · Q· · ·And this is for current payment           19·   ·   ·   ·a layman's perspective.· That's not something I
20·   ·   ·   ·borrowers who assert the claim other than job        20·   ·   ·   ·practice against a borrower defense claim because
21·   ·   ·   ·placement rights -- or other than job placement      21·   ·   ·   ·I don't do it.· So I'm just telling you from a
22·   ·   ·   ·reclaim.                                             22·   ·   ·   ·layman's perspective and management of borrower
23·   ·   ·   · · · · · · And if you turn to -- let's see.          23·   ·   ·   ·defense, the team, that's how the attorneys have
24·   ·   ·   ·Sorry.· If you turn to the bottom of page 2, it      24·   ·   ·   ·generally explained it.
25·   ·   ·   ·says, In order to have a successful borrower         25·   ·   ·   · · · Q· · ·Right.

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·1·   ·   ·   ·defense claim based on ED's CCI findings, you must   ·1·   ·   ·   · · · · · · And if there's no common evidence, can
·2·   ·   ·   ·have enrolled in one of the covered programs         ·2·   ·   ·   ·a borrower's claim be granted?
·3·   ·   ·   ·during a listed time period.                         ·3·   ·   ·   · · · A· · ·So in -- in general and for
·4·   ·   ·   · · · · · · So do you -- do you know if it's          ·4·   ·   ·   ·generalities, can it be?· I would say every --
·5·   ·   ·   ·possible for a borrower defense claimant to have a   ·5·   ·   ·   ·every claim is adjudicated on its own merit as
·6·   ·   ·   ·successful claim if he enrolled in CCI outside of    ·6·   ·   ·   ·stated earlier, and it just depends on what other
·7·   ·   ·   ·the listed time period?                              ·7·   ·   ·   ·things there are and what other things have been
·8·   ·   ·   · · · A· · ·There may be some other form of --        ·8·   ·   ·   ·brought forth.
·9·   ·   ·   ·of -- of damage or concern for the borrower, so      ·9·   ·   ·   · · · · · · And, so, I would never say it
10·   ·   ·   ·I -- I wouldn't want to make a blanket statement     10·   ·   ·   ·absolutely could not be or absolutely could be. I
11·   ·   ·   ·that said there is nothing.· I -- I would say it     11·   ·   ·   ·could say that every -- every claim is adjudicated
12·   ·   ·   ·just depends on how that attorney would adjudicate   12·   ·   ·   ·based on its own merit.
13·   ·   ·   ·the claim.· I don't -- it depends on the             13·   ·   ·   · · · Q· · ·Okay.· And do you know whether since
14·   ·   ·   ·circumstances.                                       14·   ·   ·   ·you've started has any claim been granted for a
15·   ·   ·   · · · Q· · ·Okay.· And then if you could turn to      15·   ·   ·   ·borrower who attended a school for which there is
16·   ·   ·   ·Exhibit C, and this form is for non-Corinthian       16·   ·   ·   ·no common evidence?
17·   ·   ·   ·borrowers who attended a school for which the        17·   ·   ·   · · · A· · ·I don't know.
18·   ·   ·   ·department does not have any common evidence in      18·   ·   ·   · · · Q· · ·Okay.· And if we could turn to the last
19·   ·   ·   ·its possession.                                      19·   ·   ·   ·form, form D, this form is for non-Corinthian
20·   ·   ·   · · · · · · And so do you -- what do you understand   20·   ·   ·   ·borrowers who attended a school for which the
21·   ·   ·   ·as -- what is common evidence?                       21·   ·   ·   ·department does have common evidence.
22·   ·   ·   · · · A· · ·As I understand it, and I just want to    22·   ·   ·   · · · · · · Could you tell me when form D was
23·   ·   ·   ·provide the context that I -- I don't adjudicate     23·   ·   ·   ·developed?
24·   ·   ·   ·borrower defense cases, so I'm not an attorney.      24·   ·   ·   · · · A· · ·I -- I could not tell you exactly when
25·   ·   ·   · · · · · · But my general understanding of this is   25·   ·   ·   ·it was developed.


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·1·   ·   ·   · · · Q· · ·Do you know roughly when it was           ·1·   ·   ·   ·which an application was decided would be if it
·2·   ·   ·   ·developed?                                           ·2·   ·   ·   ·was decided under the 1995 regs?
·3·   ·   ·   · · · A· · ·I -- I do not.· I think it evolved over   ·3·   ·   ·   · · · A· · ·If the appropriate state law?
·4·   ·   ·   ·time in the -- in the BD unit and possibly liaison   ·4·   ·   ·   · · · Q· · ·Yes.
·5·   ·   ·   ·as circumstances dictated that an additional type    ·5·   ·   ·   · · · · · · If -- if a borrower's application was
·6·   ·   ·   ·of form would be needed.                             ·6·   ·   ·   ·decided according to state law, do you think that
·7·   ·   ·   · · · Q· · ·Okay.· And what circumstances dictated    ·7·   ·   ·   ·law would be stated under the applicable law
·8·   ·   ·   ·that an additional form would be needed?             ·8·   ·   ·   ·section?
·9·   ·   ·   · · · A· · ·I don't know exactly other -- other       ·9·   ·   ·   · · · A· · ·Yeah, that would -- exactly where to
10·   ·   ·   ·than these -- these forms are created based on       10·   ·   ·   ·put something on the form would not be something
11·   ·   ·   ·what is seen in the claims that are being            11·   ·   ·   ·I'd be prepared to opine on.· Exactly where to put
12·   ·   ·   ·adjusted.                                            12·   ·   ·   ·it on the form, I don't know.· I would leave it to
13·   ·   ·   · · · · · · So if you see a circumstance occur        13·   ·   ·   ·those in charge with that to -- to tell me --
14·   ·   ·   ·enough and you believe that claimants need to be     14·   ·   ·   · · · Q· · ·Okay.
15·   ·   ·   ·able to have certain information in order to file    15·   ·   ·   · · · A· · ·-- the laws.
16·   ·   ·   ·a particular claim, you might adjust or make sure    16·   ·   ·   · · · Q· · ·Do you think it would be somewhere on
17·   ·   ·   ·you design a form with that in mind.                 17·   ·   ·   ·the form?
18·   ·   ·   · · · Q· · ·Okay.· And, again, for this form D, who   18·   ·   ·   · · · A· · ·I don't know.· I would -- I would look
19·   ·   ·   ·designed the form?                                   19·   ·   ·   ·to my attorneys to tell me if state law needed to
20·   ·   ·   · · · A· · ·So, again, I would say -- I don't know    20·   ·   ·   ·be on the form or not.· And if -- and if they
21·   ·   ·   ·exactly who, other than forms are a collaboration    21·   ·   ·   ·believe that it would be, it would need to then be
22·   ·   ·   ·between our liaison office and our borrower          22·   ·   ·   ·put through that staffing process I described
23·   ·   ·   ·defense office.· That's how forms are drafted and    23·   ·   ·   ·earlier to make sure those in charge of the forms
24·   ·   ·   ·then approved through our policy element at the      24·   ·   ·   ·and policy elements came to an agreement that, in
25·   ·   ·   ·Department of Education.                             25·   ·   ·   ·fact, it should be.

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·1·   ·   ·   · · · Q· · ·Okay.· And did you have to approve this   ·1·   ·   ·   · · · Q· · ·Okay.· And if you -- if you go to the
·2·   ·   ·   ·form before it started being used?                   ·2·   ·   ·   ·next page, the section it says, What if I do not
·3·   ·   ·   · · · A· · ·I don't necessarily approve each form.    ·3·   ·   ·   ·agree with this decision?
·4·   ·   ·   ·They go -- they go through the staffing process.     ·4·   ·   ·   · · · A· · ·Yeah.
·5·   ·   ·   ·The approval of a form is the -- is -- is the        ·5·   ·   ·   · · · Q· · ·And then it says, number three is,
·6·   ·   ·   ·policy element of what we do because the forms       ·6·   ·   ·   ·Identify and provide any evidence that
·7·   ·   ·   ·represent an extension of policy.                    ·7·   ·   ·   ·demonstrates why ED should approve your borrower
·8·   ·   ·   · · · Q· · ·Okay.· So would you say the denial        ·8·   ·   ·   ·defense repayment claim.
·9·   ·   ·   ·forms are -- they're under policy?                   ·9·   ·   ·   · · · · · · And, you know, you noted actually
10·   ·   ·   · · · · · · MR. HANCOCK:· Objection: asked and        10·   ·   ·   ·earlier in your declaration -- and we can turn
11·   ·   ·   ·answered.                                            11·   ·   ·   ·back to it if you want to see that, but you say
12·   ·   ·   · · · BY MS. TORCHIANA:                               12·   ·   ·   ·that FSA will consider any evidence under
13·   ·   ·   · · · Q· · ·Okay.· Are the denial forms part of       13·   ·   ·   ·reconsideration which includes both new evidence
14·   ·   ·   ·operations?                                          14·   ·   ·   ·and evidence already submitted.
15·   ·   ·   · · · A· · ·So what I -- what I would say is the      15·   ·   ·   · · · · · · When was the choice made to consider
16·   ·   ·   ·drafting of policy forms like the ones that we       16·   ·   ·   ·any evidence as opposed to new evidence?
17·   ·   ·   ·just went through, A through -- through D, begins    17·   ·   ·   · · · A· · ·So I don't -- I don't know the exact
18·   ·   ·   ·inside of Federal Student Aid.                       18·   ·   ·   ·point -- point in time when that became a matter
19·   ·   ·   · · · · · · So it -- it begins as part of             19·   ·   ·   ·of policy and certainly a matter of our forms. I
20·   ·   ·   ·operations, but the final form and the decision on   20·   ·   ·   ·know that it is today, but exactly how -- how long
21·   ·   ·   ·what the form -- that the form is appropriate is a   21·   ·   ·   ·ago that was determined, I -- I don't know.
22·   ·   ·   ·policy decision.                                     22·   ·   ·   · · · Q· · ·Okay.· And would you say that was a
23·   ·   ·   · · · Q· · ·Okay.· So if you look at form D, it       23·   ·   ·   ·policy decision?
24·   ·   ·   ·says, applicable law, and is this somewhere where    24·   ·   ·   · · · A· · ·I'm -- I would -- I would say that
25·   ·   ·   ·you would expect the state law standard under        25·   ·   ·   ·those kind of elements on a form, like, time


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·1·   ·   ·   ·periods and what's allowed are policy decisions.     ·1·   ·   ·   ·don't know -- I can't tell you if any have been
·2·   ·   ·   · · · Q· · ·Okay.· And if a borrower received a       ·2·   ·   ·   ·granted or where those that have come in stand
·3·   ·   ·   ·letter, for instance, where the only reason for      ·3·   ·   ·   ·right now today.
·4·   ·   ·   ·denial under each allegation was insufficient        ·4·   ·   ·   · · · Q· · ·Okay.· And how many have come in
·5·   ·   ·   ·evidence, how would you expect them to reply?        ·5·   ·   ·   ·approximately?
·6·   ·   ·   · · · · · · MR. HANCOCK:· Objection: calls for        ·6·   ·   ·   · · · A· · ·I don't know.· It's a dynamic process
·7·   ·   ·   ·speculation.                                         ·7·   ·   ·   ·where, you know, things come in each day and
·8·   ·   ·   · · · · · · THE WITNESS:· I'm not -- I'm not          ·8·   ·   ·   ·they're sorted out, and at some point when we do
·9·   ·   ·   ·certain, ma'am, on how they would reply.· So for     ·9·   ·   ·   ·our next update, if some new have come in, I
10·   ·   ·   ·an individual, how they would react to that; is      10·   ·   ·   ·probably would see it visible through our metrics
11·   ·   ·   ·that what you're asking me?                          11·   ·   ·   ·or be told, but right now today I couldn't
12·   ·   ·   · · · BY MS. TORCHIANA:                               12·   ·   ·   ·speculate on how many would come in.
13·   ·   ·   · · · Q· · ·If they were to submit a request for      13·   ·   ·   · · · Q· · ·Okay.· When was the last update -- when
14·   ·   ·   ·reconsideration but the only thing that their        14·   ·   ·   ·did you receive the last update that had those
15·   ·   ·   ·denial letter said was insufficient evidence, what   15·   ·   ·   ·numbers?
16·   ·   ·   ·would you expect them to submit?                     16·   ·   ·   · · · A· · ·I believe it was at end-of-November
17·   ·   ·   · · · · · · MR. HANCOCK:· Objection: calls for        17·   ·   ·   ·time frame.
18·   ·   ·   ·speculation.                                         18·   ·   ·   · · · Q· · ·Okay.· And at the end of November, do
19·   ·   ·   · · · · · · THE WITNESS:· So I don't -- I don't       19·   ·   ·   ·you remember roughly how many requests for
20·   ·   ·   ·believe I'm understanding your question.· Are you    20·   ·   ·   ·reconsideration had been received?
21·   ·   ·   ·asking me to kind of assume what -- what a           21·   ·   ·   · · · A· · ·I do not believe it was that many in
22·   ·   ·   ·borrower should do if they get that letter?· What    22·   ·   ·   ·relative terms, meaning given the number of claims
23·   ·   ·   ·does a borrower do if they have a question; is       23·   ·   ·   ·that we do.· But I don't remember exactly how
24·   ·   ·   ·that -- or -- they don't --                          24·   ·   ·   ·many.
25·   ·   ·   · · · BY MS. TORCHIANA:                               25·   ·   ·   · · · Q· · ·And again, these are -- these are the

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·1·   ·   ·   · · · Q· · ·No.                                       ·1·   ·   ·   ·weekly performance metrics we discussed before,
·2·   ·   ·   · · · A· · ·-- know what to do or --                  ·2·   ·   ·   ·correct, that have these numbers?
·3·   ·   ·   · · · Q· · ·We'll get into this more -- we'll get     ·3·   ·   ·   · · · A· · ·They -- they are the metrics for
·4·   ·   ·   ·into a specific letter later, but -- but here you    ·4·   ·   ·   ·borrower defense, correct.
·5·   ·   ·   ·say, Identify and provide any evidence that          ·5·   ·   ·   · · · · · · MS. TORCHIANA:· Okay.· And I think I've
·6·   ·   ·   ·demonstrates why ED should approve your borrower     ·6·   ·   ·   ·already asked, but I think we will be asking for
·7·   ·   ·   ·defense to repayment claim.· And let's say that      ·7·   ·   ·   ·those to be produced.
·8·   ·   ·   ·the reason someone got the denial was just           ·8·   ·   ·   · · · BY MS. TORCHIANA:
·9·   ·   ·   ·insufficient evidence.                               ·9·   ·   ·   · · · Q· · ·Okay.· Do you know if any requests for
10·   ·   ·   · · · · · · How do you think -- what would they put   10·   ·   ·   ·reconsideration have been denied?
11·   ·   ·   ·in their request for reconsideration?                11·   ·   ·   · · · A· · ·As I said earlier, I -- either way, I
12·   ·   ·   · · · · · · MR. HANCOCK:· Objection: calls for        12·   ·   ·   ·don't know in the process if we have gotten around
13·   ·   ·   ·speculation.                                         13·   ·   ·   ·to decisions one way or the other on those yet.
14·   ·   ·   · · · · · · THE WITNESS:· I -- I don't know. I        14·   ·   ·   · · · Q· · ·Okay.
15·   ·   ·   ·don't think I can answer your -- I don't think I     15·   ·   ·   · · · · · · MS. TORCHIANA:· Okay.· Why don't we
16·   ·   ·   ·can answer your question.                            16·   ·   ·   ·take a ten-minute break if that's okay with
17·   ·   ·   · · · BY MS. TORCHIANA:                               17·   ·   ·   ·everyone.
18·   ·   ·   · · · Q· · ·Okay.· Okay.· And do you know -- have     18·   ·   ·   · · · · · · THE WITNESS:· Okay.
19·   ·   ·   ·any requests for reconsideration been granted that   19·   ·   ·   · · · · · · MR. HANCOCK:· That's fine.
20·   ·   ·   ·you know of?                                         20·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Okay.· We are now
21·   ·   ·   · · · A· · ·One second, please.                       21·   ·   ·   ·going off the record.· The time is 20:41 UTC time.
22·   ·   ·   · · · · · · (Witness reviews document.)               22·   ·   ·   · · · · · · (Recess -- 3:41 p.m.)
23·   ·   ·   · · · · · · I don't know if any have been -- have     23·   ·   ·   · · · · · · (After recess -- 3:55 p.m.)
24·   ·   ·   ·been granted.· I only know that some have -- have    24·   ·   ·   · · · · · · THE VIDEOGRAPHER:· We're now back on
25·   ·   ·   ·come in through -- through the process.· I -- I      25·   ·   ·   ·the record.· The time is 20:55 UTC time.


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·1·   ·   ·   · · · BY MS. TORCHIANA:                               ·1·   ·   ·   ·Corporation?
·2·   ·   ·   · · · Q· · ·Mr. Brown, could you turn to tab 15, so   ·2·   ·   ·   · · · A· · ·I -- I wouldn't know.· I have to look
·3·   ·   ·   ·that's Exhibit 15 in the electronic folder.          ·3·   ·   ·   ·on the sheets of paper or sheets that tell you
·4·   ·   ·   · · · · · · (Exhibit 15 referred to.)                 ·4·   ·   ·   ·who -- who owns what school.· I haven't committed
·5·   ·   ·   · · · BY MS. TORCHIANA:                               ·5·   ·   ·   ·that to memory, so I don't know.· I don't know.
·6·   ·   ·   · · · Q· · ·And could you turn to -- it's page 24     ·6·   ·   ·   · · · Q· · ·And on that subject, when you
·7·   ·   ·   ·of 56, and that's in the upper right-hand corner.    ·7·   ·   ·   ·communicate with Ms. Diane Auer Jones, do you
·8·   ·   ·   · · · A· · ·Okay.· I have it.                         ·8·   ·   ·   ·redact or remove any information related to CEC
·9·   ·   ·   · · · Q· · ·Okay.· And this is the affidavit of       ·9·   ·   ·   ·that you know of?
10·   ·   ·   ·Theresa Sweet, the named plaintiff in this case.     10·   ·   ·   · · · · · · MR. HANCOCK:· Objection: exceeds the
11·   ·   ·   ·And as you can see, she -- if you go to              11·   ·   ·   ·scope of the court-ordered discovery.
12·   ·   ·   ·paragraph 3, she submitted her application in the    12·   ·   ·   · · · BY MS. TORCHIANA:
13·   ·   ·   ·fall of 2016.· And if you go to paragraph 4, she     13·   ·   ·   · · · Q· · ·You can still answer.
14·   ·   ·   ·received her decision on July 8th, 2020.             14·   ·   ·   · · · A· · ·Do I -- do I redact anything as it
15·   ·   ·   · · · · · · So how many -- how many years is that     15·   ·   ·   ·relates to this particular school?
16·   ·   ·   ·just to be clear?                                    16·   ·   ·   · · · Q· · ·This school group, yes, or remove it or
17·   ·   ·   · · · A· · ·How many years is it from the fall of     17·   ·   ·   ·anything like that.
18·   ·   ·   ·2016 to July 8th, 2020; is that -- is that what      18·   ·   ·   · · · A· · ·So I cannot -- I don't know all of
19·   ·   ·   ·you're asking me?                                    19·   ·   ·   ·the -- I don't know all of the schools, as I said
20·   ·   ·   · · · Q· · ·Yes.                                      20·   ·   ·   ·earlier, and the subschools that go -- go under
21·   ·   ·   · · · A· · ·I believe that is just shy of four        21·   ·   ·   ·them.· I can tell you that if a -- if a senior
22·   ·   ·   ·years.                                               22·   ·   ·   ·official has a conflict of interest because of
23·   ·   ·   · · · Q· · ·Okay.· Okay.· And just so we're clear,    23·   ·   ·   ·prior employment or something like that, we would
24·   ·   ·   ·previously you've said -- what are the -- what are   24·   ·   ·   ·do a redaction.· And in order to say that this
25·   ·   ·   ·the main reasons you would give for why there was    25·   ·   ·   ·particular school and that was required, I can't

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·1·   ·   ·   ·a delay in -- in her receiving her answer?           ·1·   ·   ·   ·tell you that today.· I would have to go check.
·2·   ·   ·   · · · A· · ·So just to be clear, I can't give you     ·2·   ·   ·   · · · Q· · ·Okay.· So when you've exchanged any
·3·   ·   ·   ·any information about fall of 2016, '17, '18, up     ·3·   ·   ·   ·documents or memos or anything with Diane Auer
·4·   ·   ·   ·until March 2019.                                    ·4·   ·   ·   ·Jones, have you ever -- do you recall ever seeing
·5·   ·   ·   · · · · · · But I can tell you that as of March of    ·5·   ·   ·   ·CEC removed or redacted or anything like that?
·6·   ·   ·   ·2019, the reason that she received, probably,        ·6·   ·   ·   · · · · · · MR. HANCOCK:· Objection: exceeds the
·7·   ·   ·   ·notification is because we addressed the two         ·7·   ·   ·   ·scope.
·8·   ·   ·   ·issues that I brought up.· Those two issues are      ·8·   ·   ·   · · · · · · What category is this relevant to?
·9·   ·   ·   ·having enough attorneys to adjudicate a              ·9·   ·   ·   · · · · · · MS. TORCHIANA:· I would say it's
10·   ·   ·   ·significant workload and investigating in the        10·   ·   ·   ·relevant to two and three.
11·   ·   ·   ·systems and IT technology required to do this job.   11·   ·   ·   · · · BY MS. TORCHIANA:
12·   ·   ·   · · · Q· · ·Okay.· So would you say the reason she    12·   ·   ·   · · · Q· · ·You can still answer unless counsel
13·   ·   ·   ·had to wait four years was because there weren't     13·   ·   ·   ·instructs you not to.
14·   ·   ·   ·enough attorneys and the IT system needed to be      14·   ·   ·   · · · A· · ·I -- I don't know the answer, ma'am.
15·   ·   ·   ·updated?                                             15·   ·   ·   ·I -- I -- again -- I also don't -- I'm not the
16·   ·   ·   · · · A· · ·I -- I wouldn't because I couldn't talk   16·   ·   ·   ·redactor, and I don't -- I don't redact documents
17·   ·   ·   ·to you about '16, '17, '18 and some parts of '19.    17·   ·   ·   ·myself, and if it's redacted on a document that I
18·   ·   ·   ·I can only talk to you about March of 2019           18·   ·   ·   ·get en route to someone, I don't know what has
19·   ·   ·   ·forward, and I can't even say that this particular   19·   ·   ·   ·been redacted.
20·   ·   ·   ·case I could tell you that, in general, those are    20·   ·   ·   · · · · · · And, so, I'm not in a position to
21·   ·   ·   ·the two reasons that borrower defense wasn't able    21·   ·   ·   ·answer your question.
22·   ·   ·   ·to move at the speed that they would have liked to   22·   ·   ·   · · · Q· · ·Okay.· If you turn to page 28, that's
23·   ·   ·   ·have moved.                                          23·   ·   ·   ·the beginning of Ms. Sweet's application.
24·   ·   ·   · · · Q· · ·And she attended Brooks Institute, and    24·   ·   ·   · · · · · · Have you ever seen an application like
25·   ·   ·   ·that is a CEC school, right, the Career Education    25·   ·   ·   ·this?


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·1·   ·   ·   · · · A· · ·(Witness reviews document.)               ·1·   ·   ·   ·following reasons, failure to state a legal claim.
·2·   ·   ·   · · · · · · I -- I believe so.· I've seen one with    ·2·   ·   ·   · · · · · · And do you know how -- how would she
·3·   ·   ·   ·similar categories on it.                            ·3·   ·   ·   ·have written this to state a legal claim?
·4·   ·   ·   · · · Q· · ·Okay.· Could you turn to page 30?         ·4·   ·   ·   · · · · · · MR. HANCOCK:· Objection: calls for
·5·   ·   ·   · · · A· · ·Yes.                                      ·5·   ·   ·   ·speculation.
·6·   ·   ·   · · · Q· · ·And here Ms. Brooks [sic] quotes some     ·6·   ·   ·   · · · · · · THE WITNESS:· So, again, I'll just say
·7·   ·   ·   ·admissions counselors, so here she says, Admission   ·7·   ·   ·   ·that I don't adjudicate claims, and I'll leave the
·8·   ·   ·   ·counselors told her, quote, right out of school,     ·8·   ·   ·   ·adjudication of the actual claims to the borrower
·9·   ·   ·   ·quote -- end of quote that 88 to 90 percent of       ·9·   ·   ·   ·defense attorneys that we have.· And beyond that,
10·   ·   ·   ·graduates were employed.                             10·   ·   ·   ·I could not tell you what to add or delete to a
11·   ·   ·   · · · · · · There's some quotes in the other          11·   ·   ·   ·particular claim to make it something different.
12·   ·   ·   ·paragraphs, et cetera.                               12·   ·   ·   ·I -- that's -- that's not my expertise.
13·   ·   ·   · · · · · · And then if you could turn to page 44,    13·   ·   ·   · · · BY MS. TORCHIANA:
14·   ·   ·   ·could you just confirm that this application is      14·   ·   ·   · · · Q· · ·On the next page, 53, it says, What
15·   ·   ·   ·signed under penalty of perjury?                     15·   ·   ·   ·evidence was considered in determining my
16·   ·   ·   · · · A· · ·(Witness reviews document.)               16·   ·   ·   ·application's ineligibility, and there's a list
17·   ·   ·   · · · · · · Do you mean -- do you mean page 45?       17·   ·   ·   ·here.
18·   ·   ·   · · · Q· · ·Yeah.· Sorry.· Page 44 and 45.            18·   ·   ·   · · · · · · As far as you know, what does it mean
19·   ·   ·   · · · A· · ·And you're asking me is it signed under   19·   ·   ·   ·to have consulted this evidence?
20·   ·   ·   ·penalty of perjury?                                  20·   ·   ·   · · · A· · ·So you -- you said consulted this
21·   ·   ·   · · · Q· · ·Yes.                                      21·   ·   ·   ·evidence.· Is that term here?· Do we say that
22·   ·   ·   · · · · · · And that starts under -- if you start     22·   ·   ·   ·here?
23·   ·   ·   ·at page 44 at Section 6 and just read through.       23·   ·   ·   · · · Q· · ·Considered.· Sure.
24·   ·   ·   · · · A· · ·(Witness reviews document.)               24·   ·   ·   · · · A· · ·I -- I know the generic meaning of the
25·   ·   ·   · · · Q· · ·So is that signed under penalty of        25·   ·   ·   ·term "considered."· It means it was included in

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·1·   ·   ·   ·perjury?                                             ·1·   ·   ·   ·their process; that it was part of the process of
·2·   ·   ·   · · · A· · ·I'm almost done reading it.               ·2·   ·   ·   ·things that was looked at.
·3·   ·   ·   · · · Q· · ·Okay.                                     ·3·   ·   ·   · · · Q· · ·And are there memos or, for example,
·4·   ·   ·   · · · A· · ·(Witness continues to review document.)   ·4·   ·   ·   ·directives that relate to this evidence as it
·5·   ·   ·   · · · · · · Yes.· Yes, ma'am.· It says in the         ·5·   ·   ·   ·relates to Brooks as a school?
·6·   ·   ·   ·second paragraph under Section 6 under penalty of    ·6·   ·   ·   · · · · · · MR. HANCOCK:· Objection: vague.
·7·   ·   ·   ·perjury which subsequently she signs on              ·7·   ·   ·   · · · · · · THE WITNESS:· I'm not sure if I
·8·   ·   ·   ·November 4th --                                      ·8·   ·   ·   ·understand your question.· Do you mean is there --
·9·   ·   ·   · · · Q· · ·Okay.                                     ·9·   ·   ·   ·are there memos within borrower defense or --
10·   ·   ·   · · · A· · ·-- 2016.                                  10·   ·   ·   ·or --
11·   ·   ·   · · · Q· · ·Okay.· And so is -- is a firsthand        11·   ·   ·   · · · BY MS. TORCHIANA:
12·   ·   ·   ·account by a borrower signed like this under         12·   ·   ·   · · · Q· · ·Yeah.
13·   ·   ·   ·penalty of perjury, is that considered evidence?     13·   ·   ·   · · · A· · ·-- is there memos --
14·   ·   ·   · · · A· · ·I don't know, ma'am.· I would not want    14·   ·   ·   · · · Q· · ·Yes.
15·   ·   ·   ·to speculate on what our attorneys view as           15·   ·   ·   · · · A· · ·-- that relate to --
16·   ·   ·   ·acceptable or unacceptable evidence.· I -- I         16·   ·   ·   · · · Q· · ·That relate to this evidence and how
17·   ·   ·   ·believe that's -- I would leave that to their --     17·   ·   ·   ·it's connected to borrower defense claims from
18·   ·   ·   ·to their decisions space and their expertise.        18·   ·   ·   ·Brooks, for example?
19·   ·   ·   · · · Q· · ·And if you could turn to page 52.· It's   19·   ·   ·   · · · A· · ·I believe that -- I believe this is
20·   ·   ·   ·a bit -- it's kind of hard to see.· It's a little    20·   ·   ·   ·what we consider common evidence, and so whatever
21·   ·   ·   ·blacked out.· It's on the top -- top right-hand      21·   ·   ·   ·it is -- whatever evidence it is is inside of
22·   ·   ·   ·side.                                                22·   ·   ·   ·borrower defense.· I don't know if that's
23·   ·   ·   · · · A· · ·I see it.                                 23·   ·   ·   ·answering your question.· I don't know if it comes
24·   ·   ·   · · · Q· · ·Okay.· And here the -- under allegation   24·   ·   ·   ·with a memorandum or if we're just talking
25·   ·   ·   ·number one, it says, This allegation fails for the   25·   ·   ·   ·documents; I don't know that.


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·1·   ·   ·   · · · · · · Level of specificity, just that the       ·1·   ·   ·   · · · · · · MR. HANCOCK:· I'm sorry.· Can I just
·2·   ·   ·   ·evidence was reviewed and therefore was probably     ·2·   ·   ·   ·clarify what document we're looking at?· Is it the
·3·   ·   ·   ·on hand somewhere within borrower defense.           ·3·   ·   ·   ·Exhibit A in -- in Exhibit 19?
·4·   ·   ·   · · · Q· · ·Okay.· We'll -- we'll move on.            ·4·   ·   ·   · · · · · · MS. TORCHIANA:· No, it's 19, and it's
·5·   ·   ·   · · · · · · Could you turn to Exhibit 19 which is     ·5·   ·   ·   ·Attachment 1, which is behind Exhibit A.· You see
·6·   ·   ·   ·behind tab 19?                                       ·6·   ·   ·   ·the stamp is page --
·7·   ·   ·   · · · · · · (Exhibit 19 referred to.)                 ·7·   ·   ·   · · · · · · MR. HANCOCK:· 145-2.
·8·   ·   ·   · · · · · · THE WITNESS:· I have it here.             ·8·   ·   ·   · · · · · · MS. TORCHIANA:· Yeah, 145-2, page 1 of
·9·   ·   ·   · · · BY MS. TORCHIANA:                               ·9·   ·   ·   ·15.
10·   ·   ·   · · · Q· · ·Okay.· And -- and just before we --       10·   ·   ·   · · · · · · MR. HANCOCK:· Okay.· Thank you.
11·   ·   ·   ·just before we get into that, I wanted to ask a      11·   ·   ·   · · · · · · THE WITNESS:· (Reviews document.)
12·   ·   ·   ·follow-up question about something we were talking   12·   ·   ·   · · · · · · This is a -- this is my declaration at
13·   ·   ·   ·about before.                                        13·   ·   ·   ·Attachment 1, attachment -- or Exhibit A.
14·   ·   ·   · · · · · · Have you seen any documents with          14·   ·   ·   · · · BY MS. TORCHIANA:
15·   ·   ·   ·redactions -- with, you know, redactions of school   15·   ·   ·   · · · Q· · ·Okay.· And when you turn to
16·   ·   ·   ·groups that are related to borrower defense?         16·   ·   ·   ·Attachment 1, have you seen this chart before?
17·   ·   ·   · · · A· · ·Have I -- have I seen any documents       17·   ·   ·   · · · A· · ·I -- I have.
18·   ·   ·   ·that were redacted related --                        18·   ·   ·   · · · Q· · ·Okay.· Do you know who put this chart
19·   ·   ·   · · · Q· · ·Not in --                                 19·   ·   ·   ·together?
20·   ·   ·   · · · A· · ·-- to borrower defense.                   20·   ·   ·   · · · A· · ·I -- I don't know specifically who, but
21·   ·   ·   · · · Q· · ·Have you seen any documents where the     21·   ·   ·   ·I believe it is most likely our borrower defense
22·   ·   ·   ·school group -- where any information about a        22·   ·   ·   ·group and the folks that were in that area.
23·   ·   ·   ·school group is redacted?                            23·   ·   ·   · · · Q· · ·Okay.· And who do you think it would
24·   ·   ·   · · · · · · MR. HANCOCK:· Objection.                  24·   ·   ·   ·have been in the borrower defense group?
25·   ·   ·   · · · · · · THE WITNESS:· I have.                     25·   ·   ·   · · · A· · ·I would never be able -- I don't know,

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·1·   ·   ·   · · · · · · MR. HANCOCK:· Exceeds the scope of        ·1·   ·   ·   ·ma'am.· You mean who within all of the borrower
·2·   ·   ·   ·court-ordered discovery.                             ·2·   ·   ·   ·defense group that actually did this chart?
·3·   ·   ·   · · · · · · THE WITNESS:· So I have seen documents    ·3·   ·   ·   · · · Q· · ·Yeah, who -- who do you think --
·4·   ·   ·   ·where words are redacted out.                        ·4·   ·   ·   · · · A· · ·I don't know.
·5·   ·   ·   · · · BY MS. TORCHIANA:                               ·5·   ·   ·   · · · Q· · ·-- compiled it?
·6·   ·   ·   · · · Q· · ·About -- were those words related to      ·6·   ·   ·   · · · A· · ·I don't know.
·7·   ·   ·   ·specific school groups?                              ·7·   ·   ·   · · · Q· · ·Okay.· If you had questions about this
·8·   ·   ·   · · · A· · ·I don't recall what they were related     ·8·   ·   ·   ·chart, about the contents of it, who would you
·9·   ·   ·   ·to, but if you're -- the first part of your          ·9·   ·   ·   ·ask?
10·   ·   ·   ·question, have I seen documents in the -- in the     10·   ·   ·   · · · A· · ·So the way we're organized, I would --
11·   ·   ·   ·staffing process and the ruling process where        11·   ·   ·   ·I would go to the deputy chief operating officer
12·   ·   ·   ·there are -- where there are redactions, I have.     12·   ·   ·   ·for partner participation and oversight, and I
13·   ·   ·   ·I've seen documents where words were redacted out.   13·   ·   ·   ·would --
14·   ·   ·   · · · Q· · ·I don't mean redactions in general. I     14·   ·   ·   · · · Q· · ·And who is that?
15·   ·   ·   ·meant redactions related to specific school          15·   ·   ·   · · · A· · ·That's Ms. Robin Minor.
16·   ·   ·   ·groups.                                              16·   ·   ·   · · · Q· · ·Okay.
17·   ·   ·   · · · A· · ·That -- that particular -- I -- I just    17·   ·   ·   · · · A· · ·And I would ask her my question.
18·   ·   ·   ·don't recall if it was related to school groups or   18·   ·   ·   · · · Q· · ·Okay.
19·   ·   ·   ·not.                                                 19·   ·   ·   · · · A· · ·She might ask who -- whoever is
20·   ·   ·   · · · Q· · ·If you could take a look at Exhibit 19.   20·   ·   ·   ·required to get the answer and ultimately I would
21·   ·   ·   ·Do you recognize this document -- actually, if you   21·   ·   ·   ·get my answer then.
22·   ·   ·   ·could turn to -- your declaration is in the front,   22·   ·   ·   · · · Q· · ·Okay.· And have you ever -- have you
23·   ·   ·   ·but if you could turn to Attachment 1, that would    23·   ·   ·   ·ever asked anybody questions about this chart?
24·   ·   ·   ·be helpful.                                          24·   ·   ·   · · · A· · ·I don't require -- I don't remember or
25·   ·   ·   · · · · · · Do you recognize this document?           25·   ·   ·   ·recall asking questions about this specific


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·1·   ·   ·   ·document.· I do not.                                 ·1·   ·   ·   ·that -- the reasons for which the common evidence
·2·   ·   ·   · · · · · · However, I see a lot of documents, and    ·2·   ·   ·   ·is put there is outside of the scope of those
·3·   ·   ·   ·I would never tell you in its entirety that this     ·3·   ·   ·   ·dates and things that are provided in column 2.
·4·   ·   ·   ·particular document I remember seeing it on that     ·4·   ·   ·   · · · Q· · ·Okay.· So what would happen to an
·5·   ·   ·   ·day and I asked or didn't ask questions.· I was --   ·5·   ·   ·   ·application -- so let's just take this as an
·6·   ·   ·   ·I can only tell you that looking at it now, I        ·6·   ·   ·   ·example.· What would happen to an application by a
·7·   ·   ·   ·don't recall any questions that I would have         ·7·   ·   ·   ·borrower who enrolled after October 1st, 2012, and
·8·   ·   ·   ·asked.                                               ·8·   ·   ·   ·didn't make any allegations relating to
·9·   ·   ·   · · · Q· · ·Okay.· And do you know -- do you know     ·9·   ·   ·   ·partnerships with large companies or programmatic
10·   ·   ·   ·what documents were used to put this chart           10·   ·   ·   ·accreditation?
11·   ·   ·   ·together, like what are the sources of -- well,      11·   ·   ·   · · · A· · ·So if they didn't -- you mean, if they
12·   ·   ·   ·why don't you answer that question first.            12·   ·   ·   ·didn't -- if they -- if column 2 applied to them
13·   ·   ·   · · · A· · ·What was used to do this chart?           13·   ·   ·   ·and so none of the common evidence, at least as --
14·   ·   ·   · · · Q· · ·Yeah.                                     14·   ·   ·   ·as displayed here, was applicable to their case?
15·   ·   ·   · · · A· · ·I -- I would assume, and let me answer    15·   ·   ·   · · · Q· · ·Yes.
16·   ·   ·   ·your -- your question first.· Do -- do I know what   16·   ·   ·   · · · A· · ·The -- the attorney would adjudicate
17·   ·   ·   ·documents were used to put together this chart?      17·   ·   ·   ·the case.
18·   ·   ·   ·No.                                                  18·   ·   ·   · · · Q· · ·Okay.
19·   ·   ·   · · · Q· · ·Okay.· What do you -- what do you         19·   ·   ·   · · · A· · ·And determine it for some other reason
20·   ·   ·   ·think -- where do you think this information is      20·   ·   ·   ·that there was reasons for the claim to be
21·   ·   ·   ·coming from or what documents do you think this      21·   ·   ·   ·relevant.
22·   ·   ·   ·information is coming from?                          22·   ·   ·   · · · Q· · ·Okay.· And when they were adjudicating
23·   ·   ·   · · · A· · ·The expertise of the borrower defense     23·   ·   ·   ·the claim, what evidence would they rely on?
24·   ·   ·   ·unit and their various working papers, those kinds   24·   ·   ·   · · · A· · ·I don't know.· It depends on
25·   ·   ·   ·of things.                                           25·   ·   ·   ·everything -- every case has to be adjudicated in

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·1·   ·   ·   · · · Q· · ·Okay.· Okay.· So could you explain to     ·1·   ·   ·   ·a very individualized way.· So -- so I don't know.
·2·   ·   ·   ·me what column 2 represents?                         ·2·   ·   ·   ·I mean, it depends on what came in that case.
·3·   ·   ·   · · · A· · ·Yes, ma'am.· So this chart is -- is       ·3·   ·   ·   ·Maybe something could have been provided by the
·4·   ·   ·   ·listing in column 3 all of the common evidence       ·4·   ·   ·   ·borrower; maybe there could be something outside
·5·   ·   ·   ·that has been collected, and in -- and in            ·5·   ·   ·   ·of the scope of what's in that common evidence.
·6·   ·   ·   ·column 1 -- or available.· And in column 1, the      ·6·   ·   ·   · · · · · · It just depends.· You could only answer
·7·   ·   ·   ·name of the school for which the evidence may        ·7·   ·   ·   ·the question that you asked on the specific case
·8·   ·   ·   ·relate to.                                           ·8·   ·   ·   ·and the lawyer here to tell you how that specific
·9·   ·   ·   · · · · · · But column 2 sets out some stipulations   ·9·   ·   ·   ·case was adjudicated.· I would not want to
10·   ·   ·   ·for which there would be an exclusion -- meaning,    10·   ·   ·   ·speculate.
11·   ·   ·   ·if whatever issue is brought up falls within a       11·   ·   ·   · · · Q· · ·Okay.· And you said something that
12·   ·   ·   ·time frame, for instance, that is not covered, or    12·   ·   ·   ·would be outside the scope of common evidence.
13·   ·   ·   ·an enrollment date that's not covered.               13·   ·   ·   ·Can you think of examples of what that would be?
14·   ·   ·   · · · · · · And while that's not exclusive, it just   14·   ·   ·   · · · A· · ·I -- I could not, but I don't do this
15·   ·   ·   ·says in general that the evidence in these time      15·   ·   ·   ·on a day-to-day basis.· I'm -- I'm certain that an
16·   ·   ·   ·frames are different, and -- and so a claim could    16·   ·   ·   ·attorney might find something that if they were
17·   ·   ·   ·be against Apollo Group but be outside the scope     17·   ·   ·   ·seeing all of these, they're familiar with them.
18·   ·   ·   ·of that time period and therefore the common         18·   ·   ·   ·They may find something.
19·   ·   ·   ·evidence may not apply.                              19·   ·   ·   · · · · · · But if you're asking me what it could
20·   ·   ·   · · · Q· · ·So let's take the Apollo Group for        20·   ·   ·   ·be, not -- not knowing Apollo Group or the
21·   ·   ·   ·example.· So if a borrower is within one of these    21·   ·   ·   ·University of Phoenix or any of these other than
22·   ·   ·   ·categories in column 2, that means they don't fit    22·   ·   ·   ·the names on the paper, the answer is I don't
23·   ·   ·   ·within the evidence that's in column 3; is that      23·   ·   ·   ·know.
24·   ·   ·   ·right?                                               24·   ·   ·   · · · Q· · ·Okay.· And let's say a borrower who
25·   ·   ·   · · · A· · ·That's -- that's most likely.· That --    25·   ·   ·   ·fits into this column 2, so let's take a borrower


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·1·   ·   ·   ·from the University of Phoenix who fits into this    ·1·   ·   ·   · · · Q· · ·So to be clear, if an applicant from
·2·   ·   ·   ·first category, let's say the only thing they        ·2·   ·   ·   ·the University of Phoenix fits into column 3,
·3·   ·   ·   ·submitted was a firsthand account of their           ·3·   ·   ·   ·their application relates to this common evidence,
·4·   ·   ·   ·experience signed under penalty of perjury.          ·4·   ·   ·   ·their application would be adjudicated at Step 1?
·5·   ·   ·   · · · · · · Would that be considered evidence to      ·5·   ·   ·   · · · · · · MR. HANCOCK:· Objection: vague.
·6·   ·   ·   ·support their claim?                                 ·6·   ·   ·   · · · · · · THE WITNESS:· I don't -- I don't know
·7·   ·   ·   · · · A· · ·Could you say that again?· I'm sorry,     ·7·   ·   ·   ·if -- if you're asking me is adjudication going
·8·   ·   ·   ·ma'am.· You -- you --                                ·8·   ·   ·   ·on, do our attorneys the way we describe it here
·9·   ·   ·   · · · Q· · ·I'm sorry.                                ·9·   ·   ·   ·today adjudicate claims in Step 1, then the answer
10·   ·   ·   · · · A· · ·Signed under the penalty of perjury,      10·   ·   ·   ·to that question is yes.
11·   ·   ·   ·and after that you lost me.· I'm sorry.              11·   ·   ·   · · · · · · Again, that answer is yes.· Claims
12·   ·   ·   · · · Q· · ·Okay.· I'll repeat the question.          12·   ·   ·   ·are -- if you're asking me if the Apollo Group
13·   ·   ·   · · · · · · So let's say a borrower who attended      13·   ·   ·   ·and -- and something that's in column 3 absolutely
14·   ·   ·   ·University of Phoenix and fits into column 2, so     14·   ·   ·   ·means that a case will be adjudicated under our
15·   ·   ·   ·she enrolled after October 1st, 2012, and didn't     15·   ·   ·   ·processes, I can't answer because I don't -- I
16·   ·   ·   ·make any allegations relating to partnerships with   16·   ·   ·   ·don't know.· I would -- I would say now the lawyer
17·   ·   ·   ·large companies or programmatic accreditation, and   17·   ·   ·   ·has the common evidence and the lawyer has
18·   ·   ·   ·she had a firsthand account of her experience        18·   ·   ·   ·everything before them.
19·   ·   ·   ·being defrauded at the University of Phoenix,        19·   ·   ·   · · · · · · What they and how they do it is why we
20·   ·   ·   ·obviously signed under penalty of perjury.           20·   ·   ·   ·have them.· They -- they know those things. I
21·   ·   ·   · · · · · · Would her application be considered       21·   ·   ·   ·cannot tell you that absolutely, yes, it would be
22·   ·   ·   ·evidence?                                            22·   ·   ·   ·done, or absolutely, no, it won't be done. I
23·   ·   ·   · · · A· · ·I -- I couldn't answer.· I would leave    23·   ·   ·   ·don't know the answer to that because I'm not a
24·   ·   ·   ·the -- kind of the assessment of evidence and what   24·   ·   ·   ·trained attorney.
25·   ·   ·   ·qualifies and what doesn't qualify, what rises to    25·   ·   ·   · · · BY MS. TORCHIANA:

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·1·   ·   ·   ·the level.· As I stated earlier, that's not an       ·1·   ·   ·   · · · Q· · ·Okay.· And just do you know whether any
·2·   ·   ·   ·area that I can give you answers on.                 ·2·   ·   ·   ·applicants of the University of Phoenix -- do you
·3·   ·   ·   · · · · · · I go back to my previous answer that an   ·3·   ·   ·   ·know whether any applications have been approved?
·4·   ·   ·   ·attorney would have to adjudicate this case on its   ·4·   ·   ·   · · · A· · ·I would want to consult -- I know that
·5·   ·   ·   ·own merits and then they would make the decisions    ·5·   ·   ·   ·there are applications from the University of
·6·   ·   ·   ·to the kinds of questions and scenarios that you     ·6·   ·   ·   ·Phoenix.· I know that they are going through our
·7·   ·   ·   ·are raising.                                         ·7·   ·   ·   ·process.· But rather than just kind of tell you
·8·   ·   ·   · · · Q· · ·Okay.· And then what about applications   ·8·   ·   ·   ·off the top of my head, I would have to have -- I
·9·   ·   ·   ·that do fit into the scope of common evidence, so    ·9·   ·   ·   ·would have to look at the official records and
10·   ·   ·   ·that do fit into column 3?· What happens to those?   10·   ·   ·   ·determine.
11·   ·   ·   · · · A· · ·They're adjudicated, and the common       11·   ·   ·   · · · Q· · ·Okay.· And have any been denied?
12·   ·   ·   ·evidence is a part of that adjudication.             12·   ·   ·   · · · A· · ·Same -- the same answer, ma'am.· I'd
13·   ·   ·   · · · Q· · ·They are adjudicated both at Step 1 and   13·   ·   ·   ·have to -- I'd have to look at the official
14·   ·   ·   ·Step 2?                                              14·   ·   ·   ·records and then I could cite for you status.
15·   ·   ·   · · · A· · ·So to -- to kind of recap, Step 1 is      15·   ·   ·   · · · Q· · ·Okay.· Let's -- let's go over one more
16·   ·   ·   ·the adjudication process.· Step -- Step 2 is when    16·   ·   ·   ·school group.· So could you turn to page 3 of the
17·   ·   ·   ·you're using the Department of                       17·   ·   ·   ·attachment?· And in the top right corner, it will
18·   ·   ·   ·Education-determined methodology to assess the       18·   ·   ·   ·say page 4 of 5 in the ECF stamp.
19·   ·   ·   ·mathematical part of what percentage of relief       19·   ·   ·   · · · A· · ·I have 4 of 15; is that right?
20·   ·   ·   ·will be granted.· And then you'll go on through      20·   ·   ·   · · · Q· · ·Yeah, sorry.· Four of 15.
21·   ·   ·   ·the administrative process that we talked about      21·   ·   ·   · · · A· · ·Okay.
22·   ·   ·   ·for which the borrower would be notified.            22·   ·   ·   · · · Q· · ·So this is Career Education Corp. which
23·   ·   ·   · · · · · · So at least in the way that I defined     23·   ·   ·   ·we were just speaking about.· And just as a
24·   ·   ·   ·it, Step 1 takes care of your adjudication           24·   ·   ·   ·question, do you know whether Diane Auer Jones
25·   ·   ·   ·process.                                             25·   ·   ·   ·ever received this fraud list?


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·1·   ·   ·   · · · A· · ·Received -- if she received this list?    ·1·   ·   ·   ·read this.· And the attempt here is to explain
·2·   ·   ·   · · · Q· · ·Yeah.                                     ·2·   ·   ·   ·that by virtue of -- by virtue of the columns so
·3·   ·   ·   · · · A· · ·I -- I don't know.· I --                  ·3·   ·   ·   ·everyone can see it for these particular schools
·4·   ·   ·   · · · Q· · ·Okay.                                     ·4·   ·   ·   ·that are picked.
·5·   ·   ·   · · · A· · ·I don't know.                             ·5·   ·   ·   · · · · · · It is not the adjudication of the claim
·6·   ·   ·   · · · Q· · ·And, so, if you could just explain        ·6·   ·   ·   ·itself.· It's not decisional documents.· Those are
·7·   ·   ·   ·column 2 to me.· It says, Categories of              ·7·   ·   ·   ·things the attorney would be doing for each case
·8·   ·   ·   ·applications determined not to be within the scope   ·8·   ·   ·   ·individually.
·9·   ·   ·   ·of the common evidence listed in column 3.· And      ·9·   ·   ·   · · · Q· · ·Okay.· And do you know how these
10·   ·   ·   ·then could you -- could you go down and explain --   10·   ·   ·   ·determinations are made?
11·   ·   ·   ·so it says, All schools:· Borrowers who make         11·   ·   ·   · · · A· · ·When you say determinations --
12·   ·   ·   ·allegations regarding programmatic accreditations.   12·   ·   ·   · · · Q· · ·Of who fits into the scope of common
13·   ·   ·   · · · · · · And then, of course, it says,             13·   ·   ·   ·evidence.
14·   ·   ·   ·Applications that do not fit the criteria below.     14·   ·   ·   · · · A· · ·I don't know the particulars about each
15·   ·   ·   · · · · · · Could you just explain to me how that     15·   ·   ·   ·piece of common evidence because it's -- you know,
16·   ·   ·   ·works?                                               16·   ·   ·   ·it's -- it varies.· It depends on which one of
17·   ·   ·   · · · A· · ·Again, column 3 is the available          17·   ·   ·   ·these we're talking about and what list we're
18·   ·   ·   ·evidence for this particular school that's being     18·   ·   ·   ·talking about.
19·   ·   ·   ·characterized as common evidence.· Column 2 is       19·   ·   ·   · · · · · · But I -- but I do know their findings
20·   ·   ·   ·intended to be situations which don't apply to the   20·   ·   ·   ·inside the common evidence, and that's what is --
21·   ·   ·   ·common evidence found.                               21·   ·   ·   ·is being used.· And -- and the answer to your
22·   ·   ·   · · · · · · And, so, I don't know each of these       22·   ·   ·   ·question of who determines, I don't know who
23·   ·   ·   ·specifics, but at least theoretically that's how     23·   ·   ·   ·specifically determines.· I know that this is a
24·   ·   ·   ·that column is designed.· And, so, these things      24·   ·   ·   ·function of the borrower defense unit, and
25·   ·   ·   ·would be those things that don't match to the        25·   ·   ·   ·therefore this is a product of the borrower

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·1·   ·   ·   ·issues that are found in the common evidence in      ·1·   ·   ·   ·defense unit.· So the thought for work that has to
·2·   ·   ·   ·column 3.                                            ·2·   ·   ·   ·go into it occurs in there.
·3·   ·   ·   · · · Q· · ·Okay.· Well -- okay.                      ·3·   ·   ·   · · · Q· · ·Okay.· And who do you think would have
·4·   ·   ·   · · · A· · ·And if you notice, some of these have     ·4·   ·   ·   ·made these determinations within the borrower
·5·   ·   ·   ·dates, right.                                        ·5·   ·   ·   ·defense unit?
·6·   ·   ·   · · · Q· · ·Uh-huh.                                   ·6·   ·   ·   · · · A· · ·I -- I don't know, ma'am.
·7·   ·   ·   · · · A· · ·Periods that are very similar to the      ·7·   ·   ·   · · · Q· · ·Okay.· Okay.· Let's move on to the next
·8·   ·   ·   ·one we just discussed.                               ·8·   ·   ·   ·exhibit.· Could you turn to Exhibit 18, the -- the
·9·   ·   ·   · · · Q· · ·Let's say I'm a borrower who attended     ·9·   ·   ·   ·oversight committee press release.
10·   ·   ·   ·the Western School of Health and Business or         10·   ·   ·   · · · · · · (Exhibit 18 referred to.)
11·   ·   ·   ·Pittsburgh Career Institute, and I enrolled          11·   ·   ·   · · · · · · THE WITNESS:· I have it here.
12·   ·   ·   ·between May 1, 1999 and May 22, 2004.· Am I within   12·   ·   ·   · · · BY MS. TORCHIANA:
13·   ·   ·   ·the scope of common evidence or not?                 13·   ·   ·   · · · Q· · ·Okay.· And do you recognize this press
14·   ·   ·   · · · A· · ·On the surface of this, based on me       14·   ·   ·   ·release?
15·   ·   ·   ·reading it, on the surface of it -- and let me       15·   ·   ·   · · · A· · ·I do.
16·   ·   ·   ·just clarify before I answer.· Not for me to         16·   ·   ·   · · · Q· · ·I'm sorry.· I didn't -- I didn't catch
17·   ·   ·   ·determine.· I -- this is not for me to determine.    17·   ·   ·   ·that?
18·   ·   ·   · · · · · · But the intent of, say, that time         18·   ·   ·   · · · A· · ·I do.
19·   ·   ·   ·period does not include what's been found in         19·   ·   ·   · · · Q· · ·Okay.· And have you read it?
20·   ·   ·   ·column 3.· And, so, for these reasons before you,    20·   ·   ·   · · · A· · ·I read this -- if this is an exact
21·   ·   ·   ·the common evidence of this, I read that to mean     21·   ·   ·   ·copy, which, you know, I'd have to read through it
22·   ·   ·   ·that they would not have a claim for that            22·   ·   ·   ·and see.· If this is an exact copy of what was
23·   ·   ·   ·particular common evidence.                          23·   ·   ·   ·released in the House Oversight Committee, then
24·   ·   ·   · · · · · · They may have something else.· There      24·   ·   ·   ·I've read it.· I have not read what's before me
25·   ·   ·   ·may be other things there.· But that's how I would   25·   ·   ·   ·here that I just pulled out of the exhibits.


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·1·   ·   ·   · · · · · · I'll just leave it as that.· If it is     ·1·   ·   ·   ·they mean by tool, but I -- but -- but that's what
·2·   ·   ·   ·the -- if it is what was released on around this     ·2·   ·   ·   ·we -- that's what we had.· The borrower defense
·3·   ·   ·   ·time from the House committee and I see that --      ·3·   ·   ·   ·form was digitized and placed on the portal so
·4·   ·   ·   ·hold on one second and I'll tell you.                ·4·   ·   ·   ·that people could get it and utilize it.
·5·   ·   ·   · · · Q· · ·Okay.                                     ·5·   ·   ·   · · · · · · This press release is an attempt, I
·6·   ·   ·   · · · A· · ·Hold on.                                  ·6·   ·   ·   ·believe, to describe that process.· I would know
·7·   ·   ·   · · · · · · (Witness reviews document.)               ·7·   ·   ·   ·that process because -- because we own it.· We --
·8·   ·   ·   · · · · · · Yes, ma'am, I read it.                    ·8·   ·   ·   ·Federal Student Aid owns it.· It's the operations
·9·   ·   ·   · · · Q· · ·Okay.· And do you generally understand    ·9·   ·   ·   ·of what we do, how we -- how we go out and engage
10·   ·   ·   ·the issue that it's discussing?                      10·   ·   ·   ·customers of all types and make things intuitive
11·   ·   ·   · · · A· · ·I -- I do understand it.                  11·   ·   ·   ·for them to use -- to answer your question of why
12·   ·   ·   · · · Q· · ·Okay.· And had you heard of any issues    12·   ·   ·   ·I would know this particular subject.
13·   ·   ·   ·with this tool that it's discussing?                 13·   ·   ·   · · · Q· · ·Okay.· And you said you felt -- or
14·   ·   ·   · · · · · · MR. HANCOCK:· I object to the scope --    14·   ·   ·   ·you -- I am -- I suppose you implied you felt this
15·   ·   ·   ·I object to this line of questioning as exceeding    15·   ·   ·   ·press release was inaccurate.
16·   ·   ·   ·the scope of the court-ordered discovery.            16·   ·   ·   · · · · · · Could you describe to me in your terms
17·   ·   ·   · · · BY MS. TORCHIANA:                               17·   ·   ·   ·or how you understand what happened with -- with
18·   ·   ·   · · · Q· · ·You can still answer.                     18·   ·   ·   ·this Web tool related to the borrower defense?
19·   ·   ·   · · · · · · THE WITNESS:· Am -- am I required to      19·   ·   ·   · · · · · · MR. HANCOCK:· Objection to the scope.
20·   ·   ·   ·answer here?                                         20·   ·   ·   · · · BY MS. TORCHIANA:
21·   ·   ·   · · · · · · MR. HANCOCK:· You may answer, General     21·   ·   ·   · · · Q· · ·You can still answer.
22·   ·   ·   ·Brown.                                               22·   ·   ·   · · · A· · ·So I don't understand this press
23·   ·   ·   · · · · · · THE WITNESS:· Okay.· Can you ask me the   23·   ·   ·   ·release.· The distinction here -- the distinction
24·   ·   ·   ·question again?· I'm trying to understand.           24·   ·   ·   ·I'm trying to make here is I understand the
25·   ·   ·   · · · · · · Do I know anything about the press        25·   ·   ·   ·automation of our forms and the use of them on the

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·1·   ·   ·   ·release?                                             ·1·   ·   ·   ·digital customer care platform.· This is a very
·2·   ·   ·   · · · BY MS. TORCHIANA:                               ·2·   ·   ·   ·technical kind of issue.· I would understand that
·3·   ·   ·   · · · Q· · ·No.· Sir, the press release mentions a    ·3·   ·   ·   ·because it's a part of our operations and what we
·4·   ·   ·   ·tool designed to ease the borrower defense           ·4·   ·   ·   ·do.
·5·   ·   ·   ·application process that was frozen by Diane Auer    ·5·   ·   ·   · · · · · · But -- but you're asking me do I
·6·   ·   ·   ·Jones.                                               ·6·   ·   ·   ·understand this press release, I -- I think.
·7·   ·   ·   · · · · · · And are you familiar with -- with this    ·7·   ·   ·   ·And -- and the answer to that is, no, I don't
·8·   ·   ·   ·issue?· Do you remember hearing about it?· Were      ·8·   ·   ·   ·understand this press release other than they're
·9·   ·   ·   ·you involved in it?                                  ·9·   ·   ·   ·referencing a tool that's a part of what we use in
10·   ·   ·   · · · A· · ·Yes.                                      10·   ·   ·   ·our digital customer care platform.
11·   ·   ·   · · · Q· · ·Okay.· And what was your involvement      11·   ·   ·   · · · Q· · ·Okay.· And -- and what tool is that?
12·   ·   ·   ·with this Web tool?                                  12·   ·   ·   ·You mentioned it was the -- you mentioned
13·   ·   ·   · · · A· · ·So whoever wrote this doesn't             13·   ·   ·   ·something about the BDU form being placed on the
14·   ·   ·   ·accurately describe some of the -- the -- the        14·   ·   ·   ·Web site.
15·   ·   ·   ·procedures, the techniques.· And, so, the reason I   15·   ·   ·   · · · A· · ·So -- so we automated the form.· We
16·   ·   ·   ·ask do I have to answer is because I wouldn't use    16·   ·   ·   ·made the form a smart form and placed it as one
17·   ·   ·   ·any of the terms that you just read here.            17·   ·   ·   ·item on the digital customer care platform.
18·   ·   ·   · · · · · · You said this tool and a -- I'm           18·   ·   ·   · · · · · · So if you go out to studentaid.gov and
19·   ·   ·   ·familiar with this because we own a digital          19·   ·   ·   ·you look at the various little symbols out there
20·   ·   ·   ·customer care portal, and the digital customer       20·   ·   ·   ·and you have a FAFSA ID, and you hit this
21·   ·   ·   ·care portal is a digitized front door for all        21·   ·   ·   ·particular icon, you can get into a smart form --
22·   ·   ·   ·student engagement products that come out of         22·   ·   ·   ·or link you can get into a smart form.
23·   ·   ·   ·Federal Student Aid.· It's a part of what we call    23·   ·   ·   · · · · · · I believe that's what this press
24·   ·   ·   ·the next generation of Federal Student Aid.          24·   ·   ·   ·release was attempting to describe.
25·   ·   ·   · · · · · · It's -- it's -- so I don't know what      25·   ·   ·   · · · Q· · ·And did Diane Auer Jones stop this


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·1·   ·   ·   ·smart form from going on the FSA Web site or on      ·1·   ·   ·   ·but it lacked a control number for paper
·2·   ·   ·   ·the digital customer care platform?                  ·2·   ·   ·   ·reduction.· And, so, we took it down to make sure
·3·   ·   ·   · · · · · · MR. HANCOCK:· Objection to the scope.     ·3·   ·   ·   ·we got that appropriate control number, and then
·4·   ·   ·   · · · BY MS. TORCHIANA:                               ·4·   ·   ·   ·we put back up the exact same form.· So --
·5·   ·   ·   · · · Q· · ·You can still answer.                     ·5·   ·   ·   · · · Q· · ·Okay.· Do you remember how long it was
·6·   ·   ·   · · · · · · MS. TORCHIANA:· And just for the          ·6·   ·   ·   ·taken down for?
·7·   ·   ·   ·record --                                            ·7·   ·   ·   · · · A· · ·I don't -- no, ma'am.· I can't tell you
·8·   ·   ·   · · · BY MS. TORCHIANA:                               ·8·   ·   ·   ·how many days.· It wasn't very long.· It did not
·9·   ·   ·   · · · Q· · ·Well, you can still answer.               ·9·   ·   ·   ·take very long to -- to do that process and get it
10·   ·   ·   · · · A· · ·The form is on the -- is on the digital   10·   ·   ·   ·back up.· It may -- it may have been three or four
11·   ·   ·   ·customer care platform today.                        11·   ·   ·   ·days or something like that, but I don't remember
12·   ·   ·   · · · Q· · ·Okay.· I --                               12·   ·   ·   ·exactly how long it was.
13·   ·   ·   · · · A· · ·So nobody stopped it if I understand      13·   ·   ·   · · · Q· · ·Okay.· So if you turn to page 3, the
14·   ·   ·   ·your question right.· It's there.· It's -- what I    14·   ·   ·   ·press release says, According to the
15·   ·   ·   ·describe to you is a reality.· It's the form that    15·   ·   ·   ·whistleblower, Jones halted the Web tool because
16·   ·   ·   ·people use.                                          16·   ·   ·   ·it was too user-friendly and would have helped too
17·   ·   ·   · · · Q· · ·Okay.· And at any point, was the form     17·   ·   ·   ·many borrowers complete the application correctly,
18·   ·   ·   ·halted or taken down?                                18·   ·   ·   ·without any disqualifying mistakes.
19·   ·   ·   · · · A· · ·All of our forms, as I spoke of earlier   19·   ·   ·   · · · · · · Is that accurate?
20·   ·   ·   ·when we were talking about the four different        20·   ·   ·   · · · A· · ·I -- I don't know in this case what
21·   ·   ·   ·types of forms, all of our forms are -- are          21·   ·   ·   ·they are talking about, and that's why I didn't
22·   ·   ·   ·elements of policy; they're extensions of policy.    22·   ·   ·   ·want to comment on the press release.· I -- I
23·   ·   ·   · · · · · · And, so, rightfully so, they are          23·   ·   ·   ·don't know -- I couldn't tell you.· I don't know
24·   ·   ·   ·staffed through the department, the Office of the    24·   ·   ·   ·what the whistleblower is referring to.· That's
25·   ·   ·   ·General Counsel, the Office of the Under Secretary   25·   ·   ·   ·the term they use here, whistleblower said. I

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·1·   ·   ·   ·in order to get final approvals.· When those forms   ·1·   ·   ·   ·don't remember the term "effectively killing"
·2·   ·   ·   ·are in their final format that they're going to      ·2·   ·   ·   ·being used in anything or conversation that I've
·3·   ·   ·   ·be, we execute by taking them to whatever the        ·3·   ·   ·   ·had.
·4·   ·   ·   ·delivery mode may be.                                ·4·   ·   ·   · · · Q· · ·Okay.
·5·   ·   ·   · · · · · · The form that's attempting -- that        ·5·   ·   ·   · · · A· · ·I don't know if it's accurate or not,
·6·   ·   ·   ·we're attempting to describe here today went just    ·6·   ·   ·   ·ma'am.
·7·   ·   ·   ·like that.· Went through the staffing process.       ·7·   ·   ·   · · · Q· · ·Okay.· And have you ever heard anyone
·8·   ·   ·   ·When that staffing process was over, we placed it    ·8·   ·   ·   ·with -- or have you ever heard the under secretary
·9·   ·   ·   ·with our contractor for the purpose of having it     ·9·   ·   ·   ·suggest that it's too easy to apply for borrower
10·   ·   ·   ·on our digital customer care platform.               10·   ·   ·   ·defense?
11·   ·   ·   · · · Q· · ·And, so, was it ever removed from the     11·   ·   ·   · · · · · · MR. HANCOCK:· Objection to the scope.
12·   ·   ·   ·digital customer care platform?                      12·   ·   ·   · · · · · · THE WITNESS:· No, I can't recall her
13·   ·   ·   · · · · · · MR. HANCOCK:· Objection: scope.           13·   ·   ·   ·saying it's too easy to apply for borrower
14·   ·   ·   · · · · · · THE WITNESS:· Let me make sure I          14·   ·   ·   ·defense.
15·   ·   ·   ·understand your question.· Was it ever removed       15·   ·   ·   · · · BY MS. TORCHIANA:
16·   ·   ·   ·from the -- you mean, did the form come down and     16·   ·   ·   · · · Q· · ·Not necessarily in those words, but
17·   ·   ·   ·go back up?                                          17·   ·   ·   ·anything along those lines?
18·   ·   ·   · · · BY MS. TORCHIANA:                               18·   ·   ·   · · · · · · MR. HANCOCK:· Same objection.
19·   ·   ·   · · · Q· · ·Or did it -- was it supposed to --        19·   ·   ·   · · · · · · THE WITNESS:· I don't -- I don't recall
20·   ·   ·   ·okay.· Did the form go up and then did it go back    20·   ·   ·   ·her saying that it was too easy to apply for
21·   ·   ·   ·down?                                                21·   ·   ·   ·borrower defense.
22·   ·   ·   · · · A· · ·Yes.· Yes, the form -- this particular    22·   ·   ·   · · · · · · MS. TORCHIANA:· Okay.· Could we take a
23·   ·   ·   ·form went up.· It lacked an appropriate control      23·   ·   ·   ·ten-minute break?· Is that okay with everyone?
24·   ·   ·   ·number for what's called paper reduction.· I know    24·   ·   ·   · · · · · · MR. HANCOCK:· That's fine with me.
25·   ·   ·   ·this is far more technical maybe than you want,      25·   ·   ·   · · · · · · Is that okay with you, General Brown?


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·1·   ·   ·   · · · · · · MS. BERMAN:· Are we wrapping up?          ·1·   ·   ·   ·Office of Federal Student Aid.· And I said that to
·2·   ·   ·   · · · · · · THE VIDEOGRAPHER:· You want to go off     ·2·   ·   ·   ·say that they executed decisions on policy.· They
·3·   ·   ·   ·the record?                                          ·3·   ·   ·   ·don't make them.
·4·   ·   ·   · · · · · · MS. BERMAN:· Sure.                        ·4·   ·   ·   · · · Q· · ·Do you think Robin Minor would have
·5·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Okay.· We're going     ·5·   ·   ·   ·made that decision?
·6·   ·   ·   ·off the record.· The time is 21:45 UTC.              ·6·   ·   ·   · · · A· · ·So Robin Minor works directly for me as
·7·   ·   ·   · · · · · · (Recess -- 4:47 p.m.)                     ·7·   ·   ·   ·one of the deputy chief operating officers, and
·8·   ·   ·   · · · · · · (After recess -- 4:55 p.m.)               ·8·   ·   ·   ·the borrower defense unit is under her.· So I say
·9·   ·   ·   · · · · · · THE VIDEOGRAPHER:· We're now back on      ·9·   ·   ·   ·that to say that she works inside of Federal
10·   ·   ·   ·the record.· The time is 21:55 UTC.                  10·   ·   ·   ·Student Aid, so she would not make a policy
11·   ·   ·   · · · BY MS. TORCHIANA:                               11·   ·   ·   ·decision.· She would execute them.
12·   ·   ·   · · · Q· · ·Okay.· Mr. Brown, I'm -- so there are a   12·   ·   ·   · · · Q· · ·Okay.· And would Secretary DeVos have
13·   ·   ·   ·couple of questions or topics that I wanted to       13·   ·   ·   ·made that decision?
14·   ·   ·   ·circle back on.· One thing we've been discussing     14·   ·   ·   · · · A· · ·So again, as I said earlier, I don't
15·   ·   ·   ·you mentioned earlier on that there was a decision   15·   ·   ·   ·know who made the decision.· The decisions on
16·   ·   ·   ·or guidance not to issue any decisions until the     16·   ·   ·   ·policy come from the Department of Education and
17·   ·   ·   ·tiered relief methodology was in place.              17·   ·   ·   ·are relayed to me through the Office of the Under
18·   ·   ·   · · · · · · Could you tell me again who made that     18·   ·   ·   ·Secretary.
19·   ·   ·   ·decision?                                            19·   ·   ·   · · · Q· · ·Okay.· And similarly, for the denial
20·   ·   ·   · · · · · · MR. HANCOCK:· Objection: asked and        20·   ·   ·   ·letters, who -- who has the authority -- just
21·   ·   ·   ·answered; misstates testimony.                       21·   ·   ·   ·going back -- back to that subject -- who has the
22·   ·   ·   · · · · · · THE WITNESS:· So I -- I couldn't -- I     22·   ·   ·   ·authority to authorize changes to the form of
23·   ·   ·   ·couldn't speak to who, specifically the -- kind of   23·   ·   ·   ·denial letters?
24·   ·   ·   ·the inner workings of what happened at the           24·   ·   ·   · · · A· · ·Who has the authority to authorize --
25·   ·   ·   ·department.· But I can -- I can tell you that        25·   ·   ·   · · · Q· · ·Any changes to the form of denial

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·1·   ·   ·   ·policy decisions are -- come to me through the       ·1·   ·   ·   ·letters?
·2·   ·   ·   ·Office of the Under Secretary, and that -- and       ·2·   ·   ·   · · · A· · ·To the denial letter forms?· You mean
·3·   ·   ·   ·that this was no different.                          ·3·   ·   ·   ·take off question 3 and put on question 4, those
·4·   ·   ·   · · · BY MS. TORCHIANA:                               ·4·   ·   ·   ·kind of things?
·5·   ·   ·   · · · Q· · ·So did Diane Auer Jones make the          ·5·   ·   ·   · · · Q· · ·Yeah.
·6·   ·   ·   ·decision that the BDU wouldn't issue any decisions   ·6·   ·   ·   · · · A· · ·The final -- the final decision on what
·7·   ·   ·   ·while the Calvillo injunction was in place?          ·7·   ·   ·   ·goes on at what -- what -- how the form will be
·8·   ·   ·   · · · · · · MR. HANCOCK:· Objection: asked and        ·8·   ·   ·   ·constructed, what it will have on it is a -- is,
·9·   ·   ·   ·answered.                                            ·9·   ·   ·   ·in fact, an extension of policy.· It's a policy
10·   ·   ·   · · · · · · THE WITNESS:· I couldn't tell you who,    10·   ·   ·   ·decision.
11·   ·   ·   ·as I said earlier, because I don't know.· But I      11·   ·   ·   · · · Q· · ·So would -- would Diane Auer Jones have
12·   ·   ·   ·could tell you that the Office of the Under          12·   ·   ·   ·the final say over whether to approve any changes
13·   ·   ·   ·Secretary would have relayed that decision to me.    13·   ·   ·   ·to the denial forms?
14·   ·   ·   ·Lots, you know, could be going on in the decision    14·   ·   ·   · · · A· · ·So I couldn't tell you who, but I -- I
15·   ·   ·   ·making process that I'm just not aware of on the     15·   ·   ·   ·could tell you that those -- those policies would
16·   ·   ·   ·policy side.                                         16·   ·   ·   ·go through the process of Office of General
17·   ·   ·   · · · BY MS. TORCHIANA:                               17·   ·   ·   ·Counsel, Office of Under Secretary, and we would
18·   ·   ·   · · · Q· · ·Did you ask her who came up with that     18·   ·   ·   ·have to have something back in general from --
19·   ·   ·   ·decision?                                            19·   ·   ·   ·from those offices before we would move forward
20·   ·   ·   · · · A· · ·No.                                       20·   ·   ·   ·with an approved form.
21·   ·   ·   · · · Q· · ·Okay.· Do you know whether Ms. Colleen    21·   ·   ·   · · · Q· · ·And then to go back to another
22·   ·   ·   ·Nevin had a role in making that decision?            22·   ·   ·   ·question, when we spoke about the partial relief
23·   ·   ·   · · · A· · ·So Colleen Nevin is the director of the   23·   ·   ·   ·methodology, part of that involves earnings
24·   ·   ·   ·borrower defense unit, which is part of partner      24·   ·   ·   ·tables, it sounds like.· How many schools has the
25·   ·   ·   ·participation and oversight which is within the      25·   ·   ·   ·department issued earnings relief tables for?


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·1·   ·   ·   · · · · · · MR. HANCOCK:· Objection.· It exceeds      ·1·   ·   ·   ·full -- through this full speech.· But if you --
·2·   ·   ·   ·the scope of discovery.                              ·2·   ·   ·   ·by familiar, do you mean if I know when this was
·3·   ·   ·   · · · · · · THE WITNESS:· I don't know, ma'am.        ·3·   ·   ·   ·given, the title that's up at the top and --
·4·   ·   ·   · · · BY MS. TORCHIANA:                               ·4·   ·   ·   · · · Q· · ·Were you there?
·5·   ·   ·   · · · Q· · ·You don't know.                           ·5·   ·   ·   · · · A· · ·It's all -- it was a virtual
·6·   ·   ·   · · · · · · Okay.· Do you think knowing that          ·6·   ·   ·   ·conference.
·7·   ·   ·   ·information would have been relevant to setting      ·7·   ·   ·   · · · Q· · ·Okay.· Were you listening -- did you --
·8·   ·   ·   ·your -- your target metrics for the number of        ·8·   ·   ·   ·did you hear this speech?
·9·   ·   ·   ·adjudications going out?                             ·9·   ·   ·   · · · A· · ·I was virtually there.· I -- I was -- I
10·   ·   ·   · · · A· · ·Just to be clear, I said I didn't know.   10·   ·   ·   ·was on the -- on the platform, I think would be
11·   ·   ·   ·I didn't say that there wasn't someone who may       11·   ·   ·   ·the way to -- to explain it.· And I did the
12·   ·   ·   ·have known and may have been a part of that and it   12·   ·   ·   ·introduction, and I listened while the speech was
13·   ·   ·   ·may have been a part of the setting and the          13·   ·   ·   ·given.
14·   ·   ·   ·establishing of metrics.                             14·   ·   ·   · · · Q· · ·Okay.
15·   ·   ·   · · · · · · But if you are assuming the premise       15·   ·   ·   · · · A· · ·So if -- if that -- if that is what you
16·   ·   ·   ·that it wasn't used in that discussion, I can't      16·   ·   ·   ·mean by am I familiar with it, in that regard, I
17·   ·   ·   ·validate that that premise is correct.· I could      17·   ·   ·   ·am.· But if -- but if you mean have I read this
18·   ·   ·   ·only say that I don't know.· You know, I couldn't    18·   ·   ·   ·speech, the script that was provided here in the
19·   ·   ·   ·tell you which ones were in and which ones were      19·   ·   ·   ·information that you sent me, then the answer to
20·   ·   ·   ·out at that time.· I couldn't tell you that the      20·   ·   ·   ·that is I have not.
21·   ·   ·   ·subject matter experts and the technicians and the   21·   ·   ·   · · · Q· · ·Okay.· And could you go to page 3 of 6?
22·   ·   ·   ·policy liaison folks and the folks that are inside   22·   ·   ·   ·It's in small -- it's on the bottom right-hand
23·   ·   ·   ·the bowels of the organization, they may have been   23·   ·   ·   ·side of the page.
24·   ·   ·   ·familiar with that, and it could have been a part    24·   ·   ·   · · · A· · ·Yes, ma'am.
25·   ·   ·   ·of their deliberations, but I don't know             25·   ·   ·   · · · Q· · ·And could you read me the paragraph

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·1·   ·   ·   ·personally.                                          ·1·   ·   ·   ·that starts with, Still more advance?
·2·   ·   ·   · · · Q· · ·Okay.· And that 150,000 number of         ·2·   ·   ·   · · · A· · ·Still more advance the truly insidious
·3·   ·   ·   ·targeted adjudications for borrower defense          ·3·   ·   ·   ·notion of government gift giving.· We've heard
·4·   ·   ·   ·applications, by adjudications, is that decisions    ·4·   ·   ·   ·shrill calls to cancel, to forgive, to make it all
·5·   ·   ·   ·that have been processed and sent to borrowers, or   ·5·   ·   ·   ·free.· Any innocuous label out there can't
·6·   ·   ·   ·what do you consider an adjudicated decision that    ·6·   ·   ·   ·obfuscate what it really is: wrong.
·7·   ·   ·   ·counts towards that 150,000?                         ·7·   ·   ·   · · · Q· · ·Okay.· And what do you -- what did you
·8·   ·   ·   · · · A· · ·So when I look at the metric, I take a    ·8·   ·   ·   ·understand this to mean, or what do you understand
·9·   ·   ·   ·holistic look at it.· And so to get a check in       ·9·   ·   ·   ·this to mean?
10·   ·   ·   ·that column, I'm looking for the full circle,        10·   ·   ·   · · · · · · MR. HANCOCK:· Objection: exceeds the
11·   ·   ·   ·which is what we have called today Step 1 and Step   11·   ·   ·   ·scope of discovery.· What's the relevance of this
12·   ·   ·   ·2, to have been completed.                           12·   ·   ·   ·to the court's three categories?
13·   ·   ·   · · · Q· · ·Okay.· Okay.· I have a couple more        13·   ·   ·   · · · BY MS. TORCHIANA:
14·   ·   ·   ·things to go over, and then -- so -- so could you    14·   ·   ·   · · · Q· · ·You can still answer.
15·   ·   ·   ·turn to tab 33?                                      15·   ·   ·   · · · A· · ·You're asking me what do I believe that
16·   ·   ·   · · · · · · MS. TORCHIANA:· And could we mark that    16·   ·   ·   ·statement is?
17·   ·   ·   ·as Exhibit 30?                                       17·   ·   ·   · · · Q· · ·Yeah, what do you understand this
18·   ·   ·   · · · · · · (Deposition Exhibit 30 was marked for     18·   ·   ·   ·statement to mean.
19·   ·   ·   ·identification and attached to the transcript.)      19·   ·   ·   · · · · · · MR. HANCOCK:· Calls for speculation.
20·   ·   ·   · · · BY MS. TORCHIANA:                               20·   ·   ·   · · · · · · THE WITNESS:· I am -- can you give me a
21·   ·   ·   · · · Q· · ·And are you familiar with this speech     21·   ·   ·   ·second to read it again?
22·   ·   ·   ·by Secretary DeVos?                                  22·   ·   ·   · · · BY MS. TORCHIANA:
23·   ·   ·   · · · A· · ·(Witness reviews document.)               23·   ·   ·   · · · Q· · ·Yeah.
24·   ·   ·   · · · · · · I'm familiar with the event.· The --      24·   ·   ·   · · · A· · ·(Witness reviews document.)
25·   ·   ·   ·the speech itself, I have not read through this      25·   ·   ·   · · · · · · I don't know what it means.· It was --


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·1·   ·   ·   ·it was obviously written by a speechwriter.· Those   ·1·   ·   ·   · · · · · · THE WITNESS:· Yes.
·2·   ·   ·   ·are not -- those are not terms I use.· I don't --    ·2·   ·   ·   · · · BY MS. TORCHIANA:
·3·   ·   ·   ·I don't know what it means.                          ·3·   ·   ·   · · · Q· · ·Okay.· And are you familiar with this
·4·   ·   ·   · · · Q· · ·Okay.· And -- sure.                       ·4·   ·   ·   ·PowerPoint?· Have you seen it before?
·5·   ·   ·   · · · · · · And have you ever heard Ms. DeVos in      ·5·   ·   ·   · · · A· · ·(Witness reviews document.)
·6·   ·   ·   ·your private meetings with her express these same    ·6·   ·   ·   · · · · · · So, ma'am, I believe I have seen it
·7·   ·   ·   ·sentiments?                                          ·7·   ·   ·   ·before.
·8·   ·   ·   · · · · · · MR. HANCOCK:· Object to the scope of      ·8·   ·   ·   · · · Q· · ·Okay.· So when did you see it?
·9·   ·   ·   ·discovery, and I'm going to instruct the witness     ·9·   ·   ·   · · · A· · ·I cannot -- I cannot tell you when, but
10·   ·   ·   ·not to answer.                                       10·   ·   ·   ·I believe in some of our staff at work and our
11·   ·   ·   · · · · · · MS. TORCHIANA:· Okay.· Could -- could     11·   ·   ·   ·updates, I have seen these charts before.
12·   ·   ·   ·we go off the record?                                12·   ·   ·   · · · Q· · ·Okay.· And in what context would you
13·   ·   ·   · · · · · · MR. HANCOCK:· Sure.                       13·   ·   ·   ·have seen it?
14·   ·   ·   · · · · · · MS. TORCHIANA:· I think that's            14·   ·   ·   · · · A· · ·Updates from the borrower defense team,
15·   ·   ·   ·exactly --                                           15·   ·   ·   ·preparing for updates, those kinds of things.
16·   ·   ·   · · · · · · THE COURT REPORTER:· Wait, wait, wait.    16·   ·   ·   · · · Q· · ·Okay.· And did you receive regular
17·   ·   ·   ·Wait a minute.· Wait a minute.· You're not off.      17·   ·   ·   ·updates from the borrower defense team?
18·   ·   ·   ·He's got to read you off.                            18·   ·   ·   · · · A· · ·So I don't know.· I would say the
19·   ·   ·   · · · · · · MS. TORCHIANA:· I'm sorry.                19·   ·   ·   ·updates from the borrower defense team I receive
20·   ·   ·   · · · · · · THE COURT REPORTER:· That's okay.         20·   ·   ·   ·vary, as I stated earlier.· It just depends on
21·   ·   ·   · · · · · · THE VIDEOGRAPHER:· We're going off the    21·   ·   ·   ·what's going on, you know, what needs to be
22·   ·   ·   ·record; right?                                       22·   ·   ·   ·discussed, and I'm not sure if you would consider
23·   ·   ·   · · · · · · THE COURT REPORTER:· Yes.                 23·   ·   ·   ·that regular or not.
24·   ·   ·   · · · · · · MS. TORCHIANA:· It seems to be --         24·   ·   ·   · · · Q· · ·Okay.· And this presentation is from
25·   ·   ·   · · · · · · THE COURT REPORTER:· Yes.                 25·   ·   ·   ·August 21st, 2019.· And if you turn to page 2, it

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·1·   ·   ·   · · · · · · Wait a minute.                            ·1·   ·   ·   ·says, Total borrower defense applications as of
·2·   ·   ·   · · · · · · MS. TORCHIANA:· -- relevant --            ·2·   ·   ·   ·the week ending August 6th, 2019.
·3·   ·   ·   · · · · · · THE COURT REPORTER:· Wait a minute.       ·3·   ·   ·   · · · · · · Do you know whether these presentations
·4·   ·   ·   · · · · · · MS. TORCHIANA:· -- to point --            ·4·   ·   ·   ·were given weekly or . . .
·5·   ·   ·   · · · · · · THE COURT REPORTER:· No.· He asked the    ·5·   ·   ·   · · · A· · ·(Witness reviews document.)
·6·   ·   ·   ·question.                                            ·6·   ·   ·   · · · · · · No, I can't tell you that they were
·7·   ·   ·   · · · · · · Dan, yes, please take us off the          ·7·   ·   ·   ·given weekly.
·8·   ·   ·   ·record.                                              ·8·   ·   ·   · · · Q· · ·Okay.· And were you -- was this
·9·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Thank you.· We're      ·9·   ·   ·   ·presentation given to you, or in what context did
10·   ·   ·   ·now off the record at ten -- 23:07 UTC.              10·   ·   ·   ·you see this PowerPoint?
11·   ·   ·   · · · · · · (Recess -- 5:07 p.m.)                     11·   ·   ·   · · · A· · ·Because these -- because I have seen, I
12·   ·   ·   · · · · · · (After recess -- 5:09 p.m.)               12·   ·   ·   ·think, most of these slides at different times and
13·   ·   ·   · · · · · · THE VIDEOGRAPHER:· We're now back on      13·   ·   ·   ·perhaps some more than once over time.· Your
14·   ·   ·   ·the record.· The time is 22:09 UTC time.             14·   ·   ·   ·particular question of when was this presentation
15·   ·   ·   · · · BY MS. TORCHIANA:                               15·   ·   ·   ·given to me, I don't -- I don't know that date. I
16·   ·   ·   · · · Q· · ·Okay.· And, so, Mr. Brown, are you --     16·   ·   ·   ·just can say for sure that I have seen the slides
17·   ·   ·   ·are you declining to answer what you think this      17·   ·   ·   ·that you are talking about.
18·   ·   ·   ·sentence means?                                      18·   ·   ·   · · · Q· · ·Okay.
19·   ·   ·   · · · A· · ·The answer is I don't know.               19·   ·   ·   · · · A· · ·It's not all at the same time is my
20·   ·   ·   · · · Q· · ·You -- you don't know.· Okay.             20·   ·   ·   ·point.· Different things, different types,
21·   ·   ·   · · · · · · Okay.· Let's move on.· Let's go to our    21·   ·   ·   ·different updates.
22·   ·   ·   ·final exhibit, and then we'll be done.               22·   ·   ·   · · · Q· · ·Okay.· And the second line says, 38,700
23·   ·   ·   · · · · · · Could you turn to Exhibit -- let's        23·   ·   ·   ·applications have been adjudicated but not yet
24·   ·   ·   ·see -- Exhibit 12?                                   24·   ·   ·   ·processed.
25·   ·   ·   · · · · · · (Exhibit 12 referred to.)                 25·   ·   ·   · · · · · · As -- as we've been describing it,


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·1·   ·   ·   ·would you describe this as Step 1?                   ·1·   ·   ·   · · · · · · So as soon as you would get to a
·2·   ·   ·   · · · A· · ·You -- you mean the adjudication part?    ·2·   ·   ·   ·2016 -- a claim that's filed under the 2016 rule,
·3·   ·   ·   · · · Q· · ·Adjudication but not yet processed.       ·3·   ·   ·   ·then you would be required by that requirement to
·4·   ·   ·   · · · A· · ·So Step 1 is the adjudication, so I       ·4·   ·   ·   ·go to the school for notification and -- and
·5·   ·   ·   ·would describe that 38,700 as having completed       ·5·   ·   ·   ·whatever documentation or input they would want to
·6·   ·   ·   ·Step 1.                                              ·6·   ·   ·   ·bring back.
·7·   ·   ·   · · · Q· · ·Okay.                                     ·7·   ·   ·   · · · · · · So when?· Whenever we got to a claim
·8·   ·   ·   · · · A· · ·I would not describe it as Step 1 and     ·8·   ·   ·   ·that's -- that the dates of that particular claim
·9·   ·   ·   ·Step 2 because the sentence says have not been       ·9·   ·   ·   ·made it fall under the 2016 rule.· I -- I don't
10·   ·   ·   ·processed.                                           10·   ·   ·   ·know that exact date, but that's when the borrower
11·   ·   ·   · · · Q· · ·Okay.· And it says over 27,700 approved   11·   ·   ·   ·defense team would have had to have sent
12·   ·   ·   ·applications will be finalized.                      12·   ·   ·   ·information to the school.
13·   ·   ·   · · · · · · So are these grants?                      13·   ·   ·   · · · Q· · ·Okay.· And do you know how many schools
14·   ·   ·   · · · A· · ·I'm sorry.· Did you say "grants"?         14·   ·   ·   ·you've sent out this request for responses to?
15·   ·   ·   · · · Q· · ·Yeah.                                     15·   ·   ·   · · · A· · ·I -- I don't.· I don't know how many
16·   ·   ·   · · · A· · ·No, we don't do grants, ma'am, in         16·   ·   ·   ·claims have fallen under the 2016 rule yet.
17·   ·   ·   ·borrower defense if I understand your question       17·   ·   ·   · · · Q· · ·All right.· Okay.· And then I -- on the
18·   ·   ·   ·right.                                               18·   ·   ·   ·next page, on page 4, it says at the bottom, A
19·   ·   ·   · · · Q· · ·Are -- are these approvals, approved      19·   ·   ·   ·decision on the relief methodology would result in
20·   ·   ·   ·applications where the borrower made a successful    20·   ·   ·   ·the ability to proceed with approximately 40,000
21·   ·   ·   ·claim for borrower defense?                          21·   ·   ·   ·applications.
22·   ·   ·   · · · A· · ·These are -- these are borrower defense   22·   ·   ·   · · · · · · Could you explain to me what -- what
23·   ·   ·   ·claims that have determined that the borrower is     23·   ·   ·   ·that means?
24·   ·   ·   ·eligible for a borrower defense claim.               24·   ·   ·   · · · A· · ·That -- that Step 1 had been completed.
25·   ·   ·   · · · Q· · ·Okay.                                     25·   ·   ·   ·There were 40,000 applications that had come in,

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·1·   ·   ·   · · · A· · ·But there's no relief methodology is      ·1·   ·   ·   ·and that once we had a relief methodology, we
·2·   ·   ·   ·what that note is saying at the time or one is not   ·2·   ·   ·   ·could do the mathematical computations if -- if
·3·   ·   ·   ·ready, and so they can't go through that second      ·3·   ·   ·   ·appropriate for these 40,000, and they could be --
·4·   ·   ·   ·part of the process.                                 ·4·   ·   ·   ·notifications could be sent out.
·5·   ·   ·   · · · Q· · ·Okay.· And then if you could turn to      ·5·   ·   ·   · · · Q· · ·Okay.· And do you know whether this
·6·   ·   ·   ·the next page, it says the -- the six stages of a    ·6·   ·   ·   ·included schools other than CCI and ITT?
·7·   ·   ·   ·BD application, and below intake borrower            ·7·   ·   ·   · · · A· · ·I don't -- I don't know.· I would have
·8·   ·   ·   ·increase, it says, School response, New under the    ·8·   ·   ·   ·to go back into the numbers and see, but because
·9·   ·   ·   ·2016 regulations.                                    ·9·   ·   ·   ·it says August 2019, the majority of those cases
10·   ·   ·   · · · · · · As you understand it, what does that      10·   ·   ·   ·at the front part of the cycle are CCI and ITT.
11·   ·   ·   ·entail?                                              11·   ·   ·   · · · · · · THE COURT REPORTER:· I'm sorry. I
12·   ·   ·   · · · A· · ·It -- it entails letting a school know    12·   ·   ·   ·missed the last part.· The majority of those cases
13·   ·   ·   ·that a claim has been filed against that school      13·   ·   ·   ·at the front part?· Is that what you said?
14·   ·   ·   ·and -- and showing the school that the evidence or   14·   ·   ·   · · · · · · THE WITNESS:· The majority of those
15·   ·   ·   ·documentation that was used in providing an          15·   ·   ·   ·cases at the front part of the cycle are CCI and
16·   ·   ·   ·appropriate amount of time for the school to         16·   ·   ·   ·ITT.
17·   ·   ·   ·respond back so that the lawyer, that part of it,    17·   ·   ·   · · · · · · THE COURT REPORTER:· Thank you.· Thank
18·   ·   ·   ·can do the adjudication.                             18·   ·   ·   ·you.
19·   ·   ·   · · · Q· · ·Okay.· When did the department start      19·   ·   ·   · · · BY MS. TORCHIANA:
20·   ·   ·   ·issuing school responses -- or start soliciting      20·   ·   ·   · · · Q· · ·Okay.· And if you turn to the sixth
21·   ·   ·   ·them?                                                21·   ·   ·   ·page of the PowerPoint, it says, Why are BD
22·   ·   ·   · · · A· · ·So claims -- claims are covered by the    22·   ·   ·   ·applications on hold.· And it says, No relief
23·   ·   ·   ·rule, I think, that was in place at the time.        23·   ·   ·   ·methodology developed for non-CCI claims.
24·   ·   ·   ·And, so, there are -- there are certain dates that   24·   ·   ·   · · · · · · So -- so this presentation was given in
25·   ·   ·   ·fall under the 2016 rule.                            25·   ·   ·   ·August of 2019.· So was there any relief


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·1·   ·   ·   ·methodology for non-CCI claims that had started to   ·1·   ·   ·   ·that it would match loan -- claims to loan numbers
·2·   ·   ·   ·be developed at that time that you know of?          ·2·   ·   ·   ·and then follow the data through the system so
·3·   ·   ·   · · · A· · ·Ma'am, could you -- could you repeat      ·3·   ·   ·   ·that accountability was much -- much tighter.
·4·   ·   ·   ·that question again?· I'm sorry.                     ·4·   ·   ·   · · · · · · The -- the platform was developed for
·5·   ·   ·   · · · Q· · ·Yeah.                                     ·5·   ·   ·   ·customer inquiries because we never anticipated
·6·   ·   ·   · · · · · · So this presentation is from              ·6·   ·   ·   ·years ago having over 200,000 claims under --
·7·   ·   ·   ·August 2019, and it says, No relief methodology      ·7·   ·   ·   ·under this statute of borrower defense.
·8·   ·   ·   ·developed for non-Corinthian claims.                 ·8·   ·   ·   · · · · · · And, so, that -- using that platform,
·9·   ·   ·   · · · · · · So do you know whether at the time this   ·9·   ·   ·   ·it had to be upgraded, as you can imagine, to
10·   ·   ·   ·presentation was given was there any relief          10·   ·   ·   ·handle more data, to handle more content and to
11·   ·   ·   ·methodology being developed?                         11·   ·   ·   ·also move data from one system to the next.· All
12·   ·   ·   · · · A· · ·August of 2019?                           12·   ·   ·   ·of that was required because this was no longer
13·   ·   ·   · · · Q· · ·Uh-huh.                                   13·   ·   ·   ·a -- an Excel spreadsheet operation.· This -- this
14·   ·   ·   · · · A· · ·Relief methodology was being worked on.   14·   ·   ·   ·was a major case management processing, and that's
15·   ·   ·   · · · Q· · ·Okay.· And why had it not yet been        15·   ·   ·   ·what -- that's what's meant occasionally through
16·   ·   ·   ·completed?                                           16·   ·   ·   ·here when we reference the platform, the upgrades
17·   ·   ·   · · · A· · ·The policy element wasn't done is         17·   ·   ·   ·that needed to happen.
18·   ·   ·   ·all -- all that I can tell you.· Why?· I don't       18·   ·   ·   · · · Q· · ·Okay.· And have these upgrades -- have
19·   ·   ·   ·know other than I can tell you it's not simple.      19·   ·   ·   ·they been completed?
20·   ·   ·   ·It's a complex work that they have to do.· Beyond    20·   ·   ·   · · · A· · ·So with technology systems, you know,
21·   ·   ·   ·that, I couldn't tell you why it wasn't completed.   21·   ·   ·   ·completed is kind of an optimistic term.· I would
22·   ·   ·   ·I'm just sure that we weren't using one yet          22·   ·   ·   ·say that they are working much better today, and
23·   ·   ·   ·because that happened December of 2019.              23·   ·   ·   ·they are fully utilized, but I don't know that
24·   ·   ·   · · · Q· · ·Okay.· And what did you understand as     24·   ·   ·   ·there aren't some more upgrades that are planned
25·   ·   ·   ·the -- what -- what was missing for the              25·   ·   ·   ·down the road for -- for this system.

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·1·   ·   ·   ·methodology to be completed?· What -- what stage     ·1·   ·   ·   · · · Q· · ·Okay.· So this says, No processing
·2·   ·   ·   ·of the process was it at?                            ·2·   ·   ·   ·systems available.· So at what point would you say
·3·   ·   ·   · · · A· · ·I don't know.                             ·3·   ·   ·   ·there was a processing system that was available?
·4·   ·   ·   · · · Q· · ·And there's also here -- it says, No      ·4·   ·   ·   · · · A· · ·I -- you know, I -- I can't speak again
·5·   ·   ·   ·processing systems available from summer 2018 to     ·5·   ·   ·   ·to 2018, but when we got into the April, May, June
·6·   ·   ·   ·the present due to platform development and          ·6·   ·   ·   ·timeline -- timeline coming into July and August
·7·   ·   ·   ·migration.                                           ·7·   ·   ·   ·and September of -- of 2019, we had already begun
·8·   ·   ·   · · · · · · Could you tell me who decided that        ·8·   ·   ·   ·to resource those upgrades and had what I would
·9·   ·   ·   ·applications would not be processed during this      ·9·   ·   ·   ·call a functioning -- a functioning system from
10·   ·   ·   ·platform and migration?                              10·   ·   ·   ·which we could go forward on.
11·   ·   ·   · · · A· · ·I don't -- I don't know -- I started      11·   ·   ·   · · · Q· · ·Okay.· Well -- okay.· It says, No
12·   ·   ·   ·work at Federal Student Aid as the chief operating   12·   ·   ·   ·processing systems available from December 2018 to
13·   ·   ·   ·officer in March of 2019, so I don't know if         13·   ·   ·   ·the present, and the present is August 2019.
14·   ·   ·   ·there's a decision in 2018 related to the            14·   ·   ·   · · · A· · ·Yeah.
15·   ·   ·   ·platform.                                            15·   ·   ·   · · · Q· · ·And it says, Upgrades to platform to be
16·   ·   ·   · · · · · · But as I stated earlier, the two things   16·   ·   ·   ·completed by August 30th.
17·   ·   ·   ·that needed to get done were more attorneys and      17·   ·   ·   · · · · · · So would you say by August 30th the
18·   ·   ·   ·more resources in the development of the platform    18·   ·   ·   ·updates were completed, or what -- what happened
19·   ·   ·   ·in order to make the borrower defense process        19·   ·   ·   ·there?
20·   ·   ·   ·work.                                                20·   ·   ·   · · · A· · ·I can't -- I can't recall those exact
21·   ·   ·   · · · Q· · ·And what about the platform is being      21·   ·   ·   ·dates, but I know that we began putting financial
22·   ·   ·   ·developed?                                           22·   ·   ·   ·instructions into the systems in those months that
23·   ·   ·   · · · A· · ·So I can't speak again for what's         23·   ·   ·   ·I just named to -- to make it functional.
24·   ·   ·   ·referenced here in 2018.· I don't know.· But we      24·   ·   ·   · · · Q· · ·Okay.· And who made the decision to
25·   ·   ·   ·needed a more advanced data collection system so     25·   ·   ·   ·stop processing applications while these


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·1·   ·   ·   ·processing systems were being updated?               ·1·   ·   ·   ·some of that again, ma'am, maybe in --
·2·   ·   ·   · · · · · · MR. HANCOCK:· Objection: asked and        ·2·   ·   ·   · · · BY MS. TORCHIANA:
·3·   ·   ·   ·answered.                                            ·3·   ·   ·   · · · Q· · ·Yeah.· So when we've been speaking,
·4·   ·   ·   · · · · · · THE WITNESS:· I -- I wasn't there in      ·4·   ·   ·   ·you've mentioned that two of the major limitations
·5·   ·   ·   ·2018, ma'am.· I don't . . .                          ·5·   ·   ·   ·to the BDU were staffing and IT concerns; is that
·6·   ·   ·   · · · BY MS. TORCHIANA:                               ·6·   ·   ·   ·right?
·7·   ·   ·   · · · Q· · ·Okay.· And do you think decisions could   ·7·   ·   ·   · · · A· · ·That's correct.
·8·   ·   ·   ·have been adjudicated while the platform is being    ·8·   ·   ·   · · · Q· · ·And was the -- the IT concern in
·9·   ·   ·   ·upgraded?                                            ·9·   ·   ·   ·question, was this -- when you were referring to
10·   ·   ·   · · · A· · ·I -- I don't know if I answered your --   10·   ·   ·   ·that, were you referring to this processing system
11·   ·   ·   ·you're asking me were we allowed to continue         11·   ·   ·   ·that was being updated from summer 2018 to present
12·   ·   ·   ·adjudicating decisions in -- in 2000- -- if you're   12·   ·   ·   ·or something else?
13·   ·   ·   ·asking me from March 2019 through the summer of      13·   ·   ·   · · · A· · ·I was -- I was referring to the
14·   ·   ·   ·2019 and the fall, when these system changes         14·   ·   ·   ·platform which is used to process borrower defense
15·   ·   ·   ·continuing to go on and upgrades continued to        15·   ·   ·   ·applications, and I believe that's the same thing
16·   ·   ·   ·happen, if we were able to adjudicate cases.· I'm    16·   ·   ·   ·that's being referred to here.
17·   ·   ·   ·just trying to repeat what I think you're -- is      17·   ·   ·   · · · Q· · ·Okay.· And what changes were made to
18·   ·   ·   ·that what you're asking me?                          18·   ·   ·   ·that platform?
19·   ·   ·   · · · Q· · ·Yes.                                      19·   ·   ·   · · · A· · ·We've -- we began to use a -- a -- a
20·   ·   ·   · · · A· · ·And, so, again I would say that           20·   ·   ·   ·system known as SalesForce.· We upgraded the --
21·   ·   ·   ·adjudications have never stopped.· They have         21·   ·   ·   ·the database to be able to hold that.· We
22·   ·   ·   ·continued on.· But -- but keep in mind what we're    22·   ·   ·   ·increased the capacity for numbers of documents
23·   ·   ·   ·talking about is Step 2, the processing of -- of     23·   ·   ·   ·and a series of other technical upgrades to the --
24·   ·   ·   ·things which is not in Step 1.· And, so, the         24·   ·   ·   ·to the program and software that we're using that
25·   ·   ·   ·relationships to adjudications, you can do           25·   ·   ·   ·I'm certainly not technically qualified to lay out

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·1·   ·   ·   ·adjudications, but you can't do it with a high       ·1·   ·   ·   ·for you in total.
·2·   ·   ·   ·level of efficiency the processing in the mass       ·2·   ·   ·   · · · · · · But it's those kinds of upgrades where
·3·   ·   ·   ·numbers we're talking about minus some of the IT     ·3·   ·   ·   ·you increase both the capacity and the memory; you
·4·   ·   ·   ·support that this briefing that you're referencing   ·4·   ·   ·   ·increase the speed; you increase the level of
·5·   ·   ·   ·here is getting at.                                  ·5·   ·   ·   ·details that you're able to get out of the -- the
·6·   ·   ·   · · · Q· · ·And could Step 2 decisions have gone      ·6·   ·   ·   ·system; all of those kind of things.
·7·   ·   ·   ·out while the platform was being updated?            ·7·   ·   ·   · · · Q· · ·Okay.· And how long did it take to
·8·   ·   ·   · · · A· · ·Step 2 decisions or borrower              ·8·   ·   ·   ·upgrade those things?
·9·   ·   ·   ·notifications, those kinds of things, required a     ·9·   ·   ·   · · · A· · ·I -- I don't remember the total amount
10·   ·   ·   ·methodology that would be used to compute things.    10·   ·   ·   ·of time because they're done in phases, like phase
11·   ·   ·   ·And, so, we mixed a few things up.· Until you had    11·   ·   ·   ·one and phase two and phase three.· They're all
12·   ·   ·   ·the methodology, platform, no platform, decisions    12·   ·   ·   ·bringing up, you know, additional capability.
13·   ·   ·   ·aren't going out at least that require relief.       13·   ·   ·   · · · · · · But the system was being upgraded and
14·   ·   ·   ·And, so, what caused the decisions to go out was     14·   ·   ·   ·worked on throughout the spring and summer of
15·   ·   ·   ·the announcement of a methodology December 2019.     15·   ·   ·   ·2019, I believe.
16·   ·   ·   · · · Q· · ·Okay.· And you've repeatedly mentioned    16·   ·   ·   · · · Q· · ·Okay.· Okay.
17·   ·   ·   ·that one of the issues holding back issuing          17·   ·   ·   · · · · · · MS. TORCHIANA:· I think -- I think
18·   ·   ·   ·decisions was staff limitations and IT               18·   ·   ·   ·that's it.· We've gone through most of my
19·   ·   ·   ·limitations.· So when you talk about IT, is this     19·   ·   ·   ·questions and, you know, I'm sure everyone's
20·   ·   ·   ·what you're talking about, the processing system     20·   ·   ·   ·tired, so . . .
21·   ·   ·   ·that had to be upgraded, or were you speaking        21·   ·   ·   · · · · · · MR. HANCOCK:· Okay.
22·   ·   ·   ·about something else?                                22·   ·   ·   · · · · · · THE WITNESS:· If you're -- if you're
23·   ·   ·   · · · · · · MR. HANCOCK:· Objection: misstates        23·   ·   ·   ·done, ma'am --
24·   ·   ·   ·testimony.                                           24·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Should we conclude?
25·   ·   ·   · · · · · · THE WITNESS:· Could -- could you say      25·   ·   ·   · · · · · · MS. TORCHIANA:· Yes.


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·1·   ·   ·   · · · · · · THE VIDEOGRAPHER:· All right.· This
                                                                    ·2
·2·   ·   ·   ·concludes today's deposition.· We're now going off
                                                                    ·3· · · · · · · · · Please read your deposition over
·3·   ·   ·   ·the record.· The time is 22:32 UTC time.
                                                                    ·4· · · ·carefully and make any necessary corrections.· You
·4·   ·   ·   · · · · · · MR. HANCOCK:· Before you go -- before
                                                                    ·5· · · ·should state the reason in the appropriate space
·5·   ·   ·   ·you go --
                                                                    ·6· · · ·on the errata sheet for any corrections that are
·6·   ·   ·   · · · · · · MS. TORCHIANA:· Actually, sorry.
                                                                    ·7· · · ·made.
·7·   ·   ·   · · · · · · MR. HANCOCK:· Dan?
                                                                    ·8· · · · · · · · · After doing so, please sign the errata
·8·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Yes.
                                                                    ·9· · · ·sheet and date it.
·9·   ·   ·   · · · · · · MR. HANCOCK:· I would like to reserve
                                                                    10· · · · · · · · · You are signing same subject to the
10·   ·   ·   ·the ability for the witness to read and sign the
                                                                    11· · · ·changes you have noted on the errata sheet which
11·   ·   ·   ·transcript.
                                                                    12· · · ·will be attached to your deposition.
12·   ·   ·   · · · · · · MS. TORCHIANA:· I would also like to
                                                                    13· · · · · · · · · It is imperative that you return the
13·   ·   ·   ·reserve the right to keep the deposition open, and
                                                                    14· · · ·original errata sheet to the deposing attorney
14·   ·   ·   ·if we learn of anything that we need to, you know,
                                                                    15· · · ·within thirty (30) days of receipt of the
15·   ·   ·   ·reopen this deposition for . . .
                                                                    16· · · ·deposition transcript by you.· If you fail to do
16·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Okay.· Shall we
                                                                    17· · · ·so, the deposition transcript may be deemed to be
17·   ·   ·   ·close it again?
                                                                    18· · · ·accurate and may be used in court.
18·   ·   ·   · · · · · · MS. TORCHIANA:· Yes, thank you.
                                                                    19
19·   ·   ·   · · · · · · THE VIDEOGRAPHER:· We're now off the
                                                                    20
20·   ·   ·   ·record.· The time is 22:32 UTC time.
                                                                    21
21·   ·   ·   · · · · · · (Signature having not been waived, the
                                                                    22
22·   ·   ·   ·Remote Videotaped Deposition of MARK BROWN ended
                                                                    23
23·   ·   ·   ·at 5:32 p.m.)
                                                                    24
24
                                                                    25
25

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·1· · · · · · · · · · REPORTER'S CERTIFICATE                        ·1· · · · · · · · · · E R R A T A· S H E E T

·2· · · ·I, Dana C. Ryan, Certified Shorthand Reporter in           ·2· · · ·IN RE:· THERESA SWEET, et al. v. ELISABETH DEVOS,

·3· · · ·and for the State of Maryland, hereby certify that         ·3· · · ·in her official capacity as Secretary of the

·4· · · ·the deponent was by me first duly sworn and the            ·4· · · ·United States Department of Education.

·5· · · ·foregoing testimony was reported by me and was             ·5· · · ·RETURN BY:· ______________________________________

·6· · · ·thereafter transcribed with computer-aided                 ·6· · · ·PAGE· LINE· · · · · · · · CORRECTION AND REASON

·7· · · ·transcription; that the foregoing is a full,               ·7· · · ·_____ _____· · · · · · · ·________________________

·8· · · ·complete, and true record, to the best of my               ·8· · · ·_____ _____· · · · · · · ·________________________

·9· · · ·ability, of said proceedings.                              ·9· · · ·_____ _____· · · · · · · ·________________________

10· · · ·I further certify that I am not of counsel or              10· · · ·_____ _____· · · · · · · ·________________________

11· · · ·attorney for either or any of the parties in the           11· · · ·_____ _____· · · · · · · ·________________________

12· · · ·foregoing proceedings and caption named or in any          12· · · ·_____ _____· · · · · · · ·________________________

13· · · ·way interested in the outcome of the cause in said         13· · · ·_____ _____· · · · · · · ·________________________

14· · · ·caption.                                                   14· · · ·_____ _____· · · · · · · ·________________________

15· · · ·The dismantling, unsealing, or unbinding of the            15· · · ·_____ _____· · · · · · · ·________________________

16· · · ·original transcript will render the reporter's             16· · · ·_____ _____· · · · · · · ·________________________

17· · · ·certificate null and void.                                 17· · · ·_____ _____· · · · · · · ·________________________

18· · · ·In witness whereof, I have hereunto set my hand            18· · · ·_____ _____· · · · · · · ·________________________

19· · · ·this day: December 18, 2020.                               19· · · ·_____ _____· · · · · · · ·________________________

20· · · ___X___· Reading and Signing was requested.                 20· · · ·_____ _____· · · · · · · ·________________________

21· · · _______· Reading and Signing was waived.                    21· · · ·_____ _____· · · · · · · ·________________________

22· · · ______· ·Reading and Signing was not requested.             22· · · ·_____ _____· · · · · · · ·________________________

23                                                                  23· · · ·_____ _____· · · · · · · ·________________________

24· · · ·______________________________________                     24· · · ·_______________· · · · · ·________________________

25· · · ·Dana C. Ryan, RPR, CRR                                     25· · · · · (DATE)· · · · · · · · · · · (SIGNATURE)




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·1· · · · · · · · · ACKNOWLEDGMENT OF DEPONENT

·2· · · · · · · · · I, Mark Brown, do hereby acknowledge

·3· · · ·that I have read and examined the foregoing

·4· · · ·testimony, and the same is a true, correct and

·5· · · ·complete transcription of the testimony given by

·6· · · ·me and any corrections appear on the attached

·7· · · ·Errata sheet signed by me.

·8

·9

10

11· · · ·_____________________· · ·______________________

12· · · ·(DATE)· · · · · · · · · · · · (SIGNATURE)

13

14

15· · · · · · · · ·CERTIFICATE OF NOTARY PUBLIC

16· · · ·Sworn and subscribed to before me this

17· · · ·_______ day of _______________, _________

18

19

20· · · ·_____________________· · ·______________________

21· · · ·NOTARY PUBLIC· · · · · · · ·MY COMMISSION EXPIRES

22

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2         IN RE:     THERESA SWEET, et al. v. ELISABETH DEVOS,

3         in her official capacity as Secretary of the

4         United States Department of Education.

5         RETURN BY:     Mark A. Brown

 6        PAGE                   LINE             CORRECTION AND REASON

 7                                                “let” should be
          18                     16               “left”; strike “go”

                                                  “policy defense
                                                  team” should be
 8                                                “borrower defense
          26                     23               team”


                                                  “emerged” should be
 9        28                     19               “immersed”

                                                  “locations” should be
          120                    14               “implications”
10

                                                  “like, 452” should be
11        144                     9               “like, 52”

                                                  “would this form be
                                                  in presence” should
                                                  be “would this form
12        178                    12-14            be produced”




          January 12, 2021

                (DATE)                             (SIGNATURE)




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                                                             Page
 1                      ACKNOWLEDGMENT OF DEPONENT

 2                      I, Mark Brown, do hereby acknowledge

 3        that I have read and examined the foregoing

 4        testimony, and the same is a true, correct and

 5        complete transcription of the testimony given by

 6        me and any corrections appear on the attached

 7        Errata sheet signed by me.

 8

 9

10

11        January 12, 2021

12        (DATE)                             (SIGNATURE)

13

14

15                     CERTIFICATE OF NOTARY PUBLIC

16        Sworn and subscribed to before me this

17                  day of                   ,

18

19

20

21        NOTARY PUBLIC                    MY COMMISSION EXPIRES

22

23

24

25


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          Cited in Supplemental Complaint, March 19, 2021


                   Transcript 2 – Diane Auer Jones
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                                                                             Page 1
·1· · · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · · · NORTHERN DISTRICT OF CALIFORNIA

·3

·4· · · ·- - - - - - - - - - - - - - - X

·5· · · ·THERESA SWEET, et al., on· · ·:

·6· · · ·behalf of themselves and all        :

·7· · · ·others similarly situated,· · :

·8· · · · · · · · · · ·Plaintiffs,· · ·:

·9· · · ·vs.· · · · · · · · · · · · · ·:

10· · · ·ELISABETH DEVOS, in her· · · ·:

11· · · ·official capacity as· · · · · :

12· · · ·Secretary of the United· · · ·:

13· · · ·States Department of· · · · · :

14· · · ·Education, et al.,· · · · · · :

15· · · · · · · · · · ·Defendants.· · ·:

16· · · ·- - - - - - - - - - - - - - - X

17

18· · · ·Remote Videotaped Deposition Of DIANE AUER JONES

19· · · · · · · · · ·Friday, November 20, 2020

20· · · · · · · · · · · · 9:15 a.m. (EST)

21

22

23· · · ·Job No. 330599

24· · · ·Pages:· 1 - 301

25· · · ·Reported by:· Dana C. Ryan, RPR, CRR


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·1                                                                   ·1· · · · · ·A P P E A R A N C E S· C O N T I N U E D

·2                                                                   ·2

·3· · · · · · · · · · · · · · · · · · · ·November 20, 2020           ·3· · · · · · · · ·JOSEPH JARAMILLO, Esquire

·4· · · · · · · · · · · · · · · · · · · ·9:15 a.m. (EST)             ·4· · · · · · · · ·CLAIRE TORCHIANA, Esquire

·5                                                                   ·5· · · · · · · · ·Housing & Economic Rights Advocates

·6                                                                   ·6· · · · · · · · ·3950 Broadway, Suite 200

·7                                                                   ·7· · · · · · · · ·Oakland, California 94611

·8· · · · · · · Remote Videotaped Deposition of DIANE AUER           ·8· · · · · · · · ·Telephone:· (510) 271-8443

·9· · · ·JONES, held via Zoom video teleconference, before           ·9· · · · · · · · ·Email: jjaramillo@heraca.org

10· · · ·Dana C. Ryan, Registered Professional Reporter,             10· · · · · · · · ·Email: ctorchiana@heraca.org

11· · · ·Certified Realtime Reporter and Notary Public in            11

12· · · ·and for the State of Maryland.                              12· · · · · · ON BEHALF OF THE DEFENDANTS:

13                                                                   13· · · · · · · · ·R. CHARLIE MERRITT, Esquire

14                                                                   14· · · · · · · · ·KEVIN P. HANCOCK, Esquire

15                                                                   15· · · · · · · · ·KATHRYN C. DAVIS, Esquire

16                                                                   16· · · · · · · · ·U.S. Department of Justice

17                                                                   17· · · · · · · · ·Civil Division, Federal Programs Branch

18                                                                   18· · · · · · · · ·1100 L Street, Northwest

19                                                                   19· · · · · · · · ·Washington, D.C. 20530

20                                                                   20· · · · · · · · ·Telephone:· (202) 307-0342

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22                                                                   22· · · · · · · · ·Email: kathryn.c.davis@usdoj.gov

23                                                                   23· · · · · · · · ·Email: kevin.p.hancock@usdoj.gov

24                                                                   24

25                                                                   25



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·1· · · · · · · · · · ·A P P E A R A N C E S                         ·1· · · · · ·A P P E A R A N C E S· C O N T I N U E D

·2                                                                   ·2

·3· · · · · · ON BEHALF OF THE PLAINTIFFS:                           ·3· · · · · · Also present:

·4· · · · · · · · ·MARGARET O'GRADY, Esquire                         ·4· · · · · · · · ·Dan Macom, Video Technician

·5· · · · · · · · ·EILEEN CONNOR, Esquire                            ·5· · · · · · · · ·Asher Trangle

·6· · · · · · · · ·TOBY R. MERRILL, Esquire                          ·6· · · · · · · · ·Matt Pachman

·7· · · · · · · · ·R. ELLIS, Esquire                                 ·7· · · · · · · · ·Victoria Roytenberg

·8· · · · · · · · ·Legal Services Center of                          ·8· · · · · · · · ·Jed Brinton

·9· · · · · · · · · · ·Harvard Law School                            ·9· · · · · · · · ·Andrew Teoh

10· · · · · · · · ·122 Boylston Street                               10

11· · · · · · · · ·Jamaica Plain, Massachusetts 02130                11

12· · · · · · · · ·Telephone:· (617) 390-3003                        12

13· · · · · · · · ·Email: mogrady@law.harvard.edu                    13

14· · · · · · · · ·Email: econnor@law.harvard.edu                    14

15· · · · · · · · ·Email: rellis@law.harvard.edu                     15

16· · · · · · · · ·Email: tmerrill@law.harvard.edu                   16

17                                                                   17

18· · · · · · · · · · · · · · - and -                                18

19                                                                   19

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·1· · · · · · · · · · · · C O N T E N T S                         ·1· · · · · · · E X H I B I T S· C O N T I N U E D

·2· · · ·EXAMINATION OF DIANE AUER JONES:· · · · · · ·PAGE:       ·2· · · · · · · · ·(Attached to the Transcript)

·3· · · ·By Ms. O'Grady· · · · · · · · · · · · · · · · ·10        ·3· · · ·JONES DEPOSITION· · · · · · · · · · · · · · ·PAGE:

·4                                                                ·4· · · ·Exhibit 16· ·Wall Street Journal Titled· · · ·230

·5                                                                ·5· · · · · · · · · · Trump Administration Hires

·6                                                                ·6· · · · · · · · · · McKinsey To Evaluate

·7· · · · · · · · · · · · E X H I B I T S                         ·7· · · · · · · · · · Student-Loan Portfolio

·8· · · · · · · · ·(Attached to the Transcript)                   ·8· · · ·Exhibit 17· ·Politico Article Titled DeVos· · 233

·9· · · ·JONES DEPOSITION· · · · · · · · · · · · · · ·PAGE:       ·9· · · · · · · · · · Orders Partial Loan Relief

10· · · ·Exhibit 1· · Revised Notice Of Deposition· · · 13        10· · · · · · · · · · For Many Duped Student

11· · · ·Exhibit 2· · Declaration Of Diane Auer· · · · ·18        11· · · · · · · · · · Borrowers

12· · · · · · · · · · Jones                                       12· · · ·Exhibit 18· ·October 27, 2020 Oversight· · · ·249

13· · · ·Exhibit 3· · U.S. Department Of Education· · · 48        13· · · · · · · · · · Committee Press Release

14· · · · · · · · · · Office Of Inspector General                 14· · · · · · · · · · Titled New Documents Show

15· · · · · · · · · · Report                                      15· · · · · · · · · · Department Of Education Froze

16· · · ·Exhibit 4· · January 10, 2017 Email· · · · · · 52        16· · · · · · · · · · Tool To Help Defrauded

17· · · ·Exhibit 5· · October 24, 2016 Email· · · · · · 57        17· · · · · · · · · · Student Borrowers

18· · · ·Exhibit 6· · January 9, 2017 Email· · · · · · ·60        18· · · ·Exhibit 19· ·Defendants' Response Regarding· ·263

19· · · ·Exhibit 7· · James 4, 2017 Email· · · · · · · ·62        19· · · · · · · · · · The Court's Request At The

20· · · ·Exhibit 8· · December 14, 2017 Memorandum· · · 64        20· · · · · · · · · · October 1, 2020 Class Hearing

21· · · ·Exhibit 9· · Borrower Defense Unit Claims· · · 66        21· · · ·Exhibit 20· ·Order Denying Class· · · · · · · 289

22· · · · · · · · · · Review Protocol                             22· · · · · · · · · · Settlement, To Resume

23· · · ·Exhibit 10· ·May 22, 2019 Hearing· · · · · · ·111        23· · · · · · · · · · Discovery, And To Show Cause

24· · · · · · · · · · Transcript                                  24

25                                                                25



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·1· · · · · · · E X H I B I T S· C O N T I N U E D                ·1·   ·   ·   · · · · · · · ·P R O C E E D I N G S
·2· · · · · · · · ·(Attached to the Transcript)                   ·2·   ·   ·   · · · · · · THE VIDEOGRAPHER:· We're now on the
·3· · · ·JONES DEPOSITION· · · · · · · · · · · · · · ·PAGE:       ·3·   ·   ·   ·record.· Participants should be aware that this
·4· · · ·Exhibit 11· ·Document Titled 84 FR· · · · · · 185        ·4·   ·   ·   ·proceeding is being recorded and as such all
·5· · · · · · · · · · 49788-01, 2019 WL 4573049                   ·5·   ·   ·   ·conversations held will be recorded unless there
·6· · · · · · · · · · (F.R.) Rules And Regulations                ·6·   ·   ·   ·is a request and agreement to go off the record.
·7· · · · · · · · · · Department Of Education,                    ·7·   ·   ·   ·Private conversations and/or attorney-client
·8· · · · · · · · · · 34 CFR Parts 668, 682, And                  ·8·   ·   ·   ·interactions should be held outside the presence
·9· · · · · · · · · · 685, RIN 1840-AD26, [Docket                 ·9·   ·   ·   ·of your remote interface.
10· · · · · · · · · · ID ED-2018-OPE-0027] Student                10·   ·   ·   · · · · · · This is the remote video recorded
11· · · · · · · · · · Assistance General                          11·   ·   ·   ·deposition of Ms. Diane Jones taken today, Friday,
12· · · · · · · · · · Provisions, Federal Family                  12·   ·   ·   ·November 20th, 2020.· The time is now 14:15 in UTC
13· · · · · · · · · · Education Loan Program, And                 13·   ·   ·   ·time.· We're here in the matter of Theresa Sweet
14· · · · · · · · · · William D. Ford Federal                     14·   ·   ·   ·versus Elizabeth DeVos.
15· · · · · · · · · · Direct Loan Program, Monday,                15·   ·   ·   · · · · · · My name is Dan Macom.· I'm the remote
16· · · · · · · · · · September 23, 2019
                                                                  16·   ·   ·   ·video technician on behalf of U.S. Legal Support
17· · · ·Exhibit 12· ·April 21, 2019 PowerPoint· · · · 186        17·   ·   ·   ·which is located at 90 Broad Street, New York, New
18· · · · · · · · · · Titled Borrower Defense To                  18·   ·   ·   ·York.· I'm not related to any party in this action
19· · · · · · · · · · Repayment                                   19·   ·   ·   ·nor am I financially interested in its outcome.
20· · · ·Exhibit 13· ·Defendants' Response To· · · · · 196        20·   ·   ·   · · · · · · At this time I'll ask our court
21· · · · · · · · · · August 31, 2020 Order                       21·   ·   ·   ·reporter Ms. Dana Ryan, on behalf of U.S. Legal
22· · · ·Exhibit 14· ·Affidavit Of Daniel Deegan· · · ·216        22·   ·   ·   ·Support, to please enter the statement for remote
23· · · ·Exhibit 15· ·Declaration Of Eileen Connor· · ·217        23·   ·   ·   ·proceedings into the record.
24                                                                24·   ·   ·   · · · · · · THE COURT REPORTER:· The attorneys
25                                                                25·   ·   ·   ·participating in this deposition acknowledge that


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·1·   ·   ·   ·I am not physically present in the deposition room   ·1·   ·   ·   ·move it.
·2·   ·   ·   ·and that I will be reporting this deposition         ·2·   ·   ·   · · · Q· · ·I would appreciate it if you would move
·3·   ·   ·   ·remotely.                                            ·3·   ·   ·   ·it.
·4·   ·   ·   · · · · · · They further acknowledge that, in lieu    ·4·   ·   ·   · · · A· · ·Yep.
·5·   ·   ·   ·of an oath administered in person, the witness       ·5·   ·   ·   · · · Q· · ·Thank you.
·6·   ·   ·   ·will be sworn in remotely and will verbally          ·6·   ·   ·   · · · · · · And then that's the only other kind of
·7·   ·   ·   ·declare her testimony in this matter is under        ·7·   ·   ·   ·device that you could use today during the
·8·   ·   ·   ·penalty of perjury.                                  ·8·   ·   ·   ·deposition?
·9·   ·   ·   · · · · · · The parties and their counsel consent     ·9·   ·   ·   · · · A· · ·Yeah, I just have my computer and a
10·   ·   ·   ·to this agreement and waive any objections to this   10·   ·   ·   ·separate monitor in front of me.
11·   ·   ·   ·manner of reporting.                                 11·   ·   ·   · · · Q· · ·Okay.· Thanks.· If you can move that
12·   ·   ·   · · · · · · Now if I could ask all parties to         12·   ·   ·   ·out of reach just to ensure that we're sure that
13·   ·   ·   ·please state their agreement to this stipulation     13·   ·   ·   ·there's no communication happening.
14·   ·   ·   ·on the record.                                       14·   ·   ·   · · · A· · ·Sure.
15·   ·   ·   · · · · · · MR. MERRITT:· Yes.· This is Charlie       15·   ·   ·   · · · Q· · ·And that said, if you need breaks
16·   ·   ·   ·Merritt on behalf of the defendants agreeing to      16·   ·   ·   ·today -- I know that we have a break from 11:30 to
17·   ·   ·   ·that.                                                17·   ·   ·   ·noon scheduled.· But any other break, you know, to
18·   ·   ·   · · · · · · MS. O'GRADY:· This is Margaret O'Grady    18·   ·   ·   ·use the restroom, to take a drink of water, to go
19·   ·   ·   ·on behalf of plaintiffs also agreeing.               19·   ·   ·   ·off the record for a little while just for fatigue
20·   ·   ·   · · · · · · THE COURT REPORTER:· Could I now get      20·   ·   ·   ·sake, just say so.· I'm happy to take breaks at
21·   ·   ·   ·you to please raise your right hand, Ms. Jones?      21·   ·   ·   ·any time as long as there's not a question
22·   ·   ·   · · · · · · ·************************                 22·   ·   ·   ·pending.
23·   ·   ·   · · · · · · · · ·DIANE AUER JONES,                    23·   ·   ·   · · · A· · ·Okay.
24·   ·   ·   · ·having been duly sworn, testified as follows:      24·   ·   ·   · · · Q· · ·And just in general, is there anything
25·   ·   ·   · · · · · · ·************************                 25·   ·   ·   ·preventing you from being truthful today?

                                                        Page 11                                                             Page 13
·1·   ·   ·   · · ·EXAMINATION BY COUNSEL FOR THE PLAINTIFFS        ·1·   ·   ·   · · · A· · ·No.
·2·   ·   ·   · · · BY MS. O'GRADY:                                 ·2·   ·   ·   · · · Q· · ·Anything preventing you from, you know,
·3·   ·   ·   · · · Q· · ·Good morning, Ms. Jones.· I'm Margaret    ·3·   ·   ·   ·having your best memory of events that we might be
·4·   ·   ·   ·O'Grady.· I'm an attorney with the Project on        ·4·   ·   ·   ·talking about?
·5·   ·   ·   ·Predatory Student Lending.· I go by Maggie, so       ·5·   ·   ·   · · · A· · ·No.
·6·   ·   ·   ·it's fine if you refer to me that way today.         ·6·   ·   ·   · · · Q· · ·And let me just -- we're going to --
·7·   ·   ·   · · · A· · ·Okay.                                     ·7·   ·   ·   ·the first exhibit is the deposition notice in this
·8·   ·   ·   · · · Q· · ·It's nice to meet you in these strange    ·8·   ·   ·   ·case, so if we -- if you open up the folder, the
·9·   ·   ·   ·remote circumstances, so I appreciate everyone's     ·9·   ·   ·   ·files will be in alphabetical order.· There are a
10·   ·   ·   ·flexibility in figuring out how to do this and       10·   ·   ·   ·couple of extra folders in there, but if we go to
11·   ·   ·   ·hope everything runs smoothly.· And if it doesn't,   11·   ·   ·   ·the file that is Diane Auer Jones revised
12·   ·   ·   ·we can just all work together to ensure that it      12·   ·   ·   ·deposition notice.
13·   ·   ·   ·does.                                                13·   ·   ·   · · · · · · MS. O'GRADY:· That's going to be our
14·   ·   ·   · · · · · · I want to go over a few things, much      14·   ·   ·   ·first exhibit which we'll mark as Exhibit 1.
15·   ·   ·   ·like what I would say if we were in person but       15·   ·   ·   · · · · · · (Jones Deposition Exhibit 1 was marked
16·   ·   ·   ·some of it tailored for our remote situation.        16·   ·   ·   ·for identification and attached to the
17·   ·   ·   · · · · · · So one of them is just to confirm that    17·   ·   ·   ·transcript.)
18·   ·   ·   ·even though we probably all have the ability to      18·   ·   ·   · · · BY MS. O'GRADY:
19·   ·   ·   ·communicate privately via our smartphones on the     19·   ·   ·   · · · Q· · ·Okay.· And, Ms. Jones, do you remember
20·   ·   ·   ·desk or something, that you will not be doing that   20·   ·   ·   ·this document?
21·   ·   ·   ·during this deposition today?                        21·   ·   ·   · · · · · · MS. BERMAN:· Sorry, I'm not seeing that
22·   ·   ·   · · · A· · ·I will not be.                            22·   ·   ·   ·exhibit.· Can you tell me where in the zip file it
23·   ·   ·   · · · Q· · ·And do you have a smartphone or any       23·   ·   ·   ·is?
24·   ·   ·   ·kind of device within arm's reach right now?         24·   ·   ·   · · · · · · MS. O'GRADY:· Sure.· If you open up the
25·   ·   ·   · · · A· · ·I do.· I have my personal phone.· I can   25·   ·   ·   ·zip file, there should be a number of PDFs and


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·1·   ·   ·   ·then some folders and subfolders.· This is one of    ·1·   ·   ·   ·from DOJ as well?· Hancock?· Do I have the name
·2·   ·   ·   ·the PDFs and it should be showing up in              ·2·   ·   ·   ·right?· I'm sorry.
·3·   ·   ·   ·alphabetical order under D.· Her name is Diane.      ·3·   ·   ·   · · · Q· · ·Kevin.
·4·   ·   ·   · · · · · · THE WITNESS:· This does not look          ·4·   ·   ·   · · · A· · ·Kevin.· I'm sorry.· I'm sorry.
·5·   ·   ·   ·familiar to me.· I don't recall seeing this          ·5·   ·   ·   · · · Q· · ·Okay.· And how many -- how much time
·6·   ·   ·   ·document before.· It's just a three-page document    ·6·   ·   ·   ·would you say you spent preparing for today's
·7·   ·   ·   ·as well?                                             ·7·   ·   ·   ·deposition, both conversations and then how much
·8·   ·   ·   · · · BY MS. O'GRADY:                                 ·8·   ·   ·   ·time you spent reviewing the previous declaration?
·9·   ·   ·   · · · Q· · ·Yes.· It's just the notice deposition     ·9·   ·   ·   · · · A· · ·I wasn't keeping a time log so I can't
10·   ·   ·   ·for the deposition.· But you're here today, so I'm   10·   ·   ·   ·give you an exact time.
11·   ·   ·   ·assuming your counsel saw it.                        11·   ·   ·   · · · Q· · ·Approximately?· Five hours, more or
12·   ·   ·   · · · · · · MS. O'GRADY:· Marcy, have you been able   12·   ·   ·   ·less?
13·   ·   ·   ·to find it.                                          13·   ·   ·   · · · A· · ·I would say maybe between eight hours
14·   ·   ·   · · · · · · MS. BERMAN:· Yes, I see it.· It's the     14·   ·   ·   ·and --
15·   ·   ·   ·fourth one down; right?· Yes.· I got it.· Thank      15·   ·   ·   · · · Q· · ·Okay.· And besides your declaration,
16·   ·   ·   ·you.                                                 16·   ·   ·   ·the declaration of Mark Brown and the declaration
17·   ·   ·   · · · · · · MS. O'GRADY:· No problem.                 17·   ·   ·   ·of Colleen Nevin, did you review any other
18·   ·   ·   · · · BY MS. O'GRADY:                                 18·   ·   ·   ·documents to refresh your recollection?
19·   ·   ·   · · · Q· · ·As we go forward, the PDFs are            19·   ·   ·   · · · A· · ·I -- no.· I'm trying to think if I
20·   ·   ·   ·automatically alphabetized so I will try to read     20·   ·   ·   ·looked at anything else.· Oh, I did go back and
21·   ·   ·   ·out the file names as clearly as I can.              21·   ·   ·   ·looked at the time -- I looked at the date when
22·   ·   ·   · · · · · · Ms. Jones, I wanted to talk to you        22·   ·   ·   ·the 2019 Department of Defense regulation
23·   ·   ·   ·about preparation for this deposition.· Did you do   23·   ·   ·   ·finalized just to refresh the timeline.
24·   ·   ·   ·anything to prepare for today?                       24·   ·   ·   · · · Q· · ·Did you look at the exhibits to those
25·   ·   ·   · · · A· · ·I reviewed my deposition.                 25·   ·   ·   ·declarations or just the declarations themselves?

                                                        Page 15                                                             Page 17
·1·   ·   ·   · · · Q· · ·And which deposition?                     ·1·   ·   ·   · · · A· · ·The exhibits to my declaration, I don't
·2·   ·   ·   · · · A· · ·I'm sorry.· The declaration.              ·2·   ·   ·   ·believe were included, so I did not.· And I think
·3·   ·   ·   · · · Q· · ·Okay.                                     ·3·   ·   ·   ·in the case of other documents, there were some
·4·   ·   ·   · · · A· · ·I reviewed the declaration that had       ·4·   ·   ·   ·exhibits that I saw and some that I did not.
·5·   ·   ·   ·been submitted earlier.                              ·5·   ·   ·   · · · Q· · ·Okay.· Do you happen to recall -- well,
·6·   ·   ·   · · · Q· · ·Okay.· Did you review any other           ·6·   ·   ·   ·I'll ask if today we are going through exhibits
·7·   ·   ·   ·documents?                                           ·7·   ·   ·   ·and they are one you used to prepare, I'd be
·8·   ·   ·   · · · A· · ·I reviewed the declaration that was       ·8·   ·   ·   ·interested to know that, if you've seen it
·9·   ·   ·   ·submitted by Mark Brown and the one that was         ·9·   ·   ·   ·recently and not just when the document was first,
10·   ·   ·   ·submitted I believe by Colleen Nevin and had         10·   ·   ·   ·you know, issued or when you first saw it.
11·   ·   ·   ·conversations with folks on the phone today.         11·   ·   ·   · · · A· · ·Okay.
12·   ·   ·   · · · Q· · ·Who did you have conversations with       12·   ·   ·   · · · Q· · ·Okay.· I'm going to ask just a couple
13·   ·   ·   ·today?                                               13·   ·   ·   ·of questions about your job history, work history.
14·   ·   ·   · · · A· · ·Conversations today or conversations      14·   ·   ·   ·And I would like to know, have you ever been
15·   ·   ·   ·prior to today?                                      15·   ·   ·   ·deposed before?
16·   ·   ·   · · · Q· · ·Conversations -- any conversations        16·   ·   ·   · · · A· · ·Yes.
17·   ·   ·   ·preparing for this deposition.· And I'm not asking   17·   ·   ·   · · · Q· · ·And how many times?
18·   ·   ·   ·for anything privileged.· I don't need to know the   18·   ·   ·   · · · A· · ·Twice.
19·   ·   ·   ·content of those conversations, but I'm just         19·   ·   ·   · · · Q· · ·And what cases were those?
20·   ·   ·   ·wondering who you spoke to to prepare for today's    20·   ·   ·   · · · A· · ·Once I served as an expert witness.
21·   ·   ·   ·deposition?                                          21·   ·   ·   ·This was several years ago, and so I was deposed
22·   ·   ·   · · · A· · ·So the attorneys from DOJ that are on     22·   ·   ·   ·as an expert witness.· And once was when I was a
23·   ·   ·   ·the call today, Marcy, Katherine, Charlie and then   23·   ·   ·   ·teenager, I was deposed as part of my parents'
24·   ·   ·   ·Jed from the Department of Education, and -- and I   24·   ·   ·   ·divorce hearing.
25·   ·   ·   ·think -- is it David?· I'm sorry.· Is it David       25·   ·   ·   · · · Q· · ·And when you served as an expert


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·1·   ·   ·   ·witness, was that on behalf of the Center for        ·1·   ·   ·   ·are responsible for?
·2·   ·   ·   ·Excellence in Higher Education?                      ·2·   ·   ·   · · · A· · ·I'm responsible for overseeing the
·3·   ·   ·   · · · A· · ·Yes.                                      ·3·   ·   ·   ·Office of Postsecondary Education and that
·4·   ·   ·   · · · · · · MS. O'GRADY:· Okay.· We're going to       ·4·   ·   ·   ·includes both the regulatory, the policy and
·5·   ·   ·   ·mark as Exhibit 2 the declaration that you had no    ·5·   ·   ·   ·regulatory division of the Office of Postsecondary
·6·   ·   ·   ·specific -- that you used to prepare for this        ·6·   ·   ·   ·Ed.· That hasn't -- the direct supervisor of the
·7·   ·   ·   ·deposition.· And in the folder, that is going to     ·7·   ·   ·   ·assistant secretary ultimately reports up to the
·8·   ·   ·   ·be ECF number 56-3, Jones Declaration.· It is        ·8·   ·   ·   ·media office.· That also includes our grant
·9·   ·   ·   ·about the eighth file down in the folder.            ·9·   ·   ·   ·programs and all our postsecondary ed grant
10·   ·   ·   · · · · · · THE WITNESS:· This is the declaration?    10·   ·   ·   ·programs.
11·   ·   ·   · · · · · · MS. O'GRADY:· Yes, Jones declaration.     11·   ·   ·   · · · · · · I also receive the office of what's
12·   ·   ·   · · · · · · (Jones Deposition Exhibit 2 was marked    12·   ·   ·   ·called OCTAE, the Office of Career, Technical and
13·   ·   ·   ·for identification and attached to the               13·   ·   ·   ·Adult Education.· And again, they have a number of
14·   ·   ·   ·transcript.)                                         14·   ·   ·   ·grant programs, and the Perkins loan program --
15·   ·   ·   · · · BY MS. O'GRADY:                                 15·   ·   ·   ·I'm sorry, the Perkins Act programs and those
16·   ·   ·   · · · Q· · ·And do you have that open and ready?      16·   ·   ·   ·report up to me.
17·   ·   ·   · · · A· · ·I do.                                     17·   ·   ·   · · · · · · And then federal student aid also
18·   ·   ·   · · · Q· · ·So, Ms. Jones, did you write this         18·   ·   ·   ·reports to me.· In the case of federal student
19·   ·   ·   ·document?                                            19·   ·   ·   ·aid, it is a performance-based organization, and
20·   ·   ·   · · · A· · ·Yes.                                      20·   ·   ·   ·so the relationship between the department and the
21·   ·   ·   · · · Q· · ·Did you have anyone assist you in         21·   ·   ·   ·FSA is slightly different than OPE or OCTAE, the
22·   ·   ·   ·writing it?                                          22·   ·   ·   ·other two divisions that report up to me.
23·   ·   ·   · · · A· · ·Yes.                                      23·   ·   ·   · · · · · · With regard to FSA, I am -- I have
24·   ·   ·   · · · Q· · ·And who helped you write it?              24·   ·   ·   ·oversight over the policy that is implemented by
25·   ·   ·   · · · A· · ·Office of General Counsel at the          25·   ·   ·   ·FSA.· So policy and operations are divided in

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·1·   ·   ·   ·Department of Ed.                                    ·1·   ·   ·   ·statute, and the operations of FSA are the domain
·2·   ·   ·   · · · Q· · ·Anything else?                            ·2·   ·   ·   ·of the chief operating officer, and then policy
·3·   ·   ·   · · · A· · ·No.                                       ·3·   ·   ·   ·oversight is the domain of both the Office of
·4·   ·   ·   · · · Q· · ·And on the last page, that's your         ·4·   ·   ·   ·Postsecondary Ed and then my oversight in the
·5·   ·   ·   ·signature?                                           ·5·   ·   ·   ·Office of the Under Secretary.
·6·   ·   ·   · · · A· · ·Yes, it is.                               ·6·   ·   ·   · · · Q· · ·So who else besides you oversees policy
·7·   ·   ·   · · · Q· · ·Okay.· And I just want to note for the    ·7·   ·   ·   ·at FSA?
·8·   ·   ·   ·record you signed this under penalty of perjury?     ·8·   ·   ·   · · · A· · ·Do you mean the implementation of
·9·   ·   ·   · · · A· · ·Yes.                                      ·9·   ·   ·   ·policy or the development of policy?
10·   ·   ·   · · · Q· · ·Now, I'm just -- use your declaration     10·   ·   ·   · · · Q· · ·I'll ask both.· First the development
11·   ·   ·   ·as a jumping off point for getting a sense of your   11·   ·   ·   ·of policy?
12·   ·   ·   ·job history and then eventually your                 12·   ·   ·   · · · A· · ·So the development of policy, you know,
13·   ·   ·   ·responsibilities at the Department of Education.     13·   ·   ·   ·it involves the Office of Postsecondary Education,
14·   ·   ·   · · · · · · So if we can just go to paragraph 2       14·   ·   ·   ·it involves my office, the Office of the Secretary
15·   ·   ·   ·which discusses your job title and                   15·   ·   ·   ·and the Office of General Counsel.
16·   ·   ·   ·responsibilities.                                    16·   ·   ·   · · · · · · Policy development involves all of
17·   ·   ·   · · · A· · ·I can see it.                             17·   ·   ·   ·those offices in the process, and in some cases
18·   ·   ·   · · · Q· · ·Thank you.· Okay.· I'm hoping you can     18·   ·   ·   ·the Office of Management and Budget as well.
19·   ·   ·   ·expound upon this right now and give me a broader    19·   ·   ·   · · · Q· · ·And then the implementation of policy,
20·   ·   ·   ·sense of what you at this point consider your job    20·   ·   ·   ·was that the second prong?
21·   ·   ·   ·responsibilities to be?                              21·   ·   ·   · · · A· · ·(Witness nods head.)
22·   ·   ·   · · · A· · ·So I serve currently as the principal     22·   ·   ·   · · · Q· · ·Okay.· And who oversees that?
23·   ·   ·   ·deputy under secretary and am delegated the duties   23·   ·   ·   · · · A· · ·So there -- at FSA, there is a policy
24·   ·   ·   ·of under secretary at the Department of Ed.          24·   ·   ·   ·implementation office.· They are involved in the
25·   ·   ·   · · · Q· · ·And what are the main areas that you      25·   ·   ·   ·actual implementation of the policy at which point


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·1·   ·   ·   ·my role becomes making sure that the                 ·1·   ·   ·   ·So in that case she did sign off.· I -- I was part
·2·   ·   ·   ·implementation of the policy aligns with our         ·2·   ·   ·   ·of that meeting.
·3·   ·   ·   ·regulations.                                         ·3·   ·   ·   · · · · · · In other cases, I don't always know who
·4·   ·   ·   · · · Q· · ·Is anyone else besides you performing     ·4·   ·   ·   ·the decision maker was.· There were conversations,
·5·   ·   ·   ·that role of, I think as you put it, ensuring the    ·5·   ·   ·   ·but I don't always know who the decision maker
·6·   ·   ·   ·implementation of the policies within the            ·6·   ·   ·   ·was.
·7·   ·   ·   ·regulations?                                         ·7·   ·   ·   · · · Q· · ·But regarding the 2019 regulations, the
·8·   ·   ·   · · · A· · ·Yes, the Office of the Secretary, the     ·8·   ·   ·   ·secretary herself was a decision maker?
·9·   ·   ·   ·Office of General Counsel and, in some cases, the    ·9·   ·   ·   · · · A· · ·Oh, you're talking about our -- our
10·   ·   ·   ·Office of Management and Budget.                     10·   ·   ·   ·rule-making effort in December 2019?
11·   ·   ·   · · · Q· · ·And when you say "the Office of the       11·   ·   ·   · · · Q· · ·Well, I was just talking about the
12·   ·   ·   ·Secretary," do you mean the secretary herself, or    12·   ·   ·   ·meeting that you just referenced.
13·   ·   ·   ·are there other certain individuals that are         13·   ·   ·   · · · A· · ·The meeting I just referenced was with
14·   ·   ·   ·tasked with that?                                    14·   ·   ·   ·regard to the relief methodology --
15·   ·   ·   · · · A· · ·There are a group of people that are      15·   ·   ·   · · · Q· · ·Okay.
16·   ·   ·   ·involved depending upon which policy decision        16·   ·   ·   · · · A· · ·-- that was determined in 2019.
17·   ·   ·   ·you're discussing, so in some cases it would         17·   ·   ·   · · · · · · If you're asking me about negotiated
18·   ·   ·   ·involve the secretary's chief of staff, the          18·   ·   ·   ·rule making, that is a fundamentally different
19·   ·   ·   ·Capitol floor to the secretary, the deputy           19·   ·   ·   ·process in -- in which case, no, the secretary is
20·   ·   ·   ·secretary.· And in some cases where there's a        20·   ·   ·   ·not -- does not, you know, directly sign off on
21·   ·   ·   ·formal decision on loans, for example, the           21·   ·   ·   ·that.· There's negotiator rule-making process, a
22·   ·   ·   ·secretary, you know, would be the person who would   22·   ·   ·   ·public comment period, a response.· So that is a
23·   ·   ·   ·sign off.                                            23·   ·   ·   ·much longer process.· That is not just an effort
24·   ·   ·   · · · · · · So it depends on the issue.· It depends   24·   ·   ·   ·of the secretary making a decision.
25·   ·   ·   ·on the topic.· But it could involve her, the         25·   ·   ·   · · · Q· · ·Okay.· And in terms of the relief

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·1·   ·   ·   ·entire group or some subset of that group.           ·1·   ·   ·   ·methodology decision, was she involved just in
·2·   ·   ·   · · · Q· · ·With regard to borrower defense           ·2·   ·   ·   ·that one meeting or in decision-making meetings up
·3·   ·   ·   ·policies, does that include the secretary herself?   ·3·   ·   ·   ·to that meeting?
·4·   ·   ·   · · · A· · ·Again it would depend on the issue        ·4·   ·   ·   · · · · · · MR. MERRITT:· Objection: scope.
·5·   ·   ·   ·within the -- under the umbrella of borrower         ·5·   ·   ·   · · · BY MS. O'GRADY:
·6·   ·   ·   ·defense, there are many, many issues that fall       ·6·   ·   ·   · · · Q· · ·I want to get a sense of whether or not
·7·   ·   ·   ·under that.· Some could include the secretary and    ·7·   ·   ·   ·there was a single meeting where the secretary
·8·   ·   ·   ·some might not.                                      ·8·   ·   ·   ·signed the relief methodology or if there had been
·9·   ·   ·   · · · Q· · ·And when has the secretary herself been   ·9·   ·   ·   ·previous involvement with her personally.
10·   ·   ·   ·included?                                            10·   ·   ·   · · · · · · MR. MERRITT:· Well, the relief
11·   ·   ·   · · · A· · ·Are you asking me about conversations     11·   ·   ·   ·technology is not a topic on which the court
12·   ·   ·   ·or decisions?                                        12·   ·   ·   ·authorized discovery.
13·   ·   ·   · · · Q· · ·I'm asking about decisions.· You said     13·   ·   ·   · · · · · · MS. O'GRADY:· Well, I would disagree.
14·   ·   ·   ·there are certain instances where she might become   14·   ·   ·   ·I believe it's related.· But for purposes of just
15·   ·   ·   ·personally involved, and I'm wondering what those    15·   ·   ·   ·getting us started, I'll move on.
16·   ·   ·   ·instances are if you can give me examples, if not    16·   ·   ·   · · · BY MS. O'GRADY:
17·   ·   ·   ·an exhaustive list?                                  17·   ·   ·   · · · Q· · ·Okay.· Ms. Jones, who do you report to?
18·   ·   ·   · · · A· · ·Right.· I can't give you an exhaustive    18·   ·   ·   ·I just want to get a sense of the general
19·   ·   ·   ·list because, you know, I haven't been witness to    19·   ·   ·   ·reporting structure in your current role.
20·   ·   ·   ·every decision so I'm not always sure who exactly    20·   ·   ·   · · · A· · ·I report to the Secretary of Education.
21·   ·   ·   ·made the decision.· But I can tell you that with     21·   ·   ·   · · · Q· · ·And is there anyone else between you
22·   ·   ·   ·regard to the development and approval of the new    22·   ·   ·   ·and her that you report to?
23·   ·   ·   ·relief methodology that was announced in             23·   ·   ·   · · · A· · ·Directly or indirectly?
24·   ·   ·   ·December 2019, I believe, the secretary did sign     24·   ·   ·   · · · Q· · ·I suppose -- if there's no one
25·   ·   ·   ·off and authorize the use of a new methodology.      25·   ·   ·   ·directly, I suppose indirectly.


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·1·   ·   ·   · · · A· · ·Yeah.· I mean, the secretary's chief of   ·1·   ·   ·   · · · A· · ·My direct reports -- do you want them
·2·   ·   ·   ·staff performs, and I perform.· So I guess in some   ·2·   ·   ·   ·by name or position?
·3·   ·   ·   ·sense, you know, one could say that I report to      ·3·   ·   ·   · · · Q· · ·Both, if possible.
·4·   ·   ·   ·him.· You know, he does that review.                 ·4·   ·   ·   · · · A· · ·Michael Brickman is a policy advisor in
·5·   ·   ·   · · · Q· · ·Is there anyone else involved in your     ·5·   ·   ·   ·my -- in my office.· Jesse Hokanson is a
·6·   ·   ·   ·performance reviews?                                 ·6·   ·   ·   ·confidential assistant in my office.· John Lucas
·7·   ·   ·   · · · A· · ·Not that I'm aware of.                    ·7·   ·   ·   ·Adair -- he goes by Lucas, so I only refer to him
·8·   ·   ·   · · · Q· · ·And how often do you receive those?       ·8·   ·   ·   ·as Lucas.· Lucas Adair is a confidential assistant
·9·   ·   ·   · · · A· · ·That's an annual process.                 ·9·   ·   ·   ·in my office.
10·   ·   ·   · · · Q· · ·And whose performance reviews are you     10·   ·   ·   · · · · · · Johnathan Holifield is the director of
11·   ·   ·   ·responsible for?                                     11·   ·   ·   ·the White House Initiative on Historically Black
12·   ·   ·   · · · A· · ·I'm responsible -- that is -- that has    12·   ·   ·   ·Colleges and Universities.· Technically, I am his
13·   ·   ·   ·changed over time as my role has changed, so I       13·   ·   ·   ·supervisor, but because of workload, Michael
14·   ·   ·   ·would need to know do you mean today, this year,     14·   ·   ·   ·Brickman has stepped in and does the first-line
15·   ·   ·   ·in prior years?                                      15·   ·   ·   ·performance review for Johnathan and does the
16·   ·   ·   · · · Q· · ·Would it be too cumbersome to give me     16·   ·   ·   ·regular meetings with Johnathan.
17·   ·   ·   ·the evolution?                                       17·   ·   ·   · · · · · · So I'm ultimately responsible, but
18·   ·   ·   · · · A· · ·Well, it could be, but I'll try.· When    18·   ·   ·   ·Michael Brickman is his day-to-day liaison to my
19·   ·   ·   ·I -- there was a period of time early in my tenure   19·   ·   ·   ·office.
20·   ·   ·   ·where I was the principal deputy undersecretary,     20·   ·   ·   · · · Q· · ·Okay.
21·   ·   ·   ·the acting assistant secretary and the acting        21·   ·   ·   · · · A· · ·There was a period of time where there
22·   ·   ·   ·deputy assistant secretary.· I either had the        22·   ·   ·   ·were other White House initiatives that reported
23·   ·   ·   ·direct responsibility or was the secondary signer    23·   ·   ·   ·to me, so I also had direct supervision of those
24·   ·   ·   ·on over 100 performance reviews.                     24·   ·   ·   ·directors and their performance review, but they
25·   ·   ·   · · · · · · As the assistant secretary -- when the    25·   ·   ·   ·have now moved to the Office of Communications,

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·1·   ·   ·   ·assistant secretary was finally confirmed, he took   ·1·   ·   ·   ·and so I no longer am involved in their
·2·   ·   ·   ·much of that responsibility off of my plate.         ·2·   ·   ·   ·performance review or their management.
·3·   ·   ·   · · · · · · And then in my role as principal deputy   ·3·   ·   ·   · · · Q· · ·Thank you.
·4·   ·   ·   ·undersecretary, I have the oversight over the        ·4·   ·   ·   · · · A· · ·Uh-huh.
·5·   ·   ·   ·individual who runs the Historically Black           ·5·   ·   ·   · · · Q· · ·If we can go to paragraph 4 of
·6·   ·   ·   ·Colleges and University initiative, and then he      ·6·   ·   ·   ·Exhibit 2, your declaration.· And if you could
·7·   ·   ·   ·has staff beneath him under which, you know, I can   ·7·   ·   ·   ·just read paragraph 4 beginning, As part of my
·8·   ·   ·   ·serve as a secondary reviewer.                       ·8·   ·   ·   ·responsibilities?
·9·   ·   ·   · · · · · · I have members of my direct staff, so I   ·9·   ·   ·   · · · A· · ·As part of my responsibilities in the
10·   ·   ·   ·have three individuals who are either policy         10·   ·   ·   ·department, I have worked extensively on issues
11·   ·   ·   ·advisors or confidential assistants in the Office    11·   ·   ·   ·relating to the implementation and administration
12·   ·   ·   ·of the UnderSecretary.· I do their performance       12·   ·   ·   ·of the department's regulations regarding borrower
13·   ·   ·   ·reviews.· And Mark Brown, the chief operating        13·   ·   ·   ·defenses to the collection of federal student
14·   ·   ·   ·officer, I am responsible for his performance        14·   ·   ·   ·loans.
15·   ·   ·   ·review.                                              15·   ·   ·   · · · Q· · ·Okay.· And, Ms. Jones, if you could
16·   ·   ·   · · · Q· · ·And are you responsible for anyone's      16·   ·   ·   ·give me a sense of what that work entailed?
17·   ·   ·   ·performance review in FSA?                           17·   ·   ·   · · · · · · Who are the other team members?· You
18·   ·   ·   · · · A· · ·I'm only responsible for Mark Brown's     18·   ·   ·   ·can start there.
19·   ·   ·   ·performance review who is the chief operating        19·   ·   ·   · · · A· · ·So we engaged in a negotiating
20·   ·   ·   ·officer.                                             20·   ·   ·   ·rule-making effort on borrower defense.· I had not
21·   ·   ·   · · · Q· · ·But it's just him in FSA?                 21·   ·   ·   ·yet joined the department when the negotiated
22·   ·   ·   · · · A· · ·Just him.                                 22·   ·   ·   ·rule-making process was underway.· But I was at
23·   ·   ·   · · · Q· · ·Okay.· Who would say -- separate from     23·   ·   ·   ·the department for the development of the notice
24·   ·   ·   ·the question of performance reviews, who would you   24·   ·   ·   ·of proposed rule making for the 2019 borrower
25·   ·   ·   ·say are your direct reports?                         25·   ·   ·   ·defense regulations.


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·1·   ·   ·   · · · · · · The day-to-day work on that is done by    ·1·   ·   ·   ·started working on the borrower defense
·2·   ·   ·   ·the Office of Postsecondary Education, but I don't   ·2·   ·   ·   ·regulation.· It was as a policy advisor in the
·3·   ·   ·   ·have oversight of that and involvement in it.        ·3·   ·   ·   ·Office of Postsecondary Ed.· There was no
·4·   ·   ·   · · · · · · We then -- we got over 38,000 comments    ·4·   ·   ·   ·predecessor.· Then I moved into the role of acting
·5·   ·   ·   ·in response to the notice of proposed rule making.   ·5·   ·   ·   ·assistant secretary.· There -- the predecessor
·6·   ·   ·   ·Obviously we have staff -- career staff in the       ·6·   ·   ·   ·there was Frank Brogan who was serving in the
·7·   ·   ·   ·Office of Postsecondary Ed who reviewed those        ·7·   ·   ·   ·acting assistant secretary role until he became
·8·   ·   ·   ·comments and responded to them, but obviously I      ·8·   ·   ·   ·confirmed for his permanent role.
·9·   ·   ·   ·reviewed that document before moving forward.        ·9·   ·   ·   · · · Q· · ·Ms. Jones, when you were a policy
10·   ·   ·   · · · · · · Office of Management and Budget and       10·   ·   ·   ·advisor, how long were you a policy advisor?
11·   ·   ·   ·other federal offices are involved in the            11·   ·   ·   · · · A· · ·I believe it was some -- somewhere in
12·   ·   ·   ·clearance process of a notice of proposed rule       12·   ·   ·   ·the neighborhood of maybe four months.· I can't
13·   ·   ·   ·making and as well as in the publication of a        13·   ·   ·   ·remember exactly when Frank Brogan was confirmed,
14·   ·   ·   ·final regulation.                                    14·   ·   ·   ·but I joined the department approximately in
15·   ·   ·   · · · · · · So, you know, I didn't write the          15·   ·   ·   ·February, and I believe that Frank Brogan was
16·   ·   ·   ·specific responses, but obviously all of that I      16·   ·   ·   ·confirmed early -- perhaps early in the summer.
17·   ·   ·   ·had oversight over and, you know, was involved in    17·   ·   ·   · · · · · · So there was a period of time of a few
18·   ·   ·   ·making sure we met the timeline and got that final   18·   ·   ·   ·months.
19·   ·   ·   ·regulation published.                                19·   ·   ·   · · · Q· · ·And that's February 2018?
20·   ·   ·   · · · Q· · ·And as you began your role, who got you   20·   ·   ·   · · · A· · ·That is correct.
21·   ·   ·   ·up to speed?                                         21·   ·   ·   · · · Q· · ·And before February 2018, what was your
22·   ·   ·   · · · A· · ·On what issue?                            22·   ·   ·   ·job?
23·   ·   ·   · · · Q· · ·On -- on the negotiated rule making       23·   ·   ·   · · · A· · ·Senior policy advisor to the Secretary
24·   ·   ·   ·that had already been taking place?                  24·   ·   ·   ·of Labor at the U.S. Department of Labor.
25·   ·   ·   · · · A· · ·I believe that I was brought up to        25·   ·   ·   · · · Q· · ·And how long did you have that

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·1·   ·   ·   ·speed by a team of people -- and I'm not going to    ·1·   ·   ·   ·position?
·2·   ·   ·   ·remember every person who was in the room.· It was   ·2·   ·   ·   · · · A· · ·From November of 2017 until February of
·3·   ·   ·   ·a group of staff in the Office of Postsecondary      ·3·   ·   ·   ·2018.
·4·   ·   ·   ·Education, the staff in the policy group that        ·4·   ·   ·   · · · Q· · ·And before that, what was your role?
·5·   ·   ·   ·actually the rule making and wrote the MPRM.· So     ·5·   ·   ·   · · · A· · ·I was at the Urban Institute, where I
·6·   ·   ·   ·there were, you know, maybe five, six, seven         ·6·   ·   ·   ·was a fellow working on apprenticeship issues, and
·7·   ·   ·   ·members of the Office of Postsecondary Education.    ·7·   ·   ·   ·that started in 2015.
·8·   ·   ·   ·There were several members of the Office of          ·8·   ·   ·   · · · Q· · ·And then before 2015?
·9·   ·   ·   ·General Counsel.· Michael Brickman, who at the       ·9·   ·   ·   · · · A· · ·2010 to 2015, I was an employee at the
10·   ·   ·   ·time was still in the Office of Postsecondary Ed.    10·   ·   ·   ·Career Education Corporation.
11·   ·   ·   ·So there were -- I was brought up to speed on rule   11·   ·   ·   · · · Q· · ·What were your roles there?
12·   ·   ·   ·making by engaging in these meetings with Office     12·   ·   ·   · · · A· · ·When I joined the company, I was a -- I
13·   ·   ·   ·of General Counsel and office of Postsecondary Ed    13·   ·   ·   ·can't remember if I was a senior vice president or
14·   ·   ·   ·in the development of the MPRM in those proposed     14·   ·   ·   ·vice president but in regulatory affairs, and
15·   ·   ·   ·rule making.                                         15·   ·   ·   ·I'm -- over time I was promoted, I guess, to
16·   ·   ·   · · · Q· · ·Did your predecessor have any             16·   ·   ·   ·senior vice president for regulatory affairs and
17·   ·   ·   ·involvement when you began your role?                17·   ·   ·   ·then ultimately I was promoted to senior vice
18·   ·   ·   · · · A· · ·Which predecessor do you mean?            18·   ·   ·   ·president for external relations, I think, is the
19·   ·   ·   · · · Q· · ·Well, who was your direct predecessor?    19·   ·   ·   ·title and chief external affairs officer.
20·   ·   ·   · · · A· · ·Jim Manning was the acting under --       20·   ·   ·   · · · Q· · ·At any of those roles at CEC, did you
21·   ·   ·   ·well --                                              21·   ·   ·   ·deal with borrower defense?
22·   ·   ·   · · · Q· · ·Yeah.                                     22·   ·   ·   · · · A· · ·Can you define what you mean by "deal
23·   ·   ·   · · · A· · ·To be clear, when we -- when we           23·   ·   ·   ·with"?
24·   ·   ·   ·started -- when I started in my role, I was a        24·   ·   ·   · · · Q· · ·Did you give any advice regarding,
25·   ·   ·   ·policy advisor.· There was no predecessors. I        25·   ·   ·   ·develop policies about, ever answer anybody's


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·1·   ·   ·   ·questions about it, whatever regarding your job?     ·1·   ·   ·   · · · Q· · ·And when you say "retained," they paid
·2·   ·   ·   · · · · · · MR. MERRITT:· Objection.· It's broad,     ·2·   ·   ·   ·you a fee to do that; correct?
·3·   ·   ·   ·and also it's scope.                                 ·3·   ·   ·   · · · A· · ·Correct.
·4·   ·   ·   · · · · · · MS. O'GRADY:· I believe the witness can   ·4·   ·   ·   · · · Q· · ·Okay.· We're going to go back to
·5·   ·   ·   ·still answer.                                        ·5·   ·   ·   ·Exhibit 2.· Let's look at paragraph 7 of your
·6·   ·   ·   · · · · · · MR. MERRITT:· Yeah.· Sorry.· Go ahead.    ·6·   ·   ·   ·declaration.· And this is under the heading --
·7·   ·   ·   · · · · · · THE WITNESS:· So could you restate the    ·7·   ·   ·   ·excuse me, we don't need to actually just go to
·8·   ·   ·   ·question?                                            ·8·   ·   ·   ·paragraph 7.· I just want to go to the heading at
·9·   ·   ·   · · · BY MS. O'GRADY:                                 ·9·   ·   ·   ·the very top of the page --
10·   ·   ·   · · · Q· · ·I'm wondering if in your role at CEC      10·   ·   ·   · · · A· · ·I'd also like to add because I think
11·   ·   ·   ·you ever had to discuss borrower defense?            11·   ·   ·   ·it's important to understand that I also spent ten
12·   ·   ·   · · · A· · ·I was at CEC during the negotiated rule   12·   ·   ·   ·years working at the Community College of
13·   ·   ·   ·making.· So while the department was engaged in      13·   ·   ·   ·Baltimore County, I worked time working at the
14·   ·   ·   ·negotiated rule making for 2016, that negotiated     14·   ·   ·   ·University of Maryland, and I spent several years
15·   ·   ·   ·rule-making process began while I was at CEC.· So,   15·   ·   ·   ·working at Princeton University.
16·   ·   ·   ·yes, I absolutely followed that rule-making          16·   ·   ·   · · · · · · So I do want to make it clear that my
17·   ·   ·   ·process.                                             17·   ·   ·   ·past employment in higher education was --
18·   ·   ·   · · · Q· · ·And did you provide advice to CEC about   18·   ·   ·   ·included a number of institutions and not just
19·   ·   ·   ·that rule making -- while that rule-making process   19·   ·   ·   ·Career Education Corporation.
20·   ·   ·   ·was going on?                                        20·   ·   ·   · · · Q· · ·On the top of the third page of the PDF
21·   ·   ·   · · · · · · MR. MERRITT:· Objection: scope.           21·   ·   ·   ·of Exhibit 2, your declaration, the heading there
22·   ·   ·   · · · BY MS. O'GRADY:                                 22·   ·   ·   ·is, The department's federal student aid
23·   ·   ·   · · · Q· · ·You can still answer despite Charlie's    23·   ·   ·   ·priorities 2018 to 2019.
24·   ·   ·   ·objection.                                           24·   ·   ·   · · · · · · And when you began your position, what
25·   ·   ·   · · · · · · MR. MERRITT:· Yeah, you can answer that   25·   ·   ·   ·was your understanding of those priorities?

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·1·   ·   ·   ·question.· But I guess we'll see how -- see how      ·1·   ·   ·   · · · A· · ·When I began my position, my
·2·   ·   ·   ·long -- how deep this line of questioning is going   ·2·   ·   ·   ·priority -- the priority in which I was engaged
·3·   ·   ·   ·to go.                                               ·3·   ·   ·   ·was completing the final rule making for borrower
·4·   ·   ·   · · · · · · THE WITNESS:· I mean, obviously I         ·4·   ·   ·   ·defense.· So when I joined the department, I was
·5·   ·   ·   ·followed the negotiated rule-making process and      ·5·   ·   ·   ·in the Office of Postsecondary Ed.· I did not have
·6·   ·   ·   ·provided updates to the management at CEC about      ·6·   ·   ·   ·any oversight role with regard to federal student
·7·   ·   ·   ·first, what had taken place in rule making, and      ·7·   ·   ·   ·aid.· So my focus was on -- on the -- completing
·8·   ·   ·   ·then subsequently the content of the proposed        ·8·   ·   ·   ·the final rule.· So first, the notice of proposed
·9·   ·   ·   ·rule.                                                ·9·   ·   ·   ·rule making and then a final rule for the 2019
10·   ·   ·   · · · · · · I can't remember if I was still at CEC    10·   ·   ·   ·regulation.
11·   ·   ·   ·when the final BP reg was published.· I just can't   11·   ·   ·   · · · Q· · ·Okay.· And in the next -- two pages
12·   ·   ·   ·remember the timeline.· But I do remember updating   12·   ·   ·   ·later, so this is on page 5 of the PDF in
13·   ·   ·   ·CEC employees, leaders about the progress of -- of   13·   ·   ·   ·paragraph 10.· Here you discuss, Once the court
14·   ·   ·   ·rule making.                                         14·   ·   ·   ·decisions were issued and the 2016 regulations
15·   ·   ·   · · · BY MS. O'GRADY:                                 15·   ·   ·   ·became effective, the start of that paragraph.
16·   ·   ·   · · · Q· · ·And, Ms. Jones, at what point -- you      16·   ·   ·   · · · · · · In the middle of that paragraph you
17·   ·   ·   ·had mentioned a deposition you gave as an expert     17·   ·   ·   ·write, The department also had to develop
18·   ·   ·   ·for CEHE.· When were you working for them, at what   18·   ·   ·   ·processes for implementing the new financial
19·   ·   ·   ·point?                                               19·   ·   ·   ·responsibility requirements of the 2016
20·   ·   ·   · · · A· · ·I was never working for them.· You        20·   ·   ·   ·regulations, which included substantial reporting
21·   ·   ·   ·know, I was retained to give a deposition.· And I    21·   ·   ·   ·requirements.· The department spent considerable
22·   ·   ·   ·can't remember the exact date, but it was after I    22·   ·   ·   ·time and effort identifying which offices would
23·   ·   ·   ·was no longer employed by CEC.· So it would have     23·   ·   ·   ·handle different parts of the process and
24·   ·   ·   ·been after 2015 but before I came back to federal    24·   ·   ·   ·developing the necessary instructions.
25·   ·   ·   ·service.                                             25·   ·   ·   · · · · · · How much time went into that process?


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·1·   ·   ·   · · · A· · ·I don't have a record of hours spent,     ·1·   ·   ·   · · · Q· · ·And borrower defense falls under the
·2·   ·   ·   ·so I can't tell you how many hours, but it was a,    ·2·   ·   ·   ·Title IV programs that you mentioned?
·3·   ·   ·   ·you know, very complicated -- it was a very          ·3·   ·   ·   · · · A· · ·That is correct.
·4·   ·   ·   ·complicated issue that required many meetings        ·4·   ·   ·   · · · Q· · ·Okay.· And in Exhibit 2, paragraph 15,
·5·   ·   ·   ·which ultimately resulted in the development of an   ·5·   ·   ·   ·which is going to be on PDF page 6.· So this
·6·   ·   ·   ·electronic announcement so that we could notify      ·6·   ·   ·   ·paragraph discusses what was going on in 2017
·7·   ·   ·   ·institutions about how to implement the 2016 reg.    ·7·   ·   ·   ·which is before your tenure either as policy
·8·   ·   ·   ·Initially, I put in a lot of time.· I can tell you   ·8·   ·   ·   ·advisor or your subsequent roles.
·9·   ·   ·   ·that.· But I can't estimate how many hours.          ·9·   ·   ·   · · · · · · With that in your mind --
10·   ·   ·   · · · Q· · ·In your role do you create timelines      10·   ·   ·   · · · A· · ·If that's your question, yes.
11·   ·   ·   ·and budgets for projects for implementation of       11·   ·   ·   · · · Q· · ·With that in mind, I just want to note
12·   ·   ·   ·regulations?                                         12·   ·   ·   ·that I understand this is from before your tenure,
13·   ·   ·   · · · A· · ·In which role?· I mean, are you talking   13·   ·   ·   ·but you did write in this declaration about in
14·   ·   ·   ·about when I first came to the department?· In my    14·   ·   ·   ·2017, that the department conducted a thorough
15·   ·   ·   ·current role?· In which role?                        15·   ·   ·   ·review.
16·   ·   ·   · · · Q· · ·Both.· So how about we'll start with      16·   ·   ·   · · · · · · What's your understanding why that
17·   ·   ·   ·when you first came to the department.               17·   ·   ·   ·happened, why that review was conducted?
18·   ·   ·   · · · A· · ·When I first came to the department, I    18·   ·   ·   · · · A· · ·So when I -- when I -- so this did take
19·   ·   ·   ·was involved in timelines for publishing final       19·   ·   ·   ·place before I came to the department.· And when I
20·   ·   ·   ·rules.· And then, you know, we launched negotiated   20·   ·   ·   ·came to the department, I was told that there were
21·   ·   ·   ·rule making for another large regulatory package,    21·   ·   ·   ·people at the department who worked to figure out
22·   ·   ·   ·so I was involved in -- in developing the timeline   22·   ·   ·   ·how to provide relief to borrowers who had
23·   ·   ·   ·for completing those regulations.                    23·   ·   ·   ·submitted claims.· And I believe at the time I was
24·   ·   ·   · · · · · · When I was in the Office of               24·   ·   ·   ·told that the focus was on the Corinthian -- the
25·   ·   ·   ·Postsecondary Ed, you know, I oversaw the            25·   ·   ·   ·borrowers who had gone to Corinthian Colleges.

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·1·   ·   ·   ·development -- I mean, the development of the        ·1·   ·   ·   ·So, you know, I was told that that methodology had
·2·   ·   ·   ·Office of Postsecondary Ed's budget.· I'm involved   ·2·   ·   ·   ·been developed prior to my arrival.
·3·   ·   ·   ·now in overseeing the development of the Office of   ·3·   ·   ·   · · · Q· · ·And when you say this focus was on
·4·   ·   ·   ·the Under Secretary's budget, but it's a very,       ·4·   ·   ·   ·borrowers who had gone to Corinthian, what do you
·5·   ·   ·   ·very tiny budget.· It's a small office.              ·5·   ·   ·   ·mean?
·6·   ·   ·   · · · · · · And then FSA develops its own budget,     ·6·   ·   ·   · · · A· · ·Meaning that the first group of claims
·7·   ·   ·   ·but I am involved in the review of that budget and   ·7·   ·   ·   ·to be reviewed would have been the oldest group of
·8·   ·   ·   ·ultimately our budget services office works with     ·8·   ·   ·   ·claims, which would have been the claims from
·9·   ·   ·   ·the Office of Management and Budget, you know, to    ·9·   ·   ·   ·Corinthian borrowers.
10·   ·   ·   ·develop the president's budget request.· So, you     10·   ·   ·   · · · Q· · ·And who told you that?
11·   ·   ·   ·know, I'm involved in conversations about that,      11·   ·   ·   · · · A· · ·I believe it was an individual in the
12·   ·   ·   ·but the Office of Management and Budget ultimately   12·   ·   ·   ·Office of General Counsel.
13·   ·   ·   ·approves the president's budget request.             13·   ·   ·   · · · Q· · ·And in this paragraph, you state that
14·   ·   ·   · · · Q· · ·And, Ms. Jones, if you don't mind, I      14·   ·   ·   ·the conclusion was it did not have an adequate
15·   ·   ·   ·just want to ask you one more question about your    15·   ·   ·   ·process to handle the growing list of borrower
16·   ·   ·   ·role as policy advisor at the department budget.     16·   ·   ·   ·defense claims.
17·   ·   ·   · · · · · · What was your portfolio of policies?      17·   ·   ·   · · · · · · What do you mean by "adequate process"?
18·   ·   ·   · · · A· · ·Any -- any regulation under the Title     18·   ·   ·   · · · A· · ·As I understand it, when the Trump
19·   ·   ·   ·IV program.· So that would include regulations       19·   ·   ·   ·administration came into the Department of
20·   ·   ·   ·about our federal student aid programs, the TRIO     20·   ·   ·   ·Education, as I understand it, there was no
21·   ·   ·   ·programs, GEAR UP programs, and then all of the      21·   ·   ·   ·methodology in place to review claims.· There was
22·   ·   ·   ·regulations related to our grant programs.· So we    22·   ·   ·   ·no methodology for determining relief.
23·   ·   ·   ·have regulations called EDGAR.· I cannot remember    23·   ·   ·   · · · · · · And, in fact, the prior administration
24·   ·   ·   ·what EDGAR stands for, but it's the regulations      24·   ·   ·   ·had told directly in this Web site and
25·   ·   ·   ·under which all of our grant programs operate.       25·   ·   ·   ·communications to borrowers from ITT that the way


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·1·   ·   ·   ·they would be receiving relief would be through      ·1·   ·   ·   ·programs at other times or for reviewing, I
·2·   ·   ·   ·closed school loan discharge, so borrowers who had   ·2·   ·   ·   ·suppose, applications that students would submit
·3·   ·   ·   ·left -- who had been students at ITT were -- were    ·3·   ·   ·   ·for other programs at other times.
·4·   ·   ·   ·advised to use closed school loan discharge.· So     ·4·   ·   ·   · · · Q· · ·So I want to just really understand the
·5·   ·   ·   ·the administration had not directed those students   ·5·   ·   ·   ·timeline we're talking about here.· The time that
·6·   ·   ·   ·to file borrower defense claims and, to my           ·6·   ·   ·   ·you're saying there was no methodology for review,
·7·   ·   ·   ·knowledge, had not developed any methodology for     ·7·   ·   ·   ·which regulations were governing at that time?
·8·   ·   ·   ·reviewing those claims and had not developed a       ·8·   ·   ·   · · · A· · ·Well, that's complicated as well.· At
·9·   ·   ·   ·methodology for assessing financial harm to either   ·9·   ·   ·   ·the time that I joined the department, the
10·   ·   ·   ·Corinthian borrowers or any other borrower that      10·   ·   ·   ·1994-1995 regulations were in place.· As my -- you
11·   ·   ·   ·might apply.· So that was my understanding, that     11·   ·   ·   ·know, as my tenure so continued and ultimately the
12·   ·   ·   ·there was no methodology.                            12·   ·   ·   ·court determined that we had to implement the 2016
13·   ·   ·   · · · · · · It's also my understanding that there     13·   ·   ·   ·regs, then loans that were either taken after a
14·   ·   ·   ·were a number of denials that had been -- that       14·   ·   ·   ·certain point or consolidated after a certain
15·   ·   ·   ·determinations had been made by the prior            15·   ·   ·   ·point would then be subject to a different
16·   ·   ·   ·administration, but the notifications had not been   16·   ·   ·   ·methodology under the 2016 regs.
17·   ·   ·   ·sent to borrowers.                                   17·   ·   ·   · · · · · · So when I first entered the department,
18·   ·   ·   · · · Q· · ·Okay.· I want to ask a few questions      18·   ·   ·   ·claims were being adjudicated under the '94-95
19·   ·   ·   ·about what you just said.· So taking the last        19·   ·   ·   ·regs using a state standard, and then as the 2016
20·   ·   ·   ·point, you said there were a number of denials       20·   ·   ·   ·regulation was implemented, that shifted to a
21·   ·   ·   ·that had been made but not communicated to           21·   ·   ·   ·federal standard.
22·   ·   ·   ·borrowers?                                           22·   ·   ·   · · · · · · So it depends when you ask.· The answer
23·   ·   ·   · · · A· · ·That's my understanding.                  23·   ·   ·   ·changes.
24·   ·   ·   · · · Q· · ·Do you have a sense of how many?          24·   ·   ·   · · · Q· · ·Okay.· I'm going to have a few
25·   ·   ·   · · · A· · ·I -- I know I've seen numbers, but I      25·   ·   ·   ·questions about this.· I want to go back to a

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·1·   ·   ·   ·cannot recall what that number is right now.         ·1·   ·   ·   ·statement you made that previously the department
·2·   ·   ·   · · · Q· · ·Okay.· And were there grants that had     ·2·   ·   ·   ·had not reviewed documents from Corinthian.
·3·   ·   ·   ·been decided but not communicated?                   ·3·   ·   ·   · · · · · · Is it your understanding under the
·4·   ·   ·   · · · A· · ·I don't know.                             ·4·   ·   ·   ·regulations that it's necessary to do so?
·5·   ·   ·   · · · Q· · ·When you say "there was no                ·5·   ·   ·   · · · A· · ·It is my understanding that the
·6·   ·   ·   ·methodology," what do you mean by that?              ·6·   ·   ·   ·Department of Education has to review evidence
·7·   ·   ·   · · · A· · ·So the -- there was no way -- so -- so    ·7·   ·   ·   ·provided to it and make a determination about
·8·   ·   ·   ·the 2016 regulation, for example, talks about        ·8·   ·   ·   ·whether or not misrepresentation took place.
·9·   ·   ·   ·financial harm, but there had been no methodology    ·9·   ·   ·   · · · Q· · ·And in your view, that necessitates
10·   ·   ·   ·developed to figure out what that level of           10·   ·   ·   ·review of documents sent by the school?
11·   ·   ·   ·financial harm was.· So there was no methodology     11·   ·   ·   · · · A· · ·It could be documents sent by the
12·   ·   ·   ·to determine financial harm.                         12·   ·   ·   ·schools.· It could be documents submitted by a
13·   ·   ·   · · · · · · And, to my knowledge, the department      13·   ·   ·   ·borrower.· It could be documents collected from
14·   ·   ·   ·had not reviewed the documents that it had           14·   ·   ·   ·some other entity, another agency, another state
15·   ·   ·   ·collected from Corinthian Colleges, and so it --     15·   ·   ·   ·entity.
16·   ·   ·   ·it had made a decision on a limited number of        16·   ·   ·   · · · · · · So the sources of those documents, you
17·   ·   ·   ·programs during a limited time period.               17·   ·   ·   ·know, there are multiple sources of those
18·   ·   ·   · · · · · · So the Trump administration had           18·   ·   ·   ·documents.· But, yes, the Department of Education
19·   ·   ·   ·asserted that it had found evidence of               19·   ·   ·   ·is supposed to review and determine that there has
20·   ·   ·   ·misrepresentation in certain programs at certain     20·   ·   ·   ·been misrepresentation.
21·   ·   ·   ·times, but they hadn't gone beyond that set of       21·   ·   ·   · · · Q· · ·But is it your opinion that the -- it's
22·   ·   ·   ·programs.                                            22·   ·   ·   ·your understanding of the regulation the school
23·   ·   ·   · · · · · · And, so, outside of that list of          23·   ·   ·   ·must be given the opportunity to respond in some
24·   ·   ·   ·programs and -- and dates, there had been no         24·   ·   ·   ·way?
25·   ·   ·   ·methodology developed for either reviewing other     25·   ·   ·   · · · A· · ·Well, that depends on which regulation


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·1·   ·   ·   ·you're talking about.                                ·1·   ·   ·   ·defense applications from among borrowers who were
·2·   ·   ·   · · · Q· · ·So let's first take under the '94-95      ·2·   ·   ·   ·in those programs during that time period whose
·3·   ·   ·   ·regulations.                                         ·3·   ·   ·   ·claims had been adjudicated.· That's my
·4·   ·   ·   · · · A· · ·So the interesting thing here is that     ·4·   ·   ·   ·understanding.· I obviously didn't see those
·5·   ·   ·   ·when the prior administration started adjudicating   ·5·   ·   ·   ·adjudications, but that is my understanding.
·6·   ·   ·   ·claims, technically it was under the '94-95          ·6·   ·   ·   · · · · · · MS. O'GRADY:· Okay.· If we can open --
·7·   ·   ·   ·regulations; however, they had also adopted          ·7·   ·   ·   ·this is going to be marked as Exhibit 3.
·8·   ·   ·   ·certain practices that would eventually be in the    ·8·   ·   ·   · · · · · · (Jones Deposition Exhibit 3 was marked
·9·   ·   ·   ·2016 regulations even though they were not in        ·9·   ·   ·   ·for identification and attached to the
10·   ·   ·   ·regulation at the time.                              10·   ·   ·   ·transcript.)
11·   ·   ·   · · · Q· · ·So what's your understanding of what is   11·   ·   ·   · · · · · · MS. O'GRADY:· In the PDF file, its file
12·   ·   ·   ·different from the 2016 regulations and the '94-95   12·   ·   ·   ·name is IG report.
13·   ·   ·   ·regulations?                                         13·   ·   ·   · · · · · · THE WITNESS:· Yes.
14·   ·   ·   · · · · · · MR. MERRITT:· Objection:· Overbroad.      14·   ·   ·   · · · BY MS. O'GRADY:
15·   ·   ·   · · · · · · MS. O'GRADY:· I can narrow that just      15·   ·   ·   · · · Q· · ·Do you have that open and visible?
16·   ·   ·   ·for clarity.                                         16·   ·   ·   · · · A· · ·I do.
17·   ·   ·   · · · BY MS. O'GRADY:                                 17·   ·   ·   · · · Q· · ·Okay.· And do you recognize this?
18·   ·   ·   · · · Q· · ·Especially with regard to the state       18·   ·   ·   · · · A· · ·I recognize the title of the report,
19·   ·   ·   ·standard.                                            19·   ·   ·   ·and I've heard about the report.· I've never read
20·   ·   ·   · · · · · · THE WITNESS:· Can I answer that,          20·   ·   ·   ·the report.
21·   ·   ·   ·Charlie?                                             21·   ·   ·   · · · Q· · ·You've never read the report.
22·   ·   ·   · · · · · · MR. MERRITT:· You go ahead, Diane,        22·   ·   ·   · · · A· · ·(Witness nods head.)
23·   ·   ·   ·yeah.                                                23·   ·   ·   · · · Q· · ·Okay.· Have you discussed the report?
24·   ·   ·   · · · · · · THE WITNESS:· Okay.                       24·   ·   ·   · · · A· · ·The element of the report that I have
25·   ·   ·   · · · · · · So the 1995 regulation relied on a        25·   ·   ·   ·discussed is apparently in that report there was

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·1·   ·   ·   ·state standard.· And so, if the institution was in   ·1·   ·   ·   ·climbing that the department did not have the
·2·   ·   ·   ·violation of a state law connected to the making     ·2·   ·   ·   ·appropriate systems in place to -- to track or
·3·   ·   ·   ·of a loan, then it would be adjudicated under that   ·3·   ·   ·   ·record claims.· So as I understand it the
·4·   ·   ·   ·standard.                                            ·4·   ·   ·   ·department was using Excel spreadsheets to try to
·5·   ·   ·   · · · · · · The 2016 regulation replaced the state    ·5·   ·   ·   ·manage this process, and it was my understanding
·6·   ·   ·   ·standard with a federal standard defined -- and      ·6·   ·   ·   ·that one of the challenges the IG identified that
·7·   ·   ·   ·defined that standard and defined the kinds of       ·7·   ·   ·   ·the use of Excel spreadsheets was inadequate.
·8·   ·   ·   ·actions or omissions that would constitute           ·8·   ·   ·   · · · · · · Now, that's just my understanding. I
·9·   ·   ·   ·misrepresentation.                                   ·9·   ·   ·   ·haven't read the report.
10·   ·   ·   · · · BY MS. O'GRADY:                                 10·   ·   ·   · · · Q· · ·Okay.· I just want to talk about,
11·   ·   ·   · · · Q· · ·Let me go back to your statement that     11·   ·   ·   ·understanding that you haven't read it previously,
12·   ·   ·   ·there was no methodology to review previously.       12·   ·   ·   ·a few statements and findings in it.
13·   ·   ·   · · · · · · On what -- if there was no methodology    13·   ·   ·   · · · · · · This is going to be on the fifth page
14·   ·   ·   ·to review as you understood it, what is your         14·   ·   ·   ·of the PDF, and if it's easier you can use the 500
15·   ·   ·   ·understanding of the grants that were made for       15·   ·   ·   ·page number at the very bottom.
16·   ·   ·   ·borrowers who attended CCI and ITT?                  16·   ·   ·   · · · A· · ·Okay.· Okay.
17·   ·   ·   · · · A· · ·It is my understanding that the           17·   ·   ·   · · · Q· · ·In its findings, the beginning of the
18·   ·   ·   ·department received communication from the           18·   ·   ·   ·third paragraph, if you could just read out loud
19·   ·   ·   ·California AG based on interviews that the           19·   ·   ·   ·the first three sentences.
20·   ·   ·   ·California AG conducted.· And based on the results   20·   ·   ·   · · · A· · ·Are you talking about the paragraph
21·   ·   ·   ·of those interviews, the prior administration had    21·   ·   ·   ·that begins, We found?
22·   ·   ·   ·made a determination that misrepresentation had      22·   ·   ·   · · · Q· · ·Yes, please.
23·   ·   ·   ·occurred at certain campuses within certain          23·   ·   ·   · · · A· · ·We found that FSA established seven
24·   ·   ·   ·programs and during certain periods of time.· And    24·   ·   ·   ·categories of claims that qualified for loan
25·   ·   ·   ·it is my understanding that it was borrower          25·   ·   ·   ·discharge based on characteristics that the claims


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·1·   ·   ·   ·had in common.· We also found that FSA maintained    ·1·   ·   ·   ·particular programs.
·2·   ·   ·   ·support for its borrower defense loan discharge      ·2·   ·   ·   · · · Q· · ·And what about ITT?
·3·   ·   ·   ·decisions.· FSA's business operations maintained     ·3·   ·   ·   · · · A· · ·I'm not aware of ITT claims having been
·4·   ·   ·   ·borrower claim applications, attestations, and       ·4·   ·   ·   ·adjudicated other than it is my understanding that
·5·   ·   ·   ·other supporting documentation, such as school       ·5·   ·   ·   ·there were some ITT campuses in California. I
·6·   ·   ·   ·transcripts.                                         ·6·   ·   ·   ·don't know when the adjudication began of those
·7·   ·   ·   · · · Q· · ·And then the next sentence, also, if      ·7·   ·   ·   ·claims, but it is my understanding that there may
·8·   ·   ·   ·you wouldn't mind?                                   ·8·   ·   ·   ·have been -- in -- in the California campuses of
·9·   ·   ·   · · · A· · ·BDU used this information to make         ·9·   ·   ·   ·ITT, there may have been some adjudications. I
10·   ·   ·   ·borrower defense claim determinations and maintain   10·   ·   ·   ·just don't know the time frame of when those took
11·   ·   ·   ·documentation.                                       11·   ·   ·   ·place.
12·   ·   ·   · · · Q· · ·Okay.· And then if you see up under the   12·   ·   ·   · · · Q· · ·Okay.· If we could look at the zip file
13·   ·   ·   ·headline of what we did on this very same page,      13·   ·   ·   ·within the zip file that's titled -- actually, it
14·   ·   ·   ·the last sentence of that paragraph says, Our        14·   ·   ·   ·might not be a file; it might just be a regular
15·   ·   ·   ·review covered FSA's borrower defense loan           15·   ·   ·   ·folder -- ECF 66-2 Declaration and Exhibits.
16·   ·   ·   ·discharge process from the end of June 2016          16·   ·   ·   · · · A· · ·I'm sorry.· ECF?
17·   ·   ·   ·through July 31st, 2017.                             17·   ·   ·   · · · Q· · ·It's a folder, not a file.· It's ECF
18·   ·   ·   · · · A· · ·I see that.                               18·   ·   ·   ·66-2 Declaration and Exhibits.
19·   ·   ·   · · · Q· · ·So is that time period between            19·   ·   ·   · · · · · · MR. MERRITT:· It appears at the very
20·   ·   ·   ·June 2016 and July 2017 the same time period you     20·   ·   ·   ·top of the list, Diane.
21·   ·   ·   ·were just saying there was no methodology?           21·   ·   ·   · · · · · · THE WITNESS:· Okay.
22·   ·   ·   · · · A· · ·I -- I don't remember -- I don't recall   22·   ·   ·   · · · BY MS. O'GRADY:
23·   ·   ·   ·exactly when the department started adjudicating     23·   ·   ·   · · · Q· · ·Okay.· And if you could open the one
24·   ·   ·   ·claims, so I -- I don't know whether June 2016 was   24·   ·   ·   ·that is Exhibit 6.
25·   ·   ·   ·the beginning date, but it is that general time      25·   ·   ·   · · · · · · MS. O'GRADY:· So we'll mark this as

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·1·   ·   ·   ·period that I was told that the department's         ·1·   ·   ·   ·Exhibit 4 for this deposition.
·2·   ·   ·   ·limited work was based on a -- a certain number of   ·2·   ·   ·   · · · · · · (Jones Deposition Exhibit 4 was marked
·3·   ·   ·   ·programs at a certain number of campuses during a    ·3·   ·   ·   ·for identification and attached to the
·4·   ·   ·   ·certain period of time.                              ·4·   ·   ·   ·transcript.)
·5·   ·   ·   · · · Q· · ·And in the paragraph -- the sentences     ·5·   ·   ·   · · · BY MS. O'GRADY:
·6·   ·   ·   ·that I had you read first in that third paragraph    ·6·   ·   ·   · · · Q· · ·Have you ever seen this memorandum
·7·   ·   ·   ·regarding the seven categories of claims, are you    ·7·   ·   ·   ·before?
·8·   ·   ·   ·familiar with those seven categories of claims?      ·8·   ·   ·   · · · A· · ·Yeah.· Let me scroll through first.
·9·   ·   ·   · · · · · · MR. MERRITT:· Objection to the scope      ·9·   ·   ·   · · · · · · (Witness reviews document.)
10·   ·   ·   ·and use of the IT report.                            10·   ·   ·   · · · · · · I have seen this document.
11·   ·   ·   · · · BY MS. O'GRADY:                                 11·   ·   ·   · · · Q· · ·In what context have you seen this
12·   ·   ·   · · · Q· · ·Ms. Jones, you can answer.                12·   ·   ·   ·document?
13·   ·   ·   · · · A· · ·I am aware that there were certain        13·   ·   ·   · · · A· · ·I first saw this document when I was
14·   ·   ·   ·programs during a certain period of time for which   14·   ·   ·   ·asked to sign -- and I might use the wrong
15·   ·   ·   ·the department was informed by the California AG     15·   ·   ·   ·terminology here.· I'm not an attorney by
16·   ·   ·   ·that misrepresentations occurred.                    16·   ·   ·   ·training.· I think it was a declaration that I had
17·   ·   ·   · · · · · · I don't remember the count, but I know,   17·   ·   ·   ·to sign regarding the recusal -- I don't mean
18·   ·   ·   ·for example, that there were job placement rate      18·   ·   ·   ·recusals -- please help me find the right terms,
19·   ·   ·   ·claims at certain programs at certain campuses       19·   ·   ·   ·but there were documents that our Office of
20·   ·   ·   ·during certain time periods.· I don't recall         20·   ·   ·   ·General Counsel had to produce, and there's a
21·   ·   ·   ·exactly which programs and which time period.        21·   ·   ·   ·process by which information is redacted -- maybe
22·   ·   ·   · · · Q· · ·And you're aware just of CCI claims       22·   ·   ·   ·redaction is the right term -- and I was asked to
23·   ·   ·   ·being adjudicated?                                   23·   ·   ·   ·review a series of documents to confirm that what
24·   ·   ·   · · · A· · ·During that time frame, yes, I am aware   24·   ·   ·   ·was being redacted was deliberative information,
25·   ·   ·   ·only of CCI claims being adjudicated in those        25·   ·   ·   ·and it was in that context that I first saw this


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·1·   ·   ·   ·document.                                            ·1·   ·   ·   ·administration.· I believe that the prior
·2·   ·   ·   · · · Q· · ·Okay.· And then just briefly for the      ·2·   ·   ·   ·administration had determined that this was the
·3·   ·   ·   ·record, what is this document?                       ·3·   ·   ·   ·basis of their decision about misrepresentation.
·4·   ·   ·   · · · A· · ·So this is a document apparently          ·4·   ·   ·   · · · Q· · ·Just under the prior administration?
·5·   ·   ·   ·written by somebody at the borrower defense unit     ·5·   ·   ·   ·Would you say the current administration would
·6·   ·   ·   ·to Under Secretary Ted Mitchell.                     ·6·   ·   ·   ·also consider student testimony as evidence?
·7·   ·   ·   · · · Q· · ·Regarding?                                ·7·   ·   ·   · · · A· · ·I think that's a really broad question.
·8·   ·   ·   · · · A· · ·Regarding recommendation for ITT          ·8·   ·   ·   ·You know, I think that our borrower defense
·9·   ·   ·   ·borrowers based on guarantees for employment.        ·9·   ·   ·   ·attorneys look at, you know, a whole variety of
10·   ·   ·   · · · Q· · ·And this is, as far as you can tell at    10·   ·   ·   ·evidence.· And I should let you know that, you
11·   ·   ·   ·this point, a full and accurate copy of this         11·   ·   ·   ·know, as a nonattorney, I'm not actually involved
12·   ·   ·   ·document?                                            12·   ·   ·   ·in reviewing individual claims.· You know, we have
13·   ·   ·   · · · A· · ·It is a full and accurate copy of the     13·   ·   ·   ·trained attorneys.· I personally don't know how
14·   ·   ·   ·document.· I mean, I'm not reading it word for       14·   ·   ·   ·you determine what meets the preponderance of
15·   ·   ·   ·word, but it looks like the document I've seen.      15·   ·   ·   ·evidence standard.
16·   ·   ·   · · · Q· · ·So as you said, this is a                 16·   ·   ·   · · · · · · You know, those are questions you'd
17·   ·   ·   ·recommendation from the borrower defense unit for    17·   ·   ·   ·have to ask our borrower defense attorneys. I
18·   ·   ·   ·ITT borrowers alleging that they were guaranteed     18·   ·   ·   ·don't get involved in those decisions.
19·   ·   ·   ·employment.                                          19·   ·   ·   · · · Q· · ·Is there a specific person who you work
20·   ·   ·   · · · · · · What regulations govern this              20·   ·   ·   ·with who is most directly involved in those kinds
21·   ·   ·   ·recommendation, under what borrower defense          21·   ·   ·   ·of decisions?
22·   ·   ·   ·regulations?                                         22·   ·   ·   · · · A· · ·You know what, I don't -- I wouldn't --
23·   ·   ·   · · · A· · ·Well, it's interesting.· So               23·   ·   ·   ·I don't directly supervise her, but it is my
24·   ·   ·   ·technically, this recommendation would have been     24·   ·   ·   ·understanding that Colleen Nevin in the borrower
25·   ·   ·   ·made under the 1995 regulations, but it involved     25·   ·   ·   ·defense unit is the person who leads the group of

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·1·   ·   ·   ·the imposition of a group discharge process which    ·1·   ·   ·   ·attorneys that would be evaluating evidence and
·2·   ·   ·   ·was created by the 2016 regulations that were not    ·2·   ·   ·   ·making determinations about what meets the
·3·   ·   ·   ·yet in effect.                                       ·3·   ·   ·   ·preponderance standard.
·4·   ·   ·   · · · Q· · ·Now, if we could go to page -- it's PDF   ·4·   ·   ·   · · · Q· · ·Okay.· Great.· If we can, in this same
·5·   ·   ·   ·page 4, page 3 by the footer of this document.       ·5·   ·   ·   ·folder we're in, open up Exhibit 4.
·6·   ·   ·   · · · A· · ·Okay.                                     ·6·   ·   ·   · · · A· · ·ECF 63-3 number 4?
·7·   ·   ·   · · · Q· · ·And these appear to be a number of        ·7·   ·   ·   · · · Q· · ·Yes.· For the next few minutes, we're
·8·   ·   ·   ·quotations from ITT students.                        ·8·   ·   ·   ·just going to be in this folder.· So this
·9·   ·   ·   · · · A· · ·Yes.                                      ·9·   ·   ·   ·Exhibit -- the file name is Exhibit 4, but we're
10·   ·   ·   · · · Q· · ·You had noted before that under the       10·   ·   ·   ·going to mark it for this deposition as Exhibit 5.
11·   ·   ·   ·regulations, the borrower defense unit must review   11·   ·   ·   · · · · · · (Jones Deposition Exhibit 5 was marked
12·   ·   ·   ·evidence.                                            12·   ·   ·   ·for identification and attached to the
13·   ·   ·   · · · A· · ·Yes.                                      13·   ·   ·   ·transcript.)
14·   ·   ·   · · · Q· · ·Are quotations like this evidence in      14·   ·   ·   · · · BY MS. O'GRADY:
15·   ·   ·   ·your understanding?                                  15·   ·   ·   · · · Q· · ·And, Ms. Jones, do you recognize this
16·   ·   ·   · · · A· · ·You know, I would have to have more       16·   ·   ·   ·document?
17·   ·   ·   ·information.· I -- you know, I -- I think you're     17·   ·   ·   · · · A· · ·(Witness reviews document.)
18·   ·   ·   ·asking me to make a decision about evidence that I   18·   ·   ·   · · · · · · This appears to be similar or the same
19·   ·   ·   ·haven't reviewed.                                    19·   ·   ·   ·to the document I've seen.· Again, I don't have
20·   ·   ·   · · · Q· · ·Well, I'm just -- I'm asking you to       20·   ·   ·   ·the two documents in front of me, but this appears
21·   ·   ·   ·make a decision, but I suppose my question is just   21·   ·   ·   ·to be a document that I've reviewed in the past.
22·   ·   ·   ·is testimony from a borrower about their             22·   ·   ·   · · · Q· · ·Okay.· Just for the record, can you
23·   ·   ·   ·experience the kind of evidence that is considered   23·   ·   ·   ·just say who this is to, from, the date, and what
24·   ·   ·   ·when deciding a borrower defense application?        24·   ·   ·   ·it's regarding?
25·   ·   ·   · · · A· · ·It was considered by the prior            25·   ·   ·   · · · A· · ·Sure.· The date is October 24th, 2016.


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·1·   ·   ·   ·It is from the borrower defense unit and it is a     ·1·   ·   ·   · · · Q· · ·We're going to talk more about that.
·2·   ·   ·   ·memo with a recommendation to Under Secretary Ted    ·2·   ·   ·   ·At this point, I would like to just go back to
·3·   ·   ·   ·Mitchell.                                            ·3·   ·   ·   ·this folder and look at what in the folder is
·4·   ·   ·   · · · Q· · ·Is this document typical of memoranda     ·4·   ·   ·   ·Exhibit 5.
·5·   ·   ·   ·that you review currently?                           ·5·   ·   ·   · · · · · · MS. O'GRADY:· And for this deposition,
·6·   ·   ·   · · · A· · ·No.                                       ·6·   ·   ·   ·it will be marked as Exhibit 6.
·7·   ·   ·   · · · Q· · ·Now, these are recommendations for        ·7·   ·   ·   · · · · · · (Jones Deposition Exhibit 6 was marked
·8·   ·   ·   ·Everett/WyoTech borrowers alleging transfer of       ·8·   ·   ·   ·for identification and attached to the
·9·   ·   ·   ·credit claims.                                       ·9·   ·   ·   ·transcript.)
10·   ·   ·   · · · A· · ·Uh-huh.                                   10·   ·   ·   · · · BY MS. O'GRADY:
11·   ·   ·   · · · Q· · ·Are these recommendations still in        11·   ·   ·   · · · Q· · ·Again, Ms. Jones, my question is have
12·   ·   ·   ·effect or has something superseded these?            12·   ·   ·   ·you seen this document before, and, if so, can you
13·   ·   ·   · · · A· · ·For these groups of claims, the           13·   ·   ·   ·state for the record what it is?
14·   ·   ·   ·department -- this administration -- it is my        14·   ·   ·   · · · A· · ·This appears to be a document that I
15·   ·   ·   ·understanding that this administration has decided   15·   ·   ·   ·have reviewed before.· It is a January 9th, 2017
16·   ·   ·   ·to honor the position of the prior administration.   16·   ·   ·   ·memo from the borrower defense unit to Under
17·   ·   ·   ·So when the prior administration identified          17·   ·   ·   ·Secretary Ted Mitchell making recommendations
18·   ·   ·   ·certain programs during certain time periods where   18·   ·   ·   ·about Corinthian borrowers alleging they were
19·   ·   ·   ·misrepresentation took place, this administration    19·   ·   ·   ·guaranteed employment.
20·   ·   ·   ·has accepted that.                                   20·   ·   ·   · · · Q· · ·Okay.· Has this -- has this written
21·   ·   ·   · · · · · · So I think this administration has        21·   ·   ·   ·recommendation been superseded by any other
22·   ·   ·   ·accepted the premise or the allegation that          22·   ·   ·   ·written recommendation?
23·   ·   ·   ·misrepresentation took place in certain programs     23·   ·   ·   · · · A· · ·It is my understanding that the
24·   ·   ·   ·at certain periods of time.                          24·   ·   ·   ·programs for which the Obama administration
25·   ·   ·   · · · Q· · ·So there's been no additional guidance    25·   ·   ·   ·determined that misrepresentation took place, that

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·1·   ·   ·   ·given for this group of students?                    ·1·   ·   ·   ·we have honored that determination of
·2·   ·   ·   · · · A· · ·About the determination of the merit of   ·2·   ·   ·   ·misrepresentation.
·3·   ·   ·   ·their claims?· Is that what you're asking me?        ·3·   ·   ·   · · · · · · So it is my understanding that the
·4·   ·   ·   · · · Q· · ·Yes.                                      ·4·   ·   ·   ·campuses and programs for which the prior
·5·   ·   ·   · · · A· · ·For the -- for the borrowers who were     ·5·   ·   ·   ·administration determined that there was
·6·   ·   ·   ·in those programs that were listed by the            ·6·   ·   ·   ·misrepresentation about guaranteed employment, we
·7·   ·   ·   ·Department of Education on its Web site as           ·7·   ·   ·   ·have honored those determinations of
·8·   ·   ·   ·programs where it had determined that                ·8·   ·   ·   ·misrepresentation.
·9·   ·   ·   ·misrepresentation took placed, it is my              ·9·   ·   ·   · · · Q· · ·Under this recommendation made at this
10·   ·   ·   ·understanding that this administration has not       10·   ·   ·   ·time, the amount of relief for these borrowers was
11·   ·   ·   ·gone back to second guess that; that, you know,      11·   ·   ·   ·100 percent; is that your understanding?
12·   ·   ·   ·those programs for which borrowers were told         12·   ·   ·   · · · A· · ·I'm not sure.· I'm not aware what that
13·   ·   ·   ·misrepresentation took place, this administration    13·   ·   ·   ·determination was.
14·   ·   ·   ·is accepting that determination that                 14·   ·   ·   · · · Q· · ·But when you say you're honoring the
15·   ·   ·   ·misrepresentation took place.                        15·   ·   ·   ·decision about the misrepresentation, that is
16·   ·   ·   · · · · · · In other words, you know, they -- they    16·   ·   ·   ·separate from a decision made by the previous
17·   ·   ·   ·made a decision that misrepresentation took place,   17·   ·   ·   ·administration about the percentage of relief; is
18·   ·   ·   ·and to my knowledge, we're not challenging or, you   18·   ·   ·   ·that right?
19·   ·   ·   ·know, changing that determination.                   19·   ·   ·   · · · A· · ·That is correct.
20·   ·   ·   · · · Q· · ·When you say you're not challenging or    20·   ·   ·   · · · Q· · ·But at this point, you don't recall
21·   ·   ·   ·determining -- you're not challenging that           21·   ·   ·   ·what the previous administration's decision about
22·   ·   ·   ·determination, excuse me, are you separating out a   22·   ·   ·   ·the percentage of relief was?
23·   ·   ·   ·determination of a misrepresentation from the        23·   ·   ·   · · · A· · ·I -- I -- I don't in particular.· I do
24·   ·   ·   ·amount of relief?                                    24·   ·   ·   ·know that where they issued relief, that they did
25·   ·   ·   · · · A· · ·Yes, I am.                                25·   ·   ·   ·provide 100 percent relief.


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·1·   ·   ·   · · · · · · So in the adjudication that they did,     ·1·   ·   ·   · · · · · · Are you familiar with this decision?
·2·   ·   ·   ·it is my understanding that most, if not all, were   ·2·   ·   ·   · · · A· · ·I have been told about this decision.
·3·   ·   ·   ·issued 100 percent relief.· I haven't seen those     ·3·   ·   ·   · · · Q· · ·In what context were you told about the
·4·   ·   ·   ·claims, but it is my understanding that among the    ·4·   ·   ·   ·decision?
·5·   ·   ·   ·claims they completed, borrowers in those programs   ·5·   ·   ·   · · · A· · ·I -- I -- I can't -- I can't recall
·6·   ·   ·   ·were afforded -- you know, if not 100 percent        ·6·   ·   ·   ·exactly when, but at some point in time, you know,
·7·   ·   ·   ·relief, the majority were.· I haven't seen the       ·7·   ·   ·   ·early when I joined the department, you know, I --
·8·   ·   ·   ·exact numbers.                                       ·8·   ·   ·   ·I -- it may have been in the context of the
·9·   ·   ·   · · · Q· · ·Okay.· Now, we're going to look at what   ·9·   ·   ·   ·Manriquez decision when I asked for, you know,
10·   ·   ·   ·is Exhibit 7 in this folder.                         10·   ·   ·   ·information about what were we doing.· So it may
11·   ·   ·   · · · · · · MS. O'GRADY:· And we're going to mark     11·   ·   ·   ·have been when I asked a question about the
12·   ·   ·   ·for this deposition as Exhibit 7.                    12·   ·   ·   ·methodology.· I just -- I just don't recall
13·   ·   ·   · · · · · · (Jones Deposition Exhibit 7 was marked    13·   ·   ·   ·exactly when I -- I, you know, was told that a
14·   ·   ·   ·for identification and attached to the               14·   ·   ·   ·decision had been made.· I just can't remember the
15·   ·   ·   ·transcript.)                                         15·   ·   ·   ·exact timeline.
16·   ·   ·   · · · · · · THE WITNESS:· Okay.                       16·   ·   ·   · · · Q· · ·I just have -- I have three more
17·   ·   ·   · · · BY MS. O'GRADY:                                 17·   ·   ·   ·documents that we're spending a relatively short
18·   ·   ·   · · · Q· · ·Have you seen this document before,       18·   ·   ·   ·amount of time on, and then I think we can take
19·   ·   ·   ·and, if so, can you state for the record what it     19·   ·   ·   ·our quick break.
20·   ·   ·   ·is?                                                  20·   ·   ·   · · · · · · Does that sound okay?
21·   ·   ·   · · · A· · ·(Witness reviews document.)               21·   ·   ·   · · · A· · ·Sure.
22·   ·   ·   · · · · · · You know, because so much of it is        22·   ·   ·   · · · Q· · ·Okay.· So the next one is Exhibit 8 in
23·   ·   ·   ·redacted, it's hard for me to know if this is        23·   ·   ·   ·this folder which we'll mark for this deposition
24·   ·   ·   ·exactly, but I -- this may have been one of the      24·   ·   ·   ·as Exhibit 8.
25·   ·   ·   ·documents included in the packet of documents that   25·   ·   ·   · · · · · · (Jones Deposition Exhibit 8 was marked

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·1·   ·   ·   ·I reviewed for redaction.· I -- I don't recall --    ·1·   ·   ·   ·for identification and attached to the
·2·   ·   ·   ·I don't recall specifically whether this was in      ·2·   ·   ·   ·transcript.)
·3·   ·   ·   ·that packet, but I know it was a number of           ·3·   ·   ·   · · · BY MS. O'GRADY:
·4·   ·   ·   ·documents that I had certified that what was         ·4·   ·   ·   · · · Q· · ·And, Ms. Jones, if you could just state
·5·   ·   ·   ·redacted was deliberative, and this may have been    ·5·   ·   ·   ·if you've seen this document before and, if so,
·6·   ·   ·   ·in that packet.                                      ·6·   ·   ·   ·what it is?
·7·   ·   ·   · · · Q· · ·This is a memo from James Manning to      ·7·   ·   ·   · · · A· · ·(Witness reviews document.)
·8·   ·   ·   ·the secretary, May 4th, 2017, and the subject is     ·8·   ·   ·   · · · · · · I believe I have seen this document
·9·   ·   ·   ·action items in borrower defense.                    ·9·   ·   ·   ·before.· It was a memo to James Manning from Steve
10·   ·   ·   · · · A· · ·Uh-huh.                                   10·   ·   ·   ·Menashi, who was then acting general counsel,
11·   ·   ·   · · · Q· · ·Have you reviewed this document in any    11·   ·   ·   ·through Justin Riemer, who also -- he was counsel
12·   ·   ·   ·context other than reviewing it for redaction?       12·   ·   ·   ·at the time.· And it is their legal bases for
13·   ·   ·   · · · A· · ·Not to my recollection.                   13·   ·   ·   ·approval and discharge of pending borrower defense
14·   ·   ·   · · · Q· · ·Can you turn to the fourth page?          14·   ·   ·   ·claims for former Corinthian students qualifying
15·   ·   ·   · · · A· · ·The fourth page of this memo?             15·   ·   ·   ·for approval on the grounds of job placement rate,
16·   ·   ·   · · · Q· · ·Yes.· It's actually -- it's the last      16·   ·   ·   ·guaranteed jobs, and transfer of credit findings.
17·   ·   ·   ·page of the PDF, so I think it says four of four,    17·   ·   ·   · · · · · · MR. MERRITT:· I'm going to object to
18·   ·   ·   ·but it's probably five of the PDF.                   18·   ·   ·   ·any further questioning regarding this memo as
19·   ·   ·   · · · A· · ·I've got to get my cursor.· I'm sorry.    19·   ·   ·   ·calling for privileged information.· It is a
20·   ·   ·   ·I'm trying to work with two screens here, so --      20·   ·   ·   ·document which the department maintains a claim of
21·   ·   ·   · · · Q· · ·Totally understand.· But it's run         21·   ·   ·   ·privilege.
22·   ·   ·   ·pretty smoothly so far.                              22·   ·   ·   · · · · · · MS. O'GRADY:· I'll state for the record
23·   ·   ·   · · · A· · ·Okay.· So you're looking at the actual    23·   ·   ·   ·that the document is publicly available as a New
24·   ·   ·   ·page that has the decision.                          24·   ·   ·   ·York Times attachment.
25·   ·   ·   · · · Q· · ·Right.                                    25·   ·   ·   · · · · · · MR. MERRITT:· Nonetheless, there has --


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·1·   ·   ·   ·you know, the department still maintains privilege   ·1·   ·   ·   ·something that you would have looked at?
·2·   ·   ·   ·as having not been subject to an authorized          ·2·   ·   ·   · · · A· · ·Only the methodology.· So there may
·3·   ·   ·   ·disclosure.                                          ·3·   ·   ·   ·have been questions on the methodology, for
·4·   ·   ·   · · · BY MS. O'GRADY:                                 ·4·   ·   ·   ·example, you know, do we use four-digit or
·5·   ·   ·   · · · Q· · ·Okay.· If we can look at Exhibit 9 in     ·5·   ·   ·   ·six-digit CIP codes to identify an occupation.
·6·   ·   ·   ·the folder.                                          ·6·   ·   ·   · · · · · · So policy questions would have come to
·7·   ·   ·   · · · · · · MS. O'GRADY:· And this document I'm       ·7·   ·   ·   ·me.· Standard operating procedures, no.· I would
·8·   ·   ·   ·going to mark as Exhibit 9 for the deposition.       ·8·   ·   ·   ·characterize this as a standard operating
·9·   ·   ·   · · · · · · (Jones Deposition Exhibit 9 was marked    ·9·   ·   ·   ·procedure, and, no, that would not have come to
10·   ·   ·   ·for identification and attached to the               10·   ·   ·   ·me.
11·   ·   ·   ·transcript.)                                         11·   ·   ·   · · · Q· · ·Who would it have gone to?
12·   ·   ·   · · · BY MS. O'GRADY:                                 12·   ·   ·   · · · A· · ·No, I -- I would be speculating. I
13·   ·   ·   · · · Q· · ·Do you recognize this document?           13·   ·   ·   ·mean, my guess is that it would go to the attorney
14·   ·   ·   · · · A· · ·(Witness reviews document.)               14·   ·   ·   ·of the BD unit, but that's speculation on my part.
15·   ·   ·   · · · · · · I do not recognize this document.         15·   ·   ·   ·I don't know.
16·   ·   ·   · · · Q· · ·The title is borrower defense unit        16·   ·   ·   · · · Q· · ·Well, I mean, if the BD unit is giving
17·   ·   ·   ·claims review protocol.· Have you ever reviewed      17·   ·   ·   ·guidance to attorneys for how to review based on a
18·   ·   ·   ·such a protocol?                                     18·   ·   ·   ·new methodology, who would be in charge of
19·   ·   ·   · · · A· · ·I don't recall ever reviewing this        19·   ·   ·   ·ensuring that the protocol matched the
20·   ·   ·   ·document.· It would have been put in place before    20·   ·   ·   ·methodology?
21·   ·   ·   ·I was at the department, and I -- I -- it is         21·   ·   ·   · · · A· · ·That would be an operations decision
22·   ·   ·   ·possible that at some point in time, you know,       22·   ·   ·   ·made by FSA.
23·   ·   ·   ·it -- I don't recall it.· I don't recall reviewing   23·   ·   ·   · · · Q· · ·Okay.· If I could just go back to
24·   ·   ·   ·this.                                                24·   ·   ·   ·Exhibit 8, and this is the memoranda from Steven
25·   ·   ·   · · · Q· · ·So I don't understand you don't recall    25·   ·   ·   ·Menashi.

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·1·   ·   ·   ·reviewing this particular one, but are there         ·1·   ·   ·   · · · · · · MS. O'GRADY:· Charlie, are there any
·2·   ·   ·   ·borrower defense unit claims review protocols that   ·2·   ·   ·   ·questions I can ask on this document, or are you
·3·   ·   ·   ·are currently in effect you would have reviewed?     ·3·   ·   ·   ·claiming that the entire document is privileged?
·4·   ·   ·   · · · A· · ·The only -- the only protocol, so to      ·4·   ·   ·   · · · · · · MR. MERRITT:· I'm claiming privilege
·5·   ·   ·   ·speak, that I was involved in is the development     ·5·   ·   ·   ·over the entire document.
·6·   ·   ·   ·of the new methodology for determining review.       ·6·   ·   ·   · · · · · · MS. O'GRADY:· Okay.· If we could take a
·7·   ·   ·   ·So, you know, I was involved as part of a team       ·7·   ·   ·   ·five-minute break.· Is that all right with
·8·   ·   ·   ·looking for a new methodology when the Northern      ·8·   ·   ·   ·everyone?
·9·   ·   ·   ·District of California enjoined the methodology      ·9·   ·   ·   · · · · · · THE WITNESS:· Sure.
10·   ·   ·   ·that had been developed in 2017.                     10·   ·   ·   · · · · · · MR. MERRITT:· Sure.
11·   ·   ·   · · · Q· · ·As a product of that work, was a          11·   ·   ·   · · · · · · MS. O'GRADY:· Okay.
12·   ·   ·   ·guidance sheet like this developed?                  12·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Okay.· We're now
13·   ·   ·   · · · A· · ·I don't know.                             13·   ·   ·   ·going off the record.· The time is 15:42 UTC time.
14·   ·   ·   · · · Q· · ·If it had been, would you have seen it?   14·   ·   ·   · · · · · · (Recess -- 10:42 a.m.)
15·   ·   ·   · · · A· · ·You know, this looks to me like it was    15·   ·   ·   · · · · · · (After recess -- 10:56 a.m.)
16·   ·   ·   ·more like a standard operating procedure, and I      16·   ·   ·   · · · · · · THE VIDEOGRAPHER:· We're now back on
17·   ·   ·   ·would not have reviewed a standard operating         17·   ·   ·   ·the record.· The time is 15:56 UTC time.
18·   ·   ·   ·procedure.· That is something that the attorneys     18·   ·   ·   · · · BY MS. O'GRADY:
19·   ·   ·   ·in the BD unit would have developed.· It's not a     19·   ·   ·   · · · Q· · ·All right.· We're going to return to
20·   ·   ·   ·policy document.· It's an operations document.       20·   ·   ·   ·Exhibit 2, your declaration.· And I'd like to turn
21·   ·   ·   ·And, so, I -- I mean it --                           21·   ·   ·   ·to paragraph 15 which is the middle of the page
22·   ·   ·   · · · Q· · ·As -- I mean, as your role at -- of --    22·   ·   ·   ·that is PDF page 6.
23·   ·   ·   ·as your role regarding policy implementation, if     23·   ·   ·   · · · A· · ·I have to figure out how to get back to
24·   ·   ·   ·there was guidance provided to the unit in           24·   ·   ·   ·that document.
25·   ·   ·   ·connection with the new methodology, is that         25·   ·   ·   · · · · · · You know, before we leave this exhibit,


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·1·   ·   ·   ·I just want to make one point of clarification.      ·1·   ·   ·   ·on financial harm?
·2·   ·   ·   ·So I'm a scientist by training, so when I think of   ·2·   ·   ·   · · · A· · ·I don't know.· I wasn't part of that
·3·   ·   ·   ·methodology -- when I use the word "methodology,"    ·3·   ·   ·   ·review.
·4·   ·   ·   ·I'm talking about the relief methodology.· I want    ·4·   ·   ·   · · · Q· · ·And the department developed a new
·5·   ·   ·   ·to make it clear I'm not an attorney, so I don't     ·5·   ·   ·   ·methodology for determining the amount of relief.
·6·   ·   ·   ·get involved in any protocols or methods about       ·6·   ·   ·   ·That new methodology is what?
·7·   ·   ·   ·determining evidence or reviewing evidence.          ·7·   ·   ·   · · · A· · ·As I understand it, that was the
·8·   ·   ·   · · · · · · So when I use the term "methodology," I   ·8·   ·   ·   ·methodology that was ultimately enjoined by the
·9·   ·   ·   ·want to be -- I want to make sure that I'm clear     ·9·   ·   ·   ·Northern District of California.
10·   ·   ·   ·that I'm talking about the relief methodology.· So   10·   ·   ·   · · · Q· · ·And that methodology, you say here,
11·   ·   ·   ·I may not have used those term -- you know, the      11·   ·   ·   ·determined the amount of relief to be given to
12·   ·   ·   ·term consistently, so I just want to make sure       12·   ·   ·   ·successful borrower defense claimants who attended
13·   ·   ·   ·that you understand when I say methodology, I mean   13·   ·   ·   ·certain schools operated by Corinthian.· So it was
14·   ·   ·   ·the relief methodology.                              14·   ·   ·   ·solely for Corinthian?
15·   ·   ·   · · · Q· · ·Understood.                               15·   ·   ·   · · · A· · ·As I -- that's it -- that's how it was
16·   ·   ·   · · · A· · ·Okay.· Now I'm going to go try to find    16·   ·   ·   ·explained to me.
17·   ·   ·   ·that document.· I am not facile with technology,     17·   ·   ·   · · · Q· · ·By whom?
18·   ·   ·   ·so --                                                18·   ·   ·   · · · A· · ·I -- I don't recall exactly who
19·   ·   ·   · · · Q· · ·We've been doing pretty well today,       19·   ·   ·   ·explained it to me.· Yeah, I mean there -- there
20·   ·   ·   ·so . . .                                             20·   ·   ·   ·are -- I can't remember exactly who gave me that
21·   ·   ·   · · · A· · ·So we are now returning to my             21·   ·   ·   ·explanation.
22·   ·   ·   ·declaration.· And I found it.                        22·   ·   ·   · · · Q· · ·So this new methodology is about the
23·   ·   ·   · · · Q· · ·All right.                                23·   ·   ·   ·amount of relief and not about -- let me put this
24·   ·   ·   · · · A· · ·Here we are.                              24·   ·   ·   ·a different way.
25·   ·   ·   · · · Q· · ·So we're going to page 6 and              25·   ·   ·   · · · · · · We've discussed step-one and step-two

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·1·   ·   ·   ·paragraph 15.                                        ·1·   ·   ·   ·determinations.· Have we used those words today?
·2·   ·   ·   · · · A· · ·Okay.                                     ·2·   ·   ·   ·Are those words that you have used when
·3·   ·   ·   · · · Q· · ·And if you wouldn't mind, if you could    ·3·   ·   ·   ·discussing --
·4·   ·   ·   ·just read that paragraph 15 for the record because   ·4·   ·   ·   · · · A· · ·I don't believe so.
·5·   ·   ·   ·this is what we will be discussing.                  ·5·   ·   ·   · · · Q· · ·-- relief methodology?
·6·   ·   ·   · · · A· · ·In 2017, the department conducted a       ·6·   ·   ·   · · · A· · ·I don't know what you mean by step one
·7·   ·   ·   ·thorough review of its existing methods for          ·7·   ·   ·   ·and step two.· I think I've talked about, you
·8·   ·   ·   ·adjudicating borrower defense claims and             ·8·   ·   ·   ·know, the relief methodology.· That's the part I
·9·   ·   ·   ·calculating relief and concluded that it did not     ·9·   ·   ·   ·know about.
10·   ·   ·   ·have an adequate process to handle the growing       10·   ·   ·   · · · · · · MR. MERRITT:· I don't believe we've
11·   ·   ·   ·list of borrower defense claims.· As a result of     11·   ·   ·   ·used those terms today.
12·   ·   ·   ·that review, the department developed a new          12·   ·   ·   · · · · · · MS. O'GRADY:· All right.· You're right.
13·   ·   ·   ·methodology for determining the amount of relief     13·   ·   ·   · · · BY MS. O'GRADY:
14·   ·   ·   ·to be given to successful borrower defense           14·   ·   ·   · · · Q· · ·I think I -- let's actually go to --
15·   ·   ·   ·claimants who attended certain schools operated by   15·   ·   ·   ·back out to the main exhibit folder.· We're going
16·   ·   ·   ·Corinthian Colleges.                                 16·   ·   ·   ·to go to ECF number 56-4, Nevin declaration.
17·   ·   ·   · · · Q· · ·Okay.· And in this paragraph, what is     17·   ·   ·   · · · · · · MR. MERRITT:· And do you mean the
18·   ·   ·   ·the thorough review that you're referring to?        18·   ·   ·   ·second one that's only Nevin declaration as
19·   ·   ·   · · · A· · ·So I can only speak to what -- what I     19·   ·   ·   ·opposed to the one that says Exhibit 20?
20·   ·   ·   ·was told.· I wasn't part of this review, so I'm      20·   ·   ·   · · · · · · MS. O'GRADY:· Yes.· Thanks for
21·   ·   ·   ·not sure exactly what was included in the review.    21·   ·   ·   ·clarifying.
22·   ·   ·   ·But as I understand it, the review was to look at    22·   ·   ·   · · · · · · THE WITNESS:· Now I'm having trouble
23·   ·   ·   ·the resources available to the department to try     23·   ·   ·   ·getting back.· Give me a second here.
24·   ·   ·   ·to identify methods for evaluating financial harm.   24·   ·   ·   · · · · · · So you're looking at ECF -- oh, shoot.
25·   ·   ·   · · · Q· · ·And was the focus of that review solely   25·   ·   ·   ·There's number 66.· Let me see if I can get back.


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·1·   ·   ·   · · · · · · MR. MERRITT:· Yeah, you should be able    ·1·   ·   ·   · · · · · · And if the borrower satisfied the first
·2·   ·   ·   ·to go back like a folder -- jump back a folder.      ·2·   ·   ·   ·step, then number two is a determination of the
·3·   ·   ·   · · · · · · THE WITNESS:· Okay.                       ·3·   ·   ·   ·amount of relief that the borrower should receive.
·4·   ·   ·   · · · · · · MR. MERRITT:· To the one's that           ·4·   ·   ·   · · · Q· · ·So here is that step-one, step-two
·5·   ·   ·   ·called -- well, I don't know what you named yours.   ·5·   ·   ·   ·classification.· My question was when we were just
·6·   ·   ·   ·Mine was called Jones deposition exhibits.           ·6·   ·   ·   ·looking at paragraph 15 and discussing the new
·7·   ·   ·   · · · · · · THE WITNESS:· And what document am I      ·7·   ·   ·   ·methodology for determining the amount of relief,
·8·   ·   ·   ·looking for?· Oh, I think I see it, ECF number       ·8·   ·   ·   ·is that solely step two that you refer to in
·9·   ·   ·   ·56-4.                                                ·9·   ·   ·   ·paragraph 24?
10·   ·   ·   · · · BY MS. O'GRADY:                                 10·   ·   ·   · · · A· · ·So I don't know about the methodology
11·   ·   ·   · · · Q· · ·Yes.· And it says Nevin Declaration.      11·   ·   ·   ·in total because I wasn't involved in the
12·   ·   ·   · · · · · · MR. MERRITT:· So to clarify, Diane,       12·   ·   ·   ·development, but the element of that methodology,
13·   ·   ·   ·it's the second one on the list, because there's     13·   ·   ·   ·that 27 methodology on which I have been briefed
14·   ·   ·   ·also one on top of it that also is called ECF        14·   ·   ·   ·would be committed to step two.
15·   ·   ·   ·56-4, but it's, like, Exhibit 20.· So it's the       15·   ·   ·   · · · · · · So it may have been that the
16·   ·   ·   ·second one in alphabetical answer.                   16·   ·   ·   ·methodology involves, you know, steps beyond step
17·   ·   ·   · · · · · · THE WITNESS:· Yep.· Okay.· I have that    17·   ·   ·   ·two, but the part that I was briefed on and
18·   ·   ·   ·open right now.                                      18·   ·   ·   ·under- -- you know, that I know was put in place
19·   ·   ·   · · · BY MS. O'GRADY:                                 19·   ·   ·   ·is step two.
20·   ·   ·   · · · Q· · ·And this one, Ms. Jones, you said         20·   ·   ·   · · · Q· · ·Who would know if there was more to it
21·   ·   ·   ·that -- is this the document -- the Nevin            21·   ·   ·   ·than the changes for step two?
22·   ·   ·   ·declaration that you had reviewed in advance of      22·   ·   ·   · · · A· · ·The -- the people who wrote that policy
23·   ·   ·   ·today's deposition?                                  23·   ·   ·   ·document.
24·   ·   ·   · · · A· · ·This looks like the document I            24·   ·   ·   · · · Q· · ·And which policy document is that?
25·   ·   ·   ·reviewed.                                            25·   ·   ·   · · · A· · ·So I think you just showed me a

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·1·   ·   ·   · · · Q· · ·And if you would just give me one         ·1·   ·   ·   ·document earlier that involves Steve Menashi and
·2·   ·   ·   ·second to find what page we're going to go to.       ·2·   ·   ·   ·Justin Riemer and James Manning.· I would assume
·3·   ·   ·   · · · · · · My apologies.· I actually -- we are       ·3·   ·   ·   ·that one of those individuals would know.
·4·   ·   ·   ·going to use this document, but not right now.       ·4·   ·   ·   · · · Q· · ·So your sole involvement with the new
·5·   ·   ·   · · · A· · ·Okay.                                     ·5·   ·   ·   ·methodology that you identify in paragraph 15 is
·6·   ·   ·   · · · Q· · ·I apologize for that.                     ·6·   ·   ·   ·as it related to the amount of relief for
·7·   ·   ·   · · · · · · If you can go back to your declaration,   ·7·   ·   ·   ·Corinthian borrowers?
·8·   ·   ·   ·and if you we could look at paragraph 24, and that   ·8·   ·   ·   · · · A· · ·Ultimately I became involved in the
·9·   ·   ·   ·is at the very bottom of page 9.                     ·9·   ·   ·   ·determination of a relief methodology for all --
10·   ·   ·   · · · A· · ·Yes.                                      10·   ·   ·   ·all borrowers, all future claimants.· So they --
11·   ·   ·   · · · Q· · ·So in this paragraph, if you wouldn't     11·   ·   ·   ·my involvement was of a methodology that would go
12·   ·   ·   ·mind reading it out loud for the record, this is     12·   ·   ·   ·beyond Corinthian borrowers, but it was limited to
13·   ·   ·   ·why I was using that step-one, step-two --           13·   ·   ·   ·the relief methodology.
14·   ·   ·   · · · A· · ·Okay.                                     14·   ·   ·   · · · Q· · ·So were you ever involved in developing
15·   ·   ·   · · · Q· · ·-- language.· So if you wouldn't mind     15·   ·   ·   ·a methodology regarding step one?
16·   ·   ·   ·reading out loud paragraph 24 there.                 16·   ·   ·   · · · A· · ·I -- I don't recall ever being in a
17·   ·   ·   · · · A· · ·The department's consideration of a       17·   ·   ·   ·conversation about step one.· You know, again, I'm
18·   ·   ·   ·borrower's application for a borrower defense        18·   ·   ·   ·not an attorney, so I don't know how you look at
19·   ·   ·   ·discharge includes two steps.· Step number one, a    19·   ·   ·   ·evidence.· So I just don't recall ever being in a
20·   ·   ·   ·determination of whether the borrower has            20·   ·   ·   ·conversation about step one.
21·   ·   ·   ·submitted a borrower defense claim supported by      21·   ·   ·   · · · Q· · ·So you don't recall in your role ever
22·   ·   ·   ·evidence submitted by the borrower or otherwise      22·   ·   ·   ·having a conversation about how to decide the
23·   ·   ·   ·available to the department in accordance with the   23·   ·   ·   ·merits of a borrower defense application?
24·   ·   ·   ·applicable standard.· And if -- I'm sorry.· I have   24·   ·   ·   · · · A· · ·No, not to my recollection.· No.
25·   ·   ·   ·to scroll down.                                      25·   ·   ·   · · · Q· · ·So your understanding right now, what


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·1·   ·   ·   ·methodology is in place to determine whether or      ·1·   ·   ·   · · · · · · So I -- I know that there was one group
·2·   ·   ·   ·not a borrower defense application is                ·2·   ·   ·   ·of borrowers for whom there was this base
·3·   ·   ·   ·successful -- that is, what methodology governs      ·3·   ·   ·   ·guarantee of 10 percent, so I don't know whether
·4·   ·   ·   ·step one?                                            ·4·   ·   ·   ·you would -- I don't know how to characterize
·5·   ·   ·   · · · A· · ·Our attorneys in the borrower defense     ·5·   ·   ·   ·that.· But in the new methodology, it was -- it
·6·   ·   ·   ·unit under Colleen Nevin's direction evaluate the    ·6·   ·   ·   ·was limited only to those borrowers who the
·7·   ·   ·   ·evidence and make that determination.                ·7·   ·   ·   ·attorneys would have deemed eligible for relief.
·8·   ·   ·   · · · Q· · ·When you're involved in the rule-making   ·8·   ·   ·   · · · Q· · ·So if you were in charge of policy but
·9·   ·   ·   ·process, did that ever involve step-one              ·9·   ·   ·   ·only step two, who was in charge of the policy
10·   ·   ·   ·determinations?                                      10·   ·   ·   ·regarding who gets denied?· Because in order to
11·   ·   ·   · · · A· · ·Do you mean in the development of the     11·   ·   ·   ·get to step two, you have to have been granted
12·   ·   ·   ·2019 regulation?                                     12·   ·   ·   ·borrower defense relief; right?
13·   ·   ·   · · · Q· · ·Yeah.                                     13·   ·   ·   · · · A· · ·Right.· I mean, Colleen Nevin is the
14·   ·   ·   · · · A· · ·So again, those conversations focused     14·   ·   ·   ·attorney in charge of the BD unit.· She has
15·   ·   ·   ·on the evidentiary standard, and there was a         15·   ·   ·   ·decision-making power about which claims are, you
16·   ·   ·   ·conversation about the use of the preponderance of   16·   ·   ·   ·know, based on the merit of the review to
17·   ·   ·   ·evidence versus -- I can't remember what the         17·   ·   ·   ·determine whether borrowers are eligible or
18·   ·   ·   ·higher standard was called, but you would know       18·   ·   ·   ·ineligible, so the determination of eligible and
19·   ·   ·   ·this.· There's a higher standard above               19·   ·   ·   ·ineligible would be made by Colleen Nevin and her
20·   ·   ·   ·preponderance, and I believe in our proposed rule,   20·   ·   ·   ·team of attorneys.
21·   ·   ·   ·we put the proposal out using the higher standard,   21·   ·   ·   · · · Q· · ·And who advises Colleen Nevin about how
22·   ·   ·   ·but based on public comments that we got, we         22·   ·   ·   ·to implement Department of Education policy
23·   ·   ·   ·ultimately went with the preponderance of evidence   23·   ·   ·   ·regarding the merits of the applications?
24·   ·   ·   ·standard because that was the standard in the 2016   24·   ·   ·   · · · A· · ·I don't believe she's advised. I
25·   ·   ·   ·reg.                                                 25·   ·   ·   ·believe that she's an attorney who we trust

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·1·   ·   ·   · · · Q· · ·So you've been involved in the policy     ·1·   ·   ·   ·understands how to review evidence and make a
·2·   ·   ·   ·regarding step-two determinations.· How -- how do    ·2·   ·   ·   ·determination.
·3·   ·   ·   ·you know when a step-two determination is needed?    ·3·   ·   ·   · · · · · · I -- I -- I don't think anybody advises
·4·   ·   ·   ·I mean, you have to go through step one first;       ·4·   ·   ·   ·her on how to review evidence.· I mean, I think
·5·   ·   ·   ·right?                                               ·5·   ·   ·   ·that's why we hire attorneys and that --
·6·   ·   ·   · · · A· · ·Right.· But I don't make the              ·6·   ·   ·   · · · Q· · ·I guess I'm trying to parse out the
·7·   ·   ·   ·determination on a particular borrower's claim       ·7·   ·   ·   ·notion of reviewing evidence as a lawyer and
·8·   ·   ·   ·even with regard to relief.· My role is to develop   ·8·   ·   ·   ·setting policy, and my understanding is your job
·9·   ·   ·   ·a methodology that FSA can employ consistently to    ·9·   ·   ·   ·has been to set policy.
10·   ·   ·   ·determine that relief, but I don't look at any       10·   ·   ·   · · · A· · ·That's correct.
11·   ·   ·   ·particular claim even on a step-two basis.           11·   ·   ·   · · · Q· · ·But you have not ever set policy or had
12·   ·   ·   · · · Q· · ·Okay.· So I guess I'm not asking about    12·   ·   ·   ·a conversation about the policy regarding deciding
13·   ·   ·   ·particular claims, though.· My question is if        13·   ·   ·   ·the application in step one?
14·   ·   ·   ·you're only doing with step two in your role and     14·   ·   ·   · · · A· · ·I've never been involved in deciding on
15·   ·   ·   ·have never even had a conversation about policy      15·   ·   ·   ·a particular application in step one whether a
16·   ·   ·   ·regarding step one, that means, then, you're only    16·   ·   ·   ·borrower was eligible or ineligible.
17·   ·   ·   ·dealing with granted applications; is that right?    17·   ·   ·   · · · · · · However, in the process of finalizing
18·   ·   ·   · · · A· · ·The relief -- the relief methodology      18·   ·   ·   ·the 2019 regs, I was involved in conversations
19·   ·   ·   ·would -- would apply to granted applications and     19·   ·   ·   ·about preponderance of evidence versus whatever
20·   ·   ·   ·with -- with one exception which is that in the      20·   ·   ·   ·that other standard is.· I was involved in
21·   ·   ·   ·case of Corinthian, I believe the 2017 methodology   21·   ·   ·   ·conversations about whether or not breach of
22·   ·   ·   ·included a minimum guarantee of percent relief, so   22·   ·   ·   ·contract would be included in the 2019 reg.· I was
23·   ·   ·   ·that was a -- that was a conversation in which I     23·   ·   ·   ·involved in conversations about how we would look
24·   ·   ·   ·was not involved, and I don't know exactly to whom   24·   ·   ·   ·at lawsuits brought against a school versus
25·   ·   ·   ·that applies.                                        25·   ·   ·   ·determining judgments on the merits.


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·1·   ·   ·   · · · · · · So at a high level in developing the      ·1·   ·   ·   ·back to Exhibit 7 for this deposition, which is --
·2·   ·   ·   ·2019 reg, you know, I was involved in                ·2·   ·   ·   ·you may not even have to look at it.· It's the one
·3·   ·   ·   ·conversations about, you know, that kind of          ·3·   ·   ·   ·where their recommendation has been given for --
·4·   ·   ·   ·evidence; in other words, whether there's breach     ·4·   ·   ·   ·it's heavily redacted.· It's from James Manning to
·5·   ·   ·   ·of contract evidence.· But that doesn't mean I       ·5·   ·   ·   ·the Secretary, May 4th, 2017, and the Secretary
·6·   ·   ·   ·know how to --                                       ·6·   ·   ·   ·signs the granting of the borrower defense.
·7·   ·   ·   · · · Q· · ·Right.· Right.· Yeah.· I mean, I know     ·7·   ·   ·   · · · · · · So -- so that -- would you consider
·8·   ·   ·   ·you're not an attorney looking at them in that       ·8·   ·   ·   ·this a step-one or a step-two determination, this
·9·   ·   ·   ·way.                                                 ·9·   ·   ·   ·memorandum?
10·   ·   ·   · · · · · · I guess who has final authority to sign   10·   ·   ·   · · · A· · ·You know, there's so much redacted in
11·   ·   ·   ·off on a borrower defense denial or grant, step      11·   ·   ·   ·it that I'm not sure exactly what the content of
12·   ·   ·   ·one?                                                 12·   ·   ·   ·that memo was.· So I -- I can't -- I can't say
13·   ·   ·   · · · A· · ·Colleen Nevin or her -- I don't know      13·   ·   ·   ·what she signed off on because I don't remember
14·   ·   ·   ·whether she delegates that to attorneys in her       14·   ·   ·   ·what -- you know, I don't know if I've seen the
15·   ·   ·   ·group, but ultimately those attorneys report to      15·   ·   ·   ·unredacted form.· Let me see if I can pull it back
16·   ·   ·   ·her.· She has final say on the determination.        16·   ·   ·   ·up and . . .
17·   ·   ·   · · · Q· · ·And no one else reviews that              17·   ·   ·   · · · · · · (Witness reviews document.)
18·   ·   ·   ·determination?                                       18·   ·   ·   · · · · · · Okay.· I've pulled it --
19·   ·   ·   · · · A· · ·I don't know what her process is. I       19·   ·   ·   · · · Q· · ·Well, I guess -- I can ask a broader
20·   ·   ·   ·don't know who is involved in her process.· But      20·   ·   ·   ·question which is it -- your understanding that
21·   ·   ·   ·I -- but I know that she makes -- she and her team   21·   ·   ·   ·Colleen Nevin is the sole authority to sign off on
22·   ·   ·   ·of attorneys make that determination.                22·   ·   ·   ·whether a borrower is denied or granted their
23·   ·   ·   · · · Q· · ·And do you know if they have any          23·   ·   ·   ·application, has that always been the case?
24·   ·   ·   ·guidance documents that tell them how to make that   24·   ·   ·   · · · · · · MR. MERRITT:· Objection as to
25·   ·   ·   ·determination?                                       25·   ·   ·   ·characterization of her prior statement.

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·1·   ·   ·   · · · A· · ·I don't know.                             ·1·   ·   ·   · · · BY MS. O'GRADY:
·2·   ·   ·   · · · Q· · ·So in the memos we looked at before --    ·2·   ·   ·   · · · Q· · ·Okay.· Please correct me if I
·3·   ·   ·   ·just give me one moment.· I have to grab my          ·3·   ·   ·   ·mischaracterized your prior statement.
·4·   ·   ·   ·exhibits, too.                                       ·4·   ·   ·   · · · A· · ·Could you say it -- could you state
·5·   ·   ·   · · · · · · Well, we can take the . . .               ·5·   ·   ·   ·that again?
·6·   ·   ·   · · · A· · ·I do want to clarify.· So you asked me    ·6·   ·   ·   · · · Q· · ·So who currently has the authority to
·7·   ·   ·   ·the question about have I ever been involved in      ·7·   ·   ·   ·sign off on step-one determinations?
·8·   ·   ·   ·conversations.· I did just remember a conversation   ·8·   ·   ·   · · · A· · ·It -- it is my understanding that
·9·   ·   ·   ·that I want to make sure I share, and that is at     ·9·   ·   ·   ·Colleen Nevin and her group made that decision.
10·   ·   ·   ·one point, you know, I -- I asked Colleen and her    10·   ·   ·   ·I -- I don't know how she delegates authority
11·   ·   ·   ·team where they were in the process of reviewing     11·   ·   ·   ·within that group.· I don't know that she
12·   ·   ·   ·evidence for ITT Tech, and they told me that they    12·   ·   ·   ·personally signs off on every decision.
13·   ·   ·   ·had a million pages to review.· So we did have a     13·   ·   ·   · · · Q· · ·So she could delegate to someone to
14·   ·   ·   ·conversation where they told me they had a million   14·   ·   ·   ·sign off on the decision?
15·   ·   ·   ·pages of evidence to review, and my answer was,      15·   ·   ·   · · · A· · ·She has a team of attorneys, and it's
16·   ·   ·   ·oh, okay.                                            16·   ·   ·   ·possible that she has delegated.· I just don't
17·   ·   ·   · · · Q· · ·Okay.· So that's the only conversation    17·   ·   ·   ·know.
18·   ·   ·   ·you've ever had with anyone about step-one           18·   ·   ·   · · · Q· · ·Is it your understanding that that
19·   ·   ·   ·determinations?                                      19·   ·   ·   ·has -- how long has that been the case where
20·   ·   ·   · · · A· · ·Right.· Right.· At a very high level,     20·   ·   ·   ·Colleen or the person in Colleen's position has
21·   ·   ·   ·you know, how far are you in processing -- in        21·   ·   ·   ·the authority to sign off on granting or
22·   ·   ·   ·reviewing the evidence --                            22·   ·   ·   ·borrowing?
23·   ·   ·   · · · Q· · ·Okay.                                     23·   ·   ·   · · · A· · ·I don't know the answer to that
24·   ·   ·   · · · A· · ·-- on that.· Yeah.                        24·   ·   ·   ·question.· I'm not aware of the different
25·   ·   ·   · · · Q· · ·So it's my -- so I just wanted to go      25·   ·   ·   ·circumstance, but that doesn't mean it doesn't


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·1·   ·   ·   ·exist.· I just know of the circumstance -- of the    ·1·   ·   ·   · · · Q· · ·Okay.· And you said this was around
·2·   ·   ·   ·circumstance I'm aware of, she has that authority,   ·2·   ·   ·   ·when they were reviewing evidence for ITT.· Was
·3·   ·   ·   ·but I don't know if there were different             ·3·   ·   ·   ·this the same question when she said -- I think
·4·   ·   ·   ·circumstances earlier.· I just don't know.           ·4·   ·   ·   ·you said, you know, there were millions of
·5·   ·   ·   · · · Q· · ·And -- and to just -- I -- I think I      ·5·   ·   ·   ·documents they had to review?
·6·   ·   ·   ·may have asked this again, but I just want to make   ·6·   ·   ·   · · · A· · ·Yes.
·7·   ·   ·   ·sure I'm clear on it.                                ·7·   ·   ·   · · · Q· · ·Okay.· So this is that one
·8·   ·   ·   · · · · · · What policies guide Ms. Nevin's           ·8·   ·   ·   ·conversation.
·9·   ·   ·   ·decisions?                                           ·9·   ·   ·   · · · A· · ·Yes.
10·   ·   ·   · · · A· · ·So the policies that guide her            10·   ·   ·   · · · Q· · ·About what month and year was this?
11·   ·   ·   ·decisions are the '95 regs, the 2016 regs and the    11·   ·   ·   · · · A· · ·It was before Covid, I know, because
12·   ·   ·   ·2019 regs.· So, for example, a policy had to be      12·   ·   ·   ·the conversation took place in my office.
13·   ·   ·   ·established regarding which state standard would     13·   ·   ·   · · · Q· · ·Okay.· Even if you just have an
14·   ·   ·   ·be used to evaluate claims.· Now, I don't have the   14·   ·   ·   ·approximate range?
15·   ·   ·   ·expertise to be able to review the state standards   15·   ·   ·   · · · A· · ·You know, I'm going to have to think
16·   ·   ·   ·in different states to understand which one should   16·   ·   ·   ·about it.· I just can't remember the timeline, but
17·   ·   ·   ·be implied, and so I did ask Colleen to work with    17·   ·   ·   ·I know it was prior to Covid.· And -- and it is my
18·   ·   ·   ·our Office of General Counsel to develop a policy    18·   ·   ·   ·understanding that they have determined a policy
19·   ·   ·   ·for determining which state standard to use.         19·   ·   ·   ·on a -- to identify the state standard.
20·   ·   ·   · · · · · · Now --                                    20·   ·   ·   · · · Q· · ·Okay.
21·   ·   ·   · · · Q· · ·Did they develop that policy?             21·   ·   ·   · · · A· · ·But it involves understanding -- so you
22·   ·   ·   · · · · · · MR. MERRITT:· Objection.· It's calling    22·   ·   ·   ·know this better that I do.· Different states have
23·   ·   ·   ·for privileged information.                          23·   ·   ·   ·different laws about --
24·   ·   ·   · · · · · · MS. O'GRADY:· I just wanted to know if    24·   ·   ·   · · · Q· · ·Right.
25·   ·   ·   ·the policy was ever completed.                       25·   ·   ·   · · · A· · ·-- what they have for eminent domain.

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·1·   ·   ·   · · · · · · MR. MERRITT:· Go ahead, Diane.            ·1·   ·   ·   ·I don't know what the right word is.· So I do know
·2·   ·   ·   · · · · · · THE WITNESS:· I actually don't know.      ·2·   ·   ·   ·Colleen that has come to a decision about how to
·3·   ·   ·   · · · BY MS. O'GRADY:                                 ·3·   ·   ·   ·identify the state standard.· I -- I just -- you
·4·   ·   ·   · · · Q· · ·So you've never seen it?                  ·4·   ·   ·   ·know, I -- I can't -- I can't -- I don't know how
·5·   ·   ·   · · · A· · ·I've never seen it.· So I'm not -- you    ·5·   ·   ·   ·to evaluate --
·6·   ·   ·   ·know, I -- I gave the instruction that it needed     ·6·   ·   ·   · · · Q· · ·Sure.
·7·   ·   ·   ·to be done, but I don't have the expertise to        ·7·   ·   ·   · · · A· · ·-- it, so --
·8·   ·   ·   ·review it.                                           ·8·   ·   ·   · · · Q· · ·So you think that she has some sort of
·9·   ·   ·   · · · Q· · ·When did you give the instruction that    ·9·   ·   ·   ·memorandum that memorializes which state standard
10·   ·   ·   ·it needed to be done?                                10·   ·   ·   ·to use at this point?
11·   ·   ·   · · · A· · ·I believe when Colleen notified me that   11·   ·   ·   · · · A· · ·I don't know if there's a memorandum,
12·   ·   ·   ·they were ready to start reviewing evidence for      12·   ·   ·   ·but I do believe that she has determined a way for
13·   ·   ·   ·ITT claims, and at that point I said, well, then I   13·   ·   ·   ·identifying which state standard to use.
14·   ·   ·   ·think we need to figure out, you know, under which   14·   ·   ·   · · · Q· · ·Okay.· And that's -- that's the extent
15·   ·   ·   ·state standard will you be evaluating those          15·   ·   ·   ·you know?· You don't know if it -- it's written
16·   ·   ·   ·claims.                                              16·   ·   ·   ·down by her anywhere or has been disseminated to
17·   ·   ·   · · · · · · So I can't remember the exact date, but   17·   ·   ·   ·her team at all?
18·   ·   ·   ·it was when she said they were getting ready to      18·   ·   ·   · · · A· · ·I -- I don't know.
19·   ·   ·   ·review those documents and I said, you know, there   19·   ·   ·   · · · Q· · ·Okay.· When you asked her to develop
20·   ·   ·   ·has to be a policy for under which state standard.   20·   ·   ·   ·that state standard, why was that important to do
21·   ·   ·   · · · Q· · ·Was it a conversation, or did you write   21·   ·   ·   ·at the time?
22·   ·   ·   ·her an email or a memo instructing her to do that?   22·   ·   ·   · · · A· · ·It was important because I -- I don't
23·   ·   ·   · · · A· · ·I remember that we had a conversation.    23·   ·   ·   ·know how state standards work, but it's my
24·   ·   ·   ·There -- there may have been an email where I        24·   ·   ·   ·understanding that different states have different
25·   ·   ·   ·asked her if we had determined what it was.          25·   ·   ·   ·laws regarding, you know, matters relevant to our


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·1·   ·   ·   ·defense claims.· Consumer protection law I guess     ·1·   ·   ·   ·That's fine with me.
·2·   ·   ·   ·is how I would phrase it because I don't know the    ·2·   ·   ·   · · · · · · MS. O'GRADY:· Okay.· All right.· Let's
·3·   ·   ·   ·names of the laws.                                   ·3·   ·   ·   ·continue, then.
·4·   ·   ·   · · · · · · But it is my understanding that           ·4·   ·   ·   · · · BY MS. O'GRADY:
·5·   ·   ·   ·different states have different laws, and when       ·5·   ·   ·   · · · Q· · ·So you had said that -- you had said
·6·   ·   ·   ·we -- you know, when she told me that she was        ·6·   ·   ·   ·that one of the -- one of the reasons you need to
·7·   ·   ·   ·ready to start looking at evidence for ITT Tech,     ·7·   ·   ·   ·know the state law standard is to inform the
·8·   ·   ·   ·understanding that they had campuses across the      ·8·   ·   ·   ·school about what standard has been used.
·9·   ·   ·   ·country in multiple states, my question to her was   ·9·   ·   ·   · · · · · · Is that true under the '95 regulations
10·   ·   ·   ·how are you going to figure out -- for loans taken   10·   ·   ·   ·and the 2016 and the 2019 in your understanding?
11·   ·   ·   ·prior to July 1, 2017, how are you going to figure   11·   ·   ·   · · · A· · ·It is not.· Under the 2016 and 2019
12·   ·   ·   ·out which state law you're going to use.             12·   ·   ·   ·regulations, it's a federal standard.· So the
13·   ·   ·   · · · Q· · ·And previous to giving her this           13·   ·   ·   ·issue of which state goes away.· So it is only for
14·   ·   ·   ·instruction to develop a 50-state -- or develop a    14·   ·   ·   ·claims adjudicated under the '95 regulations that
15·   ·   ·   ·state standard policy, what was your understanding   15·   ·   ·   ·the state standard is an important determination.
16·   ·   ·   ·of what state standard she'd been using?             16·   ·   ·   · · · Q· · ·And is it your understanding that under
17·   ·   ·   · · · A· · ·It was my understanding that in the       17·   ·   ·   ·the 1995 regulations, a school must be alerted
18·   ·   ·   ·case of Corinthian, they had decided to use the      18·   ·   ·   ·about the borrower defense application?
19·   ·   ·   ·California state law standard.· Corinthian is        19·   ·   ·   · · · A· · ·I am not -- I honestly don't know
20·   ·   ·   ·headquartered in California.                         20·   ·   ·   ·whether or not the '95 regulation requires that.
21·   ·   ·   · · · · · · So my question to her was, well, ITT is   21·   ·   ·   · · · Q· · ·Okay.· All right.
22·   ·   ·   ·headquartered in Indiana, does that mean you'll      22·   ·   ·   · · · A· · ·Let me -- let me make a clarifying
23·   ·   ·   ·use an Indiana state law standard or will you        23·   ·   ·   ·statement.
24·   ·   ·   ·continue to use the California state law standard,   24·   ·   ·   · · · · · · However, the way the 2016 regulation
25·   ·   ·   ·and -- and -- and it took -- and that's when --      25·   ·   ·   ·was written, it is applied retroactively.· So it

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·1·   ·   ·   ·you know, there wasn't an answer for that one.       ·1·   ·   ·   ·depends on when you're asking the question, but
·2·   ·   ·   · · · · · · So I said, well, I think as a matter of   ·2·   ·   ·   ·once the 2016 regulation was in place, many of the
·3·   ·   ·   ·policy, we have to figure out how are you going to   ·3·   ·   ·   ·requirements, such as notification of the school,
·4·   ·   ·   ·determine which state law standard you use.· It      ·4·   ·   ·   ·then applied to the loans being adjudicated under
·5·   ·   ·   ·becomes very easy for loans after July 1, 2017,      ·5·   ·   ·   ·the '95 regs.
·6·   ·   ·   ·but for earlier loans, A, to determine which state   ·6·   ·   ·   · · · · · · So prior to the 2016 reg, I honestly --
·7·   ·   ·   ·standard, and B, to make sure that borrowers and     ·7·   ·   ·   ·I just can't -- I don't think we had detailed
·8·   ·   ·   ·schools would know under which state standard they   ·8·   ·   ·   ·enough regulations to say one way or the other
·9·   ·   ·   ·were evaluated.                                      ·9·   ·   ·   ·prior to '95, but I would have to go back and look
10·   ·   ·   · · · Q· · ·So part of the reason you gave her this   10·   ·   ·   ·at that reg.· But then once the 2016 reg went into
11·   ·   ·   ·instruction, if I understand what you just said,     11·   ·   ·   ·effect, it then had requirements that applied to
12·   ·   ·   ·is so that -- one of the reasons is that a           12·   ·   ·   ·loans that were otherwise considered under the '95
13·   ·   ·   ·borrower who receives a determination about their    13·   ·   ·   ·reg.
14·   ·   ·   ·application would know which state standard had      14·   ·   ·   · · · Q· · ·So we're going to go back to Exhibit 2,
15·   ·   ·   ·been used?                                           15·   ·   ·   ·your declaration.
16·   ·   ·   · · · A· · ·And -- and the school.                    16·   ·   ·   · · · A· · ·Uh-huh.
17·   ·   ·   · · · Q· · ·And the school who's receiving            17·   ·   ·   · · · Q· · ·And we had just been talking about
18·   ·   ·   ·information about the application?                   18·   ·   ·   ·paragraph 15 on the bottom of page 6.· Okay.· And
19·   ·   ·   · · · A· · ·That's correct.                           19·   ·   ·   ·now I want to move on to the middle of page 7
20·   ·   ·   · · · Q· · ·Okay.                                     20·   ·   ·   ·which is paragraph 17.· And in the middle of that
21·   ·   ·   · · · · · · MS. O'GRADY:· It's 11:28 by my count.     21·   ·   ·   ·paragraph, you write, The court enjoined the
22·   ·   ·   ·And I think, Ms. Jones, you have an obligation       22·   ·   ·   ·department from using that methodology as it
23·   ·   ·   ·from 11:30 to noon; do I have that right?            23·   ·   ·   ·currently existed to the extent that the secretary
24·   ·   ·   · · · · · · THE WITNESS:· My calendar has been        24·   ·   ·   ·relies upon information provided by the Social
25·   ·   ·   ·cleared, so we can go until a regular lunchtime.     25·   ·   ·   ·Security Administration in violation of the


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·1·   ·   ·   ·Privacy Act.                                         ·1·   ·   ·   ·the 2017 methodology.· I had no involvement
·2·   ·   ·   · · · · · · So what was your understanding at the     ·2·   ·   ·   ·whatsoever in its development or application.
·3·   ·   ·   ·time that you wrote this of what the court in        ·3·   ·   ·   · · · Q· · ·So let's go to paragraph 18.· If you
·4·   ·   ·   ·Calvillo Manriquez prevented the Department of       ·4·   ·   ·   ·want to just read that out loud for the record?
·5·   ·   ·   ·Education from doing?                                ·5·   ·   ·   · · · A· · ·The department appealed the district
·6·   ·   ·   · · · A· · ·It's my understanding that the court      ·6·   ·   ·   ·court's decision in Manriquez and still waiting
·7·   ·   ·   ·prevented the Department of Education, that it       ·7·   ·   ·   ·for a decision from the appellate court.· In the
·8·   ·   ·   ·enjoined our methodology which at the time relied    ·8·   ·   ·   ·meantime, the department has undertaken
·9·   ·   ·   ·on earnings data from the Social Security            ·9·   ·   ·   ·significant efforts to explore and develop an
10·   ·   ·   ·Administration.· It is my understanding that the     10·   ·   ·   ·alternative approach for determining the amount of
11·   ·   ·   ·court had concerns about potential violation of      11·   ·   ·   ·relief to be given not just to Corinthian
12·   ·   ·   ·the Privacy Act in using Social Security data for    12·   ·   ·   ·borrowers, but to all borrowers with approved
13·   ·   ·   ·this purpose.· And it is my understanding that       13·   ·   ·   ·borrower defense claims.
14·   ·   ·   ·that methodology was enjoined.                       14·   ·   ·   · · · Q· · ·Okay.· So were you involved with the
15·   ·   ·   · · · Q· · ·And was enjoined as to whom?              15·   ·   ·   ·efforts to explore and develop an alternative
16·   ·   ·   · · · A· · ·That particular ruling would have         16·   ·   ·   ·approach?
17·   ·   ·   ·applied to the class of borrowers that we refer to   17·   ·   ·   · · · A· · ·I was.
18·   ·   ·   ·as the Manriquez class.· There were a group of       18·   ·   ·   · · · Q· · ·Okay.· And what was the goal of that
19·   ·   ·   ·borrowers.· I do not recall how many.                19·   ·   ·   ·alternative approach?
20·   ·   ·   · · · · · · So the particular ruling was related to   20·   ·   ·   · · · A· · ·The goal was, you know, should the --
21·   ·   ·   ·those borrowers, but the methodology would have      21·   ·   ·   ·should the District Court of Northern California
22·   ·   ·   ·been employed by the department otherwise to --      22·   ·   ·   ·determine that the methodology already in place
23·   ·   ·   ·you know, to -- to the larger pool of borrowers.     23·   ·   ·   ·was one that we could not use but there would be
24·   ·   ·   · · · Q· · ·Okay.· So the methodology that you        24·   ·   ·   ·an alternative methodology that we could use for
25·   ·   ·   ·describe in paragraph 15 was not just for those      25·   ·   ·   ·part two, for step two.

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·1·   ·   ·   ·who attended certain schools operated by             ·1·   ·   ·   · · · Q· · ·And I think my question was were you
·2·   ·   ·   ·Corinthian, but for all borrowers?                   ·2·   ·   ·   ·involved in developing this.· Did you lead the
·3·   ·   ·   · · · A· · ·So I -- the answer to your question is    ·3·   ·   ·   ·development of this effort?
·4·   ·   ·   ·I don't know.· It was communicated to me as the      ·4·   ·   ·   · · · A· · ·It was -- it was a group that was
·5·   ·   ·   ·methodology that was developed for Corinthian        ·5·   ·   ·   ·involved, and I was part of that group.
·6·   ·   ·   ·borrowers.· I don't know when it was developed       ·6·   ·   ·   · · · Q· · ·And who was in that group?
·7·   ·   ·   ·what the intent was for its long-term use.· I -- I   ·7·   ·   ·   · · · A· · ·That group included myself, Michael
·8·   ·   ·   ·don't know.                                          ·8·   ·   ·   ·Brickman from my team; Jeff Appel, who was at FSA
·9·   ·   ·   · · · Q· · ·What was your -- what was your role       ·9·   ·   ·   ·and who is sadly now deceased.· Ian Foss, who was
10·   ·   ·   ·regarding this methodology?· What was your           10·   ·   ·   ·at Federal Student Aid.· Then there were others
11·   ·   ·   ·involvement?                                         11·   ·   ·   ·who came in and out of discussions.· We had, you
12·   ·   ·   · · · · · · MR. MERRITT:· Objection.· It's            12·   ·   ·   ·know, representatives from the Office of General
13·   ·   ·   ·ambiguous.                                           13·   ·   ·   ·Counsel who were involved in some meetings.· You
14·   ·   ·   · · · BY MS. O'GRADY:                                 14·   ·   ·   ·know, there were conversations with our different
15·   ·   ·   · · · Q· · ·In your role, were you tasked with        15·   ·   ·   ·statistical offices.
16·   ·   ·   ·applying -- of setting policy that applied this      16·   ·   ·   · · · · · · So other people were brought into the
17·   ·   ·   ·methodology to step-two determinations?              17·   ·   ·   ·conversation, but I'd say the main working group
18·   ·   ·   · · · A· · ·Are you asking me about the 2017          18·   ·   ·   ·was, you know, myself, Michael, Jeff Appel, Ian
19·   ·   ·   ·methodology?                                         19·   ·   ·   ·and probably Robin Minor was involved.
20·   ·   ·   · · · Q· · ·I'm asking you about the methodology      20·   ·   ·   · · · Q· · ·Did you have regular meetings?
21·   ·   ·   ·that you discuss in paragraph 15, which is what      21·   ·   ·   · · · A· · ·I can't recall whether it was a
22·   ·   ·   ·was made after the department conducted a thorough   22·   ·   ·   ·regularly scheduled meeting, but we had many
23·   ·   ·   ·review of its existing methods and developed a new   23·   ·   ·   ·meetings.
24·   ·   ·   ·methodology for Corinthian students?                 24·   ·   ·   · · · Q· · ·When did this -- when did this effort
25·   ·   ·   · · · A· · ·I believe that paragraph 15 refers to     25·   ·   ·   ·to explore and develop an alternative approach --


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·1·   ·   ·   ·when did that begin?                                 ··    ·   ·   · · · · · · · · · · · · · · · · · · · · · · ·Page
·2·   ·   ·   · · · A· · ·I think the group convened to start the   ·1·   ·   ·   · · · A· · ·I -- I don't believe our conversation
·3·   ·   ·   ·formal discussion somewhere in the neighborhood of   ·2·   ·   ·   ·about state law standard was taking place during
·4·   ·   ·   ·April, May, June of 2019.· I'd have to go back and   ·3·   ·   ·   ·this time period.· No, I think that conversation
·5·   ·   ·   ·look, but I think it was sometime in the spring of   ·4·   ·   ·   ·about the state law standard was subsequent to the
·6·   ·   ·   ·2019.                                                ·5·   ·   ·   ·development of the step-two methodology.
·7·   ·   ·   · · · Q· · ·And was the secretary involved in these   ·6·   ·   ·   · · · Q· · ·And you've said that was your only
·8·   ·   ·   ·discussions?                                         ·7·   ·   ·   ·conversation with anyone about step one, so there
·9·   ·   ·   · · · A· · ·No.                                       ·8·   ·   ·   ·would be no other.
                                                                    ·9·   ·   ·   · · · A· · ·Right.· I mean, I got reports on
10·   ·   ·   · · · Q· · ·Whose idea was it to make significant
                                                                    10·   ·   ·   ·numbers -- you know, numbers of claims that were
11·   ·   ·   ·efforts to explore and develop an alternative
                                                                    11·   ·   ·   ·pending, but, you know, it was just a -- you know,
12·   ·   ·   ·approach?
                                                                    12·   ·   ·   ·a high level number.
13·   ·   ·   · · · A· · ·I think that, you know, Mark Brown had
                                                                    13·   ·   ·   · · · Q· · ·You got reports on, okay, numbers of
14·   ·   ·   ·taken his new role and was concerned that we had
                                                                    14·   ·   ·   ·borrower defense claims that were pending, so
15·   ·   ·   ·still not gotten clarity from the Northern
                                                                    15·   ·   ·   ·borrower defense claims that were awaiting a
16·   ·   ·   ·District of California, and he raised this issue
                                                                    16·   ·   ·   ·step-one determination?
17·   ·   ·   ·with me, and I shared his concern that enough time
                                                                    17·   ·   ·   · · · A· · ·Early on, I don't even -- early on, I
18·   ·   ·   ·had passed that it was time for us to start          18·   ·   ·   ·think the reports were just simply, you know, how
19·   ·   ·   ·thinking about an alternative methodology.           19·   ·   ·   ·many claims we have gotten, yes, and how many
20·   ·   ·   · · · · · · The -- the other thing that prompted      20·   ·   ·   ·claims are pending.· I don't know that I would
21·   ·   ·   ·that is eventually I was told that the Social        21·   ·   ·   ·have known a percentage of them were in process.
22·   ·   ·   ·Security Administration would not be continuing      22·   ·   ·   ·You know, early on, it was just that this is the
23·   ·   ·   ·the memorandum of understanding to provide future    23·   ·   ·   ·number.
24·   ·   ·   ·earnings data.· And, so, that also, you know,        24·   ·   ·   · · · Q· · ·Did you receive information or reports
25·   ·   ·   ·triggered in my mind that we -- we did need to       25·   ·   ·   ·about claims that had a step-one determination and

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·1·   ·   ·   ·come up with a new methodology that didn't rely on   ··    ·   ·   · · · · · · · · · · · · · · · · · · · · · · ·Page
·2·   ·   ·   ·social security data because while the court would   ·1·   ·   ·   ·were awaiting a step-two determination?
·3·   ·   ·   ·determine for current borrowers, you know, whether   ·2·   ·   ·   · · · A· · ·Later on, after the methodology had
·4·   ·   ·   ·they were going to approve the methodology, moving   ·3·   ·   ·   ·been approved and it was being applied, we -- we
·5·   ·   ·   ·forward I knew we would not have access to social    ·4·   ·   ·   ·did start getting updates on, you know, how
·6·   ·   ·   ·security data.                                       ·5·   ·   ·   ·many -- how many claims were under review under
·7·   ·   ·   · · · Q· · ·And just to clarify, the methodology      ·6·   ·   ·   ·the part-one review.· So that was much later.
·8·   ·   ·   ·we're talking about again is just about the amount   ·7·   ·   ·   ·Like I said, after the methodology had been
·9·   ·   ·   ·of relief, so a step-two determination; correct?     ·8·   ·   ·   ·approved, then I did start getting reports on, you
                                                                    ·9·   ·   ·   ·know, total number of claims, number of claims
10·   ·   ·   · · · A· · ·That is correct.
                                                                    10·   ·   ·   ·being -- we use the term adjudicated to mean the
11·   ·   ·   · · · Q· · ·So as this is all going on, Ms. Nevin
                                                                    11·   ·   ·   ·determination of the merit.
12·   ·   ·   ·is continuing her determinations of denial or
                                                                    12·   ·   ·   · · · Q· · ·So before the methodology was
13·   ·   ·   ·grants on the merits?
                                                                    13·   ·   ·   ·completed, you were not receiving reports about
14·   ·   ·   · · · A· · ·I don't supervise Colleen directly, and
                                                                    14·   ·   ·   ·any adjudications occurring?
15·   ·   ·   ·so I can only speculate.· I -- I don't know --
                                                                    15·   ·   ·   · · · A· · ·Well, you know, again, there -- we --
16·   ·   ·   · · · Q· · ·Okay.· So you don't know whether
                                                                    16·   ·   ·   ·you know, we -- adjudication is different than
17·   ·   ·   ·step-one determinations are being made at this
                                                                    17·   ·   ·   ·processing, meaning notifications.
18·   ·   ·   ·point because your methodology is just about step    18·   ·   ·   · · · Q· · ·So "adjudication" to you means
19·   ·   ·   ·two?                                                 19·   ·   ·   ·notifying a student of the decision?
20·   ·   ·   · · · A· · ·That is correct.                          20·   ·   ·   · · · A· · ·No, adjudication to me means the
21·   ·   ·   · · · Q· · ·And while this -- while your              21·   ·   ·   ·attorney is reviewing the evidence to determine if
22·   ·   ·   ·development of this new methodology regarding step   22·   ·   ·   ·there was merit.
23·   ·   ·   ·two is going on, you weren't having conversations    23·   ·   ·   · · · Q· · ·Okay.· So adjudication is reviewing a
24·   ·   ·   ·with Colleen or anyone else about step-one           24·   ·   ·   ·step one.
25·   ·   ·   ·determinations; is that right?                       25·   ·   ·   · · · · · · So what's processing?


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·1·   ·   ·   · · · A· · ·Well, I didn't invent the terminology,    ·1·   ·   ·   ·November 2019, step-one determinations were being
·2·   ·   ·   ·but the terminology as I understand it is that       ·2·   ·   ·   ·made pending the development of the new partial
·3·   ·   ·   ·adjudication is step one, reviewing the merit.       ·3·   ·   ·   ·relief methodology; is that right?
·4·   ·   ·   ·Step two is the determination of relief.· And then   ·4·   ·   ·   · · · A· · ·That's what I've been told.· I mean, I
·5·   ·   ·   ·when that is done, the borrower is notified.         ·5·   ·   ·   ·don't have supervision over that unit, so it
·6·   ·   ·   · · · Q· · ·Okay.· So processing is not a term of     ·6·   ·   ·   ·was -- I guess you could say I'm speculating here,
·7·   ·   ·   ·art, then?· It goes adjudication, decision           ·7·   ·   ·   ·but that is the information I was provided.
·8·   ·   ·   ·notification?                                        ·8·   ·   ·   · · · Q· · ·And, again, by whom?
·9·   ·   ·   · · · A· · ·I think FSA uses the term "processing"    ·9·   ·   ·   · · · A· · ·It would either -- you know, I -- I
10·   ·   ·   ·to mean the notification of the borrower.            10·   ·   ·   ·am -- I'm sure Mark Brown would have given me that
11·   ·   ·   · · · Q· · ·Okay.· Now, with this step-one,           11·   ·   ·   ·information, but I may have also gotten it from
12·   ·   ·   ·step-two division, if a claim in step one is         12·   ·   ·   ·Colleen Nevin in a meeting.
13·   ·   ·   ·adjudicated as denied, step two is not necessary;    13·   ·   ·   · · · Q· · ·Okay.· And the second part of this
14·   ·   ·   ·is that right?                                       14·   ·   ·   ·sentence is, you know, determinations that some
15·   ·   ·   · · · A· · ·I -- I don't recall exactly how the       15·   ·   ·   ·borrowers established successful borrower defense
16·   ·   ·   ·10 percent decision is applied to Corinthian, so I   16·   ·   ·   ·in accordance with the applicable standard, and
17·   ·   ·   ·can't answer the question there.                     17·   ·   ·   ·that standard is the standard governing step-one
18·   ·   ·   · · · Q· · ·Taking that aside.                        18·   ·   ·   ·determinations; right?
19·   ·   ·   · · · A· · ·Outside of that group, I -- I wouldn't    19·   ·   ·   · · · A· · ·That is correct.
20·   ·   ·   ·imagine that if they're ineligible you'd have to     20·   ·   ·   · · · Q· · ·Okay.· I think -- we've talked a lot
21·   ·   ·   ·do a determination, so I would imagine that step     21·   ·   ·   ·about your lack of involvement with that standard?
22·   ·   ·   ·two the sep- -- it would be separate.                22·   ·   ·   · · · A· · ·Right.
23·   ·   ·   · · · Q· · ·So in your role, you've only ever had     23·   ·   ·   · · · Q· · ·I -- I just want to understand your
24·   ·   ·   ·involvement with grants of borrower defense          24·   ·   ·   ·role.· Is there a reason that you have had no
25·   ·   ·   ·applications; is that right?                         25·   ·   ·   ·involvement in step one?

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·1·   ·   ·   · · · A· · ·I'm not involved in granting any          ·1·   ·   ·   · · · A· · ·I -- I think there are two reasons.
·2·   ·   ·   ·borrower defense applications.· My role has been     ·2·   ·   ·   ·One is I'm not an attorney.· I -- I have no
·3·   ·   ·   ·around the policy for the regulations and the        ·3·   ·   ·   ·expertise or professional experience or ability to
·4·   ·   ·   ·methodology for determination of relief.             ·4·   ·   ·   ·evaluate evidence.· I just don't.· So I think, you
·5·   ·   ·   · · · Q· · ·Okay.· So my question is the              ·5·   ·   ·   ·know -- so one of the reasons is that, you know,
·6·   ·   ·   ·methodology for determination of relief is solely    ·6·   ·   ·   ·I'm not an attorney.
·7·   ·   ·   ·about the percentage of relief once an application   ·7·   ·   ·   · · · · · · But the second reason is that the --
·8·   ·   ·   ·has been granted; it doesn't involve a denied        ·8·   ·   ·   ·the legislation that establishes federal student
·9·   ·   ·   ·application?                                         ·9·   ·   ·   ·aid as a performance-based organization makes very
10·   ·   ·   · · · A· · ·That is correct, you know, with this      10·   ·   ·   ·clear the division between policy and operations.
11·   ·   ·   ·carve-out for this 10 percent Corinthian.            11·   ·   ·   ·And with the borrower defense unit residing in
12·   ·   ·   · · · Q· · ·Okay.· In paragraph 25, I want to just    12·   ·   ·   ·FSA, those are operational decisions.· The -- the
13·   ·   ·   ·read the first sentence of that paragraph for the    13·   ·   ·   ·application of a regulation is FSA's decision to
14·   ·   ·   ·record.· It's a little bit long.                     14·   ·   ·   ·make, right.· So when there is a policy question
15·   ·   ·   · · · A· · ·Sure.                                     15·   ·   ·   ·about that, I get involved; but outside of the
16·   ·   ·   · · · · · · As explained in other declarations        16·   ·   ·   ·policy questions, you know, they are a
17·   ·   ·   ·submitted as part of this administrative record,     17·   ·   ·   ·semi-autonomous unit, so not only --
18·   ·   ·   ·the department has continued to adjudicate claims    18·   ·   ·   · · · Q· · ·So what --
19·   ·   ·   ·since the injunction was issued in Manriquez,        19·   ·   ·   · · · A· · ·-- (indiscernible) experience, you
20·   ·   ·   ·consistent with that injunction, including making    20·   ·   ·   ·know, that would be crossing the separation of
21·   ·   ·   ·step-one determinations that some borrowers have     21·   ·   ·   ·labor.
22·   ·   ·   ·established a successful borrower defense in         22·   ·   ·   · · · Q· · ·I want to understand, though, how --
23·   ·   ·   ·accordance with the applicable standard.             23·   ·   ·   ·how do you determine what is a policy question
24·   ·   ·   · · · Q· · ·Okay.· So this is -- here you say that    24·   ·   ·   ·that would be appropriate for you to weigh in on?
25·   ·   ·   ·claims -- this was written in November.· So as of    25·   ·   ·   · · · A· · ·You know, I -- it's hard to give a


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·1·   ·   ·   ·general rule, right, because policy -- it depends,   ·1·   ·   ·   ·potential to be the highest paid employee at the
·2·   ·   ·   ·right.· So the answer is it depends.· But I think    ·2·   ·   ·   ·department because of the bonus structure, and
·3·   ·   ·   ·the place that maybe best described this is that     ·3·   ·   ·   ·when Congress created the PBO, which I believe was
·4·   ·   ·   ·policy are questions about regulations versus what   ·4·   ·   ·   ·in 1998, they felt as though FSA as a PBO had to
·5·   ·   ·   ·the BD unit which is making decisions about an       ·5·   ·   ·   ·be held accountable for their performance and
·6·   ·   ·   ·individual borrower's application.                   ·6·   ·   ·   ·therefore had to have semi-autonomous operational
·7·   ·   ·   · · · Q· · ·So in your understanding, there is no     ·7·   ·   ·   ·control.
·8·   ·   ·   ·policy to govern step-one determinations; there's    ·8·   ·   ·   · · · · · · But Congress did not want them to be
·9·   ·   ·   ·only an individual attorney-driven adjudication of   ·9·   ·   ·   ·the policy or the regulatory body, and Congress
10·   ·   ·   ·evidence?                                            10·   ·   ·   ·assigned that role to the department.
11·   ·   ·   · · · · · · And I do not want to put words in your    11·   ·   ·   · · · Q· · ·So it's your understanding of that
12·   ·   ·   ·mouth.· I want to understand.                        12·   ·   ·   ·structure -- I hear you saying that that structure
13·   ·   ·   · · · A· · ·No, I mean, I think the -- the policy     13·   ·   ·   ·determines in part your ability to involve
14·   ·   ·   ·question on step one, as I, you know, explained      14·   ·   ·   ·yourself in step-one determinations; is that
15·   ·   ·   ·earlier, was which state standard, right.· So, you   15·   ·   ·   ·right?
16·   ·   ·   ·know, I think we needed a general policy about how   16·   ·   ·   · · · A· · ·Well, I mean, I think it's twofold;
17·   ·   ·   ·do you figure out which state standard to use.       17·   ·   ·   ·right?· I mean, one that is an operational
18·   ·   ·   · · · · · · Now, I'm not the one who issued that      18·   ·   ·   ·protocol, so I would not be involved because under
19·   ·   ·   ·policy, but, for example, do you use the state       19·   ·   ·   ·the way we are managing FSA, I -- I don't get
20·   ·   ·   ·where the company is located?· Do you use the        20·   ·   ·   ·involved in day-to-day operation decisions.· But
21·   ·   ·   ·state where the campus is located?· Do you use the   21·   ·   ·   ·even if we did, I personally couldn't because I'm
22·   ·   ·   ·state where the borrower is located?                 22·   ·   ·   ·not an attorney.
23·   ·   ·   · · · Q· · ·So your understanding is the only         23·   ·   ·   · · · Q· · ·Okay.· So what's the difference,
24·   ·   ·   ·policy question with regard to adjudicating          24·   ·   ·   ·though, between step one and step two?
25·   ·   ·   ·borrower defense applications is which state         25·   ·   ·   · · · A· · ·The difference between step one is it's

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·1·   ·   ·   ·standard to use?                                     ·1·   ·   ·   ·the evaluation of legal evidence to make a legal
·2·   ·   ·   · · · A· · ·Outside of the regulatory questions       ·2·   ·   ·   ·determination of whether misrepresentation
·3·   ·   ·   ·about whether or not breach of contract is           ·3·   ·   ·   ·occurred.· That is very different than the policy
·4·   ·   ·   ·considered, right.· So we have the high-level        ·4·   ·   ·   ·which defines misrepresentation in regulations.
·5·   ·   ·   ·policy decisions defining misrepresentation, and     ·5·   ·   ·   · · · Q· · ·Right.
·6·   ·   ·   ·obviously I'm involved in creating the 2019          ·6·   ·   ·   · · · · · · I suppose I'm getting at so the policy
·7·   ·   ·   ·regulation which sets forth a definition of          ·7·   ·   ·   ·that defines misrepresentation in regulations and
·8·   ·   ·   ·misrepresentation.                                   ·8·   ·   ·   ·the policy that sets a schedule for determining,
·9·   ·   ·   · · · · · · But when it comes to determining for an   ·9·   ·   ·   ·you know, a percentage of relief borrowers on the
10·   ·   ·   ·individual borrower whether misrepresentation        10·   ·   ·   ·whole will be getting, why is your role different
11·   ·   ·   ·occurred, that's not a policy decision beyond the    11·   ·   ·   ·with respects to step one and step two?
12·   ·   ·   ·regulatory requirement that the definition of        12·   ·   ·   · · · A· · ·Well, again in step two, I am not
13·   ·   ·   ·misrepresentation be applied.                        13·   ·   ·   ·making the determination for any particular
14·   ·   ·   · · · Q· · ·I want to go back to your statement       14·   ·   ·   ·borrower about what level of relief they're
15·   ·   ·   ·about it being performance based and you being in    15·   ·   ·   ·getting.· All I'm trying to do is in the same way
16·   ·   ·   ·operations.                                          16·   ·   ·   ·that a policy process defined misrepresentation, I
17·   ·   ·   · · · · · · Can you clarify that for me and just      17·   ·   ·   ·was involved in a policy process to define
18·   ·   ·   ·explain what you meant by that for me a little bit   18·   ·   ·   ·financial harm.· And then the BD unit applies that
19·   ·   ·   ·more?                                                19·   ·   ·   ·definition.
20·   ·   ·   · · · A· · ·Sure.· Because FSA is a                   20·   ·   ·   · · · · · · So I think you could look at what I
21·   ·   ·   ·performance-based organization, they have            21·   ·   ·   ·refer to as the methodology as the policy
22·   ·   ·   ·different hiring authority; they have different      22·   ·   ·   ·definition of what constitutes financial harm.· So
23·   ·   ·   ·contracting authority; and they have a different     23·   ·   ·   ·the policy is set at a very high level.· This is
24·   ·   ·   ·pay scale.· Senior leaders at FSA get bonuses.       24·   ·   ·   ·how we define financial harm, but it's the BD unit
25·   ·   ·   ·The COO, the chief operating officer, has the        25·   ·   ·   ·that applies it to any particular borrower.


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·1·   ·   ·   · · · Q· · ·And why isn't it the case with step one   ·1·   ·   ·   · · · Q· · ·No problem.
·2·   ·   ·   ·that policy would be set on --                       ·2·   ·   ·   · · · A· · ·Yes, this looks like the transcript of
·3·   ·   ·   · · · A· · ·Policy was set in establishing the        ·3·   ·   ·   ·my hearing before the House Oversight Committee.
·4·   ·   ·   ·definition of misrepresentation.                     ·4·   ·   ·   · · · Q· · ·Okay.· And who prepared you for this
·5·   ·   ·   · · · Q· · ·And that's the extent of your             ·5·   ·   ·   ·testimony?
·6·   ·   ·   ·involvement with that?                               ·6·   ·   ·   · · · · · · MR. MERRITT:· Objection to the scope.
·7·   ·   ·   · · · A· · ·That is the extent of my involvement is   ·7·   ·   ·   · · · BY MS. O'GRADY:
·8·   ·   ·   ·in defining misrepresentation in the 2019 regs.      ·8·   ·   ·   · · · Q· · ·I believe you can still answer.
·9·   ·   ·   ·Granted, I was not involved in defining              ·9·   ·   ·   · · · · · · MR. MERRITT:· Okay.· Go ahead for now.
10·   ·   ·   ·misrepresentation in the 2016 regs or the 1995       10·   ·   ·   · · · · · · THE WITNESS:· Largely I prepared myself
11·   ·   ·   ·regs, but I was involved in defining                 11·   ·   ·   ·for the hearing, but, you know, there were
12·   ·   ·   ·misrepresentation for the 2019 regs.                 12·   ·   ·   ·meetings with, you know, attorneys in the Office
13·   ·   ·   · · · · · · MS. O'GRADY:· Okay.· If we can go to      13·   ·   ·   ·of General Counsel.· And -- and certainly people
14·   ·   ·   ·another exhibit.· This will be -- if I could just    14·   ·   ·   ·on my team, you know, helped me pull documents to
15·   ·   ·   ·ask the court reporter, Dana, did I actually mark    15·   ·   ·   ·review.
16·   ·   ·   ·Exhibit 10 or did I not?· I'm hoping that I did      16·   ·   ·   · · · BY MS. O'GRADY:
17·   ·   ·   ·not, but just let me know either way.                17·   ·   ·   · · · Q· · ·Okay.· And what kind of documents did
18·   ·   ·   · · · · · · THE COURT REPORTER:· Can you hear me?     18·   ·   ·   ·you review?
19·   ·   ·   · · · · · · MS. O'GRADY:· Now I can.                  19·   ·   ·   · · · · · · MR. MERRITT:· Objection as to calling
20·   ·   ·   · · · · · · THE COURT REPORTER:· Okay.· Just give     20·   ·   ·   ·for privileged information as well.
21·   ·   ·   ·me just a second.· I separated files, so I've got    21·   ·   ·   · · · BY MS. O'GRADY:
22·   ·   ·   ·to go into the last file.                            22·   ·   ·   · · · Q· · ·I certainly don't want any privileged
23·   ·   ·   · · · · · · MS. O'GRADY:· By my count, I'm now up     23·   ·   ·   ·information, but if there were members of your
24·   ·   ·   ·to Exhibit 10 because we didn't actually talk        24·   ·   ·   ·team who were not lawyers that you worked with or
25·   ·   ·   ·about the Nevin declaration.· But if I'm wrong       25·   ·   ·   ·to the extent you prepared yourself by reviewing

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·1·   ·   ·   ·about that and it's Exhibit 11, that's fine.· Just   ·1·   ·   ·   ·previous memoranda, I'd like to know what those
·2·   ·   ·   ·please let me know so I don't mess up the            ·2·   ·   ·   ·were.
·3·   ·   ·   ·numbering.                                           ·3·   ·   ·   · · · A· · ·Well, this is a totally different
·4·   ·   ·   · · · · · · THE COURT REPORTER:· I have 9 as the      ·4·   ·   ·   ·matter.· This has nothing to do with borrower
·5·   ·   ·   ·last one you marked.                                 ·5·   ·   ·   ·defense.
·6·   ·   ·   · · · · · · MS. O'GRADY:· I can tell you which        ·6·   ·   ·   · · · Q· · ·Well, I believe -- I believe some does.
·7·   ·   ·   ·document we're going to open.· It's a PDF in the     ·7·   ·   ·   ·We can go to that.· But did -- I take from your
·8·   ·   ·   ·main folder, Hearing Examining For-Profit College    ·8·   ·   ·   ·answer you mean you did not review any documents
·9·   ·   ·   ·Oversight.                                           ·9·   ·   ·   ·about borrower defense in preparation for this
10·   ·   ·   · · · · · · THE COURT REPORTER:· I'm sorry, Maggie.   10·   ·   ·   ·testimony?
11·   ·   ·   ·Nine is the last one you marked.· Ten is next.       11·   ·   ·   · · · · · · MR. MERRITT:· Again, objection.· It's
12·   ·   ·   · · · · · · Could you hear me then?                   12·   ·   ·   ·calling for privileged company.
13·   ·   ·   · · · · · · MS. O'GRADY:· No.· If you could just      13·   ·   ·   · · · · · · MS. O'GRADY:· That's fine.· I'll move
14·   ·   ·   ·tell me if the next exhibit is 10 or 11?             14·   ·   ·   ·on.
15·   ·   ·   · · · · · · I see it in the chat.· Thank you.         15·   ·   ·   · · · BY MS. O'GRADY:
16·   ·   ·   · · · · · · So this exhibit will be Exhibit 10 for    16·   ·   ·   · · · Q· · ·I want to talk about your exchange with
17·   ·   ·   ·this deposition.                                     17·   ·   ·   ·Congresswoman Pressley, and this is about borrower
18·   ·   ·   · · · · · · (Jones Deposition Exhibit 10 was marked   18·   ·   ·   ·defense.· I think the easiest page numbering is
19·   ·   ·   ·for identification and attached to the               19·   ·   ·   ·from the top of the page, and it's 49.
20·   ·   ·   ·transcript.)                                         20·   ·   ·   · · · A· · ·Yes, I remember this part of the
21·   ·   ·   · · · BY MS. O'GRADY:                                 21·   ·   ·   ·dialogue well.
22·   ·   ·   · · · Q· · ·And, Ms. Jones, do you recognize this     22·   ·   ·   · · · Q· · ·So at the bottom, Congresswoman
23·   ·   ·   ·document?                                            23·   ·   ·   ·Pressley asked, Ms. Jones, at this moment, do you
24·   ·   ·   · · · A· · ·Sorry.· I had to get my cursor over to    24·   ·   ·   ·know how many claims remain unprocessed?
25·   ·   ·   ·my microphone.                                       25·   ·   ·   · · · · · · And here she is talking about borrower


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·1·   ·   ·   ·defense claims; correct?                             ·1·   ·   ·   · · · Q· · ·Okay.
·2·   ·   ·   · · · A· · ·Yes, so she's asking me about the         ·2·   ·   ·   · · · A· · ·So it was my understanding that they
·3·   ·   ·   ·number of claims.                                    ·3·   ·   ·   ·were continuing to look at evidence, but I don't
·4·   ·   ·   · · · Q· · ·If you want to just read your answer      ·4·   ·   ·   ·have direct knowledge.
·5·   ·   ·   ·for the record.                                      ·5·   ·   ·   · · · Q· · ·And of the pending claims that you've
·6·   ·   ·   · · · A· · ·(Witness reviews document.)· Okay.        ·6·   ·   ·   ·stated were in the neighborhood of 160,000, what
·7·   ·   ·   · · · Q· · ·So beginning there, It is a number that   ·7·   ·   ·   ·schools do those 160,000 borrowers attend?
·8·   ·   ·   ·changes from time to time.                           ·8·   ·   ·   · · · · · · MR. MERRITT:· Objection.· It's
·9·   ·   ·   · · · A· · ·Oh, you want me to read it out loud?      ·9·   ·   ·   ·overbroad.
10·   ·   ·   · · · Q· · ·Yes, if you don't mind.                   10·   ·   ·   · · · BY MS. O'GRADY:
11·   ·   ·   · · · A· · ·Okay.· Let me scroll back up.             11·   ·   ·   · · · Q· · ·Are they all CCI?
12·   ·   ·   · · · · · · It is a number that changes from time     12·   ·   ·   · · · A· · ·I -- I would have to go back and look,
13·   ·   ·   ·to time.· It is probably in the neighborhood of      13·   ·   ·   ·but I -- no.· I don't know what percentage of them
14·   ·   ·   ·160,000.· The last official count I got was          14·   ·   ·   ·were CCI, but, no, by this point in time, there
15·   ·   ·   ·158,000, so I'm assuming it's somewhere in the       15·   ·   ·   ·were claims from -- from, you know, a list of
16·   ·   ·   ·name of 160,000 by now.                              16·   ·   ·   ·institutions.
17·   ·   ·   · · · Q· · ·Okay.· And then on the next page, she     17·   ·   ·   · · · Q· · ·Okay.· So I -- I guess I'm still trying
18·   ·   ·   ·says -- this is at the top of the page 50 --         18·   ·   ·   ·to understand why the injunction in the Calvillo
19·   ·   ·   ·Ms. Jones, for the record, yes or no, is there       19·   ·   ·   ·Manriquez matter would have prevented step-one and
20·   ·   ·   ·currently a policy which restricts the office of     20·   ·   ·   ·step-two determinations from those who did not
21·   ·   ·   ·Federal Student Aid from adjudicating or             21·   ·   ·   ·attend CCI schools?
22·   ·   ·   ·processing any borrower defense claims that did      22·   ·   ·   · · · A· · ·I don't think I've ever suggested that
23·   ·   ·   ·not stem from school closure?                        23·   ·   ·   ·step one stop.· I don't know.· I'm not involved in
24·   ·   ·   · · · · · · And there's a little bit of               24·   ·   ·   ·step one.· I was told it continued, but I don't
25·   ·   ·   ·interruption there.· And the bulk of your answer     25·   ·   ·   ·have direct knowledge.· So I can't tell you for

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·1·   ·   ·   ·is then where you begin, There is not a policy       ·1·   ·   ·   ·certain whether it did or it didn't, but there was
·2·   ·   ·   ·that prevents.                                       ·2·   ·   ·   ·certainly no policy to stop step one.
·3·   ·   ·   · · · · · · Would you just read that part of your     ·3·   ·   ·   · · · Q· · ·Okay.· Assuming step one had continued,
·4·   ·   ·   ·answer out loud for the record?                      ·4·   ·   ·   ·what was preventing the department from doing step
·5·   ·   ·   · · · A· · ·Sure.                                     ·5·   ·   ·   ·two for non-CCI students?
·6·   ·   ·   · · · · · · There is not a policy that prevents the   ·6·   ·   ·   · · · A· · ·A lack of a methodology to do step two.
·7·   ·   ·   ·review of claims.· However, we are not able to       ·7·   ·   ·   · · · Q· · ·And what is the reason for the lack of
·8·   ·   ·   ·determine the level of harm or the level of relief   ·8·   ·   ·   ·a methodology at this point?
·9·   ·   ·   ·that a borrower should get because the methodology   ·9·   ·   ·   · · · A· · ·Because the Northern District of
10·   ·   ·   ·we use is now being challenged by the California     10·   ·   ·   ·California had determined that our methodology
11·   ·   ·   ·courts, so we continue to process.                   11·   ·   ·   ·potentially involved a Privacy Act violation.
12·   ·   ·   · · · Q· · ·Okay.· So I want to understand what you   12·   ·   ·   · · · Q· · ·So at the point of the injunction of
13·   ·   ·   ·mean here by there's not a policy that prevents      13·   ·   ·   ·Calvillo Manriquez, was it Ed's intention to use
14·   ·   ·   ·their view of claims.                                14·   ·   ·   ·that partial relief methodology for all pending
15·   ·   ·   · · · A· · ·Yes.· There was no policy in place to     15·   ·   ·   ·borrower defense claims step-two determinations?
16·   ·   ·   ·prevent Colleen Nevin's team from continuing to      16·   ·   ·   · · · A· · ·I don't know what the intent was of the
17·   ·   ·   ·review evidence, to review claims, to evaluate the   17·   ·   ·   ·2017 methodology at the time.
18·   ·   ·   ·merit of an application.                             18·   ·   ·   · · · Q· · ·Here, you testified that there could be
19·   ·   ·   · · · Q· · ·And I think you said earlier today that   19·   ·   ·   ·no step-two determinations because of the
20·   ·   ·   ·you do not know either way if she and her team       20·   ·   ·   ·injunction, and --
21·   ·   ·   ·were doing that?                                     21·   ·   ·   · · · A· · ·Correct.
22·   ·   ·   · · · A· · ·Right.· I mean, I -- you know, I was      22·   ·   ·   · · · Q· · ·-- those 160,000 borrowers are not only
23·   ·   ·   ·told on a level that we're continuing to review,     23·   ·   ·   ·CCI graduates.· So in effect, that methodology
24·   ·   ·   ·but I don't have direct knowledge of that. I         24·   ·   ·   ·being enjoined prevented all step-two
25·   ·   ·   ·don't supervise her.                                 25·   ·   ·   ·determinations; is that right?


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·1·   ·   ·   · · · A· · ·At the time -- yes.· So what -- if your   ·1·   ·   ·   · · · Q· · ·Is the methodology -- the partial
·2·   ·   ·   ·question to me is, you know, when -- when the --     ·2·   ·   ·   ·relief methodology that you've been working on to
·3·   ·   ·   ·let me just take a step back.                        ·3·   ·   ·   ·replace, that used in Calvillo, is that complete?
·4·   ·   ·   · · · · · · The application of the methodology by     ·4·   ·   ·   · · · A· · ·What do you mean by "complete"?
·5·   ·   ·   ·the time I got involved was not just focused on      ·5·   ·   ·   · · · Q· · ·Has there -- is there a document that
·6·   ·   ·   ·Corinthian Colleges, right.· I get involved in the   ·6·   ·   ·   ·sets that policy and outlines the methodology?
·7·   ·   ·   ·methodology in the spring of 2019.· So at the time   ·7·   ·   ·   · · · A· · ·The new methodology --
·8·   ·   ·   ·that I engage in the methodology, it is a            ·8·   ·   ·   · · · Q· · ·Right.
·9·   ·   ·   ·methodology being developed to be applied broadly.   ·9·   ·   ·   · · · A· · ·-- in December 2019?
10·   ·   ·   · · · · · · Prior to my involvement, I was not        10·   ·   ·   · · · Q· · ·Yeah.
11·   ·   ·   ·involved in discussions about the methodology. I     11·   ·   ·   · · · A· · ·Yes.· I believe on our Web site we have
12·   ·   ·   ·could only speculate on its intended use.· But       12·   ·   ·   ·told borrowers how that methodology works. I
13·   ·   ·   ·when I became involved in the development of a       13·   ·   ·   ·believe it's published on our Web site.
14·   ·   ·   ·methodology, the intent was that it would be         14·   ·   ·   · · · Q· · ·And that guidance -- how is that
15·   ·   ·   ·applicable to any borrower defense claim from any    15·   ·   ·   ·guidance used by somebody in FSA?
16·   ·   ·   ·institution at any point in time in the future.      16·   ·   ·   · · · · · · MR. MERRITT:· Objection to scope.
17·   ·   ·   · · · Q· · ·Okay.· So the step-one determinations     17·   ·   ·   · · · BY MS. O'GRADY:
18·   ·   ·   ·that you believe, but do not know for sure, were     18·   ·   ·   · · · Q· · ·I guess I just want to understand how
19·   ·   ·   ·being made while the Calvillo injunction was         19·   ·   ·   ·the step-two workflow goes.
20·   ·   ·   ·preventing you from making step-two                  20·   ·   ·   · · · · · · So you develop the methodology.· It's
21·   ·   ·   ·determinations, have they been preserved or kept     21·   ·   ·   ·been provided to borrowers on the Web site, and
22·   ·   ·   ·anywhere or would they be in the normal course?      22·   ·   ·   ·then there are individuals who then apply step-two
23·   ·   ·   · · · · · · I guess my question is if those           23·   ·   ·   ·methodology to step-one determinations which are
24·   ·   ·   ·step-one determinations were being made, what        24·   ·   ·   ·all going to be the grants, obviously.
25·   ·   ·   ·would have happened to them?                         25·   ·   ·   · · · · · · So I -- I'd like to know how that's

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·1·   ·   ·   · · · A· · ·You'd have to ask Colleen Nevin.          ·1·   ·   ·   ·communicated and has been communicated in
·2·   ·   ·   · · · Q· · ·So the regulations that you were          ·2·   ·   ·   ·determining --
·3·   ·   ·   ·working on, the new methodology, who would be        ·3·   ·   ·   · · · · · · MR. MERRITT:· I'm still going to object
·4·   ·   ·   ·applying step two?                                   ·4·   ·   ·   ·on scope as the step-two processes is not part of
·5·   ·   ·   · · · A· · ·So --                                     ·5·   ·   ·   ·the court's discovery order.
·6·   ·   ·   · · · · · · MR. MERRITT:· Objection as vague.         ·6·   ·   ·   · · · · · · MS. O'GRADY:· I think it all goes to
·7·   ·   ·   · · · BY MS. O'GRADY:                                 ·7·   ·   ·   ·reasons for -- for delay, but . . .
·8·   ·   ·   · · · Q· · ·We know Colleen and her team do step      ·8·   ·   ·   · · · · · · Charlie, are you instructing the
·9·   ·   ·   ·one.· Who -- who does step two?                      ·9·   ·   ·   ·witness not to answer or --
10·   ·   ·   · · · A· · ·First, I want to clarify that the         10·   ·   ·   · · · · · · MR. MERRITT:· Well, what was the
11·   ·   ·   ·regulations we were developing are separate from     11·   ·   ·   ·question?
12·   ·   ·   ·the development of the methodology.                  12·   ·   ·   · · · · · · MS. O'GRADY:· The question is how the
13·   ·   ·   · · · Q· · ·Thank you for clarifying.· I should       13·   ·   ·   ·step-two policy that has been developed -- the
14·   ·   ·   ·have said methodology.                               14·   ·   ·   ·step-two methodology has been communicated to
15·   ·   ·   · · · A· · ·Yeah.· So I want to be clear about        15·   ·   ·   ·individuals in Ed in FSA who are actually tasked
16·   ·   ·   ·that.                                                16·   ·   ·   ·with implementing it to a decision.
17·   ·   ·   · · · Q· · ·Thank you.                                17·   ·   ·   · · · · · · MR. MERRITT:· You can answer that.
18·   ·   ·   · · · A· · ·I don't know who in Colleen's unit        18·   ·   ·   · · · · · · THE WITNESS:· So the answer is I don't
19·   ·   ·   ·conducts the step two.                               19·   ·   ·   ·know.· There is a team in FSA who creates the data
20·   ·   ·   · · · Q· · ·Okay.· So it would be someone else in     20·   ·   ·   ·tables, who actually analyzes the data.· And there
21·   ·   ·   ·her unit.· An attorney?                              21·   ·   ·   ·is a second team at FSA who quality controls the
22·   ·   ·   · · · A· · ·It would be somebody in FSA.· I don't     22·   ·   ·   ·data to divide (audio distortion) the tables.
23·   ·   ·   ·know who actually does that.· I don't know -- I      23·   ·   ·   · · · · · · I do know there are two teams involved
24·   ·   ·   ·don't know the qualifications of everybody on her    24·   ·   ·   ·in development and the quality review of the data
25·   ·   ·   ·team.                                                25·   ·   ·   ·tables.· I do not know how Colleen's team divides


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·1·   ·   ·   ·up the work.· I -- I don't know how the standard     ·1·   ·   ·   ·the Calvillo -- for step-two determinations for
·2·   ·   ·   ·operating procedure brings those data tables into    ·2·   ·   ·   ·non-CCI students when the Calvillo injunction
·3·   ·   ·   ·the process.· I don't know.                          ·3·   ·   ·   ·occurred?
·4·   ·   ·   · · · · · · MS. O'GRADY:· It's 12:15.· Do we want     ·4·   ·   ·   · · · A· · ·So I was not -- I didn't come into my
·5·   ·   ·   ·to have a break for lunch now?· Does that work for   ·5·   ·   ·   ·current role until after that decision, and so I
·6·   ·   ·   ·everyone?                                            ·6·   ·   ·   ·don't exactly know the answer to that question at
·7·   ·   ·   · · · · · · THE WITNESS:· It's up to you.             ·7·   ·   ·   ·the time the decision was made.· I came into my
·8·   ·   ·   · · · · · · MS. O'GRADY:· Okay.· I think that would   ·8·   ·   ·   ·role after that.
·9·   ·   ·   ·work.· I think we're at a good breaking point        ·9·   ·   ·   · · · Q· · ·Okay.· Now during the time that you
10·   ·   ·   ·right now and that would work for me if that's       10·   ·   ·   ·said in your declaration and you testified before
11·   ·   ·   ·okay.· I -- I suggest a short lunch just             11·   ·   ·   ·Congress that the Calvillo Manriquez injunction
12·   ·   ·   ·because --                                           12·   ·   ·   ·prevented the 2017 partial relief methodology from
13·   ·   ·   · · · · · · THE VIDEOGRAPHER:· You want to go off     13·   ·   ·   ·being applied to any borrower, there were no
14·   ·   ·   ·the record for this convo?                           14·   ·   ·   ·borrower defense decisions mailed out to students;
15·   ·   ·   · · · · · · MS. O'GRADY:· Yes, thank you.             15·   ·   ·   ·is that correct?
16·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Okay.· We're now       16·   ·   ·   · · · A· · ·I don't know.
17·   ·   ·   ·going off the record.· The time is 17:14 UTC time.   17·   ·   ·   · · · Q· · ·You don't know either way if during
18·   ·   ·   ·Thank you.                                           18·   ·   ·   ·that period there were any decisions sent out to
19·   ·   ·   · · · · · · (Lunch recess -- 12:15 p.m.)              19·   ·   ·   ·students?
20·   ·   ·   · · · · · · (After lunch recess -- 12:49 p.m.)        20·   ·   ·   · · · · · · MR. MERRITT:· Objection: vague.
21·   ·   ·   · · · · · · THE VIDEOGRAPHER:· We are now back on     21·   ·   ·   · · · BY MS. O'GRADY:
22·   ·   ·   ·the record.· The time is 17:49 UTC time.             22·   ·   ·   · · · Q· · ·Were there any decisions sent out to
23·   ·   ·   · · · BY MS. O'GRADY:                                 23·   ·   ·   ·students on their borrower defense applications
24·   ·   ·   · · · Q· · ·Okay.· Ms. Jones, I have a few            24·   ·   ·   ·while the Calvillo Manriquez injunction presented
25·   ·   ·   ·follow-up questions about what we discussed at       25·   ·   ·   ·step-two determinations from being made?

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·1·   ·   ·   ·break and then we'll go on to the next exhibit.      ·1·   ·   ·   · · · A· · ·Do you mean final decisions, or would
·2·   ·   ·   ·So one of my follow-up questions is the partial      ·2·   ·   ·   ·that include, for example, if somebody submitted
·3·   ·   ·   ·relief methodology that was developed for CCI        ·3·   ·   ·   ·an incomplete application and the borrower defense
·4·   ·   ·   ·students, at what point was it decided that that     ·4·   ·   ·   ·unit reached out to get more information?
·5·   ·   ·   ·should apply to everyone?                            ·5·   ·   ·   · · · Q· · ·I'm asking about final decisions.
·6·   ·   ·   · · · A· · ·Are you asking me about the -- the        ·6·   ·   ·   · · · A· · ·You know, I -- I -- I don't recall
·7·   ·   ·   ·methodology in 2019 I was a part of developing or    ·7·   ·   ·   ·final decisions being made.· I -- I can't say that
·8·   ·   ·   ·the 2017 methodology?                                ·8·   ·   ·   ·absolutely no decision was ever issued, but I
·9·   ·   ·   · · · Q· · ·Let's take the 2017 first.· So that was   ·9·   ·   ·   ·don't recall decisions continuing -- well, let me
10·   ·   ·   ·first -- my understanding it says in your            10·   ·   ·   ·be clear.· I don't know whether -- you know, I --
11·   ·   ·   ·declaration that was originally developed for the    11·   ·   ·   ·whether or not decisions were being made.· You
12·   ·   ·   ·CCI students in those particular windows, and at     12·   ·   ·   ·know, I was told they were processing, but I don't
13·   ·   ·   ·what point did that become the methodology that Ed   13·   ·   ·   ·have direct knowledge.· But I also believe it is
14·   ·   ·   ·wanted to use for students other than CCI            14·   ·   ·   ·the case that final decisions were not being
15·   ·   ·   ·students?                                            15·   ·   ·   ·mailed -- you know, borrowers were not being told
16·   ·   ·   · · · A· · ·I -- I -- I don't know, and I -- yeah,    16·   ·   ·   ·final decisions.
17·   ·   ·   ·I don't know when that decision would or would not   17·   ·   ·   · · · · · · So I think I want it clear as to -- you
18·   ·   ·   ·have been made.                                      18·   ·   ·   ·know, it's a little bit separate in our mind about
19·   ·   ·   · · · Q· · ·Do you know if that decision was made?    19·   ·   ·   ·the review of claims versus the notification of
20·   ·   ·   · · · A· · ·You know, I don't recall it having been   20·   ·   ·   ·borrowers and I do not believe borrowers had been
21·   ·   ·   ·a final decision.· I -- I -- it -- I don't recall    21·   ·   ·   ·notified of final decisions.
22·   ·   ·   ·because I -- yeah, I don't recall whether it was     22·   ·   ·   · · · Q· · ·Did it concern you that borrowers were
23·   ·   ·   ·or was not a decision as made.                       23·   ·   ·   ·not being notified about final decisions?
24·   ·   ·   · · · Q· · ·Was there ever an effort to use a         24·   ·   ·   · · · A· · ·I'm not sure what you mean.
25·   ·   ·   ·different methodology for non-CCI students when      25·   ·   ·   · · · Q· · ·Were you -- was it something that you


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·1·   ·   ·   ·thought about or had any concerns about, or did      ·1·   ·   ·   ·with Colleen.
·2·   ·   ·   ·you -- it didn't occur to you that that would be a   ·2·   ·   ·   · · · Q· · ·And when did you discuss the pace with
·3·   ·   ·   ·problem?                                             ·3·   ·   ·   ·Mr. Brown?
·4·   ·   ·   · · · · · · MR. MERRITT:· Objection as calling for    ·4·   ·   ·   · · · A· · ·I believe -- I believe that after the
·5·   ·   ·   ·privileged information.                              ·5·   ·   ·   ·methodology was approved, the secretary wanted
·6·   ·   ·   · · · · · · MS. O'GRADY:· It's calling for            ·6·   ·   ·   ·regular updates on -- you know, on -- on how
·7·   ·   ·   ·privileged information in that -- on what basis      ·7·   ·   ·   ·things were moving, and so --
·8·   ·   ·   ·are you making that objection?                       ·8·   ·   ·   · · · Q· · ·And are you talking about -- which
·9·   ·   ·   · · · · · · MR. MERRITT:· Her thoughts and opinions   ·9·   ·   ·   ·methodology are you talking about?
10·   ·   ·   ·on decision department policy at the time before     10·   ·   ·   · · · A· · ·The 20- -- I guess we'll call it the
11·   ·   ·   ·final policy was established.                        11·   ·   ·   ·2019 methodology.
12·   ·   ·   · · · · · · MS. O'GRADY:· So you're saying it's a     12·   ·   ·   · · · Q· · ·So the 2019 partial relief methodology?
13·   ·   ·   ·deliberative process privilege whether or not she    13·   ·   ·   · · · A· · ·Correct.· Once that had been approved
14·   ·   ·   ·was concerned about any decisions going out or       14·   ·   ·   ·and -- to say, you know, had -- had been told to
15·   ·   ·   ·not?                                                 15·   ·   ·   ·apply that methodology, you know, she wanted
16·   ·   ·   · · · · · · MR. MERRITT:· Yes.                        16·   ·   ·   ·regular updates on -- on -- you know, on how that
17·   ·   ·   · · · BY MS. O'GRADY:                                 17·   ·   ·   ·was going.· And so, yes, in that context, you
18·   ·   ·   · · · Q· · ·Ms. Jones, in your role did you have      18·   ·   ·   ·know, I get regular updates from her and we
19·   ·   ·   ·authority to ask FSA to make decisions on the        19·   ·   ·   ·discussed --
20·   ·   ·   ·merits -- to make step-one decisions?                20·   ·   ·   · · · Q· · ·And regular updates, what kind of
21·   ·   ·   · · · A· · ·Could you -- meaning?                     21·   ·   ·   ·information did that include?
22·   ·   ·   · · · Q· · ·Well, we've -- we've talked about how     22·   ·   ·   · · · A· · ·Generally it included how many pending
23·   ·   ·   ·you don't -- your role as -- your policy role did    23·   ·   ·   ·claims were there.· Sometimes he would give
24·   ·   ·   ·not involve step-one decisions.· We talked a lot     24·   ·   ·   ·updates on how many new claims had come in, and at
25·   ·   ·   ·about that before break.                             25·   ·   ·   ·some point he would report on, excuse me, how many

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·1·   ·   ·   · · · · · · I'm wondering if you had the authority    ·1·   ·   ·   ·claims had been adjudicated, and by adjudication
·2·   ·   ·   ·to say to Ms. Nevin or whoever else in her role      ·2·   ·   ·   ·meaning how many claims had the attorneys reviewed
·3·   ·   ·   ·the pace of step-one decisions needs to be           ·3·   ·   ·   ·for a determination on the merit, et cetera.
·4·   ·   ·   ·increased, for example.· You know, was that within   ·4·   ·   ·   · · · Q· · ·Okay.· So how many step-one
·5·   ·   ·   ·your authority?                                      ·5·   ·   ·   ·determinations had been made as opposed to step
·6·   ·   ·   · · · A· · ·So it sounds to me like you're asking a   ·6·   ·   ·   ·two was included?
·7·   ·   ·   ·couple of different things.· It started to sound     ·7·   ·   ·   · · · A· · ·Correct.· Now, there was a separate
·8·   ·   ·   ·like you were asking me do I have the authority to   ·8·   ·   ·   ·number for -- for, you know, processing, and I
·9·   ·   ·   ·tell them to make decisions, but then later --       ·9·   ·   ·   ·can't remember at what point that got added to the
10·   ·   ·   ·later it sounded like you were asking me if I have   10·   ·   ·   ·update, but at some point in time we also added to
11·   ·   ·   ·authority to establish a pace.                       11·   ·   ·   ·the reports, you know, the number of borrowers who
12·   ·   ·   · · · Q· · ·So let's take both questions then.· So    12·   ·   ·   ·had received their notification, but I just can't
13·   ·   ·   ·do you have authority to tell them to make           13·   ·   ·   ·remember when that got added.
14·   ·   ·   ·decisions and to send borrower -- borrower defense   14·   ·   ·   · · · Q· · ·And these were sent by Mark Brown to
15·   ·   ·   ·decisions?                                           15·   ·   ·   ·the secretary?
16·   ·   ·   · · · A· · ·No.                                       16·   ·   ·   · · · A· · ·Some were sent from Mark Brown to me
17·   ·   ·   · · · Q· · ·Do you have authority to tell them the    17·   ·   ·   ·and then they were regularly also sent to the
18·   ·   ·   ·pace that they should be working at to process       18·   ·   ·   ·leadership team.
19·   ·   ·   ·borrower defense decisions?                          19·   ·   ·   · · · Q· · ·And how regularly were these sent?
20·   ·   ·   · · · A· · ·I don't have the authority to tell them   20·   ·   ·   · · · A· · ·I can't remember if it was weekly or
21·   ·   ·   ·the pace.                                            21·   ·   ·   ·biweekly.· I just can't remember.· I think it was
22·   ·   ·   · · · Q· · ·Did you ever discuss the pace with        22·   ·   ·   ·biweekly, but it may have been weekly.
23·   ·   ·   ·Ms. Nevin?                                           23·   ·   ·   · · · Q· · ·And were these, like, written memos, or
24·   ·   ·   · · · A· · ·I discussed the case with Mark Brown.     24·   ·   ·   ·were they PowerPoints?
25·   ·   ·   ·I don't recall whether or not I discussed the pace   25·   ·   ·   · · · · · · What format did they take?


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·1·   ·   ·   · · · A· · ·Generally it was an email.· There may     ·1·   ·   ·   · · · A· · ·I believe at that time the updates were
·2·   ·   ·   ·have at times been an attachment with a table, but   ·2·   ·   ·   ·about total number of claims.· What I don't recall
·3·   ·   ·   ·I think generally it was an email, and -- and then   ·3·   ·   ·   ·is whether or not those updates included numbers
·4·   ·   ·   ·ultimately I believe that the data warehouse at      ·4·   ·   ·   ·on adjudications.· I just can't remember whether
·5·   ·   ·   ·FSA added this as a public feature.· I believe       ·5·   ·   ·   ·they were included at that time.· I just -- I -- I
·6·   ·   ·   ·these data were then posted for public knowledge     ·6·   ·   ·   ·can't remember.
·7·   ·   ·   ·on the data warehouse.                               ·7·   ·   ·   · · · Q· · ·So you don't remember if updates had
·8·   ·   ·   · · · Q· · ·Okay.· And when were these updates --     ·8·   ·   ·   ·included whether or not any claims -- any
·9·   ·   ·   ·when did they start getting sent?                    ·9·   ·   ·   ·decisions on the merits had been communicated to
10·   ·   ·   · · · A· · ·I don't remember the exact date, but      10·   ·   ·   ·students?
11·   ·   ·   ·I -- I recall that it was after the December 2019    11·   ·   ·   · · · A· · ·I -- I -- you know, I just can't
12·   ·   ·   ·implementation of the new methodology.· So there     12·   ·   ·   ·remember the specific, you know, updates that came
13·   ·   ·   ·may have been, you know, earlier updates from time   13·   ·   ·   ·through.· You know, I just can't remember.
14·   ·   ·   ·to time on total numbers, but the regular updates    14·   ·   ·   · · · Q· · ·But at that point before the 2019
15·   ·   ·   ·were after the methodology had been approved and     15·   ·   ·   ·regulations were in effect and these updates
16·   ·   ·   ·implemented.                                         16·   ·   ·   ·began, had you talked to anyone about the delay?
17·   ·   ·   · · · Q· · ·And how were the metrics used?            17·   ·   ·   · · · A· · ·What do you mean by "talked to anyone
18·   ·   ·   · · · A· · ·What do you mean by "how were the         18·   ·   ·   ·about the delay"?
19·   ·   ·   ·metrics used"?                                       19·   ·   ·   · · · Q· · ·You know, were there any meetings or
20·   ·   ·   · · · Q· · ·The information was reviewed by the       20·   ·   ·   ·conversations you had about the fact that
21·   ·   ·   ·secretary.· What is your understanding of its        21·   ·   ·   ·decisions were not being sent out?
22·   ·   ·   ·purpose?· Was the -- I'll ask that question.· If     22·   ·   ·   · · · A· · ·Well, when I came into my role, you
23·   ·   ·   ·you need clarification, I can add.                   23·   ·   ·   ·know, the -- the decision had been made that
24·   ·   ·   · · · A· · ·I mean, I think the purpose was           24·   ·   ·   ·because the Northern District of California had
25·   ·   ·   ·twofold.· You know, general information.             25·   ·   ·   ·concerns about the Privacy Act that we could not

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·1·   ·   ·   ·Obviously, a policy decision had been made and       ·1·   ·   ·   ·apply that methodology; that we had to wait and
·2·   ·   ·   ·people wanted to know if the process was moving.     ·2·   ·   ·   ·find out whether or not it was going to be deemed
·3·   ·   ·   · · · · · · I believe that there -- there was a       ·3·   ·   ·   ·that the use of Social Security Administration
·4·   ·   ·   ·significant amount of hiring as well, and I think    ·4·   ·   ·   ·data was a violation of the Privacy Act.
·5·   ·   ·   ·part of that was to, you know, evaluate, you know,   ·5·   ·   ·   · · · Q· · ·While you were waiting, were -- was
·6·   ·   ·   ·the size of the team, you know, do you need more     ·6·   ·   ·   ·another method being developed?
·7·   ·   ·   ·people; do you need fewer people.                    ·7·   ·   ·   · · · A· · ·I started developing the team -- you
·8·   ·   ·   · · · · · · I'm not involved in personnel             ·8·   ·   ·   ·know, I pulled together the team and we started
·9·   ·   ·   ·decisions, but, you know, I think part of that was   ·9·   ·   ·   ·working on that methodology in, you know, I think,
10·   ·   ·   ·also, you know, viewed by people to see if the       10·   ·   ·   ·that April, May, June time frame of 2019.
11·   ·   ·   ·team was large enough.· I mean, the team expanded    11·   ·   ·   · · · Q· · ·I want to go back to the memos that
12·   ·   ·   ·significantly during this time period.               12·   ·   ·   ·updated the secretary on the progress.· Do you
13·   ·   ·   · · · Q· · ·So you said at the start of that answer   13·   ·   ·   ·know if those metrics were ever used to determine
14·   ·   ·   ·that people wanted to know the process was moving.   14·   ·   ·   ·anyone's bonus?
15·   ·   ·   ·What do you mean by that?                            15·   ·   ·   · · · A· · ·I'm not involved in the determination
16·   ·   ·   · · · A· · ·At a general level, you know, it's one    16·   ·   ·   ·of anyone's bonus, so I don't know.
17·   ·   ·   ·thing to develop a policy, and it's another to       17·   ·   ·   · · · Q· · ·Do you know if those metrics were used
18·   ·   ·   ·make sure that those implementing it can do so.      18·   ·   ·   ·to determine anyone's job performance rating or
19·   ·   ·   · · · · · · And, so, I think there was interest in    19·   ·   ·   ·job performance review?
20·   ·   ·   ·making sure that it was a policy that -- you know,   20·   ·   ·   · · · · · · MR. MERRITT:· Objection to the scope of
21·   ·   ·   ·that operationally could be implemented.             21·   ·   ·   ·these questions.
22·   ·   ·   · · · Q· · ·Prior to the -- prior to this time,       22·   ·   ·   · · · BY MS. O'GRADY:
23·   ·   ·   ·around December 2019, when these -- when the         23·   ·   ·   · · · Q· · ·Ms. Jones, I think you can still
24·   ·   ·   ·partial relief methodology went into effect, had     24·   ·   ·   ·answer.
25·   ·   ·   ·there been updates about progress or lack thereof?   25·   ·   ·   · · · · · · MR. MERRITT:· Go ahead.


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·1·   ·   ·   · · · · · · THE WITNESS:· I would have to go back     ·1·   ·   ·   ·topics?· I mean, again, the extent to which the
·2·   ·   ·   ·and look at Mark's performance review.· I'd have     ·2·   ·   ·   ·difficulty of reviewing borrower defense
·3·   ·   ·   ·to go back and look at Mark's performance review,    ·3·   ·   ·   ·applications actually caused or justified
·4·   ·   ·   ·but his performance review was done in December,     ·4·   ·   ·   ·Secretary's 18-month delay.
·5·   ·   ·   ·and we didn't have approval on the methodology       ·5·   ·   ·   · · · · · · MS. O'GRADY:· Can we go off the record
·6·   ·   ·   ·yet.· His next performance review will be next       ·6·   ·   ·   ·to talk about this?
·7·   ·   ·   ·month.                                               ·7·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Do you agree to go
·8·   ·   ·   · · · BY MS. O'GRADY:                                 ·8·   ·   ·   ·off the record?
·9·   ·   ·   · · · Q· · ·And is the pace of decision making        ·9·   ·   ·   · · · · · · MR. MERRITT:· Sure.
10·   ·   ·   ·going to be considered in his performance review?    10·   ·   ·   · · · · · · THE VIDEOGRAPHER:· We're going off the
11·   ·   ·   · · · A· · ·Federal Student Aid publishes their       11·   ·   ·   ·record.· The time is 18:08 UTC time.
12·   ·   ·   ·strategic plan, and the strategic plan I believe     12·   ·   ·   · · · · · · (Recess -- 1:08 p.m.)
13·   ·   ·   ·has as a metric, you know, resolving outstanding     13·   ·   ·   · · · · · · (After recess -- 1:13 p.m.)
14·   ·   ·   ·borrower defense claims.· So I believe -- I'd have   14·   ·   ·   · · · · · · THE VIDEOGRAPHER:· We're now back on
15·   ·   ·   ·to go back and look at the strategic plan. I         15·   ·   ·   ·the record.· The time is 18:13 UTC time.
16·   ·   ·   ·haven't looked at it recently because I haven't      16·   ·   ·   · · · · · · MS. O'GRADY:· Would the court reporter
17·   ·   ·   ·started Mark's review.· But I do think the           17·   ·   ·   ·mind reading the question that was pending?
18·   ·   ·   ·strategic plan includes as a goal, you know,         18·   ·   ·   · · · · · · THE COURT REPORTER:· Can you guys hear
19·   ·   ·   ·coming up-to-date, you know, processing              19·   ·   ·   ·me?· Can you guys hear me?
20·   ·   ·   ·outstanding claims and, you know, eliminating the    20·   ·   ·   · · · · · · MS. O'GRADY:· If that's not possible, I
21·   ·   ·   ·backlog.                                             21·   ·   ·   ·can try and rephrase.
22·   ·   ·   · · · · · · So, you know, to the actual pacing, per   22·   ·   ·   · · · · · · THE COURT REPORTER:· I can type it in.
23·   ·   ·   ·se, I don't know.· But, yes, it is a goal in the     23·   ·   ·   · · · · · · MS. O'GRADY:· Oh, we can get it typed.
24·   ·   ·   ·strategic plan to revolve these outstanding cases.   24·   ·   ·   ·Thank you.
25·   ·   ·   · · · Q· · ·So to the extent that resolving the       25·   ·   ·   · · · · · · So it looked we could get that typed

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·1·   ·   ·   ·backlog, I think you just said, is -- is part of     ·1·   ·   ·   ·in.· I don't think we can, so I'll just move on.
·2·   ·   ·   ·the strategic plan and would be part of the          ·2·   ·   ·   · · · BY MS. O'GRADY:
·3·   ·   ·   ·performance review in a positive way, would a        ·3·   ·   ·   · · · Q· · ·So, Ms. Jones, you testified that the
·4·   ·   ·   ·failure to eliminate the backlog be part of a        ·4·   ·   ·   ·metrics in the memo were being circulated
·5·   ·   ·   ·performance review in a negative way?                ·5·   ·   ·   ·regularly once the borrower defense decisions were
·6·   ·   ·   · · · A· · ·I mean, I think you're asking me to       ·6·   ·   ·   ·restarted around December 2019; is that correct?
·7·   ·   ·   ·speculate on somebody's performance review that      ·7·   ·   ·   · · · A· · ·Okay.· Correct.
·8·   ·   ·   ·is, you know, far more complicated than one issue.   ·8·   ·   ·   · · · Q· · ·And I think you also testified that
·9·   ·   ·   ·I can't --                                           ·9·   ·   ·   ·some of those -- those metrics were important
10·   ·   ·   · · · Q· · ·Well, I can go to the past in the --      10·   ·   ·   ·because it -- I don't want to put words in your
11·   ·   ·   ·you know, for -- for several months until the 2019   11·   ·   ·   ·mouth.· What did you testify about the importance
12·   ·   ·   ·partial relief methodology went into place, there    12·   ·   ·   ·of clearing the backlog?
13·   ·   ·   ·were no new borrower defense decisions made.         13·   ·   ·   · · · · · · You did use that phrase.
14·   ·   ·   · · · · · · Would that reflect negatively on          14·   ·   ·   · · · A· · ·Yeah, the importance of clearing the
15·   ·   ·   ·anyone's job performance review?                     15·   ·   ·   ·backlog is that we wanted to resolve the claims.
16·   ·   ·   · · · · · · MR. MERRITT:· Objection: beyond the       16·   ·   ·   ·We wanted to finalize them.
17·   ·   ·   ·scope.                                               17·   ·   ·   · · · Q· · ·And was that -- the importance of
18·   ·   ·   · · · · · · MS. O'GRADY:· I disagree it's beyond      18·   ·   ·   ·clearing the backlog, when you first came into
19·   ·   ·   ·the scope.· We can have that discussion, but I       19·   ·   ·   ·your position, was that something you were aware
20·   ·   ·   ·think at this point, the witness can answer.         20·   ·   ·   ·of, the backlog of claims?
21·   ·   ·   · · · · · · MR. MERRITT:· Which of the topics does    21·   ·   ·   · · · A· · ·When I first came into my position, I
22·   ·   ·   ·this go to?                                          22·   ·   ·   ·was aware that a judge in California told us that
23·   ·   ·   · · · · · · MS. O'GRADY:· I think it goes to          23·   ·   ·   ·the methodology for determining relief was
24·   ·   ·   ·pretext and the reason for delay.                    24·   ·   ·   ·potentially a violation of the Privacy Act.
25·   ·   ·   · · · · · · MR. MERRITT:· Is that one of the three    25·   ·   ·   · · · Q· · ·My question was, though, when you came


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·1·   ·   ·   ·into your position, did you understand it to be      ·1·   ·   ·   ·California enjoined the methodology.
·2·   ·   ·   ·important to clear that backlog?· Not about what     ·2·   ·   ·   · · · · · · So you're asking me to speculate what
·3·   ·   ·   ·caused it, but did you understand that it was        ·3·   ·   ·   ·could of, should of.· At the end of the day, we
·4·   ·   ·   ·important to clear the backlog of claims?            ·4·   ·   ·   ·hadn't completed adjudicating Corinthian claims
·5·   ·   ·   · · · A· · ·Absolutely I understood it was            ·5·   ·   ·   ·when the judge enjoined the methodology.
·6·   ·   ·   ·important to clear out the backlog of claims, but    ·6·   ·   ·   · · · Q· · ·So when the injunction came down, it
·7·   ·   ·   ·we had been halted in our path by the judge of the   ·7·   ·   ·   ·was -- you know, you essentially said pencils
·8·   ·   ·   ·Northern District of California.                     ·8·   ·   ·   ·down; we'll just wait for a decision?
·9·   ·   ·   · · · Q· · ·So throughout the time before the --      ·9·   ·   ·   · · · A· · ·I didn't say pencils down.
10·   ·   ·   ·before the methodology went into effect in           10·   ·   ·   · · · Q· · ·Your understanding was that meant
11·   ·   ·   ·December 2019 and the claim decisions restarted,     11·   ·   ·   ·because that was prior to your role, but your
12·   ·   ·   ·was the backlog an ongoing concern of yours?         12·   ·   ·   ·understanding was that since the injunction, it
13·   ·   ·   · · · · · · MR. MERRITT:· Again, objection.· That's   13·   ·   ·   ·was pencils down on --
14·   ·   ·   ·calling for mental impressions and deliberative      14·   ·   ·   · · · A· · ·My understanding --
15·   ·   ·   ·privileged information.                              15·   ·   ·   · · · Q· · ·-- on that methodology?
16·   ·   ·   · · · · · · MS. O'GRADY:· I'll rephrase.              16·   ·   ·   · · · A· · ·My understanding was that because the
17·   ·   ·   · · · BY MS. O'GRADY:                                 17·   ·   ·   ·judge had ruled that this was potentially a
18·   ·   ·   · · · Q· · ·Ms. Jones, what steps did you take to     18·   ·   ·   ·violation of the Privacy Act, I -- you know, I
19·   ·   ·   ·clear the backlog prior to the 2019 methodology      19·   ·   ·   ·don't think the department is in the practice of
20·   ·   ·   ·going into effect in December of 2019?               20·   ·   ·   ·knowingly violating a law.
21·   ·   ·   · · · A· · ·The instructions that the borrower        21·   ·   ·   · · · · · · So when this was in question, I -- I
22·   ·   ·   ·defense unit was operating under was that the        22·   ·   ·   ·think that everybody was waiting for the judge to
23·   ·   ·   ·Northern District of California had determined       23·   ·   ·   ·determine whether or not it was a violation of the
24·   ·   ·   ·that we -- that the methodology was potentially a    24·   ·   ·   ·Privacy Act.
25·   ·   ·   ·violation of the Privacy Act.· Quite frankly, you    25·   ·   ·   · · · Q· · ·So when the new methodology was

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·1·   ·   ·   ·know, the question that I asked is have we heard     ·1·   ·   ·   ·developed, was that developed with the express
·2·   ·   ·   ·from the Northern District of California.· I mean,   ·2·   ·   ·   ·purpose of applying to all schools, not just
·3·   ·   ·   ·the Northern District of California was the          ·3·   ·   ·   ·Corinthian?
·4·   ·   ·   ·decision maker on this.· And, yes, I would have      ·4·   ·   ·   · · · A· · ·I -- I can't speak to what will
·5·   ·   ·   ·loved for them to have issued a decision promptly.   ·5·   ·   ·   ·ultimately be determined about the borrowers, you
·6·   ·   ·   · · · Q· · ·Are you aware that -- that the            ·6·   ·   ·   ·know, in -- in involve -- I can't predict what the
·7·   ·   ·   ·Department of Education argued in the Ninth          ·7·   ·   ·   ·district -- the district court in the --
·8·   ·   ·   ·Circuit that the methodology was only intended for   ·8·   ·   ·   · · · Q· · ·I'm not asking you about that.· What I
·9·   ·   ·   ·Corinthian students and not for those who had        ·9·   ·   ·   ·want to know is -- so now we have a new
10·   ·   ·   ·attended schools other than Corinthian?              10·   ·   ·   ·methodology --
11·   ·   ·   · · · A· · ·I'm not aware of the testimony one way    11·   ·   ·   · · · A· · ·Yes.
12·   ·   ·   ·or the other in that case.                           12·   ·   ·   · · · Q· · ·-- not enjoined by the court.
13·   ·   ·   · · · Q· · ·So you'd be surprised to know that it     13·   ·   ·   · · · · · · Is that new methodology for -- will
14·   ·   ·   ·was Ed's position in that case that the              14·   ·   ·   ·that be applied to every single step-one
15·   ·   ·   ·methodology was only ever intended for Corinthian    15·   ·   ·   ·determination?· So a step-one determination is
16·   ·   ·   ·students?                                            16·   ·   ·   ·made.· The borrower defense claim is granted.· It
17·   ·   ·   · · · A· · ·I -- the -- I would not be surprised to   17·   ·   ·   ·goes to step two.· And this new methodology is for
18·   ·   ·   ·know that the methodology was developed for          18·   ·   ·   ·every single student?
19·   ·   ·   ·Corinthian students.· Those were the students that   19·   ·   ·   · · · A· · ·The new methodology is for every
20·   ·   ·   ·were at the center of that case.· The question of    20·   ·   ·   ·applicant; however, in the case that an applicant
21·   ·   ·   ·whether or not that methodology would be applied     21·   ·   ·   ·has already been awarded more, certainly you're
22·   ·   ·   ·to additional borrowers was a question that we       22·   ·   ·   ·not going to go back and apply the new methodology
23·   ·   ·   ·didn't get to.· I never got an answer to that        23·   ·   ·   ·and tell them that they owe us money back, right.
24·   ·   ·   ·question because before we finished adjudicating     24·   ·   ·   ·I mean, that -- that -- you know, we're not going
25·   ·   ·   ·the Corinthian borrowers, the Northern District of   25·   ·   ·   ·to go back in time.· But, yes, moving forward, the


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·1·   ·   ·   ·new methodology is being applied to all -- all       ·1·   ·   ·   ·as well as any responses to comments from the
·2·   ·   ·   ·borrowers who submit a borrower defense claim.       ·2·   ·   ·   ·interagency review.
·3·   ·   ·   · · · Q· · ·And that includes all borrowers who       ·3·   ·   ·   · · · Q· · ·Okay.· And we're going to look at
·4·   ·   ·   ·have submitted a borrower defense claim and a        ·4·   ·   ·   ·page -- on the footer of the document, it's
·5·   ·   ·   ·step-one determination hasn't yet been made?         ·5·   ·   ·   ·page 85.· I think using the footers is the easiest
·6·   ·   ·   · · · A· · ·That is correct.                          ·6·   ·   ·   ·way to navigate.
·7·   ·   ·   · · · Q· · ·Okay.· Let's go to the exhibit folder.    ·7·   ·   ·   · · · · · · And this is under the heading which is
·8·   ·   ·   ·We are going to go the file ECF number 56-3,         ·8·   ·   ·   ·on the bottom of page 84, Summary of the major
·9·   ·   ·   ·Exhibit 5, 2019 regulations.                         ·9·   ·   ·   ·provisions of this regulatory action:· For the
10·   ·   ·   · · · A· · ·Okay.                                     10·   ·   ·   ·direct loan program, the final regulations.
11·   ·   ·   · · · Q· · ·Okay.· And this was Exhibit 5 to your     11·   ·   ·   · · · · · · I'm looking at the third bullet point
12·   ·   ·   ·declaration.· And do you recall reviewing this in    12·   ·   ·   ·on page 85.
13·   ·   ·   ·advance of today's deposition?                       13·   ·   ·   · · · A· · ·Uh-huh.
14·   ·   ·   · · · A· · ·I did not review this exhibit prior to    14·   ·   ·   · · · Q· · ·And would you read that for the record,
15·   ·   ·   ·today.                                               15·   ·   ·   ·that bullet point beginning, Provides schools and
16·   ·   ·   · · · Q· · ·You've seen it before, though; correct?   16·   ·   ·   ·borrowers?
17·   ·   ·   · · · A· · ·Not in this format, but I've certainly    17·   ·   ·   · · · A· · ·I must be in the wrong place.
18·   ·   ·   ·seen the 2019 borrower defense final regulation.     18·   ·   ·   · · · · · · MR. MERRITT:· It's the sixth page of
19·   ·   ·   · · · Q· · ·Okay.· And who wrote this --              19·   ·   ·   ·the PDF if that's helpful.
20·   ·   ·   · · · A· · ·I don't have a Westlaw subscription, so   20·   ·   ·   · · · · · · THE WITNESS:· My scrolling feature is
21·   ·   ·   ·I've never seen it in this format.                   21·   ·   ·   ·kind of bizarre.
22·   ·   ·   · · · Q· · ·Okay.· Fair enough.                       22·   ·   ·   · · · · · · Okay.· So I'm on page 85, and it
23·   ·   ·   · · · · · · So who wrote this document?               23·   ·   ·   ·appears to me as though the third bullet says,
24·   ·   ·   · · · · · · MR. MERRITT:· Objection: scope.           24·   ·   ·   ·Provide schools and borrowers.
25·   ·   ·   · · · · · · MS. O'GRADY:· Can the witness answer?     25·   ·   ·   · · · · · · Is that what you mean?

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·1·   ·   ·   · · · · · · MR. MERRITT:· Okay.                       ·1·   ·   ·   · · · BY MS. O'GRADY:
·2·   ·   ·   · · · · · · MS. O'GRADY:· I mean . . .                ·2·   ·   ·   · · · Q· · ·Yes.
·3·   ·   ·   · · · · · · THE WITNESS:· A team of people wrote      ·3·   ·   ·   · · · A· · ·Okay.· Provides schools and borrowers
·4·   ·   ·   ·this document, and that team of people included      ·4·   ·   ·   ·with opportunities to provide evidence and
·5·   ·   ·   ·individuals from our career staff from the Office    ·5·   ·   ·   ·arguments when a defense to repayment application
·6·   ·   ·   ·of Postsecondary Ed, staff from the Office of        ·6·   ·   ·   ·has been filed and to provide an opportunity for
·7·   ·   ·   ·General Counsel, my office was involved, staff       ·7·   ·   ·   ·each side to respond to the other's submissions,
·8·   ·   ·   ·from Office of Management and Budget, staff from     ·8·   ·   ·   ·so that the department can review a full record as
·9·   ·   ·   ·the Domestic Policy Council, staff from the          ·9·   ·   ·   ·part of the adjudication process.
10·   ·   ·   ·Department of Justice, staff from the Small          10·   ·   ·   · · · Q· · ·So can you walk me through the process
11·   ·   ·   ·Business Administration.· All those regulations go   11·   ·   ·   ·of the school and borrowers providing evidence and
12·   ·   ·   ·through an interagency clearance process.· Every     12·   ·   ·   ·what that means?
13·   ·   ·   ·one of those agencies is allowed to make a comment   13·   ·   ·   · · · A· · ·I can -- I can walk you through the
14·   ·   ·   ·which we respond.                                    14·   ·   ·   ·policy.· The process would have to be described by
15·   ·   ·   · · · · · · So, collectively, that entire group is    15·   ·   ·   ·Colleen Nevin because that's --
16·   ·   ·   ·involved in writing a final regulation.              16·   ·   ·   · · · Q· · ·Okay.
17·   ·   ·   · · · BY MS. O'GRADY:                                 17·   ·   ·   · · · A· · ·-- her operation.
18·   ·   ·   · · · Q· · ·And, Ms. Jones, what was your role in     18·   ·   ·   · · · Q· · ·Then please walk me through the policy.
19·   ·   ·   ·developing this?                                     19·   ·   ·   · · · A· · ·The policy is that the borrower may
20·   ·   ·   · · · A· · ·My role in the final rule was as          20·   ·   ·   ·allege misrepresentation by a school.· At a policy
21·   ·   ·   ·reviewer.· So the public comments come in.· They     21·   ·   ·   ·level, the school would be notified and given an
22·   ·   ·   ·get bucketed by career staff.· Career staff write    22·   ·   ·   ·opportunity to respond.· All of the documents,
23·   ·   ·   ·the responses, and then the document goes through    23·   ·   ·   ·including the response by the institution as well
24·   ·   ·   ·an internal review process which included my         24·   ·   ·   ·as any evidence that the department is using to
25·   ·   ·   ·review.· So I would have reviewed the final rule     25·   ·   ·   ·adjudicate, is made available to the borrower, and


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·1·   ·   ·   ·the borrower gets the last word in the record        ·1·   ·   ·   ·know, loan forgiveness.
·2·   ·   ·   ·before it is reviewed by the Office of General       ·2·   ·   ·   · · · Q· · ·How is that different from the 2016
·3·   ·   ·   ·Counsel.                                             ·3·   ·   ·   ·regulations?
·4·   ·   ·   · · · · · · So that is -- the policy directive is     ·4·   ·   ·   · · · A· · ·So there are time limits that a
·5·   ·   ·   ·that everybody gets due process rights, but the      ·5·   ·   ·   ·borrower has to meet, so the time limits are
·6·   ·   ·   ·borrower has the last word before the directive is   ·6·   ·   ·   ·different in the 2016 reg and the 2019 reg.
·7·   ·   ·   ·reviewed.                                            ·7·   ·   ·   · · · Q· · ·That's -- okay.
·8·   ·   ·   · · · Q· · ·When you say due process rights, do you   ·8·   ·   ·   · · · · · · Okay.· Now I'd like to go to page 98.
·9·   ·   ·   ·mean the school gets due process rights as well?     ·9·   ·   ·   ·So the footer, page 98.
10·   ·   ·   · · · A· · ·The school and the borrower.· The         10·   ·   ·   · · · A· · ·Okay.
11·   ·   ·   ·borrower gets to respond to whatever the school      11·   ·   ·   · · · Q· · ·And it's -- the paragraph at the bottom
12·   ·   ·   ·submits.                                             12·   ·   ·   ·of page 98 that begins with, Discussion, could you
13·   ·   ·   · · · Q· · ·Okay.· Is it your understanding --        13·   ·   ·   ·read that for the record, please?
14·   ·   ·   ·well, what is your understanding of the school's     14·   ·   ·   · · · A· · ·I'm sorry.· My arrows are having me go
15·   ·   ·   ·interest in the outcome of a borrower defense        15·   ·   ·   ·whole pages.
16·   ·   ·   ·application?                                         16·   ·   ·   · · · · · · Okay.· Discussion:· The department
17·   ·   ·   · · · A· · ·I mean, you're -- you're asking me what   17·   ·   ·   ·thanks the commenters for their support of the
18·   ·   ·   ·a school's interest is in --                         18·   ·   ·   ·regulations that require individuals to assert
19·   ·   ·   · · · Q· · ·Well, you said they're afforded due       19·   ·   ·   ·borrower defense claims.· To an extent, we
20·   ·   ·   ·process.· So I'm wondering as a policy matter in     20·   ·   ·   ·understand the commenters' concerns about, and
21·   ·   ·   ·developing this policy what the reasoning behind     21·   ·   ·   ·have already become aware of the evidence of,
22·   ·   ·   ·giving the school what you're calling due process    22·   ·   ·   ·outside actors attempting to personally gain from
23·   ·   ·   ·in this -- in this borrower defense application      23·   ·   ·   ·the bad acts of institutions as well as unfounded
24·   ·   ·   ·review is?                                           24·   ·   ·   ·allegations.
25·   ·   ·   · · · · · · Do they have -- if the borrower defense   25·   ·   ·   · · · · · · The evidence --

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·1·   ·   ·   ·application is granted, for example, does the        ·1·   ·   ·   · · · Q· · ·Okay.· You can stop right there.
·2·   ·   ·   ·school have to pay any money?                        ·2·   ·   ·   · · · · · · What is that sentence referring to?
·3·   ·   ·   · · · A· · ·It -- it depends.· It depends on which    ·3·   ·   ·   · · · A· · ·I need to read the rest of the page for
·4·   ·   ·   ·regulation the loan is being adjudicated under.      ·4·   ·   ·   ·context if you can just --
·5·   ·   ·   · · · Q· · ·So if you could explain that further.     ·5·   ·   ·   · · · Q· · ·Okay.· Sure.· Take a minute to review
·6·   ·   ·   · · · A· · ·Yeah.· So there are -- as I understand    ·6·   ·   ·   ·it.· That's fine.
·7·   ·   ·   ·it, again, I'm not an attorney, but as I             ·7·   ·   ·   · · · A· · ·(Witness reviews document.)
·8·   ·   ·   ·understand, there are certain statute of             ·8·   ·   ·   · · · · · · Okay.· So this was -- so this
·9·   ·   ·   ·limitations imposed by state law, and so it could    ·9·   ·   ·   ·discussion was in response to comments that came
10·   ·   ·   ·be that a borrower, you know, was -- made a claim    10·   ·   ·   ·from commenters, and what this is referring to is
11·   ·   ·   ·but it -- it was outside of the statute of           11·   ·   ·   ·the department has unfortunately identified and
12·   ·   ·   ·limitations in the state in which case, you know,    12·   ·   ·   ·has worked with other agencies.· There are
13·   ·   ·   ·the department would not be able to go to the        13·   ·   ·   ·legitimate groups working to help borrowers submit
14·   ·   ·   ·school to, you know, get reimbursed.                 14·   ·   ·   ·claims, and that's great.· There are also bad
15·   ·   ·   · · · · · · In the 2016 regulation, it was a          15·   ·   ·   ·actors that are out there calling borrowers and
16·   ·   ·   ·two-step process whereby first, the department       16·   ·   ·   ·saying, you know, for $300, we'll guarantee you
17·   ·   ·   ·adjudicated the claim; and then second, the          17·   ·   ·   ·borrower defense relief, and we don't charge a
18·   ·   ·   ·department made a decision about whether or not it   18·   ·   ·   ·borrower to submit an application.
19·   ·   ·   ·would try to recover damages or money, whatever      19·   ·   ·   · · · · · · So we -- you know, there -- there are
20·   ·   ·   ·you call it, from the school.                        20·   ·   ·   ·some of these organizations that are, you know,
21·   ·   ·   · · · · · · And in the 2019 regulation, the idea      21·   ·   ·   ·essentially charging borrowers a fee to file
22·   ·   ·   ·was to merge that process.                           22·   ·   ·   ·their -- you know, to file their claim, and
23·   ·   ·   · · · · · · So it is possible that the department     23·   ·   ·   ·they're benefiting financially from that process,
24·   ·   ·   ·could go back to the school to try to, you know,     24·   ·   ·   ·and that's what this is referring to.
25·   ·   ·   ·essentially bill them for loan -- loan -- you        25·   ·   ·   · · · Q· · ·Okay.· So the -- so the groups that are


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·1·   ·   ·   ·charging borrowers to file their borrower defense    ·1·   ·   ·   · · · · · · So I'm asking about this regulation.
·2·   ·   ·   ·applications, I'm trying to understand the           ·2·   ·   ·   · · · A· · ·So I think if you read the full reg,
·3·   ·   ·   ·connection between that and the -- the decision      ·3·   ·   ·   ·what you will find in the preamble and the other
·4·   ·   ·   ·here to disallow group claims entirely?              ·4·   ·   ·   ·parts of the regulation -- and I haven't read this
·5·   ·   ·   · · · A· · ·Well, this is a --                        ·5·   ·   ·   ·in a long time so I can't identify the page.· But
·6·   ·   ·   · · · · · · MR. MERRITT:· Objection.· What is the     ·6·   ·   ·   ·I think what we explained quite clearly in the
·7·   ·   ·   ·connection to the scope of the discovery in this     ·7·   ·   ·   ·preamble and other parts of the reg is that we
·8·   ·   ·   ·case?                                                ·8·   ·   ·   ·believe every borrower needs to be evaluated as an
·9·   ·   ·   · · · · · · MS. O'GRADY:· Well, I'd say the           ·9·   ·   ·   ·individual.· We believe every borrower deserves
10·   ·   ·   ·connection to the scope of the discovery is I'm      10·   ·   ·   ·the right to have their claim adjudicated.· We
11·   ·   ·   ·trying to understand the development -- we haven't   11·   ·   ·   ·also believe that only those borrowers who
12·   ·   ·   ·got there yet, but I'm on the road to further        12·   ·   ·   ·suffered financial harm are entitled to relief.
13·   ·   ·   ·understanding the development of the denials, and    13·   ·   ·   ·That's in the 2016 reg as well.
14·   ·   ·   ·also point 3, the extent to which the secretary      14·   ·   ·   · · · · · · So you have to do a person-by-person
15·   ·   ·   ·has denied applications of students who attended     15·   ·   ·   ·adjudication to make the determination that there
16·   ·   ·   ·schools subject to findings of misconduct.           16·   ·   ·   ·was misrepresentation; that they relied upon that
17·   ·   ·   · · · · · · So I'm trying to understand the basis     17·   ·   ·   ·misrepresentation; and that they suffered
18·   ·   ·   ·for decisions and the basis for changes in the       18·   ·   ·   ·financial harm.
19·   ·   ·   ·regulations.                                         19·   ·   ·   · · · Q· · ·Prior to this regulation, was there a
20·   ·   ·   · · · · · · MR. MERRITT:· Well, you're not asking     20·   ·   ·   ·group adjudication process?
21·   ·   ·   ·about basis for decisions.· It's about statements    21·   ·   ·   · · · A· · ·There was a permissible group
22·   ·   ·   ·in the 2019 regulation.                              22·   ·   ·   ·adjudication process in the 2016 reg.
23·   ·   ·   · · · · · · MS. O'GRADY:· That relate to the policy   23·   ·   ·   · · · Q· · ·And had that been used?
24·   ·   ·   ·of decisions.                                        24·   ·   ·   · · · A· · ·I -- I don't know.
25·   ·   ·   · · · · · · MR. MERRITT:· Okay.· You can answer the   25·   ·   ·   · · · Q· · ·Had -- have you ever looked or

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·1·   ·   ·   ·question.                                            ·1·   ·   ·   ·considered the relative efficiency of a group
·2·   ·   ·   · · · · · · THE WITNESS:· This policy relates to      ·2·   ·   ·   ·adjudication process and an individual
·3·   ·   ·   ·loans made after July 1st, 2020.· This policy in     ·3·   ·   ·   ·adjudication process?
·4·   ·   ·   ·no way applies to the current outstanding claims,    ·4·   ·   ·   · · · A· · ·Are you asking me which is quicker?
·5·   ·   ·   ·with the rare exception of potentially a borrower    ·5·   ·   ·   · · · Q· · ·I'm asking if you ever thought about
·6·   ·   ·   ·that has consolidated their loans since July 1,      ·6·   ·   ·   ·which was quicker or ever did any assessment of
·7·   ·   ·   ·2020.· So these regulations do not apply to          ·7·   ·   ·   ·which was quicker?
·8·   ·   ·   ·pending BD claims except for that small --           ·8·   ·   ·   · · · · · · MR. MERRITT:· Objection.· Going into
·9·   ·   ·   ·potential small group of consolidation loans or      ·9·   ·   ·   ·her mental impressions and thoughts on the
10·   ·   ·   ·new claims that have come in since July 1, 2020,     10·   ·   ·   ·development of policy.· Deliberative privileged
11·   ·   ·   ·on new loans.                                        11·   ·   ·   ·material.
12·   ·   ·   · · · BY MS. O'GRADY:                                 12·   ·   ·   · · · BY MS. O'GRADY:
13·   ·   ·   · · · Q· · ·I still -- I still want to understand     13·   ·   ·   · · · Q· · ·I can ask a different question to get
14·   ·   ·   ·the connection between determining that a group      14·   ·   ·   ·at the same issue.
15·   ·   ·   ·claim is frivolous and the fact that borrowers       15·   ·   ·   · · · · · · Whose decision would it have been to
16·   ·   ·   ·have been duped into paying for a borrower defense   16·   ·   ·   ·invoke a group adjudication process?
17·   ·   ·   ·application when they don't have to.                 17·   ·   ·   · · · A· · ·I don't know whose it would have been,
18·   ·   ·   · · · A· · ·I -- I don't -- but this regulation has   18·   ·   ·   ·but I do know it would not have been mine.
19·   ·   ·   ·nothing to do with pending claims -- currently       19·   ·   ·   · · · Q· · ·Okay.· Okay.· Let's go to the page that
20·   ·   ·   ·pending claims.                                      20·   ·   ·   ·is 103 at the footer.
21·   ·   ·   · · · Q· · ·But I'm asking you about the reasoning    21·   ·   ·   · · · A· · ·103?
22·   ·   ·   ·behind this regulation because I think it -- it --   22·   ·   ·   · · · Q· · ·Yes.
23·   ·   ·   ·it speaks to the -- it speaks to the priorities      23·   ·   ·   · · · A· · ·Okay.
24·   ·   ·   ·and the decision making of -- of the borrower        24·   ·   ·   · · · Q· · ·It's the third paragraph that starts
25·   ·   ·   ·defense policy.                                      25·   ·   ·   ·with, We acknowledge.· If you can read that out


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·1·   ·   ·   ·loud for the record?                                 ·1·   ·   ·   · · · A· · ·I don't know what you mean by "the
·2·   ·   ·   · · · A· · ·We acknowledge that there is a risk       ·2·   ·   ·   ·past."· Could you -- what's your time frame?
·3·   ·   ·   ·that unsubstantiated claims could be filed in        ·3·   ·   ·   · · · Q· · ·During your tenure at the Department of
·4·   ·   ·   ·large numbers to target institutions for the         ·4·   ·   ·   ·Ed.
·5·   ·   ·   ·purpose of damaging their reputations before the     ·5·   ·   ·   · · · · · · MR. MERRITT:· I'm going to object to
·6·   ·   ·   ·department can adjudicate the claims as              ·6·   ·   ·   ·this line of questioning as not within the court's
·7·   ·   ·   ·unsubstantiated.· Indeed, we are aware of firms      ·7·   ·   ·   ·order.
·8·   ·   ·   ·and advocacy groups that are engaging in such        ·8·   ·   ·   · · · · · · MS. O'GRADY:· I think it is within the
·9·   ·   ·   ·coordinated efforts against certain institutions.    ·9·   ·   ·   ·court's order based on the reason for the delay.
10·   ·   ·   · · · Q· · ·So what are you referring to or what is   10·   ·   ·   · · · · · · MR. MERRITT:· Again, at that level of
11·   ·   ·   ·this referring to here?                              11·   ·   ·   ·generality, that's not --
12·   ·   ·   · · · · · · MR. MERRITT:· Objection to the scope.     12·   ·   ·   · · · · · · MS. O'GRADY:· I'm not being very
13·   ·   ·   ·We're not here to litigate the 2019 regulation.      13·   ·   ·   ·general.· I'm pointing to a sentence in the 2019
14·   ·   ·   · · · · · · MS. O'GRADY:· No, but I think it goes     14·   ·   ·   ·regs that these regulations are made based on a
15·   ·   ·   ·to -- the 2019 regulations are based on -- based     15·   ·   ·   ·belief of a risk of unsubstantiated claims filed
16·   ·   ·   ·on policy views informed by what has happened and    16·   ·   ·   ·in large numbers.· If that is a belief of the
17·   ·   ·   ·what is understood to have happened prior.           17·   ·   ·   ·department as a whole, I think that's quite
18·   ·   ·   · · · · · · So this is a -- I'm asking the witness    18·   ·   ·   ·germane to whether or not the delay was caused by
19·   ·   ·   ·about what this means.· This is the basis for        19·   ·   ·   ·the difficulty of reviewing borrower defense
20·   ·   ·   ·developing new regulations.· So I'll ask my          20·   ·   ·   ·applications.
21·   ·   ·   ·question.· I think will be very much within the      21·   ·   ·   · · · · · · MR. MERRITT:· I don't see how that's
22·   ·   ·   ·scope.                                               22·   ·   ·   ·germane.· I mean, it's going to -- as Diane said,
23·   ·   ·   · · · BY MS. O'GRADY:                                 23·   ·   ·   ·the regulation was promulgated for a number of
24·   ·   ·   · · · Q· · ·What is the basis for the belief that     24·   ·   ·   ·reasons, and your -- and this was included in the
25·   ·   ·   ·there's a risk of unsubstantiated claims filed in    25·   ·   ·   ·regulation, but it's not -- it doesn't apply to

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·1·   ·   ·   ·large numbers?                                       ·1·   ·   ·   ·pending claims, as she said.
·2·   ·   ·   · · · A· · ·You know, I -- again, I want to -- I      ·2·   ·   ·   · · · · · · MS. O'GRADY:· I want to understand the
·3·   ·   ·   ·want to reiterate, you know, this reg is hundreds    ·3·   ·   ·   ·reason for department policy and whether or not a
·4·   ·   ·   ·of pages long, and there are lots of public          ·4·   ·   ·   ·belief in a risk of unsubstantiated claims that
·5·   ·   ·   ·comments.· And, so, the answer or the response to    ·5·   ·   ·   ·can be filed in large numbers is a basis for that
·6·   ·   ·   ·one single comment is not the basis for a            ·6·   ·   ·   ·policy as written in the regulation.· It's a --
·7·   ·   ·   ·regulatory decision.· It's hundreds of pages long    ·7·   ·   ·   · · · · · · MR. MERRITT:· Are you asking her if
·8·   ·   ·   ·because there are lots and --                        ·8·   ·   ·   ·it's a reason for the delay in this case or -- or
·9·   ·   ·   · · · Q· · ·Okay.                                     ·9·   ·   ·   ·whether it justified the 2019 regulation which is
10·   ·   ·   · · · A· · ·-- lots of comments and considerations.   10·   ·   ·   ·not at issue in this case?
11·   ·   ·   · · · · · · So I think you're trying to ask me        11·   ·   ·   · · · · · · MS. O'GRADY:· Well, I can -- I can ask
12·   ·   ·   ·to --                                                12·   ·   ·   ·the question about delay, but what I would like to
13·   ·   ·   · · · Q· · ·I can simplify the question.              13·   ·   ·   ·know is if the witness, who's in charge of policy,
14·   ·   ·   · · · · · · Do you believe that there is a risk of    14·   ·   ·   ·agrees with this statement about the risk of
15·   ·   ·   ·unsubstantiated claims that can be filed in large    15·   ·   ·   ·unsubstantiated claims.
16·   ·   ·   ·numbers?                                             16·   ·   ·   · · · · · · MR. MERRITT:· You can answer that
17·   ·   ·   · · · A· · ·There is always the risk that somebody    17·   ·   ·   ·question.
18·   ·   ·   ·would submit an application that would not qualify   18·   ·   ·   · · · · · · THE WITNESS:· Okay.· First of all, I'm
19·   ·   ·   ·for borrower defense relief.                         19·   ·   ·   ·not in charge of policy.· I have oversight
20·   ·   ·   · · · Q· · ·Okay.· One person or large numbers of     20·   ·   ·   ·responsibility over the policy-making process. I
21·   ·   ·   ·people?                                              21·   ·   ·   ·do not solely own it.· It --
22·   ·   ·   · · · A· · ·I think there could be large numbers of   22·   ·   ·   · · · BY MS. O'GRADY:
23·   ·   ·   ·people.                                              23·   ·   ·   · · · Q· · ·I didn't mean -- I didn't mean to
24·   ·   ·   · · · Q· · ·Do you think there have been large        24·   ·   ·   ·misstate your responsibilities there, but if you
25·   ·   ·   ·numbers in the past?                                 25·   ·   ·   ·could answer the question, do you -- do you agree


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·1·   ·   ·   ·with this statement that there is a risk that        ·1·   ·   ·   ·percentage of claims look like that.
·2·   ·   ·   ·unsubstantiated claims could be filled in large      ·2·   ·   ·   · · · BY MS. O'GRADY:
·3·   ·   ·   ·numbers to target institutions for the purpose of    ·3·   ·   ·   · · · Q· · ·In what context would you be informed
·4·   ·   ·   ·damaging their reputations?                          ·4·   ·   ·   ·of those claims?
·5·   ·   ·   · · · · · · MR. MERRITT:· Again, I'm going to         ·5·   ·   ·   · · · A· · ·There was a -- I -- I believe that
·6·   ·   ·   ·object --                                            ·6·   ·   ·   ·there was -- I don't recall whether it was a
·7·   ·   ·   · · · · · · THE WITNESS:· I do.                       ·7·   ·   ·   ·Congressional letter or a question for the record
·8·   ·   ·   · · · · · · MR. MERRITT:· -- and instruct not to      ·8·   ·   ·   ·following one of the secretary's hearings, but at
·9·   ·   ·   ·answer as to enforce a limitation imposed by the     ·9·   ·   ·   ·one point in time this question came up.· FSA
10·   ·   ·   ·court.                                               10·   ·   ·   ·answered it, and, you know, I saw that answer as
11·   ·   ·   · · · · · · MS. O'GRADY:· Okay.· Your witness just    11·   ·   ·   ·it came through.· But I cannot recall whether -- I
12·   ·   ·   ·did answer, "I do."· I don't know if that came on    12·   ·   ·   ·can't remember why that answer was prepared.
13·   ·   ·   ·the record.                                          13·   ·   ·   · · · Q· · ·Okay.· I want to go to the bottom of
14·   ·   ·   · · · BY MS. O'GRADY:                                 14·   ·   ·   ·page 226.· Okay.· And at the bottom of 226 --
15·   ·   ·   · · · Q· · ·On this topic of unsubstantiated          15·   ·   ·   · · · A· · ·I'm not quite at 226.
16·   ·   ·   ·claims, I'll ask specifically about the backlog.     16·   ·   ·   · · · Q· · ·Okay.
17·   ·   ·   ·So I think we've talked about the backlog of about   17·   ·   ·   · · · A· · ·I don't know what's going on with my
18·   ·   ·   ·160,000 claims, and that was in the Congressional    18·   ·   ·   ·scroll bar, but it's either too fast or too slow,
19·   ·   ·   ·hearing testimony we went over earlier today.        19·   ·   ·   ·so I'm not going there to . . .
20·   ·   ·   · · · · · · Of that backlog of 160,000 claims, is     20·   ·   ·   · · · · · · (Witness scrolls through document.)
21·   ·   ·   ·it your opinion that some number of those were       21·   ·   ·   · · · · · · Okay.· I'm on 226.
22·   ·   ·   ·unsubstantiated?                                     22·   ·   ·   · · · Q· · ·Okay.· And in the bottom in --
23·   ·   ·   · · · A· · ·I don't understand why my opinion -- I    23·   ·   ·   ·beginning second paragraph up from the bottom, In
24·   ·   ·   ·don't review the claims, so I don't have a --        24·   ·   ·   ·addition, provisions in the 2016 final regulations
25·   ·   ·   · · · Q· · ·I'm asking your opinion, not whether      25·   ·   ·   ·enabled the secretary to initiate defense

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·1·   ·   ·   ·you review the claims.· I understand that.           ·1·   ·   ·   ·repayment claims on behalf of entire classes of
·2·   ·   ·   · · · A· · ·Well, I can't formulate an opinion if I   ·2·   ·   ·   ·borrowers.
·3·   ·   ·   ·don't see the claims.                                ·3·   ·   ·   · · · · · · And that's the group discharge process
·4·   ·   ·   · · · Q· · ·Okay.· So you have no opinion about       ·4·   ·   ·   ·we were just talking about?
·5·   ·   ·   ·what percentage of that backlog may have been, as    ·5·   ·   ·   · · · A· · ·Uh-huh.
·6·   ·   ·   ·it says here, unsubstantiated?                       ·6·   ·   ·   · · · Q· · ·The next sentence here, Initiating the
·7·   ·   ·   · · · · · · That's the word used here.                ·7·   ·   ·   ·group discharge process is extremely burdensome on
·8·   ·   ·   · · · · · · MR. MERRITT:· Objection: speculative.     ·8·   ·   ·   ·the department and results in inefficiency and
·9·   ·   ·   · · · · · · You can answer her question.              ·9·   ·   ·   ·delays for individual borrowers.
10·   ·   ·   · · · · · · THE WITNESS:· What I know is that the     10·   ·   ·   · · · · · · Can you explain why a group discharge
11·   ·   ·   ·BD unit has provided us with examples of             11·   ·   ·   ·process is extremely burdensome as opposed to an
12·   ·   ·   ·ineligible claims, and based on that, I am aware     12·   ·   ·   ·individual discharge process?
13·   ·   ·   ·that some claims have come in saying they should     13·   ·   ·   · · · A· · ·I -- I have to think about this.
14·   ·   ·   ·get relief because their teacher didn't like them.   14·   ·   ·   ·This -- this is in the -- I think this is in the
15·   ·   ·   · · · · · · And, again, you know, I don't review      15·   ·   ·   ·portion of the reg that refers to the potential
16·   ·   ·   ·these claims, so I'm relying on what the BD unit     16·   ·   ·   ·cost.· I think it's in that section of the reg.
17·   ·   ·   ·tells me.· But, you know, I am told there are        17·   ·   ·   ·So I need to put this in the context.
18·   ·   ·   ·claims that came in that said my teacher doesn't     18·   ·   ·   · · · · · · So I believe what this is referring to
19·   ·   ·   ·like me or I didn't like my teacher or, you know,    19·   ·   ·   ·is that under the 2016 reg, the group discharge
20·   ·   ·   ·they closed the cafeteria.                           20·   ·   ·   ·process vaguely refers to a process that involves,
21·   ·   ·   · · · · · · So I am told that there are claims that   21·   ·   ·   ·you know, a special master of some sort, which is
22·   ·   ·   ·come in with those kind of complaints that don't     22·   ·   ·   ·not a position that the department currently has.
23·   ·   ·   ·meet the standard for a borrower defense claim,      23·   ·   ·   · · · · · · And when -- so -- so the 2016 reg talks
24·   ·   ·   ·but I am relying on what people are telling me. I    24·   ·   ·   ·about, you know, involving somebody like a special
25·   ·   ·   ·don't review those claims, and I don't know what     25·   ·   ·   ·master or Office of Hearing and Appeals, you know,


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·1·   ·   ·   ·some entity in the department to adjudicate these    ·1·   ·   ·   ·is to prevent misrepresentation from happening in
·2·   ·   ·   ·large claims.· And that -- that is burdensome.· We   ·2·   ·   ·   ·the first place because there is not just the
·3·   ·   ·   ·don't -- there isn't a special master.               ·3·   ·   ·   ·financial element, there's a time element.
·4·   ·   ·   · · · · · · So when it comes to the individual        ·4·   ·   ·   · · · · · · So when you read that whole section,
·5·   ·   ·   ·borrowers, the borrower defense unit attorneys can   ·5·   ·   ·   ·what we're referring to is our interest in
·6·   ·   ·   ·do that adjudication.· But I believe -- I'd have     ·6·   ·   ·   ·preventing misrepresentation from the beginning.
·7·   ·   ·   ·to go back and look at the 2016 rule, but I          ·7·   ·   ·   ·And as you read this reg, you will see that we
·8·   ·   ·   ·believe what this refers to is the process that      ·8·   ·   ·   ·have expanded consumer information through our
·9·   ·   ·   ·had been -- I don't know if it was described in      ·9·   ·   ·   ·college scorecard so that we are providing data to
10·   ·   ·   ·the reg or just described, but there was this        10·   ·   ·   ·borrowers that reduces the potential for a school
11·   ·   ·   ·process about engaging a special master in -- in     11·   ·   ·   ·to commit misrepresentation.
12·   ·   ·   ·these group claims.                                  12·   ·   ·   · · · · · · So when you read this whole section,
13·   ·   ·   · · · Q· · ·Okay.· So your understanding of the       13·   ·   ·   ·what you will see is that what we're talking about
14·   ·   ·   ·change in 2019 is to remove the option of a group    14·   ·   ·   ·is that an expanding college scorecard is the
15·   ·   ·   ·claim because then you won't need to appoint a       15·   ·   ·   ·better approach.· We want to prevent
16·   ·   ·   ·special master?                                      16·   ·   ·   ·misrepresentation from ever happening.
17·   ·   ·   · · · A· · ·No, I think you're mischaracterizing my   17·   ·   ·   · · · Q· · ·The borrower defense regulations are
18·   ·   ·   ·statement.                                           18·   ·   ·   ·concerned with students who are alleging
19·   ·   ·   · · · Q· · ·Okay.· And I don't mean to be doing       19·   ·   ·   ·misrepresentation has occurred previously; right?
20·   ·   ·   ·that.                                                20·   ·   ·   · · · A· · ·This is a prospective regulation that
21·   ·   ·   · · · A· · ·Right.                                    21·   ·   ·   ·would be implemented after we had the expanded
22·   ·   ·   · · · · · · So you're asking me in particular what    22·   ·   ·   ·college scorecard.
23·   ·   ·   ·this sentence refers to.· What this sentence is      23·   ·   ·   · · · · · · So we're talking about future, and we
24·   ·   ·   ·referring to is one of the reasons that we did not   24·   ·   ·   ·believe that because the college scorecard put
25·   ·   ·   ·include a group discharge in the 2019 regulations.   25·   ·   ·   ·these data out in the public before July 1, 2020,

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·1·   ·   ·   ·One of the reasons is that it is a burdensome        ·1·   ·   ·   ·for future borrowers covered by this reg, we
·2·   ·   ·   ·process.· That's one of several reasons.· And,       ·2·   ·   ·   ·believed that stopping misrepresentation by the
·3·   ·   ·   ·yes, that is one of the reasons we describe in       ·3·   ·   ·   ·government publishing consistent data on all
·4·   ·   ·   ·this document.                                       ·4·   ·   ·   ·programs was the best way forward, and that's what
·5·   ·   ·   · · · Q· · ·Okay.                                     ·5·   ·   ·   ·this describes.
·6·   ·   ·   · · · A· · ·And to my knowledge, the 1995 reg also    ·6·   ·   ·   · · · Q· · ·So in this sentence, We agree that a
·7·   ·   ·   ·did not have a group discharge process.· I'd have    ·7·   ·   ·   ·borrower defense to repayment regulation that is
·8·   ·   ·   ·to go back and review, but I don't believe that      ·8·   ·   ·   ·poorly constructed, is that referring to previous
·9·   ·   ·   ·was part of the '95 reg either.                      ·9·   ·   ·   ·regulations?
10·   ·   ·   · · · Q· · ·Okay.· And then if we can go to           10·   ·   ·   · · · A· · ·No, I think it says a borrower defense.
11·   ·   ·   ·page 90.                                             11·   ·   ·   ·We're talking about this regulation.· If we didn't
12·   ·   ·   · · · A· · ·Okay.                                     12·   ·   ·   ·accurately and properly construct this regulation.
13·   ·   ·   · · · Q· · ·And at the bottom of page 90, that        13·   ·   ·   · · · Q· · ·And the result of not properly
14·   ·   ·   ·final paragraph, could you read the first sentence   14·   ·   ·   ·constructing this regulation is a moral hazard
15·   ·   ·   ·for the record starting with, We agree?              15·   ·   ·   ·that gives students an opportunity to complete
16·   ·   ·   · · · A· · ·We agree that a borrower defense to       16·   ·   ·   ·their education and raise alleged
17·   ·   ·   ·repayment regulation that is poorly constructed      17·   ·   ·   ·misrepresentations to avoid paying for that
18·   ·   ·   ·under the statute may create a moral hazard by       18·   ·   ·   ·education.
19·   ·   ·   ·giving students an opportunity to complete their     19·   ·   ·   · · · · · · That's a risk that's created by a
20·   ·   ·   ·education and raise alleged misrepresentations to    20·   ·   ·   ·poorly constructed regulation?
21·   ·   ·   ·avoid paying for that education.                     21·   ·   ·   · · · A· · ·It is a potential risk.· That's what it
22·   ·   ·   · · · Q· · ·And what does that sentence refer to?     22·   ·   ·   ·says, that is a potential risk of a poorly
23·   ·   ·   · · · A· · ·I think you have to read three            23·   ·   ·   ·constructed regulation.
24·   ·   ·   ·paragraphs ahead of that where what we explain is    24·   ·   ·   · · · Q· · ·And that's a risk that the 2019
25·   ·   ·   ·that the appropriate way to best serve borrowers     25·   ·   ·   ·regulations, in your view, are constructed to


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·1·   ·   ·   ·mitigate?                                            ·1·   ·   ·   ·pages of this document were put in other
·2·   ·   ·   · · · · · · MR. MERRITT:· Objection: scope and also   ·2·   ·   ·   ·PowerPoints, so, you know, I've seen information
·3·   ·   ·   ·privileged information, getting to her views of      ·3·   ·   ·   ·that's in this PowerPoint.· I just -- I don't
·4·   ·   ·   ·the regulation before the -- before it was           ·4·   ·   ·   ·recall whether I've seen this specific PowerPoint.
·5·   ·   ·   ·published.                                           ·5·   ·   ·   · · · Q· · ·The memoranda you were talking about
·6·   ·   ·   · · · BY MS. O'GRADY:                                 ·6·   ·   ·   ·earlier that reported metrics to the secretary, is
·7·   ·   ·   · · · Q· · ·This sentence refers to a poorly          ·7·   ·   ·   ·this the format that information was presented in
·8·   ·   ·   ·constructed regulation.· Is that regulation the      ·8·   ·   ·   ·or is this something different?
·9·   ·   ·   ·2016 regulation?                                     ·9·   ·   ·   · · · A· · ·So this appears to me to be a periodic
10·   ·   ·   · · · · · · MR. MERRITT:· Objection: asked and        10·   ·   ·   ·update that talks -- so this is not what I was
11·   ·   ·   ·answered.                                            11·   ·   ·   ·referring to.· What I was referring to is a tally,
12·   ·   ·   · · · · · · MS. O'GRADY:· I don't know if it was      12·   ·   ·   ·you know, just -- just numbers, not -- not pages
13·   ·   ·   ·answered.· I'm wondering if the witness would mind   13·   ·   ·   ·of PowerPoints, but just, you know, numbers.
14·   ·   ·   ·answering it again.                                  14·   ·   ·   · · · Q· · ·Do you know who drafted this?
15·   ·   ·   · · · · · · THE WITNESS:· It was a regulation, a      15·   ·   ·   · · · A· · ·No, I don't know who drafts documents
16·   ·   ·   ·poorly constructed -- a conceivable poorly           16·   ·   ·   ·at FSA, but it appears to be an FSA document.
17·   ·   ·   ·constructed regulation.                              17·   ·   ·   · · · Q· · ·And in what context would you have seen
18·   ·   ·   · · · BY MS. O'GRADY:                                 18·   ·   ·   ·this information?· Would it have been in a meeting
19·   ·   ·   · · · Q· · ·I'm really not trying to play games       19·   ·   ·   ·or by email?
20·   ·   ·   ·here.· I want to understand if one of the reasons    20·   ·   ·   · · · A· · ·It may have been emailed to me, but I
21·   ·   ·   ·this 2019 regulation was written, as I'm reading     21·   ·   ·   ·would have seen it in the context of a meeting.
22·   ·   ·   ·from it directly, is that the previous regulation    22·   ·   ·   · · · Q· · ·If we can go to the -- this is the
23·   ·   ·   ·was considered poorly constructed creating a moral   23·   ·   ·   ·second page of the PDF, and it helpfully has a two
24·   ·   ·   ·hazard.                                              24·   ·   ·   ·at the bottom left of the footer.
25·   ·   ·   · · · · · · That's what the regulation says to        25·   ·   ·   · · · A· · ·Oh, okay.· I see that.

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·1·   ·   ·   ·me --                                                ·1·   ·   ·   · · · Q· · ·Okay.· So this is one of the ones that
·2·   ·   ·   · · · · · · MR. MERRITT:· Objection.                  ·2·   ·   ·   ·is going to match the number on the document and
·3·   ·   ·   · · · BY MS. O'GRADY:                                 ·3·   ·   ·   ·the number in the PDF, which is always helpful.
·4·   ·   ·   · · · Q· · ·-- and I want to clarify if I'm reading   ·4·   ·   ·   · · · A· · ·Uh-huh.
·5·   ·   ·   ·the sentence correctly.                              ·5·   ·   ·   · · · Q· · ·So on this heading, Of the nearly
·6·   ·   ·   · · · · · · MR. MERRITT:· Objection.· That is not     ·6·   ·   ·   ·280,000 borrower defense applications received
·7·   ·   ·   ·within the scope of what the court authorized as     ·7·   ·   ·   ·since 2015, that first bullet point, 57,000 have
·8·   ·   ·   ·discovery.                                           ·8·   ·   ·   ·been adjudicated, processed and closed.
·9·   ·   ·   · · · · · · MS. O'GRADY:· All right.· We're going     ·9·   ·   ·   · · · · · · I want to understand if that 57,000 --
10·   ·   ·   ·to go to the next exhibit which is in the folder     10·   ·   ·   ·excuse me.· Really what I want to ask about is the
11·   ·   ·   ·as A09, Borrower Defense Repayment, so it should     11·   ·   ·   ·second bullet point, 38,700 have been adjudicated
12·   ·   ·   ·be one of the first files in the folder.             12·   ·   ·   ·but have not yet been processed, and these were
13·   ·   ·   · · · BY MS. O'GRADY:                                 13·   ·   ·   ·the words we were talking about earlier, the
14·   ·   ·   · · · Q· · ·When you have that open, just let me      14·   ·   ·   ·difference between adjudication and processing.
15·   ·   ·   ·know?                                                15·   ·   ·   · · · · · · So what does that mean?
16·   ·   ·   · · · A· · ·I have that open.                         16·   ·   ·   · · · A· · ·I don't know in particular for those
17·   ·   ·   · · · Q· · ·Okay.· Do you recognize this              17·   ·   ·   ·38,000 claims exactly what's the process they were
18·   ·   ·   ·PowerPoint?                                          18·   ·   ·   ·in, so I can't speak to any particular claim in
19·   ·   ·   · · · A· · ·I don't -- I don't know if I recognize    19·   ·   ·   ·that group.
20·   ·   ·   ·this PowerPoint, per se, but the information         20·   ·   ·   · · · · · · But, in general, what it means is that
21·   ·   ·   ·contained in this PowerPoint is information that     21·   ·   ·   ·the legal team in the borrower defense unit have
22·   ·   ·   ·I've seen in one format or another.                  22·   ·   ·   ·reviewed the evidence and have made a
23·   ·   ·   · · · Q· · ·Okay.· And what are some of the other     23·   ·   ·   ·determination -- let's just use the terminology on
24·   ·   ·   ·formats you might have seen it in?                   24·   ·   ·   ·the merit of the claim.· That may not be the right
25·   ·   ·   · · · A· · ·Well, I mean, it could have been that     25·   ·   ·   ·legal terminology, but I think you got what I


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·1·   ·   ·   ·mean.· They looked at the evidence to decide         ·1·   ·   ·   ·this was an August PowerPoint.
·2·   ·   ·   ·whether it's substantiated.                          ·2·   ·   ·   · · · Q· · ·Yes.
·3·   ·   ·   · · · · · · I believe that when it has been           ·3·   ·   ·   · · · A· · ·So -- so the situation becomes further
·4·   ·   ·   ·adjudicated but not processed, that means the        ·4·   ·   ·   ·complicated during this time period because now
·5·   ·   ·   ·borrower hasn't yet been notified.                   ·5·   ·   ·   ·we -- we no longer have an agreement with the
·6·   ·   ·   · · · Q· · ·Okay.                                     ·6·   ·   ·   ·Social Security Administration, and so we don't
·7·   ·   ·   · · · A· · ·Right.· So then -- yeah.                  ·7·   ·   ·   ·even have access to social security data.
·8·   ·   ·   · · · Q· · ·And then the 27,700 in the next bullet    ·8·   ·   ·   · · · · · · So -- so -- so we have, you know, the
·9·   ·   ·   ·point, those are approved applications that will     ·9·   ·   ·   ·pending methodology for CCI claims, but now we're
10·   ·   ·   ·be finalized when appropriate relief is              10·   ·   ·   ·in a situation where the original method we had is
11·   ·   ·   ·determined.                                          11·   ·   ·   ·enjoined.· And further, if the California court
12·   ·   ·   · · · · · · So that means they've gotten their        12·   ·   ·   ·decides we can use that methodology for non-CCI
13·   ·   ·   ·step-one determination and are awaiting their step   13·   ·   ·   ·schools, we don't have access to even getting
14·   ·   ·   ·two; is that correct?                                14·   ·   ·   ·those data from the Social Security Administration
15·   ·   ·   · · · A· · ·I believe that's what it means.           15·   ·   ·   ·anymore.
16·   ·   ·   · · · Q· · ·And then it says, Nearly 11,000           16·   ·   ·   · · · · · · So if this is -- if the August time
17·   ·   ·   ·applications have been adjudicated as denied but     17·   ·   ·   ·frame is right in my mind, this has become further
18·   ·   ·   ·have not yet been processed.                         18·   ·   ·   ·complicated because now, no matter what the judge
19·   ·   ·   · · · · · · So those are step-one denials not sent    19·   ·   ·   ·says we don't have an agreement with social
20·   ·   ·   ·to borrowers?                                        20·   ·   ·   ·security.
21·   ·   ·   · · · A· · ·I'm not sure.                             21·   ·   ·   · · · · · · So, in other words, we don't have the
22·   ·   ·   · · · Q· · ·Of the approved applications awaiting     22·   ·   ·   ·ability to apply that methodology even if
23·   ·   ·   ·their step-two determination, the 27,700, do you     23·   ·   ·   ·approved.
24·   ·   ·   ·know what categories of borrowers those are, from    24·   ·   ·   · · · Q· · ·Okay.· And -- and at the same time, no
25·   ·   ·   ·what schools they came from?                         25·   ·   ·   ·methodology -- no alternative methodology was

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·1·   ·   ·   · · · A· · ·I don't.                                  ·1·   ·   ·   ·being developed?
·2·   ·   ·   · · · Q· · ·And who has to sign off on the grants,    ·2·   ·   ·   · · · A· · ·Well, that -- so that's what's
·3·   ·   ·   ·the approved applications?                           ·3·   ·   ·   ·confusing about this because of the August time --
·4·   ·   ·   · · · A· · ·Colleen Nevin.· Or let me be clear, she   ·4·   ·   ·   · · · Q· · ·It was August 31st, I believe.
·5·   ·   ·   ·may have delegated others on her team, so it would   ·5·   ·   ·   · · · A· · ·Of what year?
·6·   ·   ·   ·be Colleen Nevin or her designee.· I don't know if   ·6·   ·   ·   · · · Q· · ·2019.
·7·   ·   ·   ·she's authorized others to sign off.· I'm unclear    ·7·   ·   ·   · · · A· · ·Okay.· So by then, we were in the
·8·   ·   ·   ·about that.                                          ·8·   ·   ·   ·process of developing a methodology but it had not
·9·   ·   ·   · · · Q· · ·Okay.· And then on PowerPoint -- so on    ·9·   ·   ·   ·yet been reviewed and approved, yes.· We were in
10·   ·   ·   ·the footer and on the PDF 6, page 6.                 10·   ·   ·   ·the hard work of -- of developing a methodology.
11·   ·   ·   · · · A· · ·Okay.                                     11·   ·   ·   · · · Q· · ·Okay.· So this bullet point, No relief
12·   ·   ·   · · · Q· · ·So this -- the heading is, Why are BD     12·   ·   ·   ·methodology developed for non-CCI claims, then
13·   ·   ·   ·applications on hold, and it says -- the second      13·   ·   ·   ·what does that mean?
14·   ·   ·   ·bullet point under approvals says, No relief         14·   ·   ·   · · · A· · ·I believe what it means is that we are
15·   ·   ·   ·methodology developed for non-CCI claims.            15·   ·   ·   ·still waiting for Corinthian borrowers for the
16·   ·   ·   · · · A· · ·Yes.                                      16·   ·   ·   ·California court to make a decision, and beyond
17·   ·   ·   · · · Q· · ·And that's what we've addressed before.   17·   ·   ·   ·that we now don't have access to social security
18·   ·   ·   ·That refers to there being no non-CCI methodology    18·   ·   ·   ·data for claims beyond those Corinthian claims.
19·   ·   ·   ·while the injunction was enforced; is that           19·   ·   ·   · · · Q· · ·Under the next heading, Denials, it
20·   ·   ·   ·correct?                                             20·   ·   ·   ·says, Policy decision (spring 2018) to not issue
21·   ·   ·   · · · · · · I can ask more open ended if you want     21·   ·   ·   ·denials until approvals also could be issued.
22·   ·   ·   ·to just explain that bullet point.                   22·   ·   ·   · · · · · · What is that referring to?
23·   ·   ·   · · · A· · ·I think it means a couple of things.      23·   ·   ·   · · · A· · ·So there had been a decision that was
24·   ·   ·   ·It means that we had a methodology for CCI claims,   24·   ·   ·   ·made that if -- if the department issued denials
25·   ·   ·   ·and that has been enjoined.· I believe -- I think    25·   ·   ·   ·without at the same time issuing approvals,


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·1·   ·   ·   ·borrowers could be misinformed and believe that we   ·1·   ·   ·   ·to decide between no decisions or just denials?
·2·   ·   ·   ·would not be approving any claims, and there was a   ·2·   ·   ·   · · · · · · MR. MERRITT:· Objection: calling for
·3·   ·   ·   ·concern that that would have a chilling effect on    ·3·   ·   ·   ·privileged information about the deliberations
·4·   ·   ·   ·borrowers.                                           ·4·   ·   ·   ·leading to the decision to not do denials.
·5·   ·   ·   · · · · · · So a decision had been made in -- in --   ·5·   ·   ·   · · · BY MS. O'GRADY:
·6·   ·   ·   ·that we would not issue denials if we were not       ·6·   ·   ·   · · · Q· · ·I can move on.· You don't have to
·7·   ·   ·   ·also issuing approvals.                              ·7·   ·   ·   ·answer that.
·8·   ·   ·   · · · Q· · ·Who made that decision?                   ·8·   ·   ·   · · · · · · Okay.· Next bullet point is, No
·9·   ·   ·   · · · A· · ·I do not know.· I was in meetings about   ·9·   ·   ·   ·processing systems available from summer 2018 to
10·   ·   ·   ·that, but I don't -- I can't tell you who actually   10·   ·   ·   ·present due to platform development and migration.
11·   ·   ·   ·made that decision.                                  11·   ·   ·   · · · · · · Now, what is that referring to?
12·   ·   ·   · · · Q· · ·You don't remember?                       12·   ·   ·   · · · A· · ·I believe that was referring to the
13·   ·   ·   · · · A· · ·I don't even know if I was in a meeting   13·   ·   ·   ·development of a system to replace Excel
14·   ·   ·   ·where the final decision was made.· That             14·   ·   ·   ·spreadsheets as the BD unit's mechanism for
15·   ·   ·   ·decision -- you know, I -- I think the original      15·   ·   ·   ·managing claims.
16·   ·   ·   ·decision was made before I was in my role. I         16·   ·   ·   · · · Q· · ·So when the processing systems were
17·   ·   ·   ·think it was revisited from time to time, but I      17·   ·   ·   ·unavailable, were claims still being adjudicated?
18·   ·   ·   ·don't believe I was involved in the -- in the        18·   ·   ·   · · · A· · ·I don't know.
19·   ·   ·   ·making of that initial decision.                     19·   ·   ·   · · · Q· · ·Would Colleen Nevin know?
20·   ·   ·   · · · Q· · ·Uh-huh.                                   20·   ·   ·   · · · A· · ·Yes, I believe she would be the one to
21·   ·   ·   · · · A· · ·I don't recall.                           21·   ·   ·   ·know.
22·   ·   ·   · · · Q· · ·And your understanding, you said, was     22·   ·   ·   · · · Q· · ·Okay.· Then issuance of decide --
23·   ·   ·   ·that you didn't want to have a chilling effect on    23·   ·   ·   ·denial note -- excuse me.
24·   ·   ·   ·borrowers.· What do you mean by that?                24·   ·   ·   · · · · · · Issuance of denial decision scheduled
25·   ·   ·   · · · A· · ·I think the concern was that if the       25·   ·   ·   ·to resume by mid September.· What is that

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·1·   ·   ·   ·only decisions being issued were denials, that       ·1·   ·   ·   ·referring to?
·2·   ·   ·   ·that could be misreported by the media to make       ·2·   ·   ·   · · · A· · ·I didn't write this slide, and so I'm
·3·   ·   ·   ·borrowers believe that we were not going to          ·3·   ·   ·   ·not quite sure what -- what this refers to.
·4·   ·   ·   ·approve valid claims and the chilling effect would   ·4·   ·   ·   · · · Q· · ·So at this point in your role, were you
·5·   ·   ·   ·be that, you know, if somebody has a valid claim,    ·5·   ·   ·   ·not keeping tabs on the pace of decisions being
·6·   ·   ·   ·they could have been discouraged from filing them.   ·6·   ·   ·   ·made?
·7·   ·   ·   · · · · · · We did not want -- I mean, you know, at   ·7·   ·   ·   · · · A· · ·In -- in the August time frame, we were
·8·   ·   ·   ·no point in time did anybody want somebody with a    ·8·   ·   ·   ·still waiting for the California court to rule on
·9·   ·   ·   ·valid claim to not submit it.                        ·9·   ·   ·   ·the methodology, and so at this point in time, we
10·   ·   ·   · · · Q· · ·And whether or not a claim is valid is    10·   ·   ·   ·were still hopeful that there would be a
11·   ·   ·   ·a step-one determination after they apply;           11·   ·   ·   ·determination, at least for the Corinthian
12·   ·   ·   ·correct?                                             12·   ·   ·   ·borrowers, about a methodology.· So at -- at this
13·   ·   ·   · · · A· · ·That's correct.                           13·   ·   ·   ·point in time, we're still waiting for the court.
14·   ·   ·   · · · Q· · ·So -- so it was determined as a matter    14·   ·   ·   · · · · · · Now, by August, we, the working group,
15·   ·   ·   ·of policy that it was better to issue no decisions   15·   ·   ·   ·had come up with some potential methods to use for
16·   ·   ·   ·rather than deny -- rather than send out denials     16·   ·   ·   ·adjudicating future claims, but it had not yet
17·   ·   ·   ·of any claims?                                       17·   ·   ·   ·been approved.
18·   ·   ·   · · · A· · ·I -- I believe that's the decision that   18·   ·   ·   · · · · · · So I think --
19·   ·   ·   ·was made in spring of 2018.                          19·   ·   ·   · · · Q· · ·Okay.
20·   ·   ·   · · · Q· · ·Was there ever a discussion about         20·   ·   ·   · · · A· · ·You know, this may -- whoops, I'm
21·   ·   ·   ·sending out approvals so that -- I mean, it seems    21·   ·   ·   ·sorry.· This is the time period where we had
22·   ·   ·   ·to me the choice was to either not issue denials,    22·   ·   ·   ·developed some options.· They weren't yet applied.
23·   ·   ·   ·as it says here, until approvals could be issued.    23·   ·   ·   ·And in the meantime, there was still the hope that
24·   ·   ·   · · · · · · Was there a discussion about increasing   24·   ·   ·   ·the California court would rule at least for the
25·   ·   ·   ·the pacing of approvals so that you wouldn't have    25·   ·   ·   ·Corinthian borrowers.


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·1·   ·   ·   · · · Q· · ·Regarding the policy decision in spring   ·1·   ·   ·   · · · A· · ·That's what I'm trying to tell you.
·2·   ·   ·   ·2018 not to issue denials until approvals could      ·2·   ·   ·   ·Because there's litigation involved.· Even if
·3·   ·   ·   ·also be issued, I understand that you didn't         ·3·   ·   ·   ·litigation didn't involve denials, there's now
·4·   ·   ·   ·initially make that decision because it was before   ·4·   ·   ·   ·litigation around borrower defense.· So I'm not --
·5·   ·   ·   ·your time?                                           ·5·   ·   ·   ·I'm not a lawyer and I --
·6·   ·   ·   · · · A· · ·Right.                                    ·6·   ·   ·   · · · Q· · ·What litigation?· Are you talking about
·7·   ·   ·   · · · Q· · ·Could you have reversed it?               ·7·   ·   ·   ·something different than Calvillo, the Calvillo
·8·   ·   ·   · · · A· · ·No.                                       ·8·   ·   ·   ·Manriquez case?
·9·   ·   ·   · · · Q· · ·Why not?                                  ·9·   ·   ·   · · · A· · ·No.· At this point, Manriquez was the
10·   ·   ·   · · · A· · ·Because now there's litigation            10·   ·   ·   ·litigation we were waiting.· Yeah, I mean, that --
11·   ·   ·   ·involved.                                            11·   ·   ·   · · · Q· · ·So Calvillo Manriquez, though, was
12·   ·   ·   · · · Q· · ·Say there wasn't litigation involved.     12·   ·   ·   ·about applying a certain partial relief
13·   ·   ·   · · · A· · ·Yeah, you're asking me to speculate on    13·   ·   ·   ·methodology that violated the Privacy Act.
14·   ·   ·   ·the circumstance.                                    14·   ·   ·   · · · · · · These denials are totally separate.
15·   ·   ·   · · · Q· · ·Well, I guess -- so the decision not to   15·   ·   ·   ·These are not -- they have nothing to do with that
16·   ·   ·   ·issue any denials until approvals could also be      16·   ·   ·   ·partial relief methodology.
17·   ·   ·   ·issued, that's actually not related to litigation;   17·   ·   ·   · · · A· · ·What I'm saying is I'm not an attorney.
18·   ·   ·   ·right?                                               18·   ·   ·   ·I'm not involved in that case.· I don't know what
19·   ·   ·   · · · · · · That was a decision you said made         19·   ·   ·   ·the court said.· I don't know --
20·   ·   ·   ·because you didn't want to give borrowers the        20·   ·   ·   · · · Q· · ·So it would -- so you thought the
21·   ·   ·   ·wrong idea; right?                                   21·   ·   ·   ·Calvillo Manriquez injunction meant that no
22·   ·   ·   · · · A· · ·Correct.· Initially, but I think the      22·   ·   ·   ·decisions could be issued at all, denial or
23·   ·   ·   ·department position was they didn't want to give     23·   ·   ·   ·grants?
24·   ·   ·   ·borrowers the wrong idea.                            24·   ·   ·   · · · A· · ·No, I'm saying that once litigation was
25·   ·   ·   · · · Q· · ·So that decision?· Could you reverse      25·   ·   ·   ·involved, those decisions were out of my hands.

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·1·   ·   ·   ·that decision?                                       ·1·   ·   ·   · · · Q· · ·In whose hands were they put?
·2·   ·   ·   · · · A· · ·So, I mean, you're asking me to tell      ·2·   ·   ·   · · · A· · ·It would have been a group decision.
·3·   ·   ·   ·you what I think might have happened had the world   ·3·   ·   ·   · · · Q· · ·By who?
·4·   ·   ·   ·been different and we had --                         ·4·   ·   ·   · · · A· · ·It would have involved input from, you
·5·   ·   ·   · · · Q· · ·No, no, no.· In the exact world the way   ·5·   ·   ·   ·know, our attorneys.· It would have involved input
·6·   ·   ·   ·it is, if you had wanted to, could you have said,    ·6·   ·   ·   ·from Office of the Secretary.· You know, FSA and I
·7·   ·   ·   ·everybody, we're going to send out those denials     ·7·   ·   ·   ·would have had, you know, a seat at the table.
·8·   ·   ·   ·even though we're not sending out any grants?        ·8·   ·   ·   · · · · · · But I --
·9·   ·   ·   · · · A· · ·No.                                       ·9·   ·   ·   · · · Q· · ·I really want to understand --
10·   ·   ·   · · · Q· · ·Why not?                                  10·   ·   ·   · · · · · · MR. MERRITT:· Maggie, would you mind if
11·   ·   ·   · · · A· · ·Because now that there is litigation      11·   ·   ·   ·we took a short break right now?
12·   ·   ·   ·involved --                                          12·   ·   ·   · · · · · · MS. O'GRADY:· Can I just finish --
13·   ·   ·   · · · Q· · ·But the denials, there's no litigation.   13·   ·   ·   · · · · · · MS. BERMAN:· Yeah.· You can do a
14·   ·   ·   ·They've been denied.· There's no partial relief at   14·   ·   ·   ·question or two more.· I was just thinking we've
15·   ·   ·   ·issue.· They're waiting there.· They've been         15·   ·   ·   ·been going for --
16·   ·   ·   ·denied.· They're ready to go out.                    16·   ·   ·   · · · · · · MS. O'GRADY:· Sure.· I'm almost done
17·   ·   ·   · · · · · · There's a policy decision not to send     17·   ·   ·   ·with this --
18·   ·   ·   ·them out because we don't want to spook borrowers    18·   ·   ·   · · · · · · MS. BERMAN:· We've been going for more
19·   ·   ·   ·and have them think everything is being denied, I    19·   ·   ·   ·than an hour and a half now.
20·   ·   ·   ·have that right; right?                              20·   ·   ·   · · · · · · MS. O'GRADY:· Can I just finish this
21·   ·   ·   · · · A· · ·Yes.                                      21·   ·   ·   ·exhibit?
22·   ·   ·   · · · Q· · ·So could you have said, we're not doing   22·   ·   ·   · · · · · · MR. MERRITT:· Yeah.· Is it a lot more
23·   ·   ·   ·that; we're going to send out these details?         23·   ·   ·   ·questions?
24·   ·   ·   · · · A· · ·No, I could not have done that.           24·   ·   ·   · · · · · · MS. O'GRADY:· No.· I really want to pin
25·   ·   ·   · · · Q· · ·Why?                                      25·   ·   ·   ·this down and I think there's just a couple of


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·1·   ·   ·   ·more questions, yeah.                                ·1·   ·   ·   ·there's denials ready to go out, why couldn't they
·2·   ·   ·   · · · · · · MR. MERRITT:· Okay.                       ·2·   ·   ·   ·have gone out?
·3·   ·   ·   · · · BY MS. O'GRADY:                                 ·3·   ·   ·   · · · · · · MR. MERRITT:· Objection: asked and
·4·   ·   ·   · · · Q· · ·So I just -- it sounds to me, and         ·4·   ·   ·   ·answered.
·5·   ·   ·   ·correct me if I'm wrong -- I really want to          ·5·   ·   ·   · · · · · · MS. O'GRADY:· It has indeed been asked.
·6·   ·   ·   ·understand -- that your position, your               ·6·   ·   ·   · · · · · · MR. MERRITT:· And it's been answered.
·7·   ·   ·   ·understanding of the state of things at this point   ·7·   ·   ·   · · · BY MS. O'GRADY:
·8·   ·   ·   ·was that the injunction in Calvillo Manriquez        ·8·   ·   ·   · · · Q· · ·Okay.· I'll ask again.· So you said you
·9·   ·   ·   ·prevented FSA from issuing any borrower defense      ·9·   ·   ·   ·could not have reversed that decision because of
10·   ·   ·   ·decisions?                                           10·   ·   ·   ·the litigation?
11·   ·   ·   · · · · · · MR. MERRITT:· Objection.· It's a          11·   ·   ·   · · · A· · ·That's not exactly what I said.
12·   ·   ·   ·mischaracterization of her testimony.                12·   ·   ·   · · · Q· · ·Okay.· And I -- I apologize.· I know
13·   ·   ·   · · · BY MS. O'GRADY:                                 13·   ·   ·   ·this is getting redundant and back and forth and I
14·   ·   ·   · · · Q· · ·Okay.· Please -- please correct me if I   14·   ·   ·   ·really just want to make it clear.· I don't mean
15·   ·   ·   ·misstated that.                                      15·   ·   ·   ·to -- to be -- to be so repetitive.
16·   ·   ·   · · · A· · ·You misstated that.                       16·   ·   ·   · · · · · · I really do want to understand is there
17·   ·   ·   · · · Q· · ·Okay.· So what was your understanding     17·   ·   ·   ·a person or a number of people, and can you
18·   ·   ·   ·of how Calvillo Manriquez affected FSA's ability     18·   ·   ·   ·identify them, who could have decided to begin
19·   ·   ·   ·to send out borrower defense decisions?              19·   ·   ·   ·issuing those denials rather than deciding not to
20·   ·   ·   · · · A· · ·What I -- what I'm trying to explain to   20·   ·   ·   ·issue them until approvals could also be issued?
21·   ·   ·   ·you is that because there was pending litigation,    21·   ·   ·   · · · A· · ·It would be speculative, right. I
22·   ·   ·   ·whether a particular decision was related to that    22·   ·   ·   ·mean, there are any number of people, but because
23·   ·   ·   ·litigation or not, because there's pending           23·   ·   ·   ·I don't believe exactly who made each decision, it
24·   ·   ·   ·litigation around borrower defense, I am not a       24·   ·   ·   ·would be speculative on my part.
25·   ·   ·   ·senior enough official to have decision-making       25·   ·   ·   · · · Q· · ·So who made the decision not to issue

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·1·   ·   ·   ·authority.                                           ·1·   ·   ·   ·denials until approvals could also be issued?
·2·   ·   ·   · · · Q· · ·What was -- so who would have             ·2·   ·   ·   · · · A· · ·I do not know.
·3·   ·   ·   ·decision-making authority to -- if not you?          ·3·   ·   ·   · · · Q· · ·You were just told of that decision and
·4·   ·   ·   · · · A· · ·I think that's what I'm trying to tell    ·4·   ·   ·   ·went along with it.· Okay.
·5·   ·   ·   ·you is that I -- I -- I -- there's lots of people    ·5·   ·   ·   · · · A· · ·I was told that was the decision.
·6·   ·   ·   ·who could have it.· I don't know who made all the    ·6·   ·   ·   · · · · · · MS. O'GRADY:· Okay.· I think we'll take
·7·   ·   ·   ·decisions, but I do know it wasn't me.               ·7·   ·   ·   ·a break now.· Thank you for those extra few
·8·   ·   ·   · · · Q· · ·The policy decision not to issue          ·8·   ·   ·   ·minutes.
·9·   ·   ·   ·denials until approvals could also be issued, is     ·9·   ·   ·   · · · · · · THE WITNESS:· Uh-huh.
10·   ·   ·   ·it your understanding that began immediately with    10·   ·   ·   · · · · · · MS. O'GRADY:· How long do we want the
11·   ·   ·   ·the Calvillo injunction?                             11·   ·   ·   ·break to be?· Charlie --
12·   ·   ·   · · · A· · ·I don't know the precise timing.          12·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Hold on one second.
13·   ·   ·   · · · Q· · ·Okay.· Because I -- so -- and I really    13·   ·   ·   ·The time is 19:24 UTC time.
14·   ·   ·   ·want to get to the bottom of this.· I didn't think   14·   ·   ·   · · · · · · (Recess -- 2:24 p.m.)
15·   ·   ·   ·they were related because I'm reading this bullet    15·   ·   ·   · · · · · · (After recess -- 2:43 p.m.)
16·   ·   ·   ·point and you explained that it was about not        16·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Okay.· We're now
17·   ·   ·   ·wanting to give borrowers the wrong idea.· And       17·   ·   ·   ·back on the record.· The time is 19:43 UTC time.
18·   ·   ·   ·then we have the Calvillo Manriquez injunction       18·   ·   ·   · · · · · · MS. O'GRADY:· For the record, I'm just
19·   ·   ·   ·that prevents the application of a certain partial   19·   ·   ·   ·going to state the designations on the last two
20·   ·   ·   ·methodology towards a number of CCI students.        20·   ·   ·   ·exhibits.· So file name ECF NO 56-3, Exhibit 5,
21·   ·   ·   · · · · · · So -- so the approvals have been paused   21·   ·   ·   ·2019 regulations which is a long PDF file is
22·   ·   ·   ·because the approvals demand -- you know, the        22·   ·   ·   ·Exhibit 11.
23·   ·   ·   ·approvals need that step-two determination of the    23·   ·   ·   · · · · · · (Jones Deposition Exhibit 11 was marked
24·   ·   ·   ·partial relief that's been enjoined, but the         24·   ·   ·   ·for identification and attached to the
25·   ·   ·   ·denials don't need to involve step two, and if       25·   ·   ·   ·transcript.)


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·1·   ·   ·   · · · · · · MS. O'GRADY:· And file name               ·1·   ·   ·   · · · A· · ·Yes.
·2·   ·   ·   ·A09-Borrower Defense to Repayment FSA PowerPoint     ·2·   ·   ·   · · · Q· · ·Okay.· So the document -- the document
·3·   ·   ·   ·to the Secretary is marked as Exhibit 12.            ·3·   ·   ·   ·here is referring to a template denial notice?
·4·   ·   ·   · · · · · · (Jones Deposition Exhibit 12 was marked   ·4·   ·   ·   · · · A· · ·Yes.
·5·   ·   ·   ·for identification and attached to the               ·5·   ·   ·   · · · Q· · ·And then on the next page -- well, it's
·6·   ·   ·   ·transcript.)                                         ·6·   ·   ·   ·the continuing page of paragraph 26, which is
·7·   ·   ·   · · · BY MS. O'GRADY:                                 ·7·   ·   ·   ·page 11.· So at the top it begins, Once these
·8·   ·   ·   · · · Q· · ·Okay.· And now we are going to go back    ·8·   ·   ·   ·documents are developed, the department needs to
·9·   ·   ·   ·to Exhibit 2, your declaration.· And this time       ·9·   ·   ·   ·work with each of its servicers to put the process
10·   ·   ·   ·we're going to look at paragraph 26.                 10·   ·   ·   ·of loan relief and borrower notification in
11·   ·   ·   · · · A· · ·Okay.· I found it.· Twenty-six?           11·   ·   ·   ·process, which requires contract updates with each
12·   ·   ·   · · · Q· · ·Yes.                                      12·   ·   ·   ·of the federal student aid loan servicers that
13·   ·   ·   · · · · · · So the bottom of this page, middle of     13·   ·   ·   ·service direct loans.
14·   ·   ·   ·the paragraph, it states, The department has been    14·   ·   ·   · · · · · · So that's what you were referring to
15·   ·   ·   ·working to develop documents to provide a more       15·   ·   ·   ·just now, the contractors doing the merge?
16·   ·   ·   ·robust explanation for borrowers whose claims are    16·   ·   ·   · · · A· · ·Right.· So every time we ask a servicer
17·   ·   ·   ·denied.                                              17·   ·   ·   ·to do anything, notify a borrower, create a new
18·   ·   ·   · · · A· · ·Yeah.· I must be in the wrong place.      18·   ·   ·   ·letter, anything, it's a change order and an
19·   ·   ·   ·Where are you again?                                 19·   ·   ·   ·additional fee that has to be negotiated.
20·   ·   ·   · · · Q· · ·I am at the bottom of page 10, the end    20·   ·   ·   · · · Q· · ·So that includes sending a denial
21·   ·   ·   ·of paragraph 26 that begins on that page.            21·   ·   ·   ·letter?
22·   ·   ·   · · · A· · ·Ah, okay.· I'm there now.                 22·   ·   ·   · · · A· · ·It is my understanding that the
23·   ·   ·   · · · Q· · ·Okay.· So -- so here you write, The       23·   ·   ·   ·servicers issued -- issued all the letters, but
24·   ·   ·   ·department has been working to develop documents     24·   ·   ·   ·you'd have to check with Colleen Nevin.· She would
25·   ·   ·   ·to provide a more robust explanation for borrowers   25·   ·   ·   ·know better than I.

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·1·   ·   ·   ·whose claims are denied.                             ·1·   ·   ·   · · · Q· · ·When you say "servicer," you mean --
·2·   ·   ·   · · · · · · And what documents is that sentence       ·2·   ·   ·   ·what is a servicer?· That's different from a loan
·3·   ·   ·   ·referring to?                                        ·3·   ·   ·   ·servicer?
·4·   ·   ·   · · · A· · ·(Witness reviews document.)               ·4·   ·   ·   · · · A· · ·It is a loan servicer.
·5·   ·   ·   · · · · · · I believe this is referring to the        ·5·   ·   ·   · · · Q· · ·So you're referring to loan servicers,
·6·   ·   ·   ·letter that the servicer would send to the           ·6·   ·   ·   ·okay.
·7·   ·   ·   ·borrower following a decision.                       ·7·   ·   ·   · · · A· · ·And -- and -- and, you know -- yes.
·8·   ·   ·   · · · Q· · ·And the servicer meaning what?            ·8·   ·   ·   ·Simply stated yes, we're talking about loan
·9·   ·   ·   · · · A· · ·So federal student aid does much of its   ·9·   ·   ·   ·servicers here.
10·   ·   ·   ·operational business through contract servicers,     10·   ·   ·   · · · Q· · ·So the next sentence, it says, It takes
11·   ·   ·   ·and so the servicers would be the entities that      11·   ·   ·   ·longer to develop decision letters that provide an
12·   ·   ·   ·would actually send the letter to the borrower.      12·   ·   ·   ·explanation for each borrower of why their claim
13·   ·   ·   · · · Q· · ·Does FSA draft the letter?                13·   ·   ·   ·was denied, but we believe this investment of time
14·   ·   ·   · · · A· · ·FSA creates the template and the          14·   ·   ·   ·is important so that borrowers understand the
15·   ·   ·   ·information to fill the servicer.· It is my          15·   ·   ·   ·basis for the decision, which is vital to
16·   ·   ·   ·understanding that the servicer or some other        16·   ·   ·   ·instilling confidence in the process.
17·   ·   ·   ·contractor does the merge file.· That's my           17·   ·   ·   · · · · · · So in this paragraph, you've said the
18·   ·   ·   ·understanding.· I haven't -- I -- I don't work in    18·   ·   ·   ·departments are working to develop these
19·   ·   ·   ·the systems.                                         19·   ·   ·   ·documents -- these denial letters.
20·   ·   ·   · · · Q· · ·Right.                                    20·   ·   ·   · · · · · · Is that process complete?· Has the
21·   ·   ·   · · · A· · ·My understanding is that a servicer or    21·   ·   ·   ·department done so?
22·   ·   ·   ·a contractor does the merge.                         22·   ·   ·   · · · A· · ·The department has developed denial
23·   ·   ·   · · · Q· · ·And by doing the merge, you mean puts     23·   ·   ·   ·letters that cover the -- that cover the -- the
24·   ·   ·   ·the information about a certain borrower into the    24·   ·   ·   ·kinds of situations we have seen so far, but it is
25·   ·   ·   ·template provided by FSA?                            25·   ·   ·   ·always possible that some new category arises and


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·1·   ·   ·   ·a new letter has to be developed.                    ·1·   ·   ·   · · · · · · The complexity was do we try in one
·2·   ·   ·   · · · · · · So I can't say that this is the full      ·2·   ·   ·   ·letter to explain well, these loans were
·3·   ·   ·   ·and complete final census, but the attempt was to    ·3·   ·   ·   ·adjudicated under California state law, blah,
·4·   ·   ·   ·develop letters that -- that could be used to        ·4·   ·   ·   ·blah, blah, but these loans were adjudicated under
·5·   ·   ·   ·communicate regardless of the school the borrower    ·5·   ·   ·   ·a federal standard.· And the question was is it
·6·   ·   ·   ·attended.                                            ·6·   ·   ·   ·better to try and do that all in one letter?
·7·   ·   ·   · · · Q· · ·Okay.· And then the next sentence is,     ·7·   ·   ·   ·Should we send two letters, one for each set of
·8·   ·   ·   ·This has taken longer than we hoped but the          ·8·   ·   ·   ·adjudications?
·9·   ·   ·   ·notices are finished and we are now working with     ·9·   ·   ·   · · · · · · So it becomes complicated in deciding
10·   ·   ·   ·our contracting officials and loan services to       10·   ·   ·   ·what -- what content.
11·   ·   ·   ·enter these notices into servicer systems.           11·   ·   ·   · · · · · · In addition, because for Corinthian
12·   ·   ·   · · · · · · So this has taken longer than we hoped.   12·   ·   ·   ·borrowers a decision had been made that all of
13·   ·   ·   ·How long did you hope it would take to develop       13·   ·   ·   ·those borrowers would get a minimum of 10 percent
14·   ·   ·   ·these letters?                                       14·   ·   ·   ·relief if they were part of the class, we had to
15·   ·   ·   · · · A· · ·Our -- I can't remember what -- I can't   15·   ·   ·   ·have letters that explained the 10 percent to
16·   ·   ·   ·remember what I hoped.· I -- I just know that, you   16·   ·   ·   ·Corinthian borrowers, but that 10 percent had not
17·   ·   ·   ·know, it -- it took what felt like a long time.      17·   ·   ·   ·been -- it was not part of a policy for other
18·   ·   ·   · · · Q· · ·And what are the factors that made it     18·   ·   ·   ·schools.· It just hadn't -- hadn't, you know,
19·   ·   ·   ·take what felt like a long time?                     19·   ·   ·   ·gotten there yet.
20·   ·   ·   · · · A· · ·The complexity -- the complexity of the   20·   ·   ·   · · · Q· · ·So the denial letters that identify or
21·   ·   ·   ·situation.                                           21·   ·   ·   ·that are dealing with loans that you say are under
22·   ·   ·   · · · Q· · ·And what do you mean by that?             22·   ·   ·   ·different regulations, has that letter been
23·   ·   ·   · · · A· · ·For example, there are some borrowers     23·   ·   ·   ·developed?
24·   ·   ·   ·who have loans that will be adjudicated under all    24·   ·   ·   · · · A· · ·I believe that the letter has been
25·   ·   ·   ·three regulations.· How do you -- you know, we       25·   ·   ·   ·developed for under the state standard.· And let

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·1·   ·   ·   ·were trying to figure out what's the right way to    ·1·   ·   ·   ·me think about if it's been developed for
·2·   ·   ·   ·manage.· Do we send one letter for all three         ·2·   ·   ·   ·the regs -- and -- under the federal standard.
·3·   ·   ·   ·adjudications?· Do we separate them into three       ·3·   ·   ·   · · · · · · You know, the longer I recall seeing
·4·   ·   ·   ·separate adjudications?                              ·4·   ·   ·   ·was to respond under the state standard, which is
·5·   ·   ·   · · · · · · So it -- it gets complicated.· There's    ·5·   ·   ·   ·more complicated than the federal standard, I
·6·   ·   ·   ·a -- you know, when borrowers consolidate loans,     ·6·   ·   ·   ·don't recall whether I've seen a federal standard
·7·   ·   ·   ·they don't always understand that they've reset,     ·7·   ·   ·   ·letter yet.
·8·   ·   ·   ·you know, the clock, right.· So there are -- is      ·8·   ·   ·   · · · Q· · ·Okay.· So and when you say a letter
·9·   ·   ·   ·it -- the student loan program is a very             ·9·   ·   ·   ·under the state standard, you're referring to a
10·   ·   ·   ·complicated program, and there's just a lot of       10·   ·   ·   ·letter under the '95 regulations?
11·   ·   ·   ·complexity around the potential combinations.        11·   ·   ·   · · · A· · ·Correct.
12·   ·   ·   · · · Q· · ·Okay.                                     12·   ·   ·   · · · Q· · ·Okay.· And that's -- okay.
13·   ·   ·   · · · A· · ·We have borrowers who, you know, left     13·   ·   ·   · · · · · · So besides -- and I think my question a
14·   ·   ·   ·the program and came back or maybe, you know,        14·   ·   ·   ·couple of questions ago was, you know, what are
15·   ·   ·   ·completed one degree and now they're back for a      15·   ·   ·   ·some of the factors that made the process of
16·   ·   ·   ·second.                                              16·   ·   ·   ·developing this letter -- this denial template
17·   ·   ·   · · · · · · So it's just a complicated --             17·   ·   ·   ·take longer than you had hoped, and you said one
18·   ·   ·   · · · Q· · ·With respect to the letters that were     18·   ·   ·   ·of them was having to do with a letter under the
19·   ·   ·   ·being developed, how do the letters reflect those    19·   ·   ·   ·state standard and the federal standard.
20·   ·   ·   ·complications?                                       20·   ·   ·   · · · · · · Is that right?
21·   ·   ·   · · · A· · ·We had to decide, for example, whether    21·   ·   ·   · · · A· · ·More than one.· That was one example.
22·   ·   ·   ·the letter should have a fill in the blank.· So      22·   ·   ·   · · · Q· · ·Yeah.· So my next question is what are
23·   ·   ·   ·let's say a borrower had loans adjudicated under     23·   ·   ·   ·some other factors besides that one?
24·   ·   ·   ·the '95 regs and the 2016 regs, meaning under the    24·   ·   ·   · · · A· · ·Some other factors are -- and this gets
25·   ·   ·   ·state standard and under the federal standard.       25·   ·   ·   ·very weedy, but the name of the school that the


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·1·   ·   ·   ·borrower attended may not be the name of the         ·1·   ·   ·   · · · · · · MS. O'GRADY:· Okay.· So the next
·2·   ·   ·   ·school officially in our records.                    ·2·   ·   ·   ·exhibit is in the folder as ECF number 116,
·3·   ·   ·   · · · Q· · ·And what bearing would that have on the   ·3·   ·   ·   ·Defendants Post-CMC Filing.
·4·   ·   ·   ·letter itself?                                       ·4·   ·   ·   · · · · · · THE WITNESS:· Can you give me the
·5·   ·   ·   · · · A· · ·So the borrower may have submitted a      ·5·   ·   ·   ·number?· ECF?
·6·   ·   ·   ·letter saying, you know, I went to school A, and     ·6·   ·   ·   · · · BY MS. O'GRADY:
·7·   ·   ·   ·we had to figure out how to send a letter back       ·7·   ·   ·   · · · Q· · ·Sure.· ECF number 116.
·8·   ·   ·   ·using school A because that school is actually       ·8·   ·   ·   · · · A· · ·Ah, okay.
·9·   ·   ·   ·listed in our records as school B, but the           ·9·   ·   ·   · · · · · · MS. O'GRADY:· Okay.· And this exhibit
10·   ·   ·   ·borrower might not have known that.                  10·   ·   ·   ·will be marked as Exhibit 13.
11·   ·   ·   · · · · · · So how do you communicate to a            11·   ·   ·   · · · · · · (Jones Deposition Exhibit 13 was marked
12·   ·   ·   ·borrower -- so we either had to, you know,           12·   ·   ·   ·for identification and attached to the
13·   ·   ·   ·communicate to the borrower why this looks to be a   13·   ·   ·   ·transcript.)
14·   ·   ·   ·different name, or they had to have a system         14·   ·   ·   · · · BY MS. O'GRADY:
15·   ·   ·   ·adjustment.                                          15·   ·   ·   · · · Q· · ·Ms. Jones, have you ever seen this
16·   ·   ·   · · · Q· · ·Is that a -- is that a new problem,       16·   ·   ·   ·filing before?· You may not have.
17·   ·   ·   ·though?· I mean, this is -- I guess I'm asking       17·   ·   ·   · · · A· · ·(Witness reviews document.)
18·   ·   ·   ·about the development of these letters that are      18·   ·   ·   · · · · · · I don't recall having seen this
19·   ·   ·   ·providing, as you say in paragraph 26, a more        19·   ·   ·   ·document before.
20·   ·   ·   ·robust explanation.                                  20·   ·   ·   · · · Q· · ·Okay.· Well, I would like to talk about
21·   ·   ·   · · · · · · So is the -- making sure the school       21·   ·   ·   ·some much the attachments which I think you
22·   ·   ·   ·names match something that is a challenge to         22·   ·   ·   ·probably have seen.· So I can represent to you
23·   ·   ·   ·develop a letter that provides a more robust         23·   ·   ·   ·that this document was filed by defendants in this
24·   ·   ·   ·explanation?                                         24·   ·   ·   ·case as a response to the judge -- a judge's
25·   ·   ·   · · · A· · ·I would say that that is the case, but    25·   ·   ·   ·question about denial notices.

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·1·   ·   ·   ·I don't think that was the primary reason for the    ·1·   ·   ·   · · · · · · And, so, if you go to PDF -- let's
·2·   ·   ·   ·statement.· I think the primary reason for this      ·2·   ·   ·   ·see --
·3·   ·   ·   ·statement was the complexity of the many different   ·3·   ·   ·   · · · A· · ·Oh, so, you know, so may -- I do
·4·   ·   ·   ·situations a borrower could be in.                   ·4·   ·   ·   ·remember seeing these exhibits as -- as part of my
·5·   ·   ·   · · · Q· · ·Okay.· And, so, what are some of those    ·5·   ·   ·   ·review.· So may -- maybe -- maybe this will -- I
·6·   ·   ·   ·situations?                                          ·6·   ·   ·   ·can't remember if we're talking --
·7·   ·   ·   · · · A· · ·You know, again, if the borrower -- so    ·7·   ·   ·   · · · Q· · ·We're just going to talk about the
·8·   ·   ·   ·depending upon how the state standard was decided,   ·8·   ·   ·   ·exhibits anyway.
·9·   ·   ·   ·you know, the -- the borrower could get one          ·9·   ·   ·   · · · A· · ·Okay.
10·   ·   ·   ·decision under a state standard but his or her       10·   ·   ·   · · · Q· · ·So if we go to PDF -- so page 7 -- PDF
11·   ·   ·   ·friend could get a different decision under a        11·   ·   ·   ·page 7 should be where exhibit A starts?
12·   ·   ·   ·different state standard.                            12·   ·   ·   · · · A· · ·Yes.· Okay.· I'm at exhibit A.
13·   ·   ·   · · · · · · So one of the areas of complexity is      13·   ·   ·   · · · Q· · ·Okay.· So this -- and if it's all right
14·   ·   ·   ·explaining to the borrower, or at least listing      14·   ·   ·   ·with you, I'm going to refer to these as form
15·   ·   ·   ·for the borrower the state standard under which      15·   ·   ·   ·denial A because I -- I think that's what it is.
16·   ·   ·   ·the claim was adjudicated.                           16·   ·   ·   · · · A· · ·(Witness nods head.)
17·   ·   ·   · · · Q· · ·So the effort to provide these decision   17·   ·   ·   · · · Q· · ·So -- so can you tell me what exhibit A
18·   ·   ·   ·letters that provide, quote, an explanation for      18·   ·   ·   ·is just so I'm clear that we're on -- that
19·   ·   ·   ·each borrower why their claim was denied, is to      19·   ·   ·   ·we're -- what we're both looking at?
20·   ·   ·   ·include the state standard used to adjudicate        20·   ·   ·   · · · A· · ·Okay.· Let me -- let me look at this.
21·   ·   ·   ·their claim?                                         21·   ·   ·   · · · · · · (Witness reviews document.)
22·   ·   ·   · · · A· · ·It should notify that -- the borrower     22·   ·   ·   · · · Q· · ·So maybe an efficient way to do this is
23·   ·   ·   ·of the state standard.                               23·   ·   ·   ·in the court filing on PDF page 3, there is kind
24·   ·   ·   · · · Q· · ·And does it?                              24·   ·   ·   ·of a short index identifying what each of these
25·   ·   ·   · · · A· · ·It is supposed to.                        25·   ·   ·   ·denial notices are.· And on the bottom of page 2,


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·1·   ·   ·   ·it says, a sample attached as exhibit A is for       ·1·   ·   ·   · · · Q· · ·Okay.· And is this form letter, perhaps
·2·   ·   ·   ·Corinthian borrowers to assert only job placement    ·2·   ·   ·   ·without the Covid paragraph, something that you
·3·   ·   ·   ·rate claims but who do not meet the eligibility      ·3·   ·   ·   ·reviewed and approved?
·4·   ·   ·   ·criteria for such a claim, and that that's           ·4·   ·   ·   · · · A· · ·(Witness reviews document.)
·5·   ·   ·   ·Exhibit -- that's Form Denial Notice A.· Does        ·5·   ·   ·   · · · · · · So the part that looks different to me
·6·   ·   ·   ·that -- that seems accurate to you, this is Form     ·6·   ·   ·   ·which may or may not be different -- it's just my
·7·   ·   ·   ·Denial Notice A?                                     ·7·   ·   ·   ·memory -- is the way the allegations are listed.
·8·   ·   ·   · · · A· · ·It does.· I've scrolled through the       ·8·   ·   ·   ·I don't know if in the version that I saw, you
·9·   ·   ·   ·letter to where it says borrower defense claims      ·9·   ·   ·   ·know, it had the template for multiple
10·   ·   ·   ·based on CCI job placement.· So that comports with   10·   ·   ·   ·allegations.· The one that I saw may have just had
11·   ·   ·   ·that.                                                11·   ·   ·   ·a placeholder.
12·   ·   ·   · · · Q· · ·So is this one of the letters developed   12·   ·   ·   · · · · · · So I don't know if I've seen it
13·   ·   ·   ·as we were just talking in the paragraphs of your    13·   ·   ·   ·precisely laid out this way, you know, the way
14·   ·   ·   ·declaration that talk about developing a letter      14·   ·   ·   ·allegation one was in the middle of the page.· The
15·   ·   ·   ·with more information for borrowers about why        15·   ·   ·   ·version I saw may have just had a placeholder.
16·   ·   ·   ·their claims were denied?                            16·   ·   ·   · · · Q· · ·Okay.
17·   ·   ·   · · · A· · ·(Witness reviews document.)               17·   ·   ·   · · · A· · ·But in general, this is.
18·   ·   ·   · · · · · · Yes.· I can't say that this is            18·   ·   ·   · · · Q· · ·In general, yes.· That's helpful.
19·   ·   ·   ·precisely the version that I saw, but, you know,     19·   ·   ·   · · · · · · Let's look at the last one which is D,
20·   ·   ·   ·this comports with the kind of letter that -- that   20·   ·   ·   ·and on the bottom of page 2, exhibit D is
21·   ·   ·   ·I reviewed.                                          21·   ·   ·   ·identified as a letter for, quote, non-Corinthian
22·   ·   ·   · · · Q· · ·Okay.· And -- and I just want to make     22·   ·   ·   ·borrowers who attended schools for which the
23·   ·   ·   ·sure that we're both on the same page about each     23·   ·   ·   ·department does have common evidence in its
24·   ·   ·   ·one of these letters.· So again, on the bottom of    24·   ·   ·   ·possession, and then that's going to be exhibit D.
25·   ·   ·   ·page 2 of the court filing, it identifies exhibit    25·   ·   ·   · · · A· · ·On this one, I don't recall whether I

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·1·   ·   ·   ·B, which I'll call Form Denial B, as a denial        ·1·   ·   ·   ·reviewed this particular document.· I -- I don't
·2·   ·   ·   ·letter for Corinthian borrowers who assert other     ·2·   ·   ·   ·recall whether this was just based on a template
·3·   ·   ·   ·claims in addition to job placement rate claims?     ·3·   ·   ·   ·that I had already reviewed and this was just a
·4·   ·   ·   · · · A· · ·And as I scroll through, I want to        ·4·   ·   ·   ·derivative of it or whether I saw this one de
·5·   ·   ·   ·make.· Clear when I saw this document as part of     ·5·   ·   ·   ·novo.· I just can't remember.
·6·   ·   ·   ·the review process, it did not have the COVID-19     ·6·   ·   ·   · · · Q· · ·Okay.· So as between C and D, you
·7·   ·   ·   ·notes, so that's applicable --                       ·7·   ·   ·   ·remember reviewing C but with potentially a more
·8·   ·   ·   · · · Q· · ·Okay.                                     ·8·   ·   ·   ·general placeholder under Allegation.· But D,
·9·   ·   ·   · · · A· · ·-- of something that's been added that    ·9·   ·   ·   ·you're not sure you've seen?
10·   ·   ·   ·was -- I didn't review that.· That wasn't in the     10·   ·   ·   · · · A· · ·Let me look at it again and . . .
11·   ·   ·   ·original document.                                   11·   ·   ·   · · · · · · (Witness reviews document.)
12·   ·   ·   · · · Q· · ·So at what point did you see Form         12·   ·   ·   · · · · · · This does look familiar to me.
13·   ·   ·   ·Denial A?                                            13·   ·   ·   · · · Q· · ·So I'll just -- my understanding is
14·   ·   ·   · · · A· · ·It would have been in the time frame      14·   ·   ·   ·that these four denial letters are the result of
15·   ·   ·   ·of, you know, about this time last year.             15·   ·   ·   ·the efforts you describe in your declaration in
16·   ·   ·   · · · Q· · ·So this is right around when you wrote    16·   ·   ·   ·paragraph 26 of developing documents to provide a
17·   ·   ·   ·your declaration saying that the process of          17·   ·   ·   ·more robust explanation for borrowers whose claims
18·   ·   ·   ·developing those letters is complete?                18·   ·   ·   ·are denied.
19·   ·   ·   · · · A· · ·(Witness nods head.)                      19·   ·   ·   · · · · · · And is that -- do I have that right?
20·   ·   ·   · · · Q· · ·Okay.· Now, let's look at exhibit C       20·   ·   ·   · · · A· · ·You do.· I mean, again, there could
21·   ·   ·   ·which is, quote, non-Corinthian borrowers who        21·   ·   ·   ·have been final editorial changes or format
22·   ·   ·   ·attended schools for which the department does not   22·   ·   ·   ·changes after I saw them, but, yes, my memory
23·   ·   ·   ·have any common evidence in its possession.          23·   ·   ·   ·is -- this is the kind of thing we were
24·   ·   ·   · · · A· · ·Okay.· I'm scrolling down to C.· Okay.    24·   ·   ·   ·discussing, and this document looks very similar
25·   ·   ·   ·I'm at C.                                            25·   ·   ·   ·to what I reviewed.


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·1·   ·   ·   · · · Q· · ·Are you the person who would give final   ·1·   ·   ·   · · · A· · ·I think it was A.· It might have been
·2·   ·   ·   ·sign-off on the use of these templates?              ·2·   ·   ·   ·B.· But let's go up to A and look.
·3·   ·   ·   · · · A· · ·No.                                       ·3·   ·   ·   · · · · · · (Witness reviews document.)
·4·   ·   ·   · · · Q· · ·Who is that person?                       ·4·   ·   ·   · · · · · · So A -- so for the Corinthian
·5·   ·   ·   · · · A· · ·Again, I -- I don't -- I don't know who   ·5·   ·   ·   ·borrowers, they were all adjudicated under the
·6·   ·   ·   ·actually signs off on these.· I mean, there's a      ·6·   ·   ·   ·California state law, so that's why this letter
·7·   ·   ·   ·departmental process, and I -- I can't tell you      ·7·   ·   ·   ·says California in the template.
·8·   ·   ·   ·who the final signer is on -- on this document.      ·8·   ·   ·   · · · Q· · ·Right.· On page 2 in the template.
·9·   ·   ·   · · · Q· · ·Would the secretary review these?         ·9·   ·   ·   ·Okay.
10·   ·   ·   · · · A· · ·I don't -- I don't know.· I don't know    10·   ·   ·   · · · A· · ·But in --
11·   ·   ·   ·if the secretary would -- would review this          11·   ·   ·   · · · Q· · ·And then --
12·   ·   ·   ·document.· It -- it's possible, but I don't know.    12·   ·   ·   · · · A· · ·-- in the others, the attorney in the,
13·   ·   ·   · · · Q· · ·And what was your involvement in          13·   ·   ·   ·you know, decision/reason or whatever, that's
14·   ·   ·   ·drafting these?                                      14·   ·   ·   ·where -- that's where they can state which
15·   ·   ·   · · · A· · ·As -- as -- you know, it was an editing   15·   ·   ·   ·standard was used for the adjudication.
16·   ·   ·   ·role.· I -- it would have been an editing role in    16·   ·   ·   · · · Q· · ·Okay.· And on the template, where do
17·   ·   ·   ·response to somebody else's document.                17·   ·   ·   ·they insert the state law?
18·   ·   ·   · · · Q· · ·Okay.· Now, I want to look at -- well,    18·   ·   ·   · · · A· · ·So in template B, for example, where it
19·   ·   ·   ·first -- first I'll ask, so C is for                 19·   ·   ·   ·says, Review recommendation reason, right, the
20·   ·   ·   ·non-Corinthian borrowers for schools that do not     20·   ·   ·   ·reason would be potentially dependent upon the
21·   ·   ·   ·have common evidence.· And D is for non-Corinthian   21·   ·   ·   ·state law so -- so that -- that is -- that's
22·   ·   ·   ·borrowers who went to school that do have common     22·   ·   ·   ·where -- I think that's the place where the
23·   ·   ·   ·evidence.                                            23·   ·   ·   ·attorney would insert it.
24·   ·   ·   · · · · · · What is meant by "common evidence"?       24·   ·   ·   · · · Q· · ·Okay.· And, so, that review
25·   ·   ·   · · · A· · ·You'd have to ask Colleen Nevin, but I    25·   ·   ·   ·recommendation reason, that's also in -- that's

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·1·   ·   ·   ·think that means -- well, I think you should ask     ·1·   ·   ·   ·also under the allegation template in C and D.
·2·   ·   ·   ·Colleen Nevin, but I -- I think it means to          ·2·   ·   ·   · · · · · · And, so, your understanding is that's
·3·   ·   ·   ·distinguish between evidence provided by the         ·3·   ·   ·   ·where an attorney would write what state law they
·4·   ·   ·   ·student versus evidence that the department may      ·4·   ·   ·   ·were applying?
·5·   ·   ·   ·have in its possession, but you'd need to check      ·5·   ·   ·   · · · A· · ·That's my understanding.
·6·   ·   ·   ·with her for the specific terminology.               ·6·   ·   ·   · · · Q· · ·Okay.· And that's true for -- I'm
·7·   ·   ·   · · · Q· · ·Well, let's look at the paragraph         ·7·   ·   ·   ·looking at template C, and also let's look at
·8·   ·   ·   ·applicable law, and that is -- on exhibit D, it is   ·8·   ·   ·   ·template D, allegation type, so that
·9·   ·   ·   ·the first page, middle, and it says, For direct      ·9·   ·   ·   ·recommendation reason portion is where they would
10·   ·   ·   ·loans first disbursed prior to July 1st, 2017, a     10·   ·   ·   ·insert the state law.
11·   ·   ·   ·borrower may be eligible for a discharge             11·   ·   ·   · · · · · · So when you reviewed these letters, is
12·   ·   ·   ·(forgiveness) of part of all of one or more direct   12·   ·   ·   ·that your understanding of what would happen?
13·   ·   ·   ·loans if the borrower's school engaged in acts or    13·   ·   ·   · · · A· · ·Yes.
14·   ·   ·   ·omissions that would give rise to a cause of         14·   ·   ·   · · · Q· · ·I have a -- I want to go back to the
15·   ·   ·   ·action against the school under applicable state     15·   ·   ·   ·common evidence question.· If several borrowers
16·   ·   ·   ·law.                                                 16·   ·   ·   ·said the same thing, would that be considered
17·   ·   ·   · · · A· · ·Uh-huh.                                   17·   ·   ·   ·common evidence or individual evidence?
18·   ·   ·   · · · Q· · ·So is there more information about        18·   ·   ·   · · · A· · ·I don't know.· You'd have to ask
19·   ·   ·   ·which state law is being applied for these           19·   ·   ·   ·Colleen.· I don't know how they review evidence.
20·   ·   ·   ·adjudications in these letters?                      20·   ·   ·   · · · Q· · ·And your understanding of the meaning
21·   ·   ·   · · · A· · ·Well, you know, if you go up to A         21·   ·   ·   ·of common evidence as being something that the --
22·   ·   ·   ·for -- I -- I can scroll through this one, but if    22·   ·   ·   ·that the department has, if they had in their
23·   ·   ·   ·you go up through A, there's actually a place        23·   ·   ·   ·possession, you know, a whole group of borrowers
24·   ·   ·   ·where it would state the state law standard.         24·   ·   ·   ·making the same allegation, would that -- would
25·   ·   ·   · · · Q· · ·Okay.· Let's look at that in A.           25·   ·   ·   ·that be included just in your definition as you


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·1·   ·   ·   ·understand it?                                       ·1·   ·   ·   · · · A· · ·(Witness reviews document.)· Okay.
·2·   ·   ·   · · · A· · ·I guess in my mind the differentiation    ·2·   ·   ·   · · · Q· · ·Okay.· So we were just talking about
·3·   ·   ·   ·is does the department have the evidence from some   ·3·   ·   ·   ·the state law that a claim is adjudicated under,
·4·   ·   ·   ·source other than the borrower or does the           ·4·   ·   ·   ·and do you see that anywhere in this document?
·5·   ·   ·   ·borrower provide the evidence.                       ·5·   ·   ·   · · · A· · ·I don't see it in this document, but
·6·   ·   ·   · · · · · · Now, Colleen's group may have, you        ·6·   ·   ·   ·I -- it is -- there are some determinations that
·7·   ·   ·   ·know, subcategories of definitions when it -- I      ·7·   ·   ·   ·are based on state law, and then there are other
·8·   ·   ·   ·just think about it in terms of did the borrower     ·8·   ·   ·   ·situations where state law wouldn't apply.· So,
·9·   ·   ·   ·submit the evidence or is the evidence somewhere     ·9·   ·   ·   ·for example, the borrower didn't have a loan, but
10·   ·   ·   ·else.                                                10·   ·   ·   ·it --
11·   ·   ·   · · · Q· · ·Okay.· If -- if borrower A from school    11·   ·   ·   · · · Q· · ·Okay.· But is this one of those
12·   ·   ·   ·X submitted evidence about -- for themselves, but    12·   ·   ·   ·situations as you understand it?
13·   ·   ·   ·the department has on file evidence about the same   13·   ·   ·   · · · A· · ·So I don't know because I haven't seen
14·   ·   ·   ·exact thing from borrowers B through Z of school     14·   ·   ·   ·case -- I don't know what he alleges and I don't
15·   ·   ·   ·X, is the evidence of those borrowers B through Z    15·   ·   ·   ·know --
16·   ·   ·   ·held by the department as common evidence?           16·   ·   ·   · · · Q· · ·Okay.· Well, let's go to on -- the
17·   ·   ·   · · · A· · ·I don't know.· That would be a            17·   ·   ·   ·first page, which is PDF page 9 of this letter,
18·   ·   ·   ·determination Colleen and her team would make.       18·   ·   ·   ·applicable law, and it says the same text was in
19·   ·   ·   · · · Q· · ·Okay.· All right.· The next exhibit is    19·   ·   ·   ·the template, For direct loans first disbursed
20·   ·   ·   ·in the folder as ECF number -- this one is labeled   20·   ·   ·   ·prior to July 1st, 2017, et cetera, against the
21·   ·   ·   ·confusingly.· It's ECF number, ECF number 108-08     21·   ·   ·   ·school under applicable state law.
22·   ·   ·   ·Daniel Deegan AFF?                                   22·   ·   ·   · · · A· · ·Right.
23·   ·   ·   · · · A· · ·Okay.                                     23·   ·   ·   · · · Q· · ·So that matches the template?
24·   ·   ·   · · · Q· · ·And have you ever seen this before?       24·   ·   ·   · · · A· · ·Yes.
25·   ·   ·   · · · A· · ·(Witness reviews document.)               25·   ·   ·   · · · Q· · ·And then where you had expected the

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·1·   ·   ·   · · · · · · I don't recall seeing this before.        ·1·   ·   ·   ·state law to appear was under the allegations
·2·   ·   ·   ·Since it's redacted, I guess it's possible it was    ·2·   ·   ·   ·listed, so let's look at page 10 of this PDF.· It
·3·   ·   ·   ·in the documents --                                  ·3·   ·   ·   ·has, Allegation one, employment prospects.· You
·4·   ·   ·   · · · Q· · ·There are some -- I can just let you      ·4·   ·   ·   ·allege Keller Graduate School of Management
·5·   ·   ·   ·know, there are some redactions just for personal    ·5·   ·   ·   ·engaged in misconduct related to employment
·6·   ·   ·   ·information.                                         ·6·   ·   ·   ·prospects.· This allegation fails for the
·7·   ·   ·   · · · · · · So this is an affidavit filed in this     ·7·   ·   ·   ·following reasons, insufficient evidence.
·8·   ·   ·   ·case by one of the named plaintiffs, and the         ·8·   ·   ·   · · · · · · And there is no state law listed there;
·9·   ·   ·   ·reason I'm using it as an exhibit today is I'd       ·9·   ·   ·   ·correct?
10·   ·   ·   ·like to look at an example of a denial letter that   10·   ·   ·   · · · A· · ·There -- there is not, but I also don't
11·   ·   ·   ·appears to me to be using the templates that we      11·   ·   ·   ·know what the borrower submitted.
12·   ·   ·   ·just looked at.                                      12·   ·   ·   · · · Q· · ·Okay.· Let's -- we can go back to that.
13·   ·   ·   · · · · · · So if we can go to -- it's -- well,       13·   ·   ·   ·The borrower's written application is exhibit A,
14·   ·   ·   ·let's start at PDF page 9.· I'm actually -- here,    14·   ·   ·   ·and that begins on PDF 4.· So this is an email
15·   ·   ·   ·let me -- I'm going to have to open this up, too,    15·   ·   ·   ·sent to the borrower defense repayment address on
16·   ·   ·   ·just to make sure I'm in the right PDF.· So --       16·   ·   ·   ·November 1st, 2016.
17·   ·   ·   ·pardon me.· Let's say -- yeah, in PDF page 9, and    17·   ·   ·   · · · · · · So I -- I guess -- I'm wondering what
18·   ·   ·   ·this is an email.· Daniel Deegan is the borrower.    18·   ·   ·   ·you expect to see in the application that would
19·   ·   ·   ·It's dated May 7th, 2020.· We've redacted out for    19·   ·   ·   ·make defining a state law in the denial
20·   ·   ·   ·personal reasons the borrower defense application.   20·   ·   ·   ·unnecessary or impossible?
21·   ·   ·   · · · · · · So if you want to just familiarize        21·   ·   ·   · · · A· · ·No, again, I -- I don't know the state
22·   ·   ·   ·yourself with the next few pages, which is -- this   22·   ·   ·   ·law standard, so it's --
23·   ·   ·   ·is the denial letter he received, I'd just like to   23·   ·   ·   · · · Q· · ·Right.
24·   ·   ·   ·ask some questions about it in light of the          24·   ·   ·   · · · · · · But I just want to establish that this
25·   ·   ·   ·template that we just saw.                           25·   ·   ·   ·denial that he received doesn't include one. I


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·1·   ·   ·   ·just want to make sure I'm not missing it.           ·1·   ·   ·   ·standard would be applied.· I mean, as the
·2·   ·   ·   · · · A· · ·Yeah, I agree that this denial doesn't    ·2·   ·   ·   ·template says, the temp- -- and his letter
·3·   ·   ·   ·include one, but I don't know why.                   ·3·   ·   ·   ·actually says, For direct loans first disbursed
·4·   ·   ·   · · · Q· · ·You don't know why.                       ·4·   ·   ·   ·prior to July 1st, 2017, a borrower may be
·5·   ·   ·   · · · · · · Do you have any idea as to why it might   ·5·   ·   ·   ·eligible for a discharge, et cetera, for a cause
·6·   ·   ·   ·not include one?                                     ·6·   ·   ·   ·of action under -- against the school under
·7·   ·   ·   · · · A· · ·You know, again, I could speculate, but   ·7·   ·   ·   ·applicable state law.
·8·   ·   ·   ·I didn't review the --                               ·8·   ·   ·   · · · · · · So given that statement of applicable
·9·   ·   ·   · · · Q· · ·Speculate away.                           ·9·   ·   ·   ·law, that's saying we're going to apply the state
10·   ·   ·   · · · A· · ·You know, if -- if -- and I don't -- I    10·   ·   ·   ·law.· And, so, when state law is going to be
11·   ·   ·   ·haven't read -- so, I mean, if -- if the student     11·   ·   ·   ·applied, your expectation would be that the
12·   ·   ·   ·actually didn't have a loan.                         12·   ·   ·   ·borrower would be told the law of which state is
13·   ·   ·   · · · Q· · ·If he didn't have a loan, would he        13·   ·   ·   ·being applied?
14·   ·   ·   ·receive that form denial D template, or would        14·   ·   ·   · · · · · · MR. MERRITT:· Objection: speculative.
15·   ·   ·   ·there be a different kind of notice he would         15·   ·   ·   · · · BY MS. O'GRADY:
16·   ·   ·   ·receive saying that you don't even have a loan?      16·   ·   ·   · · · Q· · ·When a borrower receives a denial
17·   ·   ·   · · · A· · ·I can't remember which template would     17·   ·   ·   ·notice that gives this notice about what law
18·   ·   ·   ·be used for I don't have a loan.· I'm just giving    18·   ·   ·   ·applies, is it your expectation that the letter
19·   ·   ·   ·you an example of where there could be a denial      19·   ·   ·   ·would include which law applies?
20·   ·   ·   ·that doesn't involve the state standard and it       20·   ·   ·   · · · · · · MR. MERRITT:· Objection: speculative.
21·   ·   ·   ·would be because it doesn't involve -- you know,     21·   ·   ·   · · · · · · MS. O'GRADY:· I'm really just asking
22·   ·   ·   ·it doesn't meet the federal standard, doesn't have   22·   ·   ·   ·about what the template -- how the template is
23·   ·   ·   ·a loan or, you know --                               23·   ·   ·   ·used and how the witness expects the template to
24·   ·   ·   · · · Q· · ·So it would be -- is it your view that    24·   ·   ·   ·be used.· I do think it's already on the record so
25·   ·   ·   ·it would be an unusual case for a denial notice      25·   ·   ·   ·I can move on.

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·1·   ·   ·   ·based on form denial D to not include the state      ·1·   ·   ·   · · · · · · MR. MERRITT:· You have her prior
·2·   ·   ·   ·standard used?                                       ·2·   ·   ·   ·answers, but --
·3·   ·   ·   · · · A· · ·I don't know what's usual or not usual    ·3·   ·   ·   · · · · · · MS. O'GRADY:· Okay.
·4·   ·   ·   ·because I don't do the adjudication.· I --           ·4·   ·   ·   · · · · · · MR. MERRITT:· But if you'd like to
·5·   ·   ·   · · · Q· · ·Right.                                    ·5·   ·   ·   ·clarify that answer, you can.
·6·   ·   ·   · · · A· · ·-- don't --                               ·6·   ·   ·   · · · BY MS. O'GRADY:
·7·   ·   ·   · · · Q· · ·But when we were talking about the        ·7·   ·   ·   · · · Q· · ·When you said one of the reasons it
·8·   ·   ·   ·template just now, your expectation was that it      ·8·   ·   ·   ·might not include a state law statement was that
·9·   ·   ·   ·would include the specific state standard when it    ·9·   ·   ·   ·it didn't meet the federal standard, what did you
10·   ·   ·   ·was sent out?                                        10·   ·   ·   ·mean by that?
11·   ·   ·   · · · A· · ·If the decision was based on the state    11·   ·   ·   · · · A· · ·To be applicable, it has to meet, you
12·   ·   ·   ·standard.                                            12·   ·   ·   ·know, the federal definition, meaning it has to be
13·   ·   ·   · · · Q· · ·Okay.· And under what circumstances       13·   ·   ·   ·a direct loan.· It has to be a federal loan.· It
14·   ·   ·   ·could a decision not be based on a state standard?   14·   ·   ·   ·has to be, you know, associated within enrollment,
15·   ·   ·   · · · A· · ·If it doesn't meet the federal            15·   ·   ·   ·and --
16·   ·   ·   ·standard, the application was incomplete, no         16·   ·   ·   · · · Q· · ·Okay.· So this threshold --
17·   ·   ·   ·evidence was submitted, no claim of                  17·   ·   ·   · · · A· · ·Yeah, threshold.
18·   ·   ·   ·misrepresentation was made, those are some           18·   ·   ·   · · · Q· · ·-- determinations, okay.
19·   ·   ·   ·examples I can think of.· But, again, I don't        19·   ·   ·   · · · A· · ·And there has to be evidence against
20·   ·   ·   ·adjudicate claims.· I can't imagine all the          20·   ·   ·   ·which to make the determination.· I mean, I think
21·   ·   ·   ·examples because I haven't seen them.                21·   ·   ·   ·that's implicit.
22·   ·   ·   · · · Q· · ·Okay.· But a standard application, say,   22·   ·   ·   · · · Q· · ·Right.
23·   ·   ·   ·that alleges misrepresentation, the person has a     23·   ·   ·   · · · A· · ·You know, there has to be evidence to
24·   ·   ·   ·loan.                                                24·   ·   ·   ·evaluate.
25·   ·   ·   · · · · · · It's your expectation that a state        25·   ·   ·   · · · Q· · ·So we're in agreement that this denial


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·1·   ·   ·   ·letter that Mr. Deegan received is based on that     ·1·   ·   ·   · · · · · · Does this also include the common
·2·   ·   ·   ·form D template.· I think that's --                  ·2·   ·   ·   ·evidence that Ed would have for certain schools?
·3·   ·   ·   · · · A· · ·It appears that's --                      ·3·   ·   ·   · · · A· · ·You know, again that would be something
·4·   ·   ·   · · · Q· · ·It appears to be.                         ·4·   ·   ·   ·you'd have to ask the BD attorneys.· I don't know
·5·   ·   ·   · · · · · · But this one does not include a mention   ·5·   ·   ·   ·how they look at evidence, so I -- I can't answer
·6·   ·   ·   ·of which state law applies?                          ·6·   ·   ·   ·your question.
·7·   ·   ·   · · · A· · ·I would agree.                            ·7·   ·   ·   · · · Q· · ·Okay.· You had said that no state law
·8·   ·   ·   · · · Q· · ·Would it surprise you to know that        ·8·   ·   ·   ·would have to be applied for a borrower who did
·9·   ·   ·   ·thousands of these denial letters that have been     ·9·   ·   ·   ·not submit any evidence for their claim.· What
10·   ·   ·   ·sent, none include which state law applies?          10·   ·   ·   ·denial letter would they get, what form?
11·   ·   ·   · · · · · · MR. MERRITT:· Objection:· Speculative.    11·   ·   ·   · · · A· · ·You know, I -- I -- I don't know off
12·   ·   ·   · · · · · · MS. O'GRADY:· I don't think that's        12·   ·   ·   ·the top of my head.· I don't -- I don't know.
13·   ·   ·   ·speculative, and I would like to know if the         13·   ·   ·   · · · Q· · ·Okay.· We're going to look at the next
14·   ·   ·   ·witness would be surprised to learn that.            14·   ·   ·   ·exhibit which is file name ECF number 129-1,
15·   ·   ·   · · · · · · MR. MERRITT:· She stated her -- that      15·   ·   ·   ·Connor Declaration, Plaintiffs' Motion to Enforce.
16·   ·   ·   ·show doesn't have the files before her for each      16·   ·   ·   · · · · · · (Jones Deposition Exhibit 14 was marked
17·   ·   ·   ·and every application.                               17·   ·   ·   ·for identification and attached to the
18·   ·   ·   · · · · · · MS. O'GRADY:· No, but I'm not asking      18·   ·   ·   ·transcript.)
19·   ·   ·   ·her to look at each and every application.· I want   19·   ·   ·   · · · · · · THE WITNESS:· All right.· Okay.· I have
20·   ·   ·   ·to know if that would be a surprise.                 20·   ·   ·   ·it open.
21·   ·   ·   · · · · · · MR. MERRITT:· Go ahead.                   21·   ·   ·   · · · BY MS. O'GRADY:
22·   ·   ·   · · · · · · THE WITNESS:· It would -- you know, I'd   22·   ·   ·   · · · Q· · ·Okay.· So this is kind of a bulky
23·   ·   ·   ·have to know more of the specifics.                  23·   ·   ·   ·document and I can -- it is a document that was
24·   ·   ·   · · · BY MS. O'GRADY:                                 24·   ·   ·   ·submitted to the court that includes an affidavit
25·   ·   ·   · · · Q· · ·But again, going back to the template     25·   ·   ·   ·from another one of the named plaintiffs.· And

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·1·   ·   ·   ·of form D, the intention of form D was to tell       ·1·   ·   ·   ·like the previous one we just looked at, I'd like
·2·   ·   ·   ·borrowers what state law applied; right?             ·2·   ·   ·   ·to look at her denial letter.
·3·   ·   ·   · · · A· · ·That was the intent.                      ·3·   ·   ·   · · · · · · So if you scroll ahead, it's PDF
·4·   ·   ·   · · · Q· · ·And when you wrote in your declaration    ·4·   ·   ·   ·page 24 that that document begins.
·5·   ·   ·   ·that you were developing documents so that, quote,   ·5·   ·   ·   · · · A· · ·Okay.
·6·   ·   ·   ·borrowers would understand the basis for the         ·6·   ·   ·   · · · · · · MS. O'GRADY:· And, for the record, this
·7·   ·   ·   ·decision, part of that basis is which state law      ·7·   ·   ·   ·is Exhibit 15.· And the previous Daniel Deegan
·8·   ·   ·   ·would apply; right?                                  ·8·   ·   ·   ·affidavit that we just looked at is Exhibit 14.
·9·   ·   ·   · · · A· · ·If it -- if the state law is at this --   ·9·   ·   ·   · · · · · · (Jones Deposition Exhibit 15 was marked
10·   ·   ·   ·is the subject of the review and the decision,       10·   ·   ·   ·for identification and attached to the
11·   ·   ·   ·right.· If the state law is the source of the        11·   ·   ·   ·transcript.)
12·   ·   ·   ·determination.                                       12·   ·   ·   · · · BY MS. O'GRADY:
13·   ·   ·   · · · Q· · ·And other sources of determination        13·   ·   ·   · · · Q· · ·Okay.· It's actually page 27 of the PDF
14·   ·   ·   ·would be you don't have a loan not meeting those     14·   ·   ·   ·it begins.· I apologize.· So like Mr. Deegan's
15·   ·   ·   ·threshold requirements of even being adjudicated;    15·   ·   ·   ·that we just looked at, this is Ms. Sweet's
16·   ·   ·   ·correct?                                             16·   ·   ·   ·borrower defense application.· And the personal
17·   ·   ·   · · · A· · ·Or you provided no evidence.              17·   ·   ·   ·information is redacted, but nothing besides that.
18·   ·   ·   · · · Q· · ·Okay.· Let's -- on Mr. Deegan's denial,   18·   ·   ·   · · · A· · ·(Witness reviews document.)
19·   ·   ·   ·let's go to PDF page 10, and it says there, Why      19·   ·   ·   · · · Q· · ·And if you can take a -- take a look at
20·   ·   ·   ·was my application determined to be ineligible.      20·   ·   ·   ·the information she provides, she provides
21·   ·   ·   · · · · · · And it says, Ed reviewed your borrower    21·   ·   ·   ·narrative information about her experience at
22·   ·   ·   ·defense claims based on any evidence submitted by    22·   ·   ·   ·Brooks.
23·   ·   ·   ·you in support of your application, your loan data   23·   ·   ·   · · · A· · ·And, so, I'm recused from -- from any
24·   ·   ·   ·from National Student Loan Data System and           24·   ·   ·   ·matter -- I have voluntarily recused myself from
25·   ·   ·   ·evidence provided by other borrowers.                25·   ·   ·   ·any matter pertaining to a school that was owned


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·1·   ·   ·   ·or operated by Career Education Corporation, so      ·1·   ·   ·   ·with the name of an institution -- and, in fact,
·2·   ·   ·   ·I'm recused from this one.                           ·2·   ·   ·   ·that includes -- you know, I have asked Mark to
·3·   ·   ·   · · · Q· · ·Okay.· So how does that affect your --    ·3·   ·   ·   ·mask the names, right, so I don't -- I don't get
·4·   ·   ·   ·how does that affect your role more generally?       ·4·   ·   ·   ·statistics that would delineate the CEC schools or
·5·   ·   ·   · · · A· · ·I don't review -- I don't review -- I     ·5·   ·   ·   ·outcomes.
·6·   ·   ·   ·don't make determinations, so --                     ·6·   ·   ·   · · · Q· · ·So he -- he you ask Mark to mask the
·7·   ·   ·   · · · Q· · ·Okay.· You had a role in reviewing the    ·7·   ·   ·   ·names when you receive, you know, like a list of
·8·   ·   ·   ·borrower defense denial templates we just looked     ·8·   ·   ·   ·pending applications so you don't know how many
·9·   ·   ·   ·at, though; correct?                                 ·9·   ·   ·   ·are from CEC schools?
10·   ·   ·   · · · A· · ·Yeah, the generic template.               10·   ·   ·   · · · A· · ·Correct.· He sent -- after he sent the
11·   ·   ·   · · · Q· · ·And some of those do go out to students   11·   ·   ·   ·first one, I sent an email back saying please
12·   ·   ·   ·who attended the ECC schools?                        12·   ·   ·   ·don't send me a list with the names of schools.
13·   ·   ·   · · · A· · ·That's not how the recusal process        13·   ·   ·   · · · Q· · ·So I want to understand how this works.
14·   ·   ·   ·works.· The recusal process at the Department of     14·   ·   ·   ·So he'll redact out all the names of all the
15·   ·   ·   ·Ed is based on particular matters for a particular   15·   ·   ·   ·schools, then, or else you'd know that it was CEC;
16·   ·   ·   ·institution.                                         16·   ·   ·   ·right?
17·   ·   ·   · · · Q· · ·How long has this voluntary recusal       17·   ·   ·   · · · A· · ·He's just stopped sending me the list
18·   ·   ·   ·been in place?                                       18·   ·   ·   ·with the school names.
19·   ·   ·   · · · A· · ·I voluntarily recused myself from the     19·   ·   ·   · · · Q· · ·So you get a list but no school names,
20·   ·   ·   ·particular matters with the particular               20·   ·   ·   ·or you get no list?
21·   ·   ·   ·institutions related to CEC from the day I           21·   ·   ·   · · · A· · ·I get the roll-up numbers.
22·   ·   ·   ·returned to the department.                          22·   ·   ·   · · · Q· · ·Okay.· So how else does this voluntary
23·   ·   ·   · · · Q· · ·And is there documentation of the         23·   ·   ·   ·recusal affect -- affect your role?
24·   ·   ·   ·recusal?                                             24·   ·   ·   · · · · · · MR. MERRITT:· Objection.· She's
25·   ·   ·   · · · A· · ·Our -- our ethics -- I'm sure our         25·   ·   ·   ·explained the basis of the recusal, and at this

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·1·   ·   ·   ·ethics officer would have that.· I mean --           ·1·   ·   ·   ·point it's getting beyond the scope of what the
·2·   ·   ·   · · · Q· · ·And how -- so how -- how broad is it?     ·2·   ·   ·   ·court ordered.
·3·   ·   ·   ·I mean, you're recusing yourself from reviewing      ·3·   ·   ·   · · · BY MS. O'GRADY:
·4·   ·   ·   ·this denial letter for a Brooks student.             ·4·   ·   ·   · · · Q· · ·Well, I want to understand if this
·5·   ·   ·   · · · A· · ·Right.· I would not --                    ·5·   ·   ·   ·recusal affects in any way your decision to sign
·6·   ·   ·   · · · Q· · ·How else would it affect your job?        ·6·   ·   ·   ·off on -- or decision to sign off or not sign off
·7·   ·   ·   · · · A· · ·I would not make -- I would not issue a   ·7·   ·   ·   ·on decisions.
·8·   ·   ·   ·decision on any matter regarding an institution      ·8·   ·   ·   · · · · · · We talked a lot about the decision not
·9·   ·   ·   ·owned and operated by CEC.                           ·9·   ·   ·   ·to send denials.· I want to understand the full
10·   ·   ·   · · · Q· · ·So can you explain further what that --   10·   ·   ·   ·scope of it.
11·   ·   ·   ·what that means operationally for your               11·   ·   ·   · · · · · · MR. MERRITT:· She's answered the
12·   ·   ·   ·policy-making role or any kind of review that you    12·   ·   ·   ·question.
13·   ·   ·   ·do of -- of policies that might affect CEC?          13·   ·   ·   · · · BY MS. O'GRADY:
14·   ·   ·   · · · A· · ·That's not how recusals work.· Recusals   14·   ·   ·   · · · Q· · ·Okay.· So nothing else to add?
15·   ·   ·   ·are not -- I mean, you know, I worked at Princeton   15·   ·   ·   · · · A· · ·(Witness shakes head.)
16·   ·   ·   ·and Community College of Baltimore County. I         16·   ·   ·   · · · Q· · ·Okay.· When you were developing your
17·   ·   ·   ·don't -- you know, my recusal doesn't mean that I    17·   ·   ·   ·partial -- working on developing the partial
18·   ·   ·   ·can't look at any matter that might have an impact   18·   ·   ·   ·relief methodology that went into effect in
19·   ·   ·   ·on Ivy League colleges.· It's particular.            19·   ·   ·   ·December 2019, was that -- did you consider CEC
20·   ·   ·   · · · · · · So anything -- so in particular, I        20·   ·   ·   ·schools during that, or were you also --
21·   ·   ·   ·would not look at something about a student who      21·   ·   ·   · · · A· · ·There were no -- there were no data on
22·   ·   ·   ·attended Brooks Institute.· I mean, first of all,    22·   ·   ·   ·CEC schools, no.· We looked at the methodology
23·   ·   ·   ·I wouldn't look at these anyway because I don't      23·   ·   ·   ·based on the data available, which at that point
24·   ·   ·   ·adjudicate the decisions.· I don't review the        24·   ·   ·   ·in time was Corinthian and ITT.
25·   ·   ·   ·decisions.· But as a practice, anything that comes   25·   ·   ·   · · · Q· · ·And no -- and no other schools?


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·1·   ·   ·   · · · A· · ·No other schools had data available       ·1·   ·   ·   ·that relies on earnings data, and the data tables
·2·   ·   ·   ·when we --                                           ·2·   ·   ·   ·under which I -- I and the team developed the 2019
·3·   ·   ·   · · · Q· · ·So if there were no other schools of      ·3·   ·   ·   ·methodology, the data tables had been developed
·4·   ·   ·   ·data available, how was that methodology going to    ·4·   ·   ·   ·only for Corinthian and ITT.
·5·   ·   ·   ·be used for schools other than Corinthian and ITT?   ·5·   ·   ·   · · · Q· · ·Okay.· So if we can go back to your
·6·   ·   ·   · · · A· · ·By methodology, what I mean is the        ·6·   ·   ·   ·declaration, which is Exhibit 2?
·7·   ·   ·   ·methodology requires earnings tables to be           ·7·   ·   ·   · · · A· · ·Okay.
·8·   ·   ·   ·developed, and at the time that we were developing   ·8·   ·   ·   · · · Q· · ·And this is when you say that the
·9·   ·   ·   ·the methodologies, the FSA team had earnings         ·9·   ·   ·   ·department has had to address a number of
10·   ·   ·   ·tables only for Corinthian and ITT.                  10·   ·   ·   ·challenges in developing a new methodology
11·   ·   ·   · · · Q· · ·And why is that?                          11·   ·   ·   ·including identification of an accurate, reliable
12·   ·   ·   · · · A· · ·Because it takes time --                  12·   ·   ·   ·and accessible source of earnings data that would
13·   ·   ·   · · · · · · MR. MERRITT:· Objection to the scope of   13·   ·   ·   ·not raise concerns about privacy.
14·   ·   ·   ·the questioning.                                     14·   ·   ·   · · · A· · ·Yes.
15·   ·   ·   · · · BY MS. O'GRADY:                                 15·   ·   ·   · · · Q· · ·So were you able to identify that
16·   ·   ·   · · · Q· · ·Well, I -- I am going back a couple of    16·   ·   ·   ·source of earnings data?
17·   ·   ·   ·topics, but I do want to understand that the         17·   ·   ·   · · · A· · ·Ultimately, yes.
18·   ·   ·   ·partial relief methodology that was -- that was --   18·   ·   ·   · · · Q· · ·And when did that identification
19·   ·   ·   ·you've testified you were not able to use because    19·   ·   ·   ·process begin?
20·   ·   ·   ·of the Calvillo Manriquez injunction was for all     20·   ·   ·   · · · A· · ·I can't remember the exact timeline.
21·   ·   ·   ·schools, not just CCI and Corinthian; correct?       21·   ·   ·   ·The college developed the college scorecard, and
22·   ·   ·   · · · · · · MR. MERRITT:· Objection.· It calls for    22·   ·   ·   ·in that process was able to get earnings data from
23·   ·   ·   ·speculation.                                         23·   ·   ·   ·the IRS.· And, so, once that had happened, we
24·   ·   ·   · · · · · · Go ahead, Diane.                          24·   ·   ·   ·identified that as a potential data source because
25·   ·   ·   · · · · · · THE WITNESS:· You keep mixing the 2017    25·   ·   ·   ·it was being published in the college scorecard.

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·1·   ·   ·   ·and the 2019 methodology.· I wasn't involved in      ·1·   ·   ·   · · · Q· · ·But you recused yourself from looking
·2·   ·   ·   ·the 2017 methodology, so I don't know what they      ·2·   ·   ·   ·at the data for CEC schools?
·3·   ·   ·   ·looked at or -- I wasn't --                          ·3·   ·   ·   · · · A· · ·There was no data for CEC schools.
·4·   ·   ·   · · · BY MS. O'GRADY:                                 ·4·   ·   ·   · · · Q· · ·What do you mean there was no data for
·5·   ·   ·   · · · Q· · ·But you were involved in the -- the not   ·5·   ·   ·   ·CEC schools?
·6·   ·   ·   ·being able to apply it because it was enjoined. I    ·6·   ·   ·   · · · A· · ·If you're talking about the development
·7·   ·   ·   ·mean, that was -- that happened during your          ·7·   ·   ·   ·of the methodology, there were no data tables on
·8·   ·   ·   ·tenure, the --                                       ·8·   ·   ·   ·earnings for CEC schools.
·9·   ·   ·   · · · A· · ·But it wasn't my decision.                ·9·   ·   ·   · · · Q· · ·Why?
10·   ·   ·   · · · Q· · ·Right.· But you testified that that's     10·   ·   ·   · · · A· · ·Because they hadn't gotten to it yet.
11·   ·   ·   ·why -- I mean, before Congress and in your           11·   ·   ·   · · · Q· · ·They just hadn't gotten to it yet?
12·   ·   ·   ·declaration you explained.· I'm asking you about     12·   ·   ·   · · · A· · ·They just hadn't gotten to it.
13·   ·   ·   ·it because you said, you know, we were not going     13·   ·   ·   · · · Q· · ·Because it was delayed or they just --
14·   ·   ·   ·to apply that methodology because it was enjoined    14·   ·   ·   ·they had a list of schools they just hadn't gotten
15·   ·   ·   ·by the Calvillo Manriquez court?                     15·   ·   ·   ·there?
16·   ·   ·   · · · A· · ·That was the decision that the            16·   ·   ·   · · · A· · ·I think you don't understand how
17·   ·   ·   ·department had made.· Yes, the methodology was       17·   ·   ·   ·complicated it is to make these data tables.
18·   ·   ·   ·enjoined and until the court issued a final          18·   ·   ·   · · · Q· · ·What was the order of schools to make
19·   ·   ·   ·bulleting, yeah, it was enjoined.                    19·   ·   ·   ·the data tables for?· Was there a priority of
20·   ·   ·   · · · Q· · ·Okay.· It wasn't because you didn't       20·   ·   ·   ·schools?
21·   ·   ·   ·have data for other schools; it was because it was   21·   ·   ·   · · · A· · ·Yes, Corinthian and then --
22·   ·   ·   ·enjoined?                                            22·   ·   ·   · · · Q· · ·Corinthian and then ITT?
23·   ·   ·   · · · A· · ·So on the 2017 methodology, yes.· You     23·   ·   ·   · · · A· · ·Yes.
24·   ·   ·   ·were asking me about the 2019 methodology that I     24·   ·   ·   · · · Q· · ·And then, was the order of schools
25·   ·   ·   ·was developing, and what I'm telling you there is    25·   ·   ·   ·based on how many borrower defense applications


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·1·   ·   ·   ·had been filed against that school?                  ·1·   ·   ·   · · · A· · ·I don't really have an expectation, and
·2·   ·   ·   · · · A· · ·That wasn't my decision to make.· Other   ·2·   ·   ·   ·it's all a matter of timing.
·3·   ·   ·   ·than Corinthian and ITT, it was up to the borrower   ·3·   ·   ·   · · · Q· · ·What do you mean by that?
·4·   ·   ·   ·defense unit to determine how they were going to     ·4·   ·   ·   · · · A· · ·I mean, I don't suspect they're going
·5·   ·   ·   ·move through the remaining schools.                  ·5·   ·   ·   ·to have data tables for every school by
·6·   ·   ·   · · · Q· · ·Okay.· At this point, have they moved     ·6·   ·   ·   ·January 20th.
·7·   ·   ·   ·through those remaining schools?                     ·7·   ·   ·   · · · Q· · ·Yeah.
·8·   ·   ·   · · · A· · ·I don't know.                             ·8·   ·   ·   · · · · · · And that is the end of your tenure, you
·9·   ·   ·   · · · Q· · ·So it's possible that there are groups    ·9·   ·   ·   ·suspect?
10·   ·   ·   ·of schools for which step-two determinations are     10·   ·   ·   · · · A· · ·I suspect.
11·   ·   ·   ·still not possible because the earnings data         11·   ·   ·   · · · Q· · ·And who is sending you the data?· Is
12·   ·   ·   ·haven't been gathered yet?                           12·   ·   ·   ·that coming from FSA?
13·   ·   ·   · · · A· · ·It's possible.                            13·   ·   ·   · · · A· · ·Yes.
14·   ·   ·   · · · Q· · ·Do you know how many schools that might   14·   ·   ·   · · · Q· · ·Who specifically?
15·   ·   ·   ·be true for?                                         15·   ·   ·   · · · A· · ·It comes either from Mark Brown or it
16·   ·   ·   · · · A· · ·To my knowledge, I've only seen one       16·   ·   ·   ·comes from Ian Foss.
17·   ·   ·   ·other earnings data table, so I don't -- I haven't   17·   ·   ·   · · · Q· · ·Okay.
18·   ·   ·   ·seen the complete set.· I've only seen one other     18·   ·   ·   · · · · · · MS. O'GRADY:· Can we take a five-minute
19·   ·   ·   ·earnings data table in the --                        19·   ·   ·   ·break?· Is that okay?
20·   ·   ·   · · · Q· · ·What's -- what's the one other you've     20·   ·   ·   · · · · · · MR. MERRITT:· Yes.
21·   ·   ·   ·seen?                                                21·   ·   ·   · · · · · · MS. O'GRADY:· We can all use one, I
22·   ·   ·   · · · A· · ·It was for a school group called EDMC.    22·   ·   ·   ·suspect.· Okay.· We'll be back here at 3:50, 3:51.
23·   ·   ·   · · · Q· · ·Okay.· So at this point, the only         23·   ·   ·   · · · · · · THE VIDEOGRAPHER:· We are going off the
24·   ·   ·   ·schools you know for sure can have step-two          24·   ·   ·   ·record.· The time is 20:46 UTC time.
25·   ·   ·   ·determinations made for them are Corinthian, ITT     25·   ·   ·   · · · · · · (Recess -- 3:46 p.m.)

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·1·   ·   ·   ·and EDMC schools?                                    ·1·   ·   ·   · · · · · · (After recess -- 3:56 p.m.)
·2·   ·   ·   · · · A· · ·Those are the only schools for whom       ·2·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Okay.· We're now
·3·   ·   ·   ·I've seen data tables.· It could be they have them   ·3·   ·   ·   ·back on the record.· The time is 20:56 UTC time.
·4·   ·   ·   ·for other schools and they haven't shared them       ·4·   ·   ·   · · · BY MS. O'GRADY:
·5·   ·   ·   ·with me.                                             ·5·   ·   ·   · · · Q· · ·Okay.· Ms. Jones, I'm wondering if in
·6·   ·   ·   · · · Q· · ·Okay.· Is that likely that you wouldn't   ·6·   ·   ·   ·your time at the Department of Ed you've been
·7·   ·   ·   ·see them if they existed?                            ·7·   ·   ·   ·involved in discussions about the sale of the loan
·8·   ·   ·   · · · A· · ·I certainly wouldn't see it if it         ·8·   ·   ·   ·portfolio.
·9·   ·   ·   ·existed for a CEC school.                            ·9·   ·   ·   · · · A· · ·I'm -- I'm sorry.· Could you -- I'm not
10·   ·   ·   · · · Q· · ·Okay.· But other schools you would?       10·   ·   ·   ·sure what you're asking me.
11·   ·   ·   · · · A· · ·Potentially.                              11·   ·   ·   · · · Q· · ·Have you been involved in any
12·   ·   ·   · · · Q· · ·How did you come upon seeing the EDMC     12·   ·   ·   ·discussions about the overall valuation of the
13·   ·   ·   ·data?                                                13·   ·   ·   ·loan portfolio?
14·   ·   ·   · · · A· · ·I can't remember.· I can't remember       14·   ·   ·   · · · A· · ·I have been involved in conversations
15·   ·   ·   ·if -- if I saw it because I asked to see it or       15·   ·   ·   ·about the valuation, but that's not the sale of
16·   ·   ·   ·whether it was sent to me because it was the next    16·   ·   ·   ·the portfolio.· That's the valuation of the
17·   ·   ·   ·school in line.· I -- I can't remember what          17·   ·   ·   ·portfolio.
18·   ·   ·   ·started the chain, but they -- they did send me      18·   ·   ·   · · · Q· · ·Right.
19·   ·   ·   ·the EDMC data table.                                 19·   ·   ·   · · · · · · And those conversations, what was --
20·   ·   ·   · · · Q· · ·Okay.· And after you sent -- and when     20·   ·   ·   ·what was the purpose of them?
21·   ·   ·   ·was -- when was that?                                21·   ·   ·   · · · · · · MR. MERRITT:· Objection: both scope and
22·   ·   ·   · · · A· · ·That was recently.                        22·   ·   ·   ·potentially calling for privileged information.
23·   ·   ·   · · · Q· · ·Okay.· And is it your expectation that    23·   ·   ·   · · · · · · MS. O'GRADY:· We can use a document as
24·   ·   ·   ·you'll be sent the data for other schools besides    24·   ·   ·   ·a starting off point if that would be easier.
25·   ·   ·   ·CEC?                                                 25·   ·   ·   · · · · · · Let's go to -- the document is -- the


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·1·   ·   ·   ·document title is Article, Trump administration      ·1·   ·   ·   ·of the witness to narrow the -- to try to, you
·2·   ·   ·   ·hires McKinsey to evaluate student-loan portfolio.   ·2·   ·   ·   ·know --
·3·   ·   ·   · · · · · · And let's mark this as Exhibit 16.        ·3·   ·   ·   · · · · · · MR. MERRITT:· I mean, I'm inclined to
·4·   ·   ·   · · · · · · (Jones Deposition Exhibit 16 was marked   ·4·   ·   ·   ·say this is all beyond the scope of the -- what's
·5·   ·   ·   ·for identification and attached to the               ·5·   ·   ·   ·been authorized.· I mean, if you think this is
·6·   ·   ·   ·transcript.)                                         ·6·   ·   ·   ·going to be a short line of questioning --
·7·   ·   ·   · · · BY MS. O'GRADY:                                 ·7·   ·   ·   · · · · · · MS. O'GRADY:· I can -- I can make it
·8·   ·   ·   · · · Q· · ·And have you seen this article?           ·8·   ·   ·   ·short.· Let me -- I'm going to ask --
·9·   ·   ·   · · · A· · ·No.                                       ·9·   ·   ·   · · · BY MS. O'GRADY:
10·   ·   ·   · · · Q· · ·Are you aware of McKinsey's analysis?     10·   ·   ·   · · · Q· · ·If I can ask you, Ms. Jones, in your
11·   ·   ·   · · · A· · ·Yes.                                      11·   ·   ·   ·policy role at the Department of Ed in evaluating
12·   ·   ·   · · · Q· · ·And is that what you're referring to,     12·   ·   ·   ·or in determining policy regarding borrower
13·   ·   ·   ·discussion about valuation?                          13·   ·   ·   ·defense, did you consider the valuation of the
14·   ·   ·   · · · A· · ·You know, I -- I think valuation is       14·   ·   ·   ·overall portfolio?
15·   ·   ·   ·probably the wrong word.· The determination was      15·   ·   ·   · · · A· · ·No.
16·   ·   ·   ·to, you know, correctly identify the level of risk   16·   ·   ·   · · · Q· · ·And is -- is the likelihood of
17·   ·   ·   ·in the portfolio, so I think -- I think valuation    17·   ·   ·   ·default -- has that been considered when you've
18·   ·   ·   ·is the wrong term.· But the idea is that we need     18·   ·   ·   ·had a policy role regarding borrower defense?
19·   ·   ·   ·to project what the cost of managing the loan        19·   ·   ·   · · · A· · ·Meaning?
20·   ·   ·   ·program and what the cost of the loan program with   20·   ·   ·   · · · Q· · ·The population of borrowers who filed
21·   ·   ·   ·gains are going to be to the taxpayer, and so this   21·   ·   ·   ·borrower defense claims, their likelihood of
22·   ·   ·   ·was a method to determine either the cost or the     22·   ·   ·   ·default, have you evaluated that in your position?
23·   ·   ·   ·source of revenue that the loan portfolio would be   23·   ·   ·   · · · A· · ·No.· I mean, I will say none of them
24·   ·   ·   ·to the taxpayer.                                     24·   ·   ·   ·are at risk of default because when they file a
25·   ·   ·   · · · Q· · ·And has a conclusion been reached?        25·   ·   ·   ·claim, they're in forbearance.· But, you know,

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·1·   ·   ·   · · · · · · MR. MERRITT:· Objection to scope.· I'm    ·1·   ·   ·   ·there is no analysis because they can't default
·2·   ·   ·   ·just going to ask what is the relevance to this      ·2·   ·   ·   ·while they're in forbearance.
·3·   ·   ·   ·line of questioning?                                 ·3·   ·   ·   · · · Q· · ·That's true.· I suppose I'm asking,
·4·   ·   ·   · · · · · · MS. O'GRADY:· I think discussions about   ·4·   ·   ·   ·though, you know, outside the forbearance granted
·5·   ·   ·   ·the valuation of the loan portfolio go into, you     ·5·   ·   ·   ·by having filed a borrower defense application, is
·6·   ·   ·   ·know, the reasons for policy handling borrower       ·6·   ·   ·   ·the population of borrowers who file borrower
·7·   ·   ·   ·defense claims, whether or not there's a concern     ·7·   ·   ·   ·defense applications their likelihood of default
·8·   ·   ·   ·about the cost of granting those claims and the      ·8·   ·   ·   ·once they are denied and back in repayment, has
·9·   ·   ·   ·reasons for delaying decisions.                      ·9·   ·   ·   ·that been a consideration that you've taken into
10·   ·   ·   · · · · · · MR. MERRITT:· I don't think that goes     10·   ·   ·   ·account in your role?
11·   ·   ·   ·to the extent to which the difficulty of reviewing   11·   ·   ·   · · · A· · ·No.
12·   ·   ·   ·borrower defense applications actually caused or     12·   ·   ·   · · · · · · MS. O'GRADY:· Okay.· The next -- the
13·   ·   ·   ·justified the Secretary's 18-month delay.            13·   ·   ·   ·next document is in the folder as Article, DeVos
14·   ·   ·   · · · · · · MS. O'GRADY:· Well, I think it goes to,   14·   ·   ·   ·orders partial loan relief.· And this I'm going to
15·   ·   ·   ·you know, the -- the loan portfolio includes         15·   ·   ·   ·mark as Exhibit 17 to this deposition.
16·   ·   ·   ·claims that are borrower defense claims, so the      16·   ·   ·   · · · · · · (Jones Deposition Exhibit 17 was marked
17·   ·   ·   ·decision on those borrower defense claims affects    17·   ·   ·   ·for identification and attached to the
18·   ·   ·   ·the valuation of the portfolio and vice versa. I     18·   ·   ·   ·transcript.)
19·   ·   ·   ·think those policies are intertwined.                19·   ·   ·   · · · BY MS. O'GRADY:
20·   ·   ·   · · · · · · MR. MERRITT:· But that's not a topic      20·   ·   ·   · · · Q· · ·This is an article from December 6th,
21·   ·   ·   ·the court authorized discovery on.                   21·   ·   ·   ·2019.· And have you seen this article before?
22·   ·   ·   · · · · · · MS. O'GRADY:· The policy of Brown's       22·   ·   ·   · · · A· · ·Probably.
23·   ·   ·   ·cancellation of student debt and cancellation of     23·   ·   ·   · · · Q· · ·Okay.· Okay.· And then in the middle of
24·   ·   ·   ·loans based on borrower defense applications,        24·   ·   ·   ·this second page it says, DeVos in recent weeks
25·   ·   ·   ·specifically -- I mean, can I ask a few questions    25·   ·   ·   ·directed the Education Department to carry out a


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·1·   ·   ·   ·new policy that will provide partial loan            ·1·   ·   ·   ·articles.· I'm not really sure -- yeah, I mean,
·2·   ·   ·   ·forgiveness to many borrowers whom the agency        ·2·   ·   ·   ·it's another POLITICO story.· I don't know -- I
·3·   ·   ·   ·determines were duped or cheated by their            ·3·   ·   ·   ·don't know how to answer the question.
·4·   ·   ·   ·colleges, according to an internal memo obtained     ·4·   ·   ·   · · · Q· · ·Okay.· So do you recall -- if Secretary
·5·   ·   ·   ·by POLITICO.                                         ·5·   ·   ·   ·DeVos sent a memo in November 2019 that directed
·6·   ·   ·   · · · · · · Is this referring to the -- the partial   ·6·   ·   ·   ·the Education Department to carry out a new policy
·7·   ·   ·   ·relief methodology that went into effect in          ·7·   ·   ·   ·that would provide partial loan forgiveness, you
·8·   ·   ·   ·December of 2019 that we've been discussing today?   ·8·   ·   ·   ·would have seen such a memo; right?
·9·   ·   ·   · · · · · · MR. MERRITT:· Objection: speculative.     ·9·   ·   ·   · · · A· · ·Yes.
10·   ·   ·   · · · · · · MS. O'GRADY:· How so?                     10·   ·   ·   · · · Q· · ·And as far as you know, there was no
11·   ·   ·   · · · · · · MR. MERRITT:· Well, I mean, you're        11·   ·   ·   ·other policy in December 2019 that she would have
12·   ·   ·   ·asking her to state what the intent of the           12·   ·   ·   ·been circulating a memo about besides the one
13·   ·   ·   ·article -- the POLITICO article was.                 13·   ·   ·   ·we've been discussing today that was the partial
14·   ·   ·   · · · BY MS. O'GRADY:                                 14·   ·   ·   ·relief policy that went into effect in December of
15·   ·   ·   · · · Q· · ·Well, is there -- besides the partial     15·   ·   ·   ·2019; right?
16·   ·   ·   ·relief methodology that went into effect in          16·   ·   ·   · · · A· · ·I -- I don't believe there were other
17·   ·   ·   ·December of 2019 that we've discussed today, was     17·   ·   ·   ·memos.
18·   ·   ·   ·there another new policy that Secretary DeVos        18·   ·   ·   · · · Q· · ·Okay.· And then if we go to PDF page 5
19·   ·   ·   ·directed the Education Department to carry out in    19·   ·   ·   ·of this article -- actually, I'm sorry, Ms. Jones.
20·   ·   ·   ·December 2019?                                       20·   ·   ·   ·Let's just -- I want to just stay actually on this
21·   ·   ·   · · · · · · MR. MERRITT:· You can answer the          21·   ·   ·   ·first page for a moment.
22·   ·   ·   ·question.                                            22·   ·   ·   · · · A· · ·Uh-huh.
23·   ·   ·   · · · · · · THE WITNESS:· Oh, okay.                   23·   ·   ·   · · · Q· · ·The bottom paragraph, it says that the
24·   ·   ·   · · · · · · I am not aware of another -- of a         24·   ·   ·   ·memo, quote, Instructs department officials to
25·   ·   ·   ·different methodology or a different policy.         25·   ·   ·   ·resume issuing decisions on some of the roughly

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·1·   ·   ·   · · · BY MS. O'GRADY:                                 ·1·   ·   ·   ·225,000 [verbatim] pending applications filed by
·2·   ·   ·   · · · Q· · ·Okay.· The next paragraph, The memo,      ·2·   ·   ·   ·borrowers seeking debt relief based on their
·3·   ·   ·   ·which was signed by DeVos in mid-November and        ·3·   ·   ·   ·colleges' alleged misconduct.
·4·   ·   ·   ·hasn't been reported previously, have you seen       ·4·   ·   ·   · · · · · · Do you recall a memo instructing
·5·   ·   ·   ·that memorandum?                                     ·5·   ·   ·   ·department officials to resume issuing decisions?
·6·   ·   ·   · · · · · · MS. O'GRADY:· Objection, again -- I       ·6·   ·   ·   · · · A· · ·Yes.· I don't know if that's the memo
·7·   ·   ·   ·mean, it's speculative.                              ·7·   ·   ·   ·that Michael Stratford is referring to, but, yes,
·8·   ·   ·   · · · BY MS. O'GRADY:                                 ·8·   ·   ·   ·I have.
·9·   ·   ·   · · · Q· · ·Okay.· Ms. Jones, have you seen any       ·9·   ·   ·   · · · Q· · ·Okay.· You've seen a memo like that?
10·   ·   ·   ·memorandum --                                        10·   ·   ·   · · · A· · ·Yes.
11·   ·   ·   · · · · · · MR. MERRITT:· You can answer.             11·   ·   ·   · · · · · · MS. O'GRADY:· Okay.· I would just say
12·   ·   ·   · · · BY MS. O'GRADY:                                 12·   ·   ·   ·to counsel, I don't believe we have that memo and
13·   ·   ·   · · · Q· · ·-- signed by DeVos in mid-November        13·   ·   ·   ·we would like it produced.
14·   ·   ·   ·regarding this subject matter?                       14·   ·   ·   · · · · · · MR. MERRITT:· Okay.
15·   ·   ·   · · · A· · ·I want to be clear.· Are you asking me    15·   ·   ·   · · · BY MS. O'GRADY:
16·   ·   ·   ·if I have seen a memo -- asking if I have seen a     16·   ·   ·   · · · Q· · ·Ms. Jones, what was -- what do you
17·   ·   ·   ·memo --                                              17·   ·   ·   ·remember about the content of that -- of that memo
18·   ·   ·   · · · Q· · ·So this part of the article is            18·   ·   ·   ·instructing officials to resume issuing decisions?
19·   ·   ·   ·discussing a memo signed by Betsy DeVos in           19·   ·   ·   · · · A· · ·All right.· I recall that it described
20·   ·   ·   ·mid-November to carry out a new policy that would    20·   ·   ·   ·the methodology.· It -- it described options that
21·   ·   ·   ·provide partial loan forgiveness.                    21·   ·   ·   ·the team had come up with and it included a
22·   ·   ·   · · · · · · I'm just wondering if that -- if you've   22·   ·   ·   ·recommendation for the option that the group found
23·   ·   ·   ·seen such a memo.                                    23·   ·   ·   ·to be the most scientifically rigorous, defensible
24·   ·   ·   · · · A· · ·I mean, again, you know, I don't -- I     24·   ·   ·   ·methodology.
25·   ·   ·   ·don't know -- Michael Stratford writes lots of       25·   ·   ·   · · · Q· · ·And when you say "group," what group


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·1·   ·   ·   ·are you referring to?                                ·1·   ·   ·   ·a memo.· It did lay out the options.· It included
·2·   ·   ·   · · · A· · ·This is the group I told you about        ·2·   ·   ·   ·the recommendations --
·3·   ·   ·   ·earlier that was primarily my -- myself, Michael     ·3·   ·   ·   · · · Q· · ·Okay.
·4·   ·   ·   ·Brickman from my office, Ian Foss.· I think by       ·4·   ·   ·   · · · A· · ·-- as it was prepared by Mark, myself
·5·   ·   ·   ·this time Jeff Appel had died, so I think he was     ·5·   ·   ·   ·and our teams.
·6·   ·   ·   ·no longer involved.· Or, actually, he might not      ·6·   ·   ·   · · · · · · MR. MERRITT:· And, Diane, if you need
·7·   ·   ·   ·have died yet, but in think he was maybe in the      ·7·   ·   ·   ·to read the whole article, please take the time to
·8·   ·   ·   ·hospital.· I can't remember the timeline.            ·8·   ·   ·   ·do that.
·9·   ·   ·   · · · · · · And then there were various               ·9·   ·   ·   · · · · · · MS. O'GRADY:· Counsel, I will just say
10·   ·   ·   ·representatives of the Office of General Counsel.    10·   ·   ·   ·I don't believe we have this memo.· To the extent
11·   ·   ·   · · · Q· · ·Okay.                                     11·   ·   ·   ·it is the same or differently from the one we just
12·   ·   ·   · · · A· · ·And potentially Robin Minor and other     12·   ·   ·   ·addressed, I ask that it be produced.
13·   ·   ·   ·FSA staff, you know, they came in and out.           13·   ·   ·   · · · · · · MR. MERRITT:· Noted.
14·   ·   ·   · · · Q· · ·And to the extent the memo instructs      14·   ·   ·   · · · BY MS. O'GRADY:
15·   ·   ·   ·department officials to resume issuing decisions,    15·   ·   ·   · · · Q· · ·So, Ms. Jones, in the next paragraph
16·   ·   ·   ·what officials would that have been instructing?     16·   ·   ·   ·that we just looked at, it says, The memo says the
17·   ·   ·   · · · A· · ·FSA.                                      17·   ·   ·   ·department believes that it should determine that
18·   ·   ·   · · · Q· · ·FSA officials, so that's Colleen Nevin?   18·   ·   ·   ·a defrauded borrower was harmed financially by a
19·   ·   ·   · · · A· · ·The BD team, I mean Mark --               19·   ·   ·   ·college's misconduct, quote, only when the
20·   ·   ·   · · · Q· · ·Okay.                                     20·   ·   ·   ·earnings imputed to the borrower are significantly
21·   ·   ·   · · · A· · ·-- and whoever his team was.              21·   ·   ·   ·different than the median wages of other borrowers
22·   ·   ·   · · · Q· · ·Okay.· And implicit in an instruction     22·   ·   ·   ·who attended similar programs across the country.
23·   ·   ·   ·to resume issuing decisions is that the decisions    23·   ·   ·   · · · · · · I understand you can't check that
24·   ·   ·   ·have not been ongoing; correct?                      24·   ·   ·   ·quotation because you don't have the memo in front
25·   ·   ·   · · · A· · ·I -- I -- I think -- you know, again,     25·   ·   ·   ·of you, but is that statement generally accurate

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·1·   ·   ·   ·there were no notices being issued, but it is --     ·1·   ·   ·   ·to what the policy was?
·2·   ·   ·   ·it is my understanding that the unit was             ·2·   ·   ·   · · · A· · ·I'm -- I'm trying to find that place in
·3·   ·   ·   ·continuing to review data and claims.· So, you       ·3·   ·   ·   ·the --
·4·   ·   ·   ·know, again, I think we need to be careful about     ·4·   ·   ·   · · · Q· · ·Oh, my apologies.· So it's PDF page 5,
·5·   ·   ·   ·our terminology, but I think I've already said       ·5·   ·   ·   ·and it's the second full paragraph.
·6·   ·   ·   ·that, yes, the department made the decision to not   ·6·   ·   ·   · · · A· · ·I don't think we would have stated it
·7·   ·   ·   ·issue denials after the California court ruling.     ·7·   ·   ·   ·the way that it is stated in POLITICO, but it is
·8·   ·   ·   ·I think I said that a while ago.                     ·8·   ·   ·   ·true that we used earnings from -- as the
·9·   ·   ·   · · · Q· · ·Okay.· Let's go to PDF page 5 of this     ·9·   ·   ·   ·indicator of financial harm.
10·   ·   ·   ·article.· So the top paragraph here says, The        10·   ·   ·   · · · Q· · ·And the comparator of other programs,
11·   ·   ·   ·ten-page memo was prepared by Diane Auer Jones, a    11·   ·   ·   ·what -- how are -- how are comparator programs
12·   ·   ·   ·top advisor on education issues -- my apologies if   12·   ·   ·   ·identified?
13·   ·   ·   ·I did not pronounce your name correctly -- and       13·   ·   ·   · · · A· · ·This is something that federal student
14·   ·   ·   ·Mark Brown who leads the department's Office of      14·   ·   ·   ·aid does through the use of a Classification of
15·   ·   ·   ·Federal Student Aid.                                 15·   ·   ·   ·Instructional Program code, a CIP code.
16·   ·   ·   · · · · · · Is this correct that the memo that        16·   ·   ·   · · · Q· · ·I have a question regard -- not
17·   ·   ·   ·we're talking about was written by you or is this    17·   ·   ·   ·regarding this article, necessarily.· If a
18·   ·   ·   ·a different memo?                                    18·   ·   ·   ·step-one determination for a borrower's
19·   ·   ·   · · · A· · ·Again, you know, there is a memo that     19·   ·   ·   ·application is a grant, and then under the partial
20·   ·   ·   ·was prepared by Mark and myself and the teams, and   20·   ·   ·   ·relief methodology they are given 0 percent
21·   ·   ·   ·that memo laid out the options for the secretary.    21·   ·   ·   ·relief, is your understanding that is then an
22·   ·   ·   ·Whether or not that's the document Michael           22·   ·   ·   ·approval of a claim or a denial of a claim?
23·   ·   ·   ·Stratford is referring to, I do not know.· He        23·   ·   ·   · · · A· · ·We use a two-part process.· There is an
24·   ·   ·   ·doesn't leave a picture of the document.             24·   ·   ·   ·adjudication to determine the merit based on a
25·   ·   ·   · · · · · · But, yes, as I said earlier, there was    25·   ·   ·   ·review of the evidence, and then there is the


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·1·   ·   ·   ·second part which is described in the 2016           ·1·   ·   ·   ·provided or whether they would have grouped them
·2·   ·   ·   ·borrower defense reg.· It's a two-part test, I       ·2·   ·   ·   ·with denied.· You'd have to ask FSA.
·3·   ·   ·   ·should say, defined in the 2016 reg:· Did            ·3·   ·   ·   · · · BY MS. O'GRADY:
·4·   ·   ·   ·misrepresentation occur and was there reliance on    ·4·   ·   ·   · · · Q· · ·So in your role, you didn't provide any
·5·   ·   ·   ·that information and financial harm.                 ·5·   ·   ·   ·guidance about the 0 percent partial relief result
·6·   ·   ·   · · · · · · The attorneys in BD, you know, review     ·6·   ·   ·   ·being --
·7·   ·   ·   ·the evidence, and then the second part of that       ·7·   ·   ·   · · · A· · ·Not --
·8·   ·   ·   ·two-part test is this methodology which is used to   ·8·   ·   ·   · · · Q· · ·-- approval or denial?
·9·   ·   ·   ·determine financial harm.                            ·9·   ·   ·   · · · A· · ·No.
10·   ·   ·   · · · · · · Yes, that is the -- that two-step         10·   ·   ·   · · · Q· · ·Okay.· I'm going to go back to your
11·   ·   ·   ·process is described in the 2016 BD reg.             11·   ·   ·   ·declaration once again.· That's Exhibit 2.· And
12·   ·   ·   · · · Q· · ·So step one is misrepresentation plus     12·   ·   ·   ·we'll go to paragraph 24.
13·   ·   ·   ·reliance, and step two is financial harm?            13·   ·   ·   · · · A· · ·Okay.· Paragraph 24.
14·   ·   ·   · · · A· · ·Well, I know we've used step one and      14·   ·   ·   · · · Q· · ·And this is a topic we've touched on
15·   ·   ·   ·step two in a different context, I think, earlier.   15·   ·   ·   ·today already.· I want to hone in on the -- the
16·   ·   ·   · · · Q· · ·Is that a -- oh, was it in a different    16·   ·   ·   ·evidence.· Evidence submitted by the borrower or
17·   ·   ·   ·context?                                             17·   ·   ·   ·otherwise available to the department in
18·   ·   ·   · · · A· · ·I don't know.· I can't even remember.     18·   ·   ·   ·accordance with the applicable standard.
19·   ·   ·   ·But I would say that it is a two-part test.          19·   ·   ·   · · · · · · So that evidence includes information
20·   ·   ·   · · · Q· · ·Okay.· I just -- I want to understand     20·   ·   ·   ·from schools; correct?
21·   ·   ·   ·whether or not in your view if someone is -- their   21·   ·   ·   · · · A· · ·I don't adjudicate the claims, so you'd
22·   ·   ·   ·claim is adjudicated on the merits, which I'm        22·   ·   ·   ·have to ask Colleen.· I -- I --
23·   ·   ·   ·considering and you have in your declaration as      23·   ·   ·   · · · Q· · ·As a matter of policy when we were
24·   ·   ·   ·being a step-one determination, yes, their claim     24·   ·   ·   ·discussing the 2019 regulations, we discussed your
25·   ·   ·   ·has merit.                                           25·   ·   ·   ·belief that schools should be afforded due process

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·1·   ·   ·   · · · · · · But then they go to step two and based    ·1·   ·   ·   ·regarding these claims; right?
·2·   ·   ·   ·on the partial relief formula, they are given        ·2·   ·   ·   · · · A· · ·Uh-huh.
·3·   ·   ·   ·0 percent relief.                                    ·3·   ·   ·   · · · Q· · ·So as a policy matter, how are schools
·4·   ·   ·   · · · · · · Do you still consider that a -- an        ·4·   ·   ·   ·given the opportunity to present evidence?
·5·   ·   ·   ·approval of a borrower defense claim?                ·5·   ·   ·   · · · A· · ·You know, again, that's the 2019
·6·   ·   ·   · · · A· · ·I don't think we use the words            ·6·   ·   ·   ·regulation that applies to loans starting on
·7·   ·   ·   ·"approval".· I think we used the words "eligible"    ·7·   ·   ·   ·July 1, 2020.· I don't believe the borrower
·8·   ·   ·   ·or "ineligible" for a claim, and that borrower       ·8·   ·   ·   ·defense unit had started adjudicating claims that
·9·   ·   ·   ·would be notified that they received 0 percent       ·9·   ·   ·   ·came in on loans issued after July 1, 2020, so I
10·   ·   ·   ·relief.                                              10·   ·   ·   ·can't answer that question.
11·   ·   ·   · · · Q· · ·Well, on the -- let's say for example     11·   ·   ·   · · · Q· · ·So at this point, are schools given the
12·   ·   ·   ·on the pie chart in that PowerPoint we were          12·   ·   ·   ·opportunity to present evidence?
13·   ·   ·   ·looking at, which would be -- that's Exhibit 12 of   13·   ·   ·   · · · A· · ·I -- you mean on the Corinthian claims?
14·   ·   ·   ·this deposition, and the file is A09.· PDF page 2,   14·   ·   ·   · · · Q· · ·On any borrower defense application.
15·   ·   ·   ·here's the pie chart.· So approved -- the two        15·   ·   ·   · · · A· · ·Well, Corinthian and ITT are closed. I
16·   ·   ·   ·green ones, approved relief pending and approved     16·   ·   ·   ·don't think there's anybody who can respond on
17·   ·   ·   ·relief provided, if someone had a step-one           17·   ·   ·   ·behalf of the institution.
18·   ·   ·   ·determination that they were approved but they got   18·   ·   ·   · · · Q· · ·But under the -- there is -- I mean,
19·   ·   ·   ·0 percent, would they be in those green pies or      19·   ·   ·   ·there is -- we had discussed before that under the
20·   ·   ·   ·would they be in the denied pie slice?               20·   ·   ·   ·2016 regulations also there is an option, at
21·   ·   ·   · · · A· · ·Let me look at this table.                21·   ·   ·   ·least, to notice -- to give schools notice when
22·   ·   ·   · · · · · · MR. MERRITT:· Take your time, Diane.      22·   ·   ·   ·the borrower defense application has been filed;
23·   ·   ·   · · · · · · THE WITNESS:· (Reviews document.)         23·   ·   ·   ·correct?
24·   ·   ·   · · · · · · I don't know -- I don't know whether      24·   ·   ·   · · · A· · ·That's correct, but there has to be a
25·   ·   ·   ·FSA would have grouped them as approved relief       25·   ·   ·   ·school to notice.· And in the case of ITT and


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·1·   ·   ·   ·Corinthian, there is no school to notice.            ·1·   ·   ·   ·department adjudicating a claim and then notify --
·2·   ·   ·   · · · Q· · ·So what about the other schools that      ·2·   ·   ·   ·and then only after making a decision if they have
·3·   ·   ·   ·borrower defense applications have been filed for?   ·3·   ·   ·   ·given relief, then they can issue a demand to the
·4·   ·   ·   · · · A· · ·So to my knowledge, the borrower          ·4·   ·   ·   ·institution to provide certain documents, and that
·5·   ·   ·   ·defense unit has started notifying other             ·5·   ·   ·   ·is to determine whether or not the department can
·6·   ·   ·   ·institutions of pending claims, and it is            ·6·   ·   ·   ·recover financial losses from the school.
·7·   ·   ·   ·possible, you know, that those schools are           ·7·   ·   ·   · · · Q· · ·The first step is separated from the
·8·   ·   ·   ·providing information.                               ·8·   ·   ·   ·recovery of any financial losses; correct?
·9·   ·   ·   · · · Q· · ·And when you say "starting," do you       ·9·   ·   ·   · · · A· · ·That is -- yes, that is how the -- the
10·   ·   ·   ·mean that began recently?                            10·   ·   ·   ·regs -- those two things appear in two different
11·   ·   ·   · · · A· · ·Recently meaning sometime in the past     11·   ·   ·   ·sections, yes.
12·   ·   ·   ·year?· Yes.· Recently -- I can't remember exactly    12·   ·   ·   · · · Q· · ·Okay.· And that's your understanding of
13·   ·   ·   ·when it --                                           13·   ·   ·   ·the 2016 regulations?
14·   ·   ·   · · · Q· · ·Sometime in the past year?                14·   ·   ·   · · · A· · ·What is my understanding?
15·   ·   ·   · · · A· · ·Yeah.                                     15·   ·   ·   · · · Q· · ·What -- that's your understanding of
16·   ·   ·   · · · Q· · ·Have you -- has -- the time that          16·   ·   ·   ·it, what you just explained about the -- the
17·   ·   ·   ·notifying a school and awaiting a response for       17·   ·   ·   ·two-step process?
18·   ·   ·   ·them takes, has that factored into decisions about   18·   ·   ·   · · · A· · ·Right.· My -- my -- just to be clear,
19·   ·   ·   ·the -- you know, general policy in your role?        19·   ·   ·   ·my understanding is that they notify the
20·   ·   ·   · · · A· · ·No.                                       20·   ·   ·   ·institution.· The institution may or may not
21·   ·   ·   · · · Q· · ·Under the 2019 regulations when those     21·   ·   ·   ·submit.· The department issues the decision.· And
22·   ·   ·   ·were being crafted, did the -- did the amount of     22·   ·   ·   ·then if the department has forgiven the loan, step
23·   ·   ·   ·time to solicit and then consider information from   23·   ·   ·   ·two is then the department can demand evidence
24·   ·   ·   ·the school -- was that considered in drafting        24·   ·   ·   ·because this is when they would engage in
25·   ·   ·   ·those regulations?                                   25·   ·   ·   ·reclaiming the financial losses from the school.

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·1·   ·   ·   · · · · · · MR. MERRITT:· Objection: scope.· It's     ·1·   ·   ·   · · · Q· · ·Under the 2016 regulations, are
·2·   ·   ·   ·going to the merits of the 2019 regulation.          ·2·   ·   ·   ·students notified -- when a student's claim is
·3·   ·   ·   · · · · · · MS. O'GRADY:· I think what's in the       ·3·   ·   ·   ·denied, is the student notified of what evidence
·4·   ·   ·   ·2019 regulation affects the policy priorities of     ·4·   ·   ·   ·the school provided?
·5·   ·   ·   ·the department which are at issue in terms of why    ·5·   ·   ·   · · · A· · ·To my knowledge, that is not a
·6·   ·   ·   ·there is delay.                                      ·6·   ·   ·   ·requirement of the 2016 reg.· That is a
·7·   ·   ·   · · · · · · MR. MERRITT:· But are not at issue in     ·7·   ·   ·   ·requirement of the 2019 reg.· I said to my
·8·   ·   ·   ·that level of generality in the court's discovery    ·8·   ·   ·   ·recollection.· I meant to my recollection.
·9·   ·   ·   ·order.                                               ·9·   ·   ·   · · · · · · MS. O'GRADY:· Okay.· The next document
10·   ·   ·   · · · · · · MS. O'GRADY:· We have a disagreement      10·   ·   ·   ·is in the folder, Oversight committee press
11·   ·   ·   ·about that.                                          11·   ·   ·   ·release.· There are two files that begin with
12·   ·   ·   · · · BY MS. O'GRADY:                                 12·   ·   ·   ·oversight committee, so the first one we're going
13·   ·   ·   · · · Q· · ·I want to get at the difference between   13·   ·   ·   ·to look at is press release.
14·   ·   ·   ·the 2016 and 2019 regulations concerning notice to   14·   ·   ·   · · · · · · MR. MERRITT:· Counsel, for the record,
15·   ·   ·   ·schools.· In the 2019 regulations it is mandatory    15·   ·   ·   ·this is going to be Exhibit 18?
16·   ·   ·   ·that schools be noticed and given a chance to        16·   ·   ·   · · · · · · MS. O'GRADY:· Yes, thank you.· This
17·   ·   ·   ·submit evidence; is that right?                      17·   ·   ·   ·will be 18.
18·   ·   ·   · · · A· · ·It is mandatory that they be noticed.     18·   ·   ·   · · · · · · (Jones Deposition Exhibit 18 was marked
19·   ·   ·   ·It is not mandatory that the schools submit          19·   ·   ·   ·for identification and attached to the
20·   ·   ·   ·evidence.                                            20·   ·   ·   ·transcript.)
21·   ·   ·   · · · Q· · ·Under the 2016 regulations, what is       21·   ·   ·   · · · BY MS. O'GRADY:
22·   ·   ·   ·different about -- about the school's opportunity    22·   ·   ·   · · · Q· · ·Okay.· And, Ms. Jones, do you recognize
23·   ·   ·   ·to provide evidence?                                 23·   ·   ·   ·this document?
24·   ·   ·   · · · A· · ·So, under the 2016 regs, it is a          24·   ·   ·   · · · A· · ·I -- I've never read this before.· I've
25·   ·   ·   ·two-step process.· The 2016 reg anticipates the      25·   ·   ·   ·never seen this before.


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·1·   ·   ·   · · · Q· · ·All right.· Well, you can take a minute   ·1·   ·   ·   · · · A· · ·Some.
·2·   ·   ·   ·to familiarize yourself with it.· I can just state   ·2·   ·   ·   · · · Q· · ·And what were they?
·3·   ·   ·   ·what I know it to be which is a press release from   ·3·   ·   ·   · · · A· · ·Schools that say they would provide
·4·   ·   ·   ·the House Committee on Oversight and Reform on       ·4·   ·   ·   ·career placement services and career -- and career
·5·   ·   ·   ·October 27th, 2020, regarding the -- a Web tool      ·5·   ·   ·   ·services staff and then didn't; schools that said
·6·   ·   ·   ·for borrower defense.· So if you want to just take   ·6·   ·   ·   ·the program could be completed in a certain amount
·7·   ·   ·   ·a minute to flip through it, that would be fine.     ·7·   ·   ·   ·of time and then they didn't offer classes in
·8·   ·   ·   · · · A· · ·(Witness reviews document.)· Okay.        ·8·   ·   ·   ·certain semesters which forced the extension.
·9·   ·   ·   ·I've read it.                                        ·9·   ·   ·   · · · · · · And I'm paraphrasing here.· These
10·   ·   ·   · · · Q· · ·So are you familiar with the Web tool     10·   ·   ·   ·aren't my exact words.
11·   ·   ·   ·that this press release is discussing?               11·   ·   ·   · · · · · · Schools that lied to the accreditor or
12·   ·   ·   · · · A· · ·I am.                                     12·   ·   ·   ·other third parties about their rankings for
13·   ·   ·   · · · Q· · ·And this press release refers to          13·   ·   ·   ·selectivity; schools that misrepresented faculty
14·   ·   ·   ·allegations made by a whistleblower about you and    14·   ·   ·   ·credentials.
15·   ·   ·   ·the Web tool.                                        15·   ·   ·   · · · · · · Those are the ones I can think of off
16·   ·   ·   · · · · · · Are these accurate statements?            16·   ·   ·   ·the top of my head.
17·   ·   ·   · · · A· · ·Some are; some aren't.· I did not call    17·   ·   ·   · · · Q· · ·And those examples you just gave off
18·   ·   ·   ·for the tool to be stopped.· I did not know the      18·   ·   ·   ·the top of your head, are those examples of what
19·   ·   ·   ·development of the tool was stopped.· So             19·   ·   ·   ·you would consider, you know, valid borrower
20·   ·   ·   ·allegations that I called for the development of     20·   ·   ·   ·defense claims?
21·   ·   ·   ·the tool to be stopped are patently false.· And --   21·   ·   ·   · · · A· · ·So this form is to implement the 2019
22·   ·   ·   · · · Q· · ·And what were --                          22·   ·   ·   ·regulation, and, yes, those are -- those would
23·   ·   ·   · · · A· · ·But --                                    23·   ·   ·   ·constitute misrepresentation under the definition
24·   ·   ·   · · · Q· · ·Sorry.· Go on.                            24·   ·   ·   ·in the 2019 regulation.
25·   ·   ·   · · · A· · ·When you get to the part of the article   25·   ·   ·   · · · Q· · ·Okay.· Would they also constitute

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·1·   ·   ·   ·that quotes the contract official, what I learned    ·1·   ·   ·   ·misrepresentation under the definition of the 2016
·2·   ·   ·   ·after the fact -- this was information that I        ·2·   ·   ·   ·regulation?
·3·   ·   ·   ·learned recently -- I had no idea that the           ·3·   ·   ·   · · · A· · ·You know, I don't -- there are some
·4·   ·   ·   ·contract officer had made a change to the            ·4·   ·   ·   ·additional -- so I think there are some additional
·5·   ·   ·   ·contract.                                            ·5·   ·   ·   ·kinds of misrepresentation covered by the 2016 reg
·6·   ·   ·   · · · · · · But what happened is that the form is     ·6·   ·   ·   ·that would not be in that list.
·7·   ·   ·   ·linked to a -- a custom -- a customer --             ·7·   ·   ·   · · · Q· · ·Okay.· So there's a narrower subset of
·8·   ·   ·   ·Salesforce, customer management system, I guess.     ·8·   ·   ·   ·2019 than there would be for 2016?
·9·   ·   ·   · · · Q· · ·Okay.                                     ·9·   ·   ·   · · · A· · ·For example, breach of contract is
10·   ·   ·   · · · A· · ·And, so, the form is linked to the        10·   ·   ·   ·included in the 2016 reg and not in the 2019 reg.
11·   ·   ·   ·cus- -- yeah, to Salesforce, and what I didn't       11·   ·   ·   · · · Q· · ·Okay.· And your -- your goal with
12·   ·   ·   ·realize is in the development of the form, I did     12·   ·   ·   ·adding these additional explanations into the Web
13·   ·   ·   ·not believe -- I believed that more explanation      13·   ·   ·   ·site -- the Web tool was to provide more
14·   ·   ·   ·was required and additional examples of potential    14·   ·   ·   ·information about what's available under the 2019
15·   ·   ·   ·misrepresentation were required.· And I say to add   15·   ·   ·   ·regulation?
16·   ·   ·   ·those.                                               16·   ·   ·   · · · A· · ·That's correct.· It's a smart tool, and
17·   ·   ·   · · · Q· · ·Okay.· So can you -- can you explain      17·   ·   ·   ·so what happens is when the borrower applies, the
18·   ·   ·   ·more about that?· Why did you think that             18·   ·   ·   ·system identifies when they took their loan and
19·   ·   ·   ·additional examples of misrepresentations were       19·   ·   ·   ·then serves up the appropriate questions based on
20·   ·   ·   ·needed?                                              20·   ·   ·   ·what that borrower -- based on the regulation
21·   ·   ·   · · · A· · ·So that borrowers would understand --     21·   ·   ·   ·under which the claim would be adjudicated.
22·   ·   ·   ·have more examples of the kinds of things that       22·   ·   ·   · · · Q· · ·Okay.
23·   ·   ·   ·constitute misrepresentation.                        23·   ·   ·   · · · A· · ·It's a smart form.
24·   ·   ·   · · · Q· · ·Did you provide them with the examples    24·   ·   ·   · · · Q· · ·So if a borrower took out their
25·   ·   ·   ·that you thought would be appropriate to add?        25·   ·   ·   ·application before the 2017 cut-off date for the


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·1·   ·   ·   ·2016 regulations, then they would be -- excuse me,   ·1·   ·   ·   ·applicant under the state law standard.· I don't
·2·   ·   ·   ·not the 2017 cut-off date, the 2020 cut-off date     ·2·   ·   ·   ·know.· I don't know how the smart tool works for
·3·   ·   ·   ·for the 2019 regulations, they would get put into    ·3·   ·   ·   ·them.
·4·   ·   ·   ·the examples that you were adding that are fewer     ·4·   ·   ·   · · · Q· · ·So this Web tool, who developed it
·5·   ·   ·   ·than the examples for those under the 2016           ·5·   ·   ·   ·initially?
·6·   ·   ·   ·regulation?                                          ·6·   ·   ·   · · · · · · MR. MERRITT:· Object on scope.· I'm
·7·   ·   ·   · · · A· · ·Well, no, the list is -- we've expanded   ·7·   ·   ·   ·going to ask which topic is this -- all of this
·8·   ·   ·   ·the list for the 2019 regulation.                    ·8·   ·   ·   ·relevant to on the Web tool?
·9·   ·   ·   · · · Q· · ·So there are more claims available        ·9·   ·   ·   · · · · · · MS. O'GRADY:· I would say it's relevant
10·   ·   ·   ·under the 2019 regulation than under the 2016        10·   ·   ·   ·to the reasons for delay because the delay to the
11·   ·   ·   ·regulation?                                          11·   ·   ·   ·extent it's ongoing I think it's appropriate for
12·   ·   ·   · · · A· · ·There's more information about the        12·   ·   ·   ·the reasons for it currently.
13·   ·   ·   ·claims available.                                    13·   ·   ·   · · · · · · MR. MERRITT:· So that's not a topic.
14·   ·   ·   · · · Q· · ·Okay.· So for 2019, there are fewer       14·   ·   ·   ·The extent to which the difficulty of reviewing
15·   ·   ·   ·claims available but more information about them.    15·   ·   ·   ·borrower defense applications actually caused or
16·   ·   ·   ·And for the 2016, there are more claims available    16·   ·   ·   ·justified the 18-month delay that has now ended is
17·   ·   ·   ·but less information about them?                     17·   ·   ·   ·what the topic is, so I don't think that's --
18·   ·   ·   · · · A· · ·I don't know anything about the number    18·   ·   ·   · · · · · · MS. O'GRADY:· I think it's relevant to
19·   ·   ·   ·of claims.· I mean, that's to be determined.· But    19·   ·   ·   ·discuss, though, how they're currently being
20·   ·   ·   ·the definition of misrepresentation under the 2019   20·   ·   ·   ·reviewed since this is the -- the evolution of how
21·   ·   ·   ·reg does not include breach of contract, and the     21·   ·   ·   ·they were reviewed, the evolution of the denial
22·   ·   ·   ·definition of misrepresentation under the 2016       22·   ·   ·   ·notices, I would argue it's all part of the same
23·   ·   ·   ·rule does include breach of contract.                23·   ·   ·   ·story, or I'm trying to understand if it is, for
24·   ·   ·   · · · · · · What I'm talking about with regard to     24·   ·   ·   ·the reasons behind the developments that occurred
25·   ·   ·   ·the tool is giving more examples to borrowers of     25·   ·   ·   ·after the 18-month delay shed light on the reason

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·1·   ·   ·   ·the kinds of things that constitute                  ·1·   ·   ·   ·for that 18-month delay.
·2·   ·   ·   ·misrepresentation.· They would be covered under      ·2·   ·   ·   · · · · · · MR. MERRITT:· Well, I guess, like, to
·3·   ·   ·   ·the 2016 reg, but the department had not provided    ·3·   ·   ·   ·the extent the court authorized discovery to the
·4·   ·   ·   ·those examples in -- in the past to borrowers.       ·4·   ·   ·   ·post-18-month delay would be for the development
·5·   ·   ·   · · · Q· · ·Okay.· So the smart tool, when you put    ·5·   ·   ·   ·used in the form denial letters which you've
·6·   ·   ·   ·in your -- your date of loan disbursement -- I       ·6·   ·   ·   ·discussed.· And the extent to which the secretary
·7·   ·   ·   ·mean, people -- most people are still going to be    ·7·   ·   ·   ·has denied applications to students, pertaining to
·8·   ·   ·   ·under the 2016 regulations; right?                   ·8·   ·   ·   ·school, subject to findings of misconduct, and I'm
·9·   ·   ·   · · · A· · ·Well, you don't put in your date.· You    ·9·   ·   ·   ·not seeing how this line of questioning is
10·   ·   ·   ·put in your social security number or your FSA ID    10·   ·   ·   ·relevant to any of those topics.
11·   ·   ·   ·number and then --                                   11·   ·   ·   · · · · · · MS. O'GRADY:· I think part of it,
12·   ·   ·   · · · Q· · ·Okay.                                     12·   ·   ·   ·though, is about systems generally so some of the
13·   ·   ·   · · · A· · ·-- NSLDS, which is our loan system,       13·   ·   ·   ·delay and some of the reasons given for the delay
14·   ·   ·   ·serves it up.                                        14·   ·   ·   ·in the past had been the need to develop systems.
15·   ·   ·   · · · Q· · ·Thank you.· That's helpful.               15·   ·   ·   ·My understanding is this computer program is one
16·   ·   ·   · · · · · · So still for most people, it's going to   16·   ·   ·   ·of those systems.
17·   ·   ·   ·be under the 2016 regulations.· Did you add any      17·   ·   ·   · · · · · · So I can ask -- I can ask more
18·   ·   ·   ·examples or suggest adding any examples for the      18·   ·   ·   ·questions about the past development of this
19·   ·   ·   ·2016 regulations?                                    19·   ·   ·   ·computer system and -- and when it began.· I'm
20·   ·   ·   · · · A· · ·Yes.· Because it's a smart form, this     20·   ·   ·   ·happy to go there.· I was going to get there.· And
21·   ·   ·   ·list of examples that I listed would show up for     21·   ·   ·   ·I think that falls squarely within the reasons --
22·   ·   ·   ·both a borrower applying under 2014 and a borrower   22·   ·   ·   · · · · · · MR. MERRITT:· I mean I disagree that
23·   ·   ·   ·applying under 2019.                                 23·   ·   ·   ·the development of systems is something the court
24·   ·   ·   · · · Q· · ·Okay.                                     24·   ·   ·   ·authorized discovery into.· You know, we've gone
25·   ·   ·   · · · A· · ·I don't know what would happen for an     25·   ·   ·   ·into this a little bit.· I think at some point


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·1·   ·   ·   ·soon, though, we would need to close off this line   ·1·   ·   ·   ·I don't know if it was phase two or three -- phase
·2·   ·   ·   ·of questioning that appear to be beyond the scope    ·2·   ·   ·   ·three, but it was one of the phases of the digital
·3·   ·   ·   ·of the discovery order.                              ·3·   ·   ·   ·customer care.
·4·   ·   ·   · · · · · · MS. O'GRADY:· Well, I can -- I can, as    ·4·   ·   ·   · · · · · · So this is part of the digital customer
·5·   ·   ·   ·a show of good faith, wrap up quickly.· That's       ·5·   ·   ·   ·care effort which is about our Web interface with
·6·   ·   ·   ·helpful.                                             ·6·   ·   ·   ·borrowers.· It is my understanding that somehow
·7·   ·   ·   · · · · · · MR. MERRITT:· I thank you for your        ·7·   ·   ·   ·this information gets communicated to Salesforce
·8·   ·   ·   ·explanation, too.· Thank you.                        ·8·   ·   ·   ·and that Salesforce may be one of the systems that
·9·   ·   ·   · · · BY MS. O'GRADY:                                 ·9·   ·   ·   ·the BD unit will use to manage claims.
10·   ·   ·   · · · Q· · ·So is -- we had talked earlier today      10·   ·   ·   · · · · · · Now, I don't know enough about
11·   ·   ·   ·about your role and -- at -- your role and FSA's     11·   ·   ·   ·Salesforce to be able to tell you how, but my --
12·   ·   ·   ·role and, you know, the difference between what      12·   ·   ·   ·my current understanding -- and, again, I had no
13·   ·   ·   ·happens at FSA.                                      13·   ·   ·   ·idea that this form was linked to Salesforce until
14·   ·   ·   · · · · · · And can you -- can you shed some light    14·   ·   ·   ·recently, but as I understand it, Salesforce is
15·   ·   ·   ·for me on your involvement with this Web tool        15·   ·   ·   ·the connection between the digital customer care
16·   ·   ·   ·given that it's an FSA process?                      16·   ·   ·   ·environment, which is where this tool was
17·   ·   ·   · · · A· · ·Right.· So perhaps that's why I didn't    17·   ·   ·   ·developed, and getting information to the borrower
18·   ·   ·   ·realize that a contract had been let or that this    18·   ·   ·   ·defense team's management system with Salesforce
19·   ·   ·   ·was linked to Salesforce or that a change order      19·   ·   ·   ·being, I presume, their manage -- new management
20·   ·   ·   ·was required.· That's all operational.· I had no     20·   ·   ·   ·system.
21·   ·   ·   ·idea.                                                21·   ·   ·   · · · Q· · ·Okay.· You were saying that when you
22·   ·   ·   · · · · · · My role was -- and -- and, by the way,    22·   ·   ·   ·had given those suggestions for additional
23·   ·   ·   ·I -- I haven't actually seen the tool.· What we've   23·   ·   ·   ·examples of misrepresentation, it's -- it's a
24·   ·   ·   ·been working with is a list of data elements.· So    24·   ·   ·   ·process where a person puts in their social
25·   ·   ·   ·there was a list of data elements, and that was      25·   ·   ·   ·security number, other identifying information,

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·1·   ·   ·   ·sent to me for review to make sure that it was       ·1·   ·   ·   ·and then they're -- their claim is assessed under
·2·   ·   ·   ·consistent with the 2019 reg.                        ·2·   ·   ·   ·the appropriate standard.
·3·   ·   ·   · · · · · · And then after I did my review, I was     ·3·   ·   ·   · · · A· · ·They are served up questions that
·4·   ·   ·   ·told that it's a smart form that would be used for   ·4·   ·   ·   ·relate to the standard under which they're being
·5·   ·   ·   ·2016 and 2019, so subsequent reviews took into       ·5·   ·   ·   ·reviewed.
·6·   ·   ·   ·account the policy in the 2016 reg and the 2019      ·6·   ·   ·   · · · Q· · ·Okay.· And, so, for the 2019
·7·   ·   ·   ·reg in reviewing the element list.                   ·7·   ·   ·   ·regulations, that's the federal standard we
·8·   ·   ·   · · · Q· · ·Is it your understanding that this Web    ·8·   ·   ·   ·discussed?
·9·   ·   ·   ·tool was developed -- you know, before you had       ·9·   ·   ·   · · · A· · ·(Witness nods head.)
10·   ·   ·   ·said that the borrower defense applications were     10·   ·   ·   · · · Q· · ·And then 2016, it would be the
11·   ·   ·   ·kept on a spreadsheet.· Is this Web tool part of     11·   ·   ·   ·appropriate state law standard; is that right?
12·   ·   ·   ·the development beyond that spreadsheet?             12·   ·   ·   · · · A· · ·No, that's a federal standard as well.
13·   ·   ·   · · · A· · ·To my knowledge, this is part of the      13·   ·   ·   · · · Q· · ·And for 1995, it would be under the
14·   ·   ·   ·development of the FSA's digital customer care       14·   ·   ·   ·appropriate state law standard?
15·   ·   ·   ·environment.· So the digital customer care           15·   ·   ·   · · · A· · ·Correct.· And that's why I don't know
16·   ·   ·   ·environment is the way in which borrower's           16·   ·   ·   ·how this form interacts with those borrowers.
17·   ·   ·   ·interact with their loans.· And over the period of   17·   ·   ·   · · · Q· · ·Okay.· Is it your understanding that
18·   ·   ·   ·the last year or so, we have launched a new Web      18·   ·   ·   ·after a borrower puts their information in the
19·   ·   ·   ·site that gives borrowers new access to              19·   ·   ·   ·system, then it's adjudicated by the FSA team; is
20·   ·   ·   ·information about their loans, ways to make a        20·   ·   ·   ·that right?
21·   ·   ·   ·payment online, a mobile app, a public service       21·   ·   ·   · · · A· · ·Well, this is a new system, and so I --
22·   ·   ·   ·loan forgiveness tool, so that they can more         22·   ·   ·   ·I -- I don't know whether or not borrowers have
23·   ·   ·   ·easily identify if they work for a qualifying        23·   ·   ·   ·put their information.· So are you asking me
24·   ·   ·   ·employer.                                            24·   ·   ·   ·prospectively or are you asking me about currently
25·   ·   ·   · · · · · · And the development of this tool was --   25·   ·   ·   ·pending claims that have come through this tool?


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·1·   ·   ·   · · · Q· · ·Well, I -- I -- I'm trying to hone in     ·1·   ·   ·   · · · · · · THE WITNESS:· I want to make one other
·2·   ·   ·   ·on this -- the question, and you're absolutely       ·2·   ·   ·   ·point about the tool, which is that the element
·3·   ·   ·   ·right that was not clear.· I'm trying to hone in     ·3·   ·   ·   ·list for the tool went through two rounds of
·4·   ·   ·   ·on the question of which standard is being used,     ·4·   ·   ·   ·public comment, so the element list is publicly
·5·   ·   ·   ·and -- through this tool how individuals who are     ·5·   ·   ·   ·available.· It's been through two rounds of public
·6·   ·   ·   ·adjudicating the claims, what they are using to      ·6·   ·   ·   ·comment.
·7·   ·   ·   ·assess which standard is appropriate?                ·7·   ·   ·   · · · · · · Okay.· What exhibit now?
·8·   ·   ·   · · · A· · ·So they're using the date of the loan.    ·8·   ·   ·   · · · BY MS. O'GRADY:
·9·   ·   ·   ·So let's say Diane Jones has two loans, and one      ·9·   ·   ·   · · · Q· · ·ECF number 145, Defendants fraud list.
10·   ·   ·   ·was issued on July 2nd, 2017, and one was issued     10·   ·   ·   ·And that is Exhibit 19 for this deposition.
11·   ·   ·   ·on July 1st, 1999 -- I'm just making this up --      11·   ·   ·   · · · · · · THE WITNESS:· I'm going to turn my
12·   ·   ·   ·actually, I'm going to use a different set of        12·   ·   ·   ·light on.· Now that it's darker outside, I feel
13·   ·   ·   ·dates because I don't have the explanation on the    13·   ·   ·   ·like I'm in a spotlight.
14·   ·   ·   ·'95 borrowers.                                       14·   ·   ·   · · · BY MS. O'GRADY:
15·   ·   ·   · · · Q· · ·That's okay.· I see where you're going    15·   ·   ·   · · · Q· · ·Okay.· Do you have that open?
16·   ·   ·   ·with that, and I think that does clarify something   16·   ·   ·   · · · A· · ·I do.
17·   ·   ·   ·for me.                                              17·   ·   ·   · · · Q· · ·And do you recognize this filing? I
18·   ·   ·   · · · · · · But what I want to get to is once         18·   ·   ·   ·primarily would like to ask you about the list
19·   ·   ·   ·it's -- it's determined by the system that it's      19·   ·   ·   ·attached to the declaration of Mark Brown.
20·   ·   ·   ·not going to be assessed under a federal standard;   20·   ·   ·   · · · A· · ·I have not seen this list.
21·   ·   ·   ·that it needs -- a state law standard needs to be    21·   ·   ·   · · · Q· · ·Okay.· That -- with that understanding,
22·   ·   ·   ·applied, what happens to the application then?       22·   ·   ·   ·I would still like to ask you a few things about
23·   ·   ·   · · · A· · ·I -- I don't know.· I -- I -- I don't     23·   ·   ·   ·it and answer to the extent you can.
24·   ·   ·   ·know that the -- I don't know how this tool works.   24·   ·   ·   · · · · · · I can represent to you that this is a
25·   ·   ·   ·You know, I -- my -- for pre-2016 borrowers.         25·   ·   ·   ·filing in respect defendants need in response to

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·1·   ·   ·   · · · Q· · ·Okay.· And for -- okay.· Is this tool     ·1·   ·   ·   ·the judge's questions about claims -- borrower
·2·   ·   ·   ·up and running right now to your knowledge?          ·2·   ·   ·   ·defense claims that had been denied where
·3·   ·   ·   · · · A· · ·This tool was launched on November 8th.   ·3·   ·   ·   ·Department of Education has in its possession
·4·   ·   ·   ·It is my understanding that there was a technical    ·4·   ·   ·   ·evidence of wrongdoing.· So I will not ask you
·5·   ·   ·   ·issue and -- and so for a -- a temporary period of   ·5·   ·   ·   ·about CEC given our discussion about your
·6·   ·   ·   ·time it had to be taken down, and I don't --         ·6·   ·   ·   ·voluntary recusal.· So we can just take the first
·7·   ·   ·   ·haven't actually looked today, so I don't know if    ·7·   ·   ·   ·column.· So that would be PDF page -- well, if
·8·   ·   ·   ·it's back up.· But it was launched on                ·8·   ·   ·   ·you've already scrolled down to see the exhibit
·9·   ·   ·   ·November 8th, and it was operational maybe until a   ·9·   ·   ·   ·which is the rotated Excel spreadsheet?
10·   ·   ·   ·couple of days ago when -- when this problem was     10·   ·   ·   · · · A· · ·I have.
11·   ·   ·   ·identified.                                          11·   ·   ·   · · · Q· · ·Okay.· Let's look at the first one.
12·   ·   ·   · · · Q· · ·Okay.· So --                              12·   ·   ·   · · · A· · ·The Excel spreadsheet -- I'm just
13·   ·   ·   · · · A· · ·And -- and I want to be clear that        13·   ·   ·   ·looking at a data table.
14·   ·   ·   ·even -- that we still have the other application.    14·   ·   ·   · · · Q· · ·Data table, that's it.· It says 145-2
15·   ·   ·   ·So there are other ways -- this is only one way      15·   ·   ·   ·up above and number -- it's page 1 on the bottom
16·   ·   ·   ·for a borrower to apply.· There are other ways.      16·   ·   ·   ·and it's a rotated layout; right?
17·   ·   ·   ·So the other ways still exist for a borrower to      17·   ·   ·   · · · A· · ·Yeah.
18·   ·   ·   ·apply.· This was one of several.                     18·   ·   ·   · · · Q· · ·Okay.· So we're at the same place.· So
19·   ·   ·   · · · Q· · ·One second.· Just bear with me.           19·   ·   ·   ·column one, School ownership group (school name),
20·   ·   ·   · · · · · · MS. O'GRADY:· Okay.· The next exhibit,    20·   ·   ·   ·this is the Apollo Group (University of Phoenix).
21·   ·   ·   ·which will be Exhibit 19, is in the folder as ECF    21·   ·   ·   ·Column two, Categories of applications determined
22·   ·   ·   ·number 145.                                          22·   ·   ·   ·not to be within the scope of the common evidence
23·   ·   ·   · · · · · · (Jones Deposition Exhibit 19 was marked   23·   ·   ·   ·listed in column three.
24·   ·   ·   ·for identification and attached to the               24·   ·   ·   · · · · · · I want to ask you -- you can finish
25·   ·   ·   ·transcript.)                                         25·   ·   ·   ·reading the column names -- if you're familiar


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·1·   ·   ·   ·with the difference between column two and column    ·1·   ·   ·   ·approved?
·2·   ·   ·   ·three as a -- as a general policy matter?            ·2·   ·   ·   · · · Q· · ·Yes.
·3·   ·   ·   · · · · · · MR. MERRITT:· I would also say, if you    ·3·   ·   ·   · · · A· · ·It's possible depending on what the
·4·   ·   ·   ·haven't -- if you're not familiar with the           ·4·   ·   ·   ·borrower's claim is, allegation is.
·5·   ·   ·   ·document, there is a description in the              ·5·   ·   ·   · · · Q· · ·And the converse of that, is it
·6·   ·   ·   ·declaration if you want to take the chance to look   ·6·   ·   ·   ·possible for the borrower's claim to be approved
·7·   ·   ·   ·at that as well.                                     ·7·   ·   ·   ·if the borrower is the only source of evidence
·8·   ·   ·   · · · · · · THE WITNESS:· Okay.                       ·8·   ·   ·   ·against the school?
·9·   ·   ·   · · · · · · (Reviews document.)                       ·9·   ·   ·   · · · A· · ·It is possible.
10·   ·   ·   · · · · · · So, yeah, I have a high-level             10·   ·   ·   · · · Q· · ·And looking here at column two,
11·   ·   ·   ·understanding of --                                  11·   ·   ·   ·Categories of applications determined not to be
12·   ·   ·   · · · BY MS. O'GRADY:                                 12·   ·   ·   ·within the scope of common evidence listed in
13·   ·   ·   · · · Q· · ·Okay.· Please share that high-level       13·   ·   ·   ·column three, if a borrower falls into that
14·   ·   ·   ·understanding with me.                               14·   ·   ·   ·category, what happens to their application?
15·   ·   ·   · · · A· · ·Yeah, I think this is -- as I explained   15·   ·   ·   · · · A· · ·I don't know.· These would be the
16·   ·   ·   ·earlier, that there are applications where the       16·   ·   ·   ·decisions that are made by the BD team, and so
17·   ·   ·   ·borrower has to submit evidence because we -- you    17·   ·   ·   ·I -- I don't know.
18·   ·   ·   ·know, the -- the department doesn't have -- well,    18·   ·   ·   · · · Q· · ·And what is your understanding of what
19·   ·   ·   ·any borrower has the opportunity to submit           19·   ·   ·   ·column three means, All other applications are
20·   ·   ·   ·evidence.· I want that to be clear.· Any borrower    20·   ·   ·   ·pending further review of common evidence?
21·   ·   ·   ·can submit evidence.· But there are some borrowers   21·   ·   ·   · · · A· · ·My understanding is that the department
22·   ·   ·   ·for whom the only evidence the department has is     22·   ·   ·   ·is in possession of evidence that they are
23·   ·   ·   ·what the borrower submitted, and there are other     23·   ·   ·   ·reviewing, I believe.
24·   ·   ·   ·borrowers that regardless of what they submitted,    24·   ·   ·   · · · Q· · ·And what policy governs how they review
25·   ·   ·   ·the department has in its possession from one        25·   ·   ·   ·that evidence?

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·1·   ·   ·   ·channel or another evidence to use to adjudicate     ·1·   ·   ·   · · · A· · ·So that's a legal determination.· So it
·2·   ·   ·   ·the claim.                                           ·2·   ·   ·   ·is -- it is a legal determination about whether or
·3·   ·   ·   · · · Q· · ·And borrowers in both of those            ·3·   ·   ·   ·not the claim meets the definition of
·4·   ·   ·   ·categories -- or I should say either of those        ·4·   ·   ·   ·misrepresentation and meets the preponderance of
·5·   ·   ·   ·categories, is it possible for their claim to be     ·5·   ·   ·   ·the evidence standard.· It's not a policy
·6·   ·   ·   ·approved?                                            ·6·   ·   ·   ·decision.· It's a legal decision.
·7·   ·   ·   · · · A· · ·So are you asking me if -- if a --        ·7·   ·   ·   · · · Q· · ·When you say it's a legal decision and
·8·   ·   ·   ·regardless of who supplies the evidence, if the      ·8·   ·   ·   ·not a policy decision, do you mean that there's --
·9·   ·   ·   ·evidence is there and sufficient, can that           ·9·   ·   ·   ·there's no discretion to make a different
10·   ·   ·   ·borrower's claim be approved; is that what you're    10·   ·   ·   ·decision?
11·   ·   ·   ·asking me?                                           11·   ·   ·   · · · A· · ·By whom?
12·   ·   ·   · · · Q· · ·We can break it down into two.· So one,   12·   ·   ·   · · · Q· · ·By -- well, by anyone in the
13·   ·   ·   ·a borrower who has submitted no evidence             13·   ·   ·   ·department.· I would say the secretary, but by
14·   ·   ·   ·individually but who attended a school during a      14·   ·   ·   ·anyone in the department.
15·   ·   ·   ·time period for which there is abundance evidence    15·   ·   ·   · · · · · · I'm wondering really what -- what the
16·   ·   ·   ·that the department has, could that borrower's       16·   ·   ·   ·effect of -- when you characterize something as a
17·   ·   ·   ·claim be granted?                                    17·   ·   ·   ·legal question or a legal decision, what the
18·   ·   ·   · · · A· · ·So if you're asking me in the             18·   ·   ·   ·effect of that is.
19·   ·   ·   ·theoretical world, yes, but I -- but I don't know    19·   ·   ·   · · · A· · ·So that means that it is not in the
20·   ·   ·   ·how each one of these falls into the category.· So   20·   ·   ·   ·hands of a policy person.· So it means that
21·   ·   ·   ·I just want to make sure --                          21·   ·   ·   ·whatever the BD attorneys decide on a legal basis,
22·   ·   ·   · · · Q· · ·That's fine.                              22·   ·   ·   ·they have the expertise to judge the evidence and
23·   ·   ·   · · · A· · ·Right.· So are you asking me if the       23·   ·   ·   ·make a decision on the merits.· It is possible
24·   ·   ·   ·department has evidence that the borrower            24·   ·   ·   ·that they engage with, you know, other attorneys
25·   ·   ·   ·submitted nothing, could that borrower still be      25·   ·   ·   ·at the department.· You know, there are career


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·1·   ·   ·   ·attorneys that have been involved in -- in BD, so    ·1·   ·   ·   ·secretary in the evaluation of evidence and
·2·   ·   ·   ·it is possible they engage.· But on a particular     ·2·   ·   ·   ·perhaps he was qualified, and perhaps that's what
·3·   ·   ·   ·decision, it is strictly a legal decision meaning    ·3·   ·   ·   ·that administration elected to do.
·4·   ·   ·   ·that nobody else in the department knows what it     ·4·   ·   ·   · · · Q· · ·Is it your view that engaging with the
·5·   ·   ·   ·is, knows that it's happening and can weigh in on    ·5·   ·   ·   ·under secretary in -- in that manner was
·6·   ·   ·   ·it.                                                  ·6·   ·   ·   ·inappropriate?
·7·   ·   ·   · · · Q· · ·How has it been determined that no one    ·7·   ·   ·   · · · A· · ·It was their decision to make.
·8·   ·   ·   ·else in the department can weigh in on it?           ·8·   ·   ·   · · · Q· · ·So that's what I'm getting at.· So it
·9·   ·   ·   · · · A· · ·It's been determined because none of us   ·9·   ·   ·   ·was their decision to make, so it was someone's
10·   ·   ·   ·know it's happening.                                 10·   ·   ·   ·decision at some point to not do that under the
11·   ·   ·   · · · Q· · ·My question is why is that?· I mean,      11·   ·   ·   ·administration that you've served under.
12·   ·   ·   ·so -- so that is --                                  12·   ·   ·   · · · A· · ·I -- I mean --
13·   ·   ·   · · · A· · ·Because it's an operations matter based   13·   ·   ·   · · · Q· · ·It's not a -- I'm just saying it's not
14·   ·   ·   ·on legal decisions.                                  14·   ·   ·   ·your lack of involvement; it's not a foregone
15·   ·   ·   · · · Q· · ·Is there a policy that has made that      15·   ·   ·   ·conclusion; is that fair?
16·   ·   ·   ·determination?                                       16·   ·   ·   · · · A· · ·Well, it certainly should be because
17·   ·   ·   · · · A· · ·Well, I mean, there are policies about    17·   ·   ·   ·I'm not trained as a lawyer.· It should be a
18·   ·   ·   ·who has access to FSA's data systems, and those      18·   ·   ·   ·foregone conclusion.· I have no capacity,
19·   ·   ·   ·data systems are limited to certain employees        19·   ·   ·   ·training, capability to in any way look at
20·   ·   ·   ·within FSA.· There are all kinds of security         20·   ·   ·   ·evidence and make a legal determination.· I can't
21·   ·   ·   ·protocols.· I don't have access to FSA's data        21·   ·   ·   ·do that.
22·   ·   ·   ·systems, and many people who work at FSA don't       22·   ·   ·   · · · Q· · ·In the previous administration
23·   ·   ·   ·have access.· There's --                             23·   ·   ·   ·regarding your predecessor who reviewed or signed
24·   ·   ·   · · · Q· · ·What about people --                      24·   ·   ·   ·off on borrower defense decisions on a group
25·   ·   ·   · · · A· · ·-- a protocol (indiscernible)             25·   ·   ·   ·basis, when was that process stopped?

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·1·   ·   ·   ·information involved, and so there is a particular   ·1·   ·   ·   · · · A· · ·Well, I -- you know, I -- I mean,
·2·   ·   ·   ·clearance that somebody has to go through to have    ·2·   ·   ·   ·you've seen -- you've seen the dates on the memos.
·3·   ·   ·   ·access to this data system.                          ·3·   ·   ·   ·I think the most recent memo was January 9th of
·4·   ·   ·   · · · Q· · ·What about people in the Office of the    ·4·   ·   ·   ·whatever that was, 2017.
·5·   ·   ·   ·General Counsel?· Did any of those individuals       ·5·   ·   ·   · · · Q· · ·Meaning --
·6·   ·   ·   ·have policy roles?                                   ·6·   ·   ·   · · · A· · ·That's the most recent document I've
·7·   ·   ·   · · · A· · ·They -- they don't have policy-making     ·7·   ·   ·   ·seen where the under secretary was involved in the
·8·   ·   ·   ·roles, no.· They advise us on legal                  ·8·   ·   ·   ·evaluation of evidence.
·9·   ·   ·   ·interpretations.                                     ·9·   ·   ·   · · · Q· · ·And at that point, is it your view that
10·   ·   ·   · · · Q· · ·What I'm trying to understand is is how   10·   ·   ·   ·that was improper?
11·   ·   ·   ·it became determined that the adjudication of        11·   ·   ·   · · · · · · MR. MERRITT:· Objection, in it calls
12·   ·   ·   ·borrower defense applications is purely a legal      12·   ·   ·   ·for speculation.
13·   ·   ·   ·matter which you have no involvement with as -- as   13·   ·   ·   · · · · · · THE WITNESS:· Yeah.· I don't know his
14·   ·   ·   ·you have said today.                                 14·   ·   ·   ·background.· I mean, I --
15·   ·   ·   · · · A· · ·Because it's a legal matter.· I mean,     15·   ·   ·   · · · BY MS. O'GRADY:
16·   ·   ·   ·it's about the evaluation of evidence.· I mean --    16·   ·   ·   · · · Q· · ·But if he was -- I mean, your sense --
17·   ·   ·   ·I mean, frankly, you know, the prior                 17·   ·   ·   ·you've said a few times today you're not a lawyer
18·   ·   ·   ·administration established that.· The prior          18·   ·   ·   ·so you can't make this determination.
19·   ·   ·   ·administration established that there would be a     19·   ·   ·   · · · · · · So if he's not a lawyer, is it your
20·   ·   ·   ·separate unit, first with a special master and       20·   ·   ·   ·understanding that his involvement was
21·   ·   ·   ·later with the BD unit.· They made the               21·   ·   ·   ·inappropriate?
22·   ·   ·   ·determination that there would be a BD unit that     22·   ·   ·   · · · · · · MR. MERRITT:· Objection.· Same reason.
23·   ·   ·   ·would review and adjudicate these claims.            23·   ·   ·   · · · · · · MS. O'GRADY:· You don't have to answer
24·   ·   ·   · · · · · · Now, it is true that the prior            24·   ·   ·   ·that.
25·   ·   ·   ·administration's BD unit chose to engage the under   25·   ·   ·   · · · · · · MR. MERRITT:· I mean, it also goes to


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·1·   ·   ·   ·the scope, too, the relevance of that line of        ·1·   ·   ·   · · · A· · ·I don't know.· I'm not involved in the
·2·   ·   ·   ·questioning.                                         ·2·   ·   ·   ·review of evidence.· I think this would go -- you
·3·   ·   ·   · · · · · · MS. O'GRADY:· We can move on.             ·3·   ·   ·   ·know, again, this is a legal question of how do
·4·   ·   ·   · · · · · · I want to go off the record for a very    ·4·   ·   ·   ·you review evidence.
·5·   ·   ·   ·short break, and I would also ask how much time we   ·5·   ·   ·   · · · Q· · ·So you have no policy opinion about the
·6·   ·   ·   ·have left.                                           ·6·   ·   ·   ·reconsideration process?
·7·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Going off the          ·7·   ·   ·   · · · · · · MR. MERRITT:· Objection to the opinion.
·8·   ·   ·   ·record.· The time is 22:01 UTC time.                 ·8·   ·   ·   · · · BY MS. O'GRADY:
·9·   ·   ·   · · · · · · (Recess -- 5:01 p.m.)                     ·9·   ·   ·   · · · Q· · ·Have you ever been involved in setting
10·   ·   ·   · · · · · · (After recess -- 5:09 p.m.)               10·   ·   ·   ·policy regarding reconsideration?
11·   ·   ·   · · · · · · THE VIDEOGRAPHER:· All right.· We're      11·   ·   ·   · · · A· · ·There -- there was -- so there was a
12·   ·   ·   ·now back on the record.· The time is 22:09 UTC       12·   ·   ·   ·policy question that arose out of legal review of
13·   ·   ·   ·time.                                                13·   ·   ·   ·reconsideration, and that policy question came to
14·   ·   ·   · · · BY MS. O'GRADY:                                 14·   ·   ·   ·me.
15·   ·   ·   · · · Q· · ·Okay.· Ms. Jones, I want to move to the   15·   ·   ·   · · · Q· · ·What question was that?
16·   ·   ·   ·topic of reconsideration.· What is your              16·   ·   ·   · · · A· · ·The policy question is -- basically I
17·   ·   ·   ·understanding of the reconsideration process?        17·   ·   ·   ·think I mentioned earlier that programs are
18·   ·   ·   · · · A· · ·When a borrower wishes to have their      18·   ·   ·   ·identified by a Classification of Instructional
19·   ·   ·   ·claim reviewed, they can submit a reconsideration    19·   ·   ·   ·Program code, a CIP code.· And the institution
20·   ·   ·   ·application.· It's my understanding that they can    20·   ·   ·   ·gets to pick the CIP code when they register the
21·   ·   ·   ·submit a request for review.· I believe they have    21·   ·   ·   ·program with the department.· So in our records,
22·   ·   ·   ·the option to submit additional evidence to          22·   ·   ·   ·we have programs listed by CIP codes.· But
23·   ·   ·   ·support the claim.· And I believe if they have a     23·   ·   ·   ·sometimes institutions call their program
24·   ·   ·   ·new allegation, they're instructed to start a new    24·   ·   ·   ·something different than the name affiliated with
25·   ·   ·   ·claim.                                               25·   ·   ·   ·the CIP code.

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·1·   ·   ·   · · · · · · That's my understanding of that           ·1·   ·   ·   · · · · · · And so the question that came to me is,
·2·   ·   ·   ·process.                                             ·2·   ·   ·   ·you know, what if a borrower is saying that they
·3·   ·   ·   · · · Q· · ·Okay.· If we could go to the exhibit      ·3·   ·   ·   ·were given relief based on one program name but
·4·   ·   ·   ·marked 14 in this deposition, which is ECF number    ·4·   ·   ·   ·they really enrolled in a different program.
·5·   ·   ·   ·ECF number 108-08, Daniel Deegan affidavit?          ·5·   ·   ·   · · · Q· · ·Okay.· So your only policy involvement
·6·   ·   ·   · · · A· · ·Okay.                                     ·6·   ·   ·   ·with reconsideration was about program name
·7·   ·   ·   · · · Q· · ·Okay.· And then if you scroll to PDF      ·7·   ·   ·   ·reconciliation essentially?
·8·   ·   ·   ·11, we're again within the denial Mr. Deegan         ·8·   ·   ·   · · · A· · ·I mean, but that's the kind of policy
·9·   ·   ·   ·received which was based on the form D template.     ·9·   ·   ·   ·question --
10·   ·   ·   · · · A· · ·Uh-huh.                                   10·   ·   ·   · · · Q· · ·Right.
11·   ·   ·   · · · Q· · ·In the middle of that page, the           11·   ·   ·   · · · A· · ·-- that would come to me.
12·   ·   ·   ·question, What if I do not agree with this           12·   ·   ·   · · · Q· · ·So when you were involved in reviewing
13·   ·   ·   ·decision.                                            13·   ·   ·   ·the form denial letters A through D that we looked
14·   ·   ·   · · · · · · So you'll want to just take a moment to   14·   ·   ·   ·at before, had you been involved in reviewing the
15·   ·   ·   ·read that over.                                      15·   ·   ·   ·sections about reconsideration of those denial
16·   ·   ·   · · · A· · ·(Witness reviews document.)               16·   ·   ·   ·letters?
17·   ·   ·   · · · Q· · ·I specifically want to ask about point    17·   ·   ·   · · · A· · ·You know, I -- I don't remember -- I
18·   ·   ·   ·two -- well, point one and point two, Which          18·   ·   ·   ·mean, I think there were instructions included in
19·   ·   ·   ·allegations you believe that Ed incorrectly          19·   ·   ·   ·those original letters.
20·   ·   ·   ·decided, and Why you believe that Ed incorrectly     20·   ·   ·   · · · Q· · ·What do you mean by "instructions"?
21·   ·   ·   ·decided your borrower defense to repayment           21·   ·   ·   · · · A· · ·I mean, this language of "if you
22·   ·   ·   ·application.                                         22·   ·   ·   ·disagree" looks familiar to me, so I can't
23·   ·   ·   · · · · · · What's your understanding of what         23·   ·   ·   ·remember exactly what it said, but I believe this
24·   ·   ·   ·information a borrower would have to provide to      24·   ·   ·   ·language about if you disagree with this decision,
25·   ·   ·   ·successfully answer either of those questions?       25·   ·   ·   ·you may ask Ed to reconsider your application.


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·1·   ·   ·   · · · Q· · ·Okay.· So at some point, you signed off   ·1·   ·   ·   · · · Q· · ·I'm looking at this particular
·2·   ·   ·   ·on this text or something very similar to it?        ·2·   ·   ·   ·document.· So what information in this document
·3·   ·   ·   · · · A· · ·Yeah.· I can't remember if it listed      ·3·   ·   ·   ·could a borrower point to to say, Ed, you got it
·4·   ·   ·   ·those three points, but -- but, yeah, I mean,        ·4·   ·   ·   ·wrong, because?
·5·   ·   ·   ·there was instructions for reconsideration.          ·5·   ·   ·   · · · A· · ·I mean, I think they would explain why
·6·   ·   ·   · · · Q· · ·Okay.· And when you were reviewing the    ·6·   ·   ·   ·they think we got it wrong.
·7·   ·   ·   ·form denial letters, did you think about or          ·7·   ·   ·   · · · Q· · ·And what specifically -- how would that
·8·   ·   ·   ·consider whether or not they would provide enough    ·8·   ·   ·   ·explanation be different than their initial
·9·   ·   ·   ·information for a borrower to seek                   ·9·   ·   ·   ·application?· You know, what -- what other --
10·   ·   ·   ·reconsideration?                                     10·   ·   ·   ·what -- why do you believe that Ed incorrectly
11·   ·   ·   · · · · · · MR. MERRITT:· Objection: calling for      11·   ·   ·   ·decided your borrower defense to repayment
12·   ·   ·   ·privileged information.                              12·   ·   ·   ·application?
13·   ·   ·   · · · · · · MS. O'GRADY:· Do you mean deliberative    13·   ·   ·   · · · A· · ·I mean, you know, again, I think a
14·   ·   ·   ·process privilege?                                   14·   ·   ·   ·borrower would give an explanation, and the -- the
15·   ·   ·   · · · · · · MR. MERRITT:· I mean you're asking her    15·   ·   ·   ·one that I'm aware of is, you know, borrowers who
16·   ·   ·   ·what she thought, you know, about the review of      16·   ·   ·   ·wrote in and said, you know, you assigned relief
17·   ·   ·   ·the letters before they were final.                  17·   ·   ·   ·because you said I was in this program but, you
18·   ·   ·   · · · BY MS. O'GRADY:                                 18·   ·   ·   ·know, the college called it this other program,
19·   ·   ·   · · · Q· · ·On this final letter, do you believe      19·   ·   ·   ·and -- and -- and that's different on the table.
20·   ·   ·   ·there's enough information for a borrower to         20·   ·   ·   · · · Q· · ·So the one example you can think of is
21·   ·   ·   ·request reconsideration?                             21·   ·   ·   ·a -- is, again, a problem with the -- again,
22·   ·   ·   · · · A· · ·I believe that there is -- yeah, I        22·   ·   ·   ·properly identifying what program or what school
23·   ·   ·   ·believe there is enough information about a          23·   ·   ·   ·somebody went to.
24·   ·   ·   ·borrower that they can request and how they would    24·   ·   ·   · · · · · · If a borrower has included information
25·   ·   ·   ·go about it, like address it in an email or, you     25·   ·   ·   ·about a number of allegations and then this denial

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·1·   ·   ·   ·know --                                              ·1·   ·   ·   ·letter, for example, if we just scroll up to
·2·   ·   ·   · · · Q· · ·Yes.· In terms of logistics, the email    ·2·   ·   ·   ·page 10 of the PDF, Allegation one, employment
·3·   ·   ·   ·address is there and the fact of the                 ·3·   ·   ·   ·prospects:· You allege that Keller Graduate School
·4·   ·   ·   ·reconsideration process has been described?          ·4·   ·   ·   ·of Management engaged in misconduct related to
·5·   ·   ·   · · · A· · ·Yes.                                      ·5·   ·   ·   ·employment prospects.· This allegation fails for
·6·   ·   ·   · · · Q· · ·In terms of the substance in point two,   ·6·   ·   ·   ·the following reasons:· Insufficient evidence.
·7·   ·   ·   ·Why you believe that Ed incorrectly decided your     ·7·   ·   ·   · · · · · · Your claim for relief on this basis is
·8·   ·   ·   ·borrower defense to repayment application, what      ·8·   ·   ·   ·therefore denied.
·9·   ·   ·   ·information in this denial letter could a borrower   ·9·   ·   ·   · · · · · · What basis -- how would a borrower
10·   ·   ·   ·use to answer that question?                         10·   ·   ·   ·interpret that paragraph?· I mean, I think you put
11·   ·   ·   · · · A· · ·And that's the part of this that I -- I   11·   ·   ·   ·yourself -- well, that's my question.
12·   ·   ·   ·don't have the expertise.· I -- you know, those      12·   ·   ·   · · · · · · How should a borrower interpret that
13·   ·   ·   ·particular questions were developed by the BD        13·   ·   ·   ·paragraph?
14·   ·   ·   ·unit.                                                14·   ·   ·   · · · A· · ·Because I don't know what the borrower
15·   ·   ·   · · · Q· · ·Let me ask it a different way.· So if     15·   ·   ·   ·submitted originally, I -- I don't know.· I don't
16·   ·   ·   ·you could put yourself in the shoes of the           16·   ·   ·   ·know what was in the borrower's original
17·   ·   ·   ·borrower because the borrower is -- I can tell you   17·   ·   ·   ·application.
18·   ·   ·   ·this borrower and probably most borrowers are not    18·   ·   ·   · · · Q· · ·When you signed off on the initial form
19·   ·   ·   ·themselves lawyers either.· How do they determine    19·   ·   ·   ·denial letters, I think at one point you had said
20·   ·   ·   ·what information to include to answer the            20·   ·   ·   ·this is the spot, you know, for the following
21·   ·   ·   ·question, Why you believe that Ed incorrectly        21·   ·   ·   ·reasons, and that's where you had expected there
22·   ·   ·   ·decided your borrower defense to repayment           22·   ·   ·   ·to be information about the state law standard
23·   ·   ·   ·application?                                         23·   ·   ·   ·applied.
24·   ·   ·   · · · · · · MR. MERRITT:· Objection: speculative.     24·   ·   ·   · · · · · · That's right?· You testified about that
25·   ·   ·   · · · BY MS. O'GRADY:                                 25·   ·   ·   ·earlier today; correct?


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·1·   ·   ·   · · · A· · ·I said that when -- yes, in the section   ·1·   ·   ·   · · · · · · MR. MERRITT:· Well, it's still going to
·2·   ·   ·   ·where the attorneys explain -- I can't remember      ·2·   ·   ·   ·what her thoughts and impressions were at the time
·3·   ·   ·   ·the words, but, right, that little bracketed place   ·3·   ·   ·   ·which is deliberative information, what you're
·4·   ·   ·   ·that you would be evaluating evidence based on the   ·4·   ·   ·   ·asking her now.
·5·   ·   ·   ·state standard.                                      ·5·   ·   ·   · · · BY MS. O'GRADY:
·6·   ·   ·   · · · Q· · ·And here the only words in that           ·6·   ·   ·   · · · Q· · ·Did you discuss -- when these were
·7·   ·   ·   ·bracketed place, which I think was recommendation    ·7·   ·   ·   ·finalized, did you discuss what review
·8·   ·   ·   ·reason, is the -- are the words "insufficient        ·8·   ·   ·   ·recommendation reason meant?
·9·   ·   ·   ·evidence."                                           ·9·   ·   ·   · · · · · · MR. MERRITT:· You can answer that.
10·   ·   ·   · · · · · · Is that -- when you first looked at the   10·   ·   ·   · · · · · · THE WITNESS:· I -- I -- I don't -- I
11·   ·   ·   ·template, is -- you know what, let me just take a    11·   ·   ·   ·don't know what date they were considered to be
12·   ·   ·   ·moment.· Let's look at the template.· My question    12·   ·   ·   ·finalized, but, yes, I was engaged in
13·   ·   ·   ·is about the template.                               13·   ·   ·   ·conversations about what I believed that meant.
14·   ·   ·   · · · · · · So we're going to go to Exhibit           14·   ·   ·   · · · BY MS. O'GRADY:
15·   ·   ·   ·Number 13 of this deposition, and the file is ECF    15·   ·   ·   · · · Q· · ·And I'm not asking about the
16·   ·   ·   ·number 116, Defendants Post-CMC Filing.              16·   ·   ·   ·deliberation of the different drafts.· I'm asking
17·   ·   ·   · · · · · · And this, as you'll recall, have the      17·   ·   ·   ·what your understanding of this template means
18·   ·   ·   ·attachment of these form letters.· Let's go all      18·   ·   ·   ·right here?· What is the review recommendation
19·   ·   ·   ·the way down --                                      19·   ·   ·   ·reason?
20·   ·   ·   · · · A· · ·I'm still looking for it.                 20·   ·   ·   · · · A· · ·I had to defer to the expertise of the
21·   ·   ·   · · · Q· · ·Oh, sure.· Sorry about that.              21·   ·   ·   ·lawyers.· I -- I -- I don't write legal text, so,
22·   ·   ·   · · · A· · ·(Witness reviews document.)               22·   ·   ·   ·you know, the expectation was that lawyers would
23·   ·   ·   · · · · · · Okay.· I -- I have it.· Which form do     23·   ·   ·   ·make a decision and that information would be
24·   ·   ·   ·you want me to look at?                              24·   ·   ·   ·provided.
25·   ·   ·   · · · Q· · ·Okay.· So I want to go all the way to     25·   ·   ·   · · · Q· · ·But in your declaration -- we can go

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·1·   ·   ·   ·PDF page 23, and this is the form D denial           ·1·   ·   ·   ·back to Exhibit 2 of your declaration which is
·2·   ·   ·   ·template.                                            ·2·   ·   ·   ·your declaration, I should say.· We'll go back
·3·   ·   ·   · · · A· · ·Okay.                                     ·3·   ·   ·   ·to -- it's PDF page 10 of Exhibit 2, the bottom of
·4·   ·   ·   · · · Q· · ·And there in the highlighted -- it's      ·4·   ·   ·   ·paragraph 26.· And you write here, The department
·5·   ·   ·   ·the highlighted text is what a reviewing attorney    ·5·   ·   ·   ·has been working to develop documents to provide a
·6·   ·   ·   ·would insert; correct?                               ·6·   ·   ·   ·more robust explanation for borrowers whose claims
·7·   ·   ·   · · · A· · ·It -- it would -- it would be what they   ·7·   ·   ·   ·are denied.
·8·   ·   ·   ·would enter into their work papers.                  ·8·   ·   ·   · · · · · · Is this template the result of that
·9·   ·   ·   · · · Q· · ·Okay.· And we discussed before how your   ·9·   ·   ·   ·effort to develop documents to provide a more
10·   ·   ·   ·expectation was that the highlighted text of         10·   ·   ·   ·robust explanation?
11·   ·   ·   ·review recommendation reason would include the       11·   ·   ·   · · · A· · ·The development of these templates is
12·   ·   ·   ·state law standard.                                  12·   ·   ·   ·what I was referring to when I said that the
13·   ·   ·   · · · · · · And my question now is did you expect     13·   ·   ·   ·department was developing documents.
14·   ·   ·   ·any other information to be within those brackets    14·   ·   ·   · · · Q· · ·Did you ever, before today, review a
15·   ·   ·   ·review recommendation reason?                        15·   ·   ·   ·form D denial notice as it was provided to a
16·   ·   ·   · · · · · · What other information did you think      16·   ·   ·   ·borrower?
17·   ·   ·   ·when you reviewed this template would be included    17·   ·   ·   · · · A· · ·No.· The servicers send those.
18·   ·   ·   ·there?                                               18·   ·   ·   · · · Q· · ·So you've seen the template, but you
19·   ·   ·   · · · · · · MR. MERRITT:· Objection.· It's calling    19·   ·   ·   ·have never before today seen what it looked like
20·   ·   ·   ·for privileged and deliberative information.         20·   ·   ·   ·to a borrower receiving it?
21·   ·   ·   · · · · · · MS. O'GRADY:· Well, I think the witness   21·   ·   ·   · · · A· · ·I -- I believe that there was one
22·   ·   ·   ·has already testified about her expectation that     22·   ·   ·   ·letter that I saw that came in.· When I asked Mark
23·   ·   ·   ·the state law standard would be included here, and   23·   ·   ·   ·about it, he told me that the letter that I saw
24·   ·   ·   ·I want to know her -- when she signed off on the     24·   ·   ·   ·was not a typical letter.· So I've only seen --
25·   ·   ·   ·form D template what she was signing off on.         25·   ·   ·   · · · Q· · ·Which letter was that?· Do you recall?


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·1·   ·   ·   · · · A· · ·It was -- it was a letter that -- that    ·1·   ·   ·   ·what I mean.
·2·   ·   ·   ·said, you know, fill in the blank, basically. I      ·2·   ·   ·   · · · Q· · ·Right.· So it had, like, the
·3·   ·   ·   ·mean, it -- you know, it was the letter that had     ·3·   ·   ·   ·highlighted text.
·4·   ·   ·   ·the highlighted insert here.· It still said insert   ·4·   ·   ·   · · · A· · ·Yeah.
·5·   ·   ·   ·here.                                                ·5·   ·   ·   · · · Q· · ·So how did you receive that?· Who sent
·6·   ·   ·   · · · Q· · ·Oh, so it still said "insert here."       ·6·   ·   ·   ·it to you?
·7·   ·   ·   · · · A· · ·(Witness nods head.)                      ·7·   ·   ·   · · · A· · ·I can't remember who sent it to me. I
·8·   ·   ·   · · · Q· · ·Okay.· And, so, he said that wasn't       ·8·   ·   ·   ·can't remember.· It came from outside of the
·9·   ·   ·   ·typical.                                             ·9·   ·   ·   ·department, but I can't remember who sent it to
10·   ·   ·   · · · · · · Have you ever seen one -- well, let me    10·   ·   ·   ·me.
11·   ·   ·   ·just go back.· Why did he show that to you?          11·   ·   ·   · · · Q· · ·Could you find out?
12·   ·   ·   · · · A· · ·He didn't.                                12·   ·   ·   · · · A· · ·I mean --
13·   ·   ·   · · · Q· · ·Oh.                                       13·   ·   ·   · · · Q· · ·Would it be possible to go into your
14·   ·   ·   · · · A· · ·He didn't show it to me.· I -- I was --   14·   ·   ·   ·email and find out?
15·   ·   ·   ·it came to me, and I forwarded it to him to ask      15·   ·   ·   · · · A· · ·I wouldn't even know what to search on.
16·   ·   ·   ·what happened here; how could this happen.           16·   ·   ·   · · · Q· · ·And then you --
17·   ·   ·   · · · Q· · ·Okay.· And what was his response?         17·   ·   ·   · · · · · · MR. MERRITT:· Are you asking that that
18·   ·   ·   · · · A· · ·That it was just a one-off blip.          18·   ·   ·   ·email -- are you making a request for that email
19·   ·   ·   · · · Q· · ·So besides that letter that still had     19·   ·   ·   ·to be produced?
20·   ·   ·   ·the mistaken highlights included, before today,      20·   ·   ·   · · · · · · MS. O'GRADY:· Yes, I am.
21·   ·   ·   ·you'd never seen another one as it was sent out?     21·   ·   ·   · · · · · · MR. MERRITT:· I'm just going to say a
22·   ·   ·   · · · A· · ·No.                                       22·   ·   ·   ·broader point.· If after this deposition you have
23·   ·   ·   · · · Q· · ·Okay.· And if I were to -- the one that   23·   ·   ·   ·further document requests, you know, please send
24·   ·   ·   ·we just looked at that simply said, you know,        24·   ·   ·   ·them along.
25·   ·   ·   ·insufficient evidence in -- in the highlighted       25·   ·   ·   · · · · · · I was also going to suggest based on

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·1·   ·   ·   ·area of review recommendation reason, is that        ·1·   ·   ·   ·some of the other ones that you review the
·2·   ·   ·   ·about what you expected them to look like, or is     ·2·   ·   ·   ·Pratt -- the (indiscernible) record in the Pratt
·3·   ·   ·   ·that less text than you expected --                  ·3·   ·   ·   ·case, and it's possible some documents could be in
·4·   ·   ·   · · · · · · MR. MERRITT:· Objection again to the      ·4·   ·   ·   ·there.
·5·   ·   ·   ·extent you're talking -- you know, referring to      ·5·   ·   ·   · · · · · · MS. O'GRADY:· Yes, there are some
·6·   ·   ·   ·her predecisional state of mind.                     ·6·   ·   ·   ·documents in there, and they should still be
·7·   ·   ·   · · · BY MS. O'GRADY:                                 ·7·   ·   ·   ·produced in this case.
·8·   ·   ·   · · · Q· · ·I can ask right now.· You know, would     ·8·   ·   ·   · · · · · · And that said, based on the lack of
·9·   ·   ·   ·you be surprised that the highlighted text, review   ·9·   ·   ·   ·documents about some of these issues, we would
10·   ·   ·   ·recommendation reason for thousands of borrowers     10·   ·   ·   ·like to keep this deposition open to the extent
11·   ·   ·   ·only includes one or two phrases?                    11·   ·   ·   ·further documents are produced that involve
12·   ·   ·   · · · A· · ·Because I haven't seen those claims,      12·   ·   ·   ·Ms. Jones as a witness?
13·   ·   ·   ·I -- I can't tell you.· I -- I haven't seen the      13·   ·   ·   · · · · · · MR. MERRITT:· What do you mean keep it
14·   ·   ·   ·applications.· I don't know what the incoming        14·   ·   ·   ·open?
15·   ·   ·   ·looked like, so I can't answer that question.        15·   ·   ·   · · · · · · MS. O'GRADY:· If we have to call her
16·   ·   ·   · · · Q· · ·When the -- I think you said the -- the   16·   ·   ·   ·back as a witness to address documents that we
17·   ·   ·   ·sample that you saw that had the mistaken            17·   ·   ·   ·don't have in our possession yet.
18·   ·   ·   ·allegation type and, you know, highlighted text      18·   ·   ·   · · · · · · MR. MERRITT:· I think we have to
19·   ·   ·   ·still included, was that emailed to you?             19·   ·   ·   ·consider any requests like that you're going to
20·   ·   ·   · · · A· · ·I don't remember.· And I don't know       20·   ·   ·   ·make at the appropriate time.
21·   ·   ·   ·that it had the wrong allegation.· It just -- it     21·   ·   ·   · · · BY MS. O'GRADY:
22·   ·   ·   ·just didn't have that -- as best I remember, it      22·   ·   ·   · · · Q· · ·Ms. Jones, I would like to --
23·   ·   ·   ·just didn't have the justification in it.· You       23·   ·   ·   · · · · · · MS. O'GRADY:· I'm going to mark -- I
24·   ·   ·   ·know, it just had the fill in here.· I mean, I       24·   ·   ·   ·think this should be our last exhibit, and this is
25·   ·   ·   ·know it doesn't say fill in here, but you know       25·   ·   ·   ·going to be Exhibit Number 20 of this deposition.


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·1·   ·   ·   · · · · · · (Jones Deposition Exhibit 20 was marked   ·1·   ·   ·   · · · A· · ·I -- I -- I have -- I have no idea -- I
·2·   ·   ·   ·for identification and attached to the               ·2·   ·   ·   ·have no idea who else works -- I don't know the
·3·   ·   ·   ·transcript.)                                         ·3·   ·   ·   ·names of any of Colleen's staff except for one. I
·4·   ·   ·   · · · · · · MS. O'GRADY:· The file name is ECF        ·4·   ·   ·   ·know one staff person by name.· So I think you'd
·5·   ·   ·   ·number 146, Order denying settlement show cause.     ·5·   ·   ·   ·have to ask her.
·6·   ·   ·   · · · BY MS. O'GRADY:                                 ·6·   ·   ·   · · · Q· · ·Okay.· And that's true for the
·7·   ·   ·   · · · Q· · ·Do you have that open?                    ·7·   ·   ·   ·disposition of any request for reconsideration.
·8·   ·   ·   · · · A· · ·I do.                                     ·8·   ·   ·   ·Is there anyone else besides Ms. Nevin that would
·9·   ·   ·   · · · Q· · ·Okay.· And do you recognize this          ·9·   ·   ·   ·have knowledge of that topic?
10·   ·   ·   ·filing --                                            10·   ·   ·   · · · A· · ·I don't even know what the disposition
11·   ·   ·   · · · A· · ·It doesn't look familiar --               11·   ·   ·   ·of any request for reconsideration --
12·   ·   ·   · · · Q· · ·-- or court order?                        12·   ·   ·   · · · Q· · ·Oh, reconsideration is what we were
13·   ·   ·   · · · A· · ·-- to me.                                 13·   ·   ·   ·just talking about.
14·   ·   ·   · · · Q· · ·Okay.· I'll let you know this is a        14·   ·   ·   · · · A· · ·Right.· But I honestly don't know what
15·   ·   ·   ·court order in this case that is what ordered the    15·   ·   ·   ·disposition of any request means.
16·   ·   ·   ·discovery.· It's the genesis of your being here      16·   ·   ·   · · · Q· · ·Okay.· Let's look at topic two.· The
17·   ·   ·   ·today.                                               17·   ·   ·   ·extent to which the difficulty of reviewing
18·   ·   ·   · · · · · · So on page 16 of this PDF, if you could   18·   ·   ·   ·borrower defense applications actually caused or
19·   ·   ·   ·scroll there, I just want to use this to ask you     19·   ·   ·   ·justified the Secretary's 18-month delay.
20·   ·   ·   ·some questions about other individuals and their     20·   ·   ·   · · · · · · Who would be the person closest to that
21·   ·   ·   ·roles if you wouldn't mind.                          21·   ·   ·   ·question?
22·   ·   ·   · · · · · · So are you on page 16?                    22·   ·   ·   · · · · · · MR. MERRITT:· I object to this line of
23·   ·   ·   · · · A· · ·I am.                                     23·   ·   ·   ·questioning.· I mean, you have other --
24·   ·   ·   · · · Q· · ·Okay.· So bullet point one here, these    24·   ·   ·   ·interrogatories and other lines of asking
25·   ·   ·   ·are the topics of discovery.· The development and    25·   ·   ·   ·questions like this.

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·1·   ·   ·   ·use of the form denial letters including the         ·1·   ·   ·   · · · · · · MS. O'GRADY:· I want to get a -- I want
·2·   ·   ·   ·submission, timeline of review, and disposition of   ·2·   ·   ·   ·to get a sense of Ms. Jones' understanding of what
·3·   ·   ·   ·any request for reconsideration; and the form of     ·3·   ·   ·   ·her colleagues work on and do especially since we
·4·   ·   ·   ·denial issued before this suit and under the         ·4·   ·   ·   ·talked a lot today about who has a policy-making
·5·   ·   ·   ·previous administration.                             ·5·   ·   ·   ·role and who doesn't.
·6·   ·   ·   · · · · · · Who is the -- which individuals would     ·6·   ·   ·   · · · · · · MR. MERRITT:· We've talked about that
·7·   ·   ·   ·be the best people for us to ask about those         ·7·   ·   ·   ·and, you know, provided a lot of information about
·8·   ·   ·   ·issues?                                              ·8·   ·   ·   ·that.· So I think this particular request is
·9·   ·   ·   · · · A· · ·Our Office of General Counsel is who      ·9·   ·   ·   ·getting beyond the scope.· I mean, her specific
10·   ·   ·   ·you should ask.· All of those requests are handled   10·   ·   ·   ·knowledge of that as opposed to those topics in
11·   ·   ·   ·through our Office of General Counsel.               11·   ·   ·   ·general, like, who else would be involved.
12·   ·   ·   · · · Q· · ·And when you say "all of those            12·   ·   ·   · · · · · · MS. O'GRADY:· I don't understand your
13·   ·   ·   ·requests," what do you mean?                         13·   ·   ·   ·objection.· It's the witness' personal knowledge
14·   ·   ·   · · · A· · ·I mean, you know, request for             14·   ·   ·   ·about exactly the scope of the discovery.
15·   ·   ·   ·documents --                                         15·   ·   ·   · · · · · · MR. MERRITT:· I mean, it's somewhat
16·   ·   ·   · · · Q· · ·No, I -- no, I know that.· I just want    16·   ·   ·   ·calling for a legal conclusion, I mean, to the
17·   ·   ·   ·to know the -- the topics.· So who is closest to     17·   ·   ·   ·extent you're saying who has information relevant
18·   ·   ·   ·the topic of the use and form of the denial          18·   ·   ·   ·to this.
19·   ·   ·   ·letters that we talked about?· So those denial       19·   ·   ·   · · · · · · I mean, you know, Diane, you've talked
20·   ·   ·   ·letter forms A through D.· You reviewed them and     20·   ·   ·   ·about these topics.· You can answer the question.
21·   ·   ·   ·signed off on them.· Who else is the person          21·   ·   ·   · · · · · · THE WITNESS:· I mean, for -- for number
22·   ·   ·   ·closest to that issue?                               22·   ·   ·   ·two, it would be our Office of General Counsel.
23·   ·   ·   · · · A· · ·I mean, Colleen Nevin is closest to       23·   ·   ·   ·The attorneys that were involved in the Manriquez
24·   ·   ·   ·that issue.                                          24·   ·   ·   ·case.
25·   ·   ·   · · · Q· · ·Anyone else besides Colleen?              25·   ·   ·   · · · BY MS. O'GRADY:


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·1·   ·   ·   · · · Q· · ·Okay.· And what -- the difficulty of      ·1·   ·   ·   ·please correct me if I assumed incorrectly.
·2·   ·   ·   ·reviewing borrower defense applications, what does   ·2·   ·   ·   · · · A· · ·Colleen Nevin and her team.· I don't
·3·   ·   ·   ·that phrase mean to you?                             ·3·   ·   ·   ·know if she reviews every single one, but her team
·4·   ·   ·   · · · · · · MR. MERRITT:· Objection:· Speculative.    ·4·   ·   ·   ·does.· Yeah, she and her team would be the only
·5·   ·   ·   · · · · · · MS. O'GRADY:· I'm just asking?            ·5·   ·   ·   ·ones that would have knowledge of this.
·6·   ·   ·   · · · · · · MR. MERRITT:· You're asking her to        ·6·   ·   ·   · · · Q· · ·And is there anyone else in a
·7·   ·   ·   ·interpret what the court said.                       ·7·   ·   ·   ·policy-making role that would have any knowledge
·8·   ·   ·   · · · · · · MS. O'GRADY:· No, I'm asking what she     ·8·   ·   ·   ·of that topic?
·9·   ·   ·   ·thinks it means.· I don't want her to interpret      ·9·   ·   ·   · · · A· · ·Not in a policy-making role, no.
10·   ·   ·   ·the court's words.· I just, you know . . .           10·   ·   ·   · · · Q· · ·And what about the second question
11·   ·   ·   · · · BY MS. O'GRADY:                                 11·   ·   ·   ·regarding the delay?· Is there anyone else in a
12·   ·   ·   · · · Q· · ·Difficulty of reviewing borrower          12·   ·   ·   ·policy-making role that would have knowledge of
13·   ·   ·   ·defense applications.                                13·   ·   ·   ·that topic?
14·   ·   ·   · · · · · · Are borrower defense applications, in     14·   ·   ·   · · · A· · ·You know what, again, I wasn't involved
15·   ·   ·   ·your view, difficult to review?                      15·   ·   ·   ·in the decision so I don't know who was involved
16·   ·   ·   · · · A· · ·I don't review borrower defense           16·   ·   ·   ·in making it.· You'd have -- you'd have --
17·   ·   ·   ·applications, so I don't know.                       17·   ·   ·   · · · Q· · ·What about carrying out the decision?
18·   ·   ·   · · · Q· · ·Who would know?                           18·   ·   ·   · · · A· · ·What do you -- what -- I mean, what do
19·   ·   ·   · · · A· · ·Colleen Nevin reviews borrower defense    19·   ·   ·   ·you mean carrying out --
20·   ·   ·   ·applications.                                        20·   ·   ·   · · · Q· · ·I understand the decision was made
21·   ·   ·   · · · Q· · ·And regarding the 18-month delay in       21·   ·   ·   ·before your tenure, but the decision was in effect
22·   ·   ·   ·processing applications, would the secretary have    22·   ·   ·   ·during your tenure.
23·   ·   ·   ·knowledge about that in your -- in your view?        23·   ·   ·   · · · · · · Is there anyone else involved in that
24·   ·   ·   · · · A· · ·You know, again, that decision was made   24·   ·   ·   ·decision being the status quo, that -- you know,
25·   ·   ·   ·before I was involved in BD.· That was made, you     25·   ·   ·   ·this . . .

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·1·   ·   ·   ·know, after the Manriquez case, so I don't know      ·1·   ·   ·   · · · A· · ·Well, the decision had been made and
·2·   ·   ·   ·who was involved in making that decision, but        ·2·   ·   ·   ·others executed it.· I mean --
·3·   ·   ·   ·that -- that delay was tied to the Manriquez case    ·3·   ·   ·   · · · Q· · ·So who executed that decision?
·4·   ·   ·   ·and which is why I've said, you know, the lawyers    ·4·   ·   ·   · · · A· · ·Originally Jim Manning and ultimately
·5·   ·   ·   ·involved in the Manriquez case would be the ones,    ·5·   ·   ·   ·Mark Brown.
·6·   ·   ·   ·you know, closest to understanding that case.· And   ·6·   ·   ·   · · · Q· · ·And when you say they executed that
·7·   ·   ·   ·it's a --                                            ·7·   ·   ·   ·decision, what do you mean?
·8·   ·   ·   · · · Q· · ·Okay.· And your understanding is that     ·8·   ·   ·   · · · A· · ·It means that the decision had been
·9·   ·   ·   ·no one -- no one else besides the lawyers involved   ·9·   ·   ·   ·made to -- to -- to not issue any more final
10·   ·   ·   ·in the Calvillo Manriquez litigation would have      10·   ·   ·   ·decisions to borrowers until the California court
11·   ·   ·   ·any knowledge about the reason for that delay?       11·   ·   ·   ·made its decision.· So the -- what carrying it out
12·   ·   ·   · · · A· · ·I'm telling you that I wasn't involved    12·   ·   ·   ·means is not issuing decisions to students.
13·   ·   ·   ·in that decision, but it makes sense to me that of   13·   ·   ·   · · · Q· · ·And the directive to continue not
14·   ·   ·   ·course the lead -- the lawyers who were involved     14·   ·   ·   ·issuing decisions to students came from Jim
15·   ·   ·   ·in the Manriquez case would have knowledge of --     15·   ·   ·   ·Manning and Mark Brown?
16·   ·   ·   ·of that decision and -- and considerations around    16·   ·   ·   · · · · · · MR. MERRITT:· Objection.· That's a
17·   ·   ·   ·that decision.                                       17·   ·   ·   ·mischaracterization of her testimony.
18·   ·   ·   · · · Q· · ·To the third point, The extent to which   18·   ·   ·   · · · · · · MS. O'GRADY:· Okay.
19·   ·   ·   ·the Secretary has denied applications of students    19·   ·   ·   · · · BY MS. O'GRADY:
20·   ·   ·   ·who have attended schools subject to findings of     20·   ·   ·   · · · Q· · ·Please correct the mischaracterization.
21·   ·   ·   ·misconduct by the Secretary or any other state or    21·   ·   ·   · · · A· · ·You -- you asked me who would carry out
22·   ·   ·   ·federal body or agency, and the rationale            22·   ·   ·   ·that direction.
23·   ·   ·   ·underlying those denials.                            23·   ·   ·   · · · Q· · ·Right.
24·   ·   ·   · · · · · · I'll assume you'll say Colleen Nevin.     24·   ·   ·   · · · A· · ·But -- but what you said back to me was
25·   ·   ·   ·Is there anyone else besides Ms. Nevin?· And         25·   ·   ·   ·that -- I think you said they gave the direction.


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·1·   ·   ·   ·I don't know who gave the direction.· Certainly it   ·1·   ·   ·   ·done.
·2·   ·   ·   ·wasn't Mark Brown.· He wasn't there then.            ·2·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Okay.· Shall we
·3·   ·   ·   · · · Q· · ·But they carried out the direction?       ·3·   ·   ·   ·close out the record?· No cross?
·4·   ·   ·   · · · A· · ·Correct.                                  ·4·   ·   ·   · · · · · · THE WITNESS:· I think the court
·5·   ·   ·   · · · Q· · ·Correct.· Okay.                           ·5·   ·   ·   ·reporter wanted me to stay on to give her some
·6·   ·   ·   · · · · · · And my apologies for the redundancy       ·6·   ·   ·   ·spellings.
·7·   ·   ·   ·here.· I just want to go back to the development     ·7·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Yeah.· I'll just
·8·   ·   ·   ·and use of those form denial letters, and those      ·8·   ·   ·   ·close out the video record.
·9·   ·   ·   ·are the form denial letters A through D that we've   ·9·   ·   ·   · · · · · · MR. MERRITT:· Yeah.· No cross.
10·   ·   ·   ·been discussing that you reviewed.                   10·   ·   ·   · · · · · · THE VIDEOGRAPHER:· Okay.· We're now
11·   ·   ·   · · · · · · Who else was involved in their            11·   ·   ·   ·going off the record.· The time is 22:41 UTC time.
12·   ·   ·   ·development?                                         12·   ·   ·   ·This concludes today's testimony given by
13·   ·   ·   · · · A· · ·I think I mentioned this earlier.· So I   13·   ·   ·   ·Ms. Diane Jones.
14·   ·   ·   ·think -- I'm trying to picture the people around     14·   ·   ·   · · · · · · Thank you, and have a great weekend.
15·   ·   ·   ·the table.                                           15
16·   ·   ·   · · · Q· · ·Ms. Jones, I think you did testify to     16
17·   ·   ·   ·that, and I'm sure it's on the record.· You don't    17
18·   ·   ·   ·need to repeat yourself there.· I think we have      18·   · · · · · · · · (Whereupon, the Remote Videotaped
19·   ·   ·   ·that.· Okay.                                         19·   · · ·Deposition of DIANE AUER JONES ended at
20·   ·   ·   · · · · · · Just give me one moment.                  20·   · · ·5:41 p.m. EST)
21·   ·   ·   · · · · · · MR. MERRITT:· I just want to make one     21
22·   ·   ·   ·quick point about to the -- you mentioned keeping    22
23·   ·   ·   ·this deposition open because of potential            23
24·   ·   ·   ·documents coming in, just to state for the record,   24
25·   ·   ·   ·plaintiffs submitted document requests two weeks     25

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                                                                    ·1
·1·   ·   ·   ·ago on November 6, so the responses to that, you
                                                                    ·2· · · · · · · · · · REPORTER'S CERTIFICATE
·2·   ·   ·   ·know, aren't due and there would have been no
                                                                    ·3· · · ·I, Dana C. Ryan, Certified Shorthand Reporter in
·3·   ·   ·   ·obligation to produce any documents before this
                                                                    ·4· · · ·and for the State of Maryland, hereby certify that
·4·   ·   ·   ·deposition.· So, you know, you've had -- you've
                                                                    ·5· · · ·the deponent was by me first duly sworn and the
·5·   ·   ·   ·had seven hours today.
                                                                    ·6· · · ·foregoing testimony was reported by me and was
·6·   ·   ·   · · · BY MS. O'GRADY:
                                                                    ·7· · · ·thereafter transcribed with computer-aided
·7·   ·   ·   · · · Q· · ·I just -- Ms. Jones, I have one last
                                                                    ·8· · · ·transcription; that the foregoing is a full,
·8·   ·   ·   ·point that I wanted to address.· We've talked a
                                                                    ·9· · · ·complete, and true record, to the best of my
·9·   ·   ·   ·lot today about the policy decisions or lack
                                                                    10· · · ·ability, of said proceedings.
10·   ·   ·   ·thereof around borrower defense.
                                                                    11· · · ·I further certify that I am not of counsel or
11·   ·   ·   · · · · · · In your time at the Department of Ed,
                                                                    12· · · ·attorney for either or any of the parties in the
12·   ·   ·   ·have -- would you say there have been policy
                                                                    13· · · ·foregoing proceedings and caption named or in any
13·   ·   ·   ·decisions made regarding borrower defense?
                                                                    14· · · ·way interested in the outcome of the cause in said
14·   ·   ·   · · · A· · ·We finalized the 2019 regulation.· It
                                                                    15· · · ·caption.
15·   ·   ·   ·would be hard to say that's not a policy decision.
                                                                    16· · · ·The dismantling, unsealing, or unbinding of the
16·   ·   ·   · · · Q· · ·Besides that.
                                                                    17· · · ·original transcript will render the reporter's
17·   ·   ·   · · · A· · ·Sure.· There have been policy decisions
                                                                    18· · · ·certificate null and void.
18·   ·   ·   ·about the new methodology, the 2019 methodology,
                                                                    19· · · ·In witness whereof, I have hereunto set my hand
19·   ·   ·   ·the development of the -- I mean, the methodology
                                                                    20· · · ·this day: November 24, 2020.
20·   ·   ·   ·is a methodology.· That's the policy.
                                                                    21· · · _______· ·Reading and Signing was requested.
21·   ·   ·   · · · Q· · ·Okay.· And in terms of granting or
                                                                    22· · · _______· ·Reading and Signing was waived.
22·   ·   ·   ·denying borrower defense, have there been any --
                                                                    23· · · ___X___· ·Reading and Signing was not requested.
23·   ·   ·   ·step one, have there been any policy decisions?
                                                                    24· · · ·______________________________________
24·   ·   ·   · · · A· · ·Not to my knowledge.
                                                                    25· · · ·Dana C. Ryan, RPR, CRR
25·   ·   ·   · · · · · · MS. O'GRADY:· Okay.· I think we're


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3DJH
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